Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 1 of 406




  Rio Grande National Forest - Assessments 1 and 3
  Ecosystem Integrity, Systems Drivers & Stressors -
  Executive Summary




  Introduction
  This document is a brief summary of the first step in the forest planning process; our assessment, and
  public input we solicited; regarding the ecosystem integrity of terrestrial, aquatic, and riparian ecosystems
  on the Rio Grande National Forest. It also discusses the drivers, stressors, and threats to ecosystem
  integrity on the forest.

  An ecosystem is composed of living organisms (plants, animals and microbes) and their nonliving
  environment (climate and soil for terrestrial ecosystems; aqueous environment and substrate in aquatic
  ecosystems). These components interact so that the system: captures and stores energy as biomass; has a
  trophic structure; circulates nutrients; and changes over time (ecological succession). Assessing
  ecosystem integrity is required by the Forest Service planning rule. Integrity is measured by whether or
  not the dominant characteristics of the ecosystem:

  •   are within the range of what would occur “naturally” (natural range of variability), and
  •   can stay within that range as each ecosystem is influenced by stressors such as climate change, as
      well as developments and uses of the forest.


                         Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000001
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 2 of 406

                                Rio Grande National Forest - Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  Ecosystems described in this assessment include terrestrial ecosystems, riparian ecosystems, and aquatic
  ecosystems. Terrestrial ecosystems include forested areas, non-forested (rangelands) and alpine
  ecosystems. These are the “dry” areas outside of lakes, streams, and other wet areas. Riparian areas are
  the important ecosystems along streams, lakes, and other water bodies. Aquatic ecosystems are the
  streams, lakes, and other water bodies that support fish and other aquatic species.

  Drivers and stressors to the ecosystems of the Rio Grande National Forest include succession, wildfire,
  insects and disease, climate change, management, livestock grazing in rangelands; weather-related events
  such as droughts and floods; other natural disturbances such as beaver activity, exotic invasion, and tree
  encroachment; water use, transportation, recreation, mineral extraction, urbanization, and others. These
  drivers and stressors vary for each particular ecosystem.

  What We Asked
  We held a total of nine meetings throughout the San Luis Valley to engage the public on three different
  sets of topics. These meetings were facilitated by the National Forest Foundation and Peak Facilitation.

  Three meetings on vegetation, timber, fire, and fuels were held on April 27, 2015 in Alamosa, on May 11,
  2015 in South Fork, and on May 21, 2015 in Crestone. Approximately 30 members of the public attended
  these meetings.

  Three meetings on fish, wildlife, and rare plants were held on June 22, 2015 in South Fork, on July 16,
  2015 in Saguache, and on July 21, 2015 in Conejos Canyon. Approximately 30 members of the public
  attended these meetings.

  Three meetings on water and soil resources were held on March 16, 2015 in Creede, on April 7, 2015 in
  Alamosa, and on April 28, 2015 in Saguache. Approximately 65 members of the public attended these
  meetings. In addition to helping facilitate these meetings, the National Forest Foundation provided a web­
  based tool that allowed us to ask the same set of questions to those who could not be at the meetings.

  We also participated in meetings hosted by other agencies and organizations: The San Luis Valley
  Ecosystem Council (March 11, 2015 in Monte Vista), San Luis Valley County Commissioners (March 23,
  2015 in Alamosa), Trout Unlimited (March 31, 2015), the Rio Grande Watershed Emergency Action
  Coordination Team (April 13, 2015 in Del Norte), the San Luis Valley Weed Management District (April
  14, 2015 in Monte Vista), the San Luis Valley Cattleman’s Association (May 4, 2015 in Alamosa),
  Mineral County (June 24, 2015 in Creede), and Hinsdale County (July 9, 2015 at San Juan Ranch,
  Hinsdale County).

  We asked the same questions at meetings and on-line to give us consistent input for the assessment
  process relevant to ecosystem integrity, drivers, and stressors. They cover topics such as healthy forests,
  sustainability, the impact of human activities, fire and fuels, wildlife, fish, and rare plants, and water and
  soil resources. Participants also discussed some relevant standard and guidelines in the current forest plan.

  Forest Health and Sustainability
  •   What is the definition of a healthy forest?
  •   How does the definition of health apply to the Rio Grande National Forest?
  •   What is a sustainable use of the forest?

  Impacts of Human Activities
  •   What human activities and influences are relevant to today’s forest conditions?


                          Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000002
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 3 of 406

                                Rio Grande National Forest - Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  •   What are impacts of human activities on the forest?

  Fuels and Fire on the Forest
  •   How should the Forest Service handle standing dead timber on the Rio Grande National Forest?
  •   Should fire be used as a tool for management?

  Wildlife, Fish, and Rare Plants
  •   What plant and animal species are unique to the Rio Grande National Forest and what is the habitat
      that supports them?
  •   What management concerns might influence the long-term health of these species? How can the
      future management of the forest address some of those concerns?

  Water and Soil Quality
  •   What management activities on or off the forest threaten or impair water quality (surface or
      groundwater) or soil productivity?
  •   Are there places on the forest where water quality or soil quality/productivity are at risk or are not
      adequately protected? Where are they?
  •   Is high water quality and soil productivity being maintained on the Rio Grande National Forest?
      What factors are impacting water quality and soil productivity?

  Watershed Health
  •   What management activities and infrastructure impact watershed health, water quality, and/or aquatic
      species?
  •   What historical land use patterns shaped the existing ecological condition for water resources and
      riparian areas?
  •   Are there places on the forest where watersheds or riparian ecosystems are functioning at risk or
      being degraded? If so, where are they?
  •   What natural processes are affecting watersheds, riparian areas or aquatic species?
  •   Are watersheds and riparian ecosystems on the Rio Grande National Forest and surrounding areas
      healthy and properly functioning? What factors are impacting watershed or riparian health?

  What We Heard
  Healthy forests are diverse, with a variety of vegetation types, age classes, and species. A variety of
  wildlife species are present and healthy. A healthy forest is one with its fundamental natural processes
  occurring as usual. These forests regenerate after disturbance, experience natural fire, and have good
  water quality. There are mixed feelings about whether or not insects and dead trees are part of a healthy
  forest.

  Measuring Effects
  Forest sustainability should be measured with meaningful metrics. We need to develop quantitative data
  to define long-term sustainable use.

  The impacts of human activities depend on the scale on which they are done and the integrity of the
  practice. Impacts may be positive or negative.



                         Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000003
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 4 of 406

                                Rio Grande National Forest - Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  Monitoring and Adaptive Management
  Monitoring is important, whether that is monitoring trends in particular species, areas prone to resource
  damage, water quality, grazing regulations, or other issues.

  The standards and guidelines in the forest plan need to be flexible and adaptable to a variety of situations.
  We need to allow for adaptive management. Utilize the agency expertise on the latest science and
  appropriate recommendations on the standards and guidelines.

  Enforcement
  Enforcement is a key issue. There was an emphasis on increased enforcement in general to protect areas
  from improper harvesting, overgrazing, and other damaging activities. New or better reporting
  mechanisms for violations was one suggestion.

  Effects to Riparian Areas
  There was general concern about riparian areas and the effects of grazing, ATVs, moose, and long-term
  camping sites on the riparian areas.

  Sediment Sources
  There is large concern about dead trees accelerating runoff and sedimentation and degrading reservoirs
  and other water sources. There is also concern over post-fire erosion and flooding and other sources of
  sedimentation, such as ATV trails.

  Management Tools
  Management intensity needs to increase, in terms of the amount of timber harvested, amount of planting,
  and amount of prescribed fire and controlled burns.

  Logging is less harmful to the ecosystem than fires. Removing standing dead timber is also less expensive
  and a better use of tax dollars than fighting fires.

  There were mixed feeling about fire as a tool for management. Most thought that controlled burns and
  natural fire were effective, necessary, and should be done under favorable conditions. This wasn’t
  universal though - some had concerns about the safety of fire in beetle-kill areas and near houses on the
  forest, and with a preference for thinning and logging instead.

  There were also mixed feelings about grazing. Many folks were concerned about grazing impacts,
  especially in the riparian areas. Others thought that grazing impacts were well-managed and could be
  positive if done properly.

  Citizen Engagement and Partnerships
  We should emphasize citizen engagement and partnerships in the new forest plan and should involve the
  public more to get things done. Suggestions included training citizens on data collection, recruiting
  volunteers and working with volunteer groups, and creating an adopt-a-trail program.

  What the Science Tells Us
  Terrestrial Vegetation
  The spruce-fir and aspen forests are, in particular, undergoing rapid change due to a recent, large outbreak
  of spruce beetle and large wildfires. High levels of mortality in mature Engelmann spruce in many areas



                         Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000004
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 5 of 406

                                Rio Grande National Forest - Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  have produced abundant open stands and dead standing and down wood. This, in turn, is allowing
  regeneration of aspen and an increasing trend in aspen forests.

  It is difficult to determine whether the terrestrial ecosystems on the Rio Grande National Forest are within
  the range of what would occur naturally. Our modelling results indicate that the terrestrial ecosystems on
  the Rio Grande National Forest are, in general, moderately to substantially departed from what would
  occur naturally. However, determining the range of natural conditions is not an exact science and was
  quantified over only the last 100 years of simulations results. Our spruce beetle modelling did not include
  the rare, extreme spruce beetle outbreaks like the one we are currently experiencing, but more moderate
  outbreaks.

  Over the long term (many decades to hundreds of years),our models project the recovery of most forested
  ecosystems towards the natural range. However, due to fire suppression, we may expect to see somewhat
  less aspen in the future than would likely exist naturally, as well as other changes in the structural
  composition of forests.

  Across the entire Rio Grande National Forest, the effects of management are very small. This is not
  surprising, as the extent of our management treatments is extremely small, with <0.2 percent of the
  landscape treated each year.

  Late successional habitats
  Late successional habitats are an important part of a healthy ecosystem. They tend to have forest structure
  elements, such as large, older trees, large snags, and multiple canopy layers; that are important to some
  wildlife species, such as the Canada lynx (Lynx canadensis). Currently, only about 13 percent of the forest
  can be classified as late successional habitat. Under the 1996 forest plan direction, this is projected to
  increase to 27 percent in the next 20 to 50 years. This is still less than the amount of late successional
  habitat there should be under historic conditions based on our modeling.

  Snags and Down Woody Material
  Snags and down woody material are essential for ecological integrity. They serve a variety of purposes,
  such as providing valuable wildlife habitat and supporting nutrient cycling. At least 68 terrestrial
  vertebrate species of wildlife rely on snags in Colorado; and they are key for cavity nesting species such
  as woodpeckers, small forest owls, bats, and small mammals. Down woody material is important for
  water quality and reducing soil erosion. From our stand exam and Forest Inventory and Analysis plot data
  collected on the forest, the average number of large snags has increased 400 percent, primarily due to the
  spruce beetle outbreak, from about 10 to 15 per acre to 40 to 50 per acre. There is also a large volume of
  down woody material. On average, there is more than 40 tons per acre of down woody material 3 inches
  and larger in size based on our recent stand exam data. This varies heavily by forest type, with the spruce­
  fir forest type having the highest amount; averaging about 90 tons per acre; and other forest types having
  less.

  To reiterate, as a result of the recent spruce beetle epidemic, we currently have a large number of snags
  and high volume of down woody material, particularly in the spruce-fir forest type. These snag patches
  will be important as we assess connectivity, species resilience, and future forest conditions. As snags fall
  and down woody material decays, these values will most likely decrease. How fast this happens will
  depend on the forest type and a variety of other factors. Still, given the slow nature of these processes, a
  large quantity of snags and down woody material will persist on the forest into the foreseeable future.




                         Rio Grande National Forest - 5 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000005
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 6 of 406

                                Rio Grande National Forest - Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  Fire as an Ecological Process
  Wildland fire is a component of many of the ecosystems on the Rio Grande National Forest, both as an
  ecological driver and as an ecological stressor, depending on the system. Some vegetative species have
  evolved traits, such as thick bark or prolific sprouting after fire, allowing it to persist in a frequent fire
  environment. Other systems like ponderosa pine require disturbances such as fire to maintain the stand
  health and stability. Historically, highly variable fires maintained patchy and diverse vegetation structure
  and composition. This patchiness is thought to provide varied and productive habitat for many different
  plant and animal species.

  A natural fire regime refers to the overall pattern of fires in vegetation over time, without modern human
  mechanical intervention, that is characteristic of a natural region or ecosystem. The fire regime includes
  vegetation and fuels characteristics, fire frequency, fire intensity and behavior, and ecological effects.
  Under wildland fire management and suppression policies of the last 100 years, the fire regime in much of
  the west has been altered, sometimes significantly. Other activities contribute to conditions that are
  uncharacteristic of the natural fire environment as well. To help restore fire to its historical role in the
  ecosystems on the Rio Grande National Forest, we have been broadcast burning at an average rate of 860
  acres per year (10-year annual average 2004-2014).

  From 1994 to present, the Rio Grande National Forest has had an average of 10 to 20 wildland fires per
  year, with 94 percent contained at less than 10 acres. The majority are naturally ignited, with 76 percent
  of wildland fires caused by lightning. Management of naturally occurring ignitions to include ecological
  benefits has been approved Forest-wide, although site specific values at risk, or existing fuel, weather, and
  climate conditions may require our fire managers to consider full suppression actions. We cannot use
  natural ignition as a management tool in key vegetation habitat types such as late successional spruce-fir,
  pinyon pine, and Engelmann spruce forests because they are highly susceptible to wildland fire and are
  only sustainable through a strict full suppression strategy.

  Riparian and Aquatic Ecosystems
  Riparian ecosystems cover a small amount of the landscape, but they are key in maintaining a large
  variety of plant and animal species. Riparian areas also offer stream water quality, bank stability,
  protection against erosion, aesthetic and recreational value, and other ecosystem functions. As part of this
  assessment, we identified and delineated riparian areas. This is an important first step for riparian
  monitoring, planning, and preservation. Our delineation results identified about 6 percent (120,000 acres)
  of the Rio Grande National Forest as riparian areas. About 30 to 35 percent of these riparian areas are
  wetlands (39,400 acres).

  In order to adequately manage and protect wetland resources on the Rio Grande National Forest, we need
  reliable on their location, extent and current condition. A pre-existing, multi-agency effort to map and
  assess the condition of wetlands throughout the Rio Grande Headwaters River Basin, which includes the
  Rio Grande National Forest, identified 42, 862 acres of wetlands and water bodies within the Rio Grande
  National Forest, of which lakes and rivers comprise 4,687 acres or 11 percent. This estimate for wetlands
  and water bodies represents approximately 2 percent of the total area in the Rio Grande National Forest.

  In total, we surveyed 77 wetland sites across the Rio Grande National Forest, including 30 riparian
  shrublands, 27 wet meadows, 17 fens, 2 riparian woodlands, and 1 marsh. We identified nearly 500 plant
  taxa during the surveys, including 445 identified to species level. Of the 445 species identified, 420 (94
  percent) are native species and 25 (6 percent) non-native species. Noxious weeds, an aggressive subset of
  non-natives, were present in only four plots.




                          Rio Grande National Forest - 6 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000006
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 7 of 406

                                Rio Grande National Forest - Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  Condition measures indicate that wetlands on the Rio Grande National Forest are in excellent to good
  condition. Floristic quality assessment indices are high for most wetlands surveyed, although they vary by
  both elevation and wetland type. Multi-metric Integrity Assessment scores rate most wetlands with an A-
  or B-rank, indicating that wetlands are either in reference condition or deviate only slightly from
  reference condition. A handful of wetlands are C-ranks, due to stressors including grazing, hydrologic
  modifications, and surrounding land use.

  Gaps
  The modelling we did to look at the natural range of variability and ecosystem integrity did not
  specifically include climate change. Climate change and the associated gradual increase in temperature
  will alter growth rates and mortality. Habitats may move higher in elevation and more northward as a
  result. But most importantly, with a changing climate, we expect more extreme weather, climate
  conditions, and disturbances such as wildfires, insect and disease outbreaks, droughts, and floods.
  Therefore, some of the simulation results may not hold and there may be other unanticipated conditions
  due to climate change. A. project is currently under way to develop bioclimate models for 13 tree species.
  This work will project how habitat suitability for these species may change under a changing climate and
  we will develop management recommendations for forest adaptation to climate change based on the
  results.

  It is unclear how climate change, beetle-kill, and the past fire suppression strategy will impact our ability
  to allow fire to play its historic role as a disturbance agent. In addition, there is uncertainty about how
  allowing fire on the landscape with such high fuel loadings will impact the desired conditions in specific
  forest types.

  Habitat connectivity is an indicator of ecosystem integrity. It can be assessed in a variety of ways and
  with a variety of metrics. We have not completed a comprehensive connectivity analysis on the Rio
  Grande National Forest, which would be helpful in assessing current habitat conditions.

  Drivers and stressors on the riparian and aquatic ecosystems of the Rio Grande National Forest include
  water use, roads, trails, and other transportation, recreation, biological stressors such as beaver presence
  and pesticide use, mineral extraction, vegetation management, urbanization, and others. Some of these
  factors need further assessment and are currently a gap in our knowledge. Examples of some of these
  current knowledge gaps include the number of stream diversions, reservoirs, and spring developments,
  miles of roads and trails, number of stream crossings, off-road vehicle use statistics, and recreation use
  estimates, among others.


  Where We’re Headed
  Based on information in our assessment and what we are hearing from the public, we need to revise this
  section of the forest plan. Twenty years have passed since we wrote the 1996 Forest Plan for the Rio
  Grande National Forest. The high mortality in the spruce-fir forest type, which dominates the forest, has
  led to a very different and unexpected forest in that time. As a result of this and other changes, we need to
  revisit all of the standards and guidelines and other plan components in the 1996 Forest Plan, and we may
  update them to better reflect the new state of the forest. As an example, much of our current timber
  harvesting is salvage of dead trees, and we need to make sure that the new forest plan components are
  clear about this management activity. We also need to ensure that the plan components aren’t overly
  restrictive so that objectives such as encouraging aspen can be met. We need to better incorporate the role
  of naturally occurring fire, with clearer direction on when and how we can use fire as a tool to meet our




                          Rio Grande National Forest - 7 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000007
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 8 of 406

                               Rio Grande National Forest - Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers & Stressors - Executive Summary


  ecosystem integrity objectives. We will also need to address climate change and its effects on the
  ecosystems of the Rio Grande National Forest.

  To help ensure ecological integrity of the riparian and aquatic ecosystems on the forest, our new forest
  plan will incorporate some of the findings of the Forest Service’s 2011 Watershed Condition Framework.
  This was a nationwide assessment of the functioning of every 6th level watershed within national forests
  according to 12 physical or biological indicators. Based on the assessment, we identified short-term (less
  than five years) priority watersheds for restoration. We will identify our longer-term priorities (fifteen
  years) in this forest planning process.

  We need to update other general plan components as well. We need to revise the ecological concepts in
  the 1996 Forest Plan with more contemporary language. In addition, under the new Planning rule there
  are some required standards related to timber harvesting that we need to add or update in the new forest
  plan.




                         Rio Grande National Forest - 8 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000008
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 9 of 406




     Rio Grande National Forest -Assessments 1 and 3
    Ecosystem Integrity, Systems Drivers and Stressors
                for Terrestrial Ecosystems




                                                      Rvsd Plan - 00000009
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 10 of 406




                                                      Rvsd Plan - 00000010
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 11 of 406

                                         Rio Grande National Forest -Assessments 1 and 3
                             Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems



                                                                       Contents
     Introduction............................................................................................................................................... 1
     Information Sources and Gaps................................................................................................................... 1
     Existing Forest Plan Direction.................................................................................................................. 2
     Scale of Analysis...................................................................................................................................... 3
     Identify Key Ecosystem Characteristics (12.13):..................................................................................... 3
     System Drivers and Stressors................................................................................................................... 3
     Terrestrial Ecosystems - Our Approach................................................................................................... 5
     Terrestrial Ecosystems - Forested, Non-Forested, Alpine....................................................................... 6
       Identify Ecosystems (12.11):................................................................................................................ 7
       Habitat Structural Stage Classification................................................................................................15
       Vegetation Modelling Results - Assessment of Ecosystem Integrity (12.14), including a Description
       of the Natural Range of Variation (12.14a or b), and Status and Trends (12.14c):............................ 15
       Vegetation Modelling Results - Ecosystem by Ecosystem - Assessment of Ecosystem Integrity
       (12.14), including a Description of the Natural Range of Variation (12.14a or b), and Status and
       Trends (12.14c):................................................................................................................................... 18
       Vegetation Modelling Summary - Assessment of Ecosystem Integrity (12.14):.............................. 22
       Assessment of Ecosystem Integrity (12.14): Landscape Disturbances and Patterns......................... 23
       Assessment of Ecosystem Integrity (12.14): Connectivity and Fragmentation................................. 30
       Assessment of Ecosystem Integrity (12.14): Late-successional Habitats.......................................... 34
       Assessment of Ecosystem Integrity (12.14): Snags and down woody material................................. 35
       Assessment of Ecosystem Integrity (12.14): Rare Communities andSpecial Habitats..................... 39
     Terrestrial Ecosystems - Summary of Assessment of Ecosystem Integrity (12.14):............................. 42
  References................................................................................................................................................... 44
  Appendix A. Spatial Data Documentation for the Rio Grande National Forest Planning Assessment..... 49
     Ecosystems ............................................................................................................................................. 49
       Data Sources....................................................................................................................................... 49
       Data Processing................................................................................................................................... 53
     Current Vegetation Conditions............................................................................................................... 53
       Data Sources....................................................................................................................................... 53
       Data Processing................................................................................................................................... 53
     Management Areas................................................................................................................................. 58
       Data Sources....................................................................................................................................... 58
       Data Processing................................................................................................................................... 58
  Appendix B. State-and-Transition Simulation Model Documentation for the Rio Grande National Forest
  Planning Assessment.................................................................................................................................. 63
     Model Sources........................................................................................................................................ 63
     Model Alterations................................................................................................................................... 63
       Structural Changes.............................................................................................................................. 63
       Growth and Mortality......................................................................................................................... 64
       Wildfire............................................................................................................................................... 65
       Insects ................................................................................................................................................. 67
       Management....................................................................................................................................... 68
  Habitat Structural Stages............................................................................................................................. 72
  References................................................................................................................................................... 76




                                     Rio Grande National Forest - i - Forestwide Planning Assessment
                                                                                                                  Rvsd Plan - 00000011
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 12 of 406

                                       Rio Grande National Forest -Assessments 1 and 3
                           Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


                                                               List of Tables
  Table 1. Key ecosystem characteristic for terrestrial ecosystems on the Rio Grande National Forest........ 3
  Table 2. Ecosystems modeled for the Rio Grande National Forest assessment........................................ 8
  Table 3. Definitions of habitat structural stages used to characterize ecosystem condition...................... 15
  Table 4. Current number of acres in each habitat structural stage, based on maps of current vegetation and
       incorporating recent, large disturbances..................................................................................... 16
  Table 5. Departure from the natural range of variability for each ecosystem based on vegetation modeling
      results...........................................................................................................................................17
  Table 6. Return intervals, and estimated annual acres burned for historic conditions (left) and
       contemporary conditions (right)................................................................................................. 25
  Table 7. Insect outbreak parameters for the vegetation modelling based on expert feedback.
      Background/endemic insect and disease activity was modelled separately................................ 30
  Table 8. Acreage and percentage of each land type association currently in designated wilderness, in
      roadless areas, or part of a research natural area......................................................................... 33
  Table 9. Acreage and percentage in each land type association that is covered by roads and railroads, with
       a 300 foot buffer, or that is in private in-holdings..................................................................... 34
  Table 10. Proportion of various forest types in late successional habitat under historic conditions, current
       conditions, and in the future, based on state and transition modelling............................................... 35
  Table 11. Snag estimates and suggested amount by forest type................................................................. 37
  Table 12. Down woody material estimates (3”and above) and suggested amount by forest type............. 38
  Table 13. Significant natural plant communities on the Rio Grande National Forest, as identified by
       Colorado Natural Heritage Program, as part of the 1996 forest planning process.............................. 39
  Table 14. Potential conservation areas on the Rio Grande National Forest............................................... 40
  Table 15. Crosswalk of the 10 ecosystems modeled in the RGNF assessment to land type associations
       (LTAs) on the RGNF and to biophysical settings (BPSs) in the 6.2 mi buffer outside the RGNF. NA
       indicates a non-vegetated ecosystem that was not modeled....................................................... 50
  Table 16. Management areas in the RGNF, grouped into 10 categories that were modeled (Management
      Area Groups) and further grouped into 3 management intensity categories that were reported in the
      final report (Management Intensity). Management Area codes and descriptions are from the original
       data provided by the RGNF for this analysis.......................................................................................60
  Table 17. Ecosystems modeled on the RGNF and their corresponding STSM model codes and original
      model sources. The model code suffix is used to identify models in the following documentation. . 63
  Table 18. Tree size and canopy cover classes used in the forested STSMs................................................ 64
  Table 19. Wildfire probabilities, rotations and estimated annual acres burned for historic conditions (left)
      and contemporary conditions (right). Asterisks indicate systems where invasive species burn at a
      higher probability, potentially changing the overall probability and rotation. In these systems, fire
      rotation is dependent on the composition of state classes................................................................... 65
  Table 20. Insect outbreak transition parameters for the forested STSMs, based on expert feedback.
      Asterisks indicate where insect outbreaks include impacts of western spruce budworm defoliation,
      predisposing stands to outbreaks                                                                                                                  67
  Table 21. Management treatments and codes in the US Forest Service FACTS database for the RGNF and
      their corresponding treatment types in the STSMs. Where the treatment type is NA, it was
       determined that the treatment was not a management activity (e.g. wildfire), the treatment could not
      be modeled using the STSMs (e.g. wildlife habitat improvement) or the treatment perimeter was
      redundant with another treatment (e.g., piling of fuels), and therefore it was not modeled in the
       STSMs......................................................................................................................................... 69
  Table 22. Management treatments modeled in each ecosystem and management area under the No Action
      scenario. Ecosystem codes correspond to table 17, management areas are defined in table 16 in
       appendix A, and treatment groups are listed in table 21............................................................. 70



                                   Rio Grande National Forest - ii - Forestwide Planning Assessment
                                                                                                           Rvsd Plan - 00000012
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 13 of 406

                                         Rio Grande National Forest -Assessments 1 and 3
                             Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Table 23. State classes by ecosystem in the STSMs, their descriptions (including cover type and structural
       stage), and their HSS. State class IDs correspond to maps produced by ST-Sim and HSS are used to
       display results in the main report................................................................................................ 72

                                                                   List of Figures
  Figure 1. Map of ecosystems on the Rio Grande National Forest. The Forest boundary is shown in black,
       and the landscape context area included a 6.2 mile buffer around the forest................................ 7
  Figure 2. Proportion of the landscape occupied by each ecosystem across the entire modeled landscape
       (including 6.2 mi buffer) (left) and on the Rio Grande National Forest only (right). NA refers to
       areas that have snow, rock or other non-vegetated cover.............................................................. 8
  Figure 3. Comparison of habitat structural stage classes under natural range of variation equilibrium,
       current conditions (time zero) and future projections under no management at 20, 50, 100, 300 and
       500 year time steps across all ecosystems within the Rio Grande National Forest. Error bars show ±
       1SD across 10 replicate simulations.................................................................................................... 16
  Figure 4. Map of the Rio Grande National Forest, including wilderness, roadless areas, and nearby
       national forests, national parks, and other federal land............................................................... 31
  Figure 5. Map of current late-successional habitat on the Rio Grande National Forest.............................. 32
  Figure 6. Snags per acre over time based on stand exam data collected on the Rio Grande National Forest
                                                                                                                                                            36
  Figure 7. Snags per acre over time based on the forest inventory and analysis plot data collected on the
       Rio Grande National Forest ....................................................................................................... 36
  Figure 8. Example of forest STSM containing canopy cover breaks at 10%, 40% and 70% and size breaks
       between small, medium and large trees (as defined in table 18). Some STSMs distinguish single and
       multi-story canopy cover and may contain aspen state classes defined based on dominant species
       instead of structural characteristics......................................................................................................64
  Figure 9. MTBS fire perimeters (light gray) used in the contemporary wildfire analysis on the RGNF. The
       RGNF is shown in red and the Southern Rocky Mountains ecoregion outlined in white                                                                    66
  Figure 10. Patch size distribution of wildfires modeled in all ecosystems................................................. 67
  Figure 11. Patch size distribution of insect outbreaks modeled in SFM, MCW, MCD and PJO ecosystems.
        ............................................................................................................................................................ 68
  Figure 12. Patch size distribution of management transitions modeled in the RGNF under the No Action
       scenario........................................................................................................................................ 71




                                     Rio Grande National Forest - iii - Forestwide Planning Assessment
                                                                                                                     Rvsd Plan - 00000013
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 14 of 406




                                                      Rvsd Plan- 00000014
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 15 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Assessments 1 and 3 assess available information about ecosystem integrity and stressors and threats to
  integrity on the Rio Grande National Forest, as outlined in Forest Service Handbook 1909.12, Chapter 10,
  Section 12.1 and 12.3.

  Introduction
  In this assessment, we address the ecosystem integrity of the major terrestrial ecosystems on the Rio
  Grande National Forest. We also discuss the drivers, stressors, and threats to ecosystem integrity on the
  forest. A separate assessment report addresses the ecosystem integrity of aquatic and riparian ecosystems
  on the Rio Grande National Forest, although some information about riparian ecosystems is presented
  here.

  An ecosystem is composed of living organisms (plants, animals and microbes) and their nonliving
  environment (climate and soil for terrestrial ecosystems; aqueous environment and substrate in aquatic
  ecosystems). These components interact so that the system: captures and stores energy as biomass; has a
  trophic structure; circulates nutrients; and changes over time (ecological succession). Assessing
  ecosystem integrity is required by the Forest Service planning rule. Integrity is measured by whether or
  not the dominant characteristics of the ecosystem:

  •   are within the range of what would occur “naturally” (natural range of variability), and
  •   can stay within that range as each ecosystem is influenced by stressors such as climate change, as
      well as development and other uses of the forest.
  The primary ecosystem described in this assessment is terrestrial. Terrestrial ecosystems include forested
  areas, non-forested (rangelands) and alpine ecosystems. These are the “dry” areas outside of lakes,
  streams, and other wet areas. There are two other ecosystems - riparian areas are the ecosystems along
  streams, lakes, and other water bodies; and aquatic ecosystems are the streams, lakes, and other water
  bodies that support fish and other aquatic species. Some information about riparian ecosystems is
  presented here; full assessments of both riparian and aquatic ecosystems are found in a separate report.

  Information Sources and Gaps
  A variety of information sources were used for this assessment. They are outlined below.

  •   State and transition modelling
  •   Forest map layers
  •   Stand exam and forest inventory and analysis plot data
  •   Colorado Natural Heritage Program Reports
  •   The South Central Highlands Guide (Romme et al. 2009) and other published literature
  •   The 1996 Rio Grande Revised Land and Resource Management Plan and associated Final
      Environmental Impact Statement
  •   Insect and disease reports for the forest and state of Colorado (Eager et al. 2012, CSFS 2014)
  •   Climate change-related publications and reports (Rondeau et al. 2012, Vose et al. 2012, Alexander
      and Keck 2015)
  The modelling we did to look at the natural range of variability and ecosystem integrity did not
  specifically include climate change. Climate change and the associated gradual increase in temperature
  will alter growth rates and mortality. Species habitat may move higher and more northward as a result.



                          Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000015
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 16 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  But most importantly, with a changing climate, we expect more extreme weather, climate conditions, and
  disturbances such as wildfires, insect and disease outbreaks, droughts, and floods. Therefore, some of the
  simulation results may not hold and there may be other unanticipated conditions due to the effects of
  climate change.

  We need studies to increase understanding of the local fire return interval as influenced by the rain
  shadow effect in our drier forest types. We have started this effort on a portion of the forest, but a more
  intensive, widespread effort is warranted.

  It is unclear how climate change, beetle-kill, and the past fire suppression strategy will impact our ability
  to allow fire to play its historic role as a disturbance agent. In addition, we are also uncertain how
  allowing fire on the landscape with such high fuel loadings will impact the desired conditions in specific
  forest types.

  Connectivity of habitat is an indicator of ecosystem integrity. It can be assessed in a variety of ways and
  with a variety of metrics. We do not have a comprehensive connectivity analysis on the Rio Grande
  National Forest, which would be helpful in assessing current habitat conditions.

  Existing Forest Plan Direction
  Our desired conditions in the current Rio Grande Forest Plan are:

      •   Maintain biological diversity by maintaining, to the extent possible, habitat composition,
          structure, pattern, and disturbance frequencies similar to those that result from natural
          disturbances such as insects, disease, and fire.

      •   Manage rangeland vegetation for a mixture of seral stages, with most areas in mid to high seral
          stages and specific desired conditions in each allotment management plan.

      •   Ensure riparian areas and floodplains are healthy, fully functioning ecosystems. Vegetation is
          diverse and is generally in later-seral condition, to provide site stability.

      •   Recognize the role fire plays in ecosystem dynamics, and use it as a management tool when and
          where it does not threaten human life, property, or resources needed to support long term
          industries.

  Standards and guidelines in our current Forest plan were written to move the forest towards these desired
  conditions. Our current standards and guidelines require we retain coarse woody debris and snags during
  timber harvest, provide direction on revegetation, old growth, and retention of aspen. We have standards
  and guidelines that pertain to the timing, amount, and regulation of livestock grazing. We have standard
  and guidelines related to silviculture that guide the type and intensity of harvesting we can allow.

  In our current Forest Plan we have guidelines for projects to consider potential insect or disease outbreaks
  to meet the objectives of each management area. We base thinning and other forestry measures on values
  of, and risks to, adjacent private lands, as well as public land. We prioritize areas where values to be
  protected exceed the cost of protection (e.g. areas adjacent to subdivisions, metropolitan areas, recreation
  sites, or areas of concentrated public use). In project areas with existing infestations, our activities are
  designed to minimize the risks of spreading the infestation, while still providing habitat for those wildlife
  species dependent on the presence of insects and diseases.

  The current Rio Grande Forest Plan does not include any guidance related to climate change.




                          Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000016
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 17 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Scale of Analysis
  Our modeling assessment encompasses about 1.7 million acres of forests, woodlands and grasslands on
  the Rio Grande National Forest. We added a buffer of 6.2 mi (10 km) around the Rio Grande National
  Forest boundary to encompass the broader landscape context, containing forests, woodlands and
  shrublands.

  Identify Key Ecosystem Characteristics (12.13):
  In order to assess the ecological integrity of the terrestrial ecosystems, we chose key ecosystems
  characteristics. These are attributes that we can use to predict whether future conditions will have
  ecological integrity. Below the key ecosystem characteristics are listed by ecosystem type. These are
  discussed in later sections of this document.

     Table 1. Key ecosystem characteristic for terrestrial ecosystems on the Rio Grande National Forest______
                Key Ecosystem Characteristic                                          Source
    Diversity of vegetation - amount and distribution of
                                                              State and transition modelling
    vegetation structural stages
     Landscape Disturbances and Patterns                      1996 Forest Plan, literature review
    Connectivity and Human-caused Fragmentation               Forest map layers
     Late successional habitats                               State and transition modelling
    Snags and down woody material                             Stand exam and forest inventory and analysis plot data
     Rare communities and special habitats                    Colorado Natural Heritage Program reports




  System Drivers and Stressors
  Drivers and stressors to the ecosystems of Rio Grande National Forest include succession, wildfire,
  insects and disease, climate change, management, livestock grazing, weather-related events such as
  droughts and floods, other natural disturbances such as beaver activity, exotic species invasion, and tree
  encroachment. The drivers and stressors for each particular ecosystem vary widely.

  Succession is the natural change in the composition, structure, and function of an ecosystem over time
  during long periods without major disturbances. As trees and plants grow and compete for limited
  resources, the species, size, and amount of the trees and plants that compose an ecosystem change.

  Wildfire is a natural part of the ecosystems on the Rio Grande National Forest. The historical fire regime
  varies widely across the different ecosystems. For example, the spruce-fir forests that dominate the Rio
  Grande National Forest generally experienced infrequent, stand-replacing fires while the mixed conifer
  forests experienced a more moderate fire regime with more frequent, but less severe (mixed-severity) fire.

  Under the current Forest Plan, we recognize fire’s role in ecosystem dynamics and use it as a management
  tool when and where it does not threaten human life, property, or resources needed to support long term
  industries. Our management of naturally occurring ignitions to include ecological benefit objectives is
  approved forestwide, although emphasis toward a suppression oriented response is higher in some areas.
  The option to consider the ecological benefit of naturally occurring ignition is not prohibited in any
  management area except for MA 8.22 - Ski-based Resorts.

  Insect and disease outbreaks are major ecological processes that shape the conditions of forests. As we
  learn more about the complicated relationships that occur in the forest ecosystem, we are coming to


                           Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000017
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 18 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  realize that insects and diseases play an important role in the cycles of forest growth and decline and in
  the creation and maintenance of key wildlife habitat components. Without the influence of “change
  agents” in the forest (fire, insects, and disease), the forest would stagnate and eventually become
  homogeneous, with a resultant negative impact on biodiversity and resilience to disturbance. These
  change agents are an integral part of forest ecosystem processes, but still pose a challenge to forest
  management.

  Two types of insects - bark beetles and defoliators - are currently affecting the Rio Grande National
  Forest. In addition, three groups of pathogens are affecting the Forest - dwarf mistletoe, root diseases, and
  stem decays. The biggest change currently happening on the forest is the result of the current spruce
  beetle outbreak. The spruce beetle (Dendroctonus ru^fipennis) is a native insect that attacks and kills
  mature Engelmann spruce. Historically, under the right conditions, spruce beetles can have large, intense
  outbreaks over expansive areas of forest. They are a part of spruce-fir forest ecology and a key
  disturbance agent. Since the early to mid-2000s, large spruce beetle outbreaks have occurred on several
  forests in Colorado and Wyoming, including the Rio Grande. Aerial surveys suggest that the spruce beetle
  affected 300,000 acres on the Rio Grande National Forest from 2000-2011 (Eager et al. 2012). Since that
  time, an even larger proportion has been impacted by spruce beetle, which makes it the most widespread
  forest pest for the state of Colorado for several years running (CSFS 2014). Many areas affected by
  spruce beetle have 80 to 100 percent mortality of mature Engelmann spruce. Due to the large amount of
  spruce-fir forests on the Rio Grande National Forest, this outbreak will have long-lasting effects on all
  aspects of the forest such as timber harvest, wildlife habitat, recreation access, carbon storage, and others.
  These effects are highly variable and may be positive or negative. As an example, some wildlife species
  thrive in this type of habitat while others do not.

  Our current Forest Plan includes guidelines for considering potential insect or disease outbreaks at the
  project level to meet the objectives of each management area. We base thinning and other forestry
  measures on values of, and risks to, adjacent private lands, as well as public land. We prioritize areas
  where values to be protected exceed the cost of protection (e.g. areas adjacent to subdivisions,
  metropolitan areas, recreation sites, or areas of concentrated public use). In project areas with existing
  infestations, our activities are designed to minimize the risks of spreading the infestation, while still
  providing habitat for those wildlife species dependent on the presence of insects and diseases.

  Climate change affects ecological conditions such as precipitation and temperature, in addition to its
  more visible effects from changes to the rate of disturbances such as wildfires and insect outbreaks.
  Related to this are the weather-related stressors such as droughts and floods that may be more common
  with a changing climate.

  The exact effect of climate change on the ecosystems of the Rio Grande is unknown, but some general
  trends are clear. Changes in temperature will change the growth of tree species (Rondeau et al. 2012, Vose
  et al. 2012), and this change may vary based on the particular species. Lower soil moisture will likely lead
  to higher levels of tree mortality and less regeneration. We predict tree habitat will move upward in
  elevation and northward in latitude and it is unclear whether tree species dispersal can keep up with this
  movement (Vose et al. 2012). We think some ecosystems are particularly susceptible to climate change-
  related impacts. Plant and animal species in high-elevation alpine ecosystems, such as the Uncompahgre
  Fritillary Butterfly, may be pushed to extinction if warming temperatures reduce their habitat (Alexander
  and Keck 2015).

  Climate-driven extreme weather events will likely have rapid, dramatic effects on ecosystems. Multi-year
  droughts are linked to numerous other stressors and disturbances. Wildfires will increase, along with
  insect infestations, invasive species, flooding, erosion, and sedimentation (Vose et al. 2012).



                          Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000018
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 19 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  When we wrote the 1996 Rio Grande Forest Plan, climate change theory was undeveloped and mostly
  unknown. Because of this, our Forest Plan does not include any language related to climate change. We
  recommend addressing climate change in our revised Forest Plan. Research suggests that we should be
  building off of the parts of the ecosystems that improve resilience and resistance to climate change,
  including unique ecological attributes such as fens, riparian zones (Seavy et al. 2009), and the parts of the
  spruce-fir forest that resisted, or were unaffected by the spruce beetle outbreak. A proactive approach for
  climate change may call for a rigorous reexamination into how we monitor change and adapt management
  practices, such as timber harvesting, salvage logging, and grazing practices, among others.

  We already implement management practices, such as thinning and fuel treatments, that reduce fire
  hazard, competition, and increase resilience to a changing climate in the drier forest types, although they
  currently only affect a small portion of the landscape. We are currently developing bioclimate models for
  13 tree species. This work will provide us with projections for how the suitability of habitat for these
  major species may change under a changing climate. These results will provide another source of
  information to consider as we develop future management options.

  Management activities such as timber harvest, thinning, and prescribed fire are a relatively minor driver
  and stressor on the forest and are implemented on less than 0.2 percent of the Rio Grande National Forest
  each year. However, the impact to the ecosystem of these activities varies based on the intensity, the
  specific activity, and the ecosystem, not just the acreage of the activity, and generally lasts longer than
  simply the year implemented. In addition, the roads associated with these activities, even temporary ones,
  can negatively impact the forest and its habitat. Intensive selective cutting of certain species and size
  classes in the past may still be affecting the ecosystem structure, composition and function of the forest
  (USDA Forest Service 1996).

  Livestock grazing is one of the multiple uses of the Rio Grande National Forest. The rural communities
  around the Rio Grande National Forest depend on ranching and national forest grazing for their economic
  livelihood. To ensure it is responsibly done, we have standards and guidelines in the current Forest Plan
  regarding the timing, amount, and regulation of livestock grazing. We need to evaluate and potentially
  adjust these standards and guidelines based on monitoring data. This is particularly true for low elevation
  riparian areas, which are especially vulnerable to climate change impacts.

  Historically, extensive livestock grazing practices affected not only shrublands but dramatically
  influenced lower elevation forests by removing fine, herbaceous fuels which altered fire regimes (Romme
  et al. 2009).

  Man-made disturbance, like fragmentation due to roads, can lead to reduced ecosystem function and
  biodiversity, (Haddad et al. 2015) and can affect habitat size and connectivity. This particular stressor is
  assessed in a later section of this report.

  Terrestrial Ecosystems - Our Approach
  To assess the ecosystem integrity on the Rio Grande National Forest, we used landscape-scale state and
  transition modelling to estimate historic conditions of the vegetation through natural range of variation
  simulations. State and transition models can be thought of as box and arrow diagrams, where boxes
  represent state classes describing vegetation composition and structure and the arrows represent the
  transitions, the drivers and stressors that cause vegetation change, such as growth, mortality, disturbance,
  and management. These models are particularly useful for assessing trends where multiple drivers and
  stressors act simultaneously on the landscape. We also used this modelling to estimate how conditions
  may change into the future, with and without management. As a result, we can use these modelling results
  to evaluate the similarity or difference of current conditions to historical conditions (within the natural


                          Rio Grande National Forest - 5 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000019
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 20 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  range of variability), and how that may change in the future as an indicator of ecological integrity. This
  work was performed by the Institute for Natural Resources at Oregon State University. The data sources
  they used for this modelling were LANDFIRE biophysical setting maps and descriptions along with
  Forest information on existing vegetation. Within the Forest boundary these biophysical setting
  descriptions were cross-walked to the Forest land-type association layer created prior to the 1996 Forest
  Plan and also compared to the current Forest vegetation layer. The land-type association layer combined
  similar land types based on ecological potentials considering climate, physiography, soils, hydrology, and
  potential natural vegetation based on information available in the early 1990s. Land types and land type
  associations contain multiple vegetation cover types so cannot be used to describe actual existing
  vegetation except at a broad scale, since they may not capture local variations in vegetation type and seral
  stages. For example, the spruce-fir forest mix includes the lodgepole pine vegetation type (found only on
  the northern part of the Forest) along with stands that are currently aspen dominated with a potential
  vegetation type of spruce-fir. Minor vegetation types such as limber and bristlecone pine are included
  with other major ecosystem types.

  Although we prefer to use field data from forest stand examinations, there is not enough current field
  sampled data available, especially considering the large spruce-beetle outbreak that is quickly changing
  our forests. Forest stand examinations also would not give us the necessary information for rangeland
  ecosystems. We have set up contracts for new forest stand examinations but the workload is large enough
  that two summer field seasons are needed. As a result, this data is not yet available for us to use in
  analyzing the natural range of variation of the local ecosystems.

  This modelling approach fits well with the landscape-level analysis needed for forest planning, but we
  need to evaluate the results cautiously because the data comes from different sources, and lacks precision.
  We have also incorporated the draft results of some change detection work done by the Forest Service
  Remote Sensing Applications Center to get a better understanding of the state of the forest now that
  spruce-beetle has impacted so many areas. Using the remote sensing data and modelling results also
  required the least amount of forest level support, which was important given the current budget and
  staffing levels and workloads.

  In addition to using state and transition modelling to look at the amount and diversity of ecosystem types
  and structure classes, we analyzed other key ecosystem characteristics either qualitatively, by tying them
  to the state and transition modelling, or through separate analysis using available stand exam or other
  data.

  Terrestrial Ecosystems - Forested, Non-Forested, Alpine
  Terrestrial ecosystems include forested, rangeland, and alpine ecosystems.

  The current Rio Grande Forest Plan provides direction on terrestrial ecosystem integrity. Our plan
  objectives emphasize using prescribed natural fire and management -ignited fire where forest ecosystems
  evolved under the influence of wildfire. This includes using fire as a management tool. Our objectives
  also emphasize maintaining natural or near-natural appearing landscapes in all areas of the forest. Several
  standards are designed to maintain the biological diversity of the Forest for the future. These include
  management direction for the retention of coarse woody debris, snags (dead standing trees), the inventory
  and assessment of old growth during project planning, aspen management, and the use of spatial-analysis
  concepts in project planning. The management areas in our current Forest Plan keep much of the Forest
  outside of wilderness undeveloped.

   Our ecosystem modeling assessment encompasses about 1.7 million acres of forests, woodlands (pinyon-
  juniper) and grasslands ecosystems on the Rio Grande National Forest and surrounding landscape (figure


                         Rio Grande National Forest - 6 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000020
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 21 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  1). We added a buffer of 6.2 mi (10 km) around the Rio Grande National Forest boundary to encompass
  the broader landscape context, containing forests, woodlands and shrublands. Based on the modelling
  parameters, we modeled eight of the major terrestrial ecosystems types with similar vegetation dynamics
  and assessed them individually, in addition to two ecosystem types that occur primarily outside the Forest
  (table 2). The landscape proportion in each ecosystem is shown in figure 2 and their spatial distribution is
  shown in figure 1.




  Figure 1. Map of ecosystems on the Rio Grande National Forest. The Forest boundary is shown in black, and
  the landscape context area included a 6.2 mile buffer around the forest.



  Identify Ecosystems (12.11):
  Based on the modelling process used, the majority of the Rio Grande National Forest is in the spruce-fir
  forest mix (48 percent) ecosystem type. Other ecosystem types that dominate the forest include the
  Southern Rocky Mountain montane-subalpine grassland (16 percent) and Rocky Mountain alpine turf (13
  percent), followed by mixed conifer - dry (8 percent) and pinyon-juniper woodland (6 percent). A general
  description of each of these ecosystem types follows the figures and tables below. We compiled this
  information from the literature cited as well as the South Central Highlands Guide (Romme et al. 2009).
  However, very few studies or site-specific local research regarding ecosystem reference conditions or



                         Rio Grande National Forest - 7 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000021
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 22 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  plant associations have been completed on the forests or woodlands located on the eastern, rain shadow
  side of the San Juan Mountains. Romme et al. (2009) focused primarily on the wetter, warmer western
  side of the San Juan Mountains which best reflects local conditions in the Engelmann spruce-subalpine fir
  vegetation type in the wettest areas along the Continental Divide. Away from the Continental Divide, the
  rain shadows created by complex mountain topography create conditions where the vegetation types
  present are affected more by aspect and slope. The relatively cooler temperatures on the eastern side of
  the San Juan Mountains have also influenced vegetation composition.

  Table 2 lists the ecosystems modeled for this assessment. Acres in each ecosystem are reported for the Rio
  Grande National Forest only and the landscape context area (including a 6.2 mi buffer), and omits areas
  that have snow, rock or other non-vegetated cover. Rio Grande National Forest acres also omit private
  inholdings within the forest.

  Table 2. Ecosystems modeled for the Rio Grande National Forest assessment
                                                                         National
                                                                          Forest       Rio Grande National Forest +
                                Ecosystem
                                                                         System            Context Area Acres
                                                                          Acres
     Spruce-Fir Forest Mix                                               929,645                      1,442,390
     Mixed Conifer-Wet                                                   42,718                        423,037
     Mixed Conifer-Dry                                                   94,925                        265,311
     Rocky Mountain Alpine Turf                                          191,800                       260,063
     Pinyon-Juniper Woodland (includes low elevation grasslands)         100,070                       582,015
     Rocky Mountain Gambel Oak - Mixed Montane Shrubland                  1,224                         25,951
     Southern Rocky Mountain Montane-Subalpine Grassland                 304,136                       505,593
     Rocky Mountain Montane Riparian                                     61,932                        124,363
     Sagebrush Shrubland                                                  5,014                         43,525
     Inter-Mountain Basins Greasewood Flat                                 128                         439,750
                                                                        1,731,592                    4,112,000


   Rio Grande National Forest Landscape
                                                   Rio Grande National Forest
            {with 10km Buffer)
                                                        Vegetation Types
             Vegetation Types


                                                                                         - l-nter-Mourrtaln Baiffvs Greasetwod flat
                                                                                         - Mwed Corifer ■ Dry
                                                                                         ■ Mwed Ccrifer - Wet
                                                                                         _ Pinyon-Juntper WotKSand
                                                                                         ■ Rocky Mourrtain Alpine Turf
                                                                                         ■ Rocky r^urrtain Gumbel Oak
                                                                                         ■ Rocky Mountain Montane RifWian
                                                                                         ■ Sagebrush shrubland
                                                                                           souChan Rocky r^aountain Moncdne
                                                                                           Subatpi ne Grass-land
                                                                                         ■ Spruce-f tr Merest Mix




  Figure 2. Proportion of the landscape occupied by each ecosystem across the entire modeled landscape
  (including 6.2 mi buffer) (left) and on the Rio Grande National Forest only (right). NA refers to areas that have
  snow, rock or other non-vegetated cover.



                             Rio Grande National Forest - 8 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000022
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 23 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Spruce-Fir Forest Ecosystem
  The core portion of the spruce-fir forest ecosystem is comprised primarily of Engelmann spruce (Picea
  engelmannii) and subalpine fir (Abies lasiocarpa) associations. Significant areas within this type are
  dominated by quaking aspen (Populus tremuloides), sometimes with a conifer component, depending
  upon successional status. These subalpine conifer forests represent the highest elevation forests in the
  area, ranging in elevation from about 9,000 to 11,500 feet. They occur along a variety of gradients,
  including gentle to very steep mountain slopes. Sites are cold year-round, and precipitation is
  predominantly snow, which may persist until late summer.

  Prior to human-caused disturbance, the two most significant broad-scale disturbance types in these
  communities were stand-replacing fires and bark beetle outbreaks (Baker and Veblen 1990, Veblen et al.
  1994, Veblen 2000). In-between punctuations of these broad scale forest disturbances, finer-scale
  processes such as insect infestations, avalanches, blow-down events and fungi shaped the structure and
  composition of spruce and fir stands (Veblen et al. 1989, Veblen et al. 1991a, Lertzman and Krebs 1991,
  Roovers and Rebertus 1993).

  With late-lying snow-packs and frequent summer precipitation within in these high elevation forests,
  there are typically long intervals between fires and fires that initiate when fuels are not sufficiently dry are
  small in extent. Fires in these systems are often driven by regional weather patterns and only after
  extended dry periods do these systems experience extensive fire. When fires do occur in these forest types
  during drought periods, they are often more severe than fires at lower elevations because of the fuel
  buildup. Fire return intervals in the nearby San Juan Mountains in these systems were historically about
  300 years, with many stands escaping fire for many hundreds of years (Romme et al. 2009) and with
  intervals varying with moisture regimes and topography. Post-fire, the dominant conifers usually re­
  established by reseeding or aspen established by root-sprouting (Stahelin 1943, DeByle and Winokur
   1985, Johnson and Fryer 1989, Veblen et al. 1991a, Turner et al. 1997). Fires (particularly at lower
  elevations) were typically followed by the rapid re-establishment of aspen with spruce-fir growing up in
  the understory, which would gradually displace aspen after several hundred years. As fire disturbance is
  compounded increasingly more with insect outbreak and climate change it is predicted aspen will become
  increasingly prevalent in subalpine systems (Kulakowski et al. 2013).

  Spruce beetle (Dendroctonus ru^fipennis) are endemic insects whose larvae feed on the phloem of large
  Engelmann spruce trees (Furniss and Carolin 1977, Schmid and Frye 1977, Schmid and Mata 1996).
  While most of the time beetle populations exist at relatively low-densities, they periodically explode into
  an outbreak and will kill most of the large diameter trees in affected areas over thousands of hectares
  (Romme et al. 2009). Spruce budworm (Choristoneura occidentals) is another native insect that can kill
  or repress smaller fir trees and sometimes explode from low-level populations into periodic outbreaks.
  While one common line of thinking is that fire may be more severe or frequent after beetle mortality
  events, there is little scientific evidence to support that and there are studies that contradict it (Bebi et al.
  2003, Andrus et al. 2015).

  Human-caused disturbances in these high-elevation stands are usually less severe than in other forest
  types. Because these forest types are typically more difficult to access than lower elevation stands, clear­
  cut logging and road building came later to them. Clear cut logging practices had serious implications for
  spruce-fir forests in terms of stand regeneration and the connectivity of mature forests. On the Rio
  Grande, harvest levels peaked in the late 1960s/early 1970s at around 30 MMBF a year (USDA Forest
  Service 1996). Given this is about twice the amount being harvested in recent years, these clear cuts
  probably weren’t that extensive, covering about 4,000 acres a year.




                          Rio Grande National Forest - 9 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000023
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 24 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Despite policies of fire exclusion, spruce-fir forests have remained relatively unchanged because fire
  return intervals are naturally long relative to the amount of time we have been suppressing fires. Fire
  suppression activities in lower-elevation systems, though, have reduced the frequency of fires burning
  into higher elevation systems (Barrett 1994, Baisan and Swetnam 1997).

  Mixed Conifer-Wet Ecosystem
  This mixed conifer zone includes the transition zones between the higher elevation spruce-fir ecosystem
  and the drier mixed conifer type where Douglas-fir is the most common species. Locally this type is
  referred to as “cool-moist” mixed conifer. The mixed conifer-wet ecosystem is dominated by Douglas-fir
  (Pseudotsuga menziesii), and various combinations of white fir (Abies concolor), Colorado blue spruce
  (Picea pungens), Engelmann spruce (Picea engelmannii), or subalpine fir (Abies lasiocarpa) with
  Ponderosa pine (Pinus ponderosa) occurring incidentally or absent. Significant areas within this type are
  dominated by quaking aspen (Populus tremuloides) which may have a significant conifer component. In
  the absence of fire, mixed conifers tend to replace the aspen community over long time frames. Elevation
  typically ranges from about 8,000 to 11,000 feet. Understory vegetation is comprised of a wide variety of
  shrubs, graminoids, and forbs depending on soil type, aspect, elevation, and other factors.

  The cool-moist mixed conifer forests are characterized by lethal fires occurring at long intervals (over 100
  years) with occasional small, less severe fires (Fule et al. 2009, Romme et al. 2009). Wet mixed conifer
  stands have less frequent fire return intervals compared to dry mixed conifer. When fires do finally burn
  through these stands after a long period of no fire, the fuel that has built up will create for a higher
  intensity fire than what is observed in the dry mixed conifer forests. In some cases after a high severity
  fire, aspen can remain the dominant species, depending on the extent and severity of the fire and the
  amount of conifer seed sources present.

  Fungal infections and insect outbreaks play a role in stand dynamics. Spruce budworm, which effect fir
  trees, typically maintain low populations but periodically experience exponential growth patterns. These
  budworms likely alter stand dynamics of mixed conifer stands which include Abies species during these
  outbreak periods.

  The combined factors of fire exclusion, selective logging and climate have altered dry mixed conifer
  stands more, but even in wet mixed conifer stands, there are also some areas with dense growth of smaller
  trees and little to no Douglas-fir regeneration and a reduced aspen component.

  Mixed Conifer-Dry Ecosystem
  In general, the mixed conifer-dry ecosystem can include a mix of conifer species, including ponderosa
  pine (Pinus ponderosa), Douglas-fir (Pseudotsuga menziesii), white fir (Abies concolor), blue spruce
  (Picea pungens) and smaller amounts of aspen (Populus tremuloides). This drier mixed conifer type has
  been subdivided into a warm-dry (high ponderosa pine component) and cool-dry (can include limber pine
  (Pinusflexilis), bristlecone pine (Pinus aristata), along with small amounts of pinyon (Pinus edulis) or
  juniper (Juniperus species) at lower elevations) local types to characterize the variability that can be
  found across the Forest. The modelling process included the ponderosa pine vegetation type in this
  ecosystem. With fire suppression, more shade tolerant conifers (e.g., Douglas-fir, white fir, and blue
  spruce) tend to increase in cover in late successional stages. This ecosystem is generally found between
  7,000 to 9,500 feet in elevation, and occupies higher elevations on south facing slopes than north facing
  slopes.

  The warm-dry mixed conifer systems have more frequent, less severe fires (20 to 50 years) with rarer
  more severe fires. Historically, stands were characterized by relatively open stand structures as a result.
  However, there was heterogeneity and thus there were patches of denser stands. Median fire intervals in


                         Rio Grande National Forest - 10 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000024
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 25 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  the nearby San Juan National Forest for these systems were 18 to 28 years (Romme et al. 2009), but fire
  regimes vary even within the mixed conifer subclasses along moisture continuums (Korb et al. 2013).
  Where these stands experience high severity fires, there is the possibility for them to be converted to
  mountain shrublands.

  Like wet mixed conifer stands, fungal infections and insect outbreaks, including spruce budworm, play a
  role in stand dynamics. Heavy livestock grazing and fire suppression likely have especially influenced the
  warm/dry mixed conifer forests due to their accessibility to livestock and departure from their frequent
  fire regimes. This grazing compounded the influence of fire suppression by further increasing the time
  between fires. Logging likely altered mixed conifer forests, particularly the dry mixed conifer stands, due
  to selective removal of ponderosa pine. The combined factors of fire exclusion, selective logging and
  climate have created dry mixed conifer stands that are comprised of smaller trees than historically.

  Rocky Mountain Alpine Turf Ecosystem
  The Rocky Mountain alpine turf ecosystem is widespread above upper timberline. Dominant species
  include boreal sagebrush (Artemisia arctica), several Carex species, tufted hair grass (Deschampsia
  caespitosa), Festuca species, Ross’ avens (Geum rosii), Bellardi bog sedge (Kobresia myosuroides),
  cushion phlox (Phloxpulvinata), and alpine clover (Trifolium dasyphyllum). These alpine environments
  typically occur above 11,000 feet and are characterized by cool temperatures, high wind, short growing
  seasons, and intense light. Alpine turf at these elevations is interspersed with rocky outcrops and talus
  slopes. Soils in these systems are shallower on steeper and more exposed slopes. There are generally
  considered to be four main vegetation types in these systems: fellfield, dwarf willow, turf and wetlands
  (Baker 1983, Thilenius 1975 and Dick-Peddie 1993).

  Fellfield communities are typified by shallow soils and short cushion plants with relatively low canopy
  cover. Turf communities usually occur in more protected areas and thus have deeper, better developed
  soils. Turf systems consist of grasses and forbs and have higher canopy cover than fellfield communities.
  Wetlands occur in poorly drained soils where water accumulates and consist of willows in some places
  and herbaceous communities in others. Dwarf willow vegetation communities occur where there is late-
  lying summer snowpack.

  As with other non-woody ecosystems, reference conditions for alpine systems are not well-known. Given
  the heavy sheep grazing that occurred in many of these alpine communities, it is likely that plant
  composition is altered, that water runoff patterns are different and that erosion has been increased. Mining
  is another human activity that has likely heavily influenced these systems where it has occurred. Roads
  and development associated with mining have reduced vegetation cover, provided pathways for non­
  native species, altered water run-off patterns and erosion (Somers and Floyd-Hanna 1996, Paulson and
  Baker 2006). Additionally, mine tailings from mining activities have caused water pollution problems and
  increased soil toxicity. Finally, in more recent years, the more popular alpine systems have suffered
  impacts from heavy recreation uses.

  Pinyon-Juniper Woodland Ecosystem
  In the pinyon-juniper woodland ecosystem, common trees include two-needle pinyon (Pinus edulis),
  Rocky Mountain juniper (Juniperus scopulorum), and Utah juniper (Juniperus osteosperma). These
  woodlands occur on warm, dry sites on mountain slopes, mesas, plateaus and ridges, particularly those
  with rocky soil characteristics. Understory composition consists of sparse perennial grasses, annual and
  perennial forbs, and sparse shrubs.

  Pinyon and juniper systems can be classified as persistent woodlands, savannas or wooded shrublands
  depending on canopy structure, understory composition and historical disturbance regimes (Romme et al.


                         Rio Grande National Forest - 11 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000025
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 26 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  2008). Historic fire rotations varied but were generally quite long (e.g., many centuries). The longest fire
  return intervals likely occurred in the persistent woodlands, and intervals were likely shorter in the other
  two classes, but there is less confidence in the understanding of fire behavior in these types. The Forest
  includes combinations of the three types, but this has not been defined or mapped.

  Stand dynamics may be more driven by climatic fluctuations, insects, and disease than fire (Eisenhart
  2004, Romme et al. 2008). There are two important ips species beetles that can cause pinyon trees to die
  within the same season that they are attacked (Romme et al. 2009). Beetle outbreaks are often aligned
  with drought conditions in these systems. Root disease such as black stain root disease can also
  significantly alter pinyon stands.

  Pinyon-juniper are lower-elevation systems that are highly accessible by people and therefore have seen
  significant human influences related to grazing, tree removal, wood cutting, fire suppression and
  development (Scurlock 1998). Understory composition changes in these systems are impossible to
  ascertain given limited to no historical information for pinyon-juniper woodlands.

  Heavy, year-round grazing started occurring in the late 1800s throughout pinyon-juniper systems and
  became more moderate when the Taylor Grazing Act was enacted in 1934. Where grazing continues now,
  there are substantial changes to the flora structure and composition (Fleischner 1994). Even where
  grazing is much reduced from heavy past usage, there may still be a legacy of changed vegetation.
  Livestock grazing also led to tree removal for better livestock forage, causing significant fragmentation to
  pinyon and juniper systems (Knight et al. 2000) and unknown ecological consequences.

  Expansion of pinyon and juniper woodlands is a concern in some areas, such as lower elevation meadows
  and areas with grassy understories. Although pinyon-juniper density has likely increased to some extent
  in the recent past on the Rio Grande National Forest, the current extent compared to past distribution has
  not been well analyzed. Fire exclusion in pinyon and juniper systems cannot be the primary mechanism
  for expansion and infill of these woodlands as fire was never very frequent in these systems and therefore
  they are not likely departed from historic fire return intervals in most places (Romme et al. 2008), though
  there is less certainty in pinyon-juniper savannas. Other drivers of expansion may be ongoing natural
  expansion, recovery from heavy grazing or tree removal, climate change or elevated carbon dioxide levels
  (Romme et al. 2009).

  Rocky Mountain Gambel Oak Shrubland Ecosystem
  The Rocky Mountain Gambel oak shrubland ecosystem is very uncommon on the Rio Grande National
  Forest, occurring where Gambel oak (Quercus gambelii) is the dominant species, often associated with
  serviceberry (Amelanchier spp), sagebrush (Artemisia spp) and various additional species of shrubs,
  grasses, and forbs. It occurs at 6,600 to 9,570 feet elevation on all aspects. Currently, Gambel oak is only
  found at the north end of the San Luis Valley near Poncha Pass where patches of oak can be seen on the
  slopes of the Sangre de Cristo Mountains. It is also a minor component in the ponderosa/dry mixed
  conifer type west of highway 17. Its distribution may be limited by low temperatures across much of the
  low elevation parts of the Forest.

  Studies in Mesa Verde National Park show that Gambel oak and service berry dominated shrublands are,
  at least partly, maintained by fire. The shrublands there have much shorter fire return intervals than the
  pinyon-juniper stands and recover from fire much more quickly (Floyd et al. 2000).

  Southern Rocky Mountain Montane-Subalpine Grassland Ecosystem
  The Southern Rocky Mountain montane-subalpine grassland ecosystem occupies elevated plains, valleys,
  hills and mountain sideslopes ranging from nearly level to very steep topography. Dominant species


                         Rio Grande National Forest - 12 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000026
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 27 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  include Thurber fescue (Festuca thurberi), Arizona fescue (Festuca arizonica), and several other grasses,
  forbs, and sedges. Elevation generally ranges from about 7,000 to 10,000 feet.

  The only historical information pertaining to mountain grasslands in southern Colorado are a few
  anecdotal accounts. Additionally, very few sites escaped intensive livestock grazing and those that did are
  often anomalous due to steep topography or other conditions. Thus, it is difficult to know how departed
  these grasslands are from historical conditions. It is thought that bunchgrasses covered greater than half of
  these grasslands with sod grasses and forbs filling the interspaces so total vegetation cover was nearly 80
  to 90 percent (Romme et al. 2009). Litter amounts were relatively high due to the biomass of the
  bunchgrasses and bare ground was minimal. Soil surface horizons were thick with organic matter and soil
  erosion and compaction were also minimal (Romme et al. 2009).

  Natural drivers of these grasslands were grazing by native ungulates and fire. Native ungulates in these
  systems likely moved through these systems as needed and the extent and severity of their grazing varied.
  Fire regimes associated with these grasslands is correlated to the fire regimes of the forests surrounding
  them. The lower elevation Arizona fescue grasslands were likely characterized by frequent, low-severity
  fire regimes while the higher elevation Thurber fescue grasslands experienced less frequent and more
  severe fires (Romme et al. 2009). These fires functioned to turnover nutrients, reduce litter, stimulate new
  plant growth, and eliminate woody plant growth.

  Heavy grazing occurred in these mountain grasslands in the late 1800s and early 1900s which likely
  resulted in altered plant composition and structure as well as ecosystem function. Livestock grazing
  interferes with nutrient cycling and plant succession, increases bare soil, compaction, and erosion.
  Livestock typically graze grasslands differently than native herbivores do. Where grasslands are
  dominated by Kentucky bluegrass (Poa pratensis), a non-native species that increases with disturbance
  (e.g. livestock grazing), there is commonly minimal litter, compacted soil and erosion issues (Turner and
  Paulsen 1976).

  Rocky Mountain Montane Riparian Ecosystem
  The Rocky Mountain Montane riparian ecosystem corresponds to the willows and sedges on floodplains
  land-type association. This ecosystem represents numerous riparian types occurring as relatively small,
  linear stringers in the upper montane/subalpine zones. These systems are highly variable and generally
  consist of one or more of the following five basic vegetation forms: cottonwoods, willows, sedges and
  other herbaceous vegetation, aspen, or conifers (often blue spruce, except at higher elevations where
  Engelmann spruce is more common, and subalpine fir). Due to human reliance on water and the
  sensitivity of these systems, riparian systems have possibly been altered more by human activities than
  any other.

  Development, livestock grazing, logging, agriculture, mining, roads, recreations, dams, diversions and
  exotic species all play a role in how these systems are composed and function today. When settlers first
  started establishing within and around the present-day Rio Grande National Forest, they removed riparian
  trees for fuel and structure building and then later built dams and diversions. These dams regulated water
  flow, blocked aquatic organisms and altered erosional processes. A drop in water tables and the
  elimination of flooding dramatically altered plant composition and structure, notably causing the decline
  of cottonwoods and willow systems.

  Heavy livestock grazing in the late 1800s and early 1900s eliminated or reduced woody riparian cover,
  which functions to retain higher water tables and stabilizes banks. Mining affected riparian areas by
  introducing pollutants and causing increased erosion into these systems. Logging caused increased
  sedimentation into stream systems. Though not a problem on the Forest, the introduction of non-native



                         Rio Grande National Forest - 13 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000027
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 28 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  species like salt cedar (tamarisk) and Russian olive trees have dramatically altered plant composition,
  structure and altered water table dynamics (Dick-Peddie 1993).

  Current information suggests that riparian areas may require increased management focus in regards to
  potential effects associated with climate change. Low-elevation riparian areas, and seeps and springs, in
  drier vegetation types are particularly vulnerable to management activities that may contribute to these
  effects and require an adaptive response to potential changes. Primary activities that may need additional
  attention include grazing by domestic and native ungulates, roads, and travel management influences.

  In areas within or downstream of stands that have experienced heavy beetle kill, streams may have altered
  timing of spring runoff patterns due to earlier and quicker snowmelt (Pugh and Small 2012).

  Sagebrush Shrubland Ecosystem
  The sagebrush shrubland ecosystem is a dry shrubland type that occurs mostly adjacent to the Rio Grande
  National Forest. Sagebrush shrublands are dominated by Artemisia tridentata and other shrubs.
  Historically the understory of these communities were comprised of bunchgrasses and forbs, although
  with the introduction of non-native species both composition structure of the understories have changed
  where they are present.

  Sagebrush shrublands in the Rio Grande National Forest were heavily grazed in the late 1800s and the
  early 1900s before grazing became more regulated under the Taylor Grazing Act (Rogers 1964). While
  sagebrush shrublands were grazed by native ungulates prior to Euroamerican settlement, livestock moved
  through these systems and grazed them differently. Livestock grazing not only alters plant composition
  and structure though selective grazing of palatable plants (Caldwell 1984) and removal of biomass, but
  also influences soil through compaction (and then future plant establishment), erosion (Thurow et al.
  1988), and nutrient cycling (Semmartin 2004).

  Another consequence of grazing is that along with fire suppression efforts, it may have increased fire
  intervals in sagebrush systems through reduction of fine fuels. However, introduction of cheatgrass
  (Bromus tectorum), an invasive annual grass, can serve to increase fire frequency through a positive
  feedback cycle (Whisenant 1990). Fire in sagebrush systems reduces decadent sagebrush stands, promotes
  understory growth and nutrient cycling and creates a mosaic of sagebrush structures and community types
  across a broad landscape. Regardless of fire severity, fire in sagebrush is stand-replacing (Sapsis and
  Kauffmann 1991) and sagebrush can be slow to reestablish. Historic fire regimes are difficult to ascertain
  directly and likely varied with sagebrush type, elevation and other abiotic factors. Estimates of fire
  rotations for sagebrush systems generalized across the west from a few studies (Baker 2006) are 325 to
  450 years for low sagebrush, 100 to 240 years for Wyoming big sagebrush, and 70 to 200 years for
  Mountain Big sagebrush. If these estimates are correct for the Rio Grande National Forest sagebrush
  shrublands, than they are not likely very departed from their historic fire intervals. A reduction in fire
  occurrence in this type may allow conifer encroachment into shrublands.

  Intermountain Basins Greasewood Flat Ecosystem
  The Intermountain Basins greasewood flat ecosystem, also called Intermountain salt shrubland, is a dry
  shrubland system dominated by Sarcobatus vermiculatus and which also includes Atriplex and Artemisia
  species. If there is an herbaceous layer, it is typically dominated by grasses. It is found mostly adjacent to
  the Rio Grande National Forest and occupies substantial areas at low elevations around the Forest.

  Greasewood systems experienced heavy grazing in the Rio Grande region during Euroamerican
  settlement. While greasewood itself is not browsed (Daubenmire 1970), understory grass composition
  may have shifted with heavy grazing and by the introduction of invasive and forage grasses that were able


                         Rio Grande National Forest - 14 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000028
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 29 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  to establish with an initial reduction in cover. Greasewood re-sprouts quickly after fire but grasses will
  initially dominate the recovering community. Human disturbance such as road building and overgrazing-
  induced erosion that interrupt the hydrologic cycles in these systems may influence the composition and
  structure of these communities.

  Habitat Structural Stage Classification
  For this assessment, we also characterized vegetation condition into habitat structural stages developed by
  USDA Forest Service Region 2 (table 3). We refer to canopy cover 0 to 10 percent as grass/shrub, 10 to
  40 percent as open, 40 to 70 percent as ‘mid’ and 70 to 100 percent as closed in the descriptions below. A
  habitat structural stage category for aspen-dominated stands with variable size and canopy cover was also
  added for this analysis.

  Table 3. Definitions of habitat structural stages used to characterize ecosystem condition
            Habitat Structural Stage                    Size Class              Tree Canopy Cover
     1M- Natural Meadow                                      -                            -
    2S- Natural Shrubland                                    -                            -
     1T/2T- Grass/Shrub, Previously Trees                   all                        0-10%
    3A- Sapling-Pole 10-40% cover                 sapling-pole (0-9" DBH)             10-40%
    3B- Sapling-Pole 40-70% cover                 sapling-pole (0-9" DBH)             40-70%
    3C- Sapling-Pole >70% cover                   sapling-pole (0-9" DBH)              >70%
    4A- Mature 10-40% cover                          mature (9+" DBH)                 10-40%
    4B- Mature 40-70% cover                          mature (9+" DBH)                 40-70%
    4C- Mature >70% cover                            mature (9+" DBH)                  >70%
    Aspen                                                   all                          all



  Of the forested area, most of the landscape is comprised of mature, open stands (4A), with grass/shrub,
  open sapling-pole, mid cover mature, and aspen each comprising about 10 percent of the landscape. In the
  broader Rio Grande National Forest landscape including the context area, natural shrublands (2S)
  comprise a substantial portion of the landscape, and the proportion of the landscape occupied by sapling­
  pole trees is greater.

  Vegetation Modelling Results - Assessment of Ecosystem Integrity (12.14),
  including a Description of the Natural Range of Variation (12.14a or b), and Status
  and Trends (12.14c):
  Historically, roughly 30 percent of the Rio Grande National Forest was comprised of natural meadows
  and (few) shrublands. The remainder of the Rio Grande National Forest was dominated by forests,
  including about 16 percent in aspen stands. Forested canopy cover under natural range of variation was
  projected as 31 percent conifers with mid cover (40 to 70 percent canopy cover), 14 percent conifer with
  closed (over 70 percent canopy cover) conditions, and 8 percent open (under 40 percent canopy cover)
  conifer stands. Historical projections indicate that most of the Rio Grande National Forest was comprised
  of mature conifer trees (42 percent) with 11 percent in smaller sapling-pole sizes. Only 1 percent of the
  Rio Grande National Forest is expected to be in grass/shrub with forested potential (habitat structural
  stage 1T/2T) under historic conditions, indicating rare stand-replacing disturbance.




                          Rio Grande National Forest - 15 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000029
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 30 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

  Table 4. Current number of acres in each habitat structural stage, based on maps of current vegetation and
                                   incorporating recent, large disturbances_____________________________________________
                                             Rio Grande National Forest         Rio Grande National Forest and
            Habitat Structural Stage
                                                      Acres                        Landscape Context Area
                                                 Acres           Percent           Acres             Percent
     1M- Natural Meadow                         495,936           29%             765,656             19%
    2S- Natural Shrubland                         6,366            0%             509,226             12%
     1T/2T- Grass/Shrub, Previously Trees        190,270           11%            349,223              8%
     3A- Sapling-Pole 10-40% cover               171,678           10%            566,786             14%
     3B- Sapling-Pole 40-70% cover               101,526           6%             620,641             15%
     3C- Sapling-Pole >70% cover                  5,256            0%              161,572             4%
    4A- Mature 10-40% cover                     376,921           22%             458,371             11%
    4B- Mature 40-70% cover                      173,329           10%            345,847              8%
    4C- Mature >70% cover                        44,635            3%              68,793              2%
    Aspen                                        165,675           10%            265,884              6%




  Figure 3. Comparison of habitat structural stage classes under natural range of variation equilibrium, current
  conditions (time zero) and future projections under no management at 20, 50, 100, 300 and 500 year time
  steps across all ecosystems within the Rio Grande National Forest. Error bars show ± 1SD across 10
  replicate simulations.

  Current conditions on the Rio Grande National Forest contain abundant grass/shrub with forested
  potential (habitat structural stage 1T/2T). Current conditions also contain more sapling-pole trees and a
  much greater proportion (31 percent) of open stands compared to natural range of variation conditions.
  The abundance of grass/shrub and open conditions are largely a result of a severe spruce beetle outbreak
  and a recent large wildfire over the past several years. The proportion of aspen at present is also smaller
  than projected under natural range of variation, due to fewer wildfires under contemporary conditions.
  Very large and intense disturbances were rare in our simulations and did not substantially influence
  natural range of variation condition. In short, the Rio Grande National Forest overall is currently



                          Rio Grande National Forest - 16 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000030
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 31 of 406

                                    Rio Grande National Forest -Assessments 1 and 3
                        Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  moderately to substantially departed from typical natural range of variation conditions, with the degree of
  departure varying by ecosystem (Table 5).

  Table 5. Departure from the natural range of variability for each ecosystem based on vegetation modeling
  results
                                                                             Departure from Natural Range of Variation
                                Ecosystem                                Substantially    Highly     Slightly      Not
                                                                           Departed      Departed    Departed    Departed
     Spruce-Fir Forest Mix                                                    X
     Mixed Conifer-Wet                                                        X
     Mixed Conifer-Dry                                                                                  X
     Rocky Mountain Alpine Turf                                                                                     X
     Pinyon-Juniper Woodland                                                                *X
     Rocky Mountain Gambel Oak - Mixed Montane
     Shrubland                                                                              X

     Southern Rocky Mountain Montane-Subalpine Grassland                                    *X
     Rocky Mountain Montane Riparian                                          *X
     Sagebrush Shrubland                                                                                X
     Inter-Mountain Basins Greasewood Flat                                                              X
  * indicates less confidence in the model results for that ecosystem.



  Projected future conditions indicate overall recovery toward the natural range of variation as the result of
  natural processes. Future estimates suggest there may be slightly less aspen than expected under the
  natural range of variation due to lower contemporary wildfire levels. The projected future proportion of
  mature trees is also greater than under the natural range of variation, particularly in forests with closed
  canopy conditions. In sum, our modeling indicates that the Rio Grande National Forest will likely move
  from currently departed conditions toward the natural range of variation as it recovers from recent
  disturbance. However, it may remain somewhat departed from the natural range of variation due to lower
  overall levels of wildfire resulting from fire suppression.

  Across the entire Rio Grande National Forest, the effects of management are small. This is not surprising,
  as the extent of management treatments is extremely small, with less than 0.2 percent of the landscape
  treated with management activities each year. However, the impact to the ecosystem of these activities
  varies based on the intensity, the specific activity, and the ecosystem, not just the acreage of the activity,
  and generally lasts longer than simply the year implemented. In addition, the roads associated with these
  activities, even temporary ones, can negatively impact the forest and its ecosystems. The extent of
  management activities also varies by ecosystem. Ecosystem structure, composition and function may still
  be experiencing the legacy effects of past clearcutting, road-building and grazing practices.

  Drivers and stressors varied widely among ecosystems across the Rio Grande National Forest. The
  dominant drivers across the landscape include growth and mortality, livestock grazing, and (in some
  cases) wildfire. Wildfire affected three times more area under the natural range of variation conditions
  than contemporary conditions due to contemporary fire suppression. Other drivers included insects and
  disease, weather-related events (e.g., droughts and floods), other natural disturbances (e.g., beaver activity
  in riparian areas), and management. Overall, management treatments such as thinning, prescribed fire,
  and timber harvest are implemented on less than 0.2 percent of the Rio Grande National Forest each year,
  although this varies by ecosystem, indicating that management (other than wildfire suppression) is a


                              Rio Grande National Forest - 17 - Forestwide Planning Assessment
                                                                                         Rvsd Plan - 00000031
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 32 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  relatively minor driver and stressor at a landscape scale. However, the impact to the ecosystem of these
  activities varies based on the intensity, the specific activity, and the ecosystem, and generally lasts longer
  than simply the year implemented.

  The modelling that was done to look at the natural range of variability and ecosystem integrity did not
  specifically include climate change. Climate change and the associated gradual increase in temperature
  will alter growth rates and mortality. Species habitat may move higher and more northward as a result.
  But most importantly, with a changing climate, we expect more extreme weather, climate conditions, and
  disturbances such as wildfires, insect and disease outbreaks, droughts, and floods. Therefore, some of the
  simulation results may not hold and there may be other unanticipated conditions due to the effects of
  climate change.

  Vegetation Modelling Results - Ecosystem by Ecosystem - Assessment of
  Ecosystem Integrity (12.14), including a Description of the Natural Range of
  Variation (12.14a or b), and Status and Trends (12.14c):

  Spruce-Fir Forest Ecosystem
  Model simulations indicate that about 70 percent of the spruce-fir forest ecosystem was historically
  dominated by conifer species, with the remaining 30 percent in aspen. Under historic conditions,
  modelling suggests 60 percent of the ecosystem was occupied by mid and closed conifer cover, with only
  8 percent of the landscape in open conifer cover. A very small proportion (1 percent) of the landscape
  contained grass/shrub conditions resulting from stand-replacing disturbance.

  The vegetation modelling suggests that the spruce-fir forest ecosystem is currently substantially departed
  from the natural range of variation due to the effects of recent wildfires and a large, multi-year spruce
  beetle outbreak, which caused substantial spruce mortality, opened canopy conditions, and created
  patches of grass/shrub across wide areas. A much larger amount of this type is currently categorized as
  open, with low canopy cover, than was estimated under historic conditions from the model simulations.
  The proportion of aspen in the spruce-fir forest ecosystem is also currently lower than historic projections,
  but should increase following the recent disturbances.

  This result is not necessarily in agreement with the published literature. The modelling of historic
  conditions included moderate spruce beetle outbreaks, but did not include the rare, extreme spruce beetle
  outbreaks like the one the Rio Grande National Forest is currently experiencing. Literature (Eager et al.
  2012, Romme et al. 2009) indicates that in these spruce-fir forests, spruce beetles generally persist in low-
  level, widespread populations that have little effect on forest structure, but that they periodically have
  very large outbreaks, where the “beetles may kill millions of mature pine or spruce trees over areas of
  thousands of hectares.” Since the modelling did not include these large, explosive outbreaks, the spruce­
  fir forests may not be nearly as departed from the natural range of variation as the modelling suggests.

  Future projections for the spruce-fir forest ecosystem generally show a trajectory of recovery toward the
  natural range of variation conditions over time. The current overabundance of grass/shrub conditions
  largely disappears in the first 20 years of projections, and open conifer forests are mostly replaced by
  mid- and closed cover forests over the first century of projections. Aspen stands increased in short-term
  and mid-term projections. Longer-term projections, however, show a decline of aspen stands to levels
  roughly 10 percent lower than under the natural range of variation, mostly due to lower levels of wildfire
  under contemporary conditions due to fire suppression.

  Management treatments in the spruce-fir ecosystem include broadcast burning, group selection, planting
  of trees, salvage harvest, shelterwood harvest, and stand clearcut. In total, these treatments represent



                         Rio Grande National Forest - 18 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000032
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 33 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  roughly 0.1 percent of the area occupied by spruce-fir on the Rio Grande National Forest (1,277 acres per
  year).

  Mixed Conifer-Wet Ecosystem
  Model simulations for the mixed conifer-wet ecosystem indicate that historically, a small proportion (2
  percent) of the ecosystem was in grass/shrub conditions, 13 percent was comprised of aspen stands, and
  the remaining 85 percent was dominated by conifers. Within the conifer-dominated areas, most of the
  trees were mature, with 72 percent of the ecosystem in mid to closed conifer cover.

  This vegetation modelling suggests the mixed conifer-wet ecosystem is substantially departed from the
  natural range of variation. Only 20 percent of this ecosystem is currently dominated by conifers with mid-
  to high canopy cover, less than a third of the historic proportion. Current conditions also contain much
  more grass/shrub and aspen due to recent disturbances. Mature trees currently occupy half of their historic
  extent, with a greater proportion under low canopy cover.

  A recent mixed-conifer synthesis (Colorado Forest Restoration Institute 2010) suggests that it is unclear
  how departed from the natural range of variation these cool-moist mixed conifer forests are and that more
  information is needed. This report also suggests that the lack of intermediate-sized fires due to fire
  suppression and management has led to the loss of historic variability in these forests and that we should
  “create conditions in which mixed-severity fires, intermediate to large in size, can be allowed to burn with
  acceptable risk and cost.”

  Future projections show short-term increases in aspen-dominated stands as areas currently occupied by
  grass/shrub recover through seral aspen stages. The proportion of aspen gradually decreases to a level
  lower than the historic estimates due to less wildfire in the contemporary disturbance regime due to fire
  suppression. Over time, the projected proportion dominated by conifers increases and mature trees occupy
  a greater proportion of the landscape. Overall, the mixed conifer-wet ecosystem recovers toward the
  natural range of variation in our simulations, but ends up with less aspen and more closed forests than the
  natural range of variation condition.

  Management treatments in the mixed conifer-wet ecosystem include broadcast burning, salvage harvest,
  and thinning. These treatments represent an annual treatment rate of 0.6 percent of the ecosystem each
  year (282 acres).

  Mixed Conifer-Dry Ecosystem
  Model simulations indicate that under historic conditions, roughly 10 percent of the mixed conifer-dry
  forest area was in grass/shrub condition. The remainder was in conifer-dominated stands, with 25 percent
  open cover, 57 percent in mid cover and 8 percent of the area in closed condition. A majority of the
  ecosystem contained mature trees (61 percent), while about 30 percent of the ecosystem was in sapling­
  pole stages.

  Current conditions in the mixed conifer-dry ecosystem contain similar levels of grass/shrub conditions
  and similar area in open forest conditions, compared to the natural range of variation. There is currently a
  larger proportion of sapling-pole size trees than under the natural range of variation, and also slightly less
  closed forest. However, this ecosystem is currently only slightly departed from the natural range of
  variation based on model simulations. This is surprising in that it is generally thought that the warm-dry
  mixed conifer types are more departed from the natural range of variation than cool-moist mixed conifer
  (Colorado Forest Restoration Institute 2010). Given that the dry mixed conifer forest type has a more
  frequent fire regime than other types, such as wet mixed conifer and spruce-fir, it is generally thought to
  have been more impacted by fire suppression and thus more departed from historic conditions.



                         Rio Grande National Forest - 19 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000033
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 34 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Future projections indicate that growth and succession will likely increase the proportion of mature trees
  and mid-closed canopy cover in the mixed conifer-dry ecosystem over time. Overall, the mixed conifer­
  dry ecosystem shows less current departure than many other ecosystems on the Rio Grande National
  Forest and a trajectory toward future conditions that are moderately departed from the natural range of
  variation.

  Wildfire was moderately frequent under historical conditions, but is more infrequent under contemporary
  conditions, due to fire suppression. Insect outbreaks, such as Douglas-fir beetle and mountain pine beetle,
  affected an average of 0.5 percent of the mixed conifer-dry ecosystem annually historically, but model
  simulations suggest that, due to more larger trees and closed canopy stands in the future, under the current
  fire regime, these conditions may lead to more insect outbreaks.

  Management treatments in the mixed conifer-dry ecosystem include broadcast burning, planting of trees,
  salvage harvest, and thinning. In total, these treatments represent an annual treatment rate of 0.5 percent
  of the ecosystem (469 acres per year).

  Rocky Mountain Alpine Turf Ecosystem
  Current conditions show a high proportion of late-seral conditions, similar to those under the natural
  range of variation. Future projections also maintain most of the ecosystem in late-seral conditions, with
  disturbances even more rare in future projections. The South Central Highlands Guide (Romme et al.
  2009) describes heavy sheep grazing in this type and speculates that historically, the vegetation structure
  and distribution is similar to today, but with different species composition in the areas with heavy grazing.

  Pinyon-Juniper Woodland Ecosystem
  Modelling suggests that historically 5 percent of the pinyon-juniper woodland was in grass/shrub, 35
  percent in open canopy cover and 60 percent in mid canopy cover. Most of the area was dominated by
  mature trees.

  Current conditions are highly departed from the natural range of variation in the pinyon-juniper woodland
  ecosystem, with a much higher amount (60 percent) of the area in grass/shrub. Of the remaining
  landscape, almost all contains open cover woodlands, with smaller sapling-pole trees dominant. The high
  level of departure is at least partially related to the assignment of the low-elevation grasslands land type
  association to the pinyon-juniper woodland ecosystem. If some of the mapped grass/shrub areas are
  actually natural grasslands and had been classified into a grassland ecosystem instead, the level of
  departure from the natural range of variation would be lower.

  Under future projections, the pinyon-juniper woodland recovers from highly departed current conditions
  over several centuries. Long-term projections indicate future conditions within the natural range of
  variation. However, the trend toward increasing tree cover may not actually occur if the grassland land
  type association is not at least moderately susceptible to tree invasion.

  Succession and insect outbreaks, such as pinyon ips, were the most influential drivers of vegetation
  dynamics in the pinyon-juniper woodland ecosystem, with wildfire relatively rare. Management
  treatments in the no-action scenario include broadcast burning, mastication, and thinning, summing to an
  annual treatment rate of 0.4 percent (443 acres per year).

  Rocky Mountain Gambel Oak Shrubland Ecosystem
  Model simulations indicate that historically a high proportion of the Rocky Mountain Gambel oak
  shrubland ecosystem was in late-seral, closed shrub conditions, with some open patches and a low
  proportion of early-seral conditions.


                         Rio Grande National Forest - 20 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000034
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 35 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Current conditions for the Rocky Mountain Gambel oak shrubland ecosystem indicate a roughly equal
  representation of seral stages. However, future projections under contemporary conditions show nearly all
  of the ecosystem moving to late-seral, closed conditions due to contemporary fire suppression.

  Succession and wildfire were the only drivers modeled in the Gambel oak shrubland ecosystem.
  Projections indicate much lower levels of wildfire under contemporary conditions compared to historic
  conditions.

  Southern Rocky Mountain Montane-Subalpine Grassland Ecosystem
  Model simulations indicate that most of the landscape in this ecosystem was occupied by grasses with
  some shrub and tree cover possible under the natural range of variation. However, we have lower
  confidence in the projections for this ecosystem and the underlying models used.

  Current conditions contain a greater proportion of early seral grasslands with lower shrub and tree cover
  than under the natural range of variation. Future projections generally indicate a return toward the natural
  range of variation conditions.

  Drivers in the montane-subalpine grassland ecosystem historically included succession, wildfire, and tree
  encroachment. In future projections, livestock grazing was the dominant driver, affecting over 5 percent
  of the landscape each year. Modelling showed tree encroachment rates were higher under future
  conditions. Management consists of prescribed fire, at a rate of 471 acres per year.

  Rocky Mountain Montane Riparian Ecosystem
  Model simulations indicate that, historically, 63 percent of the ecosystem had open to mid canopy cover,
  with the remaining 37 percent in closed cover conditions. However, we have lower confidence in the
  projections for this ecosystem and the underlying models used.

  Current conditions contain 30 percent of the riparian vegetation in mid canopy cover, substantially less
  than under the natural range of variation. Future projections indicate a gradual decline of mid cover areas
  over time. This trend away from the natural range of variation is due to the much longer fire return
  interval under contemporary conditions.

  Management data indicates that less than 20 acres per year is treated in this ecosystem.

  Gage and Cooper (2013) suggest that a variety of factors have caused many high-to middle-elevation
  riparian shrublands to be outside the natural range of variation, due to exotic species invasion, herbivory
  and trampling by livestock and native ungulates, and changing hydrologic regimes and beaver
  populations.

  Sagebrush Shrubland Ecosystem
  A qualitative assessment of model results show that much of the sagebrush shrubland ecosystem was
  historically comprised of mid- and late-successional classes, with roughly 20 percent containing some
  juniper cover.

  The vegetation modelling suggests that the current condition of the sagebrush shrubland ecosystem varies
  based on whether the area is inside or outside the Rio Grande National Forest. This may be a true
  difference or may simply be an artifact of the data sources used. The portion of this ecosystem outside the
  national forest boundary is predominantly in early and mid-successional classes with few exotic annual
  grasses present. The portion of this ecosystem within the national forest boundary is mostly in late-
  successional classes and is slightly departed from the natural range of variation.



                         Rio Grande National Forest - 21 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000035
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 36 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Under future projections, exotic annual grass species and juniper expansion displace much of the native
  sagebrush. Projections also show an increase in early-seral shrubs such as rabbitbrush (Chrysothamnus
  and Ericameria species).

  Under historic conditions, wildfire was the dominant driver of vegetation dynamics, whereas under
  projected future conditions, livestock grazing is the dominant driver in this system, affecting almost 7
  percent of the ecosystem on average each year. Exotic invasion also impacted 0.6 percent of the
  ecosystem annually, and tends to increase the frequency of wildfire where it occurs.

  No management treatments were modeled in this ecosystem, as it occurs mostly outside of the Rio
  Grande National Forest.

  Intermountain Basins Greasewood Flat Ecosystem
  A qualitative assessment of the natural range of variation indicates open grass and shrub conditions
  dominated this ecosystem historically, with some early-seral conditions containing sparse shrubs also
  present.

  Currently, a greater proportion of the Intermountain basins greasewood flat ecosystem is mapped in open
  grass/shrub conditions than projected under the natural range of variation. Overall, model results
  indicated that this ecosystem is slightly departed from the natural range of variation.

  Future projections show a large increase in exotic species and an introduction of wildfire into this
  ecosystem, which naturally experiences little or no fire due to lack of fuels.

  Historically, only succession and weather-related disturbances were modeled in this ecosystem, including
  impacts of drought and very wet years. Under contemporary conditions, livestock grazing is the primary
  driver, followed by wildfire, weather, and exotic invasion.

  Vegetation Modelling Summary - Assessment of Ecosystem Integrity (12.14):
  In summary, the spruce-fir and aspen forests are, in particular, undergoing rapid change due to a recent,
  large outbreak of spruce beetle and a recent large wildfire. High levels of mortality in mature Engelmann
  spruce in many areas have produced abundant open stands and dead standing and down wood. This, in
  turn, is allowing regeneration of aspen and an increasing trend in aspen forests.

  It is difficult to determine whether the terrestrial ecosystems on the Rio Grande National Forest are within
  the range of what would occur naturally. Modelling results indicate that the terrestrial ecosystems on the
  Rio Grande National Forest are, in general, moderately to substantially departed from what would occur
  naturally. However, the determination of the range of natural conditions is not an exact science. The
  spruce beetle modelling did not include the rare, extreme spruce beetle outbreaks like the one we are
  currently experiencing, but more moderate outbreaks. We know that these large spruce beetle outbreaks
  happened historically and this suggests, along with the long fire return interval in spruce-fir, that this
  ecosystem is not departed from historic conditions. In the end, we don’t really know with any certainty
  what effect past logging has had in these forests and whether this latest spruce beetle outbreak is a
  completely natural phenomenon or one influenced by climate change.

  In other cases as well, the published literature is not necessarily in agreement with the modelling we used
  here, making it difficult to know with any certainty how departed some of these types are from the natural
  range of variation. The dry mixed conifer type is thought to be highly departed from its natural range due
  to its more frequent fire return internal and fire suppression over the last century. The modelling we used
  here suggests this type is only slightly departed. This discrepancy may be due to the modelling
  assumption of a 100 year fire return interval for the dry mixed conifer type, which is higher than the 20 to


                         Rio Grande National Forest - 22 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000036
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 37 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  50 year fire return interval discussed in the literature. Wet mixed conifer was found to be substantially
  departed from its natural range of variation by the modelling. It is surprising that the wet mixed conifer
  type would be more departed than the dry type, since it has a less frequent fire regime. While there is little
  area with high cover (over 70 percent) in the wet mixed conifer type on the Forest; this may be due to
  recent heavy mortality from insects such as spruce budworm or past wildfires and needs to be investigated
  further.

  Over the long term (many decades to hundreds of years), models project most forested ecosystems
  recovering towards the natural range. However, due to fire suppression, we may expect to see somewhat
  less aspen in the future than would likely exist naturally, as well as other changes in the structural
  composition of forests.

  Across the entire Rio Grande National Forest, the effects of management are small. This is not surprising,
  as the extent of management treatments is extremely small, with less than 0.2 percent of the landscape
  treated each year. However, the impact of these activities to the ecosystem varies based on the intensity,
  the specific activity, and the ecosystem, not just the acreage of the activity; and generally lasts longer than
  simply the year implemented. In addition, the roads associated with these activities, even temporary ones,
  can negatively impact the forest and its habitat. The extent of management activities also varies by
  ecosystem.

  Assessment of Ecosystem Integrity (12.14):
  Landscape Disturbances and Patterns

  Overview of the Rio Grande National Forest Landscape
  The Rio Grande National Forest is a diverse landscape with a wide variety of vegetation communities. On
  and just surrounding the Rio Grande National Forest, sagebrush shrublands and greasewood flats
  dominate the lowlands, with pinyon-juniper woodlands intergrading into them. Pinyon and juniper may
  be encroaching into what were recently grasslands or shrublands due to: past grazing, which potentially
  limits competition from herbaceous plants; fire exclusion, which allows more woody growth; and
  changing climate. Aside from pinyon and juniper, the foothill zone is a mixture of grassland, common
  mountain shrubs such as currants, rabbitbrush, chokecherry, skunk bush, limited areas of mountain big
  sagebrush, low sages, and mountain mahogany.

  Above the foothill zone begins the lower elevation portion of the montane zone. Here mixed conifer
  forests are interspersed with aspen stands and montane grasslands. Douglas-fir and ponderosa pine are the
  dominant trees in the montane zone. Ponderosa pine generally grows in scattered, park-like stands with
  abundant grass growth of Arizona fescue and mountain muhly in the understory. Douglas-fir intermingles
  with ponderosa pine on north-facing slopes and in ravines. With elevation gain, Douglas-fir eventually
  replaces the ponderosa pine. Two important seral species in the montane zone are aspen and lodgepole
  pine on the northern edge of the Forest. The Rio Grande National Forest represents the southern
  geographic range for lodgepole. White fir commonly occurs in the upper elevations of the montane zone
  on the southern two-thirds of the Forest.

  Fire can be a large determinant of which vegetation community types are where, and in turn, the
  vegetation community types drive fire cycles. Frequently after fire in conifer stands, aspens establish and
  conifers will come up through their understories and gradually replace them. After a severe fire, mixed
  conifer stands may convert to montane shrublands.

  Moving up in elevation, the forest becomes denser and transcends into the subalpine forests. Subalpine
  stands are dominated by Engelmann spruce intermixed with subalpine fir. These two tree species form the



                         Rio Grande National Forest - 23 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000037
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 38 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  most extensive forested cover type on the Forest. Arizona fescue and mountain muhly dominate areas that
  are too dry for tree growth. Rocky slopes and dry, gravelly areas will often support limber and bristlecone
  pine. It is broken only by drainages, outcrops of rock, or fire disturbance. Aspen is the major seral species
  in this zone, due primarily to past natural fire disturbance. South-facing slopes, which are hotter and drier
  environments, have stands of Thurber fescue grassland. The spruce/fir forest receives the most
  precipitation of all the forest types. A great quantity of snow falls in this zone, which accumulates all
  winter and lasts into early summer. The trees protect the snow from melting or blowing away. Because of
  this, there are plants adapted to high amounts of moisture and a cold environment. Rocky Mountain
  whortleberry typically forms dense mats and is adapted to the cool, moist environment under Engelmann
  spruce.

  At higher elevations, cooler temperatures and later lying snowpack create wetter conditions which burn
  less readily. When conditions are right in higher elevation stands, often after several years of drought,
  fires that do initiate typically burn through all the accumulated fuel with high severity and over large
  areas. At the highest elevations, forests give way to stunted trees with krummholz life forms and alpine
  vegetation communities. A willow/sedge community often occurs at the transition into alpine zones. A
  tremendous variety of plants inhabit the high alpine regions that are adapted to harsh conditions. Low-
  growing sedge, kobresia, and forb (broad-leaved herbaceous plants) communities dominate these alpine
  systems.

  Riparian ecosystems border the streams that run through all these ecosystems; varying significantly
  depending on elevational gradient and geology. Overstory vegetation can be dominated by any of the
  conifer species discussed; or by blue spruce, willow, alder, aspen, or cottonwood; depending on elevation.
  The understory (plants growing underneath the taller plants) may be dominated by a variety of sedge,
  bluegrass, reedgrass, bentgrass, tufted hairgrass, rush, or many other water-adapted graminoid (grasses
  and grasslike plants) or forb species. Although riparian areas are generally only a very small percentage
  of the land area, they have high species diversity and density, and high productivity. Riparian systems are
  dynamic and adapted to hydrological disturbance regimes. Historically, water tables and stream flooding
  on the Rio Grande National Forest were partly regulated by beaver dams, but with the reduction of beaver
  across the range, the abundance of beaver ponds and their associated communities have declined.

  Snowpack accumulates throughout the winter, particularly at higher elevations, and then as temperatures
  rise in the spring it slowly melts; more quickly at lower elevations where it is warmer. Some plant
  communities are dependent on spring flooding such as the lower elevation greasewood and wetlands.
  Large disturbances in the higher elevations that influence canopy cover such as timber harvest, fire, beetle
  induced mortality, or changing climates can alter the timing of snowmelt. When snow melts quickly,
  rather than slowly, there are direct consequences for plant growth and for animals living in stream
  systems; and less directly but consequentially for other animals in, or dependent on, these communities.
  Also where there are explosive pulses in snowmelt combined with soil that is bare or disturbed (from
  roads, timber harvest, livestock grazing or fire), soil erosion and sedimentation into streams can create
  problems for aquatic organisms throughout the stream systems. Additionally, the placement of roads in
  watersheds can alter water runoff patterns so vegetation receives water differently than it would in the
  absence of the road (e.g. water can be cut off from places that used to be in its pathway).

  Major Disturbance Types
  A. variety of disturbance agents affect the landscape of the Rio Grande National Forest. One indicator of
  ecosystem integrity is whether these disturbance processes are occurring with the same magnitude and
  intensity as they did historically. This section looks at the patterns in landscape processes and
  disturbances for the various terrestrial ecosystem types.



                         Rio Grande National Forest - 24 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000038
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 39 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Fire
  Wildland fire is a component of many of the ecosystems on the Rio Grande National Forest, both as an
  ecological driver and as an ecological stressor, depending on the system. Some of the plant species are
  fire-adapted, with traits such as thick bark or prolific sprouting after fire, enabling them to persist in a
  frequent-fire environment. Other systems like ponderosa pine require disturbances such as fire to maintain
  stand health and stability.

  A natural fire regime refers to the overall pattern of fires in vegetation over time, without modern human
  mechanical intervention, that is characteristic of a natural region or ecosystem. The fire regime includes
  vegetation and fuels characteristics, fire frequency, fire intensity and behavior, and ecological effects.

  Fire regimes generally vary in severity and frequency over a moisture and elevation continuum with
  lower severity, more frequent fires occurring at lower elevations (which are drier); and higher severity,
  less frequent fires occurring at higher elevations. Historically, highly variable, mixed-severity fires
  maintained patchy and diverse vegetation structure and composition. This patchiness provides varied and
  productive habitat for many different plant and animal species.

  Fire regimes can be generalized according to vegetation type. For example, the Engelmann
  spruce/subalpine fir cover type is usually characterized by infrequent and often high-intensity surface
  fires, in combination with a long fire return interval (100 to 300 year); sporadic crown fires and higher-
  intensity surface fires that kill most, but not all, vegetation. Many of these long-return interval fires cover
  medium to large areas (1,000 to 10,000 acres) (Mutch 1991). The warm-dry mixed conifer systems have
  more frequent, less severe fires (20 to 50 years) with rarer, more severe fires.

  The fire regimes for the various ecosystems on the Rio Grande National Forest were included in the
  vegetation modelling. Historical fire probabilities were based on literature and expert opinion.
  Contemporary fire probabilities were based on an analysis of burn perimeters from the monitoring trends
  in burn severity records for each ecosystem, with the assumptions listed in table 6.

  Table 6. Return intervals, and estimated annual acres burned for historic conditions (left) and contemporary
  conditions (right)_______________________________________________________________________________
                                                         Historic Conditions              Contemporary Conditions
                    Ecosystem                      Annual Acres        Fire Return      Annual Acres   Fire Return
                                                     Burned          Interval (years)     Burned     Interval (years)
    Inter-Mountain Basins Greasewood Flat                0               10,000                0           6,600
    Mixed Conifer - Dry                                1,634               100               545            300
    Mixed Conifer - Wet                                 296                150               89             500
    Pinyon-Juniper Woodland                             318                400               170            750
    Rocky Mountain Alpine Turf                          547                500               37            7,400
    Rocky Mountain Gambel Oak - Mixed
                                                         26                100                 2           1,650
    Montane Shrubland
    Rocky Mountain Montane Riparian                     793                100               88             900
    Sagebrush Shrubland                                  33                150                 2           2,600
    Southern Rocky Mountain Montane-
                                                       1,734               200              267            1,300
    Subalpine Grassland
    Spruce-Fir Forest Mix                              2,053               500              1579            650
    Average acres burned per year                      7,434                                2,777
    Percent of Rio Grande National Forest
                                                       0.4%                                 0.1%
    burning per year



                            Rio Grande National Forest - 25 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000039
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 40 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Departures from the natural fire regime are referred to as the condition class. A fire regime condition class
  of 1 is the least amount of departure from the natural regime; the area is within the historical range of
  variability and at low risk of losing key ecosystem components. A fire regime condition class of 3 is
  categorized by a high departure from the natural regime with high risk of loss of key ecosystem
  components and exhibits a highly altered composition and structure of vegetation and fuels. Under
  wildland fire management and suppression policies of the last 100 years, the fire regime in much of the
  west has been altered, sometimes significantly. Other activities such as timber management, grazing,
  invasive species, and rural/urban development contribute to conditions that are uncharacteristic of the
  natural fire environment. To help restore fire to its historical role in the ecosystems on the Rio Grande
  National Forest, we conduct broadcast burning at an average rate of 860 acres per year (10-year annual
  average 2004-2014).

  From 1994 to present, there have been an average of 10 to 20 wildland fires per year on the forest, with
  94 percent being contained at less than 10 acres. The majority are naturally ignited, with 76 percent of
  wildland fires caused by lightning. Managing naturally occurring ignitions to include ecological benefits
  is approved Forestwide; although site-specific values at risk, or existing fuel, weather, and climate
  conditions may require fire managers to consider full suppression. Key vegetation habitat types such as
  late-successional spruce-fir, pinyon pine, and Engelmann spruce forests are also very susceptible to
  wildland fire and are only sustainable through a strict full suppression strategy.

  Insects and Disease
  Several insects and diseases significantly influence the structure and composition of the forests on the Rio
  Grande National Forest. While these insects and diseases are natural disturbance agents beneficial to the
  creation and maintenance of many ecological functions for wildlife species, high amounts or outbreaks
  may be damaging to other habitat components. In the subalpine zone, the most important forest insects
  and diseases are the spruce beetle, Dendroctonus rufipennis, root-decay fungi, Heterobasidion sp. and
  Armillaria sp., and western balsam bark beetle, Dryocoetes confusus. In the montane zone, the most
  important forest insects and diseases are the mountain pine beetle, Dendroctonus ponderosae, the
  Douglas-fir beetle, Dendroctonus pseudotsugae, the western spruce budworm, Choristoneura
  occidentalis, western tent caterpillars, Malacosoma sp., and the dwarf mistletoes, Arceuthobium spp. The
  foothill zone is influenced by pinyon ips, Ips confusus. There is currently heavy mortality from these
  disturbance agents on the Rio Grande National Forest due to the high amount of large, older age forests,
  the warmer, drier climate, and the intense drought that occurred in the late 1990s and early 2000s (Eager
  et al. 2012).

  The spruce beetle is a bark beetle that infests all species of spruce in North America. On the Rio Grande
  National Forest, Engelmann spruce is the principal host. The spruce beetle may persist for hundreds of
  years in spruce stands as a rarely encountered, endemic insect. Under the right conditions, they may have
  huge, intense outbreaks over large areas of forest (Eager et al. 2012, Romme et al. 2009).

  Since the early to mid-2000s, large spruce beetle outbreaks have occurred on several forests in Colorado
  and Wyoming, including the Rio Grande. Aerial surveys show that the spruce beetle affected up to
  300,000 acres on the Rio Grande National Forest from 2000 to 2011 (Eager et al. 2012). Since that time,
  more forest has been impacted by spruce beetle, which makes it the most widespread forest pest in the
  state of Colorado for several years running (CSFS 2014). Many areas on the Rio Grande National Forest
  affected by spruce beetle have 80 to 100 percent mortality.

  Under average conditions, the susceptibility of a stand to spruce beetle infestation is dependent on its
  physiographic location, the average diameter of spruce in the stand, and the proportion of spruce in the
  canopy. In general, spruce stands in well-drained creek bottoms, with average diameters greater than 16



                         Rio Grande National Forest - 26 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000040
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 41 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  inches, basal areas greater than 150 square feet, and canopies comprising more than 65 percent spruce, are
  highly susceptible to outbreaks. However, under epidemic population levels all sizes of Engelmann spruce
  can be infested and killed. Under the current outbreak, saplings less than 5 inches diameter have been
  killed in the highest beetle population areas.

  The spruce beetle is native to spruce ecosystems and populations of this insect have always been present
  in the area. Most of the time, beetle populations exist at relatively low levels with infrequent irruptive
  outbreaks. It is difficult to measure the frequency of these large mortality events on the Rio Grande
  National Forest prior to Euroamerican settlement. There has been one earlier spruce beetle outbreak
  between 1980 and 1985 on the Del Norte District of the Rio Grande National Forest.

  Root diseases impact trees in several ways; killing them by windthrow or girdling of the roots; and
  stressing host trees, making them susceptible to secondary agents, such as bark beetles or drought. Root
  disease fungi co-evolved with their hosts in equilibrium. Disease centers would expand, then break up as
  they became filled with immune or tolerant species. Later, as the fungus died out of these areas (reducing,
  but not eliminating inoculum levels), more susceptible species would appear, starting the cycle again.
  Management actions such as fire control and selective-logging practices often promote the spread of root
  disease by favoring the regeneration of more susceptible tree species (in particular, true firs and Douglas-
  fir) and by leaving stumps which become new food sources for the fungi.

  On the Rio Grande National Forest, the two most common root diseases are Armillaria, caused by
  Armillaria sp., and annosus, caused by Heterobasidion annosum. Armillaria root disease is found on all
  commercially important species of conifers and hardwoods in the area (James and Goheen 1980). The
  disease affects trees of all ages, though smaller and less vigorous trees typically succumb more rapidly to
  the girdling action of the fungus. Armillaria is particularly damaging to the true-fir hosts.

  Heterobasidion annosum causes root and butt decay in trees of all age classes. On the Rio Grande
  National Forest, annosus root disease is most prevalent on white and subalpine fir. In the past, it was
  identified on white fir in several locations on the Conejos Peak and Saguache Ranger Districts (James and
  Gilman 1979). James and Goheen (1980) also found annosus infection in their roadside survey of true-fir
  mortality centers in Southern Colorado.

  Scattered subalpine fir mortality is often a combination of armillaria root disease and western balsam bark
  beetle. Significant mortality of subalpine fir occurred after the drought in the early 2000s on the Rio
  Grande National Forest, scattered throughout stands with older subalpine fir (Eager et al. 2012).

  The mountain pine beetle, a native insect, attacks and kills pine trees. Although the predominant host
  species are lodgepole pine and ponderosa pine; on the Rio Grande National Forest, mountain pine beetle
  will also attack limber pine, bristlecone pine, and even pinyon pine (Eager et al. 2012). During low
  population phases, this beetle attacks any stressed pine trees. When a large number of host trees are
  stressed due to drought or other factors, the population of mountain pine beetles can grow very large and
  start to target healthy trees (Eager et al. 2012).

  While mountain pine beetle has gotten a lot of attention in the Rocky Mountain Region, the Rio Grande
  National Forest has only small to moderate amounts of lodgepole, ponderosa, limber, and bristlecone pine
  forests and recent population levels have remained relatively low, so the effect on the forest hasn’t been as
  great as it has been region-wide.

  Mountain pine beetles exist wherever ponderosa pine grows on the Rio Grande National Forest, and
  scattered tree-killing by this insect may always be found somewhere in the foothills zone. A 1940 report




                         Rio Grande National Forest - 27 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000041
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 42 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  on insect control documents that 3,900 acres of ponderosa pine were affected by the mountain pine beetle
  and that efforts were made to control the infestation (USDA Forest Service 1940).

  Mountain pine beetle activity rose after the drought of the late 1990s and early 2000s, but has declined
  since then. Much of this activity was in the north-eastern portion of the forest. Suppressing wildfires over
  the last 100 years has had an immense influence on the density and age distribution of ponderosa pine
  stands. With fewer fires to thin stands and create openings where regeneration could become established,
  ponderosa pine is growing in dense, even-aged, mature stands with few young trees. Stands with these
  features are susceptible to infestations of mountain pine beetle.

  The Douglas-fir beetle attacks and kills mature Douglas-fir trees. It prefers older and injured trees,
  especially fire-damaged or scorched trees (Eager et al. 2012). It is most prevalent in dense stands with
  large trees. Douglas-fir beetle has caused noticeable mortality since the 1996 forest plan was released,
  especially after the drought of the late 1990s and early 2000s. Currently, mortality from Douglas-fir beetle
  is low, with some scattered patches of recent mortality (Eager et al. 2012).

  The western spruce budworm is the most prominent defoliating insect on the Rio Grande National Forest.
  A native species, it is the most widely distributed and destructive defoliator of coniferous forests in
  western North America. The budworm feeds on Douglas-fir, white fir, subalpine fir, blue spruce, and
  Engelmann spruce. This insect causes defoliation of tree tops and understory host trees. It rarely kills its
  host outright, but years of defoliation can weaken trees and make them susceptible to bark beetles (Eager
  et al. 2012).

  Western spruce budworm activity has recently declined after being at a high level on the Rio Grande
  National Forest (Eager et al. 2012). Budworm activity is generally greater in multi-storied stands because
  these stands provide a “safety-net” when the larvae drop down through the canopy on silk threads,
  looking for new foliage (Eager et al. 2012).

  Swetnam and Lynch (1989) performed a tree-ring reconstruction of the history of western spruce
  budworm outbreaks on the Colorado Front Range and the Sangre de Cristo Mountains of New Mexico. At
  least nine outbreaks were identified between 1700 and 1983, their average duration was 12.9 years. The
  average interval between initial years of successive outbreaks was 34.9 years. Ryerson et al. (2003)
  performed a tree-ring reconstruction on the history of spruce budworm outbreaks in the San Juan
  Mountains of the Rio Grande National Forest. They identified 14 widespread budworm outbreaks over
  the past 350 years. They also found that regular outbreaks occurred for at least the past 600 years and
  have been regionally synchronous across the Rio Grande National Forest, with peaks in activity at
  approximately 25 to 40 year intervals, and larger events at 83-year intervals.

  A history of fire exclusion and passive management has resulted in stand structures favorable to spruce
  budworm (Eager et al. 2012). However, tree-ring analyses are inconsistent as to whether outbreaks since
  the early part of the twentieth century have been more extensive and damaging than in previous decades
  (Swetnam and Lynch 1989, Ryerson et al. 2003).

  Western tent caterpillar is the most significant defoliator of deciduous trees on the Rio Grande National
  Forest. The larvae of this native insect may feed on plants in at least a dozen genera, including oaks,
  roses, poplars, and birches. Most important, the larvae feed gregariously on the leaves of aspens and
  construct silken tents within their crowns. Repeated defoliation of aspen by this insect results in branch
  die-back and tree mortality. When large areas of aspen die as a result of repeated defoliation, the clones
  fail to regenerate, causing openings or changes in forest type.




                         Rio Grande National Forest - 28 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000042
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 43 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  The first reference to a tent caterpillar outbreak on the Rio Grande National Forest was found in an
  unpublished history of the forest (USDA Forest Service 1929). The report refers to a tent caterpillar
  infestation along the Conejos River which began in 1914 and spread to 300 to 400 acres by 1929. The
  same report mentions that 20 years previously (1894) the caterpillars had killed all the aspen in that same
  locality. A tent caterpillar outbreak which began in 1976, southeast of Pagosa Springs on the San Juan
  National Forest, spread into Chama Basin on the Rio Grande National Forest by the early 1980s (Raimo
  1984b, Raimo 1985). By 1984, the area of severe aspen defoliation occurring on both Forests had
  increased to 94,000 acres. The tent caterpillar populations began to subside in 1985. However, defoliation
  by western tent caterpillar has been significant in recent years on and adjacent to the Rio Grande National
  Forest (Eager et al. 2012).

  The number and size of tent caterpillar outbreaks depends on the number and size of contiguous areas of
  mature aspen. The vegetation modelling s done suggests that historically, aspen dominated 23 percent of
  the forested lands on the Rio Grande National Forest. Today, aspen occupies approximately 14 percent of
  the forested lands. Therefore, tent caterpillar outbreaks today may be smaller and less numerous than
  those that occurred prior to settlement.

  Dwarf mistletoes are parasitic flowering plants which damage their hosts by reducing growth, lowering
  wood quality, and killing or predisposing the trees to attack from other pests. Although losses from dwarf
  mistletoe are not as visible as those caused by insects, the cumulative impacts on growth and mortality are
  considerable over the life of the forest.

  Of over 1,200 stand exams collected from 1996 to 2015, 18 percent included field observations of
  mistletoe, which included about 40 percent of the stand exams in Douglas-fir and ponderosa pine. Three
  species of dwarf mistletoe are found on the Forest - lodgepole pine dwarf mistletoe (Arceuthobium
  americanum), ponderosa pine dwarf mistletoe (A. vaginatum ssp. cryptopodum), and Douglas-fir dwarf
  mistletoe (A. douglasii). Though occasionally found on other hosts, each of the dwarf mistletoes is largely
  specific to its host species.

  Although little documentation exists with regard to the history of dwarf mistletoe conditions on the Rio
  Grande National Forest, we know that these parasites have been in North America at least since the
  Miocene period, or at least 25 million years (Hawksworth 1978). The co-evolution of host and parasite
  has resulted in a highly specialized relationship in which the two were essentially in balance. Historically,
  fire played a major role in determining the distribution of dwarf mistletoe by affecting stand composition
  and sanitizing infested stands. With fire suppression, the distribution and impacts of dwarf mistletoes
  have undoubtedly increased. Past management practices, such as the incomplete removal of infested trees
  in timber sale areas, and the perpetuation of uneven-aged stand conditions (that promote the spread of
  dwarf mistletoe from overstory to understory trees), have also accentuated the distribution and impacts of
  the disease. At present, the magnitude of growth loss and mortality due to mistletoe on the Forest, though
  considerable, has not been documented.

  An outbreak of pinyon ips, triggered by the drought in the late 1990s and early 2000s, led to heavy
  mortality of pinyon trees in southwest Colorado (Eager et al. 2012). Although pinyon mortality was
  recorded on the Rio Grande National Forest, it was found at lower levels relative to the forests west of the
  Continental Divide. On the Rio Grande National Forest, Pinyon ips usually affects only small clumps and
  individual trees (Eager et al. 2012).

  The vegetation modelling that was done included background or endemic insect and disease activity as
  well as larger insect outbreaks. The rates assumed for these larger outbreaks are in table 7.




                         Rio Grande National Forest - 29 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000043
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 44 of 406

                                   Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

  Table 7. Insect outbreak parameters for the vegetation modelling based on expert feedback.
  Background/endemic insect and disease activity was modelled separately
                                                                                                                      Pinyon-
                                    Spruce-Fir            Mixed
                                                                                  Mixed Conifer-Dry                   Juniper
                                      Forest            Conifer-Wet
                                                                                                                     Woodland
                                                         Douglas-fir       Douglas-fir       Mountain pine
           Parameter              Spruce beetle                                                                      Pinyon ips
                                                          beetle*           beetle*             beetle
     Interval between
                                      100-200               35-50              35-50              50-70                35-50
     outbreaks (years)
     Duration of outbreak
                                        10                     5                 5                  5                    5
     (years)
                                                                             large 40­
     Susceptible stands            large 40-100%                                             large 40-100%
                                                       large 40-100%           100%                              medium 10­
     (in terms of tree size,       canopy cover,                                             canopy cover,
                                                        canopy cover,         canopy                             70% canopy
     canopy cover and             single-story and                                          single-story and
                                                       multi-story only    cover, multi­                           cover
     structure)                       multi-story                                               multi-story
                                                                            story only
                                   large 40-70%
     Post-outbreak stand
                                   canopy cover,        medium 10­         medium 10­                             small 10­
     structure (in terms of                                                                 medium 10-70%
                                  medium 10-40%         70% canopy         70% canopy                            70% canopy
     tree size and canopy                                                                    canopy cover
                                   canopy cover,           cover             cover                                  cover
     cover)
                                       aspen
     Proportion of
     susceptible stands
                                       20%                   15%               15%                25%                   18%
     transitioning during
     outbreak
  * Where insect outbreaks include impacts of western spruce budworm defoliation, predisposing stands to outbreaks



  The modeled spruce beetle outbreaks did not include extreme outbreaks, such as the spruce beetle
  outbreak that recently occurred on the Rio Grande National Forest. These were thought to be too rare to
  model. Therefore, the outbreaks represented in the model represent moderate- but not extreme-severity
  events.

  Disturbance Summary
  In summary, a variety of disturbance agents affect the landscape of the Rio Grande National Forest,
  including fire, insects, and disease. Some of these disturbances are happening more frequently than their
  historic rates, others less frequently. Due to fire suppression policies, fire is generally affecting the
  landscape at lower than historic rates. This also affects the levels of insects and disease. For instance, less
  frequent fire leads to denser, mature, even-aged ponderosa pine stands that are susceptible to mountain
  pine beetle. It can also lead to conditions favorable for outbreaks of dwarf mistletoes, root diseases, and
  western spruce budworm. In contrast, lower amounts of aspen have led to lower levels of western tent
  caterpillar. With a changing climate, it is thought that large fires and insect outbreaks will increase in
  frequency and size (Vose et al. 2012).

  Assessment of Ecosystem Integrity (12.14): Connectivity and Fragmentation
  Habitat connectivity is an indicator of ecosystem integrity. Within various forest types, connectivity
  differs depending on the disturbance regimes and ecosystems processes that maintain them. Species need
  to be able to move and interact throughout a landscape. This ability can aid a species and its survival in
  general and especially when their environment is changing. It can also help maintain genetic diversity
  within a species.




                               Rio Grande National Forest - 30 - Forestwide Planning Assessment
                                                                                           Rvsd Plan - 00000044
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 45 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Connectivity can be assessed in a variety of ways and with metrics such as patch size, edge length, and
  the percent of forest interior. A comprehensive connectivity analysis has not been completed on the Rio
  Grande National Forest, but some general patterns can be seen in the maps below. Figure 4 shows the
  connectivity of the Rio Grande National Forest with the other national forests, national parks, and federal
  land adjoining it. Wilderness and roadless areas are also shown. Figure 5 shows the areas currently in late-
  successional forest.




  Figure 4. Map of the Rio Grande National Forest, including wilderness, roadless areas, and nearby national
  forests, national parks, and other federal land




                         Rio Grande National Forest - 31 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000045
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 46 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems




  Figure 5. Map of current late-successional habitat on the Rio Grande National Forest.



  Human land uses can fragment forests and grasslands into smaller patches of habitat. This fragmentation
  affects both habitat size and connectivity, can increase predation, and is especially problematic for species
  needing large uninterrupted areas of habitat for survival. Increased fragmentation is associated with
  decreased ecosystem function and biodiversity (Haddad et al. 2015).

  In order to assess human-caused fragmentation on the Rio Grande National Forest, several map layers
  were analyzed. Metrics include measures of fragmentation such as roads, as well as measures of large,
  intact landscapes such as wilderness. Metrics consist of:

      •   acreage in designated wilderness

      •   acreage in roadless areas under the 2012 Colorado Roadless Rule

      •   acreage in research natural areas

      •   acreage covered by roads (maintenance levels 2 through 5 Forest Service roads included) and
          railroads, with a 300 foot buffer

      •   acreage in private in-holdings




                         Rio Grande National Forest - 32 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000046
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 47 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Estimates were made for each land type association and are listed below. Estimates are acres in each land
  type association, with the percentage of each land type association calculated as well.

  Table 8. Acreage and percentage of each land type association currently in designated wilderness, in
  roadless areas, or part of a research natural area
                                Total Acres                                           Acres in
                                               Acres in       Acres in
      Land Type Association       of Land                                             Research
                                             Designated    Roadless Areas                           Total Acres / %
              Name                 Type                                             Natural Areas
                                            Wilderness / %      /%
                                Association                                              /%
     Engelmann Spruce on
                                  992,157       199,706 / 20%    276,648 / 28%       7,699 / 1%     484,052 / 49%
     Mountain Slopes
    Aspen on Mountain Slopes       41,384        1,231 / 3%       16,040 / 39%         0 / 0%        17,271 / 42%
    White Fir and Douglas-fir
                                   145,899       8,452 / 6%       42,978 / 29%       1,123 / 1%      52,553 / 36%
    on Alpine Summits
    Alpine Sedges and Forbs
                                  273,469       118,190 / 43%     76,273 / 28%       5,857 / 2%     200,321 / 73%
    on Alpine Summits
    Ponderosa Pine and
    Douglas-fir on Mountain        17,015         771 / 5%         7,510 / 44%        403 / 2%        8,685 / 51%
    Slopes
    Pinyon on Mountain
                                   65,425        1,454 / 2%        5,742 / 9%        5,174 / 8%      12,370 / 19%
    Slopes
    Gambel Oak on Mountain
                                    3,596         172 / 5%         1,689 / 47%         0 / 0%         1,861 / 52%
    Slopes
    Arizona Fescue on
                                  317,028        18,799 / 6%      73,235 / 23%         73 / 0%       92,107 / 29%
    Mountain Slopes
    Thurber Fescue on
                                   29,958        1,217 / 4%        5,113 / 17%        266 / 1%        6,596 / 22%
    Mountain Slopes
    Willows and Sedges on
                                   79,099       13,181 / 17%      12,805 / 16%         65 / 0%       26,052 / 33%
    Floodplains
     Nonvegetated Areas on
                                   62,762       18,258 / 29%      26,818 / 43%        232 / 0%       45,308 / 72%
     Mountain Slopes
    Western Wheatgrass and
    Other Low-Elevation
                                   54,323          6 / 0%           1844 / 3%         1561 / 3%       3411 / 6%
    Grasslands on Alluvial
    Fans
     Engelmann Spruce on
                                   31,968        4,799 / 15%      12,065 / 38%         0 / 0%        16,864 / 53%
     Landslides
     Blank                          8,305        1,677 / 20%       1,089 / 13%        187 / 2%       2,954 / 36%



  You can see that a large percentage of the area in several of the land type associations is protected from
  human-caused fragmentation by virtue of it being in a designated wilderness area, roadless area, or
  research natural area. However, some land type associations, such as Pinyon on mountain slopes, Arizona
  Fescue on mountain slopes, and Thurber Fescue on mountain slopes, are less protected from human-
  caused fragmentation and have less than 30 percent of their area in designated wilderness, roadless areas,
  and research natural areas. This is especially the case for Western wheatgrass and other low-elevation
  grasslands on alluvial fans, which has only 6 percent of its area in these categories.




                         Rio Grande National Forest - 33 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000047
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 48 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

  Table 9. Acreage and percentage in each land type association that is covered by roads and railroads, with a
  300 foot buffer, or that is in private in-holdings_____________________________________________________
                                Total Acres
                                               Acres in Roads and
     Land Type Association        in Land                                 Acres in Private
                                               Railroad with Buffer                                 Total Acres / %
             Name                   Type                                  In-holdings / %
                                                       /%
                                Association
     Engelmann Spruce on
                                  992,157           42,918 / 4%              18,568 / 2%              61,485 / 6%
     Mountain Slopes
    Aspen on Mountain
                                  41,384            2,788 / 7%               1,568 / 4%              4,355 / 11%
    Slopes
    White Fir and Douglas-fir
                                  145,899           4,642 / 3%               1,829 / 1%               6,471 / 4%
    on Alpine Summits
    Alpine Sedges and Forbs
                                  273,469           2,732 / 1%                826 / 0%                3,558 / 1%
    on Alpine Summits
    Ponderosa Pine and
    Douglas-fir on Mountain        17,015             22 / 0%                 226 / 1%                 247 / 1%
    Slopes
    Pinyon on Mountain
                                  65,425            2,686 / 4%              8,848 / 14%              11,535 / 18%
    Slopes
    Gambel Oak on Mountain
                                   3,596              80 / 2%                  4 / 0%                   84 / 2%
    Slopes
    Arizona Fescue on
                                  317,028           26,802 / 8%             32,262 / 10%             59,064 /19%
    Mountain Slopes
    Thurber Fescue on
                                  29,958            2,435 / 8%              4,775 / 16%               7,211 / 24%
    Mountain Slopes
    Willows and Sedges on
                                   79,099           9,153 / 12%             12,966 / 16%             22,119 / 28%
    Floodplains
     Nonvegetated Areas on
                                  62,762             890 / 1%                2,697 / 4%               3,587 / 6%
     Mountain Slopes
    Western Wheatgrass and
    Other Low-Elevation
                                   54,323           6,233 / 11%             12,355 / 23%             18,588 / 34%
    Grasslands on Alluvial
    Fans
     Engelmann Spruce on
                                   31,968            1,907 / 6%               755 / 2%                2,662 / 8%
     Landslides
     Blank                         8,305             237 / 3%                1,560 / 19%              1,797 / 22%



  You can see that some land type associations have more human-caused fragmentation due to roads,
  railroads, and private in-holdings than others. Five of the land type associations - pinyon on mountain
  slopes, Arizona fescue on mountain slopes, Thurber fescue on mountain slopes, willows and sedges on
  floodplains, and Western wheatgrass and other low-elevation grasslands on alluvial fans - have more than
  15 percent of their area impacted by roads, railroads, and private in-holdings. The other land type
  associations have less fragmentation due to these factors, with usually less than 10 percent of their areas
  impacted.


  Assessment of Ecosystem Integrity (12.14): Late-successional Habitats
  Late-successional habitats are an important part of a healthy ecosystem. They tend to have forest structure
  elements, such as large, older trees, large snags, and multiple canopy layers, that are important to some
  wildlife species, such as the Canada lynx (Lynx canadensis).


                         Rio Grande National Forest - 34 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000048
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 49 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  In order to assess the presence and change in late successional habitats through time, the state and
  transition modelling done by Oregon State University was used. This work modelled the presence of
  various habitat structural stages under current conditions and into the future. Late successional here is
  defined as habitat structural stages 4B and 4C for any of the cover types (except pinyon-juniper where
  there is no 4C) and is discussed below. Habitat structural stage class 4B corresponds to areas with mature
  trees (9 inches and larger) with 40 to 70 percent canopy cover. Habitat structural stage class 4C
  corresponds to areas with mature trees (9 inches and larger) with more than 70 percent canopy cover.

  Based on these criteria, currently, only about 13 percent of the forest is late-successional (figure 5, table
  10). This is projected to increase under current plan direction to 19-27 percent in the next 20-50 years.
  Even so, this is less than the amount (35 percent) thought to be in late successional habitat under historic
  conditions. If, as predicted, disturbances such as large fires and insect outbreaks increase in frequency due
  to climate change (Vose et al. 2012), the forest may have even less late successional habitat than model
  predictions suggest. In general, most forest types have less late successional habitat than under historic
  conditions (table 10).

  Table 10. Proportion of various forest types in late successional habitat under historic conditions, current
  conditions, and in the future, based on state and transition modelling_______________________________
                                                  Percentage of Forest Type in Late Successional Habitat
              Forest Type                 Historic Conditions    Current Conditions     In 20 years   In 50 years
     Mixed Conifer - Dry                          41%                    30%               37%             45%
     Mixed Conifer - Wet                          53%                    10%               21%             34%
     Pinyon-Juniper Woodland                      48%                    3%                 7%             16%
     Spruce-Fir Forest Mix                        46%                    13%               24%             35%
    All (including non-forest types)              35%                    13%                19%            27%




  Assessment of Ecosystem Integrity (12.14): Snags and down woody material
  Snags and down woody material are essential for ecological integrity. They serve a variety of purposes,
  such as providing valuable wildlife habitat and supporting nutrient recycling. At least 84 terrestrial
  vertebrate species of wildlife rely on snags in Colorado (Hoover and Wills 1984). Snags are key for cavity
  nesting species such as woodpeckers, small forest owls, bats, and small mammals. Down woody material
  is important for water quality and reducing soil erosion.

  From stand exam data collected on the Rio Grande National Forest (over 1200 exams collected from 1997
  to 2015), the average number of large snags (12 inches in diameter and larger) has increased over time,
  especially since the spruce beetle outbreak (figure 6). Because stand exam data is biased towards the
  suitable timber base and the most recent stand exams were focused on the areas undergoing the most
  change, these values may not be representative of the forest as a whole. So in addition, we examined snag
  estimates using the forest inventory and analysis plot data (about 300 plots collected from 2002 - 2014)
  since the forest inventory and analysis plots give us a more unbiased, representative look at the forest as a
  whole (figure 7). In either case, it is clear that there has been a dramatic increase in the number of large
  snags on the forest, from about 5 per acre to about 15 to 25 per acre.




                             Rio Grande National Forest - 35 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000049
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 50 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems




  Figure 6. Snags per acre over time based on stand exam data collected on the Rio Grande National Forest




  Figure 7. Snags per acre over time based on the forest inventory and analysis plot data collected on the Rio
  Grande National Forest



  Table 11 compares the average snag estimates from stand exam data (2006 to 2015) and forest inventory
  and analysis plot data (2006 to 2014) to the minimum amounts recommended in the 1996 Rio Grande
  Forest Plan and to the minimum amounts suggested in the South Central Highlands Guide (Romme et al.
  2009). The minimum requirements for retained snags in the 1996 Rio Grande Forest Plan are the
  minimum requirements for adequate wildlife habitat and ecosystem function and were taken from table
  III-1 and associated with a standard related to biodiversity. The minimum value for ponderosa pine was
  updated based on the Management Indicator Species Amendment in 2003.




                         Rio Grande National Forest - 36 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000050
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 51 of 406

                                   Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

  Table 11. Snag estimates and suggested amount by forest type
                                               Average Snags
                        Average Snags
                                                per acre from          Minimum
                         per acre from
     Forest Type                               Forest Inventory        Snags per           South Central Highlands Guide
                         Stand Exam
                                                and Analysis             Acreb
                             Dataa
                                                    dataa
                                                                                        Sample old growth stand had 14.2
                        45.0 / 31.4 / 20.8      32.0 / 18.8 / 11.5
     Spruce-Fir                                                          2 (12”)        snags/acre with an average dbh of
                          (345 exams)               (86 plots)
                                                                                        about 17 inches.
     Lodgepole         13.3 / 7.0 / 4.3 (44       3.0 / 3.0 / 3.0
                                                                         2 (10”)
     Pine                    exams)                  (4 plots)
                                                                                        Cavity-nesting species preferred snags
                         14.1 / 7.4 / 4.7        10.1 / 5.4 / 3.0                       that averaged 50ft tall and 16” dbh
     Aspen                                                               2 (12”)        (range 5-25”).
                          (125 exams)              (44 plots)

                         11.5 / 7.0 / 4.4        12.9 / 8.6 / 5.1
     Douglas-Fir                                                         2 (12”)
                          (168 exams)               (24 plots)
                                                                                        Minimum density of 1 14” snag to 2 10”
                                                                                        snags based on current old growth. “In
                                                                                        truth, we simply do not know densities
                                                                                        or quantities of dead wood in the pre-
                                                                                        1870 ponderosa pine forests of the
     Ponderosa            3.3 / 1.9 / 1.3         9.3 / 6.0 / 2.7                       South Central Highlands section.” For
                                                                         3 (14”)
     Pine                  (60 exams)               (11 plots)                          wildlife, minimum recommended
                                                                                        densities are 1.73 - 5.2 snags/acre (10­
                                                                                        20”), but these may be higher than
                                                                                        what existed prior to fire exclusion and
                                                                                        higher than necessary to maintain
                                                                                        functional communities.
  a - Values are snags per acre 10”+ / 12”+ / 14”+
  b - Based on Table III-1 in the 1996 Plan, with the minimum diameter in parentheses



  In general, data suggests that the forest is well-above the minimum amount of snags recommended for the
  various forest types. The only exception to this is in the ponderosa pine forest type, where both the stand
  exam and forest inventory and analysis data suggest that there is less than the desired 3 to 14 inch snags
  per acre.

  Using this same stand exam set, only a portion of the exams included data collection on down woody
  material. Approximately 140 of the exams (2012 to 2015) collected data on down woody material using
  fuel transects. In addition, 300 exams (2014 to 2015) collected data on down woody material using fixed
  area plots. These two data sets were summarized to get the average down woody piece count (3 inch and
  above) per acre and average down woody biomass (tons per acre) by forest type.

  This data suggests that the forest has a large volume of down woody material. The amount of down
  woody material 3 inches and larger in size varies heavily by forest type, as seen in table 12. It also varies
  heavily from stand to stand within a given forest type. The spruce-fir forest type has the highest levels of
  down woody material (3 inches and larger) and there was a large amount of variation in the down wood
  estimates for this type, varying from a minimum of less than 1 ton per acre to a maximum of 343 tons per
  acre. In general, the various forest types have more than the minimum amount recommended in the 1996
  forest plan. The one exception to this is the ponderosa pine type, which averaged about 2.5 tons per acre,
  less than the suggested 4 to 9 tons per acre. These recent stand exams are the best data the forest has on




                             Rio Grande National Forest - 37 - Forestwide Planning Assessment
                                                                                             Rvsd Plan - 00000051
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 52 of 406

                                    Rio Grande National Forest -Assessments 1 and 3
                        Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  down woody material, but as noted earlier, these recent exams were specifically done in the areas
  undergoing the most change and may not be representative of the forest as a whole.

  The forest inventory and analysis plot data did not include enough down wood information to allow for
  analysis.

  Table 12. Down woody material estimates (3”and above) and suggested amount by forest type
                                               Averages of
                          Averages of
                                               Down Woody           Minimum
                          Down Woody
                                               Material (3”+)       Downed
     Forest Type         Material (3”+)                                            South Central Highlands Guide
                                            from Stand Exam           Logs
                       from Stand Exam
                                              Fixed Area Plot     (tons/acre)a
                         Transect Data
                                                   Data
                         986 pieces/acre      260 pieces/acre                    Sample old growth stand had 83
                                                                     10-15
     Spruce-Fir           83.6 tons/acre       14.1 tons/acre                    stems/acre of fallen dead trees with an
                                                                   tons/acre
                           (56 exams)           (184 exams)                      average diameter of 17.5 inches.
                         211 pieces/acre      297 pieces/acre
     Lodgepole                                                       5-10
                          5.6 tons/acre        7.9 tons/acre
     Pine                                                          tons/acre
                            (1 exam)            (25 exams)
                         748 pieces/acre      231 pieces/acre
                                                                      3-5
     Aspen                11.2 tons/acre       7.0 tons/acre
                                                                   tons/acre
                           (16 exams)           (44 exams)
                         313 pieces/acre      215 pieces/acre
                                                                     5-10
     Douglas-Fir          9.3 tons/acre        7.6 tons/acre
                                                                   tons/acre
                           (27 exams)           (29 exams)
                                                                                 Downed logs should be a min of 2
                                                                                 pieces having 12” diameter based on
                          74 pieces/acre      99 pieces/acre                     current old growth. “In truth, we simply
     Ponderosa                                                        4-9
                           2.7 tons/acre       2.2 tons/acre                     do not know densities or quantities of
     Pine                                                          tons/acre
                            (10 exams)           (4 exams)                       dead wood in the pre-1870 ponderosa
                                                                                 pine forests of the South Central
                                                                                 Highlands section.”
  a - based on Table III-1 in 1996 Plan



  In summary, as a result of the recent spruce beetle epidemic, the Rio Grande National Forest currently has
  a large amount of snags and down woody material, particularly in the spruce-fir forest type. These areas
  were often previously classified as late successional habitat (structural stages 4B and 4C) and will be
  important for assessing connectivity of habitat. As snags fall and down woody material decays, these
  values will most likely decrease. How fast this happens will depend on the forest type and a variety of
  other factors. Still, given the slow nature of these processes, a large quantity of snags and down woody
  material will persist on the forest, especially in the spruce-fir forests, into the foreseeable future. Long
  term, it is hard to predict how snag and down woody amounts may change. Disturbances such as large
  fires and insect outbreaks are predicted to increase in frequency in the Southwest due to climate change
  (Vose et al. 2012), in which case this high level of snags and down woody material may be maintained
  long into the future. We hope to develop snag and down wood prediction estimates later in the planning
  process.




                              Rio Grande National Forest - 38 - Forestwide Planning Assessment
                                                                                     Rvsd Plan - 00000052
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 53 of 406

                                    Rio Grande National Forest -Assessments 1 and 3
                        Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Assessment of Ecosystem Integrity (12.14): Rare Communities and Special
  Habitats

  Rare Communities
  Colorado has more than 500 recognized terrestrial and aquatic plant communities (Colorado Natural
  Heritage Program website 2015). Many of these communities are considered rare either because they
  have always been rare or because they have become imperiled directly or indirectly by human-induced
  changes such as habitat loss, the introduction of exotic species, the alteration of natural disturbance
  regimes, or climate change. Aside from having intrinsic value, the loss of these rare communities may
  induce cascading ecosystem disturbances. In addition, a wider variety of species reduces our vulnerability
  to the impacts of climate change (USDA Forest Service 2011). Recognizing and protecting rare plant
  communities is crucial to preserving Colorado’s diverse natural heritage. The Colorado Natural Heritage
  Program Methodology ranks species and communities according to their rarity or degree of imperilment
  and the importance of associated conservation areas. By prioritizing conservation efforts on rare
  communities and conservation areas that the Colorado Natural Heritage Program has identified that are
  relevant to the Rio Grande National Forest, we can ideally prevent the decline of the communities most at
  risk.

  The current Rio Grande National Forest Plan FEIS, appendix E, describes six significant natural plant
  communities that had been identified by the Colorado Natural Heritage Program, shown below. At that
  time, there had been only a low-intensity search effort and inventory on the Forest for exemplary natural
  plant communities. Communities shown as relatively rare on the Forest by the Colorado Natural Heritage
  Program were probably attributed to low search effort and limited documentation in the Colorado Natural
  Heritage Program’s database, rather than true rarity. The rarity of these six plant communities needs to be
  investigated further as the forest moves through the forest plan revision process.

  Table 13. Significant natural plant communities on the Rio Grande National Forest, as identified by Colorado
  Natural Heritage Program, as part of the 1996 forest planning process
   Arizona fescue-slimstem muhly                           Festuca arizonica-Muhlenbergia filiculmis
      Arizona fescue-mountain muhly                            Festuca arizonica-Muhlenbergia montana
      bristlecone pine/Arizona fescue                          Pinus aristata/Festuca arizonica
      pinyon pine-(one-seed juniper)/scribner needlegrass      Pinus edulis-(Juniperus monosperma)/Stipa scribneri
      ponderosa pine/Arizona fescue                            Pinus ponderosa/Festuca arizonica
      Douglas-fir/common juniper                               Pseudotsuga menziesii/Juniperus communis




  Conservation Areas
  Since the 1996 plan was written, additional data collection on the lands on and around the Rio Grande
  National Forest has been done by the Colorado Natural Heritage Program. In order to determine if any
  new areas with rare plant communities or species warrant attention, three Colorado Natural Heritage
  Reports were examined - the Saguache Closed Basin Inventory (Rondeau et al. 1998), the Inventory of
  Rio Grande and Conejos Counties (Kettler et al. 2000), and the Baca Grande Biological Assessment 2005
  (Sovell 2006). These reports describe approximately 100 different potential conservation areas. This list
  was then filtered to only include those areas:

  •     with a biodiversity rank of B1 or B2 (outstanding or very high biodiversity significance),
  •     that are at least partially on the Rio Grande National Forest, and



                             Rio Grande National Forest - 39 - Forestwide Planning Assessment
                                                                                     Rvsd Plan - 00000053
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 54 of 406

                                  Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  •    that are relevant based on an updated spreadsheet (October 2015) provided by Colorado Natural
       Heritage Program of ecological element occurrence on the Rio Grande National Forest.
  Table 14 has the list of 14 potential conservation areas on the Rio Grande National Forest that fit these
  criteria. All of these areas have a B2 biodiversity rank and are described below.

  Table 14. Potential conservation areas on the Rio Grande National Forest
                    CNHP Report                           Potential Conservation Area
      Saguache Closed Basin                                      660 Road Site
      Saguache Closed Basin                                      Deadman Creek
      Saguache Closed Basin                                      Elephant Rocks
      Saguache Closed Basin                                  Head of Spanish Creek
      Saguache Closed Basin                                San Luis Lakes/Sand Creek
      Rio Grande and Conejos                           Alamosa River at Government Park
      Rio Grande and Conejos                                  Cedar Spring Uplands
      Rio Grande and Conejos                                        East Butte
      Rio Grande and Conejos                                      Fivemile Park
      Rio Grande and Conejos                                   Grayback Mountain
      Rio Grande and Conejos                                        Hot Creek
      Rio Grande and Conejos                               Park Creek at Summit Pass
      Baca Grande                                     Cottonwood Creek - Western Sangres
      Baca Grande                                                Spanish Creek



  The 660 Road Site - this site supports one of the largest populations known for Neoparrya lithophila, the
  rock-loving neoparrya, a south-central Colorado endemic plant. The site is over 75 percent privately
  owned with National Forest System land in the southern quarter.

  Deadman Creek - this site supports a good example of the globally rare Draba smithii (Smith whitlow­
  grass). It also supports the state’s exemplary and largest occurrence known of the rare Populus
  angustifolia-Juniperus scopulorum woodland (narrowleaf cottonwood-Rocky Mountain juniper montane
  riparian forest), a population of Oncorhynchus clarki virginalis (Rio Grande cutthroat trout), and a
  breeding colony of Corynorhinus townsendii pallescens (pale lump-nosed bat). A portion of this site is
  part of a research natural area within a wilderness area on the Rio Grande National Forest. A portion was
  also acquired by the Rio Grande National Forest as part of a land exchange in 2009. A. small portion of
  this site is still privately owned.

  Elephant Rocks - this site supports a medium-sized population of the Neoparrya lithophila (rock-loving
  neoparrya), a south-central Colorado endemic plant. There are also several other unique species of
  concern that aren’t tracked as Element Occurrences by the Colorado Natural Heritage Program). The
  majority of this site is federally managed by the Bureau of Land Management and Rio Grande National
  Forest, of which part is a State Natural Area.

  Head of Spanish Creek - this site includes a good occurrence of the globally rare mustard Draba smithii
  (Smith whitlow-grass), one of only eight known occurrences. The site is within the Sangre de Cristo
  wilderness area of the Rio Grande National Forest.




                           Rio Grande National Forest - 40 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000054
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 55 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  San Luis Lakes/Sand Creek - This site contains occurrences of eight plant communities, of which four
  are globally rare, four rare plant species, two rare mammal subspecies, seven rare birds, and one globally
  rare invertebrate species. This includes Carex simulata (wet meadow) and Populus angustifolia/Salix
  drummondiana-Acer glabrum (montane riparian forest). A portion of this site appears to be on the Rio
  Grande National Forest.

  Alamosa River at Government Park - As described in the Inventory of Rio Grande and Conejos
  Counties (Kettler et al. 2000), this site supports several plant communities vulnerable on a global scale -
  Alnus incana-mixed Salix species (thinleaf alder-mixed willow species), Carex simulata (wet meadows),
  Populus angustifolia/Alnus incana (montane riparian forest), Salix monticola/mixed forbs (montane
  riparian willow carr), and Salix monticola/mixed graminoids (montane riparian willow carr).
  Approximately half the site is on the Rio Grande National Forest. The Colorado Natural Heritage
  Program Report notes that heavy grazing, heavy recreation use and the presence of Forest Service Road
  250 have resulted in an abundance of non-native species. Water quality in the Alamosa River is an
  ongoing concern (Kettler et al. 2000).

  Cedar Spring Uplands - As described in the Inventory of Rio Grande and Conejos Counties (Kettler et
  al. 2000), this site contains occurrences of Neoparrya lithophila (rock-loving neoparrya), Pinus
  edulis/Stipa comata (pinyon pine/needle-and-threadgrass woodland), and Pinus edulis/Stipa scribneri
  (pinyon pine/Scribner needlegrass woodland). The majority of the site is located in the Forest Service
  Spring Branch Research Natural Area.

  East Butte - this site contains an excellent occurrence of Neoparrya lithophila, the rock-loving
  neoparrya. The site is located on public land managed by the Forest Service and Bureau of Land
  Management. Part of the site is incorporated into the Forest Service Elephant Rocks Special Interest Area.

  Fivemile Park - this site contains occurrences of several moonworts (Botrychium spp.) that were noted
  as being imperiled and vulnerable in the Inventory of Rio Grande and Conejos Counties (Kettler et al.
  2000). The site is located on the Rio Grande National Forest. The plant occurs on or near an old logging
  road that has been closed.

  Grayback Mountain - this site contains occurrences of Machaeranthera coloradoensis (Colorado tansy­
  aster), Pinus aristata/Ribes montigenum (Upper montane woodland), and Carex aquatilus (Montane wet
  meadow). It is located on the Rio Grande National Forest. A Forest Service road, radio tower, and pipeline
  occur within or adjacent to the site.

  Hot Creek -this site contains occurrences of Gila pandora (Rio Grande chub), Astragalus Ripleyi
  (Ripley’s milkvetch), Neoparrya lithophila (rock-loving neoparrya), Carex utriculata (beaked sedge
  perched wetland), Alnus incana/mesic forb (thinleaf alder/mesic forb riparian shrubland), Picea
  pungens/Cornus sericea (blue-spruce/red-osier dogwood riparian forest), and Pinusponderosa/Festuca
  arizonica (ponderosa pine/Arizona fescue woodland). The site is located on public land managed mainly
  by the Colorado Division of Wildlife and the Forest Service, with smaller amounts owned by private
  individuals. Part of the site is contained in the Forest Service Hot Creek Research Natural Area.

  Park Creek at Summit Pass - this site contains an occurrence of Machaeranthera coloradoensis
  (Colorado tansy-aster). It is one of the largest populations documented in Colorado with approximately
  700 plants. The site is located on the Rio Grande National Forest.

  Cottonwood Creek - Western Sangres - this site supports occurrences of a globally imperiled plant
  community (Populus angustifolia-Juniperus scopulorum woodland) and a globally vulnerable plant
  community (Psuedotsuga menziesii/Betula occidentalis woodland).



                         Rio Grande National Forest - 41 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000055
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 56 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Spanish Creek - this site supports an occurrence of a globally imperiled plant community (Populus
  angustifolia-Juniperus scopulorum woodland).

  Special Habitats
  There are also areas that are generally thought of as rare or special from a plant and animal habitat
  perspective and warrant additional conservation considerations. These special habitat areas generally have
  an outsized contribution to species diversity relative to their actual size or they may be habitat for species
  found nowhere else.

  •   Wetlands, which are sensitive to natural and human-caused stressors and often support a high amount
      of species diversity.
  •   Fens, which are unique and irreplaceable wetland types. The Rio Grande National Forest is currently
      working with Colorado Natural Heritage Program to map and rank the fens on the forest. This project
      will provide us with additional information about the forest’s fen resources.
  •   Riparian areas, especially low elevation riparian areas, such as cottonwood/alder forests. This
      includes the narrowleaf cottonwood - Rocky Mountain juniper montane riparian community, which is
      imperiled in Colorado as well as globally imperiled (Sovell 2006).
  •   Ponderosa pine forests where fire has been allowed to play its natural role. One example of this is Hot
      Creek Research Natural Area.
  •   Aspen, especially the lower to middle elevation drier types of aspen communities mixed with
      Douglas-fir and other mesic species.
  •   Oakbrush, which is rare in the San Luis Valley and on the Forest and support a unique assemblage of
      wildlife species (approximately. 2,600 acres on the Rio Grande National Forest).
  •   Alpine fell fields and other special areas in alpine tundra.
  •   Caves and Mines, which are unique geological features that provide important habitat components for
      several of the 11 bat species known to utilize the Forest.

  Terrestrial Ecosystems - Summary of Assessment of Ecosystem
  Integrity (12.14):
  We examined a variety of key ecosystem characteristics for the terrestrial ecosystems of the Rio Grande
  National Forest. We assessed the amount and distribution of vegetation structural stages, including late-
  successional habitat, through state and transition modelling. We also used published literature to assess
  the natural range of variation for these ecosystems. We also assessed landscape patterns, fragmentation,
  snags and down woody material, and rare communities and special habitats. This work suggests the
  following:

  •   The spruce-fir and aspen forests are, in particular, undergoing rapid change due to a recent, large
      outbreak of spruce beetle and a recent large wildfire. High levels of mortality in mature Engelmann
      spruce in many areas have produced abundant open stands and dead standing and down wood. This,
      in turn, is allowing regeneration of aspen and an increasing trend in aspen forests.
  •   It is difficult to determine whether the terrestrial ecosystems on the Rio Grande National Forest are
      within the range of what would occur naturally. Modelling results indicate that the terrestrial
      ecosystems on the Rio Grande National Forest are, in general, moderately to substantially departed
      from what would occur naturally. However, some model assumptions and results do not agree with
      published literature. We know that very large spruce beetle outbreaks happened historically, but we


                         Rio Grande National Forest - 42 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000056
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 57 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


      don’t really know with any certainty whether this latest spruce beetle outbreak is a completely natural
      phenomenon or one influenced by climate change. The departure from the natural range of other
      types, such as mixed conifer, is uncertain as well.
  •   Currently only about 13 percent of the forest is in late-successional habitats based on the selection
      criteria we used. We expect this to increase under current plan direction, but future predicted levels
      are still less than the historical estimates of late-successional habitat. If, as predicted, disturbances
      such as large fires and insect outbreaks increase in frequency due to climate change, the forest may
      have even less late successional habitat than our model predictions suggest.
  •   Generally, the amount of snags and down wood on the forest is sufficient and higher than any known
      reference values. The one exception to this is in the ponderosa pine type. The lower amounts in the
      ponderosa pine type may be due to fire exclusion and the resulting departure from the natural fire
      regime, which is more significant in these lower elevation forests.
  •   Fragmentation on the forest varies by land type. Some types, especially Western wheatgrass and other
      low-elevation grasslands on alluvial fans, are more fragmented or have lower amounts in protected
      designations such as wilderness, roadless areas, or research natural areas. We recommend considering
      ways to improve this as part of plan revision.
  Many opportunities exist to help us work towards reducing risk and adapting to climate change and the
  drivers and stressors of the various ecosystems. These include:

  •   Continuing to restore fire to its historical role on the forest. This may be through broadcast burning or
      through management of naturally occurring ignitions to include ecological benefits.
  •   Maintaining diversity on our forests, including the protection of any rare communities and special
      habitats known to occur on the Rio Grande National Forest.
  •   Testing non-traditional restoration treatments that achieve heterogeneous conditions at a variety of
      scales (Underhill et al. 2014).
  •   Restoring our riparian areas in any way we can. This could mean modifying standards and guidelines
      to ensure continued protection of these areas from sedimentation and erosion. It could also mean
      trying novel restoration activities, such as the reintroduction of beaver.
  •   Monitoring and regulation of livestock grazing.




                         Rio Grande National Forest - 43 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000057
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 58 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  References
  Abella, S. R., and C. W. Denton. 2009. Spatial variation in reference conditions: historical tree density
          and pattern on a Pinus ponderosa landscape. Canadian Journal of Forest Research 39:2391-2403.

  Alexander, K, D. and A. G. Keck. 2015. Uncompahgre Fritillary Butterfly Monitoring and Inventory:
         2014 Report and Status.

  Andrus, R. A., T. T. Veblen, B. J. Harvey, and S. J. Hart. 2015. Fire severity unaffected by spruce beetle
         outbreak in spruce-fir forests in Southwestern Colorado. Ecological Applications.

  Baisan, C. H., and T. W. Swetnam. 1997. Interactions of fire regimes and land use in the central Rio
          Grande valley. USDA Forest Service Research Paper RM-RP-330.

  Baker, W. L. 1983. Alpine Vegetation of Wheeler Peak, New Mexico, USA: Gradient Analysis,
          Classification, and Biogeography. Arctic and Alpine Research, Vol. 15, No. 2, pp. 223-240, 1983.

  Baker, W. L. 2006. Fire and Restoration of Sagebrush Ecosystems. Wildlife Society Bulletin 34:177-185.

  Baker, W. L., and T. T. Veblen. 1990. Spruce beetles and fires in the nineteenth-century subalpine forests
          of western Colorado, U.S.A. Arctic and Alpine Research 22:65-80.

  Barrett, S. W. 1994. Fire regimes on andesitic mountain terrain in northeastern Yellowstone National
           Park, Wyoming. International Journal of Wildland Fire 4:65-76.

  Bebi, P., D. Kulakowski, and T. T. Veblen. 2003. Interactions between fire and spruce beetles in a
           subalpine Rocky Mountain forest landscape. Ecology 84:362-371.

  Brown, P. M., and R. Wu. 2005. Climate and disturbance forcing of episodic tree recruitment in a
         southwestern ponderosa pine landscape. Ecology 86:3030-3038.

  Caldwell, M. M. (1984). Plant requirements for prudent grazing. In National Research Council, &
         National Academy of Sciences, Developing strategies for rangeland management (pp. 117-152).
         Boulder, CO, USA: Westview Press.

  Colorado Forest Restoration Institute. 2010. Mixed-Conifer Forests in Southwest Colorado: A Summary
         of Existing Knowledge and Considerations for Restoration and Management. Report produced by
         the Colorado Forest Restoration Institute, Colorado State University.

  Colorado Natural Heritage Program (CNHP). 2015. Tracked Natural Plant Communities.
         http://www.cnhp.colostate.edu/download/list/communities.asp

  Colorado State Forest Service. 2014. 2014 Colorado Forest Insect and Disease Update: A supplement to
         the 2014 Report on the Health of Colorado’s Forests.
         https://webcms.colostate.edu/csfs/media/sites/22/2015/03/Final-2014-Insect-Disease-Update-
         2March2015.pdf

  Crane, M. F. 1982. Fire ecology of Rocky Mountain Region forest habitat types. Final Report. Contract
         from USDA Forest Service, Region Two (Purchase Order No. 43-82x9-1884) on file at the Rocky
         Mountain Research Station. Fort Collins, CO. 268 pp

  Daubenmire, R. F. 1970. Steppe vegetation of Washington. Washington State University Agricultural
        Experiment Station Technical Bulletin No. 62. 131 pp.


                         Rio Grande National Forest - 44 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000058
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 59 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  DeByle, N. V., and R. P. Winokur (editors). 1985. Aspen: ecology and management in the western United
         States. USDA Forest Service General Technical Report RM-119.

  Dick-Peddie, W. A. 1993. New Mexico vegetation, past, present, and future. University of NM Press.

  Dwyer, D. and R. Pieper. 1967. Fire Effects on Blue Grama-pinyon-Juniper Rangeland in New Mexico.
         Journal of Range Management 20:359-362.

  Eager, T., R. Mask, and S. Gray. 2012. Biological Evaluation R2-01-12 - Review of Forest Insect Activity
          on the Rio Grande National Forest from 2000 to 2011. USDA. Forest Service, Rocky Mountain
          Region, Renewable Resources.

  Eisenhart, K. S. 2004. Historic range of variability and stand development in pinon-juniper woodlands of
         western Colorado. Dissertation, Geography Department, University of Colorado, Boulder, CO.

  Fleischner, T. L. 1994. Ecological costs of livestock grazing in western North America. Conservation
          Biology 8:629-644.

  Floyd, M. L., W. H. Romme, and D. D. Hanna. 2000. Fire history and vegetation pattern in Mesa Verde
         National Park, Colorado, USA. Ecological Applications 10:1666-1680.

  Fule, P. Z., J. E. Korb, and R. Wu. 2009. Changes in forest structure of a mixed conifer forest,
           southwestern Colorado, USA. Forest Ecology and Management 258:1200-1210.

  Furniss, R. L., and V. M. Carolin. 1977. Western forest insects. USDA Forest Service Miscellaneous
          Publication Number 1339. Washington, D.C. 654 p.

  Gage, E. and D. J. Cooper. 2013. Historical range of variation assessment for wetland and riparian
          ecosystems, U.S. Forest Service Rocky Mountain Region. Gen. Tech. Rep. RMRS-GTR-
          286WWW. Fort Collins, CO: U.S. Department of Agriculture, Forest Service, Rocky Mountain
          Research Station. 239 p.

  Haddad, N. M., L. A. Brudvig, J. Clobert, K. F. Davies, A. Gonzalez, R. D. Holt, T. E. Lovejoy, J. O.
         Sexton, M. P. Austin, C. D. Collins, W. M. Cook, E. I. Damschen, R. M. Ewers, B. L. Foster, C.
         N. Jenkins, A. J. King, W. F. Laurance, D. J. Levey, C. R. Margules, B. A. Melbourne, A. O.
         Nicholls, J. L. Orrock, D.-X. Song, J. R. Townshend. 2015. Habitat fragmentation and its lasting
         impact on Earth’s ecosystems. Sci. Adv. 9p.

  Hawksworth, F.G. 1978. Intermediate Cuttings in Mistletoe-Infested Lodgepole Pine and Southwestern
        Ponderosa Pine Stands. In Scharpf, R.F. and J.R. Parmeter, Technical Coordinators. Proceedings
        of the Symposium on Dwarf Mistletoe Control through Forest Management; 1978 April 11-13,
        Berkeley, Ca. General Technical Report PSW-31. Berkeley, CA. USDA Forest Service, Pacific
        Southwest Forest and Range Experiment Station. 86-92.

  Hoover, R. L. and D. Wills. 1984. Managing Forested Lands for Wildlife. Colorado Div. of Wildlife in
          cooperation with USDA Forest Service, Rocky Mountain Region. Appendix H-Wildlife
         Requirements and Uses of Snags and Dead/Down Trees on Forested Lands in Colorado. Pp. 413­
         417.

  James, R. L. and L. S. Gillman. 1979. Fomes annosus on white fir in Colorado. USDA Forest Service,
          Forest Insect and Disease Mgt., State and Private Forestry, Rocky Mtn Region. Technical Report
          R2-17. 9p.



                         Rio Grande National Forest - 45 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000059
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 60 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  James, R. L. and D. J. Goheen. 1980. Distribution and characteristics of conifer root diseases on the San
          Isabel, Rio Grande, San Juan, and Grand Mesa National Forests in Colorado. USDA Forest
          Service, Forest Insect and Disease Mgt., State and Private Forestry, Rocky Mtn Region.
          Biological Evaluation R2-80-4. 17p.

  Johnson, E. A., and G. I. Fryer. 1989. Population dynamics in lodgepole pine -Engelmann spruce forests.
         Ecology 70:1335-1345.

  Kettler, S., J. Rocchio, R. Schorr, J. and J. Bart. 2000. Biological Inventory of Rio Grande and Conejos
           Counties, Colorado. Colorado Natural Heritage Program, Colorado State University.

  Knight, R. L., F. W. Smith, S. W. Buskirk, W. H. Romme, and W. L. Baker (editors). 2000. Forest
          fragmentation in the southern Rocky Mountains, University Press of Colorado.

  Korb, J. E., P. Z. Fule, and R. Wu. 2013. Variability of warm/dry mixed conifer forests in southwestern
           Colorado, USA: Implications for ecological restoration. Forest Ecology and Management
           304:182-191.

  Kulakowski, D., C. Matthews, D. Jarvis, and T. T. Veblen. 2013. Compounded disturbances in sub-alpine
         forests in western Colorado favour future dominance by quaking aspen (Populus tremuloides).
        Journal of Vegetation Science 24:168-176.

  Lemly, Joanna. (2012) Assessment of Wetland Condition on the Rio Grande National Forest. Colorado
          Natural Heritage Program, Colorado State University, Fort Collins, CO 80523.

  Lertzman, K.P. and Krebs, C.J. 1991. Gap-phase structure of a subalpine old-growth forest. Canadian
         Journal of Forest Research 21:1730-1741.

  Mutch, R. W. 1991. Presentation Paper on Continental Fire Regimes. National Advanced Resource
         Technology Center, Marana, AZ.

  Paulson, D. D., and W. L. Baker. 2006. The nature of southwestern Colorado: Recognizing human
          legacies and restoring natural places. University Press of Colorado.

  Pugh, E., and E. Small. 2012. The impact of pine beetle infestation on snow accumulation and melt in the
          headwaters of the Colorado River. Ecohydrology 5:467-477.

  Raimo, B. J. 1984b. Western tent caterpillar, Blanco Basin, ‘V’ Rock, Chama Basin Areas. USDA Forest
         Service, Rocky Mtn. Region. Biological Evaluation Report R2-84-1. 7p.

  Raimo, B J. 1985 Western tent caterpillar, Blanco Basin, ‘V’ Rock, Chama Basin Areas, San Juan and Rio
         Grande National Forests. USDA Forest Service, Rocky Mtn Region. Biological Evaluation
         Report R2-85-7. 9p.

  Rogers, B. E. 1964. Sage grouse investigations in Colorado. Technical Publication 16. Denver: Colorado
          Game, Fish, and Parks Dept.

  Romme, W., C. Allen, J. Bailey, W. Baker, B. Bestelmeyer, P. Brown, K. Eisenhart, L. Floyd-Hanna, D.
        Huffman, B. Jacobs, R. Miller, E. Muldavin, T. Swetnam, R. Tausch, and P. Weisberg. 2008.
        Historical and modern disturbance regimes of pinon-juniper vegetation in the western U.S. Report
        published by Colorado Forest Restoration Institute, Colorado State University, Fort Collins
        (http://www.cfri.colostate.edu/ ).



                        Rio Grande National Forest - 46 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000060
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 61 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Romme, W. H., M. L. Floyd, D. Hanna. 2009. Historical Range of Variability and Current Landscape
        Condition Analysis: South Central Highlands Section, Southwestern Colorado & Northwestern
        New Mexico. Report produced by the Colorado Forest Restoration Institute at Colorado State
        University and Region 2 of the U.S. Forest Service.

  Rondeau, R. J., D. Sarr, M. B. Wunder, P. M. Pineda, and G. M. Kittel. 1998. Saguache County, Closed
         Basin Biological Inventory Volume 1: A Natural Heritage Assessment Final Report. Colorado
        Natural Heritage Program, Colorado State University.

  Rondeau, R, M. Fink, G. Rodda, and M. Kummel. 2012. Treeline Monitoring in the San Juan Basin
         Tundra: a pilot project. Report by the Colorado Natural Heritage Program, Colorado State
        University.

  Roovers, L.M., and A.J. Rebertus. 1993. Stand dynamics and conservation of an old growth Engelmann
         spruce - subalpine fir forest in Colorado. Natural Areas Journal 13:256-267.

  Ryerson, D. E., T. W. Swetnam, and A. M. Lynch. 2003. A tree-ring reconstruction of western spruce
         budworm outbreaks in the San Juan Mountains, Colorado, U.S.A. Can. J. For. Res. 33:1010-1028.

  Sapsis, D. B., and J. B. Kauffman. 1991. Fuel consumption and fire behavior associated with prescribed
          fires in sagebrush ecosystems. Northwest Science 65:173-179.

  Schmid, J. M., and R. H. Frye. 1977. Spruce beetle in the Rockies. USDA Forest Service General
         Technical Report RM-49.

  Schmid, J. M., and S. A. Mata. 1996. Natural variability of specific forest insect populations and their
         associated effects in Colorado. USDA Forest Service General Technical Report RM-GTR-275.

  Scurlock, D. 1998. From the Rio to the Sierra: An environmental history of the Middle Rio Grande Basin.
         USDA Forest Service General Technical Report RMRS-GTR-5.

  Seavy, N.E., T. Gardali, G. H. Golet, F. T. Griggs, C. A. Howell, R. Kelsey, S. L. Small, J. H Viers, and J.
          F. Weigand. 2009. Why Climate Change Makes Riparian Restoration More Important than Ever:
          Recommendations for Practice and Research. Ecological Restoration 27:3.

  Semmartin, M., M.R. Aguilar, R.A. Distel, A.S. Moretto, C.M. Ghersa. 2004. Oikos. Vol. 107 Issue 1:
        148-150.

  Somers, P., and L. Floyd-Hanna. 1996. Wetlands, riparian habitats, and rivers. Pages 175-189 in Blair, R.,
         Casey, T. A., Romme, W. H., and R.N. Ellis. 1996. The Western San Juan Mountains, Their
         Geology, Ecology, and Human History. University Press of Colorado. Fort Lewis College
         Foundation.

  Sovell, J. 2006. Baca Grande Biological Assessment 2005. Report prepared by the Colorado Natural
           Heritage Program, Colorado State University.

  Stahelin, R. 1943. Factors influencing the natural re-stocking of high altitude burns by coniferous trees in
          the central Rocky Mountains. Ecology 24:19-30.

  Swetnam, T. W. and A. M. Lynch. 1989. A tree-ring reconstruction of western spruce budworm history in
        the southern Rocky Mountains. Forest Science. 35(4):962-986.




                         Rio Grande National Forest - 47 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000061
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 62 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Thilenius, J. F. 1975. Alpine Range Management In the Western United States - Principles, Practices, and
          Problems: The Status of Our Knowledge. USDA Forest Service Research Paper RM-157.

  Thurow, T.L., W.H. Blackburn, C.A. Taylor. 1988. Infiltration and Interrill Erosion Responses to Selected
         Livestock Grazing Strategies, Edwards Plateau, Texas. Journal of Range Management, Vol 44,
         No. 4, 296-302.

  Turner, G.T. and Paulsen, H.A. 1976. Management of Mountain Grasslands in the Central Rockies: The
          Status of our Knowledge. USDA. Forest Service Research Paper RM-161.

  Turner, M. G., W. H. Romme, R. H. Gardner, and W. W. Hargrove. 1997. Effects of fire size and pattern
          on early succession in Yellowstone National Park. Ecological Monographs 67:411-433.

  Underhill, J. L., Y. Dickinson, A. Rudney, J. Thinnes. 2014. Silviculture of the Colorado Front Range
         Landscape Restoration Initiative. J. For 112(5):484-493.

  USDA Forest Service. 2011. National Roadmap for Responding to Climate Change.
        http://www.fs.fed.us/climatechange/advisor/roadmap.html

  USDA Forest Service, Rio Grande National Forest. 1929. History of the Rio Grande National Forest.
        Unpublished manuscript on file at Rio Grande National Forest, Monte Vista, CO.

  USDA Forest Service, Rio Grande National Forest. 1940. Letter to Forest Supervisor pertaining to insect
        control dated June 19, 1940 from District Ranger at South Fork.

  USDA Forest Service, Rio Grande National Forest. 1996. Final Environmental Impact Statement for the
        Revised Land and Resource Management Plan, Appendix A.

  Veblen, T. T. 2000. Disturbance patterns in southern Rocky Mountain forests. Chapter 2 in Knight, R. L.,
          F. W. Smith, S. W. Buskirk, W. H. Romme, and W. L. Baker (editors), Forest fragmentation in the
          southern Rocky Mountains. University Press of Colorado.

  Veblen, T. T., K. S. Hadley, M. S. Reid, and A. J. Rebertus. 1989. Blowdown and stand development in a
          Colorado subalpine forest. Canadian Journal of Forest Research 19:1218-1225.

  Veblen, T. T., K. S. Hadley, and M. S. Reid. 1991a. Disturbance and stand development of a Colorado
          subalpine forest. Journal of Biogeography 18:707-716.

  Veblen, T. T., K. S. Hadley, E. M. Nel, T. Kitzberger, M. Reid, and R. Villalba. 1994. Disturbance regime
          and disturbance interactions in a Rocky Mountain subalpine forest. Journal of Ecology 82:125­
          135.

  Vose, J. M., D. L. Peterson, T. Patel-Weynand, eds. 2012. Effects of climatic variability and change on
           forest ecosystems: a comprehensive science synthesis for the U.S. forest sector. Gen. Tech. Rep.
           PNW-GTR-870. Portland, OR: U.S. Department of Agriculture, Forest Service, Pacific Northwest
           Research Station. 265p. http://www.fs.fed.us/research/climate-change/assessment/

  Whisenant, S. G. 1990. Changing Fire Frequencies on Idaho’s Snake River Plains: Ecological and
         Management Implications, in ED McArthur, EM Romney, SD Smith, and PT Tueller eds.,
         Proceedings--Symposium on cheatgrass invasion, shrub die-off, and other aspects of shrub
        biology and management, Las Vegas, NV, April 5-7, 1989. Ogden, UT, USDA Forest Service,
         Intermountain Research Station, General Technical Report INT-276, p. 4-10.



                        Rio Grande National Forest - 48 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000062
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 63 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems



  Appendix A. Spatial Data Documentation for the Rio
  Grande National Forest Planning Assessment
  Several types of spatial data were used to support the state-and-transition simulation modeling (STSM) on
  the Rio Grande National Forest (RGNF). This appendix describes the spatial data layers, their sources,
  and the processing steps used to generate the final data for the STSM assessment. Spatial data covering
  the area within the RGNF was provided by the RGNF, and we added a 6.2 mi (10 km buffer) zone around
  the RGNF to encompass the broader landscape context. Data sources varied within and outside the RGNF
  for each spatial layer and are described below. All spatial data were converted to 120m grid cell rasters,
  and projected into the North American Datum 1983 Albers projection.

  Ecosystems
  Ecosystems represent broad vegetation types with similar vegetation, soil, climate and disturbance
  regimes. They are also called potential vegetation types (PVTs), ecological response units (ERUs), and
  biophysical settings (BPSs). Each ecosystem corresponds to a single STSM, describing the vegetation
  dynamics within that type. More details about STSMs can be found in Appendix B. The final data layer
  containing the ecosystem map is called ERU.tif.

  Data Sources
  Within the RGNF, the ecosystem map was based on Land Type Associations (LTAs) mapped by the
  RGNF, received on 12/09/2014. For the surrounding (6.2 mi buffer) landscape, ecosystems were based on
  the LANDFIRE Biophysical Settings (BPS) map (www.landfire.gov, metadata:
  http://www.landfire.gov/NationalProductDescriptions20.php ). A full list of LTAs and BPSs found in the
  study area and their assignment to a modeled ecosystem is in table 15.




                        Rio Grande National Forest - 49 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000063
                Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 64 of 406

                                                     Rio Grande National Forest -Assessments 1 and 3
                                         Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems



Table 15. Crosswalk of the 10 ecosystems modeled in the RGNF assessment to land type associations (LTAs) on the RGNF and to biophysical settings
(BPSs) in the 6.2 mi buffer outside the RGNF. NA indicates a non-vegetated ecosystem that was not modeled._________________________________
  Model Code       Ecosystem Name                               Name of LTA (RGNF) or BPS (Outside RGNF)                             Location
  LF_2811440       Rocky Mountain Alpine Turf                   Alpine Sedges and Forbs on Alpine Summits                            RGNF
  LF_2811590       Rocky Mountain Montane Riparian              Willows and Sedges on Floodplains                                    RGNF
                   Rocky Mountain Gambel Oak - Mixed
  R3_GAM                                                        Gambel Oak on Mountain Slopes                                        RGNF
                   Montane Shrubland
  R3_MCD           Mixed Conifer - Dry                          White Fir and Douglas-fir on Alpine Summits                          RGNF
  R3_MCD           Mixed Conifer - Dry                          Ponderosa Pine and Douglas-fir on Mountain Slopes                    RGNF
  R3_MCW           Mixed Conifer - Wet                          Aspen on Mountain Slopes                                             RGNF
                   Southern Rocky Mountain Montane-
  R3_MSG                                                        Arizona Fescue on Mountain Slopes                                    RGNF
                   Subalpine Grassland
                   Southern Rocky Mountain Montane-
  R3_MSG                                                        Thurber Fescue on Mountain Slopes                                    RGNF
                   Subalpine Grassland
                                                                Western Wheatgrass and Other Low-Elevation Grasslands on Alluvial
  R3_PJO           Pinyon-Juniper Woodland                                                                                           RGNF
                                                                Fans
  R3_PJO           Pinyon-Juniper Woodland                      Pinyon Pine on Mountain Slopes                                       RGNF
  R3_SFM           Spruce-Fir Forest Mix                        Engelmann Spruce on Mountain Slopes                                  RGNF
  R3_SFM           Spruce-Fir Forest Mix                        Engelmann Spruce on Landslides                                       RGNF
  NA               NA                                           Nonvegetated Areas on Mountain Slopes                                RGNF
  NA               NA                                           Unknown                                                              RGNF
  LF_2811440       Rocky Mountain Alpine Turf                   Rocky Mountain Alpine Fell-Field                                     Outside RGNF
  LF_2811440       Rocky Mountain Alpine Turf                   Rocky Mountain Alpine Dwarf-Shrubland                                Outside RGNF
  LF_2811440       Rocky Mountain Alpine Turf                   Rocky Mountain Alpine Turf                                           Outside RGNF
  LF_2811590       Rocky Mountain Montane Riparian              Rocky Mountain Montane Riparian Systems                              Outside RGNF
  LF_2811590       Rocky Mountain Montane Riparian              Rocky Mountain Subalpine/Upper Montane Riparian Systems              Outside RGNF
                   Rocky Mountain Gambel Oak - Mixed
  R3_GAM                                                        Rocky Mountain Gambel Oak-Mixed Montane Shrubland                    Outside RGNF
                   Montane Shrubland
  R3_ISS           Inter-Mountain Basins Greasewood Flat        Inter-Mountain Basins Greasewood Flat                                Outside RGNF
  R3_ISS           Inter-Mountain Basins Greasewood Flat        Inter-Mountain Basins Mixed Salt Desert Scrub                        Outside RGNF
                                                                Southern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest and
  R3_MCD           Mixed Conifer - Dry                                                                                               Outside RGNF
                                                                Woodland




                                              Rio Grande National Forest - 50 - Forestwide Planning Assessment
                                                                                                                         Rvsd Plan - 00000064
             Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 65 of 406

                                                 Rio Grande National Forest -Assessments 1 and 3
                                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


Model Code     Ecosystem Name                               Name of LTA (RGNF) or BPS (Outside RGNF)                               Location
R3_MCW         Mixed Conifer - Wet                          Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland          Outside RGNF
                                                            Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland - Low
R3_MCW         Mixed Conifer - Wet                                                                                                 Outside RGNF
                                                            Elevation
R3_MCW         Mixed Conifer - Wet                          Rocky Mountain Aspen Forest and Woodland                               Outside RGNF
                                                            Inter-Mountain Basins Aspen-Mixed Conifer Forest and Woodland - High
R3_MCW         Mixed Conifer - Wet                                                                                                 Outside RGNF
                                                            Elevation
                                                            Southern Rocky Mountain Mesic Montane Mixed Conifer Forest and
R3_MCW         Mixed Conifer - Wet                                                                                                 Outside RGNF
                                                            Woodland
               Southern Rocky Mountain Montane-
R3_MSG                                                      Rocky Mountain Subalpine-Montane Mesic Meadow                          Outside RGNF
               Subalpine Grassland
               Southern Rocky Mountain Montane-
R3_MSG                                                      Southern Rocky Mountain Montane-Subalpine Grassland                    Outside RGNF
               Subalpine Grassland
R3_PJO         Pinyon-Juniper Woodland                      Inter-Mountain Basins Semi-Desert Grassland                            Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Southern Rocky Mountain Ponderosa Pine Woodland                        Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Southern Rocky Mountain Juniper Woodland and Savanna                   Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Southern Rocky Mountain Ponderosa Pine Savanna                         Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Rocky Mountain Lodgepole Pine Forest                                   Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Rocky Mountain Subalpine-Montane Limber-Bristlecone Pine Woodland      Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Southern Rocky Mountain Pinyon-Juniper Woodland                        Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Colorado Plateau Pinyon-Juniper Woodland                               Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Western Great Plains Foothill and Piedmont Grassland                   Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Inter-Mountain Basins Juniper Savanna                                  Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Western Great Plains Shortgrass Prairie                                Outside RGNF
R3_PJO         Pinyon-Juniper Woodland                      Rocky Mountain Foothill Limber Pine-Juniper Woodland                   Outside RGNF
R3_SAG         Sagebrush Shrubland                          Inter-Mountain Basins Montane Sagebrush Steppe                         Outside RGNF
R3_SAG         Sagebrush Shrubland                          Inter-Mountain Basins Semi-Desert Shrub-Steppe                         Outside RGNF
R3_SAG         Sagebrush Shrubland                          Wyoming Basins Dwarf Sagebrush Shrubland and Steppe                    Outside RGNF
R3_SAG         Sagebrush Shrubland                          Inter-Mountain Basins Big Sagebrush Shrubland                          Outside RGNF
R3_SAG         Sagebrush Shrubland                          Rocky Mountain Lower Montane-Foothill Shrubland                        Outside RGNF
                                                            Inter-Mountain Basins Montane Sagebrush Steppe - Mountain Big
R3_SAG         Sagebrush Shrubland                                                                                                 Outside RGNF
                                                            Sagebrush
R3_SAG         Sagebrush Shrubland                          Inter-Mountain Basins Montane Sagebrush Steppe - Low Sagebrush         Outside RGNF



                                          Rio Grande National Forest - 51 - Forestwide Planning Assessment
                                                                                                                     Rvsd Plan - 00000065
             Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 66 of 406

                                               Rio Grande National Forest -Assessments 1 and 3
                                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


Model Code     Ecosystem Name                             Name of LTA (RGNF) or BPS (Outside RGNF)                            Location
R3_SAG         Sagebrush Shrubland                        Colorado Plateau Blackbrush-Mormon-tea Shrubland                    Outside RGNF
R3_SFM         Spruce-Fir Forest Mix                      Rocky Mountain Subalpine Mesic-Wet Spruce-Fir Forest and Woodland   Outside RGNF
R3_SFM         Spruce-Fir Forest Mix                      Rocky Mountain Subalpine Dry-Mesic Spruce-Fir Forest and Woodland   Outside RGNF
NA             NA                                         Barren-Rock/Sand/Clay                                               Outside RGNF
NA             NA                                         Inter-Mountain Basins Sparsely Vegetated Systems                    Outside RGNF
NA             NA                                         Open Water                                                          Outside RGNF
NA             NA                                         Perrennial Ice/Snow                                                 Outside RGNF
NA             NA                                         Rocky Mountain Alpine/Montane Sparsely Vegetated Systems            Outside RGNF




                                        Rio Grande National Forest - 52 - Forestwide Planning Assessment
                                                                                                                   Rvsd Plan - 00000066
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 67 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems



  Data Processing
  The LTA Layer (including the Baca area) was converted to a raster with 120m grid cells. Cell values were
  assigned based on the maximum LTA area contained in each grid cell. The crosswalk in Table A1 was
  applied to the LTA layer to assign an ecosystem to each grid cell. At the request of the RGNF, a sage
  grouse habitat layer (poncha_sagegrouse_habitat.shp, received 2/10/2014) was used to refine the
  ecosystem layer. In the final ecosystem map, only the area defined as sage grouse habitat in this layer was
  classified as Sagebrush Shrubland, and all other cells originally assigned to Sagebrush Shrubland were
  reassigned to Inter-Mountain Basins Greasewood Flat. Also by request of the RGNF, the Western
  Wheatgrass and Other Low-Elevation Grasslands on Alluvial Fans LTA (originally crosswalked to a
  Colorado Plateau Grassland ecosystem type) was reassigned to the Pinyon-Juniper Woodland ecosystem.

  In the 6.2 mi buffered landscape context area, the LANDFIRE Biophysical Settings (BPS) layer
  (LANDFIRE 2012 1.3.0) was resampled from 30m to 120m using the majority resampling method (the
  value of the resulting 120m cell was the mode of the 30m input cells). The resulting 120m BPS layer was
  clipped to the project boundary and crosswalked as described in Table A1. The BPS ecosystem layer was
  erased within the RGNF boundary, and the BPS and LTA ecosystem layers were mosaicked into the final
  raster in tif format.

  Current Vegetation Conditions
  In addition to the ecosystems used to describe each major vegetation type, we also used a separate set of
  vegetation maps to characterize the current composition and structural characteristics of the vegetation in
  each modeled pixel. These maps were then used to assign each cell to a state class within the appropriate
  STSM. The final data layers containing this information are called RGNF_StCl_HRV_Updated.tif (for
  historic conditions) and RGNF_StCl_Updated.tif (for contemporary conditions).

  Data Sources
  Within the RGNF, current vegetation conditions were based on the FSVeg layer provided by the RGNF,
  received 10/16/2014. This layer was subsequently updated to reflect canopy cover percentages calculated
  using a canopy cover layer developed by the Remote Sensing Applications Center (RSAC)
  (rg_2014_canopycover.img raster, received 2/3/2015) to account for recent spruce beetle mortality (see
  Data Processing). Within the RGNF boundary, the LANDFIRE Succession Class (S-Class) map
  (LANDFIRE 2010 1.2.0) was used for the Rocky Mountain Alpine Turf and Rocky Mountain Montane
  Riparian STSMs because LANDFIRE models were used in those areas (LF_2811440 and LF_2811590
  respectively) (www.landfire.gov, metadata: http://www.landfire.gov/NationalProductDescriptions 17.php).

  For the surrounding (6.2 mi buffer) landscape context area, current vegetation conditions for forested
  areas were based on Nationwide Forest Imputation System (NaFIS) maps
  (http://blue.for.msu.edu/NAFIS/data.html, metadata:
  http://blue.for.msu.edu/NAFIS/metadata/mz28/mz28 nnplt 1 meta.html). In non-forested areas outside
  the RGNF, LANDFIRE S-Class data was used (www^andfile^gov, metadata:
  http://www.landfire.gov/NationalProductDescriptions 17.php).

  Data Processing
  Within the RGNF, the original canopy cover values in the FSVeg layer were updated to new values from
  the RSAC canopy cover layer, representing recent tree mortality related to spruce beetles. The zonal
  statistics tool was used to calculate the average canopy cover value in the RSAC canopy cover raster
  within each FSVeg polygon. The result was an additional attribute in FSVeg containing an updated
  canopy cover value representing conditions after the spruce beetle outbreak, which was used in the


                         Rio Grande National Forest - 53 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000067
     Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 68 of 406

                                      Rio Grande National Forest -Assessments 1 and 3
                          Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


        subsequent assignment of the FSVeg map to STSM state classes. Tree size did not change and retained the
        original FSVeg values. Within the forest boundary, FSVeg was used to categorize current vegetation
        conditions, except for where Rocky Mountain Alpine Turf or Rocky Mountain Montane Riparian
        ecosystems occurred. In those areas, LANDFIRE models (LF_2811440, LF_2811590) were used, and so
        input data was LANDFIRE S-Class rather than FSVeg. The crosswalks (outlined below) used the
        following fields from FSVeg to assign state classes: TotalTree (as updated to include RSAC canopy cover
        values), SIZE CLASS, LAYERING, and HAB_STR_ST.

        In the 6.2 mi buffer landscape context area, the NaFIS gridded map was resampled to 120m using the
        nearest resampling method. Areas covered by forest STSMs were clipped out of the resampled NaFIS
        grids and crosswalked to state classes as outlined below. The crosswalks used the following fields from
        NaFIS to assign state classes: CANCOV, POTR5_BA, LAYERS, and QMDA_GE_3. In non-forested
        areas, LANDFIRE S_CLASS was resampled to 120m using the majority resampling method. The erase
        tool was used to remove grid cells in forested areas where NaFIS data was used.

        All data sources (FSVeg, S-Class, and NaFIS) were crosswalked to STSM state classes as outlined in the
        rule set below. One rule set was used for contemporary conditions to model future projections, and
        another was used for historic conditions. The historic conditions rule set is a modified version of the rule
        set below, and reclassifies the state classes containing exotic species to the most similar native state class.
        Differences between the two maps were minor. Once the crosswalks were applied, the FSVeg, NaFIS, and
        LANDFIRE current vegetation rasters were mosaicked into the final state class rasters.

        The following rule set was used to allocate each cell in the current vegetation map to a state class within
        the appropriate STSM:



Region 3 Forest and Woodland Models: SFF, MCW, MCD, PJO
a.   MCW model (Mixed Conifer Wet)
Rule set using FSVeg Data (for use within the RGNF boundary):
         If ((AA_PCT)>40) Then StateClass = Aspen:Aspen
         Else If ((TotalTree)<10) Then StateClass = 'Early A:GFB'
         Else If ((TotalTree)>=70) AND ((SIZE CLASS) 'V') AND ((LAYERING)='M')) Then StateClass = 'MC-T:F.vcm'
         Else If ((TotalTree)>=70) AND ((SIZE CLASS) 'V') AND ((LAYERINg)='S')) Then StateClass = 'MC-T:E.vcs'
         Else If ((TotalTree)>=40) AND ((SIZE CLASS) 'V') AND ((lAYERING)='M')) Then StateClass = MC-T:N.vmm'
         Else If ((TotalTree)>=40) AND ((sIZE_CLASS)='V') AND ((LAYERINg)='S')); Then StateClass = 'MC-T:M.vms'
         Else If ((TotalTree)<40) AND ((SIZE CLASS) 'V') AND ((LAYERING)='M'));" Then StateClass = 'MC-M:J.vom'
         Else If ((TotalTree)' 40) AND ((SIZE_CLASS)='V') AND ((lAYERINg)='S')); Then StateClass = 'MC-M:I.vos'
         Else If ((TotalTree)>=70) AND ((SIZE CLASS) 'L')) Then StateClass = 'MC-T:D.mcs'
         Else If ((TotalTree)>=40) AND ((SIZE CLASS) 'L')) Then StateClass = MC-T:L.mms'
         Else If ((TotalTree)<40) AND ((SIZE CLASS) 'L')) Then StateClass = 'MC-I:H.mos'
         Else If (Totarrree)>=70) Then StateClass = 'MC-T:C.sc'
         Else If ((TotalTree)>=40)) Then StateClass = ' MC-T:K.sm'
         Else If ((TotalTree)<40)) Then StateClass = 'MC-I:G.so'
         Else If ((hAB_STR_St)='1M')) OR (((HAB_STR_ST)='1T')) OR ((FSFOR.HAB_STR_ST)='2S'))Then StateClass = 'Early
         A:GFB'
Rule set using Gradient Nearest Neighbor (GNN) data (for use outside of the RGNF boundary):
         If ((POTR5_BA)>16.2)) Then StateClass = 'Aspen:Aspen'
         Else If ((CANCOV)<10)) Then StateClass = 'Early A:GFB'
         Else If ((cANCOv)>=70) AND ((QMDA_GE_3)>=40) AND ((LAYERS)>1)) Then StateClass = 'MC-T:F.vcm'
         Else If ((cANCOv)>=70) AND ((QMDA GE 3)'40) AND ((lAYERs)<=1)) Then StateClass = 'MC-T:E.vcs'
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)'40) AND ((LAYERS)>1)) Then StateClass = 'MC-T:N.vmm'
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)'40) AND ((lAYERs)<=1)) Then StateClass = 'MC-T:M.vms'


                               Rio Grande National Forest - 54 - Forestwide Planning Assessment
                                                                                       Rvsd Plan - 00000068
     Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 69 of 406

                                     Rio Grande National Forest -Assessments 1 and 3
                         Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

        Else If ((CANCOV)<40) AND ((QMDA GE 3)-40) AND ((LAYERS)-?)) Then StateClass = 'MC-T:J.vom'
        Else If ((CANCOV)<40) AND ((QMDA_GE_3)>=40) AND ((LAYERS)<=1)) Then StateClass = 'MC-M:I.vos'
        Else If ((CANCOV)>=70) AND ((QMDA_GE_3)>=25) Then StateClass = 'MC-T:D.mcs'
        Else If ((cANCOv)>=40) AND ((qMDA_GE_3)>=25) 40Then StateClass = 'MC-T:L.mms'
        Else If ((CANCOV)<40) AND ((QMDA_GE_3)>=25) 40Then StateClass = 'MC-I:H.mos'
        Else If ((CANCOV)>=70) AND ((QMDA GE 3)-l3) Then StateClass = 'MC-T:C.sc'
        Else If ((CANCOV)>=40) AND ((qMDA_GE_3)>=13) Then StateClass = 'MC-T:K.sm'
        Else If ((CANCOV)<40) AND ((QMDA_GE_3)>=13) Then StateClass = 'MC-I:G.so'
        Else If ((qMDA_GE_3)<13));" Then StateClass = 'Early A:GFB'

b.   SFM Model (Spruce Fir Forest Mix)
Rule set using FSVeg Data (for use within the RGNF boundary):
          If ((AA_PCT)>40)) Then StateClass = ' Aspen:Aspen '
         Else If ((TotalTree)<10)) Then StateClass = 'Early A:GFB'
         Else If ((TotalTree)>=70) AND ((SIZE CLASS) 'V') AND ((LAYERING)='M')) Then StateClass = 'SFM-T:F.vcm'
         Else If ((TotalTree)>=70) AND ((SI/E CLASS) 'V') AND ((lAYERINg)='S')) Then StateClass = 'SFM-T:E.vcs'
          Else If ((TotalTree)>=40) AND ((SI/E CLASS) 'V') AND ((LAYERING)='M')) Then StateClass = ' SFM-T:N.vmm'
         Else If ((TotalTree)>=40) AND ((SI/E_CLASS)='V') AND ((LAYERING)='S')) Then StateClass = ' SFM-T:M.vms'
         Else If ((TotalTree)<40) AND ((SI/E_CLASS)='V') AND ((LAYERING)='M')) Then StateClass = 'SFM-M:J.vom'
         Else If ((TotalTree)<40) AND ((sI/E_CLASs)='V') AND ((LAYERINg)='S')) Then StateClass = ‘SFM-M:I.vos’
         Else If ((TotalTree)>=70) AND ((SI/E_CLASS)='L')) Then StateClass = 'SFM-T:D.mcs'
         Else If ((TotalTree)>=40) AND ((si/E_CLASs)='L')) Then StateClass = ' SFM-T:L.mms'
         Else If ((TotalTree)<40) AND ((SI/E_CLASS)='L')) Then StateClass = 'SFM-I:H.mos'
         Else If ((TotalTree)>=70) Then StateClass = 'SFM-T:C.sc'
         Else If ((TotalTree)>=40) Then StateClass = ' SFM-T:K.sm'
         Else If ((TotalTree)<40) Then StateClass = 'SFM-I:G.so'
         Else If ((HAB_STR_ST)='1M')) OR (((HAB_STR_ST)='1T')) OR ((FSFOR.HAB_STR_ST)='2S')) Then StateClass = 'Early
         A:GFB'
Rule set using Gradient Nearest Neighbor (GNN) data (for use outside of the RGNF boundary):
         If ((POTR5_BA)>16.2)) Then StateClass = ' Aspen:Aspen '
         Else If ((CANCOV)<10)) Then StateClass = 'Early A:GFB'
         Else If ((cANCOv)>=70) AND ((QMDA_GE_3)>=40) AND ((LAYERS)>=2)) Then StateClass = ' SFM-T:F.vcm '
         Else If ((cANCOv)>=70) AND ((QMDA GE 3)-40) AND ((lAYERS)<=1)) Then StateClass = ' SFM-T:E.vcs '
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)-40) AND ((lAYERS)>=2)) Then StateClass = ' SFM-T:N.vmm'
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)-40) AND ((lAYERS)<=1)) Then StateClass = ' SFM-T:M.vms'
         Else If ((cANCOv)<40) AND ((QMDA GE 3)-40) AND ((LAYERS)>=2)) Then StateClass = 'SFM-T:J.vom'
         Else If ((cANCOv)<40) AND ((QMDA_GE_3)>=40) AND ((lAYERs)<=1)) Then StateClass = 'SFM-M:I.vos'
         Else If ((cANCOv)>=70) AND ((QMDA_GE_3)>=25) Then StateClass = 'SFM-T:D.mcs'
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)-25) 40Then StateClass = ' SFM-T:L.mms'
         Else If ((cANCOv)<40) AND ((QMDA_GE_3)>=25) 40Then StateClass = 'SFM-I:H.mos'
         Else If ((cANCOv)>=70) Then StateClass = 'SFM-T:C.sc'
         Else If ((cANCOv)>=40) Then StateClass = ' SFM-T:K.sm'
         Else If ((cANCOv)<40) Then StateClass = 'SFM-I:G.so'

c.   MCD Model (Mixed Conifer Dry)
Rule set using FSVeg Data (for use within the RGNF boundary):
         If ((TotalTree)<10)) Then StateClass = 'MCD:A.GFB'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='V') AND ((LAYERING)='M'));" Then StateClass = 'MCD:M.vcm'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='V') AND ((lAYERINg)='S'));" Then StateClass = 'MCD:l.vcs'
         Else If ((TotalTree)>=40) AND ((SIZE_CLASS)='V') AND ((lAYERING)='M'));" Then StateClass = 'MCD:T.vmm'
         Else If ((TotalTree)>=40) AND ((SIZE_CLASS)='V') AND ((lAYERINg)='S'));" Then StateClass = ' MCD:R.vms'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='V') AND ((LAYERING)='M'));" Then StateClass = 'MCD:K.vom'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='V') AND ((LAYERINg)='S'));" Then StateClass = 'MCD:E.vos'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='L') AND ((LAYERING)='M'));" Then StateClass = 'MCD:L.mcm'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='L') AND ((LAYERINg)='S'));" Then StateClass = 'MCD:H.mcs'



                              Rio Grande National Forest - 55 - Forestwide Planning Assessment
                                                                                      Rvsd Plan - 00000069
     Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 70 of 406

                                     Rio Grande National Forest -Assessments 1 and 3
                         Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

         Else If ((TotalTree)>=40) AND ((SIZE CLASS) 'L') AND ((LAYERING)='M'));" Then StateClass = 'MCD:S.mmm'
         Else If ((TotalTree)>=40) AND ((SIZE CLASS) 'L') AND ((LAYERING)='S'));" Then StateClass = ' MCD:Q.mms'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='L') AND ((LAYERING)='M'));" Then StateClass = 'MCD:J.mom'
         Else If ((TotalTree)' 40) AND ((sIZE_CLASs)='L') AND ((lAYERINg)='S'));" Then StateClass = 'MCD:D.mos'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='M'));" Then StateClass = 'MCD:G.smc'
         Else If ((TotalTree)>=40) AND ((SIZE CLASS) 'M'));" Then StateClass = ' MCD:P.smm'
         Else If ((TotalTree)' 40) AND ((SIZE_CLASS)='M'));" Then StateClass = 'MCD:C.smo'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='S')) OR (((SIZE_CLASS)='E'));" Then StateClass = 'MCD:F.ssc'
         Else If ((TotalTree)>=40) AND ((sIZE_CLASs)='S')) OR (((sIZE_CLASs)='E'));" Then StateClass = ' MCD:O.ssm'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='S')) OR (((SIZE_CLASS)='E'));" Then StateClass = 'MCD:B.sso'
         Else If ((hAB_STR_ST)='1M')) OR (((HAB_STR_ST)='1T'));" Then StateClass = 'MCD:A.GFB'
Rule set using Gradient Nearest Neighbor (GNN) data (for use outside of the RGNF boundary):
         If ((CANCOV)<10)) Then StateClass = 'MCD:A.GFB'
         Else If ((CANCOV)>=70) AND ((QMDA_GE_3)>=40) AND ((LAYERS)>=2)) Then StateClass = 'MCD:M.vcm'
         Else If ((cANCOv)>=70) AND ((QMDA GE 3)'40) AND ((lAYERs)<=1)) StateClass = 'MCD:l.vcs'
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)'40) AND ((LAYERS)-?)) Then StateClass = "MCD:T.vmm'
         Else If ((cANCOv)>=40) AND ((QMDA GE 3)'40) AND ((lAYERs)<=1)) StateClass = ' MCD:R.vms'
         Else If ((cANCOv)<40) AND ((QMDA GE 3)'40) AND ((LAYERS)>=2)) Then StateClass = 'MCD:K.vom'
         Else If ((cANCOV)<40) AND ((QMDA GE 3)'40) AND ((lAYERs)<=1)) Then StateClass = 'MCD:E.vos'
         Else If ((CANCOV)>=70) AND ((QMDA_GE_3)>=25) AND ((LAYERS)>=2)) Then StateClass = 'MCD:L.mcm'
         Else If ((CANCOV)>=70) AND ((QMDA GE 3)'25) AND ((lAYERs)<=1)) Then StateClass = 'MCD:H.mcs'
         Else If ((CANCOV)>=40) AND ((QMDA GE 3)'25) AND ((LAYERS)'?)) Then StateClass = 'MCD:S.mmm'
         Else If ((CANCOV)>=40) AND ((QMDA_GE_3)>=25) 40AND ((LAYERS)<=1)) Then StateClass = 'MCD:Q.mms'
         Else If ((cANCOv)<40) AND ((QMDA_GE_3)>=25) AND ((LAYERS)'?)) Then StateClass = 'MCD:J.mom'
         Else If ((cANCOv)<40) AND ((QMDA GE 3)'25) AND ((lAYERs)<=1)) Then StateClass = 'MCD:D.mos'
         Else If ((CANCOV)>=70) AND ((QMDA GE 3)'I3) Then StateClass = 'MCD:G.smc'
         Else If ((CANCOV)>=40) AND ((QMDA GE 3)'I3) Then StateClass = ' MCD:P.smm'
         Else If ((cANCOv)<40) AND ((QMDA GE 3)'I3) Then StateClass = 'MCD:C.smo'
         Else If ((CANCOV)>=70) Then StateClass = 'MCD:F.ssc'
         Else If ((CANCOV)>=40) Then StateClass = ' MCD:O.ssm'
         Else If ((CANCOV)<40) Then StateClass = 'MCD:B.sso'

d.   PJO Model (Pinyon Juniper Woodland)
Rule set using FSVeg Data (for use within the RGNF boundary):
         If ((TotalTree)<10)) Then StateClass = ' PJO:GFB'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='L')) OR (((SIZE_CLASS)='V')) Then StateClass = 'PJO:G.mvc'
         Else If ((TotalTree)>=40) AND ((sIZE_CLASs)='L')) OR (((sIZE_CLASs)='V')) Then StateClass = ' PJO:J.mvm'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='L')) OR (((SIZE_CLASS)='V')) Then StateClass = 'PJO:D.mvo'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='M')) Then StateClass = 'PJO:F.smc'
         Else If ((TotalTree)>=40) AND ((sIZE_CLASs)='M')) Then StateClass = 'PJO:I.smm'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='M')) Then StateClass = 'PJO:C.smo'
         Else If ((TotalTree)>=70) AND ((SIZE_CLASS)='S')) OR (((SIZE_CLASS)='E')) Then StateClass = 'PJO:E.ssc'
         Else If ((TotalTree)>=40) AND ((sIZE_CLASs)='S')) OR (((sIZE_CLASs)='E')) Then StateClass = ' PJO:H.ssm'
         Else If ((TotalTree)<40) AND ((SIZE_CLASS)='S')) OR (((SIZE_CLASS)='E')) Then StateClass = 'PJO:B.sso'
         Else If ((hAB_STR_ST)='1M')) OR (((HAB_STR_ST)='1T')) Then StateClass = 'PJO:GFB'
Rule set using Gradient Nearest Neighbor (GNN) data (for use outside of the RGNF boundary):
         If ((CANCOV)<10)) Then StateClass = 'PJO:GFB'
         Else If ((CANCOV)>=70) AND ((QMDA_GE_3)>=25) Then StateClass = 'PJO:G.mvc'
         Else If ((CANCOV)>=40) AND ((QMDA GE 3)'25) Then StateClass = ' PJO:J.mvm'
         Else If ((cANCOv)<40) AND ((QMDA GE 3)'25) Then StateClass = 'PJO:D.mvo'
         Else If ((CANCOV)>=70) AND ((QMDA GE 3)'I3) Then StateClass = 'PJO:F.smc'
         Else If ((CANCOV)>=40) AND ((QMDA GE 3)'I3) Then StateClass = 'PJO:I.smm'
         Else If ((cANCOv)<40) AND ((QMDA GE 3)'I3) Then StateClass = 'PJO:C.smo'
         Else If ((CANCOV)>=70) Then StateClass = 'PJO:E.ssc'
         Else If ((CANCOV)>=40) Then StateClass = ' PJO:H.ssm'



                              Rio Grande National Forest - 56 - Forestwide Planning Assessment
                                                                                      Rvsd Plan - 00000070
     Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 71 of 406

                                        Rio Grande National Forest -Assessments 1 and 3
                            Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

         Else If ((CANCOV)<40) Then StateClass = 'PJO:B.sso'


Region 3 Non-Forest Models: SAG, CPJ, GAM, ISS, MSG
a.   SAG Model (Sagebrush Shrubland)
Rule set using FSVeg Data (for use within the RGNF boundary):
         IF Tree_Cover >= 25, THEN state class = JP:OOM                                       (late juniper)
         ELSE IF Tree_Cover >=10, THEN state class = SPJ:OOO                                  (early juniper)
         ELSE IF Shrub_Cover >= 25 AND Grass_Cover < 5, THEN state class = S:SMA                        (shrub / depleted grass)
         ELSE IF Shrub Cover >= 25, THEN state class = SP:OMA                                (late reference)
         ELSE IF Shrub Cover >= 10, THEN state class = SP:OOA                                 (mid reference)
         ELSE state class = PS:OSA                                                           (early reference)
                  *note: exotic state classes are not included in this crosswalk because FSVeg does not record any polygons with
                 cheatgrass as a dominant species. Therefore some state classes (SPX:MOA, X:MAA, XS:MOA, JX:MSO) will be
                 absent in the initial conditions map. LANDFIRE also recorded few patches of exotic species (UE state class) within
                 the RGNF boundary.
                  *note: this crosswalk also purposefully omits some state classes (D:MOA, YP:OMA) due to lack of sufficient
                 information; therefore, they will also be absent in the initial conditions map
Rule set using LANDFIRE Data (for use outside of the RGNF boundary):
         IF SClass = A, THEN state class = PS:OSA                          (early reference)
         IF SClass = B OR C, THEN state class = SP:OOA                     (mid reference)
         IF SClass = D OR E, THEN state class = SP:OMA                     (late reference)
         IF SClass = UN, THEN state class = SPJ:OOO                        (early juniper-encroached)
         IF SClass = UE, THEN state class = SPX:MOA                        (early exotic-encroached with remnant native)
         ELSE Not Modeled
                  *note: this crosswalk purposefully omits some state classes (D:MOA, YP:OMA, S:SMA, X:MAA, XS:MOA,
                 JX:MSO, JP:OOM) due to lack of sufficient information; therefore, they will be absent in the initial conditions map

b.   GAM Model (Rocky Mountain Gambel Oak - Mixed Montane Shrubland)
Rule set using FSVeg Data (for use within the RGNF boundary):
         IF Shrub_Cover + Tree_Cover >= 60, THEN state class = T:SSC                       (late reference)
         ELSE IF Shrub_Cover + Tree_Cover >= 25, THEN state class = TP:SSM                 (mid-late reference)
         ELSE IF Shrub_Cover + Tree_Cover >= 10, THEN state class = TP:OSO                 (mid reference)
         ELSE state class = PM:MOA                                                         (early reference)
                  * note: this crosswalk uses combined tree plus shrub cover to allocate its structural stages
Rule set using LANDFIRE Data (for use outside of the RGNF boundary):
         IF SClass = A, THEN state class = PM:MOA                       (early reference)
         IF SClass = B OR C, THEN state class = TP:OSO                  (mid reference)
         IF SClass = D, THEN state class = TP:SSM                       (mid-late reference)
         IF SClass = E, THEN state class = T:SSC                        (late reference)
         IF SClass = UN, THEN state class = T:SSC                       (late reference)
         IF SClass = UE, THEN state class = PM:MOA                      (early reference)
         ELSE Not Modeled

c.   ISS Model (Inter-Mountain Basins Greasewood Flat)
Rule set using FSVeg Data (for use within the RGNF boundary):
         IF Shrub_Cover >= 25, THEN state class = MP:SOA                  (late reference)
         ELSE IF Shrub_Cover >= 10, THEN state class = MP:OOA                       (mid reference)
         ELSE state class = PM:OSA                                                  (early reference)
                 *note: exotic state classes are not included in this crosswalk because FSVeg does not record any polygons with
                 cheatgrass as a dominant species. Therefore some state classes (X:MSA, XM:OOA) will be absent in the initial
                 conditions map. LANDFIRE also recorded few patches of exotic species (UE state class) within the RGNF
                 boundary.




                                  Rio Grande National Forest - 57 - Forestwide Planning Assessment
                                                                                           Rvsd Plan - 00000071
     Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 72 of 406

                                       Rio Grande National Forest -Assessments 1 and 3
                           Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems

                  *note: this crosswalk purposefully omits some state classes (D:OOA) due to lack of sufficient information;
                 therefore, they will also be absent in the initial conditions map
Rule set using LANDFIRE Data (for use outside of the RGNF boundary):
         IF SClass = A, THEN state class = PM:OSA                          (early reference)
         IF SClass = B OR C, THEN state class = MP:OOA                     (mid reference)
         IF SClass = D OR E, THEN state class MP:SOA                       (late reference)
         IF SClass = UN, THEN state class = MP:SOA                         (late reference)
         IF SClass = UE, THEN state class = XM:OOA                         (exotic-encroached with remnant native)
         ELSE Not Modeled
                  *note: this crosswalk purposefully omits some state classes (D:OOA, X:MSA) due to lack of sufficient information;
                 therefore, they will be absent in the initial conditions map

d.   MSG Model (Southern Rocky Mountain Montane-Subalpine Grassland)
Rule set using FSVeg Data (for use within the RGNF boundary):
         IF DLF SPECIES CONTAINS POPR, THEN state class = RP:COO (exotic and ruderal-encroached)
         ELSE IF Tree_Cover >= 10, THEN state class = NP:OSO                (conifer-encroached)
         ELSE IF Grass_Cover >= 60, THEN state class = P:CAA                (late reference)
         ELSE IF Grass_Cover >= 25, THEN state class = P:MAA                (mid reference)
         ELSE state class = P:OAA                                           (early reference)
Rule set using LANDFIRE Data (for use outside of the RGNF boundary):
         IF SClass = A, THEN state class = P:OAA                  (early reference)
         IF SClass = B OR C, THEN state class = P:MAA             (mid reference)
         IF SClass = D OR E, THEN state class =P:CAA              (late reference)
         IF SClass = UN, THEN state class = NP:OSO                (conifer-encroached)
         IF SClass = UE, THEN state class = R:COO                 (exotic and ruderal-encroached)


LANDFIRE Models: LF_2811440 and LF_2811590
a.   LF_2811440 (Rocky Mountain Alpine Turf)
Rule set (used LANDFIRE data both within and outside of the RGNF boundary):
         • If SClass = A or B or UE or SV Then state class = Early1 :ALL
        •   If SClass = C or D or E or UE Then state class = Late1:CLS
b.   LF_2811590 (Rocky Mountain Montane Riparian)
Rule set (used LANDFIRE data both within and outside of the RGNF boundary):
         • If SClass = A or B or SV or UE Then state class = Early1 :ALL
        •   If SClass = C or D or E or UN Then state class = Late1:ALL



         Management Areas
        A map of management areas was used to stratify the STSM modeling by planning zone, allowing
        treatments to take place in appropriate areas on the landscape. The final map containing the management
        areas modeled on the RGNF is called Pln_Zn_Updated.tif.

        Data Sources
        The original spatial data (rgnf_management_areas) was provided by the RGNF on 10/16/2014.

        Data Processing
        The management_areas layer did not include the Baca area as outlined in the LTA layer, so an additional
        feature was added to management_areas, using the union tool, which represented the area within the LTA


                                 Rio Grande National Forest - 58 - Forestwide Planning Assessment
                                                                                        Rvsd Plan - 00000072
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 73 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  layer but not covered by the management_areas layer (management area description
  “In_LTA_layer_not_in_mgmt_areas” below). The management_areas layer was converted from multipart
  to singlepart polygons and converted to a raster with 120m grid cells.

  The original management area layer contained 31 separate management areas, including the areas outside
  the RGNF in the 10km buffer zone (table 16). These 31 management areas were combined into 10 groups
  for modeling based on discussions with the RGNF. We further combined these 10 groups into three
  categories of management intensity, ranging from low to high. We examined STSM projections separately
  for each of these three management intensity categories separately but did not show results separately in
  our final report, as projections rarely showed substantial differences between management areas.




                        Rio Grande National Forest - 59 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000073
                Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 74 of 406

                                                    Rio Grande National Forest -Assessments 1 and 3
                                        Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems



Table 16. Management areas in the RGNF, grouped into 10 categories that were modeled (Management Area Groups) and further grouped into 3
management intensity categories that were reported in the final report (Management Intensity). Management Area codes and descriptions are from the
original data provided by the RGNF for this analysis._________________________________________________________________________________
   RGNF MA                                                                                                                              Management
                                   Management Area Description                                  Management Area Group
    Code                                                                                                                                 Intensity
   1.11        Wilderness, Pristine                                                   Wilderness                                      Low intensity
   1.11        Inclusion - Research Natural Area in Pristine Wilderness               Wilderness                                      Low intensity
   1.11        Inclusion - National Wild River in Pristine Wilderness                 Wilderness                                      Low intensity
   1.11        Inclusion - National Scenic River in Pristine Wilderness               Wilderness                                      Low intensity
   1.12        Wilderness, Primitive                                                  Wilderness                                      Low intensity
   1.12        Inclusion - National Wild River in Primitive Wilderness                Wilderness                                      Low intensity
   1.12        Inclusion - Research Natural Area in Primitive Wilderness              Wilderness                                      Low intensity
   1.12        Inclusion - National Scenic River in Primitive Wilderness              Wilderness                                      Low intensity
   1.13        Wilderness, Semi-Primitive                                             Wilderness                                      Low intensity
   1.13        Inclusion - Research Natural Area in Semi-Primitive Wilderness         Wilderness                                      Low intensity
   1.13        Inclusion - National Scenic River in Semi-Primitive Wilderness         Wilderness                                      Low intensity
               Inclusion - National Scenic River in Research Natural Area in Semi­
   1.13                                                                               Wilderness                                      Low intensity
               Primitive Wilderness
   1.13        Inclusion - National Wild River in Semi-Primitive Wilderness           Wilderness                                      Low intensity
   1.13        Inclusion - National Recreation River in Semi-Primitive Wilderness     Wilderness                                      Low intensity
   1.5         National River System - Wild Rivers Designated and Eligible            Wilderness                                      Low intensity
  3.3          Backcountry                                                            Backcountry                                     Medium intensity
  2.2          Research Natural Areas                                                 Research Natural Areas                          Medium intensity
  3.1          Special Interest Areas - Emphasis on Use or Interpretation             Special Interest Areas/ National River System   Medium intensity
  3.4          National River System - Scenic Rivers Designated and Eligible          Special Interest Areas/ National River System   Medium intensity
  4.21         Scenic Byways or Railroads                                             Dispersed Recreation                            High intensity
  4.3          Dispersed Recreation                                                   Dispersed Recreation                            High intensity
  4.4          National River System - Recreation Rivers Designated and Eligible      Dispersed Recreation                            High intensity
  5.11         General Forest and Rangelands - Forest Vegetation Emphasis             General                                         High intensity
  5.13         Forest Production                                                      General                                         High intensity
  6.6          Grassland Resource Production                                          General                                         High intensity




                                              Rio Grande National Forest - 60 - Forestwide Planning Assessment
                                                                                                                           Rvsd Plan - 00000074
           Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 75 of 406

                                               Rio Grande National Forest -Assessments 1 and 3
                                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


RGNF MA                                                                                                                     Management
                            Management Area Description                                     Management Area Group
 Code                                                                                                                        Intensity
5.41      Deer and Elk Winter Range                                              Wildlife                                 High intensity
5.42      Bighorn Sheep Range                                                    Wildlife                                 High intensity
NA        Outside_RGNF                                                           Outside_RGNF                             None
NA        In_LTA_layer_not_in_mgmt_areas                                         Outside_RGNF                             None
NA        Private Land Not Covered by This Plan                                  Private Land Not Covered by This Plan    None
8.22      Ski-Based Resorts - Existing and Potential                             Ski-Based Resorts                        None




                                        Rio Grande National Forest - 61 - Forestwide Planning Assessment
                                                                                                                    Rvsd Plan - 00000075
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 76 of 406




                                                      Rvsd Plan - 00000076
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 77 of 406

                                   Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems




  Appendix B. State-and-Transition Simulation Model
  Documentation for the Rio Grande National Forest
  Planning Assessment
  This appendix describes the state-and-transition simulation models (STSMs) used for the Rio Grande
  National Forest (RGNF) planning assessment. An overview of STSMs can be found in the main report.

  Model Sources
  STSMs used for the assessment were taken from the US Forest Service Region 3 (R3), Integrated
  Landscape Assessment Project (ILAP; http://oregonstate.edu/inr/ilap), and the LANDFIRE project
  (www.landfire.gov) (table 17). Each STSM represents one ecosystem (also called a potential vegetation
  type (PVT), ecological response unit (ERU) or biophysical setting (BPS)). Models are frequently
  referenced in this document based on the suffix of their model code (e.g. Mixed Conifer-Dry is referenced
  as MCD).

  Table 17. Ecosystems modeled on the RGNF and their corresponding STSM model codes and original model
  sources. The model code suffix is used to identify models in the following documentation.____________
                  Ecosystem                    Model Code                    Model Source
     Inter-Mountain Basins Greasewood Flat
                                                          R3_ISS                       ILAP R3 ISS model
     (Mixed Salt Desert Scrub)
     Mixed Conifer - Dry                                 R3_MCD                          R3 MCD model
                                                                          R3 MCW model (with half representing high
     Mixed Conifer - Wet                                 R3_MCW
                                                                                 elk browsing removed)
     Pinyon-Juniper Woodland                             R3_PJO                          R3 PJO model
     Rocky Mountain Alpine Turf                        LF_2811440                  LANDFIRE model 2811440
     Rocky Mountain Gambel Oak - Mixed
                                                         R3_GAM                       ILAP R3 GAM model
     Montane Shrubland
     Rocky Mountain Montane Riparian                   LF_2811590                  LANDFIRE model 2811590
     Sagebrush Shrubland                                 R3_SAG                       ILAP R3 SAG model
     Southern Rocky Mountain Montane-
                                                         R3_MSG                       ILAP R3 MSG model
     Subalpine Grassland
                                                                          R3 SFM model (with half representing high
     Spruce-Fir Forest Mix                               R3_SFM
                                                                                  elk browsing removed)
  Note that we originally included a Colorado Plateau grassland model (ILAP R3 CPJ model), but later combined it with R3_PJO
  based on feedback from the RGNF.




  Model Alterations
  We made substantial alterations to the major forested models for the Rio Grande planning assessment,
  including MCD, MCW, PJO and SFM. Non-forested and riparian models were not modified, except for
  wildfire probabilities (see below).

  Structural Changes
  Model structure varied widely among STSMs based on ecological type and model source. Model
  structure was not altered for most of the models, except for the forested models derived from Region 3


                             Rio Grande National Forest - 63 - Forestwide Planning Assessment
                                                                                          Rvsd Plan - 00000077
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 78 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  (SFM, MCW, MCD, and PJO). These original models defined canopy cover categories of 0-10%, 10-30%
  and >30%, which was deemed insufficient for the vegetation dynamics and planning needs on the RGNF.
  Therefore, we changed the canopy cover threshold between open and mid cover from 30% to 40%, and
  we added a set of state classes for canopy cover >70% (table 18, figure 8). The only exception was PJO,
  which did not contain state classes with canopy cover >70%. Original size classes based on diameter at
  breast height (DBH) from Region 3 were retained (table 18). Note these size class cutoffs are generally
  similar to Region 2, but that naming is different (e.g., in Region 3, trees of 5-10” DBH are called ‘small’
  but in Region 2, trees of 5-9” DBH are called ‘medium’). It is important to keep this difference in naming
  convention in mind when interpreting the state class output.

  Table 18. Tree size and canopy cover classes used in the forested STSMs.
             Tree Sizes          Inches
      Seedling/sapling             0-5
      Small                        5-10
      Medium                      10-20
      Large and very large         >20


    Canopy Cover                 Percent
      Grass/forb/shrub            0-10%
      Open                       10-40%
      Mid                        40-70%
      Closed                      >70%




    grass­                       small          Tiedlunr    lirgeoptn        Icrgeopen
     forb                        open           open        sngle-stcry      rr ultl-sto y   10-40%

    <10%


                                 small          Tnedlunr      large mH         1 irge mid    AQ.yny
                                  mid             mid        shgle-stcry      n ultl-sto y         °




                                 small          nedlurr     hrge closed     lar^e closed
                                closed          closed      s ngle-st< ry   mjitl-stor/      >70%


  Figure 8. Example of forest STSM containing canopy cover breaks at 10%, 40% and 70% and size breaks
  between small, medium and large trees (as defined in table 18). Some STSMs distinguish single and multi­
  story canopy cover and may contain aspen state classes defined based on dominant species instead of
  structural characteristics.



  Growth and Mortality
  Growth and mortality rates were taken from Forest Vegetation Simulator (FVS) model runs completed in
  Region 3. These model runs were processed using the PRESIDE program by the Vegetation Application
  Group in Region 3, and used Region 3 forest inventory data, binned into size and cover classes as


                          Rio Grande National Forest - 64 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000078
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 79 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  outlined in table 18. The FVS growth and mortality probabilities reflect growth, mortality, and endemic
  disease and insect activity (not including outbreaks) and are labeled as transitions starting with the
  number “2” in the STSMs. Growth transitions causing an increase in size class were modified downward
  by 20% in the SFM model based on feedback from the RGNF and Region 2.

  Wildfire
  We developed wildfire probabilities to reflect historic conditions (used for HRV runs) and contemporary
  conditions (for future modeling under No Management and No Action scenarios) (table 19). Historic fire
  probabilities were based on literature and expert opinion. Contemporary fire probabilities were based on
  an analysis of burn perimeters from the Monitoring Trends in Burn Severity (MTBS) records for each
  ecosystem (see below).

  Table 19. Wildfire probabilities, rotations and estimated annual acres burned for historic conditions (left) and
  contemporary conditions (right). Asterisks indicate systems where invasive species burn at a higher
  probability, potentially changing the overall probability and rotation. In these systems, fire rotation is
  dependent on the composition of state classes.____________________________________________________
                                                  Historic Conditions                Contemporary Conditions

              Ecosystem                   Annual                                 Annual
                                                       Annual         Fire                     Annual         Fire
                                            Ac                                     Ac
                                                      Probability   Rotation                  Probability   Rotation
                                          Burned                                 Burned
   Inter-Mountain Basins Greasewood
                                             0          0.0001       10000          0           0.0002       6600
   Flat*
   Mixed Conifer - Dry                      1634        0.0100        100          545          0.0033        300
   Mixed Conifer - Wet                      296         0.0067        150           89          0.0020        500
   Pinyon-Juniper Woodland                  318         0.0025        400          170          0.0013        750
   Rocky Mountain Alpine Turf               547         0.0020        500           37          0.0001       7400
   Rocky Mountain Gambel Oak -
   Mixed Montane Shrubland                   26         0.0100        100           2           0.0006       1650

   Rocky Mountain Montane Riparian          793         0.0100        100           88          0.0011        900
   Sagebrush Shrubland*                      33         0.0067        150           2           0.0004       2600
   Southern Rocky Mountain
                                            1734        0.0050        200          267          0.0008       1300
   Montane-Subalpine Grassland
   Spruce-Fir Forest Mix                   2053         0.0020        500          1579         0.0015        650
   Average acres burned per year            7,434                                 2,777
   Percent of RGNF burning per year        0.4%                                   0.1%



  For most of the models, we assumed that the overall probability of wildfire in each state class within a
  model was the same. However, fire severity and effects vary widely among state classes. Therefore, some
  state classes only contain nonlethal fire without causing any change in state class, some have a mix of
  severities and effects, and some contain only stand-replacing fire that causes shift to grass/forb/shrub
  conditions. For example, the probability of fire in grass/forb, open conditions and closed conditions
  within the MCD model does not vary, but the effects vary from only nonlethal in open state classes to a
  mixture of nonlethal, mixed-severity and stand-replacing in closed state classes. The fire pathways and
  mix of severities were based on the original models (Region 3, ILAP, LANDFIRE). Regardless of the
  number of severities or fire pathways, the overall probability of wildfire remains the same across all state
  classes within each STSM. The only exception is in systems with potential for exotic grass invasion,
  where exotic grasses increase the fire probability in certain state classes (see asterisks in table 19).



                           Rio Grande National Forest - 65 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000079
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 80 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  Fire probabilities for historic conditions were derived from literature, where available, and expert
  judgment where literature was unavailable (table 19, left column). Historic fire probabilities were
  available in LANDFIRE models (www.landfire.gov), but we determined that most LANDFIRE models
  contained a fire probability based on fire return interval, rather than fire rotation. It appeared that
  converting fire return intervals into an annual fire probability (by calculating its inverse) resulted in
  projections of too much area burning under historic conditions, and these numbers were not directly
  comparable to contemporary fire data (see below). Therefore, we did not use the LANDFIRE fire
  probabilities but instead conducted a literature review to determine fire rotations for each ecosystem in
  the region (Baker 2006, Buechling & Baker 2004, Floyd et al. 2000, Floyd et al. 2004, Kipfmueller &
  Baker 2004, Romme et al. 2001, Shinneman & Baker 2009, Sibold et al. 2006, Veblen et al 1994). We
  then incorporated expert opinion on the RGNF to check and modify literature values as needed, and filled
  in values where gaps existed.




  Figure 9. MTBS fire perimeters (light gray) used in the contemporary wildfire analysis on the RGNF. The
  RGNF is shown in red and the Southern Rocky Mountains ecoregion outlined in white.



  Fire probabilities for contemporary conditions were derived from the MTBS dataset (table 19, right
  column), which provides fire perimeters for fires >1000 acres across the US. We used fire perimeters
  from 1984-2013 for the southern Rocky Mountains ecoregion (Figure B2). We calculated the area burned
  by ecosystem using the LANDFIRE biophysical setting vegetation layer, since it is consistent across the
  region. We converted the MTBS layer to a raster and combined the BPS raster with the MTBS raster
  using the raster calculator in ArcGIS. This analysis delineated burned and unburned areas in each
  ecosystem, and we calculated the annual fire probability by ecosystem as: area burned / total area of
  ecosystem / number of years of record (30). The MTBS dataset only records fires >1000 acres, so we also
  downloaded the Federal Wildland Fire Occurrence dataset to determine if fire probabilities would change
  when including smaller fires (<1000 acres), which represent the majority of fire occurrences. Although
  these fires are most common, they also have the least impact on the landscape. Probabilities differed
  between the two datasets by only one value in the thousandth decimal place, so we used the values from
  MTBS analysis only.




                         Rio Grande National Forest - 66 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000080
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 81 of 406

                                   Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  We modeled wildfire as a spatial process, allowing fire to spread to adjacent cells if they are susceptible to
  fire (i.e., vegetated). We specified a patch size distribution based on MTBS data (figure 10).




                                 Wildfire Patch Size (acres)

  Figure 10. Patch size distribution of wildfires modeled in all ecosystems.



  Insects
  We added insect outbreak transitions to the STSMs for the Rio Grande modeling assessment (table 20).
  Background or endemic insect/disease activity is included in the growth and mortality transitions derived
  from FVS model runs, but larger insect outbreaks were not included in the original Region 3 models. We
  added these transitions based on a feedback from experts in Region 2 and the Rio Grande. Only insects
  that tended to produce outbreak cycles were modeled, and species such as the Western balsam bark beetle
  were not considered because they were assumed to be captured in the growth and succession transitions
  from FVS.

  Table 20. Insect outbreak transition parameters for the forested STSMs, based on expert feedback. Asterisks
  indicate where insect outbreaks include impacts of western spruce budworm defoliation, predisposing
  stands to outbreaks.
                                                                                                         Pinyon-
                                 Spruce-Fir           Mixed
                                                                           Mixed Conifer-Dry             Juniper
                                   Forest           Conifer-Wet
                                                                                                        Woodland
                                                     Douglas-fir      Douglas-fir    Mountain pine
         Parameter              Spruce beetle                                                           Pinyon ips
                                                      beetle*          beetle*          beetle
    Interval between
                                   100-200              35-50           35-50             50-70           35-50
    outbreaks (yrs)
    Duration of outbreak
                                      10                  5                5                5               5
    (yrs)
    Susceptible stands          large 40-100%                          large 40­      large 40-100%
                                                   large 40-100%                                        medium 10­
    (state class(es)           single-story and                       100% multi­    single-story and
                                                   multi-story only                                       70%
    affected)                      multi-story                         story only        multi-story
    Effects of outbreak         large 40-70%,
                                                     medium 10­       medium 10­                         small 10­
    (resulting state           medium 10-40%,                                       medium 10-70%
                                                       70%              70%                                70%
    class(es))                      aspen



                            Rio Grande National Forest - 67 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000081
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 82 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


                                                                                                      Pinyon-
                                Spruce-Fir          Mixed
                                                                         Mixed Conifer-Dry            Juniper
                                  Forest          Conifer-Wet
                                                                                                     Woodland
                                                   Douglas-fir     Douglas-fir     Mountain pine
         Parameter            Spruce beetle                                                          Pinyon ips
                                                    beetle*         beetle*           beetle
    Proportion of
    susceptible stands
                                   20%                15%              15%              25%             18%
    transitioning during
    outbreak



  All insect outbreak transitions were called InsectOutbreak for each ecosystem, except for mixed conifer­
  dry, which had both InsectOutbreak (Douglas-fir beetle) and InsectOutbreak2 (Mountain pine beetle). The
  species of insect was not specified in the transition name but can be inferred by the ecosystem (e.g. spruce
  beetle only affects SFM) and the transition name, in the case of the MCD ecosystem. Note that the
  modeled spruce beetle outbreaks did not include extreme outbreaks such as the one that recently occurred
  in the RGNF. The Region 2 and the Rio Grande experts who helped develop the insect transition
  parameters determined that outbreaks of the severity that have recently occurred are too rare to model,
  and therefore the spruce beetle outbreaks represented in the model represent moderate, but not extreme,
  severity events.

  Insect outbreak transitions were assigned an annual probability of the proportion of susceptible stands
  transitioning during outbreak / duration of outbreak. Cyclical multipliers were applied so in non-outbreak
  years a multiplier of zero caused no change and in outbreak years the transition occurred at its assigned
  probability. Each Monte Carlo simulation had a different sequence of cyclical multipliers with variable
  timing and interval between outbreaks, within the parameters of table 20.

  Insect outbreak transitions were modeled spatially in the SFM, MCW, MCD and PJO models. We used a
  patch size distribution based on similar species in the Blue Mountains, Oregon, due to lack of information
  about outbreak patch sizes on the RGNF (figure 11).




  Figure 11. Patch size distribution of insect outbreaks modeled in SFM, MCW, MCD and PJO ecosystems.



  Management
  Management treatments were modeled as probabilistic transitions in the STSMs and allocated an average
  annual number of acres under the No Action scenario. We removed the management transitions from the



                           Rio Grande National Forest - 68 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000082
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 83 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


  original Region 3 STSMs for MCW, MCD, PJO and SFM, and developed new transitions based on
  feedback from experts on the RGNF through a series of meetings.

  Management data were compiled for the RGNF from the US Forest Service FACTS database (including a
  shapefile with spatial data) to determine the type and amount (acres) of treatments to model in the No
  Action scenario, which represents continuing current management or business-as-usual (table 21). The
  FACTS database included treatments on the RGNF from 2004-2014. With assistance from RGNF experts,
  we combined transitions into eight major types, including: broadcast burning, group selection,
  mastication, planting of trees, salvage harvest, shelterwood, clearcutting, and thinning.

  Table 21. Management treatments and codes in the US Forest Service FACTS database for the RGNF and
  their corresponding treatment types in the STSMs. Where the treatment type is NA, it was determined that
  the treatment was not a management activity (e.g. wildfire), the treatment could not be modeled using the
  STSMs (e.g. wildlife habitat improvement) or the treatment perimeter was redundant with another treatment
  (e.g., piling of fuels), and therefore it was not modeled in the STSMs.________________________________
     Activity                                                                            STSM Management
                                            Activity Name
      Code                                                                                Treatment Type
     1111                  Broadcast Burning - Covers a majority of the unit              Broadcast Burning
    4491                  Site Preparation for Natural Regeneration - Burning             Broadcast Burning
     1113                     Underburn - Low Intensity (Majority of Unit)                Broadcast Burning
    4152                           Group Selection Cut (UA/RH/FH)                          Group Selection
    4113                             Stand Clearcut (EA/RH/FH)                              Clearcut-Stand
    4117                     Stand Clearcut (w/ leave trees) (EA/RH/FH)                     Clearcut-Stand
     1152                           Compacting/Crushing of Fuels                              Mastication
     1000                              Fuels and Fire Activities                              Mastication
     1150                              Rearrangement of Fuels                                 Mastication
    4382                Certification of Natural Regeneration without Site Prep                    NA
     1130                              Burning of Piled Material                                   NA
     1117                              Wildfire - Natural Ignition                                 NA
    6080                         Wildlife Habitat Seeding and planting                             NA
    4383                                 Certification-Planted                                     NA
     1112                     Jackpot Burning - Scattered concentrations                           NA
     1153                          Piling of Fuels, Hand or Machine                                NA
    2320                             Range Seeding and Planting                                    NA
    6050                             Wildlife Habitat Improvement                                  NA
    4401                       Reforestation Need Created by Harvest                               NA
    4402                         Reforestation Need Created by Fire                                NA
    4403               Reforestation Need created by Insect or Disease Agents                      NA
    4432                                Fill-in or RePlant Trees                             Plant Trees
    4431                                      Plant Trees                                    Plant Trees
    4143           Overstory Removal Cut (from advanced regeneration) (EA/RH/FH)           Salvage Harvest
    4231                Salvage Cut (intermediate treatment, not regeneration)             Salvage Harvest
    4232                                    Sanitation Cut                                 Salvage Harvest
    4145               Shelterwood Removal Cut (w/ leave trees) (EA/NRH/FH)                  Shelterwood
    4151                        Single-tree Selection Cut (UA/RH/FH)                         Shelterwood
    4183           Two-aged Seed-tree Seed and Removal Cut (w/res) (2A/RH/FH)                Shelterwood



                        Rio Grande National Forest - 69 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000083
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 84 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                    Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


     Activity                                                                               STSM Management
                                            Activity Name
      Code                                                                                   Treatment Type
                    Two-aged Shelterwood Establishment and Removal Cut (w/ res)
    4193                                                                                        Shelterwood
                                           (2A/RH/FH)
    4141                       Shelterwood Removal Cut (EA/NRH/FH)                              Shelterwood
    4111                              Patch Clearcut (EA/RH/FH)                                Clearcut-Patch
    4115                      Patch Clearcut (w/ leave trees) (EA/RH/FH)                       Clearcut-Patch
    4521                                  Precommercial Thin                                     Thinning
     1160                      Thinning for Hazardous Fuels Reduction                            Thinning
    4511                               Tree Release and Weed                                     Thinning



  Management information was compiled by treatment type, ecosystem and management area using a
  spatial overlay to allocate an average annual number of acres treated in each ecosystem and management
  area (table 22). Only treatments that experts determined were likely to be unique treatment perimeters
  were included. For instance, entries that indicated a “reforestation need” were unlikely to be actual
  treatments, and others overlapped with similar treatments. Patch clearcutting was combined with stand
  clear cutting due to the small number of acres in patch clearcutting (average 9 acres per year). Treatments
  with annual area <5 acres/year per combination of ecosystem/management area were omitted. No
  treatments were included in the montane riparian model because the annual acres treated was <20.

  Table 22. Management treatments modeled in each ecosystem and management area under the No Action
  scenario. Ecosystem codes correspond to table 17, management areas are defined in table 16 in appendix A,
  and treatment groups are listed in table 21.___________________________________________________
                                                                           STSM Management           Acres
       Ecosystem                     Management Area
                                                                              Transition            Per Year
     MCD                                   General                         Broadcast Burning           16
     MCD                                   Wildlife                        Broadcast Burning           25
     MCD                                   General                            Plant Trees              11
     MCD                                   Wildlife                           Plant Trees              45
     MCD                            Dispersed Recreation                    Salvage Harvest            12
     MCD                                   Wildlife                         Salvage Harvest            49
     MCD                                   General                          Salvage Harvest            93
     MCD                                   General                             Thinning                66
     MCD                                   Wildlife                            Thinning               103
     MCD                            Dispersed Recreation                       Thinning                19
     MCD                Special Interest Areas_National River System           Thinning                30
     MCW                                   Wildlife                        Broadcast Burning           18
     MCW                Special Interest Areas_National River System       Broadcast Burning           19
     MCW                Special Interest Areas_National River System        Salvage Harvest            14
     MCW                                   Wildlife                         Salvage Harvest            40
     MCW                                 Backcountry                           Thinning                8
     MCW                            Dispersed Recreation                       Thinning                21
     MCW                                   Wildlife                            Thinning                39
     MCW                                   General                             Thinning               123
     MSG                Special Interest Areas_National River System       Broadcast Burning           16



                         Rio Grande National Forest - 70 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000084
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 85 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


                                                                         STSM Management            Acres
       Ecosystem                    Management Area
                                                                            Transition             Per Year
    MSG                                   General                         Broadcast Burning          93
    MSG                                   Wildlife                        Broadcast Burning          362
    PJO                                   General                         Broadcast Burning           5
    PJO                 Special Interest Areas_National River System      Broadcast Burning           13
    PJO                                   Wildlife                        Broadcast Burning          192
    PJO                                   General                            Mastication             48
    PJO                                   Wildlife                           Mastication             108
    PJO                            Dispersed Recreation                       Thinning                7
    PJO                                   Wildlife                            Thinning                16
    PJO                                   General                             Thinning               23
    PJO                 Special Interest Areas_National River System          Thinning               31
    SFM                 Special Interest Areas_National River System      Broadcast Burning           8
    SFM                                   General                         Broadcast Burning           16
    SFM                                   Wildlife                        Broadcast Burning          77
    SFM                                   General                          Clearcut-Stand            47
    SFM                                   General                          Group Selection           101
    SFM                                   General                            Plant Trees             105
    SFM                                 Backcountry                        Salvage Harvest            12
    SFM                 Special Interest Areas_National River System       Salvage Harvest           41
    SFM                                   Wildlife                         Salvage Harvest           110
    SFM                                   General                          Salvage Harvest           679
    SFM                                   General                            Shelterwood             81



  Management transitions were modeled spatially with a patch size distribution derived from the activities
  in the FACTS database (figure 12).




  Figure 12. Patch size distribution of management transitions modeled in the RGNF under the No Action
  scenario.




                        Rio Grande National Forest - 71 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000085
                 Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 86 of 406

                                                   Rio Grande National Forest -Assessments 1 and 3
                                       Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems



Habitat Structural Stages
Each state class in the STSMs was assigned a habitat structural stage (HSS) for display in the report (table 23). State classes consisted of a cover
type, representing the dominant vegetation species or groups, and a structural stage, representing structural characteristics such as size and canopy
cover.

Table 23. State classes by ecosystem in the STSMs, their descriptions (including cover type and structural stage), and their HSS. State class IDs
correspond to maps produced by ST-Sim and HSS are used to display results in the main report._________________________________________
                                         Cover                                             Structural
   ID    Ecosystem         Name                          Cover Type Description                            Structural Stage Description       HSS
                                         Type                                                Stage
  5      LF_2811440      Early1:ALL      Early1               Early-Develop1                   ALL                 AllStructures               1M
   10    LF_2811440      Late1:CLS       Late1                Late-Develop1                   CLS                      Closed                  1M
  5      LF_2811590      Early1:ALL      Early1               Early-Develop1                   ALL                 AllStructures               4B
  34     LF_2811590       Mid1:CLS        Mid1                 Mid-Develop1                   CLS                      Closed                  4C
  49      R3_GAM          PM:MOA          PM             PerennialGrass/MidShrub              MOA           Gr-Mid_Sh-Open_T r-Absent          2S
  67      R3_GAM           T:SSC           T                     TallShrub                    SSC        Gr-Sparse_Sh-Sparse_Tr-Closed         2S
  68      R3_GAM          TP:OSO          TP             TallShrub/PerennialGrass             OSO          Gr-Open_Sh-Sparse_T r-Open          2S
  69      R3_GAM          TP:SSM          TP             TallShrub/PerennialGrass             SSM          Gr-Sparse_Sh-Sparse_T r-Mid         2S
  3        R3_ISS          D:OOA           D                   SeededGrass                    OOA          Gr-Open_Sh-Open_T r-Absent          2S
  35       R3_ISS         MP:OOA          MP             MidShrub/PerennialGrass              OOA          Gr-Open_Sh-Open_Tr-Absent           2S
  36       R3_ISS         MP:SOA          MP             MidShrub/PerennialGrass              SOA         Gr-Sparse_Sh-Open_T r-Absent         2S
  51       R3_ISS         PM:OSA          PM             PerennialGrass/MidShrub              OSA         Gr-Open_Sh-Sparse_T r-Absent         2S
  71       R3_ISS          X:MSA           X                      Exotics                     MSA          Gr-Mid_Sh-Sparse_Tr-Absent          2S
  73       R3_ISS         XM:OOA          XM                 Exotics/MidShrub                 OOA          Gr-Open_Sh-Open_Tr-Absent           2S
   12     R3_MCD        MCD:A.GFB        MCD                 Mixed Conifer-Dry               A.GFB               Grass-Forb-Brush             1T/2T
   13     R3_MCD         MCD:B.sso       MCD                 Mixed Conifer-Dry                B.sso          B.Seedling/Sapling_Open           3A
   14     R3_MCD         MCD:C.smo       MCD                 Mixed Conifer-Dry               C.smo                 C.Small_Open                3A
   15     R3_MCD         MCD:D.mos       MCD                 Mixed Conifer-Dry                D.mos           D.Medium_Open_Single             4A
   16     R3_MCD         MCD:E.vos       MCD                 Mixed Conifer-Dry                E.vos           E.VLarge_Open_Single             4A
   17     R3_MCD         MCD:F.ssc       MCD                 Mixed Conifer-Dry                F.ssc          F.Seedling/Sapling_Closed         3C
   18     R3_MCD         MCD:G.smc       MCD                 Mixed Conifer-Dry               G.smc                G.Small_Closed               3C
   19     R3_MCD         MCD:H.mcs       MCD                 Mixed Conifer-Dry                H.mcs          H.Medium_Closed_Single            4C



                                            Rio Grande National Forest - 72 - Forestwide Planning Assessment
                                                                                                                          Rvsd Plan - 00000086
            Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 87 of 406

                                            Rio Grande National Forest -Assessments 1 and 3
                                Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


                                 Cover                                              Structural
ID    Ecosystem      Name                         Cover Type Description                            Structural Stage Description   HSS
                                 Type                                                 Stage
20     R3_MCD      MCD:I.vcs     MCD                  Mixed Conifer-Dry                I.vcs           I.VLarge_Closed_Single       4C
21     R3_MCD     MCD:J.mom       MCD                 Mixed Conifer-Dry               J.mom             J.Medium_Open_Multi         4A
22     R3_MCD     MCD:K.vom       MCD                 Mixed Conifer-Dry                K.vom            K.VLarge_Open_Multi         4A
23     R3_MCD     MCD:L.mcm       MCD                 Mixed Conifer-Dry               L.mcm            L.Medium_Closed_Multi        4C
24     R3_MCD     MCD:M.vcm       MCD                 Mixed Conifer-Dry               M.vcm            M.VLarge_Closed_Multi        4C
                                                                                                     N.Grass_Forb_Brush/Shrub
25     R3_MCD     MCD:N.unc       MCD                 Mixed Conifer-Dry                N.unc                                       1T/2T
                                                                                                              Unchar
160    R3_MCD     MCD:O.ssm       MCD                 Mixed Conifer-Dry               O.ssm            O.Seedling/Sapling_Mid       3B
161    R3_MCD     MCD:P.smm       MCD                 Mixed Conifer-Dry               P.smm                 P. Small_Mid            3B
162    R3_MCD     MCD:Q.mms       MCD                 Mixed Conifer-Dry               Q.mms             Q.Medium_Mid_Single         4B
163    R3_MCD     MCD:R.vms       MCD                 Mixed Conifer-Dry                R.vms            R.VLarge_Mid_Single         4B
164    R3_MCD     MCD:S.mmm       MCD                 Mixed Conifer-Dry               S.mmm             S.Medium_Mid_Multi          4B
165    R3_MCD     MCD:T.vmm       MCD                 Mixed Conifer-Dry               T.vmm              T.VLarge_Mid_Multi         4B
159   R3_MCW      Aspen:Aspen    Aspen                      Aspen                     Aspen                     Aspen              Aspen
4     R3_MCW      Early A:GFB    Early A            Early State with no elk            GFB                Grass-Forb-Brush         1T/2T
26    R3_MCW       MC-I:G.so      MC-I       Mixed Conifer-Wet Shade Intolerant        G.so           G.Seed/Sap/Small_Open         3A
27    R3_MCW      MC-I:H.mos      MC-I       Mixed Conifer-Wet Shade Intolerant        H.mos           H.Medium_Open_Single         4A
28    R3_MCW      MC-M:I.vos      MC-M        Mixed Conifer-Wet Mixed Tolerant         I.vos            I.VLarge_Open_Single        4A
29    R3_MCW      MC-M:J.vom      MC-M        Mixed Conifer-Wet Mixed Tolerant         J.vom            J.VLarge_Open_Multi         4A
30    R3_MCW       MC-T:C.sc      MC-T       Mixed Conifer-Wet Shade Tolerant          C.sc           C.Seed/Sap/Small_Closed       3C
31    R3_MCW      MC-T:D.mcs      MC-T       Mixed Conifer-Wet Shade Tolerant          D.mcs          D.Medium_Closed_Single        4C
32    R3_MCW      MC-T:E.vcs      MC-T       Mixed Conifer-Wet Shade Tolerant          E.vcs          E.VLarge_Closed_Single        4C
33    R3_MCW      MC-T:F.vcm      MC-T       Mixed Conifer-Wet Shade Tolerant          F.vcm           F.VLarge_Closed_Multi        4C
166   R3_MCW      MC-T:K.sm       MC-T       Mixed Conifer-Wet Shade Tolerant          K.sm             K.Seed/Sap/Small_Mid        3B
167   R3_MCW      MC-T:L.mms      MC-T       Mixed Conifer-Wet Shade Tolerant         L.mms             L.Medium_Mid_Single         4B
168   R3_MCW      MC-T:M.vms      MC-T       Mixed Conifer-Wet Shade Tolerant         M.vms             M.Vlarge_Mid_Single         4B
169   R3_MCW      MC-T:N.vmm      MC-T       Mixed Conifer-Wet Shade Tolerant         N.vmm              N.Vlarge_Mid_Multi         4B
37     R3_MSG       NP:OSO         NP              Conifer/PerennialGrass              OSO          Gr-Open_Sh-Sparse_T r-Open      1M
38     R3_MSG       P:CAA           P                  PerennialGrass                  CAA        Gr-Closed_Sh-Absent_T r-Absent    1M
39     R3_MSG       P:MAA           P                  PerennialGrass                  MAA          Gr-Mid_Sh-Absent_Tr-Absent      1M



                                     Rio Grande National Forest - 73 - Forestwide Planning Assessment
                                                                                                                  Rvsd Plan - 00000087
            Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 88 of 406

                                            Rio Grande National Forest -Assessments 1 and 3
                                Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


                                 Cover                                              Structural
ID    Ecosystem      Name                         Cover Type Description                            Structural Stage Description   HSS
                                 Type                                                 Stage
40     R3_MSG        P:OAA         P                   PerennialGrass                  OAA         Gr-Open_Sh-Absent_T r-Absent     1M
53     R3_MSG       RP:COO         RP           RuderalGrass/PerennialGrass            COO          Gr-Closed_Sh-Open_Tr-Open       1M
42     R3_PJO      PJO:B.sso      PJO                  Pinyon-Juniper                  B.sso          B.Seedling/Sapling_Open       3A
43     R3_PJO      PJO:C.smo      PJO                  Pinyon-Juniper                 C.smo                 C.Small_Open            3A
44     R3_PJO      PJO:D.mvo      PJO                  Pinyon-Juniper                  D.mvo       D.Medium to Very Large_Open      4A
48     R3_PJO      PJO:GFB        PJO                  Pinyon-Juniper                  GFB                Grass-Forb-Brush         1T/2T
170    R3_PJO      PJO:H.ssm      PJO                  Pinyon-Juniper                  H.ssm              H.Seed/Sap_Mid            3B
171    R3_PJO      PJO:I.smm      PJO                  Pinyon-Juniper                  I.smm                    I.Small_Mid         3B
172    R3_PJO      PJO:J.mvm      PJO                  Pinyon-Juniper                 J.mvm          J.Medium to Very Large_Mid     4B
2      R3_SAG       D:MOA           D                   SeededGrass                    MOA           Gr-Mid_Sh-Open_Tr-Absent       2S
6      R3_SAG       JP:OOM         JP              Juniper/PerennialGrass              OOM            Gr-Open_Sh-Open_Tr-Mid        2S
8      R3_SAG       JX:MSO         JX                  Juniper/Exotics                 MSO           Gr-Mid_Sh-Sparse_Tr-Open       2S
52     R3_SAG       PS:OSA         PS            PerennialGrass/Sagebrush              OSA         Gr-Open_Sh-Sparse_T r-Absent     2S
54     R3_SAG        S:SMA          S                    Sagebrush                     SMA          Gr-Sparse_Sh-Mid_Tr-Absent      2S
63     R3_SAG       SP:OMA         SP            Sagebrush/PerennialGrass              OMA           Gr-Open_Sh-Mid_T r-Absent      2S
64     R3_SAG       SP:OOA         SP            Sagebrush/PerennialGrass              OOA          Gr-Open_Sh-Open_T r-Absent      2S
65     R3_SAG      SPJ:OOO        SPJ          Sagebrush/PerenGrass/Juniper            OOO           Gr-Open_Sh-Open_Tr-Open        2S
66     R3_SAG      SPX:MOA        SPX        Sagebrush/PerennialGrass/Exotics          MOA           Gr-Mid_Sh-Open_T r-Absent      2S
70     R3_SAG       X:MAA           X                      Exotics                     MAA          Gr-Mid_Sh-Absent_Tr-Absent      2S
74     R3_SAG       XS:MOA         XS                Exotics/Sagebrush                 MOA           Gr-Mid_Sh-Open_Tr-Absent       2S
75     R3_SAG       YP:OMA         YP         EarlySeralShrub/PerennialGrass           OMA           Gr-Open_Sh-Mid_T r-Absent      2S
159    R3_SFM     Aspen:Aspen    Aspen                      Aspen                     Aspen                       Aspen            Aspen
4      R3_SFM     Early A:GFB    Early A            Early State with no elk            GFB                Grass-Forb-Brush         1T/2T
55     R3_SFM      SFM-I:G.so     SFM-I        Spruce-Fir Mix-Shade Intolerant         G.so           G.Seed/Sap/Small_Open         3A
56     R3_SFM     SFM-I:H.mos     SFM-I        Spruce-Fir Mix-Shade Intolerant         H.mos           H.Medium_Open_Single         4A
57     R3_SFM     SFM-M:I.vos    SFM-M      Spruce-Fir Mix Mixed Shade Tolerant        I.vos            I.VLarge_Open_Single        4A
58     R3_SFM     SFM-M:J.vom    SFM-M      Spruce-Fir Mix Mixed Shade Tolerant        J.vom            J.VLarge_Open_Multi         4A
59     R3_SFM     SFM-T:C.sc     SFM-T         Spruce-Fir Mix Shade Tolerant           C.sc           C.Seed/Sap/Small_Closed       3C
60     R3_SFM     SFM-T:D.mcs    SFM-T         Spruce-Fir Mix Shade Tolerant           D.mcs          D.Medium_Closed_Single        4C




                                     Rio Grande National Forest - 74 - Forestwide Planning Assessment
                                                                                                                     Rvsd Plan - 00000088
            Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 89 of 406

                                            Rio Grande National Forest -Assessments 1 and 3
                                Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems


                                 Cover                                              Structural
ID    Ecosystem      Name                         Cover Type Description                            Structural Stage Description   HSS
                                  Type                                                Stage
61     R3_SFM     SFM-T:E.vcs    SFM-T         Spruce-Fir Mix Shade Tolerant           E.vcs          E.VLarge_Closed_Single       4C
62     R3_SFM     SFM-T:F.vcm    SFM-T         Spruce-Fir Mix Shade Tolerant           F.vcm           F.VLarge_Closed_Multi       4C
173    R3_SFM     SFM-T:K.sm     SFM-T         Spruce-Fir Mix Shade Tolerant           K.sm             K.Seed/Sap/Small_Mid       3B
174    R3_SFM     SFM-T:L.mms    SFM-T         Spruce-Fir Mix Shade Tolerant          L.mms             L.Medium_Mid_Single        4B
175    R3_SFM     SFM-T:M.vms    SFM-T         Spruce-Fir Mix Shade Tolerant          M.vms             M.Vlarge_Mid_Single        4B
176    R3_SFM     SFM-T:N.vmm    SFM-T         Spruce-Fir Mix Shade Tolerant          N.vmm              N.Vlarge_Mid_Multi        4B




                                     Rio Grande National Forest - 75 - Forestwide Planning Assessment
                                                                                                                  Rvsd Plan - 00000089
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 90 of 406

                               Rio Grande National Forest -Assessments 1 and 3
                   Ecosystem Integrity, Systems Drivers and Stressors for Terrestrial Ecosystems




  References
  Baker, WL. 2006. Fire and Restoration of Sagebrush Ecosystems. Wildlife Society Bulletin 34:177-185.

  Buechling, A and Baker, WL. 2004. A fire history from tree rings in a high-elevation forest of Rocky
         Mountain National Park. Canadian Journal of Forest Research 34: 1259-1273.

  Floyd, ML, Romme, WH and Hanna, DD. 2000. Fire History and Vegetation Pattern in Mesa Verde
         National Park, Colorado, USA. Ecological Applications 10: 1666-1680.

  Floyd, ML, Hanna, DD and Romme, WH. 2004. Historical and recent fire regimes in Pinon-Juniper
         woodlands on Mesa Verde, Colorado, USA. Forest Ecology and Management 198 (2004) 269­
          289.

  Kipfmueller, KF and Baker, WL. 2000. A fire history of a subalpine forest in south-eastern Wyoming,
        USA. Journal of Biogeography 27: 71-85.

  Romme, WH, Allen, CD, Bailey, JD, Baker, WL, Bestelmeyer, BT, Brown, PM, Eisenhart, KS, Floyd,
        ML, Huffman, DW, Jacobs, BF, Miller, RF, Muldavin, EH, Swetnam, TW, Tausch, RJ and
        Weisberg, PJ. Historical and Modern Disturbance Regimes, Stand Structures, and Landscape
        Dynamics in Pinon-Juniper Vegetation of the Western United States. Rangeland Ecology &
        Management, 62:203-222.

  Shinneman, DJ and Baker, WL. 2009. Historical Fire and Multi-decadal Drought as Context for Pinon—
         Juniper Woodland Restoration in Western Colorado. Ecological Applications 19: 1231-1245

  Sibold, JS, Veblen, TT, Gonzalez, ME. 2006. Spatial and temporal variation in historic fire regimes in
           subalpine forests across the Colorado Front Range in Rocky Mountain National Park, Colorado,
          USA. Journal of Biogeography 32: 631-647

  Veblen, TT, Hadley, KS, Nel, EM, Kitzberger, T, Reid, M and Villalba, R. 1994. Regime and Disturbance
          Interactions in a Rocky Mountain Subalpine Forest. Journal of Ecology 82: 125-135.




                        Rio Grande National Forest - 76 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000090
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 91 of 406




     Rio Grande National Forest - Assessments 1 and 3
     Aquatic and Riparian Ecosystem Integrity, Systems
                   Drivers and Stressors




                                                      Rvsd Plan - 00000091
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 92 of 406




                                                      Rvsd Plan - 00000092
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 93 of 406

                                       Rio Grande National Forest -Assessments 1 and 3
                            Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


                                                                     Contents
    Introduction............................................................................................................................................... 1
    Information Sources and Gaps................................................................................................................... 1
      Key Information Sources....................................................................................................................... 1
      Key Information Gaps........................................................................................................................... 2
    Existing Forest Plan Direction.................................................................................................................. 2
    Scale of Analysis...................................................................................................................................... 3
    Relevant Aquatic and Riparian Ecosystems:............................................................................................ 3
    Key Ecosystem Characteristics (12.13):................................................................................................... 3
    Assessment of Ecosystem Integrity (12.14):............................................................................................ 4
       1. Presence, abundance, and condition of rare and unique habitat types, such as fens, bogs, and
      seeps and springs................................................................................................................................... 4
      2. Riparian, wetland, and groundwater- dependent habitat structure................................................ 5
      3. Watershed and hydrology attributes, such as elevation, aspect, drainage patterns, geology,
      stream gradients, and distribution of perennial, intermittent, and ephemeral channels.........................5
      4. Hydrologic flow regimes including time, duration, magnitude..................................................... 9
      5. Distribution of streams and size of stream network with unimpeded aquatic organism passage.
           10
      6. Stream length with adequate flow for beneficial uses and sustenance of aquatic habitats and
      species................................................................................................................................................. 10
      7. Miles of impaired perennial streams, including stream and lake temperatures and nutrient
      regimes................................................................................................................................................ 11
      8. Presence or absence of native species vs. non-native or invasive species................................... 11
      9. Species richness and distribution of macroinvertebrates............................................................. 12
       10.    Lack of stressors that reduce or truncate stream connectivity and aquatic habitat quality..... 13
    Description of Natural Range of Variation (or Alternative Approach) (12.14a or b):........................... 14
    Assessment of Status and Trends (12.14c):.............................................................................................14
    Assessment of Riparian Areas and Groundwater-dependent Ecosystems (12.14d)............................... 15
    System Drivers (12.31) .......................................................................................................................... 16
      Geology/Geochemistry:....................................................................................................................... 17
      Geology/Sedimentation:..................................................................................................................... 17
      Hydroclimatic Regime: ...................................................................................................................... 17
      Stream Gradient:.................................................................................................................................. 18
      Glaciation and Wetland Development: .............................................................................................. 19
      Stream Density Analysis:..................................................................................................................... 19
      Summary of the Ecological Driver Cluster Analysis:..........................................................................19
    Man-made Stressors............................................................................................................................... 20
      Stressors Associated with Water Use:................................................................................................ 20
      Stressors Associated with Transportation........................................................................................... 23
      Recreation: Developed Recreation Sites............................................................................................ 26
    Stressors Associated with Biological Considerations............................................................................. 27
      Aquatic Nuisance Species:.................................................................................................................. 27
      Influence of Beaver:............................................................................................................................ 27
      Grazing:............................................................................................................................................... 28
      Seeps and Spring Developments:........................................................................................................ 29
      Timber and Vegetation Management:................................................................................................. 30
      Wildfire: ............................................................................................................................................. 30
    Places at Risk......................................................................................................................................... 31
    Need for Change ..................................................................................................................................... 32



                                   Rio Grande National Forest - i - Forestwide Planning Assessment
                                                                                                                Rvsd Plan - 00000093
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 94 of 406

                                         Rio Grande National Forest -Assessments 1 and 3
                              Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


     Stressors Associated with Potential Climate Change............................................................................. 32
       Management Considerations for Climate Change.............................................................................. 35
       Projected Future Change in Mean Annual Flow for Streams within the Rio Grande National Forest
       and surrounding ecosystem: Focus on Climate Change..................................................................... 35
     Conclusions............................................................................................................................................ 42
  Literature Cited........................................................................................................................................... 43


                                                                List of Figures
  Figure 1. Percent difference in historic mean annual flows relative to flows projected for 2040 on the Rio
       Grande National Forest. The southern Sangre de Cristo mountain range and streams at the lower
       elevations are predicted to have the largest change under unregulated conditions..................... 36
  Figure 2. Percent difference in historic mean annual flows relative to flows projected for 2080 on the Rio
       Grande National Forest. Mean annual discharge will decline for all; most streams are expected to be
       reduced by more than 5 percent in 2080..................................................................................... 37
  Figure 3. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from west to
       east (top) across the Rio Grande National Forest. The relatively high percentage change in the east
       boundary can be explained by the influence of the Sangre de Cristo mountain range where mean
       annual flows are expected to be reduced as much as 30 percent in some years by 2080............38
  Figure 4. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from south to
       north (bottom) across the Rio Grande National Forest. The estimated increase in mean annual flows
       in the north (bottom) can be explained by the high elevation Continental Divide......................39
  Figure 5. Percent difference in mean annual flows in 2040 and 2080 relative to elevation of stream reach
       midpoint..................................................................................................................................... 40
  Figure 6. Percent difference in mean annual flows in 2040 and 2080 relative to historic flow levels on the
       Rio Grande National Forest........................................................................................................ 41




                                    Rio Grande National Forest - ii - Forestwide Planning Assessment
                                                                                                                Rvsd Plan - 00000094
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 95 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems



  Introduction
  In assessments 1 and 3, we (the USDA Forest Service, Rio Grande National Forest) evaluate available
  information about ecosystem integrity and stressors and threats to integrity on the Rio Grande National
  Forest, as outlined in Forest Service Handbook 1909.12, Chapter 10, Section 12.1 and 12.3. In this report,
  we will briefly assess the current condition, system drivers and stressors related to the aquatic and riparian
  ecosystems on the Rio Grande National Forest, with further discussion and analysis provided in
  appendices A and B, which are posted separately.

  Riparian areas are the important ecosystems along streams, lakes, and other water bodies. Riparian areas
  are actually three-dimensional: they extend down into the groundwater, up above the canopy, outward
  across the floodplain, up the near-slopes that drain to the water, laterally into the terrestrial ecosystem,
  and along the water course at variable widths. On the Rio Grande National Forest, there are roughly
  130,000 acres of riparian areas (about 7 percent of the Forest), associated with over 11,000 miles of
  streams and other wetland areas.

  Plants in a riparian area, like willows and sedges, depend on the water source. This distinct water-loving
  vegetation makes most riparian areas easy to recognize. Riparian areas are home to a greater variety of
  aquatic and terrestrial wildlife than any other habitat type across the landscape. Riparian areas are also
  important in maintaining water quality and stream flows by capturing sediment, trapping organic matter,
  and regulating flooding. Riparian area integrity is a requirement of the new Forest Service planning rule,
  and the Forest Plan must ensure that no management practices cause detrimental changes in water
  temperature or chemical composition, blockages of water courses, or deposits of sediment that seriously
  and adversely affect water conditions or fish habitat.

  Aquatic ecosystems are the streams, lakes, and other water bodies that support fish and other aquatic
  species. This topic addresses the integrity of aquatic ecosystems. There are over 11,000 miles of stream
  channels in the Rio Grande National Forest, of which 1,800 miles have perennial streams. There are also
  75 lakes and reservoirs, covering about 1,200 acres on the Forest. Aquatic ecosystem integrity is a
  requirement of the Forest Service planning rule. Integrity is measured by (1) whether or not the dominant
  characteristics of the ecosystem (stream flow, timing, water quality, water quantity, stream temperature,
  sedimentation, etc.) are within the range of what would occur “naturally” (natural range o^fvariability),
  and (2) can stay within that range as each ecosystem is influenced by stressors such as climate change, as
  well as developments and uses of the forest.

  Information Sources and Gaps
  Key Information Sources
  •   Rio Grande National Forest Riparian Inventory Project - USDA Forest Service Washington Office
      (Abood 2015)
  •   Assessment of Wetland Condition on the Rio Grande National Forest (Colorado Natural Heritage
      Program)
  •   Ecological Driver Classification and Analysis for Aquatic Systems - R2 Regional Office (Winters
      2016)
  •   Fen Evaluation Report (Colorado Natural Heritage Program -expected February 2016)
  •   Rio Grande National Forest Monitoring Report Summary 1997-2012




                         Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000095
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 96 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


  Key Information Gaps
  •   The condition of seeps and springs on the Forest, including the number with diversions/watering
      troughs, and potential effects on ecological site integrity.
  •   Riparian habitat condition attributes involving riparian willow growth and browsing influences,
      particularly in lower elevation stream zones.
  •   Amount and distribution of pugging and hummocking in wetland-associated soils from ungulates, and
      ecological trend of areas where this condition exists.
  •   Information pertaining to how existing reservoirs on the Forest might modify preferred habitat
      attributes for aquatic species.
  •   Extent and distribution of Aquatic Nuisance Species, particularly whirling disease in tributary streams
      and relationship to local sedimentation issues.
  •   Information pertaining to aquatic invertebrate diversity, status and distribution, and effects of natural
      and anthropogenic disturbances to this resource.
  •   Information pertaining to the number of culverts possibly influencing aquatic organism passage.
  •   There is a lack of quantitative base and trend data on stream health, particularly physical function,
      i.e., stream pattern, profile, and dimension.
  •   There is a lack of quantitative information on groundwater resources, particularly groundwater­
      dependent ecosystems.

  Existing Forest Plan Direction
  Our current Forest Plan generally describes the types of uses allowed on the Forest for each management
  area. The management areas in the current plan do not follow watershed boundaries, but the functioning
  of each watershed was considered when the management areas were originally developed.

  Our current Forest Plan incorporates direction from the Forest Service Rocky Mountain Region’s Water
  Conservation Practices Handbook. This handbook includes guidance and direction for riparian areas in
  the Region. This direction is consistent with, and sometimes exceeds, state-required Best Management
  Practices (BMPs), and meets Clean Water Act Section 404 guidelines. Only activities that maintain or
  improve long-term stream health are allowed in riparian areas. There is guidance to keep heavy
  equipment out of these areas and only cross at designated points. Concentrated uses such as recreation
  sites are not allowed.

  In the current Forest Plan, we established desired conditions for all stream segments near a “reference”
  condition (a condition based on the expected natural range of variability). Our goal is to maintain or
  improve fish habitat in streams, lakes, and ponds, and to protect, conserve, and restore important habitats.
  In the Forest Plan, we also issued guidance to return and/or maintain sufficient stream flows under
  appropriate authorities to minimize damage to scenic and aesthetic values, fish and wildlife habitat, and to
  otherwise protect the environment. While in the 1996 Forest Plan we recommended acquiring additional
  instream flows on the forest; in 2000, that recommendation was replaced by a negotiated settlement and
  related court decree from Division 3 of the Colorado Water Court between the Rio Grande National
  Forest, and basin water users and districts.

  Direction in the current Forest Plan also restricts livestock grazing in riparian areas to specific timeframes
  and sets limits for the amount of grasses and shrubs that can be grazed. It contains guidance for
  maintaining vegetative cover, limiting soil compaction, keeping disturbed areas from connecting to each



                          Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000096
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 97 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


  other, controlling road construction and other developments, and controlling use of chemicals or
  pathogenic pollutants.

  In the new Forest Plan, we will incorporate some of the findings of the Forest Service’s 2011 Watershed
  Condition Framework. This was a Nation-wide functional assessment of every 6th level watershed on
  National Forest System lands according to 12 physical or biological indicators.

  Scale of Analysis
  The scales considered for the aquatic analysis include broad-scale, mid-scale, and fine-scale information.
  The scales vary from the Upper Rio Grande River Basin system to ecosystem-site characteristics
  involving specific ecological zones, stream reaches, or specific wetlands types. For analysis involving
  ecosystem drivers, stressors, and management activities, sixth-level subwatersheds (HUCs) were
  commonly used to characterize and compare conditions on the Forest.

  Relevant Aquatic and Riparian Ecosystems:
  Ecological riparian systems within the framework of the Southern Rocky Mountains terrestrial ecological
  systems that occur on the Rio Grande National Forest (Rondeau 2001, Colorado Natural Heritage
  Program) are included below:

  •   Alpine/Subalpine Wet Meadow
  •   Rocky Mountain Alpine-Montane Wet Meadow
  •   Rocky Mountain Subalpine-Montane Fen
  •   Rocky Mountain Subalpine-Montane Riparian Shrubland (Riparian Willow)
  •   Rocky Mountain Subalpine-Montane Riparian Woodland
  •   Lower Montane Riparian Woodland Ecological System
  •   Foothills Riparian Woodland and Shrubland Ecological System
  •   Western North America Emergent Freshwater Marsh
  Additional riparian/wetlands classification from the Rio Grande National Forest Riparian Inventory
  Report (Abood 2015), is included below:

  •   Freshwater Emergent Wetlands (61.5 percent)
  •   Freshwater Forested/Shrub Wetlands (33.1 percent)
  •   Riverine (4.5 percent)
  •   Freshwater pond (0.85 percent)

  Key Ecosystem Characteristics (12.13):
  •   Presence, abundance, and condition of rare and unique habitat types, such as fens, bogs, seeps and
      springs.
  •   Riparian, wetland, and groundwater- dependent habitat structure.
  •   Watershed and hydrology attributes, such as elevation, aspect, drainage patterns, geology, stream
      gradients, and distribution of perennial, intermittent, and ephemeral channels.
  •   Hydrologic flow regimes including time, duration, and magnitude.


                         Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000097
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 98 of 406

                                    Rio Grande National Forest -Assessments 1 and 3
                         Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


  •      Distribution of streams and size of stream network with unimpeded aquatic organism passage.
  •      Stream length with adequate flow for beneficial uses and sustenance of aquatic habitats and species.
  •      Miles of impaired perennial streams, including stream and lake temperatures and nutrient regimes.
  •      Presence or absence of native species vs. non-native or invasive species.
  •      Species richness and distribution of macroinvertebrates.
  •      Lack of stressors that reduce or truncate stream connectivity and aquatic habitat quality.

  Assessment of Ecosystem Integrity (12.14):
         1. Presence, abundance, and condition of rare and unique habitat types, such
            as fens, bogs, and seeps and springs.
  The montane fen ecological system includes extreme rich fens and iron fens, both rare within the
  Southern Rocky Mountains ecoregion. Since this system relies on groundwater, any disturbances that
  impact water quality or quantity are a threat. Fens, wetlands, seeps and springs are central to ecosystem
  resilience in light of uncertainties such as climate change. Based on National Wetlands Inventory
  mapping, there are 42,862 acres of wetlands and water bodies (lakes and reservoirs) on the Rio Grande
  National Forest, representing approximately 2 percent of the total land area (Lemly, Colorado Natural
  Heritage Program 2012). Although a final assessment of fens is forthcoming, preliminary evaluations
  indicate that approximately 73 percent of wetland acres on the Rio Grande National Forest are saturated
  hydrologic regimes, which likely consist in large part of fens.

  Ecosystem integrity as assessed in the Colorado Natural Heritage Program Report indicates that most
  wetlands on the Rio Grande National Forest are in excellent to good condition (Lemly 2012), with the
  integrity of key ecosystem characteristics maintained. Floristic quality assessment indices are high for
  most wetlands, though they vary by both elevation and wetland type.

  A query of the National Hydrography Dataset layer for Assessment 2 (Bevinger 2015) shows 125
  springs/seeps across the Forest. The seeps and springs layer in the Southern Rockies Landscape
  Conservation Cooperative does not include site condition and integrity. Low-elevation seeps and springs
  frequently used for livestock and/or wildlife troughs were not included in the Colorado Natural Heritage
  Program assessment. Although condition data is lacking for these types of systems, we consider their
  ecosystem integrity low due to water diversions, trampling, and other impacts. We find this situation most
  often in drier areas where free-flowing water is limited.

  Based on the available information, lower elevation streams and those with limited base flows should be
  management priorities as they are most likely to be influenced by climate change in the future. The
  analysis conducted for aquatic systems by Winters et al. (2016) suggests that if these conditions occur in
  the future, discharge would be significantly reduced, variability would be much higher, and fish and other
  aquatic biota on the Rio Grande National Forest would decline. To mitigate the impacts of potentially
  reduced flows due to climate change, we can focus management on maintaining stream structure and
  surrounding vegetation within their perceived natural range of variation particularly for vulnerable
  streams, wetlands and riparian areas (Dawson, 2011).

  Pugging1 in saturated soil areas is readily observable in some montane springs and meadow areas where
  livestock and native ungulates congregate. Heavy cattle use in palustrine systems can alter the hydrology


  1   Deep hoof prints left by large ungulates on moist, fine-textured soils of streams and wetlands.


                              Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                                       Rvsd Plan - 00000098
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 99 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


  by damaging soils. Soil compaction and pugging of the peat layer will change surface water flow. Heavy
  cattle use can also alter the successional processes within the sedge- dominated area of a fen. Cattle hoof
  action can lead to pugging and hummocking, creating microsites where shrubs can become established,
  changing the sedge-dominated meadow to carr shrubland.

      2. Riparian, wetland, and groundwater- dependent habitat structure.
  In addition to the two aquifers in the valley proper, there are shallow alluvial deposits along major
  streams and rivers in the Rio Grande basin, e.g., upper Saguache Creek, upper Rio Grande River, and
  upper Conejos Creek, which are hydraulically connected with the basin-fill deposits (see Assessment 2).
  In the mountainous areas of the Rio Grande National Forest, the alluvium is separate from underlying
  crystalline-rock aquifers. Groundwater recharge to the aquifers is a combination of mountain-front
  recharge, annual precipitation, irrigation return flow, streambed infiltration, and down-valley groundwater
  flow. Thus watersheds across the Rio Grande National Forest are major sources of water to the aquifers.

  Groundwater supports many wetlands, springs, and seeps across the Forest. A portion of these are
  groundwater-dependent ecosystems, which are communities of plants, animals, and other organisms
  whose existence and distribution depends on access to or discharge of groundwater. There is no inventory
  of groundwater-dependent ecosystems on the Forest but the National Hydrography Dataset and the
  National Wetlands Inventory provide information about their potential extent. More specifically,
  springs/seeps in the National Hydrography Dataset and palustrine emergent wetland types in the National
  Wetlands Inventory serve as representations for groundwater-dependent ecosystems. Springs/seeps are
  classified as points where water issues from the ground naturally. Palustrine emergent wetlands are
  saturated non-tidal areas characterized by erect, rooted, herbaceous hydrophytes where the substrate is
  saturated to the surface for extended periods during the growing season but no surface water is typically
  present.

  Various woody and non-woody riparian, wetland, and groundwater dependent habitat structure occurs on
  the Rio Grande National Forest. Approximately 55 percent of the mapped National Wetlands Inventory
  acres are palustrine emergent or freshwater herbaceous wetlands. When lakes and wetlands are excluded,
  herbaceous wetlands make up 62 percent of the wetland acres on the forest. Riparian shrub wetlands are
  the second-most abundant, comprising about 33 percent of the wetland acres. Lemly (2012) noted nearly
  500 plant species on the Rio Grande in her wetlands assessment report, suggesting diverse riparian,
  wetland, and groundwater dependent habitats. Sedges (Carex spp.) are the most diverse non-woody
  plants, with 42 individual species noted. Willows (Salix spp.) and bluegrass (Poa spp.) are also diverse,
  with 15 species each. The Colorado Natural Heritage Program Floristic Quality Assessment conducted on
  77 wetland sites during 2012 found that Rio Grande National Forest wetland conditions are good,
  although human influences are evident at lower elevations. The Floristic Quality Assessment suggests that
  we are maintaining the ecological integrity of most riparian and wetland-related vegetation.

      3. Watershed and hydrology attributes, such as elevation, aspect, drainage
         patterns, geology, stream gradients, and distribution of perennial,
         intermittent, and ephemeral channels.
  The Ecological Driver Cluster Analysis developed by Winters et al. (2016) provides key information
  regarding the physical, chemical, and hydrological attributes that describe the aquatic, riparian and
  wetland ecosystems on the Rio Grande National Forest. This analysis was based on the 163
  subwatersheds (6th Level HUCs) that comprise the Rio Grande National Forest and found that a total of 7
  statistically similar clusters with discernibly different ecological characteristics could be identified. Each
  of the subwatershed clusters reveal characteristics that can be translated in terms of aquatic productivity,
  sensitivity to management, temperature, aquatic and riparian habitat, and stream discharge characteristics.



                          Rio Grande National Forest - 5 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000099
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 100 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   The key ecosystem drivers evaluated in this analysis and the underlying watershed characteristics
   associated with them include the following:

   •   Geology
       o   Geochemistry (calcareous or non-calcareous geology)
       o   Sediment production (coarse, medium, or fine)
   •   Hydroclimatic regime
       o   Snowfall, rain and snow, or rain dominated regimes
   •   Stream gradient
       o   Low (less than 2 percent), medium (2 to 4 percent) or high (over 4 percent)

   Geology/Geochemistry:
   The Rio Grande National Forest is similar to most areas of the Rocky Mountains in that non-calcareous
   geology dominates the landscape, meaning there are no significant amounts of calcium carbonate. They
   include igneous rocks; sedimentary rocks, such as shale, sandstones, mudstones, and siltstones and
   metamorphic rocks derived from non-calcareous parent rocks, such as gneiss, schists, and quartzites. The
   properties of these geologies do not have increase aquatic productivity by themselves, and are the most
   abundant type of geology in the Rocky Mountains. Through the chemical actions with other compounds,
   igneous geology can cause slightly- to highly-acidic waters. However, non-calcareous geologies can
   support highly productive aquatic environments where stream gradients, hydroclimatic conditions, and
   other factors are associated. Non-calcareous geology can also have implications for erosion potential and
   sediment delivery.

   In contrast, calcareous geological types tend to be highly productive for plants, benthic
   macroinvertebrates and fish as well. Given the inherent solubility of calcareous bedrock, its porous nature
   is often associated with springs, creating unique wetland habitats. Calcareous bedrock tends to raise the
   pH of the ambient water and by producing carbon dioxide for photosynthesis and stabilizing
   temperatures, often supports rare taxa and taxa outside their normal ranges (Hynes 1970). The Rocky
   Mountains include discrete areas of calcareous geology, creating unique and important aquatic, riparian
   and wetland ecosystems. Because calcareous geology is uncommon on the Rio Grande National Forest,
   the areas where it exists warrant consideration for future investigations involving rare taxa, springs and
   associated streams for native trout restoration. On the Rio Grande National Forest, these areas include the
   northern and western portion of the Sangre de Cristo Mountains from approximately Crestone Peak
   northward to the Hayden Pass area, two smaller areas in the southern Sangres near Carbonate Mountain
   and California Peak, and a small area of National Forest System land to the west of Villa Grove.

   Geology/Sedimentation:
   The geology and formative processes that have occurred on and around the Rio Grande National Forest
   have resulted in two distinctly different zones of sediment. These two zones were created by the “pulling
   apart” of the valley by the Rio Grande Rift, and abundant volcanic activity that occurred about 30 million
   years ago.

   Sediment produced on the east side of the Forest in the Sangre de Cristo Range is mostly coarse due to an
   igneous intrusion through ancient sedimentary layers. This material is more difficult to move with stream
   and overland water flow. However, when moved by erosion processes (either natural or man-made) it
   settles in wetlands, pool habitats and riparian areas. Once deposited in these areas, sediment becomes



                          Rio Grande National Forest - 6 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000100
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 101 of 406

                                  Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   extremely difficult for streams and wetlands to remove as it has settled in areas with lower stream energy,
   reducing aquatic habitat by filling in wetlands and riparian areas.

   In contrast, the sediment produced by the volcanic activity on the west side of the valley in the San Juan
   Mountains is generally fine to medium in size and can move more readily either naturally or from man­
   made disturbance. However, it takes a considerable amount of energy to move fine sediments from low-
   gradient stream systems. This includes depositing fine materials onto adjacent floodplains as occurred
   historically, which can be constrained by roads, trails, and other human activities often associated with
   low-gradient stream systems.

   Hydroclimatic Regime:
   Annual precipitation across the Forest varies from 12 inches at lower elevations to over 50 inches at
   higher elevations; generally, precipitation increases 4 to 6 inches for each 1000-foot gain in elevation. In
   the 12 to 18 inch zone (roughly 8,000 to 9,000 feet), most, if not all, the precipitation goes to satisfying
   evapotranspiration demands so little to no runoff is generated; an exception can be when summer
   thunderstorm rainfall intensity exceeds the soil infiltration rate, resulting in overland flow potentially
   reaching stream channels). Above 9,000 feet the Forest is considered a snow-dominated system in that the
   majority of the annual precipitation falls in the form of snow, while the remainder is from late spring to
   early fall rains. Summer thunderstorms can produce short-duration, high-intensity precipitation.

   The majority of the Rio Grande National Forest is located in the snow-driven elevation zone. Aquatic
   productivity is relatively low at these high elevations, although aquatic plants can thrive if food, habitat
   and other limiting factors are not reduced significantly. Relatively short growing seasons and low
   temperatures can cause unsuccessful spawning by fish. Connectivity, adequate water and timing, habitat
   and temperature are major limiting factors for aquatic and semi-aquatic taxa. Ensuring the important
   natural conditions of ecosystem elements are maintained for these taxa is critical for the continued
   survival of water dependent species and ecosystem services such as angling. However, a rain and snow
   dominated regime may exist in the lowest-elevation headwaters of subwatersheds of the Forest (Winters
   et al. 2016). These areas may contain plants and animals that are more representative of the valley floor.
   In addition, wetlands may also have different form and function if precipitation and resulting overland
   flow is modified. Given that the lower elevations of the valley receive little annual precipitation
   (approximately 8 inches per year), stream channels should be ephemeral or intermittent depending on the
   presence of groundwater. Wetlands would also be dependent on groundwater reaching the surface where
   rooting would allow wetland plants to exist.

   Stream Gradient:
   Stream gradient influences stream power, aquatic productivity, erosive capability, localized sediment
   sizes, and floodplain characteristics. As a result, stream gradient dictates the habitat for specific flora and
   fauna.

   Steep-gradient stream reaches are considered “erosional,” and low-gradient reaches “depositional” zones.
   The sediment produced in the erosional zones is deposited in the depositional zones, which thus can be
   indicators of upstream erosion. Indeed, steep stream channels have narrow floodplains and banks that are
   ‘armored’ with large rocks and boulders. They are very resistant to change, but move sediment through
   them and are migration corridors for aquatic species. Medium-gradient streams can be considered
   “transitional” reaches and have some combined characteristics of the steep and low gradient reaches.
   Low-gradient reaches are very susceptible to upstream activities as well as local change. As a result, they
   typically reflect any changes in channel morphology, temperature, in-stream habitat attributes, and
   sediment accumulation. Their banks are comprised of typically small alluvium from upstream and are
   extremely susceptible to erosion if the deep rooting riparian vegetation is removed or damaged. Low-


                           Rio Grande National Forest - 7 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000101
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 102 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   gradient reaches can act as “reservoirs” for storing water in the valley bottom, especially if there are
   beavers. Terrestrial and aquatic animals are often much more abundant in low-gradient valleys as habitat
   is diverse and abundant. Consequently, upstream activities in subwatersheds with low-gradient valleys
   produce excess sediment, reduce woody material and change discharge dynamics; which can have a
   dramatic impact on the low-gradient areas. Local impacts that remove woody vegetation, compact
   riparian soils and damage stream banks can also profoundly impact these important areas.

   In the analysis by Winters et al. (2016), only 8 of 162 subwatersheds on the Rio Grande National Forest
   were dominated by low-gradient stream systems. This is not unusual for the southern Rocky Mountains
   considering the steep topography and erosional process associated with the landscape. The role of stream
   gradient reaches and their importance could be a valuable tool for future monitoring. Low-gradient
   reaches are sensitive to change, as are the plants and animals that inhabit them. By focusing monitoring
   on these important reaches, species and physical characteristics could be identified and utilized as tools
   for observing change.

   Glaciation and Wetland Development:
   Another landscape attribute that heavily influences aquatic, riparian, and wetland characteristics on the
   Rio Grande National Forest is past glaciation. The Rio Grande National Forest contains thousands of
   acres of high quality wetlands and other groundwater-dependent ecosystems that provide essential
   services to the Forest and lands downstream. A disproportionately large number of wetlands occur in the
   glaciated areas of the forest. Terminal and lateral moraines often create confined basins where impounded
   subsurface or surface water allows peat accumulation (Windell et al. 1996; Cooper 1990; and Cooper
   2005) whereas kettle ponds promote fen formation along their margins. In addition, glaciation has created
   wide, relatively level mountain valleys where large wetland complexes tend to form (Rocchio 2006).
   Understanding how wetlands occur in relation to the geomorphology of the forest can help guide forest
   planning and management decisions pertaining to aquatic ecosystem sustainability, restoration, and
   climate change resilience. High mountain wetlands in glaciated areas are fundamentally different than
   wetlands occurring at lower elevations that were never glaciated (Cooper and Lee 1987).

   Stream Density Analysis:
   There are 23 subwatersheds within the Rio Grande National Forest that are in the highest quantile for
   stream density, with several others being predominantly within its boundaries. There appears to be a
   correlation between higher elevations and these high density subwatersheds. The San Juan and
   Weminuche Wilderness areas have high densities of streams that may be beneficial for native fish and
   amphibian recovery. In addition, these subwatersheds are generally less managed and could continue to
   provide colder water to lower elevations, especially if the effects of climate change increases water
   temperatures at lower elevations.

   Stratifying the Forest by stream density presents important management considerations and options.
   These areas could be considered the highest priority for stream- and riparian-related management if other
   ecological conditions are not an issue. The subwatersheds in the western portion of the Forest may be
   more productive, because of the capacity for volcanic soils to hold and release important micro nutrients.

   Summary of the Ecological Driver Cluster Analysis:
   The analysis found that a total of 7 statistically similar clusters with discernibly different ecological
   characteristics could be identified on the Rio Grande National Forest. The top three cluster characteristics
   and others can be defined as follows:




                          Rio Grande National Forest - 8 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000102
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 103 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   •   Approximately 33 percent of the Forest (53 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-stream gradients, fine sediments, and a
       snowmelt hydroclimate.
   •   Approximately 32 percent of the Forest (52 subwatersheds) can be characterized by the ecological
       conditions associated dominated by non-calcareous geology, high-stream gradients, coarse sediments,
       and a snowmelt hydroclimate.
   •   Approximately 12 percent of the Forest (20 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-stream gradients, coarse sediments, and a
       snowmelt hydroclimate. The unique characteristic of this cluster is the considerable portion of
       streams containing low to medium gradients.
   •   Approximately 9 percent of the Forest (14 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-stream gradients, coarse sediments, and a rain
       and snow (72 percent) and snowmelt (30 percent) hydroclimate.
   •   Approximately 8 percent of the Forest (12 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-stream gradients, fine sediments, and a
       snowmelt hydroclimate. The feature that separates this cluster from others is the high abundance of
       fine, volcanic soils that could be associated with erosion potential.
   •   Approximately 6 percent of the Forest (10 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-stream gradients, coarse sediments, and a rain
       and snow (72 percent) and snowmelt (28 percent) hydroclimate.
   •   Approximately 1 percent of the Forest (2 subwatersheds) can be characterized by the ecological
       conditions associated dominated by a calcareous geology, high-stream gradients, coarse sediments,
       and a snowmelt hydroclimate.

       4. Hydrologic flow regimes including time, duration, magnitude.
   Information from Assessment 2 (Bevinger 2015) uses a historical USGS gage on the Alamosa River
   above Terrace Reservoir as a typical representation for water quantity and timing of flows, i.e., flow
   regime, on the Rio Grande National Forest, streamflow is predominately from annual snowmelt runoff,
   but there can be small increases in flow for short periods of time due to summer thunderstorm activity.
   The volume of water contained within these spikes typically represent only a small percentage of the
   thunderstorm precipitation total, roughly equivalent to the watershed area occupied by stream channels
   (Troendle and Bevenger 1996). Annual snowmelt flows typically start to increase in late March to early
   April, peak in late May to early June, and return to baseflow levels in late August to early September.
   There is considerable year to year variability in the shape of the annual hydrograph and the number of
   peak flows during the snowmelt period. The magnitude of annual peaks also exhibits considerable
   variability. Flow duration for perennial streams on the Forest is typical of snowmelt dominated areas
   where the high flow period is relatively short and gradual release of groundwater maintains a baseflow for
   the remainder of the water year. The flow regime described here is critical for sustaining current
   ecosystems across the Forest. Conversely, the current ecosystems also result in and sustain the current
   flow regimes across the Forest. In other words, a change in one results in a corresponding change to the
   other.

   Streams across the Forest have a low-flow channel, a high-flow or bankfull channel, and a floodplain to
   handle above-bankfull flows. Flooding is a natural part of the hydrologic cycle and access to the
   floodplain is critical. The width of the flood prone area varies by stream and valley type and can be
   relatively narrow, i.e., tens of feet, to very wide, i.e., hundreds of feet. Floodplains and their associated
   riparian areas are very important in regulating water quality and how water is distributed over time.


                           Rio Grande National Forest - 9 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000103
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 104 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Healthy stream and riparian systems dissipate flood energy and recharge alluvial aquifers. Water is then
   slowly released from the aquifers back to the channel during drier periods of the year.

   Current trends in hydrologic flow regimes in Colorado over the past 30 years have involved increased
   average annual temperatures, below average snowpacks, and an earlier snowmelt and peak runoff period.

   In recent years, the late-spring snowpack across the Forest has had a brownish color due to heavy
   deposition of desert dust. Modeling indicates that in moderately dusty year’s snowmelt and the peak flow
   can occur about three weeks earlier and extreme dust loading can add another three weeks, or a total of
   six weeks of earlier melt and peak. Projected climate change effects may contribute to these issues,
   thereby further altering the hydrologic flow regime.

       5. Distribution of streams and size of stream network with unimpeded aquatic
          organism passage.
   We are in the process of collecting information regarding aquatic organism passage on the Forest. For
   example, information regarding the number of stream crossings and culverts is available, but details
   regarding the needs and consequences of passage impediments are considered an information gap. In
   general, impediments to aquatic organism passage are more prevalent in smaller stream networks, and
   where vegetation management activities have resulted in more roads and stream crossings. We want
   barriers to aquatic organism passage only where non-native trout species may compete with endemic
   species such as Rio Grande Cutthroat Trout.

   The recent analysis by Winters et al. (2016) found that most culverts and stream crossings on the Rio
   Grande National Forest are associated with unpaved rather than paved road systems. The values
   associated with the subwatersheds (6th Level HUCs) on the Forest ranged from 0 stream crossings per
   mile of stream in valley bottoms (15 subwatersheds, under 10 percent) to 1.3 crossings per stream mile in
   the West Fork of Pinos Creek subwatershed. A total of 20 of the 30 subwatershed within quantile 5 (the
   highest ranking) were located totally within the Rio Grande National Forest. These results are
   considerably different than the paved road results and indicate a relatively high number of unpaved roads
   in valley bottoms with streams and riparian areas. The concentrations and distribution of roads and stream
   crossings are going to correlate with levels of human activity. The highest acreage of subwatersheds with
   unimpeded passage for aquatic organisms is in designated wilderness areas on the west side of the Forest.
   However, this may not be where we identify the greatest and most important passage needs for fish
   species.

       6. Stream length with adequate flow for beneficial uses and sustenance of
          aquatic habitats and species.
   The Rio Grande National Forest is unique in that it has a federally reserved water right which was
   established by decree in 2000. The Decree provides the Forest 252 reserved instream flow water rights.
   These rights are quantified in terms of their location and amount of flow that must be satisfied at and
   upstream of the location, i.e., quantification point. The decree established 303 quantification points on the
   headwaters of streams and rivers in the eastern San Juan and La Garita mountains and the northern Sangre
   de Cristos. Each quantification point includes minimum high flows and maximum high flows that vary
   depending on the time of year. The in-stream flows, which do not involve the removal or consumption of
   any water, are designed to protect stream function and fish habitat. All streams on the Forest are covered
   under the decree with substantial benefits to aquatic habitats and species.

   The decreed rights allow for improving and protecting the forests within the administrative boundary,
   securing favorable conditions of water flows, and furnishing a continuous supply of timber for the use and
   necessities of the citizens of the United States. From an aquatic species point of view the rights also allow


                          Rio Grande National Forest - 10 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000104
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 105 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   for maintaining, improving, protecting, and minimizing damage to 1) riparian ecosystems, including
   stream dependent wetlands, 2) the natural physical function of stream channels, 3) viable and diverse
   populations of fish and wildlife, including all habitat necessary for such populations, and 4) public
   opportunities for outdoor recreation such as angling.

       7. Miles of impaired perennial streams, including stream and lake
          temperatures and nutrient regimes.
   Information in Assessment 2 indicates that the State of Colorado Integrated Water Quality Monitoring and
   Assessment Report (Colorado Department of Public Health and Environment 2012), commonly called the
   303(d)/305(b) report, indicates 74 percent of the stream miles in the Rio Grande Basin either fully support
   all classified uses of water (54 of the 74 percent) or support at least one classified use (20 of the 74
   percent). Given the above information, it is estimated that there are approximately 468 miles of impaired
   waterbodies (303(d) listed) within the Rio Grande River Basin, some of which are within the Rio Grande
   National Forest (Colorado Department of Public Health and Environment 2012). These listed waterbodies
   are mostly associated with historical mining and are in the Alamosa, Willow, and Kerber Creek
   watersheds, although the upper Hot Creek subwatershed is also noted in the aquatic report by Winters et
   al. (2016). Total Maximum Daily Loads (TMDLs) exist for some of these listed waterbodies. Heavy
   metals and pH are the primary water quality concerns. There are also multiple stream segments across the
   Forest on the monitoring and evaluation list maintained by the State of Colorado. The impaired
   waterbodies associated with mining and heavy metals have impacted aquatic habitat values and fisheries
   resources. The Alamosa River area around Summitville is an EPA Superfund site and considerable
   restoration work has taken place to improve water quality in the river and its tributaries. Restoration work
   has also taken place on Willow Creek near Creede (Colorado Department of Public Health and
   Environment 2013).

   From a process category standpoint, a majority of the 152 watersheds are functioning properly relative to
   aquatic physical and terrestrial biological indicators. Relative to aquatic biological and terrestrial physical
   processes a majority of the watersheds are functioning at risk. There are no watersheds with impaired
   terrestrial physical and biological function. There are two watersheds with impaired aquatic physical
   function. The concern in both of these watersheds is water quality, flow characteristics, habitat
   fragmentation, and channel shape and function. There are eighteen watersheds with impaired aquatic
   biological function. The concern in these watersheds is with exotic and aquatic invasive species, and
   riparian and wetland vegetation condition. In some of the watersheds there is also a concern with life form
   presence.

       8. Presence or absence of native species vs. non-native or invasive species.
   The Rio Grande National Forest supports three native fish species endemic to the upper Rio Grande basin
   - these include the Rio Grande cutthroat trout, the Rio Grande sucker, and the Rio Grande chub. The exact
   historical distribution of Rio Grande cutthroat trout is unknown but it is likely that populations were
   widely distributed throughout the Upper Rio Grande watershed, occupying all streams capable of
   supporting trout within the drainage. Core populations (over 99 percent genetically pure) and
   conservation populations (over 90 percent genetically pure) of Rio Grande cutthroat trout are typically
   restricted to smaller 6th to 7th-level streams and currently occupy less than 220 stream miles. Colorado
   Parks and Wildlife has stocked Rio Grande cutthroat trout in an additional 150 miles of stream and 59
   high mountain lakes for sport fishing and to maintain genetic refugia for pure historic populations. We are
   part of a signed interagency conservation agreement to improve and maintain habitat conditions and
   populations of the Rio Grande cutthroat trout. This species is currently a primary focus for restoration
   opportunities in the upper Rio Grande Basin.




                          Rio Grande National Forest - 11 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000105
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 106 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   The Rio Grande sucker is endemic to the Rio Grande drainage in Colorado and New Mexico. In
   Colorado, the sucker was historically found in Rio Grande, Conejos River, Hot Creek, and McIntyre
   Springs. The Rio Grande sucker has significantly declined from much of its historic range, and several
   populations have been reintroduced to lower-elevation streams on the Rio Grande National Forest. All
   reintroduced populations on the Forest are struggling to survive.

   The Rio Grande chub is endemic to Rio Grande drainage and Closed Basin. Historically, they occurred in
   the Rio Grande River, Conejos River, Saguache Creek and San Luis Creek. Like the sucker, the Rio
   Grande chub has significantly declined from much of its historic range. Limited populations have been
   reintroduced to lower-elevation streams on the Rio Grande National Forest. It is currently unclear if any
   of these populations have survived. The forest continues to work with Colorado Parks and Wildlife to
   identify and prioritize locations for reintroduction of native fish.

   There are approximately 680 miles of rivers and streams on the Rio Grande National Forest that sustain
   populations of nonnative trout. These species include rainbow trout, brown trout, brook trout, Snake
   River cutthroat, and splake. Other non-trout species include fathead minnow, longnose dace, and white
   sucker. When assessed in relationship to the watershed condition framework process, lack of native
   aquatic species and/or presence of exotic and/or aquatic invasive species, and vegetation condition in
   riparian/wetland areas are the driving concerns for most functioning at-risk or at impaired function
   ratings. Approximately 78 percent of the subwatersheds on the Forest received a poor watershed
   condition framework ranking in regards to secure presence of native species. Another 26 percent and 13
   percent received fair and good rankings, respectively, indicating there is room for substantial
   improvement in regards to the presence of native vs. non-native species. However, non-native trout
   species are desired in many areas for their high recreational value as sport fish.

   Other aquatic species that occur on the Rio Grande National Forest include the boreal toad and the
   northern leopard frog. Once historically common, the boreal toad now exists in four or five habitat areas
   confined to one district. Historic information suggests the northern leopard frog was never common on
   Forest lands, and primarily restricted to mid and lower elevation sites along sites such as the Conejos
   River. Both amphibian species are now uncommon and declining; succumbing to stressors associated
   with chytrid fungus, and perhaps non-native trout species in some locations.

   A draft aquatic nuisance species plan has been developed for the Rio Grande National Forest March
   2011). Based on current information, whirling disease is the only aquatic nuisance species affecting the
   fisheries resource on the Forest. Whirling disease is currently assumed present in all 4th order and larger
   streams with an unknown status in smaller streams. Exotic aquatic plant species such as Eurasian water
   milfoil and water hyacinth have been located in the San Luis Valley but are not currently known to occur
   on the Forest. The Colorado Parks and Wildlife currently monitors equipment at select lakes and
   reservoirs for exotic mollusk species such as quagga and zebra mussels. No invasive mollusks have been
   found to date locally. Chytrid fungus remains a serious issue for local amphibian populations and we are
   recommending it as a topic of concern in our plan revision effort.

       9. Species richness and distribution of macroinvertebrates.
   Information pertaining to the diversity and distribution of macroinvertebrate on the Rio Grande National
   Forest is one of our information gaps. However, one previous study found that six families of
   macroinvertebrates are common in the upper Rio Grande Basin and that median values for total
   abundance, taxa richness, and mayfly and stonefly abundance are reduced at sites influenced by mining.
   Depressed abundance is also been found where trace elements have been elevated (Deacon et al. 2001).
   Based on current habitat, water quality, and angling information, we suspect that we are at desired
   condition for macroinvertebrates in most subwatersheds on the Forest. However, as with riparian


                          Rio Grande National Forest - 12 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000106
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 107 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   condition the available information indicates there are specific areas and stream reaches that are
   impacting macroinvertebrates.

       10. Lack of stressors that reduce or truncate stream connectivity and aquatic
           habitat quality.
   A thorough evaluation of watershed condition framework rankings for all subwatersheds on the Forest
   was conducted in Assessment 2 (Bevinger 2015). Although primarily subjective, the watershed condition
   framework process does offer an opportunity to compare condition rankings across the Forest. When
   looking at overall watershed condition across the Rio Grande Forest one-half of the 152 watersheds rated
   in 2011 are functioning properly, 49 percent are functioning at-risk, and only one watershed has impaired
   function. Attribute and indicator ratings for three of the four process categories - aquatic physical, and in
   particular, aquatic biological and terrestrial physical - are the driving influences behind the overall
   condition scores. In regards to aquatic habitat quality, 66 percent of the subwatersheds were ranked as
   good, 28 percent as fair, and 6 percent as poor. There are no fragmentation concerns on 78 percent of the
   subwatersheds, while another 15 and 7 percent were ranked as fair to poor, respectively.

   Sixteen of the twenty-four attributes in the watershed condition framework process are the principle
   influences on overall watershed condition. These are water quality, channel shape and function, native
   species, exotic and/or aquatic invasive species, vegetation condition, open road density, road and trail
   maintenance, proximity to water, soil productivity, soil erosion, soil contamination, fire regime condition
   class, rangeland vegetation condition, extent and ratio of spread, and insects and disease. The primary
   human stressors associated with these rankings and the greatest current and potential threats to watershed
   and water resource integrity across the Forest involve surface disturbing activities such as timber harvest,
   grazing, mining, recreation developments, road construction, and off-road motorized use. These effects
   can be direct, indirect, or cumulative. The scientific literature that supports this is voluminous but can be
   summarized by stating the effects are due primarily to soil erosion and compaction in uplands and riparian
   areas, changes in the amount of water and sediment delivery to streams and wetlands; and associated
   adjustments then made by the stream systems. The literature also clearly shows that applying best
   management practices (BMPs), can mitigate the effects of land use, allowing for watershed protection.

   In terms of natural stressors, the current outbreak of spruce bark beetle has now influenced over 588,000
   acres of high-elevation spruce-fir forest (2015 data) and incurs the most debate regarding potential
   influences to water and aquatic habitat attributes. As noted in Assessment 2, because spruce stands grow
   in areas of the Forest with the greatest precipitation and because evapotranspiration rates are higher in
   spruce than other conifer types, there is potential for increased stream flow from bark beetle activity.
   Historical watershed studies have shown that manipulating conifer vegetation, e.g., timber harvest, can
   lead to measurable and detectable increases in streamflow at the sub-watershed scale (MacDonald and
   Stednick 2003). However, timber harvest results in the removal of biomass so comparing beetle kill to
   timber harvest is not entirely appropriate. In other words, both types of disturbance change the
   evapotranspiration component of the water cycle but interception and evaporation processes change less
   under beetle kill.

   More recent watershed studies, conducted after the start of the current beetle infestations, have detected
   no consistent changes in streamflow (Gordon and Ojima 2015). However, much of this work has been in
   lodgepole pine stands, which grow in areas of lower precipitation; additionally evapotranspiration
   demands of this forest type are less. Modeling efforts of bark beetle infestation indicate there may be a 5
   to 10 percent increase in runoff. Such a small change may be real but watershed studies have shown that
   an increase of at least 15 percent is necessary to detect the change at the sub-watershed scale (MacDonald
   and Stednick 2003). Without specific studies on the Forest, it is unknown if recent insect activity has



                          Rio Grande National Forest - 13 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000107
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 108 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   changed evapotranspiration rates that will affect stream flows. Once they fall, however, the dead spruce
   should contribute significantly to the amount of downed wood in the systems.

   Description of Natural Range of Variation (or Alternative
   Approach) (12.14a or b):
   The reference models or conditions we use for describing the natural range of variation for the various
   riparian and aquatic ecosystems on the Rio Grande National Forest and elsewhere are not well defined. In
   our 1996 Forest Plan, we used reference streams to monitor and inform stream health, but did not address
   many of the other various aquatic systems on the Rio Grande National Forest, nor the ecological
   components that maintain them. However, the reference stream information we have suggests that most
   streams and riparian systems on the Rio Grande National Forest are in good to excellent condition.

   The multi-metric ecological integrity assessment utilized by the Colorado Natural Heritage Program
   during the 2012 wetlands assessment provides a sound alternative approach to assessing whether the
   integrity of an ecosystem is being maintained (Lemly 2012). Using this method, A ranks indicate
   reference conditions (no or minimal human impact), B ranks indicate slight deviation from reference, C
   ranks indicate moderate deviation from reference, and D ranks indicate significant or severe deviation
   from reference. Nowhere on the Rio Grande National Forest, has an ecological integrity assessment rank
   of D. Of the 77 various wetlands surveyed, 41 were A-ranked, 32 were B-ranked, and 4 were C-ranked.
   A-ranked systems occurred primarily in the alpine and subalpine zones, with lower elevation sites more
   likely to receive B-ranks. However, a few wetlands are ranked C due to stressors including grazing,
   hydrologic modifications, and surrounding land use activities. Riparian shrublands, wet meadows, and
   fens were most of the A- and B-ranks, with riparian woodlands and marsh slightly lower ranks. It is also
   important to note that some riparian ecosystem types, such as those associated with man-made reservoirs
   or low-elevation riparian woodlands, are not well-represented in the sites sampled for the ecological
   integrity assessment index.

   Other available information, such as the Watershed Condition Framework, portray a different scenario.
   For example, almost one-half of the watersheds on the forest are functioning at-risk due to rangeland
   vegetation condition concerns and four watersheds have impaired function due to rangeland vegetation
   condition concerns. (See Assessment 2). This suggests that there are deviations from the stream reference
   conditions we used to assess natural range of variation in the 1996 Forest Plan.

   Assessment of Status and Trends (12.14c):
   The quantitative information we have regarding the status and trends of riparian and aquatic systems on
   the Rio Grande National Forest is limited, with data gaps evident at this time in regards to some desired
   attributes. However, the current available information suggests these types of ecological systems, and the
   key ecological characteristics that maintain them, are for the most part healthy and functioning. The
   ecological integrity assessment method we used to assess a sample of mapped wetlands and aquatic
   habitats across the forest serves as an adequate reference model for some, but not all, ecosystem integrity
   attributes. Information we have regarding the status and trends of key ecosystem characteristics on the
   Rio Grande National Forest includes the following:

   •   The dominant key ecosystem characteristics and associated physical, chemical, and biological
       processes appear to be functioning and retain the ability to contribute to the long-term integrity of
       existing riparian and aquatic habitats. Although not all systems are represented, the highest integrity
       rankings are associated with high-elevation areas most likely to be associated with low-human use
       impacts. Integrity attributes for some aquatic systems are reduced but remain in good to fair condition



                          Rio Grande National Forest - 14 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000108
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 109 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


       in most lower-elevation areas where human-related activities are more evident. Additional
       information regarding underlying geological, physical, and geochemical processes have been
       developed by Winters et al. (2016) that further describe the expected function of each watershed, and
       the unique sensitivities and opportunities of particular areas.
   •   Some key ecosystem characteristics have been altered from reference conditions, particularly in lower
       elevation areas where human-related activities are more evident. The two major rivers on the forest -
       the upper Rio Grande and Conejos - both have been dammed which influences natural water flows,
       sediment transport, and key ecosystem processes such as pulse flood events important to lower
       elevation vegetation systems such as cottonwood bosques. Some aquatic nuisance species, such as
       chytrid, appear to be spreading, affecting the persistence of native amphibian species. While most key
       ecosystem characteristics appear to be stable and functioning, specific information on potential
       changes is lacking.
   •   Existing barriers to ecological connectivity for aquatic organisms do exist and have been noted in
       other sections of this report. These primarily involve road crossing and culverts, although some
       natural barriers also exist. Some barriers are desirable to discourage interactions with non-native fish
       species. In some cases, human impacts are contributing to stream impacts.
   •   The current information suggests that key ecosystem characteristics in high-elevations are secure,
       even if rare, while some low-elevation characteristics may be vulnerable to environmental changes,
       particularly in combination with certain management influences. For example, low-elevation riparian
       cottonwood is rare and also vulnerable given the activities associated with low-elevation stream
       systems.
   •   Restoration activities are desirable in mid- to lower elevations. Focused management of some natural
       and anthropogenic stressors is warranted and has been on-going.
   •   The Rio Grande National Forest includes the very headwaters of the Rio Grande River system, which
       is important to supplying many downstream ecosystem services. Broader landscape perspectives
       involving certain stressors and drivers are applicable.
   •   Trends are an information gap for certain riparian and aquatic ecosystem characteristics.

   Assessment of Riparian Areas and Groundwater-dependent
   Ecosystems (12.14d)
   The Rio Grande National Forest covers 1.83 million acres in south central Colorado and contains the very
   headwaters of the Rio Grande River. The Forest’s diverse geography creates a template for equally
   diverse wetlands, which provide ecological services to both the Rio Grande National Forest and lands
   downstream. Though now recognized as a vital component of the landscape, many wetlands have been
   altered by a range of human land uses since European settlement. Across the Rio Grande National Forest,
   mining, logging, reservoir construction, water diversions, livestock grazing, and recreation have all
   impacted wetlands. In order to adequately manage and protect wetland resources on the Rio Grande
   National Forest, we need reliable data on their location, extent and current condition.

   Between 2008 and 2011, Colorado Natural Heritage Program (CNHP) partnered with Colorado Parks and
   Wildlife on a U.S. Environmental Protection Agency (EPA) funded effort to map and assess the condition
   of wetlands throughout the Rio Grande Headwaters River Basin which includes the Rio Grande National
   Forest. Existing paper maps of wetlands created by the U.S. Fish and Wildlife Service’s National Wetland
   Inventory Program were converted to digital data. In addition to the mapping, 137 wetlands were
   surveyed across the Rio Grande Headwaters basin using condition assessment methods developed by the
   Colorado Natural Heritage Program over the past decade. Of the wetlands surveyed, 52 were located on


                          Rio Grande National Forest - 15 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000109
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 110 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   the Rio Grande National Forest in 10 different watersheds. To supplement the EPA-funded study, the U.S.
   Forest Service provided funding through a challenge cost share agreement for additional wetland
   sampling on the Rio Grande National Forest to develop more comprehensive information about types,
   abundances, distribution, and condition of the forest’s wetlands. Through this agreement, 25 additional
   wetlands on the forest were surveyed and all data from the Rio Grande National Forest were summarized.

   Based on digitized National Wetland Inventory mapping, there are 42, 862 acres of wetlands and water
   bodies found within the Rio Grande National Forest, of which lakes and rivers comprise 4,687 acres or 11
   percent. This estimate for wetlands and water bodies represents approximately 2 percent of the total area
   in the Rio Grande National Forest. Slightly over half (55 percent) of the national wetland inventory
   mapped acres are freshwater herbaceous wetlands. Shrub wetlands make up another 30 percent. When
   broken down by hydrologic regime, saturated wetlands, saturated wetlands are the most common,
   comprising 73 percent of national wetland inventory acres. Within the forest, 82 percent of all lakes are
   mapped with a dammed/impounded modifier, indicating that most lakes are reservoirs of one kind or
   another. Beavers influence only 4 percent of all wetland acres, but 23 percent of ponds are mapped as
   beaver ponds and 6 percent of shrub wetlands are mapped with beaver influence. Sixty five percent of all
   national wetland inventory acres occur in the subalpine ecoregions, which make up roughly the same
   proportion of the Forest’s land area. Another 29 percent of national wetland inventory acres occur in the
   alpine zone. Lower elevation zones contain very few wetland acres.

   In total, 77 wetland sites were surveyed across the Rio Grande National Forest, including 30 riparian
   shrublands, 27 wet meadows, 17 fens, 2 riparian woodlands, and 1 marsh. Nearly 500 plant taxa were
   encountered during the surveys, including 445 identified to species level. Of the 445 species identified,
   420 (94 percent) were native species and 25 (6 percent) non-native species. Noxious weeds, an aggressive
   subset of non-natives, were present in only four plots.

   Wetland condition measures indicate that wetlands on the Rio Grande National Forest are in excellent to
   good condition. Floristic quality assessment indices were high for most wetlands surveyed, though did
   vary by both elevation and wetland type. Ecological integrity assessment scores rated most wetlands with
   an A- or B-rank, indicating that wetlands were either in reference condition or deviated only slightly from
   reference condition. A handful of wetlands received C-ranks, due to stressors including grazing,
   hydrologic modifications, and surrounding land use.

   System Drivers (12.31)
   The ecological driver assessment of Winters et al. creates a multi-scale approach that assists with
   prioritizing ecological land units including watersheds, vegetative communities, and geomorphic settings.
   Identifying the major ecological drivers important for assessing aquatic, riparian, and wetland resources
   within a geographic area can help us determine the spatial distribution and levels of productivity for these
   various systems, and aid in our future planning and management decisions.

   We chose five ecological drivers to describe the setting for aquatic, riparian and wetland resources on the
   Rio Grande National Forest (Wohl et al. 1981). These include:

   1. Geochemistry: (calcareous, non-calcareous, or salt bearing)
   2. Sediment production based on geology: (fine, moderate, or coarse)
   3. Dominant hydroclimatic regime: (rain and snow, or snowfall)
   4. Stream gradient: high ( over 4 percent), medium (2 to 4 percent), or low (under 2 percent)
   5. Glaciation: (glaciated, or non-glaciated).



                          Rio Grande National Forest - 16 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000110
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 111 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Geology/Geochemistry:
   The Rio Grande National Forest is similar to most areas of the Rocky Mountains in that non-calcareous
   geology dominates the landscape. Non-calcareous geologies do not contain significant amounts of
   calcium carbonate. They include igneous rocks; sedimentary rocks, such as shale, sandstones, mudstones,
   and siltstones; and metamorphic rocks derived from non-calcareous parent rocks, such as gneiss, schists,
   and quartzites. These geologies do not have properties that increase aquatic productivity by themselves,
   and are the most abundant type of geology in the Rocky Mountains. Through the chemical actions with
   other compounds, igneous geology can result naturally in slightly to highly acidic waters. However, non-
   calcareous geologies can support highly productive aquatic environments where stream gradients,
   hydroclimatic conditions, and other factors are associated. Non-calcareous geology can also have
   implications for erosion potential and sediment delivery.

   In contrast, calcareous geology tends to be highly productive for plants, benthic macroinvertebrates and
   fish as well. Given the inherent solubility of calcareous bedrock, its porous nature is often associated with
   springs, creating areas of unique wetland habitats. Calcareous bedrock tends to raise the pH of the
   ambient water and produce carbon dioxide for photosynthesis and stabilizing temperatures, it also often
   supports rare taxa and taxa outside their normal ranges (Hynes, 1970). The Rocky Mountains contain a
   limited amount of calcareous geology, making its presence unique and important for aquatic, riparian and
   wetland ecosystems. Calcareous geology is also uncommon on the Rio Grande National Forest, and the
   few areas that do contain it should be investigated to identify rare taxa, springs and associated streams for
   native trout restoration. On the Rio Grande National Forest, these areas include the northern and western
   portion of the Sangre de Cristo Mountains from approximately Crestone Peak northward to the Hayden
   Pass area, and two smaller areas in the southern Sangres near Carbonate Mountain and California Peak.
   The other area of identified calcareous geology on the Rio Grande National Forest is a small area of
   National Forest System land to the west of Villa Grove.

   Geology/Sedimentation:
   The geology and related processes that have occurred on and around the Rio Grande National Forest have
   resulted in two distinct zones of sediment size. This distinction is due in large part to the “pulling apart”
   of the valley by the Rio Grande Rift, and abundant volcanic activity that occurred about 30 million years
   ago. Sediment produced on the east side of the forest in the Sangre de Cristo Range is coarse due to a mix
   of sedimentary conglomerates, shales, and igneous intrusions. This material is more difficult to move with
   stream and overland water flow. However, when moved by erosion processes it will settle in wetlands,
   pool habitats and riparian areas. Once excess sediment is deposited in these low-energy areas, it becomes
   extremely difficult for streams and wetlands to remove it, so it can modify aquatic habitat and fill in
   wetlands and riparian areas. In contrast, the sediment produced by the volcanic activity on the west side
   of the valley in the San Juan Mountains is generally fine to medium in size and consequently easier to
   move with water. However, it still takes some energy to move fine sediments from low-gradient stream
   systems where they settle, and deposit them on floodplains as occurred historically. This process can be
   constrained by roads, trails, and other human activities that disrupt or impede the movement of water in
   low-gradient stream systems.

   Hydroclimatic Regime:
   Annual precipitation across the forest varies from 12 inches at lower elevations to over 50 inches at
   higher elevations. Generally, precipitation increases 4 to 6 inches for each 1000-foot gain in elevation. In
   the 12 to 18 inch zone (roughly 8,000 to 9,000 feet), most, if not all, the precipitation is taken up
   satisfying evapotranspiration demands so little to no runoff is generated; an exception can be when
   intense summer thunderstorms cause overland flow. Above 9,000 feet the forest is considered a snow-
   dominated system where the majority of the annual precipitation falls as snow, while the remainder is


                          Rio Grande National Forest - 17 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000111
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 112 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   from late spring to early fall rains. Summer thunderstorms can produce short-duration, high-intensity
   precipitation.

   The majority of the Rio Grande National Forest is located in the snow-dominated elevation zone. Aquatic
   productivity is relatively low at these high elevations, although aquatic species of plants can thrive if
   food, habitat and other limiting factors are not reduced significantly. Relatively short growing seasons and
   low temperatures for fish can result in failed spawning efforts. Connectivity, adequate water and timing,
   habitat and temperature are major limiting factors for aquatic and semi-aquatic taxa. Ensuring that
   important natural conditions of ecosystem elements maintaining the conditions for these taxa are critical
   for the continued survival of water-dependent species and ecosystem services such as angling.

   There may be a rain and snow dominated zone at the headwaters of subwatersheds that originate at the
   lowest elevations of the Forest (Winters et al. 2016). These areas may contain plants and animals that are
   more representative of the valley floor. In addition, wetlands may also have different form and function if
   precipitation and resulting overland flow is modified. Given that the lower elevations of the valley receive
   little annual precipitation (approximately 8 inches per year), stream channels would be expected to be
   ephemeral or intermittent depending on the presence of groundwater. Wetlands would also be dependent
   on groundwater reaching the surface where rooting would allow wetland plants to exist.

   Stream Gradient:
   Stream gradient influences stream power, aquatic productivity, erosive capability, localized sediment
   sizes, and floodplain characteristics. As a result, stream gradient dictates the habitat for specific flora and
   fauna.

   Steep-gradient stream reaches are often called “erosional” reaches while low-gradient reaches are called
   “depositional” zones. The sediment that is produced in the erosional zones is deposited in the depositional
   zones, making them indicators of upstream erosion. Indeed, steep stream channels have narrow
   floodplains and banks that are ‘armored’ with large rocks and boulders. They are very resistant to change,
   but move sediment through them, and are corridors for migration for aquatic species. The medium­
   gradient streams can be considered “transitional” reaches and have some of the characteristics of the
   steep- and low-gradient reaches. Low-gradient reaches are sensitive and responsive to upstream activities
   as well as local change. As a result, they typically exhibit changes in channel morphology, temperature,
   in-stream habitat attributes, and sediment accumulation. Their banks are typically comprised of small
   alluvium from upstream and are extremely susceptible to erosion if the deep rooting riparian vegetation is
   removed or damaged. Low-gradient reaches can act as “reservoirs” for storing water in the valley bottom,
   especially if beavers have colonized there. Terrestrial and aquatic animals are often much more abundant
   in low-gradient valleys, as habitat is diverse and abundant. Consequently, activities in the subwatershed
   with low-gradient valleys can have a dramatic impact on those valleys if they produce excess sediment,
   reduce woody material and change discharge dynamics. In addition, local impacts that remove woody
   vegetation, compact riparian soils and damage stream banks can have a profound impact on these
   important areas.

   In the analysis by Winters et al. (2016), 8 of 162 subwatersheds on the Rio Grande National Forest are
   dominated by low-gradient stream systems. This is not unusual for the southern Rocky Mountains
   considering the steep topography and erosional process associated with the landscape. The role of stream
   gradient reaches and their importance could be a valuable tool for future monitoring. Low-gradient
   reaches are sensitive to change, as are the plants and animals that inhabit them. By focusing monitoring
   on these important reaches, species and physical characteristics could be identified and utilized as tools
   for observing change.




                          Rio Grande National Forest - 18 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000112
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 113 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Glaciation and Wetland Development:
   Glaciation has heavily influenced the aquatic, riparian, and wetland development on the Rio Grande
   National Forest. The Rio Grande National Forest contains thousands of acres of high quality wetlands and
   other groundwater-dependent ecosystems that provide essential services to the forest and lands
   downstream. A disproportionately large number of wetlands occur in the glaciated areas of the forest.
   Terminal or lateral moraines often create confined basins where impounded subsurface or surface water
   allow peat accumulation (Windell et al. 1996; Cooper 1990; and Cooper 2005), and kettle ponds promote
   fen formation along the fringes. In addition, glaciation has created wide, relatively level mountain valleys
   where large wetland complexes tend to form (Rocchio 2006). Understanding wetland occurrence in
   relation to the geomorphology of the forest can help guide our forest planning and management decisions
   pertaining to aquatic ecosystem sustainability, restoration, and climate change resilience. High mountain
   wetlands in glaciated areas are fundamentally different from wetlands occurring at lower elevations that
   were never glaciated (Cooper and Lee 1987).

   Stream Density Analysis:
   There are 23 subwatersheds completely the Rio Grande National Forest that are in the highest quantile for
   stream density, and several others mostly inside forest boundaries. There appears to be a high correlation
   between elevation and the high stream-density subwatersheds. The San Juan and Weminuche Wilderness
   areas have high densities of streams that may be beneficial for native fish and amphibian recovery. In
   addition, these subwatersheds are less managed and could continue to provide colder water to lower
   elevations, especially if the effects of climate change increases water temperatures at lower elevations.
   Stratifying the forest by stream density presents us with several important management considerations
   and options. First, these areas could be considered the highest priority for stream and riparian related
   management if other ecological conditions are not an issue. The relatively high number of these
   subwatersheds in the western part of the forest should be more productive, because of the characteristics
   of volcanic soils that make them highly productive.

   Summary of the Ecological Driver Cluster Analysis:
   Our analysis found that a total of 7 statistically similar clusters with discernibly different ecological
   characteristics could be identified on the Rio Grande National Forest. The top three cluster characteristics
   and others can be defined as follows:

   •   Approximately 33 percent of the forest (53 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-gradient streams, fine sediments, and a
       snowmelt hydroclimate.
   •   Approximately 32 percent of the forest (52 subwatersheds) can be characterized by the ecological
       conditions associated dominated by non-calcareous geology, high-gradient streams, coarse sediments,
       and a snowmelt hydroclimate.
   •   Approximately 12 percent of the forest (20 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-gradient streams, coarse sediments, and a
       snowmelt hydroclimate. The unique characteristic of this cluster is the considerable portion of
       streams containing low to medium gradients.
   •   Approximately 9 percent of the forest (14 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-gradient streams, coarse sediments, and a rain
       and snow (72 percent) and snowmelt (30 percent) hydroclimate.
   •   Approximately 8 percent of the forest (12 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-gradient streams, fine sediments, and a


                          Rio Grande National Forest - 19 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000113
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 114 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


       snowmelt hydroclimate. The feature that separates this cluster from others is the high abundance of
       fine, volcanic soils that could be associated with erosion potential.
   •   Approximately 6 percent of the Forest (10 subwatersheds) can be characterized by the ecological
       conditions dominated by non-calcareous geology, high-gradient streams, coarse sediments, and a rain
       and snow (72 percent) and snowmelt (28 percent) hydroclimate.
   •   Approximately 1 percent of the Forest (2 subwatersheds) can be characterized by the ecological
       conditions associated dominated by a calcareous geology, high-gradient streams, coarse sediments,
       and a snowmelt hydroclimate.

   Man-made Stressors
   Man-made stressors can directly or indirectly degrade or impair key ecosystem characteristics important
   to aquatic habitat values. Several of the stressors listed and described below are also included in other
   assessments that may contain additional information.

   Stressors Associated with Water Use:
   Water originating from the Rio Grande National Forest is nationally recognized for its importance to uses
   and values to downstream users in the San Luis Valley and beyond. Both surface and ground water are
   highly valued on and off the forest and support numerous uses. Important man-made stressors associated
   with water use include:

   Stream Diversions -
   Stream diversions can seriously reduce instream habitat and migration for aquatic biota, nutrient
   transport, sediment movement and water quality, including temperature (Poff et al. 1997, Wohl, 2001).
   Water diversions during natural low flow periods can completely dewater streams, directly influencing the
   distribution and abundance of aquatic life (Auerbach, et al, 2012). Indirectly, stream diversions can
   influence channel geometry downstream. Peak flows during the annual snowmelt runoff maintain stream
   channels by moving sediment and scouring the streambed (Wohl, 2000). Reducing peak flows in low
   gradient, sinuous stream channels can cause channel narrowing, reduced channel capacity, and less
   overall instream habitat. Physical changes from diverting high flows also affect the organisms that
   evolved under the historical conditions. While the size of a diversion structure may be relatively small on
   the landscape, the influence to aquatic, riparian, and wetland resources may be very large if the
   appropriate issues are not addressed.

   The results of the diversion density analysis conducted by Winters (2016) found that stream diversions are
   common in most subwatersheds on the forest. However, most of the diversions are also adjacent to the
   San Luis Valley floor, where considerable agriculture and subsequent water management occurs. These
   results indicate that a higher percentage of diversions at this scale are either on private land or relatively
   close to the public land boundary. The results indicate that only 7 (4 percent) of the subwatersheds located
   totally within the Rio Grande National Forest or the Great Sand Dunes National Park are without
   diversions. The diversion densities range from 19 to 0 diversions per permanent stream mile, with most of
   the quantile 5 (highest density) being on both public and private lands (32 total). The numbers of
   subwatersheds in quantiles 2 through 5 were almost equally divided. Diversion density in Quantile 5 is
   generally quite high, with 4 subwatersheds having more than 9 structures per mile of stream. The
   abundance of these structures could limit movement and habitat of fish adapted to the lower elevation
   such as the Rio Grande Sucker and chub. Quantile 4 subwatersheds average less than 2 diversions per
   stream mile, and are probably not evenly distributed; leaving connected habitat sufficient to support
   populations of fish and other aquatic organisms, if stream flows and associated water quality are
   adequate.


                          Rio Grande National Forest - 20 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000114
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 115 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   The lowest density of diversions is associated with the South San Juan, Weminuche and La Garita
   Wilderness areas. Diversions associated with these wilderness areas most likely predate the Wilderness
   Act (1964), and/or are on private land outside the National Forest boundary. The two subwatersheds in
   quantile 5 located in the southern portion of the study area are associated with the Conejos River, and
   agricultural land nearby.

   There are 3 subwatersheds in quantile 5 that are located entirely within the Rio Grande National Forest
   boundary. Two of these are associated with the Conejos River, and agricultural land nearby. Another is
   located just southwest of the town of Creede, and contains a large flat area called Seven Parks. There is
   also considerable private land adjacent to the Rio Grande River where diversions associated with haying
   and other uses are occurring. The last subwatershed in quantile 5 is located in the northern portion of the
   Forest. There is little private land in this area, with only small headwater streams present. The area does
   not appear to be used for agriculture, but there are numerous unpaved roads. We need additional
   information to understand the uses associated with the high density of diversions in this area.

   Water Transmission Ditches -
   Water transmission ditches are used primarily to move water from one stream to another, to move water to
   some form of impoundment for later use, or to move water directly to the area where it is to be used (i.e.
   agricultural field). These ditches are important components of infrastructure that permitted Euro­
   American settlers to mine, ranch, and farm in the National Forests and Grasslands of the western United
   States (Wohl 2001).

   There are about thirty other ditches and pipelines that divert water from forest streams for irrigation,
   recreation, and domestic purposes. These uses are not considered major.

   Transbasin Water Diversions -
   Transbasin diversions typically move water through tunnels under the basin divide or through ditches
   intercepting tributaries on one side of the divide and transporting it around mountain peaks into another
   basin. Transbasin diversions can have a whole host of impacts including transporting “new water” to the
   receiving basin. This may facilitate the invasion of non-native fish, plants and animals that may result in
   the loss of native species. Diverting water from one watershed to another can also result in physical,
   chemical, and biological changes to the receiving body of water. Some examples would be channel
   erosion, increased sediment transport, and increased sediment deposition in area reservoirs and stream
   channels. All of these impacts may lead to changes in channel geometry (Wohl 2001). Affected streams
   often exhibit elevated bank erosion, increased width-to-depth ratios, downcutting, and loss of instream
   aquatic organism habitat.

   There are nine trans-basin diversions on the Rio Grande National Forest. Seven of the diversions add
   water to forest streams while the other two divert water from forest streams. All of the diversions are in
   the upper Rio Grande River basin. As a result, species that have evolved in other basins could not be
   inadvertently transferred. The uppermost subwatershed, West Willow Creek is diverted into the Farmers
   Creek subbasin. While Willow Creek exhibits modified stream flows, the receiving portion of Farmers
   Creek should be influenced from increased stream flows, as well as reduced flows at diversions into the
   Blue Creek subwatershed. The Blue Creek subwatershed also receives and diverts flows into the outlet of
   the South Fork of the Rio Grande River.

   The diversion systems on the Rio Grande National Forest comprise a relatively small percentage of the
   permanent stream systems within their boundaries (the largest being 23 percent of the total permanent
   stream length). However, these systems may be moving significant amounts of sediment downstream as a
   result of erosion. Currently, there are no transbasin diversions from other river basins that could transfer


                          Rio Grande National Forest - 21 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000115
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 116 of 406

                                  Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   unwanted species (including pathogens) and very different water chemistry and discharge into the Rio
   Grande system. In the future, transbasin projects identified within, as well as outside, the Rio Grande
   River system should consider the major biological and physical changes that can occur when they are
   implemented. It is extremely expensive to mitigate the effects of these types of projects, especially
   changes within receiving streams.

   Reservoirs/Dams -
   Reservoirs have been constructed in the Rocky Mountains for recreation, power generation, snow making,
   and flood control. The predominant use for reservoirs has been for agriculture and municipal consumption
   (Wohl 2000). Reservoirs were constructed as early as the mid-1800s to help facilitate the timing of
   downstream flows to coordinate with the agricultural growing season in the Rio Grande Valley.

   Much of the surface water in the Rocky Mountains comes from annual snowmelt runoff from mountain
   areas. Consequently, large volumes of water are produced in the late spring and summer months, whereas
   flows are minimal (e.g., baseflow) during the remainder of the year (Wohl 2000). There is a relatively
   short period of time that ‘excess’ water is available in the stream system, while demand for excess water
   extends throughout the year. Reservoirs and water storage allows for a degree of control over where water
   can be stored to meet the demands of downstream users. Reservoirs were constructed west of the
   Continental Divide to meet local municipal and agricultural needs, but many reservoirs have been built to
   store water that is subsequently transferred east of the Divide via transbasin diversion structures. This has
   not been the case in the Rio Grande Valley, where agreements and policies have kept water in the Upper
   Basin.

   Reservoirs can have both beneficial and detrimental effects on aquatic, riparian, and wetland resources.
   Dams clearly have an immediate influence on local conditions, and can influence resources many miles in
   either direction. The most noticeable influence of dams is the artificial lakes they create which inundate
   historic riparian or wetland areas and create a new and different environment. Animal diversity can be
   increased or decreased, depending on the system. For example, while some native species of plants and
   animals may not be able to tolerate the conditions created by reservoirs, some non-native species may
   thrive under those conditions, resulting in competition or replacement of native species. However, they
   are typically replaced with popular non-native recreationally valuable species. Many reservoirs in the
   Rocky Mountains are now dominated by non-native species of fish. While many of these species were
   planted to increase recreational opportunities, several, including the common carp (Cyprinus carpio) are
   undesirable in many areas (Baxter and Stone 1995). The influence of other non-native species, such as
   crayfish (Decapoda), mollusks (Mollusca), and bullfrogs (Rana catesbeiana) may also be significant.

   Dams create barriers to migration of aquatic organisms (Ward and Stanford 1982). Populations of fish and
   other aquatic biota can be isolated upstream of reservoirs, limiting gene flow and potentially affecting
   population viability. In addition, the inability of fish to migrate upstream of a dam can limit their ability to
   reach critical spawning habitat. Overall, dams can severely fragment populations of mobile aquatic
   organisms, effectively creating a series of isolated communities.

   The negative effects of reservoirs on downstream water quality are well documented (Wohl 2001; Allen
   1995; Ward and Stanford 1982; Hynes 1970). In addition, the disruption of the nutrient, sediment, and
   woody debris transport can influence conditions downstream. For example, reservoirs act as nutrient and
   sediment ‘sinks’, limiting the downstream transport of these materials (Ward and Stanford 1982). When
   sediment is sequestered in reservoirs, downstream stream reaches may begin to erode their banks and
   scour their channels. Reservoirs also trap large woody debris, which keeps them from reaching
   downstream stream segments where they would normally influence channel and riparian form and
   function (Maser and Sedell 1994).


                          Rio Grande National Forest - 22 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000116
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 117 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Dam structure and operating practices also affect downstream processes. The temperature and nutrient
   content of water exiting reservoirs may depend on whether water is released from the bottom or top of the
   dam. These effects can be dramatic; and algae, benthic macroinvertebrate, and fish communities can be
   altered significantly (Maser and Sedell 1994). Bottom release reservoirs can increase trout production in
   reaches downstream from reservoir dams because temperature fluctuations are stabilized and food supply
   increases. However erratic flows, gas supersaturation, and reduced spawning success due to low water
   temperatures can sometimes counteract the positive influences.

   There are 21 major reservoirs across the Rio Grande National Forest. The largest of these are the Rio
   Grande Reservoir on the upper Rio Grande River and the Platoro Reservoir on the Conejos River. The
   inundated stream length under reservoirs in the upper Rio Grande basin is a relatively minor part of the
   total permanent stream length. The range of densities was 0 to 0.2 miles of stream inundated for the total
   stream miles within each subwatershed identified on the forest.

   Current reservoir locations and abundance do not appear to be having widespread effects across the Rio
   Grande National Forest. Individual small reservoirs impact localized areas, while dams, both large and
   small, can serve as barriers for recovering native fish upstream. The presence of a dam acts as a barrier
   for non-native fish movement upstream, and the reservoir pool can maintain a “stable” environment for
   native fish.

   In the future, there may be proposals to increase the size of existing reservoirs on National Forest System
   lands. While surface area of modified reservoirs could become larger and inundate more public land, the
   increase in volume could provide opportunities for modifying reservoir releases to improve downstream
   conditions.

   Stressors Associated with Transportation

   Roads:
   Roads are widespread and permanent features of National Forest System lands. Roads and road networks
   under Forest Service jurisdiction can be managed to reduce or eliminate (in some cases) negative impacts
   to aquatic, riparian, and wetland ecosystems. The benefits that accrue to aquatic and wetland ecosystems
   by correctly designing, constructing, and maintaining roads in the National Forests are many. Properly
   designed, constructed, and maintained roads offer the following benefits to streams, riparian areas, and
   wetlands:

   •   reducing soil erosion and sedimentation;
   •   reducing soil compaction;
   •   reducing chemical contaminations of soil and water;
   •   maintaining water quality conditions conducive to supporting aquatic life;
   •   maintaining nutrient cycling in lotic and lentic environments;
   •   supporting the abundance of riparian and wetland plant communities; and
   •   promoting many additional benefits to stream, riparian, and wetland environments.
   Appropriate road and travel management will be necessary on Forest lands, and include managing
   motorized use and removing any class of unwanted road.

   On the Rio Grande National Forest, there are far more subwatersheds with unpaved roads identified in
   valley bottoms (86) than all the other quantile values combined (77) (Winters 2016). Paved roads are



                         Rio Grande National Forest - 23 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000117
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 118 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   restricted to highways bisecting the Rio Grande Valley, both north to south and east to west. While there
   are paved state and county roads on the San Luis Valley floor, there are relatively few on the Rio Grande
   National Forest. The highest density of paved roads was 0.17 miles per stream mile within the Blue Creek
   subwatershed.

   Road crossings can fragment water and riparian ecosystems and isolate populations of plants and animals.
   The result can be population loss if combined with other impacts such as fire or contaminants. In addition,
   if too few individuals are isolated inbreeding can occur, resulting in low reproductive success and
   ultimate elimination. Many fish and wildlife species will not pass through a poorly designed road
   crossing. This isolates fish, and results in road fatalities for terrestrial animals and some amphibians. Fish,
   amphibians, and other wildlife will use properly designed crossings. Fish, aquatic macroinvertebrates and
   some amphibians need stream crossings designed so they can swim upstream or downstream through
   them. Stream velocity, depth, habitat, etc., all need to be considered for proper movement.

   Road crossings on the Rio Grande National Forest are associated with the main travel corridors in the
   basin. The higher values on the east side of the basin are mostly to the west of the Sangre de Cristo
   Mountains, except the Cuchara Pass road. Subwatersheds on the western side of the drainage are mostly
   associated with highway 160, over Wolf Creek Pass and highway 149 thru Creede.

   Unpaved Roads:
   There are far more unpaved than roads in the valley bottoms on the Rio Grande National Forest. While 31
   subwatersheds are in the highest quantile for road density in the valley bottoms (app. 0.4 miles per stream
   miles within the valley bottom), only 12 have no unpaved roads. The lowest densities were associated
   with the wilderness areas in the western part of the forest and the steep Sangre de Cristo Mountains on the
   eastern side. The highest values were in the northern portion of the basin, although unpaved roads appear
   to be common throughout the forest associated with the valley bottoms. While the highest density of
   unpaved roads may appear relatively limited (0.4 miles per stream mile in the subwatershed), it is
   important to note that the valley bottom represents a limited amount of a subwatershed and the overall
   total density is most likely considerably higher if the uplands are included. The density of unpaved roads
   is definitely skewed towards more roads within the basin than less. As mentioned previously, unpaved
   roads in these areas can have significant direct and indirect influences on riparian ecosystems due to their
   position, the need to remove trees that would fall naturally into the stream channel and riparian areas, and
   the way roads restrict lateral stream movement. Instream habitat is compromised over time as a result of
   all of these factors.

   Understanding the influence, both directly and indirectly on aquatic and semiaquatic systems, of unpaved
   roads is paramount to healthy ecosystems. Those subwatersheds that are located in quantiles 4 and 5
   could be considered priorities for evaluation and subsequent treatment if high-value aquatic resources are
   identified. Low-gradient reaches previously identified as ecological drivers could be considered the
   highest priority due to their relatively large riparian areas, sensitivity to temperature changes, natural
   water storage capacity in the alluvium and abundant instream habitat. By focusing on low-gradient
   reaches as a high priority, more than 50 percent of the stream reaches could be considered lower priorities
   until low-gradient areas are more resilient.

   Unpaved Stream Crossings:
   Stream crossings are associated with most unpaved roads in the valley bottoms. Historically these
   crossings were fairly primitive, being constructed of corrugated culverts, stream fords or small bridges.
   The results of this analysis display values ranged from 0 (15 subwatersheds, under 10 percent) to 1.3
   crossings per stream mile in the West Fork of Pinos Creek subwatershed. A total of 20 of the 30
   subwatershed within quantile 5 are located totally within the Rio Grande National Forest. These results


                          Rio Grande National Forest - 24 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000118
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 119 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   are considerable different than the paved road results and indicate a relatively high number of unpaved
   roads associated with valley bottoms and associated streams and riparian areas. While not equally
   distributed, there are likely areas that are considerably more concentrated than others.

   Road systems have been developed on National Forest administered lands for a number of management
   related activities. As a “multi-purpose management” agency, densities could be higher than on adjacent
   lands where management is not as diverse. Historic and current vegetation management, grazing, water
   development and access for recreation all require transportation routes to access specific areas. Often
   these roads are maintained, with other roads eventually built to access new sources of interest. Past
   maintenance and construction techniques reflect the prevailing lack of knowledge regarding the
   ecological importance of connectivity within riparian and aquatic ecosystems at the time.

   Due to many limitations, we would need to prioritize important subwatersheds for passage issues using
   the results of the ecological driver analysis, and proposed fish and other riparian reintroductions. In many
   areas we have relocated road systems where crossings are unneeded. Due to our limited funds, it is
   extremely important that we focus on the most important areas first. In addition, over time we can reduce
   the funds needed to rebuild damaged crossings as maintenance costs would go down significantly. There
   could be new areas for reintroducing native fish that would benefit greatly by removing barriers to
   movement and help restore populations.

   Proposed new roads should be engineered in accordance with current science and applicable management
   values for the area related to erosion, fragmentation and restoration. We also need to identify high priority
   areas where construction could be more sensitive to valley floor ecology and species needs as well. There
   are currently building specifications that include sensitivity to important values on public lands. The
   incorporation of new design criteria to ensure proper stream function and biological processes are now
   available and should be considered in these designs.

   Trails:
   The results of our forest trail analysis indicate that most identified trails are located in designated
   wilderness areas with the highest density located in the South Fork Saguache Creek and North Fork
   Conejos River. There are 79 subwatersheds without trails, which is by far the highest number of any
   quantile (0.16 miles per stream mile in the valley bottom per subwatershed). These results imply that
   there are few trails in the valley bottom. However, in analyzing the GIS, we see that a large percentage of
   the few trails there are, are located adjacent to streams. An example would be the Ute Creek system of
   trails in the Weminuche Wilderness (USDA Forest Service Recreation Map). Trail systems exist along all
   major tributaries and the mainstem from its confluence with Rio Grande Reservoir to the Continental
   Divide and high elevation lakes almost 9 miles to the west. The large number of tributaries is reflected in
   the low density value. The area around the community of Crestone, and the popular “Crestone Needles”
   located on the Pike San Isabel National Forest also contains subwatersheds in the highest 2 quantiles, due
   to the steep topography and lack of roads. This is a popular area for recreationists during the summer
   months.

   There are benefits that accrue to aquatic, riparian, and wetland ecosystems if land managers properly
   design and maintain (e.g., best management practices) trail systems. The primary benefits to aquatic
   ecosystems are reduced local degradation to these ecosystems due to trail construction, trail use, and trail
   maintenance; and increased difficulty in introducing invasive species. Riparian and wetland vegetation is
   effective in reducing erosion and sedimentation in streams and in retaining soil moisture. Plant-root
   networks provide soil stability and soil cohesion.




                          Rio Grande National Forest - 25 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000119
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 120 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   OHV Use:
   Of the 163 subwatersheds on the Rio Grande National Forest, 113 (about 70 percent) do not have trails in
   the valley bottoms, and most are at lower elevations. There are 11 (about 7 percent) in the highest
   quantile, one of which is the headwaters of La Garita Creek in the south west portion of the forest. All the
   other trail systems have relatively few miles of trail in the valley bottoms. These results are based on
   identified trails identified by the Rio Grande National Forest and do not include user developed trails that
   could be present. As in all of the transportation, user created roads and trails are typically present, and
   enforcement is limited. However, the limited amount of trails in the valley bottom indicates that this use is
   probably limited and isolated.

   Based on our assessment results there are few trails in the valley bottoms. That does not mean that there
   are not isolated areas where OHV use could be causing resource damage. As with all forest uses, OHV
   use should be monitored to ensure streams and wetlands are not compromised. Discussions of opening
   new trails to OHV use should consider the monitoring, maintenance and ecosystems in these areas. OHV
   technology continues to improve; with increased size, horsepower, speed, and aggressive tread designs;
   increasing the potential for resource damage. However, not all OHV use is damaging. OHV groups
   maintain many areas where they enjoy riding, and like many other activities, a limited few unethical users
   can potentially impact aquatic resources.

   Additive Influences of the Transportation Group:
   One subwatershed had no transportation activities identified within its boundaries. There is a trend toward
   less motorized activity associated with wilderness areas in the western and a portion of the northern part
   of the forest. Most of the highest additive levels (quantiles 4 and 5) are found associated with areas of
   higher populations such as Creede, South Fork and Del Norte. These results could be artifacts of early
   development to access natural resources needed to maintain infrastructure; and in the case of Creede; to
   access mining areas.

   The results of the transportation category show that transportation routes are located throughout the valley
   bottoms of the Rio Grande National Forest. These activities have occurred for the last 200 plus years,
   beginning with primitive trails to wagon trails, to a wide range of transportation routes. Our results
   indicate that the cumulative ranks of transportation is highly skewed towards more than less activities,
   showing that the conditions within valley bottoms are conducive to transportation development. Future
   considerations could be given to limiting routes in these sensitive areas, as well as ensuring that the
   processes for maintaining healthy riparian areas and streams, and natural storage in low gradient reaches
   are maintained. In addition, as discharge levels should become more variable, maintaining the quality of
   water related habitats, and reducing the effects of flooding on infrastructure is going to be important.

   Recreation: Developed Recreation Sites
   Recreation camp sites are often located in valley bottoms to afford visitors direct access to water related
   activities as well as the aesthetic value of streams. Often, however, these sites impinge on riparian areas,
   can cause erosion and damage stream function. The severity of effects is relative to the amount of use and
   the location of the sites. Out of a total of 163 subwatersheds evaluated, 118 or 73 percent of the
   subwatersheds evaluated have no developed recreation sites in the valley bottoms. Most of the higher
   densities (albeit very few) are in subwatersheds that include the Rio Grande and South Fork of the Rio
   Grande Rivers, mainly due to the high recreation use such as fishing.

   The relatively “flat” nature of valley bottoms as well as close proximity to water have made building
   developed recreation a high priority. However, sites are increasingly being located away from direct
   contact to riparian areas and streams. One of the problems is that valley bottoms are often relatively



                          Rio Grande National Forest - 26 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000120
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 121 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   small, and roads bisect the area. Crossing roads to enjoy the activities associated with the streams leads to
   unsafe conditions that are often difficult to mitigate. Enclosed toilets that do not seep into streams and
   associated water tables are a major advancement in design. Locations away from active riparian areas still
   within the valley bottom allow streams to migrate laterally and discourage trailing. While flooding can
   still be an issue with large events, more thought and planning is being given to location. In the valley
   bottoms, the closer developed recreation sites are to active riparian and streams, the more likely that some
   resource damage could occur. Areas identified outside of valley bottoms would be easier to maintain, and
   have less risk to aquatic ecosystems and from flooding.

   Ski Areas -
   Only one active ski area is currently located within the Rio Grande National Forest, Wolf Creek Ski Area
   at the top of the South Fork of the Rio Grande River.

   Ski areas are generally considered a culmination of human activities. Sediment from large parking lots
   often enter stream channels, snow making requires water at times when very limited water is available in
   streams, nutrients and chemicals enter streams from deicing practices, treated sewage and other sources,
   etc. While recreational skiing is one of the highest use activities in the state of Colorado, careful
   consideration should be taken to ensure that impacts to high elevation wetlands and other aquatic
   ecosystems are not encouraged. Glaciated valleys, identified in the ecological driver section as having
   high densities of wetlands are a major concern as they are often targeted for development. Sediment
   runoff can also be routed to settling ponds before they reach stream channels where they settle and can
   considerable ecological damage.

   Stressors Associated with Biological Considerations
   Aquatic Nuisance Species:
   Weed free hay is one technique that has been used to minimize invasive plants from entering wilderness
   areas. Using a similar idea for stocking trout in wilderness areas and other water bodies within Forest
   boundaries is also an important topic to be discussed with partners.

   Because aquatic invasives are typically transferred by recreational equipment such as boats, wading boats
   and other items that carry water from one body of water to another, education on decontamination and
   inspections at high volume reservoirs are crucial. Other equipment that has the potential to transfer water
   from one infected water body to another, such as firefighting equipment, need to be identified and
   techniques used to ensure invasives are not transferred.

   Influence of Beaver:
   Beaver (Castor canadensis) are habitat-modifying keystone species in lotic, riparian, and wetland habitats
   (Butler 1995; McKinstry et al. 2001; Collen and Gibson 2001), and their dam-building activities can
   influence a large proportion of a given watershed and landscape (Naiman et al. 1988). Beaver are an
   integral part of most headwater stream ecosystems in the Intermountain region (Wohl 2001), where their
   activities can alter stream channels and riparian zones and affect basic processes such as nutrient cycling
   (Naiman et al. 1988; Naiman et al. 1994). Beaver impoundments generally have a positive effect on
   aquatic, riparian, and wetland habitats because they:

   •   elevate water tables and enhance riparian vegetation (Olson and Hubert 1994),
   •   create deeper water habitats with velocity and thermal refugia (Hagglund and Sjoberg 1999),
   •   decrease water velocities and promote sediment retention (Naiman et al. 1988),



                          Rio Grande National Forest - 27 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000121
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 122 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   •   improve water quality by facilitating riparian habitats that intercept nutrient and chemical
       contaminants (Olson and Hubert 1994), and
   •   increase upstream water storage to buffer against floods and summer droughts (Olson and Hubert
       1994).
   These beaver-induced hydrological and biogeochemical changes also affect aquatic, riparian, and wetland
   biota. For example, beaver ponds exert strong influences on aquatic invertebrates (McDowell and Naiman
   1986; Clifford et al. 1993; Margolis et al. 2001), fishes (Snodgrass and Meffe 1998; Hagglund and
   Sjoberg 1999), herpetofauna (e.g., amphibians and reptiles: Russell et al. 1999; Metts et al. 2001), and
   birds (Brown et al. 1996; McKinstry et al. 2001).

   Beaver impoundments often facilitate sediment deposition and storage (Wohl 2001), but in their absence,
   sediment might be transported further downstream and be deposited in crucial fish spawning habitats.
   Rocky Mountain region hydrographs are likely affected by loss of beaver impoundments because water
   storage capacity in first through fourth order streams is reduced. Thus, water is delivered more quickly in
   the absence of beaver dams, rather than being slowly released to buffer against periods of low flow.

   Researchers at the University of Wyoming identified habitat suitability characteristics necessary for the
   colonizing of beavers in mountain streams. They modeled suitable beaver habitat using GIS (Olson and
   Hubert 1994). Model parameters used existing vegetation information, and National Hydrography Dataset
   stream layers included:

   1. Gradient up to 4 percent
   2. Within 200 meters of aspen or willow vegetation type
   3. Stream order less than 4
   Stream reaches that had high correlation with these variables were mapped on a 1:24,000 scale and
   densities were calculated on a total stream mile bases for each subwatershed. Beavers have been trapped
   in irrigation systems on the valley floor by the Colorado Parks and Wildlife and periodically transplanted
   into Rio Grande National Forest streams (Randy Ghormley, Forest Fish and Wildlife Program Manager,
   pers. comm.). Approximately 22 subwatersheds are located within the National Forest and National Park
   boundaries, several relatively far from private lands or the valley floor. Further evaluation at the site or
   reach level would ensure survival, low migration and reduced conflicts if the beavers migrated from the
   area.

   Only one subwatershed on the Rio Grande National Forest has no adequate beaver habitat, and is located
   in a steep portion of the very southern edge of the National Forest and beyond. Based on these analysis
   results, there is an opportunity for beaver to play a major role in achieving watershed health objectives on
   the Rio Grande National Forest.

   Grazing:
   The reference condition prior to European settlement included effective populations of ungulate
   predators. Human manipulation of ungulate and predator populations is a significant stressor on
   watershed, riparian, and stream channel function. Ungulates without effective predators are known to
   overgraze the riparian vegetation necessary to provide bank stabilization and a food source for beavers.
   Willows (Salix spp.), alders (Alnus spp.), and quaking aspen (Populus tremuloides) are often browsed to
   an extent that recruitment levels fail to sustain a resilient system. Deciduous components are
   preferentially consumed allowing conifer encroachment (Roger and Mittanck 2014). This results in a
   cascading effect that reduces soil organic carbon, which reduces the soil’s water holding capacity
   (Shepperd et al. 2006; Woldeselassiea et al. 2012), which promotes warm season bunchgrasses over cool


                          Rio Grande National Forest - 28 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000122
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 123 of 406

                                  Rio Grande National Forest -Assessments 1 and 3
                       Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   season bunchgrasses. Eventually, overgrazing removes bank stabilizing vegetation, creating channel
   downcutting and a dysfunctional floodplain (Beschta and Ripple 2006).

   Livestock grazing has the potential to significantly influence riparian, wetland, and aquatic resources if it
   is not managed properly (Binkley and Brown, 1993). There are numerous references to document these
   potential influences, although most discuss impacts from improper rather than proper grazing
   management (Kauffman and Krueger 1984; Buckhouse 1981; Meehan and Platts 1978; Binkley and
   Brown 1993; Larson et al. 1998). Livestock grazing be a tool for positive effect when managed properly
   and when focused on meeting well defined interdisciplinary objectives. Grazing can:

   •    stimulate new growth of both herbaceous and woody species;
   •    increase total production;
   •    provide increased palatability and nutrient quality to other animal grazers;
   •    increase herbaceous plant density, and
   •    alter habitat structure and composition to meet specific species objectives (such as managing for
        specific threatened or endangered species habitats or alteration of habitat relationships to favor certain
        species) (Krueger and Anderson 1985).
   See the Multiple Uses Assessment for more information on range, including allotments and stocking
   densities.

   When evaluating the influences of livestock grazing at the reach/site scale, the following data collection
   methods should be considered:

   1.       Residual stubble height over time.
   2.      Green-line cross-section and woody retention on selected reference areas of interest.
   3.       Invasive species inventory relative to livestock grazing influences.
   4.       EPA stream bank stability rating relative to livestock influences.
   5.       Proper functioning condition assessment as the findings relate to livestock management practices.
   6.       Channel morphology changes relative to livestock influences.
   7.       Water quality and/or macroinvertebrate indexes as the findings relate to livestock management
            practices.
   8.       Degree to which terms and conditions from the grazing permit (and associated plans or
            instructions - such as allowable use, pasture timing requirements, etc.) are met.
   Historically, improperly managed livestock grazing impacted many landscapes. In some instances, these
   impacts have persisted through time and can be seen in down cut stream channels and altered plant
   communities, especially on low gradient riparian hardwood communities. For the most part, current
   influences of livestock grazing are localized and are limited on a landscape basis. However, certain
   aquatic, riparian, and wetland areas continue to show impacts. Frequently these are the lower gradient
   areas both with historical carry-over effects and/or current influences from other human activities
   (recreation, forest management, road management, big game, invasive species, and so forth).

   Seeps and Spring Developments:
   See information in section 12.14. Also see climate change section, below.




                           Rio Grande National Forest - 29 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000123
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 124 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Timber and Vegetation Management:
   Timber management and associated activities (such as roads associated for timber management) can have
   an influential effect on aquatic habitats and species. Sedimentation is a key concern associated with
   timber harvest and road use. Project design criteria associated with the Water Influence Zone are intended
   to eliminate or minimize sedimentation risks. However, the application of streamside buffers and other
   design criteria needs to be flexible to incorporate various stream functions depending upon the type of
   stream and stream gradient involved. For example, lower-elevation stream gradients can be more
   sensitive to man-made stressors and sedimentation risks than higher-gradient streams, and may warrant
   additional considerations to maintain floodplain function. Timber management can also directly influence
   recruitment of downed logs and woody material into streams and along floodplains, which is critical for
   stream function and aquatic habitat integrity. We need to ensure that wood recruitment remains a key
   ecological process of both perennial and ephemeral systems. We should address the importance of healthy
   stream conditions associated with side channel stream refugia given potential climate change.

   Wildfire:
   The dynamics of aquatic systems are largely driven by topography, climate, and the patterns of
   disturbance events such as wildfires and large storms (Bisson et al. 2003). Although wildfires can exhibit
   both short- and long-term influences on aquatic systems, they are also critically important to their
   maintenance, resiliency, and productivity (Rieman et al. 2003, Bisson et al. 2003). In a review of the
   current knowledge concerning fire and aquatic ecosystems in the Western United States, Bisson et al.
   (2003) suggest that wildfire disturbances are inevitable in most landscapes and that the primary means of
   reducing their short-term negative effects is to conserve and restore the physical and biological processes
   and patterns that create and maintain a diverse network of aquatic habitats and populations.

   Aquatic systems and the terrestrial landscapes that encompass them are recognized as being intricately
   linked and structured by the disturbance processes associated with particular fire regimes (Bisson et al.
   2003). In Fire Regime V systems (200 years and over return interval), these processes primarily involve
   periodic bark beetle epidemics and windthrow events as well as infrequent, large-scale, stand-replacement
   fires (Veblen et al. 1991b, Veblen et al. 1994, Schmidt et al. 2002). Climatic factors had and will continue
   to have a profound influence on terrestrial and aquatic systems and their interactions with disturbance
   processes such as wildfire (Bisson et al. 2003). However, one of the primary factors that influence the
   significance of a wildfire on aquatic systems is the pre-fire condition of the watershed. Watersheds that
   have been highly roaded and influenced by past management activities present the highest risk to
   maintaining diverse and connected aquatic populations in the post-fire environment (Bisson et al. 2003.
   Minshall 2003, Benda et al. 2003). For example, some of the impacts of the Hayman Fire in Colorado are
   attributed to the pre-fire condition of the watershed, where the timing and recovery of the aquatic system
   is expected take longer in drainages that had been subject to chronic human disturbances (Kershner et al.
   2003). A well-distributed beaver populations can also help minimize the impacts of an initial fire event as
   well as alleviate potential post-fire effects associated with flooding and soil erosion (Decker et al. 2003).

   Post-fire erosion can also occur chronically and episodically. Chronic erosion is characteristic of roaded
   environments, revegetation difficulties, or ground-disturbing fire suppression activities and tends to
   deliver fine sediments over long periods of time. Chronic pre- and post-fire disturbances that continually
   deliver sediment will extend the time period needed for recovery (Bisson et al. 2003, Kershner et al.
   2003). In contrast, pulse events deliver sediment and large coarse woody debris through landslides or
   debris flows and are generally short lived (Kershner et al. 2003). The coarse woody debris are gradually
   depleted as they decay, break up, and are transported downstream where they contribute to habitat values
   for aquatic invertebrates and fish species (Bisson et al. 2003, Minshall 2003). Pulse events involving
   sediment and coarse woody debris through fluvial transport are typical of mountain drainage basins in



                          Rio Grande National Forest - 30 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000124
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 125 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   North America and important due to their contribution to the physical and biological diversity of aquatic
   systems. These events do result in temporary impacts to the aquatic environment but are also considered
   fundamental to the development and restoration of stream systems (Benda et al. 2003). This was
   exemplified in a post-fire landscape in Idaho where stream tributary confluences influenced the receiving
   channels by rejuvenating alluvial fans, boulder accumulations, coarse woody debris supplies, terraces,
   side channels, and floodplains (Benda et al. 2003).

   Based on outcomes from past local wildfires such as the 2002 Million Fire, it is possible that hydrologic
   pulse events could be associated with individual fire catchments in some areas of the forest if a wildfire
   occurred under the severe climatic conditions such as those that occurred at that time. The significance of
   these events could also be further influenced if they occurred in areas with sensitive soils or high amounts
   of roads. If hydrologic pulse events do occur, local populations of fish could be extirpated and the
   macroinvertebrate communities in first to fourth-order streams may be reduced by as much as 85 to 90
   percent in highly affected drainages. The post-fire macroinvertebrate communities may also shift from
   consumers to disturbance-adapted strategists and habitat generalists due to a decrease in leaf litter and
   other food resources (Spencer et al. 2003, Minshall 2003). However, the macroinvertebrate community
   usually responds quickly and returns to pre-fire conditions within a year or two, although wide variations
   may continue for 5 to 10 years post-fire (Minshall 2003). Some studies have indicated that burned streams
   will actually result in a greater abundance, species richness, and diversity of macroinvertebrates for up to
   45 years post-fire (Albin 1979 in Menshall 2003). However, most studies indicate a convergence with
   unburned reference streams within a 10 to 15 year timeframe. The recovery of fish populations also
   generally track the initial increase in primary and secondary production and usually show a positive
   response within the first five years if connectivity with key refugia occur within the watershed (Kershner
   et al. 2003). Fish will generally recolonize fire-affected areas rapidly when barriers are not a problem.
   New fish colonists generally come from upstream of the fire area, however, they will also move from
   surrounding watersheds and mainstem systems if migration and aquatic passage is not limited (Kershner
   et al. 2003). The effect of pulse events may vary, as evidenced by the West Fork Fire Complex of 2013
   which at 88,817 acres exceeded the Million Fire several-fold. This most recent wildfire burned
   approximately 88,800 acres on the Rio Grande National Forest during dry and windy climatic conditions,
   most as stand replacement fire at high to moderate intensity. Although hydrologic pulse events involving
   sedimentation and fish kills occurred in at least one tributary during the year after the fire, effects to the
   main channel of the river were negligible and fish populations were higher than they had been in nine
   years.

   Thus, although temporarily dramatic, the overall effect of wildfire on macroinvertebrates and fish in
   intact, unfragmented stream ecosystems is that they usually experience recovery in the short to early mid­
   term (Minshall 2003). In the long term, the general consensus in the literature is that within intact systems
   the disturbances associated with fire-related flooding, sedimentation, and woody debris inputs are
   important to the integrity of aquatic systems and at times represent the restoration activity itself (Bisson et
   al. 2003, Minshall 2003). In fragmented populations such as native cutthroat trout on the Rio Grande
   National Forest, however, protection of small core populations may be necessary when high-intensity
   wildfire occurs.

   Places at Risk
   Assessment 2 notes that in general most watershed and stream health concerns on the Rio Grande
   National Forest are associated with existing system roads and trails, uncontrolled motorized use on
   unauthorized roads and trails, and livestock grazing in riparian areas. These concerns relate to accelerated
   soil erosion and compaction, sediment delivered to streams and wetlands, stream channel aggradation and
   degradation, and the direct, indirect, and cumulative effects on the water cycle and water quality. These



                          Rio Grande National Forest - 31 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000125
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 126 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   concerns are primarily related to proper implementation and/or administration of existing forest plan
   direction rather than a significant need to change existing direction.

   This aquatic assessment provides additional information important to understanding the ecological drivers
   of the aquatic habitats on the forest, as well as the natural and human stressors important to the continued
   ecological integrity of the aquatic and riparian systems. The results include additional information
   pertaining to the importance of certain geologic features on the landscape, such as past glaciation for
   wetlands and fens and potential differences in stream productivity based on the underlying geology. This
   assessment also offers additional insight regarding the vulnerabilities of various stream types and aquatic
   habitats, with low (under 2 percent) and perhaps medium (2 to 4 percent) stream gradients warranting
   additional considerations from a management perspective, particularly where stream channels have been
   constricted or human stressors influence floodplain conditions.

   This aquatic assessment also offers additional information regarding the unique risks to aquatic integrity
   as associated with potential climate change. These risks should be viewed in conjunction with the
   ecosystem drivers that maintain aquatic systems and habitats. Although all ecosystem processes that
   maintain aquatic integrity warrant review during plan revision, low-elevation stream types and seeps and
   springs within drier vegetation communities are uniquely vulnerable to climate change and human
   stressors associated with them.

   Need for Change
   Based on information in this section of the assessment, there is a need to revise and update the aquatic
   habitat section of the Forest Plan. For the purposes of forest planning, considerations for aquatic habitats
   and species are combined with soil and water resources. However, the information in this assessment for
   riparian and aquatic ecosystem integrity, highlights some specific needs with aquatic habitats and species
   on the forest, especially in regards to the unique aquatic endemics to the upper Rio Grande Basin.
   Examples include the need for additional management direction addressing the importance of stream
   connectivity and aquatic organism passage programs and their relationship to aquatic habitat resiliency,
   and incorporating the Aquatic Nuisance Species Plan for the Rio Grande National Forest into plan
   revision components. Potential mitigation strategies for chytrid fungus and local amphibian species are
   part of this recommendation. We need additional updates regarding restoration opportunities for native
   aquatic species and for managing low-elevation riparian systems, seeps and springs; including
   hummocking and pugging guidelines. Updates should also increase awareness regarding the ecological
   drivers for local aquatic habitats including glaciation, stream gradient, and geological factors associated
   with aquatic habitat productivity.

   We need to update the existing Forest Plan with current information related to aquatic habitats and
   potential vulnerabilities associated with climate change. Central to this update is the need to maintain cold
   water systems and side channel refugia for aquatic species. We need to acknowledge the connection
   between current human stressors and a potential increase in vulnerability to aquatic integrity as related to
   climate change. Thus, while our standards and guidelines for aquatic systems should be adaptable and
   flexible they should also be well defined, firm and measurable.

   Stressors Associated with Potential Climate Change
   Aquatic systems and water dependent taxa will be significantly affected if the trend for changing temporal
   and spatial scales in air temperature and patterns of precipitation continue (Bryson et al, 2008). Potential
   effects of climate change in the southern Rocky Mountains include:

   •   reduced precipitation,



                          Rio Grande National Forest - 32 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000126
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 127 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   •   reduced period of snowmelt runoff,
   •   attenuated periods of base flows in streams,
   •   increased water needs by the predicted increase in Colorado’s population, and
   •   increased stream temperatures (Reiman and Isaak, 2010).
   There are several other indirect impacts, such as an increase in non-native species (Rahel 2010) and
   reduced overall adequate habitat for cold water species. Some scientists speculate that increased water
   temperatures in higher elevations will be advantageous for cold water native fish. However, instream
   habitats are more limited in the smaller streams found there; food animals such as benthic
   macroinvertebrates may not tolerate even a limited change in water temperature, and reduced
   precipitation and more sporadic precipitation events could lead to drought.

   We used a model recently developed by the USDA Rocky Mountain Research Station
   (http://www.fs.fed.us/rm/boise/AWAE/projects/modeled stream flow metrics.shtml) that incorporates
   current and projected variables to estimate changes in mean annual discharge in the Rio Grande National
   Forest for the future (See appendix B, posted separately).

   It is also the intent of this analysis to understand and potentially prepared for “short-term drought
   situations” that occur in the Southern Rocky Mountains (McKee et al. 2000). While these events are
   measured in years, and followed by periods of “normal to high” discharge, the effects on aquatic
   ecosystems could mimic to a limited degree the effects of future long-term climate change (figure 6). The
   resiliency of aquatic ecosystems in the future may be reflected to a limited degree in the effects of short­
   term drought conditions. If the components that affect the resiliency of aquatic ecosystems are not in
   place or at a much lower level of condition than would be expected, even short-term droughts could have
   major impacts on aquatic systems. If we are able to substantially increase resiliency, the onset of climate
   change impacts may not be realized until later in the future, and the effects may not be as intense.

   Climatic variables influence hydrological processes; so any change in precipitation, evapotranspiration,
   snow accumulation and snow melt will influence recharge to groundwater systems. Future climate change
   will affect recharge rates and, in turn, groundwater levels and the amount of groundwater available to
   support springs and wetlands (Ludwig and Moench 2009). Land use changes can also alter watershed
   conditions and generate responses in biological communities and processes. Land use changes may even
   override hydrologic modifications caused by large-scale climate shifts.

   Lemly reports that 65 percent of all mapped national wetland inventory acres occur in the subalpine
   ecoregions, and another 29 percent of national wetland inventory acres occur in the alpine zone. These
   ecoregions also correspond to glaciated areas. There are few wetland acres in lower elevation zones.

   In the western United States, winter and spring air temperatures have increased (Folland et al. 2001), the
   onset of snowmelt is earlier, and the snow water equivalent of snowpack has decreased. These and other
   indicators are especially important for groundwater dependent ecosystems, and have implications for
   groundwater recharge; which maintains springs, wetlands, soil moisture, and stream baseflows. In
   mountainous terrain, snowpack is the main source of groundwater recharge (Winograd et al. 1998).
   Higher minimum temperature can reduce the longevity of the snowpack, and decrease the length of time
   aquifer recharge can occur in various lithologies, potentially leading to faster runoff and less groundwater
   recharge. Decreased groundwater recharge can negatively affect aquatic biota and reduce wetland habitat.
   Unfortunately, we lack comprehensive data on groundwater-surface water interactions which limits our
   ability to model current groundwater resources and predict changes due to climate (Drexler et al. 2013).




                          Rio Grande National Forest - 33 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000127
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 128 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   The hydrogeologic setting is important to consider when assessing the climate-induced changes to
   groundwater systems. Geologic units respond differently to changes in precipitation due to their
   hydrogeologic properties (hydraulic conductivity, primary vs secondary porosity, fractures vs porous
   media, etc.). On the Rio Grande National Forest we can delineate several different hydrogeologic settings
   (igneous/metamorphic, volcanic aquifers, and unconsolidated glacial/alluvial aquifers).

   The properties of aquifers are essential to consider; small, shallow unconfined aquifers respond more
   rapidly to climate change, whereas larger and confined systems have a slower response. Alpine glacial
   deposits generally support small, unconfined and shallow aquifers. These are more likely to have
   renewable groundwater on shorter time scales and will be particularly sensitive to changes in climate
   (Winter 1999, Sophocleous 2002).

   The recharge characteristics of different hydrogeologic settings also influence vulnerability to climate
   change. For example, igneous and metamorphic rocks with low permeability and porosity, low volume
   groundwater discharges to groundwater dependent ecosystems, and are recharged only during large
   infrequent precipitation or snowmelt events; may be less influenced by climate change than
   unconsolidated or basalt aquifers that have high permeability and porosity, larger volume discharges to
   groundwater dependent ecosystems, and are recharged more frequently.

   The effects of climate change on groundwater dependent ecosystems differ as a function of local geology
   and specific climatic variables. In a study that combined aerial photodocumentation (over 50-80 years)
   and climate analysis, Drexler et al. (2013) showed that five fens in the Sierra Nevada (California)
   decreased 10 to 16 percent in area. This decrease in area occurred over decades with increased annual
   mean minimum air temperature and decreased snow water equivalent and snowpack longevity. However,
   two fens in the southern Cascade Range, underlain by different geology than the Sierra Nevada, did not
   change in area. The volcanic lithologies of the Cascade sites, with high groundwater storage capacity,
   likely affected groundwater recharge.

   Changes to groundwater levels can alter the interaction between groundwater and surface water (Hanson
   et al. 2012). Groundwater storage acts as a moderator of surface water response (Maxwell and Kollet
   2008). Climate-induced changes in groundwater/surface water interactions will directly affect stream
   baseflows and associated springs and wetlands (Earman and Dettinger 2011; Klnve et al. 2012; Candela et
   al. 2012; Tujchneider et al. 2012). Changes in groundwater can change wetland water balances, leading to
   lowered water level and reduced groundwater inflow. For terrestrial and riparian vegetation, a shift in
   location, as well as in species composition, can occur.

   A reduced average groundwater level tends to promote soil aeration and organic matter oxidation.
   Generating and maintaining peat soils over time depends on stable hydrological conditions, and in recent
   studies of peatlands exposed to groundwater lowering, soil cracking, subsidence and secondary changes
   in water flow and storage patterns are noted (Kv^rner and Snilsberg 2008, 2011).

   Freshwater springs are dependent on a continuous discharge of groundwater, and form subsurface to
   surface water and aquatic to terrestrial ecotones, which are important components of aquatic biodiversity
   (Ward and Tockner 2001). Springs and spring brooks are physically stable environments that support
   stable biological communities (Barquin and Death 2006). Biota with low dispersal abilities and long
   generation times are more common in permanently flowing springs, whereas biota with strong dispersal
   ability are favored in non-permanent habitats (e.g. Erman and Erman, 1995; Smith and Wood, 2002).
   Climate change-induced modifications to recharge may have a profound impact on spring communities.
   Such changes may be reflected in reduced summertime flows with possible drying, and increased winter
   flow and associated flooding, which can affect biological communities (Green et al. 2011).



                         Rio Grande National Forest - 34 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000128
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 129 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Management Considerations for Climate Change
   Managing aquatic systems begins with inventory of the types and condition of existing resources. The
   Forest Service has published several guides to inventory of aquatic systems including the Groundwater
   Dependent Ecosystem Inventory Field Guides (USDA Forest Service 2012). These field guides provide
   protocols for inventorying palustrine wetlands and springs.

   Land uses surrounding palustrine wetlands and springs can potentially alter the hydrology and nutrient
   inputs of these systems, thus changing their underlying processes. Draining, water developments, heavy
   cattle use, ORV use and irrigation practices can alter hydrology, reducing species diversity. Increased land
   use within 100 meters has been found to be correlated with increased nutrient levels in peatlands,
   suggesting that setbacks should be 100 meters or more for adequate protection (Jones 2003).

   Heavy cattle use in palustrine systems can alter the hydrology by damaging soils. Soil compaction and
   pugging within the peat layer will change surface water flow. Heavy cattle use can also alter the
   successional processes within the sedge- dominated area of a fen. Cattle hoof action can lead to pugging
   and hummocking, creating microsites where shrubs can become established, changing the sedge-
   dominated meadow to carr shrubland.

   Projected Future Change in Mean Annual Flow for Streams within the Rio Grande
   National Forest and surrounding ecosystem: Focus on Climate Change
   Climate change analysts predict future changes in streamflow through altered temperatures, precipitation
   patterns and frequency of catastrophic weather events. This will in turn impact physical processes and
   organisms not only in these streams but throughout the ecosystems these streams feed (Reiman and Isaak
   2010). Fish and other aquatic organisms would be most directly and dramatically affected by changing
   hydrologic flows, particularly those species adapted to specific flow regimes (Wenger et al. 2010). To
   estimate future change in flow metrics for the Rio Grande National Forest, we used modeled mean annual
   flow metric data (Wenger et al. 2010) which predict flows in 2040 and 2080 (figure 1 and figure 2). By
   predicting where flows will change most dramatically across the Rio Grande National Forest due to
   climate change, we can identify areas for management focus.

   The most dramatic reduction in projected flows is forecast for the Sangre de Cristo Mountains (figure 1,
   figure 2 and figure 3) and the portions of the forest adjacent to the San Luis Valley (figure 1 and figure 2).
   These patterns are consistent between the 2040 and 2080 projections with relatively greater decrease
   estimated for 2080. At the extreme of the predictions, we estimate as much as a 20 percent decline in flow
   levels for some streams by 2040 and as much as a 30 percent decrease by 2080. Conversely, flows are
   forecast to increase for the Cochetopa Hills in 2040 and 2080 (figure 1, figure 2 and figure 4), with flows
   on some streams predicted to be declining by 2080. The central portion (moving from south to north) of
   the Rio Grande National Forest is expected to experience more variability and relatively larger declines in
   mean annual flows (figure 4). Lower elevation streams should be more variable in discharge, have more
   flow reduction relative to historic levels (figure 5), becoming more pronounced in 2080 than 2040.
   Relative to original, historic flow levels, we expect larger relative declines and more variability in streams
   with lower overall flows (figure 6).




                          Rio Grande National Forest - 35 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000129
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 130 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems




   Figure 1. Percent difference in historic mean annual flows relative to flows projected for 2040 on the Rio
   Grande National Forest. The southern Sangre de Cristo mountain range and streams at the lower elevations
   are predicted to have the largest change under unregulated conditions.




                         Rio Grande National Forest - 36 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000130
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 131 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems




   Figure 2. Percent difference in historic mean annual flows relative to flows projected for 2080 on the Rio
   Grande National Forest. Mean annual discharge will decline for all; most streams are expected to be reduced
   by more than 5 percent in 2080.




                         Rio Grande National Forest - 37 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000131
                        Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 132 of 406

                                                           Rio Grande National Forest -Assessments 1 and 3
                                                Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems




                                                                                        0
                                                                                                                                                  Future Projections
                                                                                                                                                   — 2040
                                                                                                                                                   — 2060




                                                                    UTM Easting (m)
Figure 3. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from west to east (top) across the Rio Grande National Forest. The relatively
high percentage change in the east boundary can be explained by the influence of the Sangre de Cristo mountain range where mean annual flows are expected to be
reduced as much as 30 percent in some years by 2080.




                                                    Rio Grande National Forest - 38 - Forestwide Planning Assessment
                                                                                                                              Rvsd Plan - 00000132
                        Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 133 of 406

                                                           Rio Grande National Forest -Assessments 1 and 3
                                                Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems




                                                                                                                                                Future Projections
                                                                                                                                                 “ 2040
                                                                                                                                                 — 2060




                                                                    UTM Northing (m)
Figure 4. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from south to north (bottom) across the Rio Grande National Forest. The
estimated increase in mean annual flows in the north (bottom) can be explained by the high elevation Continental Divide.




                                                   Rio Grande National Forest - 39 - Forestwide Planning Assessment
                                                                                                                            Rvsd Plan - 00000133
                        Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 134 of 406

                                                            Rio Grande National Forest -Assessments 1 and 3
                                                 Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems




                                  3600                                3000                                 3400                      "300
                                                                       E[evation (m)
Figure 5. Percent difference in mean annual flows in 2040 and 2080 relative to elevation of stream reach midpoint.




                                                    Rio Grande National Forest - 40 - Forestwide Planning Assessment
                                                                                                                             Rvsd Plan - 00000134
                        Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 135 of 406

                                                            Rio Grande National Forest -Assessments 1 and 3
                                                 Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems




Figure 6. Percent difference in mean annual flows in 2040 and 2080 relative to historic flow levels on the Rio Grande National Forest.




                                                     Rio Grande National Forest - 41 - Forestwide Planning Assessment
                                                                                                                                Rvsd Plan - 00000135
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 136 of 406

                                Rio Grande National Forest -Assessments 1 and 3
                     Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems



   Conclusions
   The influence of long-term stream flow modification from climate change research are limited (Reiman
   and Isaak, 2010). However, available information indicates that we should prioritize lower elevation
   streams and those with limited base flows for management as they will most likely be influenced in the
   future. The analysis we conducted shows that discharge could be significantly reduced, variability could
   be much higher, and we should expect declining fish and other aquatic biota if these conditions occurred
   (Wenger et al. 2011). To mitigate the impacts of projected reduced flows, our management should focus
   on maintaining stream structure and surrounding vegetation within the natural range of variation;
   particularly at streams, wetlands and riparian areas thought to be more vulnerable to climate change
   (Dawson 2011). We should manage keystone species such as beaver, which restore streams to more
   natural flow rates and water table levels, to maintain stream function and store water naturally on the
   landscape. At the project level, we need to address activities that are influencing the natural hydrology,
   physical and chemical parameters, and habitat of these water-dependent ecosystems (see in large part
   Meehan, 1991). While it is important we understand that there is variability in this modelling effort, we
   should periodically collect and review monitoring data on stream flow rates and temperatures where on
   the Rio Grande National Forest streams and their associated ecosystems are threatened by climate change.




                         Rio Grande National Forest - 42 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000136
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 137 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Literature Cited
   Beschta, R.L.; Ripple, W.J. 2006. River channel dynamics following extirpation of wolves in
           northwestern Yellowstone National Park. Earth Surface Processes and Landforms. 31: 1525-1539.

   Binkley, D., and T.C. Brown, 1993. Management impacts on water quality of forests and rangelands.
           USDA General Technical Report RM-239.

   Bisson, P.A., B.E. Rieman, C. Luce, P.F. Hessburg, D.C. Lee, J.L. Kershner, G.H. Reeves, and R.E.
           Gresswell. 2003. Fire and aquatic ecosystems of the Western USA: current knowledge and key
           questions. Forest Ecology and Management.

   Buckhouse, J.C. 1981. Riparian response to certain grazing management. Paper presented at Society for
         Range Management 34th Annual Meeting, Tulsa, OK.

   Center of the American West (CAW). University of Colorado, Boulder. 2003. Online: Population
           Statistics: http://www.centerwest.org/futures/people/population. html; Change in Land Use
           Categories: http://www. centerwest. org/futures/development

   Chamberlin, T.W., R.D. Harr, and F.H. Everest. 1991. Timber harvesting, silviculture, and watershed
         processes. In: Influences of forest and rangeland management on salmonid fishes and their
         habitats. American Fisheries Society Special Publication 19:181-205.

   Clark, R.N.; Gibbons. D.R. 1991. Recreation. In: Meehan, W.R. ed. Influences of forest and rangeland
           management on salmonid fishes and their habitats. American Fisheries Society Special
           Publication 19, Bethesda, MD:459-481.

   Collen, P.; Gibson, R.J. 2001. The general ecology of beavers (Castor spp.), as related to their influence
           on stream ecosystems and riparian habitats, and the subsequent effects of fish - A review.
           Reviews in Fish Biology and Fisheries. 10:439-461.

   Colorado Department of Public Health and Environment. 2012. Integrated Water Quality Monitoring and
          Assessment Report, State of Colorado. 2012 update to the 2010 305(b) Report.

   Colorado Department of Public Health and Environment. 2013. Integrated Water Quality Monitoring and
          Assessment Report, State of Colorado. 2012 update to the 2010 305(b) Report.

   Deacon, J.R., N.E. Spahr, S.V. Mize, and R.W. Boulger. 2001. Using water, bryophytes and
          macroinvertebrates to assess trace element concentrations in the upper Colorado River Basin,
          Hydrobiologia, Volume 455, Issue 1, pp. 29-39.

   Dunham, J.B., M. Young, and R.E. Gresswell. 2003. Effects of fire on fish populations: landscape
         perspectives on persistence of native fishes and non-native fish invasions. Forest Ecology and
         Management.

   Hammerson, G.A. 1986. Amphibians and reptiles of Colorado. State of Colorado, Division of Wildlife,
        Denver, CO.

   Havlick, D.G. 2002. No place distant: Roads and recreation on America’s public lands. Island Press.
           Washington. D.C.

   Hagglund, A.; Sjoberg, G. 1999. Effects of beaver dams on fish fauna of forest streams. Forest Ecology
          and Management. 115:259-266.


                         Rio Grande National Forest - 43 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000137
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 138 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Hoffman. C. 1998. Let it snow. Smithsonian. 29:50-53.

   Kauffman, J. B., and W.C. Krueger. 1984. Livestock impacts on riparian ecosystems and streamside
         management Implications: A review. Journal of Range Management 37(6):683-685.

   Krueger, H.O., and S.H. Anderson. 1985. The use of cattle as a management tool for wildlife in
          shrubwillow riparian systems. In: Riparian ecosystems and their management: reconciling
          conflicting uses. Edited by: R.R. Johnson, C.D. Ziebell, D.R. Patton, P.F. Folliott, and R.H.
          Hamre.16-18 April 1985.

   Tucson, AZ. USDA Forest Service. General Technical Report RM-120.

   Larson, R.E., W.C. Krueger, M.R. George, M.R. Barrington, K.C. Buckhouse, and D.E. Johnson. 1998.
           Viewpoint: Livestock influences on riparian zones and fish habitat: Literature classification.
           Journal of Range Management 51(6):661-664.

   Lemly, Joanna. 2012. Assessment of Wetland Condition on the Rio Grande National Forest. Colorado
           Natural Heritage Program, Colorado State University, Fort Collins, CO 80523.

   McIntosh, B.A., J.R. Sedell, R.F. Thurow, S.E. Clarke, and G.L. Chandler. 2000. Historical changes in
          pool habitats in the Columbia River basin. Ecological Applications 10:1478-1496.

   Meehan, W.R. and W.S. Platts. 1978. Livestock grazing and the aquatic environment. Journal of Soil and
         Water Conservation 33(6):274-278.

   Meyer, C.B.; Knight, D.H. 2001. Historic variability for upland vegetation in the Bighorn National Forest,
          Wyoming. Draft unpublished report sent to Bighorn National Forest, Sheridan, Wyoming and the
          Division of Renewable Resource, Rocky Mountain Region, U.S. Forest Service, Lakewood, CO.
          USFS Agreement No. 1102-0003-98-043.

   Michael, J.L. 2000. Pesticides. In: Dissmeyer, G.E. ed. Drinking water from forests and grasslands: A
          synthesis of the scientific literature. U.S. Department of Agriculture, Forest Service. General
          Technical Report SRS-39.

   Naiman, R.J.; Johnson, C.A.; Kelley, J.C. 1988. Alteration of North American streams by beaver.
          Bioscience. 38:753-762.

   Naiman, R.J.; Pinay, G.; Johnson, C.A., [et al.]. 1994. Ecosystem alteration of boreal forest streams by
          beaver (Castor Canadensis). Ecology. 67: 1254-1269.

   Pilliod, D.S., R.B. Bury, E.J. Hyde, C.A. Pearl, and P.S. Corn. 2003. Potential effects of fire and fuel
            reduction practices on aquatic amphibians in the United States. Forest Ecology and Management.

   Olson, R.; Hubert, W.A. 1994. Beaver: Water resources and riparian habitat manager. University of
           Wyoming, Laramie.

   Ralph, S.C.; Poole, G.C.; Conquest, L.L. [et al.]. 1994. Stream channel morphology and woody debris in
           logged and unlogged basins of western Washington. Canadian Journal of Fisheries and Aquatic
           Sciences. 51:37-51.

   Rahel, F.J.; Hubert, W.A. 1991. Fish assemblages and habitat gradients in a Rocky Mountain-Great Plains
           stream: Biotic zonation and additive patterns of community change. Transactions of the American
           Fisheries Society. 120:319-332.


                         Rio Grande National Forest - 44 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000138
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 139 of 406

                                 Rio Grande National Forest -Assessments 1 and 3
                      Ecosystem Integrity, Systems Drivers and Stressors for Aquatic Ecosystems


   Ries, J.B. 1996. Landscape damage by skiing at the Schauinsland in the Black Forest, Germany.
            Mountain Research and Development. 16:27-40.

   Roger, P.C.; Mittanck, C.M. 2014. Herbivory strains resilience in drought-prone aspen landscapes of the
           Western United States. Journal of Vegetation Science. 25: 457-469.

   Shepperd, W.D.; Rogers, P.C.; Burton, D.; Bartos, D.L. 2006. Ecology, biodiversity, management, and
          restoration of aspen in the Sierra Nevada. RMRS-GTR-178. Fort Collins, CO: USDA, Forest
          Service, Rocky Mountain Research Station.

   Stafford, M.P. 1994. Control of purple loosestrife with herbicides and the effect and subsequent response
           of wetland plant communities. In: Proceedings of the Idaho Weed Control Association 49th
           Annual Meeting, February 1994. Boise, ID.

   Winter, T. C.; Harvey, J.W.; Franke, O.L., [et al.]. 1998. Ground water and surface water, a single
           resource. U.S. Department of the Interior, Geological Survey, Circular 1139. Washington, D.C.

   Winters, D.S. and Tonya, T. 2016. Assessment 1: Aquatic condition, relationship to ecological drivers and
           management influences and identification of potential direction for the future. USDA Forest
           Service, Rocky Mountain Region, Lakewood, CO.

   Winters, David S., A. Wuenschel, J. Gurrieri, T. Tenyah, D. Cleary, and S. Synowiec. 2016. Assessment 3:
           Aquatic and Semi-Aquatic Ecological Drivers. Chapter 1: Ecological Driver Classification and
           Analysis. USDA Forest Service, Rocky Mountain Region, Lakewood, CO. 61 pp.

   Wireman, M. 2000. Hardrock mining. In: Dissmeyer, G.E. ed. Drinking water from forests and
         grasslands: A synthesis of the scientific literature. U.S. Department of Agriculture, Forest Service.
         General Technical Report SRS-39.

   Wohl, E. 2000. Mountain rivers. Water Resources Monograph 14. American Geophysical Union.
          Washington DC.

   Wohl, E.E. 2001. Virtual rivers: Lessons from the Mountain Rivers of the Colorado Front Range. Yale
          University Press, New Haven, CT. 210 p.

   Walcott, C.D. 1899. Bighorn Forest Reserve. Government Printing Office. Washington, DC.

   Woldeselassiea, M.; Van Miegroet, H.; Gruselle, M.; Hambly, N. 2012. Storage and stability of soil
          organic carbon in aspen and conifer forest soils of Northern Utah. Soil Science Society of
          America Journal. 76(6): 2230-2240.




                         Rio Grande National Forest - 45 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000139
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 140 of 406




               Appendix 1 to Assessments 1 and 3:
              Aquatic and Semi-aquatic Ecosystems
                       For The Rio Grande National Forest
              Land Management Plan Revision Rocky Mountain Region




                                                       Rvsd Plan - 00000140
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 141 of 406




                                      AUTHORS
                                    David S. Winters
                                   Aquatic Ecologist
                                Rocky Mountain Region
                            Technical Coordinator and Author
                                    Thomas Tonyah
                                Rocky Mountain Region
                                 GIS specialist Analyst
                                      Dennis Staley
                                Rocky Mountain Region
                                 GIS specialist Analyst
                                   All-Points GIS Inc.
                              Data analysis, GIS expertise




                                                               Rvsd Plan - 00000141
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 142 of 406

                                                          Appendix 1 to Assessments 1 and 3:
                                                         Aquatic and Semi-Aquatic Ecosystems



                                                                         Contents
   Introduction.................................................................................................................................................... 1
   Water resources............................................................................................................................................. 4
      Stream Diversions..................................................................................................................................... 4
        Introduction........................................................................................................................................... 4
        Future Considerations:.......................................................................................................................... 7
      Impoundments.......................................................................................................................................... 7
        Introduction........................................................................................................................................... 7
        Management Implications..................................................................................................................... 9
        Management Considerations................................................................................................................ 11
      Trans Basin Diversions............................................................................................................................ 11
        Introduction.......................................................................................................................................... 11
        Management Implications.................................................................................................................... 12
        Future Considerations.......................................................................................................................... 12
      Spring Developments.............................................................................................................................. 14
        Introduction.......................................................................................................................................... 14
        Management Implications.................................................................................................................... 14
        Management Implications.................................................................................................................... 15
        Management Considerations................................................................................................................ 17
   T ransportation.............................................................................................................................................. 17
      Roads....................................................................................................................................................... 17
        Introduction.......................................................................................................................................... 17
        Management Implications.................................................................................................................... 18
        Paved Roads Density Results...............................................................................................................18
        Management Considerations:.............................................................................................................. 20
        Paved Road Crossings:....................................................................................................................... 20
        Future Considerations:........................................................................................................................ 20
        Unpaved Road Density:...................................................................................................................... 23
        Future Considerations:........................................................................................................................ 23
        Unpaved Stream Crossings................................................................................................................. 23
        Future Considerations:........................................................................................................................ 25
      Trails....................................................................................................................................................... 25
        Introduction:........................................................................................................................................ 25
        Results:................................................................................................................................................ 26
        Management Implications:.................................................................................................................. 26
        Future Considerations:........................................................................................................................ 28
      OHV Use................................................................................................................................................ 28
        Results:................................................................................................................................................ 28
        Future Considerations:........................................................................................................................ 28
      Additive Influences of the Transportation Group................................................................................... 31
        Results:................................................................................................................................................ 31
        Future Considerations:........................................................................................................................ 31
   Recreation................................................................................................................................................... 31
      Introduction............................................................................................................................................ 31
      Developed Recreation Sites.................................................................................................................... 33
        Results:................................................................................................................................................ 33
        Future Considerations:........................................................................................................................ 33
      Ski Areas................................................................................................................................................ 35



                                       Rio Grande National Forest - i - Forestwide Planning Assessment
                                                                                                                    Rvsd Plan - 00000142
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 143 of 406

                                                         Appendix 1 to Assessments 1 and 3:
                                                        Aquatic and Semi-Aquatic Ecosystems


        Introduction......................................................................................................................................... 35
        Management Implications................................................................................................................... 36
        Results:................................................................................................................................................ 36
        Future Considerations:........................................................................................................................ 36
     Dispersed Recreation.............................................................................................................................. 36
        Management Implications:.................................................................................................................. 36
   Biological Influences.................................................................................................................................. 37
     Invasive Species..................................................................................................................................... 37
        Introduction:........................................................................................................................................ 37
        Management Considerations:.............................................................................................................. 39
        Future Considerations:........................................................................................................................ 40
     Influence of Beaver Removal................................................................................................................. 40
        Introduction......................................................................................................................................... 40
        Results:................................................................................................................................................ 41
        Future Considerations:........................................................................................................................ 43
     Recreational and Native Fisheries.......................................................................................................... 43
   Mineral Extraction...................................................................................................................................... 44
     Hardrock and Placer Mining................................................................................................................... 44
        Results:................................................................................................................................................ 44
        Management Considerations:.............................................................................................................. 46
   Cattle Grazing............................................................................................................................................. 48
     Introduction............................................................................................................................................ 48
        Results and management Considerations............................................................................................ 49
        Future Considerations......................................................................................................................... 52
   Sheep Grazing............................................................................................................................................. 53
     Introduction............................................................................................................................................ 53
        Results................................................................................................................................................. 53
        Future Considerations......................................................................................................................... 53
   Commercial Timber Harvest....................................................................................................................... 55
     Introduction............................................................................................................................................ 55
        Results................................................................................................................................................. 55
        Future Considerations......................................................................................................................... 55
   Need for Change......................................................................................................................................... 59
     Ecological Drivers.................................................................................................................................. 59
     Anthropogenic resources........................................................................................................................ 59
   References Cited......................................................................................................................................... 61


                                                                  List of Figures
   Figure 1. Anthropogenic uses identified for Analysis in Region 2. Similar influence groups are color
        coded. A subset of the most abundant inflences were analyzed....................................................2
   Figure 2. A mountain stream with limited valley bottom area. The valley bottom is being confined by the
        adjacent steep topography and large substrate.............................................................................. 3
   Figure 3. Small stream diversion in a headwater stream.............................................................................. 4
   Figure 4. Results of the diversion density (#/stream mile/subwatershed) analysis. Names and values with
        the 10 highest values (quantile 5) are also presented.................................................................... 6
   Figure 5. A reservoir in the Colorado Rockies. Note the level of water compared to the high water line ... 8
   Figure 6. Results of the reservoir analysis for the Rio Grande national Forest and surrounding ecosystem
                                                                                                                                 11



                                      Rio Grande National Forest - ii - Forestwide Planning Assessment
                                                                                                                  Rvsd Plan - 00000143
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 144 of 406

                                                          Appendix 1 to Assessments 1 and 3:
                                                         Aquatic and Semi-Aquatic Ecosystems


   Figure 7. stream section upstream of a transbasin diversion. Bank stability is high and stream channel is
        stable                                                                                                                                             11
   Figure 8. Directly downstream of transbasin diversion associated with picture 4. Note the poor and
        unstable stream banks, and over wide channel............................................................................11
   Figure 9. Only 4 subwatersheds are influenced by tranbasin diversions..................................................... 13
   Figure 10. Additive ranks for the water management activities. Distribution of the ranked quantiles was
        considerably more than subwatersheds with few or no activities                                                                                     16
   Figure 11. The Poudre River in northern Colorado is a good example of a paved road that limits the rivers
        ability to migrate laterally, move sediment onto its flood plain and absorb energy from floods                                                             18
   Figure 12. An unpaved road crossing with limited ability to pass high flows............................................. 18
   Figure 13. Paved road density for the upper Rio Grande River basin. Relatively few paved roads exist
        here as compared to more populated parts of the Colorado front range (Winters, et al., unpublished
        assessment results                                                                                                                                 19
   Figure 14. Paved stream crossing density in the upper Rio Grande River basin.........................................21
   Figure 15. Results of the unpaved road density analysis for the Rio Grande National Forest and
        surrounding ecosystem                                                                                                                             22
   Figure 16. Results of the stream crossing density analysis conducted on the Rio Grande National forest
        and surrounding ecosystem                                                                                                                         24
   Figure 17. Results of the trail analysis conducted on the Rio Grande National Forest and surrounding
        ecosystem.............................................................................................................................................27
   Figure 18. OHV trail locations.................................................................................................................... 29
   Figure 19. Results of the transportation additive rankings for the Rio Grande National Forest and
        surrounding ecosystem                                                                                                                            30
   Figure 20. Density of developed recreation sites on the Rio Grande National Forest within the valley
        bottoms....................................................................................................................................... 34
   Figure 21. An active beaver dam in the Rocky Mountains. These ponded sites provide numerous benefits
        for aquatic ecosystems as well as storing water for downstream use..................................................40
   Figure 22. Beaver suitability results for the Rio Grande National Forest and surrounding landscape.
        Results were based on high suitable stream miles per acre of valley bottom per subwatershed........ 42
   Figure 23. Results of the mines analysis for the Rio Grande National Forest and surrounding ecosystem,
        Results generally follow known mining districts, with the exception of the Sangre de Cristo
        Mountains, where historic exploration and limited sites occurred                                                                                          45
   Figure 24. Subwatersheds with streams identified under the Clean Water Act as being impaired under
        section 303D by the State of Colorado. It is important to note that not all streams within each
        subwatershed have elevated levels, but should be suspect as having some level of elevated metals. 47
   Figure 25. Cattle (left) and sheep (right) grazing........................................................................................ 48
   Figure 26. Results of the active allotment density for cattle within valley bottoms For the Rio Grande
        National Forest and surrounding landscape                                                                                                         51
   Figure 27. Results of the relationship between permanent streams and active sheep allotments per
        subwatershed in the Rio Grande National Forest Ecosystem                                                                                          54
   Figure 28. Percentage of valley bottoms with active clear cuts conducted in the last 2 decades. The
        percentage for these activities is very low, even in the highest levels                                                                           56
   Figure 29..................................................................................................................................................... 57
   Figure 30..................................................................................................................................................... 58




                                      Rio Grande National Forest - iii - Forestwide Planning Assessment
                                                                                                                   Rvsd Plan - 00000144
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 145 of 406




                                                      Rvsd Plan - 00000145
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 146 of 406

                                         Appendix A to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems



   Introduction
   The purpose of this document is to provide an understanding of the type and extent of management
   influences that are considered for this ecological assessment on the Rio Grande National Forest.
   Consistency is important for this effort because we are addressing influences that can be quantified and
   compared throughout the study area. Historically, individual administrative units (e.g., National Forests
   and Districts) have conducted analysis, often in deference to adjacent units. This independent analysis can
   be cost prohibitive and “inconsistent” within the range of a particular taxa. We chose not to include
   uncommon activities that should be addressed only at a fine or project scale or an individual basis. The
   activities we chose are a subset of potential activities that are common and important for ecological form
   and function (Figure 1). However, the scales we are addressing should help prioritize reach/site level
   analysis as well as provide valuable information for management decisions at other scales. This document
   is a companion to the Conceptual Framework and Protocols for Conducting Multiple Scale Aquatic,
   Riparian and Wetland, Ecological Assessments (Winters et al. 2004) and part of the Species Conservation
   Project for the Rocky Mountain Region (Region 2).

   We believe that the management activities, defined in various use categories, encompass the majority of
   activities located on the Rio Grande NF. These activities will be addressed individually and in aggregate.
   The history, positive and negative influences, and measurement criteria will also be documented. The
   different use categories were identified to start a process of “linking” activities with similar influences on
   aquatic, riparian, and wetland resources. This is the first step in addressing the additive influences of
   multiple activities on a particular resource. If other activities are identified at a specific location, they
   certainly should be evaluated in the context of the multiple-scale assessment process. Therefore this
   process is a living document and will be modified to include future observations. It is with this
   understanding that we see this assessment as a dynamic process as part of the Forest Plan Revision
   process.

   The effects of anthropogenic activities on aquatic, riparian, and wetland ecosystems have been identified
   for several categories of important attributes, including water use, transportation, vegetation management,
   recreation, mining, biological (e.g. beaver suitability), and land ownership. One example of a specific
   influence is how railroads modify riparian and wetland function. Development of railroad prisms within
   the valley bottom could have a pronounced effect on soil movement, subsurface water flow, habitat and
   vegetation. For each category of effects, the potential influence of that particular anthropogenic activity
   will be explained. The effects analysis in each chapter discusses effects whether they are arguably direct
   or indirect.




                           Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000146
                        Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 147 of 406

                                                                  Appendix 1 to Assessments 1 and 3:
                                                                 Aquatic and Semi-Aquatic Ecosystems

   USE CATEGORY                          ACTiViTY                            USE CATEGORY                  ACTiViTY
  Water Use                              Stream Diversions                   Bioiogicai                     Invasive Species
  Water Use                              Transmission                        Bioiogicai                     Beaver Removal
                                         Ditches
                                                                             Bioiogicai                     Pesticides
  Water Use                              Transbasin                          Minerai                        Hardrock & Placer
                                         Diversions
                                                                             Extraction                     Mining
  Water Use                              Reservoirs
                                                                             Minerai                        Energy
  Water Use                              Spring                              Extraction                     Development
                                         Deveiopment
                                                                             Vegetation                     Livestock Grazing
   Transportation                        Roads                               Management
   Transportation                        Traiis                              Vegetation                     Large Wild
                                                                             Management                     Ungulates
   Transportation                        Off-Road Vehicies
                                                                             Vegetation                    Commercial Timber
   Transportation                        Raiiroads
                                                                             Management                    Harvest
   Recreation                            Deveioped
                                         Recreation                          Vegetation                     Natural &
                                                                             Management                     Prescribed Fire
   Recreation                            Dispersed
                                         Recreation                          Vegetation                    Tie Drives
                                                                             Management
   Recreation                            Ski Area
                                         Deveiopment                         Urbanization                  Transmission
                                                                                                           Corridors
                                                                             Urbanization                   Urbanization
Figure 1. Anthropogenic uses identified for Analysis in Region 2. Similar influence groups are color coded. A subset of the most abundant inflences were analyzed.




                                                    Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                                                                             Rvsd Plan - 00000147
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 148 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   In order to focus our efforts on the most likely areas for influences on aquatic ecosystems, we
   concentrated most of our evaluation within the valley bottoms. The geomorphic valley bottom can be
   described as “that area influenced by lateral and vertical stream migration over time”. Most streams in
   mountainous areas are located within the confines of steeper uplands (Figure 2). Activities that occur in
   this area have higher potential for direct and indirect influences on stream and riparian ecosystems.
   Because the valley bottoms tend to be lower in slope than the surrounding landscape. Historically, there
   has been a tendency for many management activities to be located in these areas. In particular, wider
   valley bottoms have a relatively flat, homogenous relief that is economically conducive to development of
   infrastructure. In addition, in an arid environment, vegetation productivity is increase by the abundance of
   water near the surface and nutrient deposition from upstream. The substrate in these areas tends to be
   alluvium deposited by the adjacent stream, which has larger “spaces” between gravels and other substrate
   to store water. In functioning valley bottoms these areas are often saturated and absorb contaminants from
   transportation spills and other sources. Directly, the presence of “infrastructure” in the valley bottom can
   restrict the movement and processes associated with the stream channel as well as maintain a boundary
   for riparian vegetation to grow and reduce habitat for riparian dependent plants and animals.

   While anthropogenic activities in upland habitats can definitely have influences on aquatic systems, we
   felt that quantifying the anthropogenic influences within the valley bottom should be a higher priority and
   help prioritize restoration more efficiently than “potential” upland activities.




   Figure 2. A mountain stream with limited valley bottom area. The
   valley bottom is being confined by the adjacent steep topography
   and large substrate.



                          Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000148
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 149 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   Water resources
   Stream Diversions
   Introduction
   Diversions on Forest Service lands in the Rocky Mountains are typically located in small headwater
   streams, where gravity can easily transport water through gravity downhill. Suitable habitat for aquatic
   species are often limited in these streams, and are further restricted during the late fall, winter, and early
   spring months when flows are generally at their lowest and ice cover is present .

   Stream diversions can seriously reduce instream habitat and migration for aquatic biota, nutrient
   transport, sediment movement and water quality (including temperature) (Poff et al. 1997, Wohl, 2001).
   Water diversions during natural low flow periods can completely dewater streams that directly influence
   the distribution and abundance of aquatic macroinvertebrates and fishes (Auerbach, et al, 2012).




   Figure 3. Small stream diversion in a headwater stream

   Indirectly, stream diversions can influence channel geometry downstream. Peak flows during the annual
   snowmelt runoff maintain stream channel, by moving sediment and scouring the streambed (Wohl, 2000).
   Reduction of peak flows in low gradient, sinuous stream channels can cause channel narrowing, reduced
   channel capacity, and less overall instream habitat. A classic example of flow modification and altered
   stream channel capacity is the Platte River in Nebraska. Once a wide, braided river with numerous
   sandbars shaped by high snowmelt runoff from the mountain areas to the west, the Platte has narrowed
   considerably since Euro-American settlement so that it now has many single channel areas and abundant
   riparian vegetation (Wohl 2001). Physical changes resulting from diversion of high flows also affect the
   organisms that evolved under the historical conditions.

   The degree of influence on aquatic and semi-aquatic ecosystems is dependent on the ecological “change”
   it produces. Planning for water diversion construction and placement may have had limited ecological
   technology in the past, but today we have the ability to incorporate ecological sustainability needs while
   including other demands with modern designs. New designs for diversion structures that allow migration
   of aquatic biota, and address seasonal and Life-history instream flow needs of aquatic resources, and site
   location all can lead to a balance between human and resource water needs (Poff, 2007). Modification of
   existing structures (some in place for decades) can result in benefits to aquatic resources while having
   minimal influences on existing human uses. While the size of a diversion structure may be relatively
   small on the landscape, the influence to aquatic, riparian, and wetland resources may be very large if the
   appropriate issues are not addressed.



                           Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000149
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 150 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   It is our intent to identify the locations and density of diversion structures within each subwatershed as a
   percentage of stream length. This analysis should help provide information that could prioritize future
   discussions and analysis at a smaller scale, in terms of fragmentation, water quality and quantity and
   overall stream health. In addition, it should help define areas where reintroduction of native species as
   well as manage recreational fisheries would be limited without significant and/or unrealistic change. In
   concert with the ecological driver analysis, it is an important step in quantifying the relationships between
   rare/common ecosystems and the influence of physical structures and understanding changes in water
   quantity. Identification of extremely rare ecosystem types should provide thought on the implications of
   future development.

   Results
   The results of the diversion density analysis are presented in Figure 4. Only 7 (4%) of the subwatersheds
   located totally within the Rio Grande National Forest or the Great Sand Dunes National Park are without
   diversions, and only 9 within the total study area (including HUC’s bisecting the National Forest and
   National Parks) are without diversions. The diversion densities ranged from 19 to 0 diversions per
   permanent stream mile, with most of the quantile 5 (highest density) being on both public and private
   lands (32 total). Most of the subwatersheds with the highest densities were also adjacent to the San Luis
   Valley floor, where considerable agriculture and subsequent water management occurs. These results
   indicate that a higher percentage of diversions at this scale are either on private land and/or relatively
   close to the National Forest boundary.

   The lowest density of diversions is associated with the South San Juan, Weminuche and La Garita
   Wilderness areas. Diversions associated with these wilderness areas most likely predate the Wilderness
   Act (1964), and/or are on private land outside the National Forest boundary. The 2 subwatersheds in
   quantile 5 located in the southern portion of the study area are associated are associated with the Conejos
   River, and agricultural land nearby.

   There are 3 subwatersheds that are in quantile 5 that are also located entirely within the National Forest
   boundary. The Conejos River travels through one in the southern portion of the study area where most of
   the adjacent land is either private or administered by the Bureau of Land Management. Another of these
   subwatersheds is located just south west of the town of Creed, and contains a large flat area called Seven
   Parks. There is also considerable private land adjacent to the Rio Grande River where diversions for hay
   meadow watering in particular are occurring. There are most likely miscellaneous diversions for
   livestock, recreation and some human use within this area as well. The last subwatershed in quantile 5 is
   located in the northern portion of the National Forest. There is little private land in this area, with only
   small headwater streams present. The area does not appear to be used for agriculture, but numerous
   unpaved roads are located here. Further information is needed to understand why this area in particular
   falls into this group.




                          Rio Grande National Forest - 5 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000150
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 151 of 406

                                                 Appendix 1 to Assessments 1 and 3:
                                                Aquatic and Semi-Aquatic Ecosystems




        HUC12                HUCUNAME                     Div_stmi   QUA Nit LE
     130100030607            130100030607                 1&.5S497       5
     13O1COO3O6(B      Western F1 at s-3hort Creek        16.21664       5
     13O1000305M      City of Center San Luis Creek       11.44179       5
     130100020705    City of Monte Vista-Rio Grande        9.4792        5
     130100020206      Western Flats-Rock Creek           7.241638       5
     13010003070a            130100030703                 5,637224       5
     130100050406   Town of Guadalupe-Conejos River       4.34S92S       5
     130100040603   Cottonwood Creek-San Juan Creek       3.925498       5
     130100040701     North Branch Saguache Creek         3.9O37S5       5
     13010OO2O1C4          Outlet Pinos Greek             3.24157        5




   Figure 4. Results of the diversion density (#/stream mile/subwatershed) analysis. Names and values with the
   10 highest values (quantile 5) are also presented.




                             Rio Grande National Forest - 6 - Forestwide Planning Assessment
                                                                                      Rvsd Plan - 00000151
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 152 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Future Considerations:
   Considerable diversion activity is present throughout the Rio Grande basin, most of it being associated
   with the San Luis Valley floor and current agriculture. Densities of diversions within Quantile 5 are
   generally quite high, with 4 subwatersheds containing more than 9 structures per mile of stream. The
   abundance of these structures would most likely limit movement and habitat of fish adapted to the lower
   elevation such as the Rio Grande Sucker and chub.

   Quantile 4 subwatersheds average less than 2 diversions per stream mile, and are probably not evenly
   distributed; leaving connected habitat sufficient to support populations of fish and other aquatic
   organisms, if stream flows and associated water quality are adequate. Structures that allow organism
   passage at these structures would ensure ecological connectivity for relatively long distances, while areas
   with high densities would require considerably more reduction or combining of structures and addressing
   instream flow options.

   While this assessment focuses on understanding the large scale factors that influence ecological
   conditions and influences that European settlers have had on the Rio Grande National Forest and
   surrounding landscape, we felt it was important to incorporate previous findings that have influenced the
   distribution and status of native aquatic species that are and will be of management concerns. Alves et al
   (2008) conducted an extensive assessment of Rio Grande cutthroat trout (Oncorhynchus clarki virginalis),
   a subspecies of cutthroat trout that is native to the study area. Their results concluded that historical
   populations inhabited mainstream habitats as low as 6000 feet in elevation. By 2008, the lowest elevation
   of inhabited streams was estimated to be approximately 7500 feet, and 11% of historic habitat was
   occupied in the upper Rio Grande River basin. There were several factors identified for the reduction in
   occupied habitat. The cumulative influences from numerous past and current actions will most likely limit
   the restoration of Rio Grande cutthroat trout to higher elevation, smaller streams and lakes. Working
   cooperatively with private and public water and private diversion owners could increase effective
   connected habitat by modifying existing structures to allow passage, design new structures to do the
   same, and negotiate stream releases to benefit identified important habitats rather than eliminating them
   from consideration. The success of the USDA Forest Service to modify road crossings of streams to
   improve connectivity has been highly successful, resulting in thousands of miles of streams allowing fish
   and other organisms to move to different habitats. The limited number of subwatersheds without artificial
   barriers could be used as examples of connected habitat where longitudinal aquatic processes continue
   and native species restored.

   Impoundments
   Introduction
   Reservoirs have been constructed in the Rocky Mountains for recreation, power generation, snow making,
   agriculture and flood control. The predominant use for reservoirs has been for agriculture and municipal
   consumption (Wohl 2000). Reservoirs were constructed as early as the mid-1800s to help facilitate the
   timing of downstream flows to coordinate with the agricultural growing season in the Rio Grande Valley.
   While we consider impoundments to be within the overall “Water Use” category with diversions, they
   differ by storing water upstream of a dam. Water quality conditions can be considerably different
   downstream of a reservoir than diversions where no significant storage of water occurs.

   Much of the surface water in the Rocky Mountains comes from annual snowmelt runoff from mountain
   areas. Consequently, large volumes of water are produced in the late spring and summer months, whereas
   flows are minimal (e.g., baseflow) during the remainder of the year (Wohl 2000). There is a relatively
   short period of time that ‘excess’ water is available in the stream system, while demand for this water



                          Rio Grande National Forest - 7 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000152
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 153 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   extends throughout different times of the year. The construction of reservoirs and subsequent water
   storage allows for a more “controlled environment”, where water can be stored and released to meet the
   demands of downstream users. Reservoir construction is being considered one of many alternatives to
   current and future water needs as populations in Colorado increase and more water is needed for
   municipal use. Reservoirs were constructed west of the Continental Divide to meet local municipal and
   agricultural needs, but many reservoirs have been built to store water that is subsequently transferred east
   of the Divide via transbasin diversion structures. This has not been the case in the Rio Grande Valley,
   where agreements and policies have maintained water within the Upper Basin.




   Figure 5. A reservoir in the Colorado Rockies. Note the level of water
   compared to the high water line



   Reservoirs can have both beneficial and detrimental effects on aquatic, riparian, and wetland resources.
   Dams clearly have an immediate influence on local conditions, and can influence resources many miles in
   either direction. The most noticeable influence of dams is the water that is accumulated behind it for
   release at appropriate times as well as for recreational purposes. These artificial lakes inundate historic
   riparian or wetland areas and create a new and different environment. Animal diversity can be increased
   or decreased, depending on the system. For example, stream aquatic invertebrate and algae communities
   are replaced with Lake Benthos, zooplankton, and phytoplankton. While many salmonids can exist in
   reservoirs, some fish species cannot tolerate the conditions found in standing water (Baxter and Stone
   1995).

   While some native species of plants and animals may not be able to tolerate the conditions created by
   reservoirs, some non-native species may thrive under those conditions, resulting in competition and/or
   replacement of native species. However, they are typically replaced with popular non-native
   recreationally valuable species, as well as other recreational activities. Many reservoirs in the Rocky
   Mountains are now dominated by non-native species of fish, while the dam forms a barrier for upstream
   migration, and is often used as the downstream extent of native fish recovery efforts. While many non­
   native species were planted to increase recreational opportunities, several, including the common carp
   (Cyprinus carpio) are undesirable in many areas (Baxter and Stone 1995). The influence of other non­
   native species, such as crayfish (Decapoda), mollusks (Mollusca), and bullfrogs (Rana catesbeiana) may
   also be significant.

   Dams create barriers to migration of aquatic organisms (Ward and Stanford 1982). Populations of fish and
   other aquatic biota can be isolated upstream of reservoirs, limiting gene flow and potentially affecting
   population viability. In addition, the inability of fish to migrate upstream of a dam can limit their ability to



                           Rio Grande National Forest - 8 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000153
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 154 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   reach critical spawning habitat. Overall, dams can severely fragment populations of mobile aquatic
   organisms, effectively creating a series of isolated communities.

   The negative effects of reservoirs on downstream water quality are well documented (Wohl 2001; Allen
   1995; Ward and Stanford 1982; Hynes 1970). In addition, the disruption of the nutrient, sediment, and
   woody debris transport can influence conditions downstream. For example, reservoirs act as nutrient and
   sediment ‘sinks’, limiting the downstream transport of these materials (Ward and Stanford 1982). When
   sediment is sequestered in reservoirs, downstream stream reaches may begin to erode their banks and
   scour their channels. Reservoirs also trap large woody debris, which keeps them from reaching
   downstream stream segments where they would normally influence channel and riparian form and
   function (Maser and Sedell 1994).

   Dam structure and operating practices also affect downstream processes. The temperature and nutrient
   content of water exiting reservoirs may depend on whether water is released from the bottom or top of the
   dam. These effects can be dramatic, and algae, benthic macroinvertebrate, and fish communities can be
   altered significantly (Maser and Sedell 1994). Bottom release reservoirs can increase trout production in
   reaches downstream from reservoir dams because temperature fluctuations are stabilized and food supply
   increases. However, erratic flows, gas supersaturation, and reduced spawning success due to low water
   temperatures can sometimes counteract the positive influences.

   Management Implications
   Reservoirs have been a valuable tool for managing the quantity of water needed for domestic and
   agricultural purposes downstream use. As the population increases along the Front Range of the Rocky
   Mountains, more interest is going to be shown for developing water within the National Forest
   boundaries.

   Because reservoirs can influence a wide variety of aquatic, riparian, and wetland resources, both at the
   reservoir site and upstream and downstream, special attention is made when addressing future reservoir
   construction. While building new reservoirs is expensive, there is some interest in increasing the size of
   existing structures, in order to facilitate flow modifications throughout the year. In order to assess the
   effects of new or modified reservoir construction, a full knowledge of the implications to aquatic,
   riparian, and wetland resources in and outside of the project area should be conducted. Adjusting
   reservoir releases can maintain or potentially improve ecological conditions downstream by
   maintaining/improving temperatures, “mimicking” the natural hydrograph and increasing nutrient
   releases. However, severe fluctuations within the reservoir can limit primary productivity and ultimately
   fish populations.

   Results
   The inundated stream length ratio for reservoirs is presented in Figure 6. The results indicate that
   throughout the upper Rio Grande basin reservoirs, inundate relatively little of the total permanent stream
   length within the identified subwatersheds, and are heavily influenced by the few large reservoirs in the
   study area. The range of densities was 0 to 0.2 miles of stream inundated for the total stream miles within
   each subwatershed. Small impoundments were not calculated for this analysis (such as stock ponds),
   mainly because they are located on intermittent streams.

   The map presented is deceiving because of the scale used. It would appear that there are abundant
   reservoirs within wilderness areas, as well as other high elevation areas of the National Forest. However,
   reservoirs such as Rio Grande, Platoro and San Luis Reservoir are not associated with wilderness areas. It
   would appear that past reservoir construction in the study area was conducted at mid-elevations or higher,
   following a relatively consistent elevation across the western portion of the Rio Grande National Forest.


                          Rio Grande National Forest - 9 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000154
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 155 of 406

                                                    Appendix 1 to Assessments 1 and 3:
                                                   Aquatic and Semi-Aquatic Ecosystems


   Several reservoirs such as Big Meadows Reservoir and several smaller reservoirs are within the National
   Forest boundary. The distance downstream of the reservoirs that are influenced by modified water quality
   and quantity were not quantified as considerable site/reach information would be necessary.




        HUC12                  HUC12 NAME                 Artificial Path_mtstmiVF QUANTILE
      130100010106          Rio Grande Reservoir                 0.194781            5
      130100050103    Platoro Resvervoir-Conejos River           0.183267            5
      130100030602             San Luis Lake                     0.133303            5
      130100010205           OutletClear Creek                   0.13264             5
      130100020402       Headwaters La Jara Creek                0.050642            S
      130100010303              Spring Creek                     0.061864            5
      130100010204           South Clear Creek                   0,058485            5
      130100011102   Headwaters South Fork Rio Grande            0.053056            5
      130100020305    Terrace Reservoir-Alamosa River            0.051356            5
      130100010201   Continental Res.-North Clear Creek          0.050542            4




                                Rio Grande National Forest - 10 - Forestwide Planning Assessment
                                                                                              Rvsd Plan - 00000155
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 156 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems

   Figure 6. Results of the reservoir analysis for the Rio Grande national Forest and surrounding ecosystem

   Management Considerations
   Current reservoir locations and abundance do not appear to be “widespread” influences across the Rio
   Grande National Forest. While individual smaller reservoirs can be impactive in a localized area, they can
   also serve as barriers for recovering native fish upstream. The presence of a dam acts as a barrier for non­
   native fish movement upstream, and the reservoir pool can maintain a “stabile” environment for native
   fish.

   In the future, there may be proposals to increase the size of existing reservoirs on National Forest
   managed lands. While surface area of modified reservoirs could become larger and inundate more public
   land, the potential to modify discharge rates to include ecological needs could improve riparian and
   aquatic form and function. In addition, recreational fishing opportunities at lower elevations could be
   increased if release flows were identified to maintain appropriate temperature and seasonal flows.

   Trans Basin Diversions
   Introduction
   Transbasin diversions can have impacts similar to other diversion structures. In addition, they add ‘new
   water’ to the receiving basin and remove water from a different basin. Transbasin diversions can facilitate
   the invasion of non-native fish and other non-desirable species of plants and animals can enter a system
   where they can replace native species. Behnke (1979) found that several sub-species of cutthroat trout
   have been transported into other river basins where they would not normally occur. These introduced
   cutthroat trout subsequently hybridized with the native sub-species of cutthroat trout, leading to a loss of
   genetic diversity in native populations.




    Figure 7. stream section upstream of a transbasin      Figure 8. Directly downstream of transbasin
    diversion. Bank stability is high and stream channel   diversion associated with picture 4. Note the poor
    is stable.                                             and unstable stream banks, and over wide channel




   The diversion and transport of water from one watershed to another can result in physical, chemical, and
   biological changes to the receiving water body. For example, these activities can cause channel erosion,
   increased sediment transport, and deposition in reservoirs and channels. When the natural flow pattern of
   the receiving stream is altered, the ability to move stream channel material also changes (Wohl 2000).
   Relatively steep, step-pool streams with large substrate may not be significantly affected by increased
   discharge, but serious channel changes can occur if the volume of water released into the new system



                          Rio Grande National Forest - 11 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000156
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 157 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   regardless of stream type (picture 5) (Wohl 2001). Affected streams often exhibit elevated bank erosion,
   increased width-depth ratios, downcutting, and a habitat for aquatic organisms. Since these low gradient
   stream reaches tend to be the most productive reaches for aquatic organisms in Rocky Mountain streams,
   water augmentation from transbasin diversions can have a dramatic effect on stream biota. Moreover,
   chemical and microbiological contamination can result from transbasin water transport. Other elements of
   transbasin diversions effects are specifically addressed in the Water Use section under Stream Diversions.

   Management Implications
   Transbasin diversion projects are used to transport water for human use to areas with inadequate supplies
   in other parts of the landscape. While tunnels are sometimes used that avoids impacts to receiving
   streams, they are expensive and ditches are commonly used to move water from one stream to another.
   This last method is a cost effective way of transporting water, with gravity doing most of the work.
   However, ecological impacts can degrade large distances of the receiving stream.

   While removing water from one subwatershed can have impacts of stream flows and associated habitat,
   tributaries downstream can help improve conditions at lower elevations. However, the receiving streams
   often exhibit multiple major influences much farther downstream. In order to adjust to the significant
   changes in water augmentation major stream channel modification downstream of the import source is
   necessary so massive erosion does not occur and instream channel integrity is not compromised.

   Results
   There are very few tranbasin (based on subwatersheds) within the Rio Grande study area (Figure 9). All
   of the diversions are within the upper Rio Grande River basin. As a result, species that have evolved in
   other basins could have been inadvertently transferred. The upper most subwatershed, West Willow Creek
   is diverted into the Farmers Creek sub basin. While Willow Creek exhibits modified stream flows, the
   receiving portion of Farmers Creek would be expected to be influenced from increased stream flows, as
   well as reduced flows at diversions into the Blue Creek subwatershed. The Blue Creek subwatershed also
   receives and diverts flows into the outlet of the South Fork of the Rio Grande River.

   The Blue Creek and Farmers Creek subwatersheds would be expected to have the most influences from
   these series of diversions as they have the highest ratio of transbasin activity, plus water is received as
   well as diverted within their boundaries.

   Future Considerations
   The Rio Grande study area has only one system of transbasin diversions. These diversion systems
   comprise a relatively small percentage of the permanent stream systems within their boundaries (the
   largest being 23% of the total permanent stream length). However, as these systems can produce
   significant amounts of sediment downstream as a result of erosion, they could have considerably more
   sediment depositing downstream.

   Fortunately there are no transbasin diversions from other river basins that could transfer unwanted species
   (including pathogens) and very different water chemistry and discharge into the Rio Grande system. In
   the future, trans basin projects identified within as well as outside the Rio Grande River system should
   consider the major biological and physical changes that can occur when they are implemented. Mitigation
   for these types of projects is extremely expensive to mitigate the effects of especially changes within
   receiving streams.




                          Rio Grande National Forest - 12 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000157
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 158 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems




   Figure 9. Only 4 subwatersheds are influenced by tranbasin diversions.




                         Rio Grande National Forest - 13 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000158
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 159 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Spring Developments
   Introduction
   Across the Rocky Mountain landscape (both in the plains and mountains) ground-water fed springs and
   associated wetlands are scattered in isolated locations (Winter et al. 1998). The Rocky Mountains and
   associated grasslands are located in an arid to semi-arid landscape, with low total annual rainfall and high
   annual rainfall variability (Wohl 2001), resulting in few conditions conducive to spring development. As
   the number of settlers and domestic cattle increased in the 1800s and 1900s, the capturing of water
   associated with springs became common, especially since many of these water sources were a
   considerable distance from streams. The water coming from springs often was and still is concentrated
   through pipes to watering tanks, or ponded for watering sources for livestock. Early settlers also
   capitalized on this relatively constant water source for drinking water.

   Springs and associated wetlands provide unique and dramatic habitats on a relatively arid landscape in the
   Rocky Mountain region. The biodiversity in these specialized habitats is very high, as a result of the
   hydrologic, soil, and microclimatic conditions associated with them (Cooper 1986). The vegetation of
   springs may be dominated by mosses, herbaceous plants, woody plants, combinations of all of these
   groups, and likely the variability from site to site is extremely high. Most plants that occur at springs are
   highly sensitive to water chemistry changes, and stabile discharge. Many rare forms of invertebrates and
   amphibians also inhabit these environments because of the constant water temperatures, abundant food
   supplies and general lack of predators (Hammerson 1986).

   The direct impacts to springs and associated wetlands from development are primarily due to altering the
   hydrologic regime that formed the spring discharge, and also the habitat affected by the flowing water.
   Once the springs are developed, they lose their unique characteristics, and may revert to upland
   conditions, and associated taxa are lost. Even when ponded, the hydrology and nutrient cycling
   capabilities of the system are altered dramatically, resulting in habitat no longer supportive of the
   communities that evolved there. Indirectly, the concentration of domestic livestock at these watering
   places can alter the biological communities there by intensive grazing activity, soil compaction, and the
   addition of nutrients.

   Management Implications
   Historically springs have commonly been used for watering of domestic livestock and human
   consumption. However, the consequences to biodiversity and species viability are only now being
   realized. Although opportunities in the past have been limited to procure water from other sources, we
   now have the ability to weigh the consequences and balance the need for development and maintain the
   viability of these rare ecosystems. Alternative water sources such as wells or slightly changing grazing
   strategies can restore spring and wetland function. However, in wetlands that have taken thousands of
   years to develop, such as fens, irreparable damage may have already been realized. Identification of new
   water sources and protecting existing spring environments are imperative if rare species of flora and fauna
   are to be protected.

   Results
   There was not a thorough source of data to analyze the location of springs across the study area and/or the
   percentage that have been modified by management. Springs in the arid west have historically been
   developed for various human and agricultural purposes. While these ground water driven ecosystems are
   uncommon and often contain rare and unique flora and fauna, there has been little study of these systems
   to understand their importance from a biodiversity and water quality standpoint. In addition, if climate
   change predictions of less water and stability in aquatic systems, spring discharge are a very important


                          Rio Grande National Forest - 14 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000159
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 160 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   source of water with high water quality (in most cases) and consistent temperatures. The area associated
   with the Sangre de Cristo range could be a valuable source of springs as relatively high amounts of
   calcareous bedrock is located here. The limestone found here and adjacent valley bottoms are dissolved
   by water, allowing water that percolated through the substratum to reach the ground surface. Several of
   the stabile populations of native fish in the upper Rio Grande Basin are found in streams and large springs
   in this area, indicating a link between their persistence and the characteristics of spring influence.

   Additive results for the Water Category:
   Ranks for each water use category were added to provide an overall additive rank of the water uses in the
   study area. While this could be considered to be a “cumulative” approach to water uses within the upper
   Rio Grande basin, we chose to use the additive term as a more accurate measure of abundance. While the
   finer scale influences on aquatic, riparian and wetland ecosystems have been well documented from past
   activities (See in part Wohl, 2001), our results should aid in identifying areas that could be focused on to
   understand the fine scale additive influences of water management in the study area.

   Management Implications
   The additive category represents the subwatersheds with various relative values of rank for water related
   management activities. These values can be used to identify priority subwatersheds for restoration, and or
   protection. With relatively few subwatersheds manage med for water related resources, the few that do
   not contain these activities could be used for native fish and other aquatic animal management, controls
   for monitoring ecosystem function within previously identified clusters of similar ecological function as
   well as other values.

   Results
   The results for the additive analysis for water resources are presented in Figure 10. There were a total of
   28 subwatersheds with little to no water management (0 and quantile 1) that we quantified. These
   subwatersheds are relatively uncommon as 86 subwatersheds were within the 2 highest quantiles (4 and
   5). In the 2 quantiles with intermediate values (quantiles 2 and 3), there were 49 subwatersheds. These
   results indicate that there are considerably more additive water management activity influences within the
   upper Rio Grande basin than moderate activities and between 3 and 4 times as many subwatersheds with
   little to no identified water activities when looked at in an additive analysis. While it would be intuitive to
   think that subwatersheds with no water management would be in wilderness areas, that is not the case.
   Three of the 4 subwatersheds Identified in the far western portion of the National Forest are not within
   wilderness areas. One subwatershed is isolated north of the town of South Fork. The highest ranks were
   mostly associated with the Rio Grande and South Fork pf the Rio Grande Rivers, San Luis Creek in the
   northern part of the Forest, the Conejos River in the far southern portion of the National Forest and
   especially near the town of Alamosa.




                          Rio Grande National Forest - 15 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000160
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 161 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems




   Figure 10. Additive ranks for the water management activities. Distribution of the ranked quantiles was
   considerably more than subwatersheds with few or no activities.




                          Rio Grande National Forest - 16 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000161
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 162 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Management Considerations
   The Rio Grande National Forest includes subwatersheds with limited areas of water management related
   activities. These results would indicate that the public lands, especially at higher elevations contain less
   fragmented stream reaches and more intact conditions for a variety of ecological purposes. Alves et al
   (2008) identified most of these areas as priorities for conservation populations of Rio Grande cutthroat
   trout as well as future recovery areas. Unfortunately, fish at lower elevations, including the Rio Grande
   sucker and chub face much more fragmented and water restricted habitats. Portions of subwatersheds at
   lower elevations on public lands, especially north of Del Norte and South Fork could be areas to evaluate
   if water and habitat are adequate and other anthropogenic activities are not severely limiting.

   Understanding the distribution and additive amount of water management activities could help managers
   and stake holders identify where future projects may be located without impacting relatively unimpeached
   systems. The subwatersheds with high concentrations of development would most likely not witness
   severe ecological impacts as they are already highly modified.


   Transportation
   Roads
   Introduction
   Interstate and intrastate road networks (state and federal ownership, etc.) throughout the United States are
   a fairly recent phenomenon because motorized vehicles (cars and trucks) are a relatively new technology
   compared to horse-drawn wagons, trains, etc. In 1919, Lt. Colonel Dwight D. Eisenhower (later to
   become President Eisenhower) volunteered to join the U.S. Army’s first transcontinental motor convoy
   from coast to coast (Weingroff 1996). The convoy originated in Washington, D.C., and after 62 days in
   transit, arrived in San Francisco on 5 September 1919. Many of the unrelenting and hazardous trials of the
   journey (mud, dust mechanical failures, etc.) can be directly attributed to the poor road conditions (extant
   wagon roads or pioneered roads) that were encountered during what must have been, two exhausting
   months of travel.

   Statistics published by the Federal Highway Administration (Highway Statistics 2000; Public Road
   Length 1999) indicate that the nation’s transportation network has expanded dramatically since the initial
   mass production of the Model T. In 1919, there was no national transportation network, with the
   exception of the railways. Eighty years later, the nation had constructed more than three million miles of
   rural road (this number does not include urban road miles). For example, by 1999, the state of Colorado
   had constructed 70,948 miles of rural roads, 51,875 miles of which were county roads. By comparison,
   the miles of rural roads under federal jurisdiction in Colorado in 1999 totaled 7,299. Now, the nation’s
   road networks, both rural and urban, serve as conduits to transport a vast number of people, goods, and
   services. Clearly, expansion of the nation’s road networks has had profound impacts on ecosystems and
   biotic communities.

   Beneficial and detrimental effects of roads on environmental conditions (aquatic and wetland) have been
   debated among the public, natural resource scientists, natural resource land managers, and civil engineers.
   On one hand, the presence of roads has provided direct access to once remote locations so that natural
   resource managers are able to collect data and to implement restorative projects to protect, maintain, and
   enhance populations and habitats of aquatic and wetland biota. On the other hand, roads can profoundly
   contribute to the diminution and degradation of native aquatic and wetland ecosystems by altering natural
   drainage area (photo 6). In addition, roads have facilitated the consumptive use and in some cases,



                          Rio Grande National Forest - 17 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000162
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 163 of 406

                                          Appendix 1 to Assessments 1 and 3:
                                         Aquatic and Semi-Aquatic Ecosystems


   extirpation, of indigenous plants and animals by human beings. The degree to which a road or road
   system will negatively affect environmental conditions is strongly associated with several critical factors
   such as road design, road placement, road-construction practices, road use, and road maintenance.
   Ironically, it is often difficult to reconcile the necessities of roads with their potential and actual negative
   impacts on aquatic and wetland ecosystems.




    Figure 11. The Poudre River in northern Colorado is a     Figure 12. An unpaved road crossing with limited
    good example of a paved road that limits the rivers       ability to pass high flows.
    ability to migrate laterally, move sediment onto its
    flood plain and absorb energy from floods.



   Management Implications
   Roads are widespread and permanent features of National Forest lands. Roads and road networks under
   Forest Service jurisdiction can be managed to reduce or eliminate (in some cases) negative impacts to
   aquatic, riparian, and wetland ecosystems. The benefits that accrue to aquatic and wetland ecosystems by
   correctly designing, constructing, and maintaining roads in the National Forests are many. Properly
   designed, constructed, and maintained roads offer the following benefits to streams, riparian areas, and
   wetlands: reduction in soil erosion and sedimentation; reduction in soil compaction; reduction in chemical
   contaminations of soil and water; maintain water quality conditions conducive to supporting aquatic life;
   maintain nutrient cycling in lotic and lentic environments; support the abundance of riparian and wetland
   plant communities; and promoting many additional benefits to stream, riparian, and wetland
   environments. As the population in the United States ages and increases, there will be an increased
   demand by some Forest users for additional roads to access the National Forests. In addition, there will
   always be unwanted, illegal, user-created roads that must be managed or removed. Considering the likely
   future increase in demand for roads and the finite amount of the National Forest land, the probability of
   incurring additional resource damage and destruction to aquatic, riparian, and wetland ecosystems is
   relatively high. Appropriate road and travel management will be necessary, and include restricting the
   growth in motorized use and removing any class of unwanted road.

   Paved Roads Density Results
   The results of the paved road density analysis within the valley bottoms are presented in Figure 13. There
   are far more subwatersheds were identified with no paved roads identified in valley bottoms (86) than all
   the other quantile values combined (77). Paved roads are restricted to highways bisecting the Rio Grande
   Valley, both north to south and east to west. Along these routes are the main towns in the valley. Other
   paved state and county roads are located on the San Luis Valley floor, there are relatively few on the Rio


                           Rio Grande National Forest - 18 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000163
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 164 of 406

                                                  Appendix 1 to Assessments 1 and 3:
                                                 Aquatic and Semi-Aquatic Ecosystems


   Grande National Forest. The highest density of paved roads in this exercise was 0.17 miles per stream
   miles within the Blue Creek subwatershed.




         HUC12                 HOC 12 NAME              RoadPmistmiVF QUAN n LE
       130100011008        Blue Creek-Rio Grande            0.17369       5
       130100030504     City of Center-San Luis Creek      0.140273       5
       130100030603      Western Flats-Short Creek         0.130129       S
       130100010303           Kouselog Creek               0,125798       5
       130100011106    Outfet South Fork Rio Grande        0.1106S3       5
       130100010702   West Willow Creek-Willow Creek       0.10S084       5
       130100020708    City of Monte Vista-Rio Grande      0,099395       5
   1   130100030606            Arrastre Creek               0.08172       S
       130100030406            Spanish Creek                0.08167       S
       130100030405           Crestone Creek               0.072705       5




   Figure 13. Paved road density for the upper Rio Grande River basin. Relatively few paved roads exist here as
   compared to more populated parts of the Colorado front range (Winters, et al., unpublished assessment
   results.



                               Rio Grande National Forest - 19 - Forestwide Planning Assessment
                                                                                       Rvsd Plan - 00000164
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 165 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Management Considerations:
   Paved roads are designed primarily to withstand more traffic than unpaved roads. As populations in the
   country increase and more vehicle traffic occurs, there will be most likely more demand for paved roads.
   When future proposals are made to pave roads as well as build new ones on the Rio Grande National
   forest, there could be consideration to build roads outside of the valley bottoms. By doing so, the risk of
   flooding, spills into stream systems, and interactions would be dramatically reduced. While there are
   obviously short-term cost savings in constructions, longer-term costs with rebuilding and maintenance
   could be lessened. If paved roads are built in valley bottoms, they could be located as far from riparian
   areas as is feasible, and also in a way to drain riparian areas, absorb and pass floods without damage, limit
   contaminants and allow riparian habitat to function with streams.

   Paved Road Crossings:
   Road crossings can fragment water and riparian ecosystems and isolate populations of plants and animals.
   The result can be population loss if other impacts such as fire or contaminants. In addition, if too few
   individuals are isolated inbreeding can occur, resulting in low reproduction success and ultimate
   elimination. Many different fish and wildlife species will not pass through a poorly designed crossing.
   Terrestrial animals and some amphibians would rather climb the road banks and risk being hit by traffic.
   Properly designed crossings minimize the fear to through them, as well as unwanted contacts with
   vehicles. Fish, aquatic macroinvertebrates and some amphibians need stream crossings designed so they
   can swim upstream or downstream through them. Stream velocity, depth, habitat, etc., all need to be
   considered for proper movement.

   Results:
   Results of the paved road crossings are located in Figure 14. As would be expected, these crossings are
   associated with the main travel corridors in the basin. The higher values on the east side of the basin are
   mostly to the west of the Sangre De Cristo Mountains, accept the Cuchara Pass road. Subwatersheds on
   the western side of the drainage are mostly associated with highway 160, over Wolf Creek Pass and
   highway 149 thru Creede.

   Future Considerations:
   Paved highways and smaller roads associated with the Rio Grande National Forest are primarily under the
   jurisdiction of the local counties, and state of Colorado. Forests have an opportunity to provide input into
   designs and locations on Forests lands. Providing early input into designs and management of these roads
   can have important benefits to aquatic and wetland resources, including stream crossings and locations
   away from riparian and wetland ecosystems. The Forest Service is considered to be an expert agency in
   designing stream crossings in order withstand flooding while maintaining conditions for maintaining
   ecological function, including the passage of terrestrial and aquatic animals to pass.




                          Rio Grande National Forest - 20 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000165
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 166 of 406

                                                        Appendix 1 to Assessments 1 and 3:
                                                       Aquatic and Semi-Aquatic Ecosystems


      ALLPelNTS^




         HUC12                 HUC12NAME                 Road_L.stmiVF   QUANTILE
       130100011106     Outlet South Fork Rio Grande       0.511113         5
       130100011008       Blue Creek-Rio Grande            0.490984         5
       130100M0401       Middle Fork Carnero Creek          0.4S09S         5
       130100010702   West Willow Creek-Willow Creek       0.354646         5
       130100040404 ) Cool brush Canyon-Carnero Creek      0.334728         5
       130100040303            Houselog Creek              0.322826         5
       130100040706         Outlet Saguache Creek          0.252833         5
       130100011101               Pass Creek                0.24825         S
       13O1QOO3O5M 1    City of Center-San Luis Creek      0.247342         5
       130100030606 .           Arrastre Creek             0.241312         5




   Figure 14. Paved stream crossing density in the upper Rio Grande River basin.




                                 Rio Grande National Forest - 21 - Forestwide Planning Assessment
                                                                                             Rvsd Plan - 00000166
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 167 of 406

                                                  Appendix 1 to Assessments 1 and 3:
                                                 Aquatic and Semi-Aquatic Ecosystems



       AU-P®INTSjt




          HUC12              Hue 12 NAME             aoad_U_mistmiW QUANTILE
        130100040102         Horse Canyon                0.3S3935      5
        13O10OOSO4O4         Bighorn Creek               0.336002      S
        130100040204          Squaw Creek                0.295686      5
        130100040304           Mill Creek                 0.289        5
        130100040201        California Gulch             0.287285      5
        130100040601          Tracy Canyon               0 273938      5
        130100030101       Little Kerber Creek           0271195       5
        130100011304     Shaw Creek-Rio Grande           0 262548      5
        130100040302   Antelope Creek-Sheep Creek        0 254535      5
        130100M030S           Jacks Creek                0.242797      5




   Figure 15. Results of the unpaved road density analysis for the Rio Grande National Forest and surrounding
   ecosystem.




                            Rio Grande National Forest - 22 - Forestwide Planning Assessment
                                                                                       Rvsd Plan - 00000167
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 168 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   Unpaved Road Density:

   Results:
   Results for the unpaved road density are presented in Figure 15. These results show considerably more
   unpaved roads in the valley bottoms on National Forest lands as opposed to paved roads. While 31
   subwatersheds were found to be in the highest quantile for density in the valley bottoms (app. 0.4 miles
   per stream miles within the valley bottom), only 12 were without any unpaved roads. The lowest densities
   were associated with the wilderness areas in the western part of the National Forest Service and the steep
   Sangre de Cristo mountains on the eastern side. The highest values were in the northern portion of the
   basin, although unpaved roads appear to be common throughout the National Forest associated with the
   valley bottoms. While the highest density of unpaved roads may appear relatively limited (0.4 miles per
   stream mile in the subwatershed), it is important to note that the valley bottom represents a limited
   amount of a subwatershed and the overall total density is most likely considerably higher if the uplands
   are included. The density of unpaved roads is definitely skewed towards more roads within the basin than
   less. As mentioned previously, the presence of unpaved roads in these areas can have significant direct
   and indirect influences on riparian ecosystems due to their position, removal of trees that fall naturally
   into the stream channel and riparian, and restriction of stream movement laterally. Instream habitat is
   compromised over time as a result of all of these factors.

   Future Considerations:
   Understanding the influence, both directly and indirectly on aquatic and semiaquatic systems by unpaved
   roads is paramount to healthy ecosystems. Those subwatersheds that are located in quantiles 4 and 5
   could be considered priorities for evaluation and subsequent treatment if high value aquatic resources are
   identified. Low gradient reaches that were previously identified as ecological drivers could be considered
   the highest priority due to their relatively large riparian areas, sensitivity to temperature changes, natural
   water storage in the alluvium and abundant instream habitat. By focusing on low gradient reaches as a
   high priority, more than 50% of the stream reaches could be considered lower priorities until low gradient
   areas are more resilient.

   Unpaved Stream Crossings

   Results:
   Stream crossings are associated with most unpaved roads in the valley bottoms are. Historically these
   crossings were fairly primitive, being constructed of corrugated culverts, stream fords or small bridges.
   The results of this analysis are presented in Figure 16. Values ranged from 0 (15 subwatersheds, <10%) to
   1.3 crossings per stream mile in the West Fork of Pinos Creek subwatershed. A total of 20 of the 30
   subwatershed within quantile 5 were located totally within the Rio Grande National Forest. These results
   are considerable different than the paved road results and indicate a relatively high number of unpaved
   roads that are associated with valley bottoms and associated streams and riparian areas. While not equally
   distributed, there are likely areas that are considerably more concentrated than others.




                          Rio Grande National Forest - 23 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000168
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 169 of 406

                                                  Appendix 1 to Assessments 1 and 3:
                                                 Aquatic and Semi-Aquatic Ecosystems



       ALLPttlNTS^




                              HOC 12 NAME              (toed Li !tmlUF   QUANTILE
        130100020102      Wcsi fork Pinos Crtok           1.303065          S
        130100011104          BeovcrCrcok                 1.O78BO2          5
        110100030101       Little Kerbet Creek            10D44S:           E
        130100040:01         California Gulch             0.870114          5
        130100040:04          Squaw Creek                 0 344249          5
        130100040102          Horse Canyon                0318403           5
        130100040104   Johns Cfc ek-Sagu ache Creek       0300079           S
        130100011304     Shaw Creek-Rio Grande            0.79033           S
        13DIOT0111D3           Pirk Creek                 0.791184          S
        130100011001           Lime creek                 0735445           5




   Figure 16. Results of the stream crossing density analysis conducted on the Rio Grande National forest and
   surrounding ecosystem.




                            Rio Grande National Forest - 24 - Forestwide Planning Assessment
                                                                                       Rvsd Plan - 00000169
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 170 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Future Considerations:
   Road systems have been developed on National Forest administered lands for a number of management
   related activities. As a “multi-purpose management” agency, it would be expected that densities could be
   higher than on adjacent lands where management is not as diverse. Historic and current vegetation
   management, grazing, water development and access for recreation all require transportation routes to
   access specific areas. Often these roads are maintained, with other roads eventually built to access new
   sources of interest. As a result of limited funding and technology just recently developed to understand
   the importance of connectivity within riparian and aquatic ecosystems, past maintenance and building of
   stream crossings did not consider their ecological importance.

   Due to many limitations, prioritization of important subwatersheds could be conducted using the results
   of the ecological driver analysis, proposed fish and other animal reintroduction areas for aquatic and
   riparian areas to conduct inventories for passage issues. In addition, many areas have relocated road
   systems where crossings are not needed. Due to very limited funds within the agency, prioritization and
   direction is extremely important for focusing on the most important areas. In addition, the funds needed to
   rebuild damaged crossings would be reduced over time as maintenance costs would be reduced
   significantly. There could be new areas for reintroduction of native fish that would benefit greatly by the
   removal of movement blocking streams that benefit restored populations.

   Proposed new roads could incorporate the values related to erosion, fragmentation and restoration to
   identify high priority areas for construction that could be more sensitive to valley floor ecology and
   species needs as well. There are currently building specifications that include sensitivity to important
   values on public lands. The incorporation of new design criteria to ensure proper stream function and
   biological processes are now available one that could be considered in these designs.

   Trails
   Introduction:
   The history of recreational trails (non-motorized) in America is about 110 years old. Prior to 1891,
   essentially all of the known trails throughout the United States comprised Indian trails, old hunting trails,
   stock driveways, and game trails. However, with the creation of the United States Forest Service, the
   miles of trails constructed for recreational use would substantially expand the nation’s trails network.

   In 1905, the U.S. Forest Service was created to manage Forest Reserves and since then the number of
   miles of trails in National Forests exceeds 133,000 miles (Williams 2000). Ironically, the total miles of
   trails in the National Forest system is less now than it was several decades ago (Williams 2000). Although
   the total trail miles in National Forests now is less than in the past, the popularity of backpacking,
   camping, hiking, horseback riding, and mountain biking strongly suggests that trail use is greater now
   than it has ever been. Because recreational trails can have a multiplicity of impacts on the land and on
   ecosystems, several organizations have been formed to promote “light on the land” techniques to
   minimize the impacts of trail use.

   Trails can be considered as miniature roads, though clearly, there are obvious dissimilarities, impacting
   aquatic habitats and riparian areas in similar ways, though generally of lesser magnitude. Leung and
   Marion and Cole (1996) found that the rates of soil erosion for trails used by cyclists, hikers, backpackers,
   and horse riders were similar to those for roads. Elliot (2000) suggests, however, that the total amount of
   sediment originating from trails is generally less than that originating from roads because of the
   differences in the total surface disturbed between the two designs.




                          Rio Grande National Forest - 25 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000170
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 171 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Changes to water quality can be directly attributable to road use, road construction, and road maintenance.
   Sedimentation due to road-surface erosion and mass wasting, chemical contamination, and compacted
   soils are the primary causes of water quality degradation due to road construction, road use, and road
   maintenance (Morrison et al. 1995; Waters 1995; Elliot and Hall 1997; Elliot 2000; Elliot et al. 1996).

   According to many investigators road construction, road use, and road maintenance can directly affect
   watershed hydrology (Furniss et al. 1991; Waters 1995). Also, roads can affect watershed hydrology in
   indirect ways (Elliot et al. 1999).

   Most of the harmful impacts to aquatic biota due to road use, road construction, and road maintenance are
   indirect impacts, excepting direct mortality to aquatic plants and animals during road use (stream
   crossings) and road construction. The effects of roads on aquatic biota can affect many of the life-history
   stages of aquatic animals by degrading or eliminating their associated habitats (Furniss et al. 1991; Waters
   1995).

   Road use, road construction, and road maintenance can negatively impact channel form and channel
   integrity, particularly at stream crossings (Waters 1995; Hagans et al. 1986; Heede 1980).

   Results:
   Results of the trail analysis on the Rio Grande National Forest and surrounding ecosystems are presented
   in Figure 17. It is apparent that most identified trails are located with designated wilderness areas with the
   highest density being located in the South Fork Saquache Creek and North Fork Conejos River. There are
   79 subwatersheds without trails, which is by far the highest number of any quantile (0.16 miles per stream
   mile in the valley bottom per subwatershed. These results would indicate that there are few trails in the
   valley bottom. However, evaluations of maps indicate that there are a large percentage of existing trails
   located adjacent to streams, just very few trails. An example would be the Ute Creek system of trails in
   the Weminuche Wilderness (USDA Forest Service Recreation Map). Trail systems exist along all major
   tributaries and mainstem from its confluence with Rio Grande Reservoir to the Continental Divide and
   high elevation lakes almost 9 miles to the west. The large number of tributaries is reflected in the low
   density value. The area around the community of Crestone, and the popular “Crestone Needles” located
   on the Pike San Isabel National Forest also contains subwatersheds in the highest 2 quantiles, due to the
   steep topography and lack of roads. This is a popular area for recreationists during the summer months.

   Management Implications:
   There are benefits that accrue to aquatic, riparian, and wetland ecosystems if land managers properly
   design and maintain (e.g., best management practices) trail systems. The primary benefit to aquatic
   ecosystems is: reduced local degradation to these ecosystems due to trail construction, trail use, and trail
   maintenance and due to the increased difficulty of introducing invasive species. Riparian and wetland
   vegetation is effective in reducing erosion and sedimentation in streams and in retaining soil moisture.
   Plant-root networks provide soil stability and soil cohesion.

   Appropriate trail management can also benefit native biota. Because trail networks can be used as
   conduits to disseminate non-native plants and animals into aquatic, riparian, and wetland ecosystems,
   improved trail management can reduce the probability that non-native species introductions will occur.
   Often, the “bucket brigade” seeks surreptitious avenues to ply their trade of introducing exotic species
   into new environments. By eliminating unwanted, user-created trails, exotic species introductions may be
   prevented, or at least, made more difficult to accomplish. Public education is also an important part of
   restricting the spread of invasive species.




                          Rio Grande National Forest - 26 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000171
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 172 of 406

                                                    Appendix 1 to Assessments 1 and 3:
                                                   Aquatic and Semi-Aquatic Ecosystems



       A<-i-P0i^rrs4-




           HUC12                 HOC 12 MAME                TiiUjiMstmiVF   QUAWT1LE
                          iovlli Fork ssguachecrtok           O-16&245         5
        I^OIOOOWIOI         NQrlh FoJicCofiejos fiiver        OA625O5          5
        xaaioDQnio?    hteadwdter$^OUtKFOr'k HjoGratae        0.1K5J1          5
        liOlOCXJMlOS    Outlet $ciyt-h FprXCCiriejQ&River     0,127568         5
        ISOIDOOSOMZ                Elk Creek                  0.127552         5
        13O1OW1OSO2    west KllowSCreek-BeilovrsCreek         0.125351         5
        15010001001        He adwate rs fcose Cree k          0.1224S8         5
        130100050401      RCmgn Creek-tone jus River          0-120524         5
        150100050106 Heed Waters SQUlh Fork Conejos River     0.114502         5
        130100010501             so y9«r Creek                0-107105         5




   Figure 17. Results of the trail analysis conducted on the Rio Grande National Forest and surrounding
   ecosystem.




                               Rio Grande National Forest - 27 - Forestwide Planning Assessment
                                                                                         Rvsd Plan - 00000172
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 173 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Future Considerations:
   Trails are necessary to guide travelers into areas that are not roaded, as well as enjoy a more primitive
   experience. This is especially true of designated Wilderness areas. However, when located in the wrong
   locations, such as wetlands and within riparian areas, they can by their location disrupt water flow, cause
   erosion and replace native vegetation. One of the more recent problems existing with trails located to
   these areas is the introduction of non-native invasive species, such as plants and potential aquatic
   pathogens such as whirling disease (Myxobolis sp.). Trails in sensitive alpine ecosystems have been
   found to initiate extensive erosion.

   While trails are relatively benign compared to roads, the location of new trails and potentially relocation
   of damaging trails could be very important in the future for proper functioning of aquatic ecosystems.
   New trails built out of valley bottoms and far enough away from wetlands so not to influence hydrology
   would also ensure that some invasive species would not get established in aquatic ecosystems, wetlands
   and riparian areas. Erosion and subsequent sediment delivery to streams would also be minimized.

   OHV Use
   Results:
   Results of the OHV trail locations are presented in Figure 18. OHV trail use appears to be fairly limited in
   the study areas. Of the 163 subwatersheds, 113 (app. 70%) do not have trails in the valley bottoms, and
   most are at lower elevations. There are 11 (app. 7%) in the highest quantile, with one, the headwaters of
   La Garita Creek in the south west portion of the National Forest. All the other trails have relatively few
   miles of trail in the valley bottoms. These results are based on identified trails identified by the Rio
   Grande National Forest and do not include user developed trails that could be present. As in all of the
   transportation, user created roads and trails are typically present, and enforcement is limited. However,
   the limited amount of trails in the valley bottom indicates that this use is probably limited and isolated.

   Future Considerations:
   Based on our assessment results there appears to be very limited identified trails in the valley bottoms.
   That does not mean that there are not isolated areas where OHV use could be causing resource damage.
   OHV’s have the potential to cause resource damage if individuals do not follow regulations. As with all
   Forest visitors, OHV use should be monitored to ensure streams and wetlands are not compromised.
   Discussions of opening new trails to OHV use should consider the monitoring, maintenance and fragile
   ecosystems in these areas. With the increased size and horsepower and speed of today’s OHV’s, as well as
   aggressive tread design potential damage can occur. However, these statements should not be construed as
   all OHV use is damaging. OHV groups maintain many areas where they enjoy riding and like many other
   activities that can potentially impact aquatic resources are limited to a few unethical users.




                          Rio Grande National Forest - 28 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000173
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 174 of 406

                                                   Appendix 1 to Assessments 1 and 3:
                                                  Aquatic and Semi-Aquatic Ecosystems




           HUC12                  HUC12NAME                     OHV_nnis(nniVF
        130100040501       Headwaters La Ganta Creek               0.230526
        130100040502   Little La Garita Creek-La Garita Creek      0.132056
        13O1OOO113O1               Alder Creek                     0.12134S
        130100020103              Bennett Creek                    0,111907
        130100010102                Pole Creek                     0.094644
        130100050104                 lake Fork                     0,093646
        130100020702              UmekHn Creek                     0-090266
        130100010601        HeacfwatereMiners Creek                0.079825
        130100020401               Jsrosa Creek                    0-072121
        130100011302                Bear Creek                     0.068112




   Figure 18. OHV trail locations




                               Rio Grande National Forest - 29 - Forestwide Planning Assessment
                                                                                        Rvsd Plan - 00000174
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 175 of 406

                                                   Appendix 1 to Assessments 1 and 3:
                                                  Aquatic and Semi-Aquatic Ecosystems




           HUCU                   HOC 12 NAME             SUM QUANTILE   QUANTILE
        130100010™       West Willow Creek-Wiilow Creek        23           S       ;
        130100011106      Outlet South Fork ftioOrande         26           5
        13010001060(2         Outlet Miners Creek              24           5
        13010003040(5            Crestone Creek                23           S
        130100030(20(3              Dry Creek                  22           5
        13010002070(2            Limekiln Creek                22           S
        130100011301              Alder Creek                  21           5
        130100011302               Bear Creek                  21           5
        1KHD0Q11002        Seep^e Creek-Rin Grande             20           S       I
                                                                            5       i
        130100011006        Faimers Creek-Rici Grande          20




   Figure 19. Results of the transportation additive rankings for the Rio Grande National Forest and
   surrounding ecosystem.




                              Rio Grande National Forest - 30 - Forestwide Planning Assessment
                                                                                        Rvsd Plan - 00000175
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 176 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Additive Influences of the Transportation Group
   Results:
   The results of the additive influences of transportation activities are presented in Figure 19. One
   subwatershed had no transportation activities identified within its boundaries, while there is a trend
   toward less activities associated with wilderness areas in the western and a portion of the northern part of
   the Forest, most of the highest additive levels (quantiles 4 and 5) are found associated with areas of higher
   populations such as Creede, South Fork and Del Norte. These results could be the result of early
   development that needed natural resources to maintain infrastructure, expanding further into the
   surrounding areas, and in the case of Creede, proximity to mining areas.

   Future Considerations:
   The results of the transportation category show that human transportation is located throughout the valley
   bottoms of the Rio Grande National Forest. These activities have occurred throughout the last 200 plus
   years, beginning with primitive trails to wagon trails, to a wide range of transportation routes. Our results
   indicate that the cumulative ranks of transportation is highly skewed towards more than less activities,
   showing that the conditions within valley bottoms are conducive to transportation development. Future
   considerations could be given to limiting routes in these sensitive areas, as well as ensuring that the
   processes for maintaining healthy riparian areas and streams, natural storage in low gradient reaches are
   maintained. In addition, as discharge levels are expected to be reduced more variable, maintaining the
   quality of water related habitats, and reducing the effects of flooding on infrastructure is going to be
   important.


   Recreation
   Introduction
   Recreational use is a key management activity for the National Forest Service. Many forests are located in
   close proximity to urban areas, facilitating the use of these public lands by visitors for a variety of uses.
   However, it is becoming increasingly difficult to balance the needs of increasing public demand for
   relatively natural settings of National Forests and Grasslands, while maintaining the resource values they
   are intended to provide. By understanding the extent and trends of recreational use and the influence it has
   on aquatic, riparian, and wetland resources, we can better balance public recreational needs with needs of
   the resources.

   Recreational uses vary seasonally, but their influences on and wetland resources can persist year round.
   The influences of increased vehicular traffic and concentrated water recreation may be more apparent on
   surface water quality, whereas the influences of concentrated winter recreation (covered separately under
   Ski Areas and OHVs) may be more apparent in groundwater. Two general types of recreational patterns;
   developed recreation and dispersed recreation, are identified in this assessment based on the degree of
   associated infrastructure and user concentration or density. Developed recreation tends to concentrate
   human activities in localized areas and generally requires infrastructure such as parking lots, restrooms,
   and shower facilities. Examples of developed recreation include camping or picnicking in established
   campgrounds, downhill ski areas or resorts, or interpretive centers. In contrast, dispersed recreation
   requires little or no infrastructure and tends to decentralize or spread the activity across the landscape.
   Backcountry hiking and camping, cross-country skiing, and hunting are examples of dispersed recreation.




                          Rio Grande National Forest - 31 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000176
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 177 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Recreational activities can have a direct effect on aquatic biota. For example, the abundance of the larval
   caddisfly Dicosmoecus gilvipes was reduced by extensive recreational activity, but effects were spatially
   and temporally localized (Wright and Li 1998). In contrast, the biomass of epilithic algae was not
   correlated with such activity. This study demonstrates the potential for multiple recreational activities to
   affect stream food webs and the need for further detailed studies. In addition, indirect effects may be
   produced from upland disturbance that affects hydrology and sediment yield. For example, disturbed soils
   associated with campsites can have insufficient nitrogen for rapid plant regeneration (Zabinski et al.
   2002). Overall, research has shown that the greatest amount of damage to riparian vegetation occurs from
   initial periods of use even if uses seem relatively light (Clark and Gibbons 1991). Subsequent disturbance
   may add little additional effects to riparian vegetation (Cole 1979, 1987; Marion and Cole 1996). Other
   influences of recreational use on riparian and wetlands appear to be similar in type, but with less
   magnitude, to the effects of livestock grazing (Clark and Gibbons 1991). Any recreational use of upland
   and riparian areas will have some effects, but they are likely to be minor compared to the influence of
   roads, logging, livestock grazing, and mining (Clark and Gibbons 1991).

   Influences also vary depending on whether the recreation is developed or dispersed. The lack of
   infrastructure may reduce the localized effects of dispersed recreation, because pollution or potential
   pollution sources are not as concentrated. Although dispersed recreation may not disturb significant
   portions of a particular watershed, site impacts can be considerable. For example, it has been found that
   <0.5% of a heavily used portion of the Eagle Cap Wilderness in Oregon was directly affected by trails and
   camping (Cole 1989, 2000). Most of the disturbed area was located far enough from streams so that the
   effect was negligible. Resistance and resilience of vegetation to recreational trampling varies by plant
   species and trampling intensity (Cole and Trull 1992; Marion and Cole 1996). Pronounced changes to soil
   and vegetation can occur at even low recreational intensity (Marion and Cole 1996). Forbs in closed
   canopy forested areas were most sensitive to camping effects (Marion and Cole 1996). Results suggested
   that total campsite impact would be less on a small number of high-use campgrounds, than on a greater
   number of dispersed, but lesser used, campgrounds (Marion and Cole 1996; Marion and Farrell 2002).

   Recreational activities can exert strong influences on fishery resources. Although the types of recreational
   activities encompassed in this report are numerous, for example ranging from hiking to skiing to rafting,
   any type of human activity that potentially alters habitat conditions can indirectly affect fish populations.
   Although the magnitude of the effects may vary, recreational activities may have influences similar to
   those of forest and rangeland management practices such as timber harvest, grazing, mining, or road
   construction, (Meehan 1991). For example, activities that degrade stream banks, whether it is cattle
   frequenting streamside areas or heavily used hiking trails and stream crossings, may change channel
   morphology and influence thermal regime and have consequences for resident fish populations (Clark and
   Gibbons 1991; Meehan 1991).

   Recreational angling may exert a direct influence on fish populations and communities, particular in
   freshwater systems, and may produce unfavorable outcomes where the goal is management and
   preservation of native fishes. Hooking mortality is variable among species targeted for sport fishing, but
   can be significant in some cases (Muoneke and Childress 1994). For salmonids, recreational angling can
   affect resident freshwater populations (Clark and Gibbons 1991; McDonald and Hershey 1989), and even
   migratory, sea-run populations (Palmisano 1993). Where native and nonnative sport-fish coexist,
   differences in angling susceptibility may complicate management. For example, native cutthroat trout
   (Oncorhynchus clarki) inhabit only a small fraction of their historic ranges, and interaction with nonnative
   salmonids (e.g., brook trout and rainbow trout) is cited as a key factor producing this pattern and affecting
   the persistence of existing populations (Fausch 1988; Behnke 1992). Unfortunately, cutthroat trout tend to
   be more vulnerable to angling than brook trout (MacPhee 1966; Paul et al. 2003), so recreational fishing
   may disproportionately affect native trout where they coexist with popular nonnative salmonids.


                          Rio Grande National Forest - 32 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000177
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 178 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   Subsequently, management strategies that aim to suppress nonnative salmonids through increased angler
   pressure have the potential to actually prevent recovery or induce further declines in native trout (Paul et
   al. 2003). Thus, recreational fishing policies must be carefully considered, even in catch-and-release
   fisheries, where sensitive, threatened, or endangered native fish species are present.

   Developed Recreation Sites
   Results:
   Developed recreation site results are presented in Figure 20. Recreation camp sites are often located in
   valley bottoms to afford visitors direct access to water related activities as well as the aesthetic value of
   streams. Often however these sites impinge on riparian areas, can cause erosion from use and damage
   from stream function. Many of the influences stated are relative to the amount of use that they receive and
   the location of the sites. Out of a total of 163 subwatersheds evaluated, 118 or 73% of the subwatersheds
   evaluated did not have developed recreation sites in the valley bottoms. .Most of the higher densities
   (albeit very few) were located in subwatersheds that included the Rio Grande and South Fork of the Rio
   Grande Rivers, mainly due to the high recreation use such as fishing.

   Future Considerations:
   The relatively “flat” natures of valley bottoms as well as close proximity to water have made building
   developed recreation a high priority. However, sites are increasingly being located away from direct
   contact to riparian areas and streams. One of the problems is that valley bottoms are often relatively
   small, and roads bisect the area. Having to cross roads to enjoy the activities associated with the streams
   leads to unsafe conditions that are often difficult to mitigate. Enclosed toilets that do not seep into streams
   and associated water tables are a major advancement in design. Locations away from active riparian areas
   still within the valley bottom allow streams to migrate laterally and discourage trailing. While flooding
   can still be an issue with large events, more thought and planning is given to location. The closer
   developed recreation sites within valley bottoms are too active riparian and streams the more likely that
   unplanned consequences could occur. Areas identified outside of valley bottoms would be easier to
   maintain, and have less risk to aquatic ecosystems and from flooding.




                          Rio Grande National Forest - 33 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000178
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 179 of 406

                                                     Appendix 1 to Assessments 1 and 3:
                                                    Aquatic and Semi-Aquatic Ecosystems



       ALLP^INTS^




           HUC12                 HOC 12 NAME                 DevRec_VFac   QUANTILE
         130100011101              Pass Creek                  0,002476       5
         130100010103            Lost Trail Creek              0.O0208S       5
         130100010106         Rio Grande Reservoir             0.001712       5
         130100011102   Headwaters South Fork Rio Grande       O.OOISIS       5
         130100011106     Outlet South Fork Rio Grande         O.0O14S8       5
         130100050109       Trail Creek-Conejos River          0.001327       5
         130100010303             Spring Creek                 0.001307       5
         130100010304       Texas Creek-Rfo Grande             0.00124        5
         130100010502            Middle Creek                  0.00122        5
         130100050402               Elk Creek                  0.001153       5




   Figure 20. Density of developed recreation sites on the Rio Grande National Forest within the valley bottoms.




                              Rio Grande National Forest - 34 - Forestwide Planning Assessment
                                                                                          Rvsd Plan - 00000179
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 180 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   Ski Areas
   Introduction
   Increasing demand for winter sporting opportunities has led to the creation and rapid expansion of ski
   resorts in forested watersheds (Brooke 1999). Today, almost 60 percent of all downhill skiing in the
   United States occurs on National Forests. In cooperation with over 100 ski area operators, the USDA
   Forest Service provided downhill skiing opportunities to approximately 31 million people in fiscal year
   1997 (Ibarra and Zipperer 2001). Approximately 178,000 acres of National Forest Systems lands are
   currently under permit to ski areas. The ski industry hopes to extend the ski season or even have ski
   resorts open year-round (Hoffman 1998). Ski resorts continue to develop facilities for summer outdoor
   recreation activities such as golf, swimming, and tennis. With ski resort expansion, real estate
   development also expands. To maintain predictable revenues in spite of unpredictable weather, ski resorts
   increasingly rely on artificial snow to cover the slopes. Scientists warn that large ski resorts alter natural
   hydrological cycles, increase traffic congestion, and are magnets for urban sprawl, all of which may
   impair water quality (Ibarra and Zipperer 2001).

   The construction and operation of ski facilities can influence water quality and alter natural hydrologic
   processes. Clearing of vegetation for ski runs increases the chances of soil erosion (Ries 1996), leading to
   higher turbidity and sedimentation in streams (Hoffman 1998). Pollutants from car emissions are
   deposited on the soil with precipitation. Runoff from roads, parking lots, or lawns may be contaminated
   with salt, heavy metals, petroleum residues, or landscaping chemicals. Expansion of impervious surfaces
   leads to increased peak runoff and shorter resident time of water in the watershed.

   Newly developed ski resorts may cause shortages or dramatic fluctuations in water availability (Ibarra and
   Zipperer 2001). For example, consumptive water use can be moderately high, as much as 10 gallons per
   day- per skier (Ibarra and Zipperer 2001), and snowmaking operations can require large volumes of
   stream water. To meet water needs, ski resort operators may relocate stream channels, excavate wells,
   construct ponds, or pump water surface flow from adjacent watersheds. In addition to relocating water, a
   portion of the water used for snowmaking is lost via evaporation and sublimation, and fossil-fuel powered
   generators associated with snowmaking equipment can degrade air quality (Hoffman 1998).

   Ski resorts are often located in high elevation environmentally sensitive sites. These areas are often
   glaciated with relatively high precipitation, and contain abundant riparian and wetland ecosystems. In
   mountainous regions, slopes are often steep, soils are thin, the subsurface is predominantly gravel and
   cobble, and aquifers are fractured bedrock. This type of aquifer is very sensitive to pollution because
   rapid groundwater flow can carry microbes and other pollutants for long distances (US EPA 1999). Ski
   resorts have a unique problem with wastewater treatment. Their peak need is in the winter, when
   conventional sewage treatment methods function at slower rates and microbial pathogens survive longer
   in water and soil.

   Aquatic biota are clearly influenced by changes in hydrology, water quality, sediment yield, and channel
   morphology, which are all probable events associated with development and operation of ski areas.
   However, relatively few studies have directly examined the link between ski areas and changes in aquatic
   organisms. Ski area development clearly results in changes to the surrounding landscape, including loss of
   vegetation and topsoil, resulting in increased erosion (Ries 1996). Runoff from salt applied to ski area
   roads was shown to degrade water quality at a New Mexico ski area (Gosz 1977). In a study that did
   attempt to examine impacts on aquatic animals, abundance and biomass of stream invertebrates below a
   ski area were reduced, a result attributed to increased sediment load (Molles and Gosz 1980). In addition,
   downstream nutrient concentrations were elevated and dilution by downstream tributaries was necessary
   to dilute nutrients to acceptable concentrations.


                          Rio Grande National Forest - 35 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000180
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 181 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Ski areas may also impinge upon particularly important aquatic resources. For example, ski areas in the
   Intermountain West are often located in higher elevation watersheds that contain sensitive and threatened
   species of native cutthroat trout. Historically, these trout were also found in lower elevation streams, but
   habitat loss and competition with nonnative fishes has generally restricted their present distribution to
   headwater streams, where they often exist as isolated populations (Behnke 1992). Thus, ski area activities
   that influence these small streams, such as erosion from ski runs or dewatering for snowmaking, can have
   profound influences on the population viability of these trout.

   Management Implications
   Ski areas provide outdoor recreation for millions of people every year. Because of the sensitive location
   of these activities and the extensiveness of the land alterations, great care must be taken to minimize
   impacts to aquatic resources. Parking areas, roads, buildings, wastewater treatment facilities and other
   permanent structures should be carefully sited. Increased peak flows can be expected if artificial
   snowmaking is extensive and channel changes are expected in unarmored streams. By understanding the
   sensitivity and risk associated with the location of ski areas, and managing accordingly, impacts could be
   limited.

   Results:
   Only one active ski area is currently located within the Rio Grande National Forest, Wolf Creek Ski Area
   at the top of the South Fork of the Rio Grande River. For this purpose it was not included in this analysis.

   Future Considerations:
   Ski areas are generally considered a culmination of anthropogenic activities. Sediment from large parking
   lots often enter stream channels, snow making requires water at times when very limited water is
   available in streams, nutrients and chemicals enter streams from deicing practices, treated sewage and
   other sources, etc. While recreational skiing is one of the highest use activities in the state of Colorado,
   careful consideration should be taken to ensure that impacts to high elevation wetlands and other aquatic
   ecosystems are not encouraged. Glaciated valleys, identified in the ecological driver section as having
   high densities of wetlands are a major concern as they are often targeted for development. Sediment
   runoff can also be routed to settling ponds before they reach stream channels where they settle and can
   considerable ecological damage.

   Dispersed Recreation
   Management Implications:
   Dispersed camping is difficult to quantify although it is very popular. Direction is typically developed to
   ensure that camping is not done within a reasonable distance from water bodies. An evaluation of over
   2000 dispersed recreation sites on the Bighorn National Forest revealed that proximity to roads and
   streams as well as landscape slope accounted for over 90% of the variability in choosing sites (Winters et
   al, 2003). In wilderness areas, dispersed sites were often located within close proximity to lakes. These
   results indicate that education may be the best deterrent to dispersed camping and its side effects near
   streams and riparian areas. Human waste associated with high density dispersed sites is visually
   unacceptable as well as entering stream channels, altering chemical composition.




                          Rio Grande National Forest - 36 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000181
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 182 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Biological Influences
   Invasive Species
   Introduction:
   Invasive plants are commonly considered to be today’s greatest threat to natural biodiversity and
   ecosystem health. States and other governmental entities have long designated plant species, which are
   non-native and invasive, as “noxious weeds.” In general, invasive plants are those species, not native to a
   given area, that have the potential following introduction to spread and to cause significant detrimental
   impacts to native communities and human resources (Shelley and Petroff, 1999). Invasive plants
   generally exhibit one or more characteristics which enable them to aggressively out-compete native plant
   species

   Invasive plants are potentially a side effect of many human related activities addressed as a
   ‘measurement’ item under many of the specific anthropogenic factors discussed elsewhere in this
   document. However, they are also covered under their own separate factor category because of the
   potential environmental impacts associated with the invasive species themselves, as well as the potential
   effects associated with their management.

   Within the Rocky Mountains and western Great Plains, noxious weeds are the most common and
   widespread invasive plant. Treatment of noxious weed acres on National Forest System lands in the west
   has expanded greatly over the past decade (USDA Forest Service 2080 files). There are an estimated
   twenty species of invasive noxious weeds currently present in this region that have received substantial
   management emphasis over the past several decades. Noxious weeds are found in all habitat types, at all
   elevations and settings. Some species are particularly invasive in wetland or riparian ecosystems (such as
   purple loosestrife or leafy spurge) while others are capable of invading the drier portions of these
   ecosystems (e.g., several of the knapweeds, two species of toadflax, and yellow star thistle). Some species
   are best adapted to invade into disturbed sites while many are capable of invasion into essentially pristine
   conditions. All are highly competitive and are frequently able to dominate and suppress native
   ecosystems.

   Invasions by exotic, aquatic animals (e.g., fish, amphibians, crustaceans, mollusks, and insects) are a
   pervasive impediment to maintaining intact natural aquatic ecosystems in the United States and this is a
   recurrent theme across the nation (Rahel 2000). Additionally, intentional distributions of native species
   beyond their historical ranges have provided high recreational value, often at the detriment to native
   species. In the American west, it is likely, that the first humans to translocate native fish from their natal
   streams, rivers, and lakes into previously fishless waters were Euro-Americans: sheep herders, settlers,
   and miners (Knapp et al. 2001). In the mid-nineteenth century, translocations of fish were undertaken to
   provide food for local immigrant communities and other settlers who commonly used fish where available
   as a common food source. Native Americans were not known to translocate fish in the Rocky Mountains,
   as they were relatively plentiful and other sources of food were generally available to them.

   After the transcontinental railway was completed in 1869, this new national infrastructure provided an
   effective conduit by which to translocate species from coast to coast. Interestingly, many non-native trout
   (e.g., brook trout, brown trout, and rainbow trout) were introduced into the western United States by
   railway in the mid- to late 1800s (Fuller et al. 1999). In the eastern United States, non-native species such
   as brown trout were introduced into native ecosystems much sooner than in other parts of the country
   (e.g., mid to late 1800s).




                          Rio Grande National Forest - 37 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000182
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 183 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Non-native fish species such as rainbow trout have hybridized with native salmonids such as golden trout
   and cutthroat trout, while brook trout and brown trout tend to have a competitive edge over native trout
   where they occur in sympatry (Behnke 2002). Luckily, there are some limitations associated with the
   pervasiveness of non-native trout in the Rocky Mountains. Vincent and Miller (1969) found an elevation
   limit for brown trout between 2,590 m and 2,750 m in the Poudre River drainage in Colorado. While they
   found brook trout at higher elevations, their conclusion was that water temperature limited the expansion
   of brown trout (and probably rainbow trout) into upper elevation streams. Warmwater fish (e.g., sand
   shiner; Notropis stramineus) are also limited to elevations related to habitat conditions and water
   temperature. The highest diversity of fish species found in the upper Missouri River Basin are restricted
   to habitats within the Great Plains, unable to withstand the environmental conditions found in the more
   mountainous areas (Baxter and Stone 1995). These temperature “barriers” no doubt restrict the movement
   of eastern plains fish, and some fish such as the common carp (Cyprinus carpio) from moving into
   streams within the Bighorn Mountains. In addition, thermal barriers no doubt limit the downstream
   distribution of non-native and native salmonids.

   While the introduction of non-native fish has changed the distribution and arguably taxa “fitness” of
   many native species, they have also provided an important recreational source for an increasing
   population in the Rocky Mountains. In 1996, there were approximately 4,833,715 fishing days in the
   Rocky Mountain Region of the USDA Forest Service, resulting in an estimated $183,535,664 in
   economic output (TRCA 2000). Obviously, maintaining this important recreational activity is valuable to
   the public, and must be balanced with native species management. Many of the native subspecies of
   cutthroat trout are relatively sensitive to angling pressure, and anthropogenic influences brought about by
   Euro-American settlement. Indeed, the yellow fin trout (Oncorhunchus clarki mcdonaldi) became extinct
   in only 17 years following its discovery by anglers in Twin Lakes, Colorado (Behnke 2002). One account
   documents that in 1876, General George Cook and his soldiers caught several thousand Yellowstone
   cutthroat trout in a couple of weeks while camping on the Tongue River west of Sheridan, Wyoming.
   Other accounts of early Euro-American inhabitants describe extremely large catches of native trout in
   relatively short time periods. While the social values and legal constraints no longer allow such
   unregulated harvest, it appears that fishing pressure alone may have reduced the range of native trout by
   itself.

   Non-native trout such as brook and brown trout seem to be well adapted to the changes brought about by
   Euro-American settlement. Anthropogenic activities, such as those described in this assessment, have in
   large part resulted in habitat conditions that are quite dissimilar to those that were probably here prior to
   Euro-American settlement (Wohl 2001). Trout species such as the brown and brook trout appear to be
   more resilient to the cumulative influences of these activities, in some cases filling a void that may have
   been left by the elimination of native sub species of cutthroat trout in the Rocky Mountains. While
   rainbow trout do not appear to be as resilient in the Rocky Mountains (in large part because of their spring
   spawning behavior) they are successfully reared in hatcheries and can be planted in marginal habitats
   where they are quickly removed by anglers. This “put and take” management provides angling in some
   areas where habitat conditions are no longer suitable for self-sustaining populations of native salmonids.

   While elevation and temperature limits may limit the invasion of certain species, one invasive species in
   particular is a realized threat to native and non-native salmonids in the Rocky Mountains, the whirling
   disease parasite (Myxobolis cerabalis). This microscopic parasite was first introduced into the United
   States 1950s (Behnke 2002). However, more recent findings of Myxobilis cerabilis in Rocky Mountain
   States such as Colorado and Montana have shown that they can have dramatic effects on salmonid
   populations (other than brown trout) often in valuable fisheries. Stream habitat degradation and increased
   sedimentation may increase populations of this invasive parasite by creating more habitats for its
   intermediate host, the tubifix worm (Tubifex tubifex). In more pristine, high elevation stream systems, the


                          Rio Grande National Forest - 38 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000183
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 184 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   whirling disease parasite does not appear to be becoming well established. This observation may be due
   to the habitat and temperature limitations of the tubifix worm itself. Increased sedimentation and stream
   temperatures from management activities could increase the habitat occupied by tubifix worms and
   ultimately the whirling disease parasite.

   Water quality can be both positively and negatively affected by the introductions of invasive animal
   species. Invasive mollusks and other filter feeders can negatively alter or even improve water quality by
   filtering dissolved and suspended pollutants from waters. Also, filter-feeding invaders can reduce primary
   productivity by reducing phytoplankton populations. In the Bighorn Mountains, as with most Rocky
   Mountain streams, productivity is limited and effects from filtering of nutrients are doubtful.

   The most profound impacts of invasive, aquatic animals are their biological influences on native aquatic
   biota. Invasive fish, crustaceans, mollusks, and amphibians can deplete native aquatic biota, by out-
   competing them for essential resources (Knapp and Matthews 2000; Pilliod and Peterson 2001). Also,
   invasive species can diminish native populations of aquatic biota (invertebrate and vertebrate) by
   predation (Knapp and Matthews 2000). Altered predator-prey relationships can also disrupt food chains
   and nutrient cycling by displacing or eliminating vulnerable trophic levels (e.g., large zooplankton).

   A variety of benefits may accrue to aquatic, riparian, and wetland ecosystems if proper management
   strategies to control invasive, aquatic animals are implemented. Many non-endemic species of plants and
   animals have been and will continue to be managed for public utilization. Several species of fish are
   managed as recreational species in the Rocky Mountain Region. Trout, such as rainbow trout
   (Oncorhynchus gairdneri) are in high demand by the public. Other species that were thought to be
   important as a recreational or food source like the common carp (Cyprinus carpio) are now out of favor
   with the public and have become competitors with native species.

   When native aquatic fauna and their associated ecosystems remain intact, they provide rare opportunities
   to investigate how these ecosystems evolved and how their structures and functions are related to their
   evolution. Collecting and expanding available data that can assist our understanding of the complex
   interactions among ecosystems and associated fauna helps to preserve ecosystems and their faunal
   communities.

   Management Considerations:
   Invasive plant and animals can have irreversible impacts on wetland, Riparian and Aquatic Ecosystems.
   Species such as the whirling disease parasite (Myxobolus cerebrals) and cheat grass (Bromus tectorum)
   are typically thought of as organisms that are here permanently, although measures to reduce whirling
   disease has already began. Unfortunately, wetlands and riparian areas provide excellent conditions for
   invasive plants, with relatively abundant water and good soil conditions. Many invasive plants
   outcompete native species, provide poor habitat for native animals and disrupt other ecological functions.

   Invasive aquatic species are becoming more abundant even with considerable effort to stop them. Didymo
   (Didymosphenia geminate) is actually a native diatom that in recent years has been found to have massive
   “blooms” that outcompete other native benthic plants and animals. Other invasive aquatic species that
   have recently become established in Colorado and New Mexico waters include foreign species of mussels
   (Dreissenidae), New Zealand mud snails (potamopyrgus antipodarum), and most recently spiny water
   fleas (Cecopagidae) have become established in the state. Once any of these invasives become
   established they are almost impossible to remove. As a result, education and not allowing them to enter
   our waters are the only way to keep them from being established.




                         Rio Grande National Forest - 39 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000184
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 185 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Future Considerations:
   Weed free hay is one technique that has been used to minimize invasive plants from entering Wilderness
   areas. Using a similar idea for stocking trout in Wilderness areas and other water bodies within Forest
   boundaries is also an important topic to be discussed with partners. However, new pathogens associated
   with stocking must also be considered, especially in Wilderness Areas.

   Because aquatic invasives are typically transferred by recreational equipment such as boats, wading boats,
   stocking and other vectors that carry water from one body of water to another, education on
   decontamination and inspections at high volume reservoirs are crucial. Other equipment that has the
   potential to transfer water from one infected water body to another, such as firefighting equipment are
   important subjects that need to be identified and techniques used to ensure invasives are not transferred.

   Influence of Beaver Removal
   Introduction
   Beaver (Castor canadensis) are habitat-modifying keystone species in lotic, riparian, and wetland habitats
   (Butler 1995; McKinstry et al. 2001; Collen and Gibson 2001), and their dam-building activities can
   influence a large proportion of a given watershed and landscape (Naiman et al. 1988). Beaver are an
   integral part of most headwater stream ecosystems in the Intermountain region (Wohl 2001), where their
   activities can alter stream channels and riparian zones and affect basic processes such as nutrient cycling
   (Naiman et al. 1988; Naiman et al. 1994). Beaver impoundments generally have a positive effect on
   aquatic, riparian, and wetland habitats because they elevate water tables and enhance riparian vegetation
   (Olson and Hubert 1994), create deeper water habitats with velocity and thermal refugia (Hagglund and
   Sjoberg 1999), decrease water velocities and promote sediment retention (Naiman et al. 1988), improve
   water quality by facilitating riparian habitats that intercept nutrient and chemical contaminants (Olson and
   Hubert 1994), and increase upstream water storage to buffer against floods and summer droughts (Olson
   and Hubert 1994). These beaver-induced hydrological and biogeochemical changes also affect aquatic,
   riparian, and wetland biota. For example, beaver ponds exert strong influences on aquatic invertebrates
   (McDowell and Naiman 1986; Clifford et al. 1993; Margolis et al. 2001), fishes (Snodgrass and Meffe
   1998; Hagglund and Sjoberg 1999), herpetofauna (e.g., amphibians and reptiles: Russell et al. 1999;
   Metts et al. 2001), and birds (Brown et al. 1996; McKinstry et al. 2001).




   Figure 21. An active beaver dam in the Rocky
   Mountains. These ponded sites provide numerous
   benefits for aquatic ecosystems as well as storing water
   for downstream use.



                          Rio Grande National Forest - 40 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000185
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 186 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Unfortunately, Euro-American settlers were concerned with the economic exploitation of beaver, rather
   than their benefits as ecosystem engineers, and nearly extirpated them from the North America. European
   beaver (Castor fiber) were nearly extirpated by 1600, and early immigrants found a rich source of beaver
   pelts in America. At the time of European arrival in North America there may have been up to 400 million
   beaver living on the continent (Naiman et al. 1988), but by 1850 this number probably dropped below
   nine million. Nonetheless, trapping continued and the pattern of beaver extermination observed earlier in
   Europe was essentially repeated in North America (McNamee 1994). The removal of beaver brought
   about major and long-lasting changes in the western landscape, because it signified the loss of a dynamic
   structuring element. Beaver removal has, in part, contributed to increase down cutting of stream channels
   (Wohl 2001), and a reduction in the complexity and extent of aquatic and wetland habitats. For example,
   wetland habitats in the western U.S. are rare, but provide habitat for a large proportion of waterfowl
   species in the area (McKinstry et al. 2001). Beaver create these types of regionally rare habitats, so their
   local extirpation likely reduced these habitats and affected wildlife populations.

   Loss of beaver would affect sediment delivery and flow regime. Beaver impoundments often facilitate
   sediment deposition and storage (Wohl 2001), but in their absence, sediment might be transported further
   downstream and be deposited in crucial fish spawning habitats. Rocky Mountain region hydrographs are
   likely affected by loss of beaver impoundments because water storage capacity in first through fourth
   order streams is reduced. Thus, water is delivered more quickly in the absence of beaver dams, rather than
   being slowly released to buffer against periods of low flow.

   Results:
   Researchers at the University of Wyoming identified habitat suitability characteristics necessary for the
   colonizing of beavers in mountain streams

   Suitable beaver habitat was modeled using GIS (Olson and Hubert,1994).

   Model parameters for evaluation using existing vegetation information, and NHD stream layers included:

   a.     Gradient <= 4%

   b.     Within 200m of Aspen or Willow vegetation type

   c.     Permanent Streams

   Stream reaches that had high correlation with these variables were mapped on a 1:24,000 scale and
   densities were calculated on a total stream mile bases for each subwatershed. Measures of suitable beaver
   habitat were based on stream length with high suitability per acre of valley bottom per subwatershed. The
   results are presented in Figure 22. Beavers have been trapped in irrigation systems on the valley floor by
   the Colorado Parks and Wildlife and periodically transplanted in Rio Grande National Forest streams
   (Randy Ghormly, Forest Fish and Wildlife Program Manager, pers. Comm.). Approximately 25 high
   suitability subwatersheds with more than 4 miles are located within the National Forest and National Park
   boundaries, several relatively far from private lands and/or the Rio Grande valley floor. Further evaluation
   at the site/reach level would need to be evaluated to ensure survival, low migration and reduced conflicts
   if the beavers migrated from the area. There are a considerable amount of habitat for beaver colonization
   on the western half of the valley, especially north of the Town of South Fork. By relocating beaver into
   high suitability areas, not only would low gradient stream reaches benefit, but beavers would be less
   likely to migrate into unwanted areas and conflict with water irrigators and crop lands in the valley
   bottom.




                         Rio Grande National Forest - 41 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000186
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 187 of 406

                                                      Appendix 1 to Assessments 1 and 3:
                                                     Aquatic and Semi-Aquatic Ecosystems




          HU< 12              HUC 12                       SBH.petlrtBcNEW
       130100010903     Leopard Cr«t'GDa5* Creek              0.734B71
       130100011301            Alder Creek                    0.305313
       130100010601      HeadTfar as M ineri C rtek           D.6647B3
       130100010801          Esa EdowsCnee*                   O.M337S
       130100010103             Spnrc Creek                   0.644023
       130100010901        eechrr et O'S    C reek            0.634381
       130100050103   PEatorp J! esyervof-C oneios River      0.633372
       13010005 &W2              tfcCreet                     0.613433
       130100050103             Saddle Creek                  0.612335
       130100010503       Creek-Red MoupnarnCreek             0.602791




   Figure 22. Beaver suitability results for the Rio Grande National Forest and surrounding landscape. Results
   were based on high suitable stream miles per acre of valley bottom per subwatershed.




                              Rio Grande National Forest - 42 - Forestwide Planning Assessment
                                                                                           Rvsd Plan - 00000187
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 188 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Future Considerations:
   The public’s view of beavers has changed dramatically in the last few decades. Once considered (and is
   still to a limited extent) as a “pest”, many municipalities and the public are considering beavers as having
   a key role in maintaining water on the landscape, providing buffers for fire fighting, and reducing
   flooding downstream. The general public is also favoring restoring beaver colonies as a places to fish,
   hunt and generally view natural sytems.

   As water becomes more valuable, and its role for maintaining ecological diversity as well as reducing
   dramatic flooding events and storing water within floodplains and low gradient stream corridors beavers
   are being utilized throughout the country.

   Due to their transient behavior when populations exceed habitat potential, they will always be a threat to
   some landowners. However, the benefit of their activities in appropriate habitats is well understood.
   Management activities within narrow valley bottoms are often in conflict with the natural water storage
   ability of beavers. However, it is questionable whether these activities and location of infrastructure are
   not the problem in these areas. Transportation corridors are often the infrastructure that is in direct
   competition for “space” for beaver activity, and flooding has compromised road prisms and crossings.
   However, it can be argued that the location and/or design of the transportation footprint is in a marginal
   location, and/or the design of crossings could not be modified to accommodate beaver activity. In the
   future, education will most likely continue to argue the benefits of beaver on the National Forest
   landscape, challenging us to continue developing strategies to accommodate their activities that benefit
   humans and the environment. Only 1 subwatershed does not contain the conditions for adequate beaver
   habitat, and is located in a steep portion of the very southern edge of the National Forest and beyond.

   Recreational and Native Fisheries
   Recreational Fishing has continued to grow although hunter use has gone down over the past few years in
   Colorado (Congressional Sportsman’s Foundation {www.www.sportsmenslink.com}). In 2011 alone, the
   total anglers in the state were estimated at 767,000 anglers, spending 8.4 million days (almost 4 times that
   of hunters) and accounting for over 10,000 jobs. While these numbers represent the entire state, there are
   currently over 100 areas identified on the Rio Grande National Forest for fish as well as parking and
   camping for fishing on the Forest. With over 1700 miles of perennial streams and 4800 acres of lakes, the
   Rio Grande National Forest represents a significant source of angling recreation for visitors. Emphasis on
   maintaining and improving and/or protecting high quality fish habitat and access could be a future
   consideration given increases is visitors and populations throughout the state.

   Rio Grande Cutthroat trout, suckers and chubs are the only native fish to the upper Rio Grande basin that
   are considered rare and in any threat of extirpation. While these species will be addressed under the
   “Species of Conservation Concern” as part of the Forest Planning process, a couple important habitat
   considerations are pertinent here.

   In part, the purpose of this assessment and assessment 3 are to identify unique, important less/more
   influenced by management, we think that this information can be valuable in helping prioritize future
   establishment of rare taxa, as well as protect ecological conditions that are important for their survival.
   For instance, it has been identified that the strongest populations of chubs and suckers MAY be along the
   Sangre de Cristo mountain range where the influence of springs are found. The conditions produced from
   the groundwater surfacing here may be “key” to their survival in the upper basin. Other spring
   environments are found on private land in the area as well as on BLM and FS lands near Saguache. Are
   these spring large enough? Are they already developed for agricultural and or municipal purposes? They
   may be valuable sources for future restoration efforts. The Rio Grande cutthroat trout restoration efforts



                          Rio Grande National Forest - 43 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000188
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 189 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   have been active for several years. Possibly some of the information presented can assist biologists
   identify areas with little impacts, higher stream densities and other characteristics that can make
   prioritization less complicated.


   Mineral Extraction
   Hardrock and Placer Mining
   In the United States, extensive hardrock mining started in the 1880s remained a major industry in many
   states during the following 70 to 80 years (Wireman 2000). Mining has had a high legislative priority for
   over a century. The 1872 U.S. Mining Laws Act granted top land-use priority to mineral extraction on all
   public lands not specifically withdrawn (Nelson et al. 1991). The legacy of historic hardrock mining
   includes more than 200,000 abandoned or inactive mines. As of 1992, there were more than 500 operating
   mines in the United States, of which, more than 200 are gold mines. As of 1997, there were
   approximately 60 mine sites in 26 states on the Federal Superfund National Priorities List because of
   serious pollution problems (Wireman 2000).

   Metals sought during past and present mining activities in the Southern Rocky Mountains include copper,
   gold, lead, molybdenum, nickel, silver, vanadium, and zinc (Deacon et al. 2001). Mineral extraction can
   significantly influence water quality and aquatic, riparian, and wetland resources if done in an incorrect
   manner. These influences can be brief or long lasting, and they differ with the type of ore, the mining and
   processing methods, and after mining ceases, the overall nature of how the mine is properly closed. The
   impacts from mining include transport and deposition of sediment, acid runoff, and release and transport
   of dissolved metals and other associated mine contaminants (Wireman 2000).

   Results:
   The results of the mining analysis are presented in Figure 23. Mining is or has been concentrated in 5
   areas, Creede (a historic mining center in the valley), the town of Bonanza area in the northern part of the
   National Forest, Galena Mountain and Bear town in the southern San Juan mountains, and the
   Summitville area east along the Alamosa River (Figure 23). The West Willow Creek-Willow Creek near
   Creede exhibits the highest number of active/inactive mines in the Rio Grande National Forest and
   surrounding ecosystem, and has almost twice as many mines as the next subwatershed (Outlet Miners
   Creek). Both of these subwatersheds are near Creede in Mineral County. There are also past and some
   current activity north of the area between the towns of Del Norte and South Fork.

   It is apparent that at least historic hardrock mining and exploration has occurred in many areas of the Rio
   Grande National Forest and surrounding landscape. We attempted to identify the distribution of active and
   historic mine sites, as they are the most reliable indicator we could identify that would compare actual
   ground disturbance. In addition, all streams and wetlands have not been adequately evaluated for the level
   of potentially natural or anthropogenically contributions of especially metal contamination from existing
   mine audits and tailings. While there is very good information the largest and most impactive areas, more
   subtle influences that could impact species or populations of aquatic and semi-aquatic taxa life-history or
   restoration into native habitats may need to be quantified at a site or reach level.




                          Rio Grande National Forest - 44 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000189
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 190 of 406

                                               Appendix 1 to Assessments 1 and 3:
                                              Aquatic and Semi-Aquatic Ecosystems



       ALLP«HMTS^




           HUC12               HUC12NAME                M3nes_perAc   QUADfTILE
        130100010702   West Willow Creek-Willow Creek    0.00e37£         5
        130100010602        Outlet Miners Creek          O.«)il2il7       5
        130100020302      Headwaters Alamosa River       0.003763         5
        130100011201          Baughman Creek             0.005013         5
        130100030102   Cottonwood Creek-Kerber Creek     0.O029S6         5
        130100050101              Lake Fork              a001929          5
        130100010701   Whited Creek'East Willow Creek    0-001727         5
        130100030201      Headwaters Sam Luis Creek      0.001641         5
        ISOJOOOllOOt             Mme Creek               O.0O1S2S         5
        130100020303     Jasper Creek-Alamosa River      0.001507         5




   Figure 23. Results of the mines analysis for the Rio Grande National Forest and surrounding ecosystem,
   Results generally follow known mining districts, with the exception of the Sangre de Cristo Mountains, where
   historic exploration and limited sites occurred.




                            Rio Grande National Forest - 45 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000190
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 191 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   Management Considerations:
   Subwatersheds with historic and/or current mining activity may be identified as having residual toxic
   levels of metal ions released from audits, tailings or stored in soils and stream substrates. Common metals
   found in effluents and are toxic to aquatic life include (but not limited to) cadmium, zinc, copper, and
   lead. Efforts to eliminate contaminants is extremely costly, as reflected in the case of the Summitville
   Superfund site. While metal bearing geology also releases contaminants through groundwater discharge
   and close proximity to the surface, it would appear that most of the identified areas of mine
   concentrations are located in known human mining concentration areas. However, the density of mine
   audits are limited, the highest being 0.008 per acre of subwatershed.

   There are several management related options for addressing mining impacted aquatic ecosystems.
   Audits, tailings and accumulation in metals substrates require large cooperative efforts are needed to
   remove toxic materials and restore ecosystems. The Leadville Superfund site is an example of a major
   effort that has shown significant reduction in toxins and improvement in aquatic life in the Arkansas
   River. The subwatersheds associated with the mining near Creede and Summitville contain streams that
   have been identified as being impaired by the state of Colorado (Figure 24) under section 303D of the
   Clean Water Act.

   While the Rio Grande National Forest has extremely limited funding for these large projects, The USDA
   Forest Service has responsibility for various aspects of the management of the area, which do not result in
   additional impacts to the area involved. As being at least partially on USDA. Forest Service managed
   lands, support is possible from an administrative, monitoring and other supportive activities would be
   valuable, as well as ensuring that management help improve the current compromised situation.

   Other streams and wetlands in the study area have elevated levels of metal contaminants that are not
   identified under the Clean Water Act process, based on the results found in Figure 23. While not all mine
   audits or tailings pile release these contaminants, some at least release levels that may be toxic to certain
   organisms or various life-history stages at different times of the year. In addition, concentrated sediments
   within valley bottoms, toxic levels of metals can be released into streams and wetlands if disturbed and
   reintroduced into the aquatic environment.

   By identifying important habitats such as low gradient valley bottoms and other sediments where toxic
   metal sources could be concentrated, appropriate management or protection can be identified.
   Maintaining stream channel and riparian integrity also help to ensure that metals are not released back
   into the system and compromise aquatic life. This is very important when considering restoring native
   aquatic species. While streams and wetlands may appear to be below acute toxic levels, the systems that
   are in historic mining areas or associated with exposed mineralization, may be at levels low enough to
   only be detected seasonally or at low levels that can impeded reproduction or other life history stages.
   Appropriate sampling and analysis for these contaminants is necessary to ensure restoration efforts will be
   successful




                          Rio Grande National Forest - 46 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000191
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 192 of 406

                                                           Appendix 1 to Assessments 1 and 3:
                                                          Aquatic and Semi-Aquatic Ecosystems


      AU-P«Jffrss^




           HUCU                   HUC 12WAME                  miitmi.WBd
        130100010702    West Willow Cicek-Wi How Crock         0247764
        130100020705     City of Monte VI sta- Rio Qran de     0L1S1643
                             I-Fcadwdter& Hat Creek            O.i»412
        15OLOOO2O3D?      Jasper Crock-Alarr^osa Rkor          0.04005
        130LM0209O4       fwfieh Creeit-Abin<rta ftivcF        OO35O43
        130100020005    Torri>« ftescfwinAtjmosa River         O.0M701
        1301000120002                  AlAfnOSa River          0.014347
        1301D0D1O7D1    WhiT9(j Crock-East Willow Creek        OLDOlSSe
        130100011005     S^^rlrfbilC Creek-RibGrandC           0.000463
        130100020107              130100020407                 0.000112




   Figure 24. Subwatersheds with streams identified under the Clean Water Act as being impaired under section
   303D by the State of Colorado. It is important to note that not all streams within each subwatershed have
   elevated levels, but should be suspect as having some level of elevated metals.




                                  Rio Grande National Forest - 47 - Forestwide Planning Assessment
                                                                                                Rvsd Plan - 00000192
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 193 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Cattle Grazing
   Introduction
   Grazing by domestic livestock has been an important use of the lands that now constitute the National
   Forests and Grasslands since the 1500s when the Native Americans began to acquire horses and other
   domestic animals from the early European explorers and settlers moving north from Mexico (Young
   1994; Galbraith and Anderson 1971). From this time on, Native Americans traditionally maintained horse
   herds as both their preferred means of transportation and as a symbol of status. These herds typically
   traveled with the tribes as they moved between seasonal territories. At various times in the year, the tribes
   made use of lands that are now National Forests and Grasslands, and the tribal livestock went with them.
   For the most part, the horses were maintained in relatively small and localized ranges simply so that they
   could be found and moved when needed.




   Figure 25. Cattle (left) and sheep (right) grazing

   In the mid to later part of the 1800s Euro-Americans began to move into the Rocky Mountains and the
   western grasslands of the Great Plains, frequently bringing livestock with them (Lauenroth 1994; Pieper
   1994). As the demand for beef, wool, and lamb increased during, and in the decades following the civil
   war, large herds of livestock were moved into and through the region. As the early settlers discovered the
   value in grazing livestock in the mountains and grasslands, large numbers of animals were brought into
   the area. At this time, there was neither any systematic applied management nor any authority to regulate
   the grazing activity. Basically, the livestock owner who got to the feed first got it and those who came too
   late got little to nothing. Within a very short few years, the serious overstocking of the rangelands,
   coupled with the initiation of an extended drought period, serious impacts to rangelands are still
   noticeable in some areas today (Pieper 1994; Oliphant 1947). While this drought plus lack of forage had
   the unintended effect of significantly reducing stocking levels, the reduction in stocking was by no means
   adequate to provide for recovery of the vegetative, soil and aquatic, riparian, and wetland resources
   (Young 1994; Pieper 1994).

   Following the formation of what is now the Forest Service, and continuing for decades, there was a
   concentrated effort to gain control over the livestock use on the National Forests and Grasslands (Rowley,
   1985). At first this was focused on simply requiring permits and eliminating trespass. But over time, this
   moved into making very significant reductions in the permitted and actual use, and in moving
   management toward implementing the best available science. Today, livestock numbers are significantly
   reduced compared with historic levels (Elmore and Kauffman, 1994; USDA Forest Service files) and are
   generally judged to be within grazing capacities on the National Forest System (NFS) lands. For the most
   part, management has intensified as well. However, the focus is on managing livestock use in a manner




                          Rio Grande National Forest - 48 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000193
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 194 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   that will ensure compatibility with the other uses and values of the National Forests and Grasslands.
   While problems still remain in places, they are generally localized.

   Livestock grazing has the potential to have a significant detrimental impact on aquatic, riparian, and
   wetland resources if it is not managed properly (Binkley and Brown 1993). This very important resources
   comprise only about 2% of the landscape in Colorado, and losses are estimated to be more than 50%
   (U.S.G.S.1999). It should be pointed out that there are a number of reasons for this loss, many that
   occurred prior to current laws and policies (Wohl, 2001). There are numerous references to document
   these potential impacts although most references discuss impacts from improperly managed livestock
   grazing rather than from proper management (Platts and Raleigh 1981; Kauffman and Krueger 1984;
   Buckhouse 1981; Meehan and Platts 1978; Binkley and Brown 1993; Larson et al. 1998).

   Livestock grazing may also be used to positive effect when managed properly and when focused on
   meeting well defined objectives. Grazing can: stimulate new growth of both herbaceous and woody
   species; increase total production of vegetation; provide increased palatability and nutrient quality to
   other animal grazers; increase herbaceous plant density, and alter habitat structure and composition to
   meet specific species objectives (such as managing for specific threatened or endangered wildlife species
   habitats or alteration of habitat relationships to favor certain plant species) (Krueger and Anderson 1985).

   Livestock grazing tends to affect some habitats and plant communities to a greater degree than others, and
   therefore are at greater risk. In general, cattle tend to prefer relatively open, low gradient habitats with
   ready access to water and temperature moderating tall vegetation, with abundant palatable forage and/or
   browse resources. These needs are met to a large degree within riparian and wetland habitats. The habitats
   most commonly preferred by cattle are generally low gradient, willow/cottonwood (or associated
   hardwood species) with palatable grass and grass-like species (Rinne, 1999). These areas most frequently
   occur in association with fine textured soils. Cattle use of habitats declines markedly as slopes increase, as
   tree canopy cover increases, and as distance to water increases. This is true both for uplands and for
   riparian habitats. In addition, use of uplands declines as upland forage resources mature and decline in
   palatability and nutrition (Roath and Kreuger 1982). Sheep on the other hand prefer uplands and normally
   only utilize riparian/wetlands when moved to those areas to acquire water, or congregated there (Glimp
   and Swanson 1994). Bison tend to prefer upland open grasslands and windswept ridges. Risks to aquatic,
   riparian, and wetland resources then depend directly on the species of livestock and the type of habitat
   present (Marlow et al. 1985; 1989). Riparian vegetation tends to be quite resilient and when managed
   properly has a relatively rapid recovery while stream channel conditions frequently take longer to recover
   (Binkley and Brown 1993).

   In order to validate the modeling of the effects of livestock management, it will be necessary over time to
   analyze new and existing field data with a focus on determination of resource conditions and trends as
   they relate to livestock management. Significant amounts of historic data currently exist for terrestrial
   habitats although little of this is currently in an electronic format. Areas of high livestock preference
   and/or area with low resiliency would likely be priority areas for data collection.

   Results and management Considerations
   The purpose of this analysis was to identify the amount of subwatersheds intersecting or within the Rio
   Grande national Forest that are currently available to cattle grazing. This by no means is meant to identify
   current use, influences, preference or timing. Instead we are evaluating the availability of the landscape
   that we have identified by ecological drivers to be available, and identify areas for future consideration
   for monitoring and evaluation.




                          Rio Grande National Forest - 49 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000194
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 195 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   A considerable amount of the project scale is currently available for cattle management (Figure 26).
   Percentages of stream miles within active allotments for the 2 highest quantiles include 50 subwatersheds,
   and range from approximately 60-100 % of permanent streams within these active allotments.
   Approximately 125 subwatersheds out of a total of 163 (77%) have active allotments with permanent
   streams in them. Most of the subwatersheds without active allotments are located on the steep Sangre de
   Cristo Mountains on the eastern portion of the National Forest. There a total of 10 subwatersheds on the
   west side of the National Forest without active allotments, half of these are located just north-east of the
   town of Creede, associated with the La Garita Wilderness area. Five of the subwatersheds with inactive
   allotments are associated with the South San Juan Wilderness Area.

   From an elevation standpoint, active allotments are found from the valley floor to the continental divide,
   with negligible “pattern” between landscapes. Platts (1991) identified several grazing strategies that had
   variable influences on streams and riparian areas, and concluded that no single strategy met all grazing or
   resource needs over a complex landscape. Monitoring and strategies for alpine areas are different from
   glaciated valleys that are different from low gradient, willow dominated stream reaches. Indeed, the
   calculated cattle grazing preference is variable on a landscape this large. Platts along with many others
   identified various techniques for minimizing impacts to sensitive aquatic and semi-aquatic ecosystems in
   mountainous areas.

   Presented below are conditions that could be considered for further investigation given the findings of the
   Aquatic Ecological Driver Assessment, management activities in the study area related to aquatic and
   semi-aquatic resources and the broad availability of cattle grazing opportunities in the upper Rio Grande
   Valley on National Forest lands.

   High elevation Glaciated Valleys - These valleys were formed by glacial scour and typically contain
   high concentration of wetlands and wetland related plants and animals that may be quite rare. Our
   analysis in Assessment 3 illustrated that while these valleys contain approximately 50% of the wetlands in
   the Rio Grande National Forest, they comprise approximately 30% of the Forest landscape. Based on
   these results, there appears to be several subwatersheds associated with relatively high concentrations of
   wetlands as well as high proportion of active cattle allotments. It should be noted however, that there are
   also subwatersheds in wilderness areas that exhibit glaciated landscapes that have no active allotments.
   Consideration for glaciated areas with extensive wetlands could be examined further if not already for
   their relationship to cattle grazing and potential influences on the wetland communities as a “whole” and
   not individually. It is questionable as to whether standards or general guidelines in these valleys that are at
   high elevations would be effective is grazing as well as the growing season is during a short period of the
   year. Interdisciplinary evaluation of these glaciated valleys could be done to ensure the form and function
   of high concentrations of wetlands and riparian areas.

   Influence of Climate Change through stream channel maintenance - The analysis we prepared in
   Assessment 3 identified that predicted variables over time that may have a dramatic change in mean
   annual discharge in the future across the Rio Grande valley. These data indicate that mean annual
   discharge may decrease up to 20% in the next 25 years and 30% by 2080 in the study area. These data are
   not inconsistent with other models developed for the southern Rocky Mountains and reflect changes in
   precipitation solar penetration and snowmelt. The impacts on stream and wetland morphology, riparian
   and wetland vegetation and stream biota could be magnified if proper conditions are not maintained to
   promote resilient ecosystems. Stream discharge in the study are influenced considerably by snowmelt,
   precipitation at lower elevations, natural storage in alluvium, channel and wetland structure and shading,
   and anthropogenic influences in the valley bottoms.




                          Rio Grande National Forest - 50 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000195
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 196 of 406

                                                 Appendix 1 to Assessments 1 and 3:
                                                Aquatic and Semi-Aquatic Ecosystems



       ALLP®INTS^




          HUC12               HUC12NAM£
        130100040102          Horse Canyon                     1
        130100040201         California Gulch                  1
        130100040104   Johns Creek'Saguache Creek          0.-997155
        130100040101    North Fork Saguache Creek          0.996227
        130100011103           Park Creek                  0994332
        130100040105   Middle Fork Saguache Creek          0.9766S2
        130100010502          Middle Creek                  0.0715
        130100040103    South Fork Saguache Creek          0.060630
        130100040401    Middle ForkCarnero Creek           0063738
        130100040301     Bear Creek-Sheep Creek            0.9S4944




   Figure 26. Results of the active allotment density for cattle within valley bottoms For the Rio Grande National
   Forest and surrounding landscape




                           Rio Grande National Forest - 51 - Forestwide Planning Assessment
                                                                                      Rvsd Plan - 00000196
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 197 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Future Considerations
   Influencing snow accumulation and melting and precipitation are not factors we cannot influence at this
   scale. However, channel and wetland structure, shading and anthropogenic influences are. We chose to
   use the valley bottom area for analysis of anthropogenic influences because it is the area that influences
   riparian and stream systems the most. Even within valley bottoms, steep, narrow valleys are typically
   lined with larger substrate and are more stable than wide low gradient valleys with fine sediment and
   meandering channels Rosgen (1996). While our analysis in Assessment 3 illustrated that approximately
   63% of the permanent stream channels are within the confines of steep, stabile stream channels with
   limited sunlight penetration and forage for livestock, only about 20% are in highly sensitive low or
   moderate gradient stream reaches. These limited areas can store considerable amounts of water in the
   associated valley bottom. They are extremely important for providing aquatic and riparian habitat as well
   as absorb excess water to be released slowly downstream. Shading from woody riparian vegetation can
   also have major influences on stream temperature, bank stability, aquatic habitat and stream morphology,
   more so than stabile channels.

   Cluster 4 from Assessment 3 has the highest number of subwatersheds with low gradient stream channels
   comprising more 14% of its total stream length (53 subwatersheds). Clusters 5, 6 and 7 have higher
   percentages of low gradient channels, but are highly influenced by extending into the relatively low
   gradient valley bottom.

   While there does not appear to be a relationship between the percentage of active cattle allotments and the
   abundance of low gradient stream channels in cluster 4, we should ensure that the conditions in the
   relatively small amount of low gradient stream channels are maintained at a high level of function for the
   future. Even in clusters 1-3, where low gradient channels represent less than 10% of the total stream
   length, ensuring shade, stability and habitat could ensure the function of stream and riparian areas for the
   future. The maintenance of the highest vertical elevation of native woody vegetation (e.g. willows, Spruce
   and cottonwoods) ensures that we are not influencing long-term climate change trends upward and
   eliminating important ecosystems and taxa.

   Geology, springs and productivity - In assessment 3 we identified the calcareous geology along the
   Sangre de Cristo mountain range as being important for naturally occurring springs, influencing water
   temperature and increasing aquatic productivity for native plants, fish and other animals. Available active
   cattle allotments are very low or absent in this area. While spring development and extensive grazing
   could have a major influence on rare plants and animals, as well as unique characteristics, it is doubtful
   that there is significant influence from cattle grazing in this area.

   Springs associated with rare and unique species of plants and animals as well as habitats (e.g. fens) are
   rare environments in the Rocky Mountains, especially where granitic geology is found. The form of
   glaciated valleys allows for snowmelt to percolate through the steep mountain peaks and emerge on the
   lower valley sides and bottoms, allowing a variety of different wetlands. Isolated springs at lower
   elevations are less common, and often developed and utilized early in European development and indeed
   by Native Americans and wildlife prior to settlement. While there is direction protecting the impact of
   wetlands (Executive order 1190 {1972} and the Clean Water Act {1972}, the Environmental Protection
   agency estimates that more than 50% of wetlands across the country are no longer present on the
   landscape (http://www.epa.gov/nscep). While comprising only 2% of the Colorado landscape, springs and
   associated wetlands are extremely important for terrestrial and aquatic ecological function and rare plants
   and animals (http://www.cnhp.colostate.edu/cwic/index.asp ). The development of springs is a common
   and accepted means of watering livestock. The recent publications on inventory and monitoring of
   groundwater dependent ecosystems
   (http://www.fs.fed.us/geology/GDE Level II FG final March2012 rev1 s.pdf) and assessment of


                         Rio Grande National Forest - 52 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000197
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 198 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   wetland systems by Cooper and Merritt (2012) should be extremely helpful in the future for weighing the
   various benefits of groundwater driven ecosystems.


   Sheep Grazing
   Introduction
   Sheep prefer to graze and occupy upland areas rather than “wet” areas (Platts, 1991). As a result, they are
   normally not considered impactive to streams, riparian areas and wetlands, unless they are concentrated
   their through management practices. In both Platts and Rinne (1999) review of a large volume of studies,
   they suggested that adequate monitoring was not completed prior to several studies, and ecological
   conditions needed in riparian and wetland ecosystems had to be determined by instigating several
   important factors responsible for the systems to function adequately, and not develop a “goal” for a large
   landscape when there is a high variability in land form and function.

   The lack of sheep/riparian interactions in most of the literature I reviewed indicates that solutions to
   maintaining healthy ecosystems and provide grazing for sheep may not be as difficult as cattle. Indeed, if
   not crowded in riparian areas they will tend to forage on uplands, and generally steeper slopes than cattle
   (Glimp, 1994). Reviewers that we cited all identified constant herding as a beneficial way to maintain
   sheep grazing in uplands along with alternate water supplies. The biggest concern was that herder’s
   camps were often located in valley bottoms, and sheep herds along with them were concentrated in these
   areas, often for several days. If concentrated in these valley bottoms during early spring and summer,
   major impacts to riparian plants and soils could be impacted.

   Results
   Relative to cattle allotments, there are relatively few sheep allotments, based on our measure of
   permanent streams per active allotment. A total of 6 of the 8 subwatersheds are at relatively high
   elevations however, indicating that they could have a higher likelihood to be associated with riparian
   areas and, glaciated valleys and wetlands. On the western side of the study area, some of these areas are
   associated with the Weminuche and South San Juan Wilderness areas. While again we are not able to
   identify the intensity and duration of grazing in these areas, there location indicates concentrations of
   wetlands much higher than at lower elevations.

   All of the identified subwatersheds on the western side of the study area with grazing allotments
   identified, including 4 in the highest quantile are associated with glaciated valleys.

   Future Considerations
   Spatially, there are far fewer active allotments for sheep grazing than cattle. In lower elevation
   subwatersheds, techniques to manage sheep outside of riparian areas are probably relatively easy give the
   avoidance of wet areas by them. Managing the herd locations and where they are “bedded”, along with
   the herders would maintain the herds and habitat. In the occasion that non-native invasive plants (e.g.
   Canadian thistle, Cirsium vulgare) become established, intensive grazing by sheep could be used. It
   appears that having constant and consistent herd movement would be necessary to avoid significant
   damage to riparian and stream ecosystems.




                         Rio Grande National Forest - 53 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000198
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 199 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems



       ALLP«INTS;>f




          ARWA            Percent of Stream Miles within
        Rio Grande        Active Sheep Allotment per HUC                       Other Layers
                                                                               I  ■ I R[0 Grande
         National         Ranked Quantiles        o_aShp_mistmi                Lvivl Study.Area

          Forest                0(125HUCs)       2[8HUCs)         4 [8 HUCs)   I
                                                                               I
                                                                                    I Fcrest
                                                                                    I Bound Biy

           2016                 1 (7 HUCs)       3 [7 HUCsl       5 [S NUCs)   [    I MPS Boundary



   Figure 27. Results of the relationship between permanent streams and active sheep allotments per
   subwatershed in the Rio Grande National Forest Ecosystem.




                         Rio Grande National Forest - 54 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000199
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 200 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Commercial Timber Harvest
   Introduction
   Commercial timber harvest in riparian areas and wetlands has been shown to have dramatic, long-term
   impacts to stream habitat and ecosystems, especially in the Northwest (Sidell, 1994). Instream and
   riparian habitats rely on the shading, food source, habitat, and stream bank stability from living and dead
   trees associated with these areas. In addition, sediment trapping, energy absorption from flooding and
   many terrestrial benefits are also important values of trees and shrubs in riparian areas, streams and
   wetlands. While many more recent improvements in timber harvest have helped to ensure trees and wood
   remain an important part of the riparian stream and wetland ecosystems in the Rocky Mountains,
   extensive ecological damage was done during the early European settlement, when the larger and easier to
   harvest trees were along stream channels (Wohl, 2001).

   Results
   The results of the clearcut timber harvest in valley bottoms are presented in Figure 28. It is very apparent
   that timber sales have been limited in the Rio Grande National Forest and surrounding landscape in the
   last few decades. The highest density of harvest in the valley bottom was 0.1 % of the total valley bottom
   within the Bear Creek-Sheep Creek subwatershed. These results indicate that timber harvest has not been
   a significant influence within valley bottoms in the recent past

   Future Considerations
   As mentioned previously, timber harvest and the removal of wood from valley bottoms was probably
   most impactive during the mid to late 1800’s and early 1900’s. Today, other than removing wood from
   stream channels, timber harvest has not been an important influence. However, with the large fires that
   have occurred in the last few years in the western portion of the National Forest, care must be taken to
   ensure that trees are not removed from valley bottoms other than those pieces not considered for
   maintaining ecological form and function of stream, wetland and stream ecosystems. Even trees left lying
   on riparian valley floors are important for trapping sediment and debris during floods, providing habitat
   for terrestrial organisms and seedbeds for other herbaceous and woody plants. Stream crossings planned
   and constructed to represent natural stream channels will pass trees through them, much the same as
   natural stream channels. Since a large portion of this very important resource has been removed from the
   valley bottoms in the past, collaboration with Silviculturists and timber managers could result is replacing
   some of this wood in important valley bottom areas.




                          Rio Grande National Forest - 55 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000200
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 201 of 406

                                                        Appendix 1 to Assessments 1 and 3:
                                                       Aquatic and Semi-Aquatic Ecosystems




                       U.S. Fdwt Se/twcc




                                        Ranxad


          HUC 12                HUC 12 NAME                   Cut_prtVFac      QUANTILE
        130100040501       Sear Cree k-Sh eep Oree k           0.10S57a           S
        150100010502            Mfddle Creek                   0.079459           5
        130201020301       Headwaters Rio Chama                0.069773           5
        130100011303            Wllloiv Creek                  0.0GM36            S
        130100020404       Headwaters Hot Creek                0.062969           5
        130100040303           Houses og Cre^k                 0.059679           3
        130100011104           Besver creek                    0-047407           3
        130100020201       Headwaters Rock Creek               O.MSOSS            5
        130100050404            Bighorn Creek                  01036121           5
        130100040701             Fofd Creek                    O.05S421           4




          ARWA                  Percent of Valley Floor within
        Rio Grande              Clear Cut per HUC                                                     other Layers
                                                                                                      I  I Rio Gran tfe
         National               Ranked Quantiles                  Q_cut_pctVFac                       I—I 6ludy Area
          Forest                          DOWHUCs)                                        4C9HUCSJ    I I Forest
                                                                                                      I—I Boundary
           2015                           1   (6 MLJCsj           3 (9 MUQs]              5C9HUCfi)   I I NPS Bcondary


   Figure 28. Percentage of valley bottoms with active clear cuts conducted in the last 2 decades. The
   percentage for these activities is very low, even in the highest levels.




                               Rio Grande National Forest - 56 - Forestwide Planning Assessment
                                                                                                      Rvsd Plan - 00000201
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 202 of 406

                                                          Appendix 1 to Assessments 1 and 3:
                                                         Aquatic and Semi-Aquatic Ecosystems




               0      »   4n        Pul   an     iftfl    ISO   -i4n   ififi '
                                      HUC$ RiiiLvd
                          -     -         -                /
             HUC 12                   HUC 13 NAME                  SUMQUANTllf   QUANTILE
           iMicoosoice         Trail Creek-Conejos River                  2S        5
      ' 130100020204             Headwaters Cat Creek                     25        5
           130100040403        North fork Carnero Creek                   24        5
           130100040202              Fourmile Creek                       23        5
       :   130100040303              Nouseicig Creek                      23        5
           130100040401        Middle Fork Camera Creek                   23        5
           130100050104                 Lake Fork                         23        5
      \ 130100050404                  Bighorn Creek                       23        5
           130100020404          Hea dwate rs Hot Cree k                  21        5
           13O1O0O1OS02               Middle Creek                        20        5




   Figure 29.




                                    Rio Grande National Forest - 57 - Forestwide Planning Assessment
                                                                                               Rvsd Plan - 00000202
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 203 of 406

                                                   Appendix 1 to Assessments 1 and 3:
                                                  Aquatic and Semi-Aquatic Ecosystems



       ALLP^INTSa




           HUC IZ               HUC 12 NAME               Own jctVFac   QUANTILE
        130100030607            130100030607                0.853233       5
        130100030403           Ri to Alto Creek             0.SD73G1       R

        130100050406   Town of Guadalupe-Conejos River      0.783548       5
        130100011307   Schrader Crcck-RioGratidc River      0.774491       5
        130100020705    City of Monte Vista-Rio Grande      0.755134       R

        130100030404           San Isabel Creek             0.743458       5
        130100030301      Piney Creek-San Luis Crook        0.712335       5
        130100011306       Bowen Crook-Rio Grande           0.700416       5
        130100011305          Old Woman Creek               O.GBG315       R

        130100030402          Wild CherryCreek              0.673396       5




   Figure 30.




                              Rio Grande National Forest - 58 - Forestwide Planning Assessment
                                                                                        Rvsd Plan - 00000203
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 204 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Need for Change
   This section identifies information that has been identified or understood to be important to Stream,
   Riparian and Wetland Ecosystem form and function since the Forest Plan developed in 1996. In addition,
   this information is important to maintain ecological sustainability of these systems and the plants and
   animals in them. It is not meant to be complete, but focuses on the priorities we felt could be
   accomplished in a relatively short period of time.

   Ecological Drivers
   The Rio Grande is located in a relatively high elevation landscape, with 3 major geologic types,
   predominately high gradient landscapes

   •   The calcareous geologic formation and groundwater systems along the Sangre de Cristo mountain
       range is extremely limited spatially and should be considered an important feature for potentially rare
       plants and animals, including fish downstream
   •   The volcanic subwatersheds on the western portion of the National Forest could be more productive
       for aquatic, wetland and riparian species due to calcium and other inorganic nutrients
   •   Glaciated valleys are very important for wetland development, containing higher densities than the
       rest of the Forest
   •   Low gradient stream channels are the most sensitive and important stream types and associated
       riparian areas to stream health and have limited management direction.
       o   Cluster 3 contains subwatersheds with the highest percentage of low gradient channels that are
           not influenced considerably by the valley floor.
   •   Beaver colony development can have a major influence on stream recovery and riparian development
       and could be identified as a management tool.
   •   Climate change Analysis shows potential change in discharge and expected changes in stream and
       wetland temperature dynamics and health.
   •    Stream density in subwatersheds is variable between subwatersheds and could be important for
       future species and riparian management.

   Anthropogenic resources
   Valley bottoms provide a morphological basis for managing riparian and stream monitoring and
   restoration efforts, while riparian areas are based on “existing” characteristics and locations.

   •   Transportation
       o   Designs are available for determining fragmentation from inadequate stream crossings and
           improvements to meet stream function
       o   Transportation corridors in valley bottoms restrict stream channels and riparian areas, increasing
           impacts from flooding and reducing habitat. New road construction and relocation of existing
           roads in valley bottoms would improve conditions
   •   Grazing
       o   Low gradient response reaches are paramount for management of grazing and riparian and stream
           ecosystems and will be more important in the future



                         Rio Grande National Forest - 59 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000204
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 205 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


               ■   Results of the climate change analysis indicate that proper grazing management could
                   reduce the influence of future grazing management
       o   Glaciated valleys could be considered sensitive to grazing impacts, due to the abundance of
           wetlands and could be managed differently than other landscapes
       o   Maintaining riparian woody species at late seral stages in low gradient reaches would increase
           stream shading and reduce stream and riparian temperatures in lieu of climate change.
       o   Restoring riparian trees and woody shrubs would be an effecting water temperature control
       o   Fencing denuded low gradient riparian areas and reestablishing woody shrubs and trees is needed
           where chemicals and or grazing over time has eliminated vegetation.
   •   Invasive Species
       o   Numerous non-native plants, pathogens and animals have been introduced to streams, riparian
           areas and wetlands. Direction to reduce the introduction of invasives such as whirling disease and
           chitrid fungus could be a priority to protect ecosystems in the future.
   •   Rare wetlands such as springs and fens require additional protection where rare taxa and downstream
       temperature influences are paramount
   •   Managing subwatersheds for ecological resiliency would aid in the restoration and stability of mining
       impaired subwatersheds.
   •   The resiliency of streams, riparian areas and wetlands must be high in order to be able to ensure the
       impacts of future climate change and human influences associated with drought, fire and insect and
       diseases
   •   Trees and woody material in streams and riparian has been limited from past management practices,
       resulting in reduced resiliency and habitat quality and quantity.
   •   Recreational fishing demand has increased as opportunities related to decreased access and habitat
       conditions. There is a need to increase the fishing opportunities on public lands and quality of fish
       habitat while ensuring impacts from visitors does not increase.




                          Rio Grande National Forest - 60 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000205
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 206 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems



   References Cited
   Note: In addition to citations directly from this document we included other’s that were identified as
   being important sources of information that may help in understanding information further.

   Agee, A.K. 1998. The landscape ecology of western forest fire regimes. Northwest Science 77:24-34.

   Allan, J.D. 1995. Stream ecology: Structure and function of running waters. Chapman and Hall.

   Alves, J. E, K. A. Patten, D. E. Brauch and P. M. Jones. 2008. Range Wide Conservation Strategy for Rio
            Grande Cutthroat Trout (Oncorhynchus clarki virginalis): 2008. Report to the USDI Fish and
           Wildlife Service. Denver, Colorado.

   Auerbach D.A., N.L. Poff, R.R. McShane, D.M. Merritt, M.I. Pyne & T. Wilding 2012. Streams past and
          future: Fluvial Responses to Rapid Environmental Change in the Context of Historical Variation.
          Pages 232-245 in Historical Environmental Variation in Conservation and Natural Resource
          Management, John Wiley & Sons, Ltd. (J.A. Wiens, G.D. Hayward, H.D. Saford, and C.M.
          Giffen, Eds.).

   Austin, D.D. 2000. Managing livestock grazing for mule deer (Odocoileus hemionus) on winter range in
           the Great Basin. Western North American Naturalist 60(2):198-203.

   Barton, D.R., W.D. Taylor, and R.M. Biette. 1985. Dimensions of riparian buffer strips required to
           maintain trout habitats in southern Ontario streams. North American Journal of Fisheries
           Management 5:364-378.

   Batzer, D.P., C.R. Jackson, and M. Mosner. 2000. Influences of riparian logging on plants and
           invertebrates in small, depressional wetlands of Georgia, USA. Hydrobiologia 441:123-132.

   Baxter, George T. and M.D. Stone 1995. Fishes of Wyoming. Wyoming Game and Fish Department.
           Cheyenne, WY.

   Becker, L.D. 1995. Investigation of bridge scour at selected sites on Missouri streams. Denver, CO. US
           Geological Survey, Earth Science Information Center.

   Behnke, R.J. 2002. Trout and Salmon of North America. The Free Press. New York, NY.

   Behnke, R.J. 1992. Native trout of western North America. American Fisheries Society Monography 6.
          Bethesda, MD.

   Belsky, J.A., and S. Ulelman. 1997. Survey of livestock influences on stream and riparian ecosystems in
           the Western United States. Oregon Natural Desert Association.

   Berkman, H.E., and C.F. Rabeni. 1987. Effects of siltation on stream fish communities. Environmental
         Biology of Fishes 18:285-294.

   Binkley, D., and T.C. Brown, 1993. Management impacts on water quality of forests and rangelands.
           USDA General Technical Report RM-239.

   Bisson, P.A., B.E. Rieman, C. Luce, P.F. Hessburg, D.C. Lee, J.L. Kershner, G.H. Reeves, and R.E.
           Gresswell. In press. Fire and aquatic ecosystems of the Western USA: current knowledge and key
           questions. Forest Ecology and Management.



                          Rio Grande National Forest - 61 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000206
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 207 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   Bisson, P.A., T.P. Quinn, G.H. Reeves, and S.V. Gregory. 1992. Best management practices, cumulative
           effects, and long-term trends in fish abundance in Pacific Northwest river systems. In: Watershed
           management: Balancing sustainability and environmental change. Edited by: R.B. Naiman.
           Springer-Verlag, New York, NY.

   Brooke, J. 1999. Environmentalists battle growth of ski resorts. The New York Times. January 19: Sec. A;
           10 (col. A1).

   Brown, D.J., W.A. Hubert, and S.H. Anderson. 1996. Beaver ponds create wetland habitat for birds in
          mountains of southeastern Wyoming. Wetlands 16:27-133.

   Buckhouse, J.C. 1981. Riparian response to certain grazing management. Paper presented at Society for
         Range Management 34th Annual Meeting, Tulsa, OK.

   Butler, D.R. 1995. Zoogeomorphology: animals as geomorphic agents. Cambridge University Press. New
           York, NY.

   Chamberlin, T.W., R.D. Harr, and F.H. Everest. 1991. Timber harvesting, silviculture, and watershed
         processes. In: Influences of forest and rangeland management on salmonid fishes and their
         habitats. American Fisheries Society Special Publication 19:181-205.

   Chapman, G.A., and D.G. Stevens. 1978. Acutely lethal levels of cadmium, copper, and zinc to adult male
         coho salmon and steelhead. Transactions of the American Fisheries Society 107:837-840.

   Clark, R.N., and D.R. Gibbons. 1991. Influences of forest and rangeland management on salmonid fishes
           and their habitats. American Fisheries Society Special Publication 19:459-481.

   Clary, W.P. and W.C. Leininger. 2000. Stubble height as a tool for management of riparian areas. Journal
           of Range Management 53:562-573.

   Clary, W.P. and B.F. Webster. 1989. Managing grazing of riparian areas in the intermountain region.
           USDA Intermountain Research Station General Technical Report INT-263 May 1989.

   Cole, D. 2000. Dispersed recreation. In: Drinking water from forests and grasslands. Edited by: G.E.
           Dissmeyer. General Technical Report SRS-39. Asheville, NC: USDA Forest Service, Southern
           Research Station. 74-80.

   Cole, D.N. 1996. Disturbance of natural vegetation by camping: Experimental applications of low-level
           stress. Environmental Management 19(3):405-416.

   Cole, D.N. 1989. Low-impact recreational practices for wilderness and backcountry. General Technical
           Report INT-265. Inter-Mountain Research Station. USDA Forest Service, Ogden, UT.

   Cole D.N. 1981. Vegetational changes associated with recreational use and fire suppression in the Eagle
          Cap Wilderness, Oregon. Biological Conservation 30:247-270.

   Cole, D.N. 1979. Reducing the impact of hikers on vegetation: An application of analytical research
           methods. In: Proceedings, recreational impact on wildlands conference. Edited by: R. Ittner et al.
           US Forest Service, Pacific Northwest Region, and US National Park Service, Portland, OR.

   Cole, D.N. and S.J. Trull. 1992. Quantifying vegetation response to recreational disturbance in the North
           Cascades, Washington. Northwest Science 66:229-236.



                         Rio Grande National Forest - 62 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000207
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 208 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Colleen, P. and R.J. Gibson. 2001. The general ecology of beavers (Castor spp.) as related to their
           influence on stream ecosystems and riparian habitats, and the subsequent effects of fish - a
           review. Reviews in Fish Biology and Fisheries 10:439-461.

   Collins, B.D., and T. Dunne. 1987. Assessing the affects of gravel harvesting on river morphology and
            sediment transport: A guide for planners. Report to State of Washington Department of Ecology,
            Olympia, WA.

   Compton, B.B., R.J. Mackie, and G.L. Desek. 1988. Factors influencing distribution of white-tailed deer
         in riparian habitats. Journal of Wildlife Management 52(3):544-548.

   Cooper, D.J. 1986. Community structure and classification of Rocky Mountain wetland ecosystems. In:
          An ecological characterization of Rocky Mountain montane and subalpine wetlands. Edited by:
           J.T. Windell et al. USDI Fish and Wildlife Service, Biological Report 86(11). Washington DC.
           66-147.

   Davies, P.E. and M. Nelson. 1994. Relationships between riparian buffer widths and the effects of logging
           on stream habitat, invertebrate community composition and fish abundance. Australian Journal of
           Marine and Freshwater Research 45:1289-1305.

   Deacon, J.R., N.E. Spahr, S.V. Mize, and R.W. Boulger. 2001. Using water, bryophytes, and
          macroinvertebrates to assess trace element concentrations in the Upper Colorado Basin.
          Hydrobiologia 455:29-39.

   Dissmeyer, G.E. 2000. Editor. Drinking water from forests and grasslands: A synthesis of the scientific
          literature. USDA. Forest Service. Asheville, NC.

   Dube, S., A.P. Plamondon, and R.L. Rothwell. 1995. Watering up after clear-cutting on forested wetlands
          on the ST. Lawrence lowland. Water Resources Research 31:1741-1750.

   Dunham, J.B., M. Young, and R.E. Gresswell. In press. Effects of fire on fish populations: landscape
         perspectives on persistence of native fishes and non-native fish invasions. Forest Ecology and
         Management.

   Dusek, G.L. 1990. Use of riparian areas in Montana by white-tailed deer. In: Management of riparian and
          wetland forested ecosystems in Montana. Fourth Annual Montana Riparian Association
          Workshop. 5-7 September 1990. Whitefish, MT.

   Elliot, W.J., R.B. Foltz, C.H. Luce, and T.E. Koler. 1996. Computer-aided risk analysis in road
            decommissioning. In: Proceedings of the AWRA. annual symposium on watershed restoration
            management: physical, chemical, and biological considerations. Edited by: J.J. McDonald, J.B.
            Stribling, L.R. Neville, and D.J. Leopold. Syracuse, NY. Herndon, VA. American Water
            Resources Association: 341-350.

   Elliot, W.J., R.B. Foltz, and C.H. Luce. 1999. Modeling low-volume road erosion. In: Proceedings of the
            7th international Conference on low-volume roads. New Orleans. Trans. Res. Rec. 1652. National
            Academy Press, Washington, DC. (2):244-250.

   Elliot, W.J. 2000. Roads and other corridors. In: Drinking water from forests and grasslands: A. synthesis
            of the scientific literature. Edited by: G.E. Dissmeyer. General Technical Report SRS-039. U.S.
            Department of Agriculture. U.S. Forest Service. Ashville, NC.




                         Rio Grande National Forest - 63 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000208
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 209 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Elliot, W.J. and D.E. Hall. 1997. Water erosion prediction project (WEPP) forest applications. General
            Technical Report INT-365. U.S. Department of Agriculture. U.S. Forest Service. Ogden, UT.

   Elmore, W. and B. Kauffman, 1994. Riparian and watershed systems: Degradation and restoration. In:
           Ecological implications of livestock herbivory in the West. Edited by: M. Vavra, W. Laycock, and
           R.D. Pieper.

   Energy Information Administration (EIA) 2002. Report # DOE/EIA 0484. www.eia.doe.gov /index.html.

   Erome, G., and J. Broyer. 1984. Analyses des relations castor-vegetation. (Analyses of relationships
          between beaver and vegetation). Bievre 6:15-63.

   Fausch, K.D. 1988. Test of competition between native and introduced salmonids in streams: what have
           we learned? Canadian Journal of Fisheries and Aquatic Sciences 45::2238-2246.

   France, R.L. 1997. Potential for soil erosion from decrease litter fall due to riparian clear-cutting:
           Implications for boreal forestry and warm- and cool-water fishes. Journal of Soil and Water
           Conservation 52(6):452-455.

   Fuller, P.L., L.G. Nico, and J.D. Williams. 1999. Nonindigenous fishes introduced into the inland waters
            of the United States. American Fisheries Society, Special Publication 27, Bethesda, MD.

   Furniss, M.J., T.D. Roelofs, and C.S. Yee. 1991. Road construction and maintenance. In: Influences of
            forest and rangeland management on salmonid fishes and their habitats. Edited by: W.R. Meehan.
           American Fisheries Society. Bethesda, MD.

   Galbraith, W.A., and E.W. Anderson. 1971. Grazing history of the Northwest. Journal of Range
           Management 24(1):6-12.

   Garman, G.C. and J.R. Moring. 1994. Diet and annual production of two boreal river fishes following
          clear-cut logging. Environmental Biology of Fishes 36:301-311.

   Glimp, H.A. and S.R. Swanson. 1994. Sheep grazing and riparian and watershed management. Sheep
          Research Journal, Special Edition: 65-71.

   Gosz, J.R. 1977. Effects of ski area development and use on stream water quality of the Santa Fe basin,
           New Mexico. Forest Science 23:167-179.

   Gregory, S.V., F.J. Swanson, and W.A. McKee. 1991. An ecosystem perspective of riparian zones.
          BioScience. 40:540-551.

   Gresswell, R.E. 1999. Fire and aquatic ecosystems in forested biomes of North America. Transactions of
          the American Fisheries Society 128:193-221.

   Gruell, G.E. 1979. Wildlife habitat investigations and management implications on the Bridger-Teton
           National Forest. Re-printed from North American Elk, Ecology, Behavior and Management.
           Edited by: M.S. Boyce and L.D. Hayden-Wing. University of Wyoming, Laramie, WY.

   Hagan, A., and A. Langeland. 1973. Polluted snow in southern Norway and the effect of the meltwater on
          freshwater and aquatic organisms. Environmental Pollution 5:45-57.




                          Rio Grande National Forest - 64 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000209
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 210 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   Hagans, D.K., W.E. Weaver, and M.A. Madej. 1986. Long-term on-site and off-site effects of logging and
          erosion in Redwood Creek basin, Northern California. National Council of the Paper Industry for
          Air and Stream Improvement, Technical Bulletin 490:38-66.

   Hagglund, A., and G. Sjoberg. 1999. Effects of beaver dams on the fish fauna of forest streams. Forest
          Ecology and Management 115:259-266.

   Hammerson, G.A. 1986. Amphibians and reptiles of Colorado. State of Colorado, Division of Wildlife,
        Denver, CO.

   Hartman, G.F., J.C. Scrivner, and M.J. Miles. 1996. Impacts of logging in Carnation Creek, a high-energy
          coastal stream in British Columbia, and their implications for restoring fish habitat. Canadian
          Journal of Fisheries and Aquatic Sciences 53(Supplement 1): 237-251.

   Harvey B.C., T.E. Lisle, T. Vallier, and D.C. Fredley. 1995. Effects of suction dredging on streams: A
          review and evaluation strategy. Special report to Gray F. Reynolds, Deputy Chief, National Forest
          system USDA. Forest Service.

   Heede, B.H. 1980. Stream dynamics: an overview for land managers. U.S. Forest Service. General
          Technical Report RM-72.

   Helgath, S.F. 1975. Trail deterioration in the Selway-Bitteroot Wilderness. U.S. Forest Service Research
           Note INT-193.

   Hidinger, A.A. 1999. Comparative ecology of bison and cattle on mixed-grass prairie. Great Plains
          Research 9:329-42.

   Hoffman, C. 1998. Let it snow. Smithsonian. 29:50-53.

   Holtby, L.B. 1988. Effects of logging on stream temperatures in Carnation Creek, British Columbia, and
           associated impacts on the coho salmon (Oncorhynchus kisutch). Canadian Journal of Fisheries
           and Aquatic Sciences 45:502-515.

   Hynes 1970. The Ecology of Running Water. Liverpool University Press. Toronto. Canada

   Ibarra, M., and W.C. Zipperer. 2001. Concentrated recreation. In: Drinking water from forests and
           grasslands. General Technical Report SRS-39. USDA Forest Service, Ashville, NC.

   Ingersoll, G.P., J.T. Turk, C. McClure, S. Lawlor, D.W. Clow, and M.A. Mast. 1997. Snowpack chemistry
           as an indicator of pollutant emission levels from motorized winter vehicles in Yellowstone
           National Park. Western Snow Conference 65th Annual Canadian Geophysical Union, Banff,
           Canada.

   Johnson, L.B., C. Richards, and G. Host. 1995. Land use and surficial geology effects on water chemistry,
          stream habitat and macro- invertebrate assemblages in the Saginaw River watershed, Ann Arbor,
          MI. International Association For Great Lakes Research.

   Jones, E.B.D.,III, G.S. Helfman, J.O. Harper, and P.V. Bolstad. 1999. The effects riparian deforestation on
           fish assemblages in southern Appalachian streams. Conservation Biology 13:1454-1465.

   Kauffman, J. B., and W.C. Krueger. 1984. Livestock impacts on riparian ecosystems and streamside
         management Implications: A review. Journal of Range Management 37(6):683-685.



                         Rio Grande National Forest - 65 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000210
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 211 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   Kay, C.E. 1994. Aboriginal overkill and native burning: Implications for modern ecosystem management.
          Utah State University.

   Kay, C.E. 1995. Browsing by native ungulates: Effects on shrub and seed production in the Greater
          Yellowstone Ecosystem. In: Proceedings: Wildland shrub and arid land restoration symposium;
           19-21 October 1993; Las Vegas, NV, USDA Forest Service. General Technical Report INT-GTR-
           315.

   Kay, C.E, and S. Chaddle. 1992. Reduction of willow seed production by ungulate browsing in
          Yellowstone Park. In: Proceedings - Symposium on ecology and management of riparian shrub
          communities. Edited by: W.P.Clary, E.D. McArthur, D. Bedunah, and C.L. Wambolt. USDA.
          Forest Service General Technical Report INT-289.

   Kedzierski, W.M. and L.A. Smock. 2001. Effects of logging on macroinvertebrate production in a sand-
          bottomed, low-gradient stream. Freshwater Biology 46:821-833.

   Knapp, R.A., P.S. Corn, and D.E. Schindler. 2001. The introduction of non-native fish into wilderness
          lakes: Good intentions, conflicting mandates, and unintended consequences. Ecosystems 4:275­
          278.

   Knapp, R.A. and K.R. Matthews. 2000. Effects on nonnative fishes on wilderness lake ecosystems in the
          Sierra Nevada and recommendations for reducing impacts. Wilderness science in time of change
          conference, volume 5: Wilderness ecosystems, threat, and management, Missoula, Montana, May
          23-27, 1999. Fort Collins, CO; USDA Forest Service, Rocky Mountain Research Station,
          Proceedings 5:312-317.

   Krueger, H.O., and S.H. Anderson. 1985. The use of cattle as a management tool for wildlife in shrub­
          willow riparian systems. In: Riparian ecosystems and their management: reconciling conflicting
          uses. Edited by: R.R. Johnson, C.D. Ziebell, D.R. Patton, P.F. Folliott, and R.H. Hamre.16-18
          April 1985. Tucson, AZ. USDA Forest Service. General Technical Report RM-120.

   Landsberg, J.D., and A.R. Tiedemann. 2000. Fire management. In: Drinking water from forests and
          grasslands. Edited by: G.E. Dissmeyer. General Technical Report SRS-39. USDA Forest Service,
          Southern Research Station.

   Larson, R.E., W.C. Krueger, M.R. George, M.R. Barrington, K.C. Buckhouse, and D.E. Johnson. 1998.
           Viewpoint: Livestock influences on riparian zones and fish habitat: Literature classification.
           Journal of Range Management 51(6):661-664.

   Lauenroth, W.K. 1994. Effects of grazing on ecosystems of the Great Plains, In: Ecological Implications
          of Livestock Herbivory in the West. Edited by: M. Vavra, W.A. Laycock, and R.D. Pieper.

   LeMassena. R.A. 1984. Colorado’s mountain railroads. Sundance Publications Limited. Denver, CO.

   Leung, Y., and J.L. Marion. 1996. Trail degradation as influenced by environmental factors: A state-of-
          the-knowledge review. Journal of Soil and Water Conservation 51(2): 130-136.

   Lomborg, B. 2001. The skeptical environmentalist: Measuring the real state of the world. Cambridge
         University Press.




                         Rio Grande National Forest - 66 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000211
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 212 of 406

                                         Appendix 1 to Assessments 1 and 3:
                                        Aquatic and Semi-Aquatic Ecosystems


   MacCleery, D. undated. Understanding the role that humans have played in shaping America’s forest and
         grassland landscapes: Is there a landscape archaeologist in the house? USDA Forest Service
         unpublished.

   MacPhee, C. 1966. Influence of differential angling mortality and stream gradient on fish abundance in a
         trout-sculpin biotope. Transactions of the American Fisheries Society 95:381-387.

   McDonald, M.E. and A.E. Hershey. 1989. Size structure of a lake trout (Salvelinus namaycush)
        population in an Arctic lake: influence of angling and implications for fish community structure.
         Canadian Journal of Fisheries and Aquatic Sciences 46:2153-2156.

   McDowell, D.M. and R.J. Naiman. 1986. Structure and function of a benthic invertebrate stream
        community as influenced by beaver (Castor Canadensis). Oecologia 68:481-489.

   McIntosh, B.A., J.R. Sedell, R.F. Thurow, S.E. Clarke, and G.L. Chandler. 2000. Historical changes in
          pool habitats in the Columbia River basin. Ecological Applications 10:1478-1496.

   McIntosh, B.A., J.R. Sedell, J.E. Smith, et al. 1994. Historical changes in fish habitat for select river
          basins of eastern Oregon and Washington. Northwest Science 68:36-53.

   McKinstry, M.C., P. Caffrey, and S.H. Anderson. 2001. The importance of beaver to wetland habitats and
         waterfowl in Wyoming. Journal of the American Water Resources Association 37:1571-1577.

   McNamee, G. 1994. Gila: The life and death of an American river. Orion Books, NY.

   Margolis, B.E., R.L., Raesly, and D.L. Shumway. 2001. The effects of beaver-created wetlands on the
          benthic macroinvertebrate assemblages of two Appalachian streams. Wetlands 21:554-563.

   Marion, J.L. and D.N. Cole. 1996. Spatial and temporal variation in soil and vegetation impacts on
          campsites. Ecological Applications 6:520-530.

   Marion J.L. and T.A. Farrell. 2002. Management practices that concentrate visitor activities: Camping
          impact management at Isle Royale National Park, USA. Journal of Environmental Management
          66:201-212.

   Marlow, C.B., and T.M. Pogacnik. 1985. Time of grazing and cattle-induced damage to streambanks. In:
          Riparian ecosystems and their management reconciling conflicting uses. Edited by: R.R. Johnson,
          C.D. Ziebell, D.R. Patton, P.F. Folliott, and R.D. Hamre. Tucson, AZ. USDA Forest Service
          General Technical Report RM-120.

   Marlow, C.B., K. Olson-Rutz, and J. Atchley. 1989. Response of a Southwest Montana riparian system to
          four grazing management alternatives. In: Practical approaches to riparian resource management:
          An educational workshop. Edited by: R.E. Gresswell, B.A. Barton, and J.L. Kerschner. USDI
          Bureau of Land Management, Billings, MT.

   Maser, C. and J.R. Sedell. 1994. From the forest to the sea: The ecology of wood in streams, rivers,
           estuaries, and oceans. St. Lucie Press, Delray Beach, FL.

   Meehan W.R., editor. 1991. Influences of forest and rangeland management on salmonids fishes and their
         habitats. American Fisheries Society Special Publication 19.

   Meehan, W.R. and W.S. Platts. 1978. Livestock grazing and the aquatic environment. Journal of Soil and
         Water Conservation 33(6):274-278.


                          Rio Grande National Forest - 67 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000212
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 213 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Metts, B.S., J.D. Lanham, and K.R. Russell. 2001. Evaluation of herpetofaunal communities on upland
           streams and beaver-impounded streams in the upper piedmont of South Carolina. American
           Midland Naturalist 145:54-65.

   Michael, J.L. 2000. Pesticides. In: Drinking water from forests and grasslands: A synthesis of the
          scientific literature. Edited by: G.E. Dissmeyer. USDA. General Technical Report SRS-39.

   Miller, R.F., T.J. Svejcar, and N.E. West, 1994. Implications of livestock grazing in the intermountain
            sagebrush region: Plant composition. In: Ecological implications of livestock herbivory in the
            West. Edited by: M. Vavra, W.A. Laycock, and R.D. Pieper.

   Minshall, G.W. In press. Community/food web responses of stream macroinvertebrates to fire. Forest
          Ecology and Management.

   Molles, M.C. Jr., and J.R. Gosz. 1980. Effects of a ski area on the water quality and invertebrates of a
           mountain stream. Water, Air and Soil Pollution 14:187-205.

   Morrison, G.M., D.M. Revitt, and J.B. Ellis. 1995. The gully pot as a biochemical reactor. Water Science
          and Technology. 31:229-236.

   Mortensen, C. 1989. Visitor use impacts within the Knobstone trail corridor. Journal of Soil and Water
          Conservation. March- April. 156-159.

   Muoneke, M.I. and W.M. Childress. 1994. Hooking mortality: A review for recreational fisheries.
         Reviews in Fisheries Science 2:123-156.

   Naiman, R.J., C.A. Johnson, and J.C. Kelley. 1988. Alteration of North American streams by beaver.
          Bioscience 38:753-762.

   Naiman, R.J., G. Pinay, C.A. Johnson, and J. Pastor. 1994. Ecosystem alteration of boreal forest streams
          by beaver (Castor canadensis). Ecology 67:1254-1269,

   Natural Trails and Water Coalition. 2001. Off-road vehicles. The Wilderness Society, Washington, DC.

   Nelson, R.L., M.L. McHenry, and W.S. Platts. 1991. Mining. American Fisheries Society Special
           Publication 19:425-458.

   Oliphant, J.O. 1947. The cattle herds and ranches of the Oregon country, 1860-1890. Agricultural History
          21:217-238.

   Olson, R., and W.A. Hubert. 1994. Beaver: Water resources and riparian habitat manager. University of
           Wyoming.

   Ormes, R.M. 1963. Railroads and the Rockies. Sage Books. Denver, CO.

   Palmisano, J.F., R.H. Ellis, and V.W. Kaczynski. 1993. The impact of environmental and management
          factors on Washington’s wild anadromous salmon and trout. Washington Forest Protection
          Association and Washington Department of Natural Resources, Olympia, WA.

   Paul, A.J., J.R. Post, and J.M. Stelfox. 2003. Can anglers influence the abundance of native and nonnative
           salmonids in a stream from the Canadian Rocky Mountains? North American Journal of Fisheries
           Management 23:109-119.




                          Rio Grande National Forest - 68 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000213
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 214 of 406

                                        Appendix 1 to Assessments 1 and 3:
                                       Aquatic and Semi-Aquatic Ecosystems


   Perison, D., J. Phelps, C. Pavel, and R. Kellison. 1997. The effects of timber harvest in a South Carolina
           blackwater bottomland. Forest Ecology and Management 90:171-185.

   Phillips, N.J., and E.T. Lewis. 1995. Site planning from a watershed perspective. In: National conference
            on urban runoff management: Enhancing urban water management at the local, county, and state
            levels: U.S. Environmental Protection Agency, Office of Research and Development, Center for
            Environmental Research Information 139-150.

   Pieper, R.D. 1994. Ecological Implications of Livestock Grazing In: Ecological implications of livestock
           herbivory in the West. Edited by: M. Varva, W.A. Laycock, and R.D. Pieper.

   Pilliod, D.S., R.B. Bury, E.J. Hyde, C.A. Pearl, and P.S. Corn. In press. Potential effects of fire and fuel
            reduction practices on aquatic amphibians in the United States. Forest Ecology and Management.

   Pilliod, D.S., and C.R. Peterson. 2001. Evaluating effects of fish stocking on amphibian populations in
            wilderness lakes. Wilderness science in time of change conference, Vol 5: Wilderness ecosystems,
            threat, and management. Fort Collins, CO: U.S.D.A, Forest Service, Rocky Mountain Research
            Station Proceedings 5:328-335.

   Platts. W.S. 1989. Compatibility of livestock grazing strategies with fisheries. In: Practical approaches to
            riparian resource management, An educational workshop. Billings, MT.

   Platts, W. S., and R.F. Raleigh. 1981. Impacts of grazing on wetlands and riparian habitat. In: Developing
            strategies for rangeland management. National Research Council, National Academy of Sciences
            Westview Press. Boulder, CO.

   Platts, W.S. 1991. Influences of forest and rangeland management on salmonid fishes and their habitats.
            American Fisheries Society Special Publication 19:389-423.

   Platts, W.S., W.F. Megahan, and G.W. Minshall. 1983. Methods for evaluating stream, riparian, and biotic
            conditions. USDA Forest Service, General Technical Report INT-138.

   Poff, N.L., 1997. Landscape filters and species traits: Towards mechanistic understanding and prediction
           in stream ecology. Journal North American Benthological Society. 16:391-408.

   Poff N.L., J.D. Allan, M.B. Bain, J.R. Karr, K.L. Prestegaard, K.L. Richter, B.D. Sparks, and J.C.
           Stromberg. 1997. The Natural Flow Regime: a paradigm for river conservation and restoration.
           BioScience, 47, 769-784.

   Rahel F.J. 2000. Homogenization of fish faunas across the United States. Science 288:854-856.

   Rawlins, C.L. 1993. Sky’s witness: A year in the Wind River Range. Henry Holt and Company, NY.

   Regan, C. 2004. Protocol for Developing Terrestrial Ecosystem Current Landscape Condition
          Assessments for the Rocky Mountain Region of the USDA Forest Service.

   Reice, S.R., R.C. Wissmar, and R.J. Naiman. 1990. Disturbance regimes, resilience, and recovery of
           animal communities and habitats in lotic systems. Environmental Management 14: 647-659.

   Richmond, A.D. and K.D. Fausch. 1995. Characteristics and function of large woody debris in subalpine
         Rocky Mountain streams in northern Colorado. Canadian Journal of Fisheries and Aquatic
         Sciences 52:1789-1802.



                          Rio Grande National Forest - 69 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000214
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 215 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   Richter, B.D., J.V. Baumgartner, R. Wigington, and D.P. Braun. 1997. How much water does a river need?
            Freshwater Biology. 37:231-249.

   Ricklefs, R.E. 1993. Development and global ecology. The Economy of Nature, 3rd edition. W.H.
           Freeman and Company, NY.

   Ries, J.B. 1996. Landscape damage by skiing at the Schauinsland in the Black Forest, Germany.
            Mountain Research and Development 16:27-40.

   Rinne, J.N. 1999. Fish and grazing relationships: The facts and some please. Fisheries: Vol 24:8. 12-21

   Roath, L.R., and W.C. Krueger. 1982. Cattle grazing and behavior on a forested range. Journal of Range
           Management 35(3):332-338.

   Robertson, D.B. 1991. Encyclopedia of western railroad history. Volume II. The Mountain States.
          Colorado. Idaho. Montana. Wyoming Taylor Publishing Company. Dallas, TX.

   Rosenberg, D.M., and V.H. Resh. 1993. Freshwater biomonitoring and benthic macroinvertebrates.
          Routlege, Chapman and Hall, Inc.

   Rowley, W.M. 1985. U.S. Forest Service grazing and rangelands - A history. Texas A&M University
          Press. College Station, TX.

   Russell, K.R., C.E. Moorman, J.K. Edwards, B.S. Metts, and D.C. Guynn. 1999. Amphibian and reptile
           communities associated with beaver (Castor Canadensis) ponds and unimpounded streams in the
           piedmont of South Carolina. Journal of Freshwater Ecology 14:149-158.

   Salwasser, H., and K. Shimamoto. 1981. Pronghorn, cattle, and feral horse use of wetland and upland
          habitats. In: Proceedings of the California Riparian Systems Conference. Edited by: R.E. Warner
          and K.M. Hencrix. Davis, CA.

   Scrivner, J.C. and M.J. Brownlee. 1989. Effects of forest harvesting on spawning gravel and incubation
           survival of chum (Oncorhynchus keta) and coho salmon (O. kisutch) in Carnation Creek, British
           Columbia. Canadian Journal of Fisheries and Aquatic Sciences 46:681-696.

   Sedell, J.R., G.H. Reeves, F.R. Hauer, J.A. Stanford, and C.P. Hawkins. 1990. Role of refugia in recovery
            from disturbances: Modern fragmented and disconnected river systems. Environmental
            Management. 14:711-724.

   Shaver, C.D., and D. O’Leary. 1988. Air quality in the National Parks. U.S. Department of the Interior,
           National Park Service, Air Quality Division. Report prepared by Energy and Resource
           Consultants, Inc., NPS Contract No. CX-0001-4-0054.

   Shelby, B., T.C. Brown, and J.G. Taylor. 1992 Streamflow and recreation. . Rocky Mountain Forest and
           Range Experiment Station. USDA Forest Service. Fort Collins, CO. General Technical Report
           RM-209.

   Sheley, R.L., and J.K. Petroff. 1999. Biology and management of noxious rangeland weeds Oregon State
           University Press, Corvallis, OR.

   Sheley, R.L., B.H. Mullin, and P.K. Fay. 1995. Managing riparian weeds. Rangelands 17(5):154-157.




                         Rio Grande National Forest - 70 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000215
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 216 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   Singer, F.J., L.C. Mark, and R.C. Cates. 1994. Ungulate herbivory of willows on Yellowstone’s northern
           winter range. Journal of Range Management 47(6):435-443.

   Snodgrass, J.W., and G.K. Meffe. 1998. Influence of beavers on stream fish assemblages: effects of pond
          age and watershed position. Ecology 79:928-942.

   Stafford, M.P. 1994. Control of purple loosestrife with herbicides and the effect and subsequent response
           of wetland plant communities. In: Proceedings of the Idaho Weed Control Association. 49th
           Annual Meeting. 15-17 February 1994. Boise, ID.

   Staley, D. 2004 (in draft). GIS and modeling procedures for a multiple scale assessment of aquatic,
            riparian, and wetland ecosystems.. Denver, CO: U.S. Department of Agriculture, Forest Service,
           Rocky Mountain Region.

   Stednick, J.D. 2000. Timber management. In: Drinking water from forests and grasslands: A synthesis of
           the scientific literature. Edited by: G.E. Dissmeyer. USDA. Forest Service, General Technical
           Report SRS-39.

   Swanston, D.N. 1991. Natural Processes. In: Influences of Forest and Rangeland Management on
          Salmonid Fishes and their Habitats. American Fisheries Society Special Publication 19:139-179.

   Tiedemann, A.R. 2000. Wildlife In: Drinking water from forests and grasslands: A synthesis of the
          scientific literature. Edited by: G.E. Dissmeyer. USDA. General Technical Reference SRS-39.

   USDA Forest Service. 2001. Rocky Mountain Region, Planning Desk Guide. Unpublished.

   USDA Forest Service. 2001. Pesticide use report, Rocky Mountain Region, preliminary data query.

   USDA. Forest Service. 1999. Stemming the Invasive Tide. USDA. Forest Service Technical Report,
          Washington DC.

   USDA. Forest Service. 1997. Suction dredging in the National Forests; Dredging responsibly to protect
          river ecosystems. USDA. Forest Service Informational Brochure.

   USDA. Forest Service. 1996. Rocky Mountain Region - Region 2 Rangeland Analysis and Management
          Training Guide. Unpublished Guidebook.

   USDA. Forest Service. High mountain lakes and streams of the Sierra Nevada: A. guide to aquatic
          ecosystems. http://www.dfg.gov/ fishing/ mt_st_guide.pdf.

   USDI 1994. Riparian area management- Grazing management for riparian-wetland areas. Technical
         Reference 1737-14.

   U.S. Department of Transportation. Federal Highway Administration. Highway statistics 2000 (on-line
          version). Public road length-2000.

   U.S. EPA. 1997. Large-capacity septic systems. Draft document EPA-816-R-97-002. Washington DC.

   U.S. EPA. 1998. Overview of the Federal UST program. Washington DC: U.S. Environmental Protection
          Agency. [Not Paged]. [Available on the Web at: http://www.epa.gov/ werust1/ overview.htm.

   U.S. EPA. 1999. Groundwater rule proposal. Draft document EPA 99-022. Washington DC.




                         Rio Grande National Forest - 71 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000216
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 217 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   U.S. EPA. 2001. Hardrock Mining: Environmental Impacts. Office of Wastewater Management.
          www.epa.gov /npdes /pubs /env.htm. Accessed 12/14/02.

   U.S.G.S.1999. National Water Summary on Wetland Resources. U.S. Geological Survey. Wayer-Supply
          Paper 2425

   Vannote, R.L., G.W. Minshall, K.W. Cummins, J.R. Sedell, and C.E. Cushing. 1980. The river continuum
          concept. Canadian Journal of Fisheries and Aquatic Sciences 37: 130-137.

   Walcott, C.D. 1899. Bighorn Forest Reserve. Government Printing Office. Washington, DC.

   Ward, J.V. and J.A. Stanford. 1982. Thermal responses in the evolutionary ecology of aquatic insects.
           Annual Review of Entomology 27:97-117.

   Waters, T.F. 1995. Sediment in streams: sources, biological effects, and control. Sources of sediment.
           American Fisheries Society Monograph number 7. Bethesda, MD.

   Weingroff, R.F. 1996. Creating the interstate system. Public Roads On-Line. Summer 1996.

   Weiss, K. 1995. Stormwater and the Clean Water Act: Municipal separate storm sewers in the
           moratorium. In: National conference on urban runoff management: Enhancing urban water
           management at the local, county, and state levels. U.S. Environmental Protection Agency, Office
           of Research and Development, Center for Environmental Research Information.

   White, R.J. 1996. Growth and development of North American stream habitat management for fish.
           Canadian Journal of Fisheries and Aquatic Sciences 53:342-363.

   Wilkins, T.E. 1974. Colorado railroads: Chronological development. Pruett Publishing Company.
           Boulder, CO.

   Williams, G.W. 2000. The USDA Forest Service - the first century. USDA Forest Service, Washington
          DC.

   Windell, J.T., B.E. Williard, D.J. Cooper, S.Q. Foster, C.F. Knud-Hansen, L.P. Rink, and G.N. Kiladis.
           1986. An ecological characterization of Rocky Mountain montane and subalpine wetlands. U.S.
           Fish and Wildlife Service Biological Report 86(11).

   Winter, T.C., J.W. Harvey, O.L. Franke, [et al.] 1998. Ground water and surface water, a single resource.
           U.S. Department of the Interior, Geological Survey, Circular 1139. Washington DC

   Winters, D.S., B. Bohn, D.J. Cooper, [et al.]. 2004. Conceptual framework and protocols for conducting
           multiple scale aquatic, riparian, and wetland ecological assessments. U.S. Department of
           Agriculture, Forest Service, Rocky Mountain Region.

   Wireman, M. 2000. Hardrock mining. In: Drinking water from forests and grasslands: A synthesis of the
         scientific literature. Edited by: G.E. Dissmeyer. USDA Forest Service, Southern Research Station
         GTR SRS-39.

   Wohl, E. 2000. Mountain rivers. Water Resources Monograph 14. American Geophysical Union.
          Washington DC.

   Wohl, E. 2001. Virtual rivers. Lessons from the mountain rivers of the Colorado Front Range. Yale
          University Press. New Haven, CT.


                         Rio Grande National Forest - 72 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000217
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 218 of 406

                                       Appendix 1 to Assessments 1 and 3:
                                      Aquatic and Semi-Aquatic Ecosystems


   Wright, H.A., F.M. Churchill, and S.W. Clark. 1976. Effect of prescribed burning on sediment, water
           yield, and water quality from dozed juniper lands in central Texas. Journal of Range
           Management. 29(4):294-298.

   Wright, H.A., F.M. Churchill, and S.W. Clark. 1982. Soil loss, runoff, and water quality of seeded and
           unseeded steep watersheds following prescribed burning. Journal of Range Management.
           35(3):382-385.

   Wright, K.K. and J.L. Li. 1998. Effects of recreational activities on the distribution of Discosmoecus
           gilvipes in a mountain stream. Journal of the North American Benthological Society 17:535-543.

   Yoder, C.O. 1995. Incorporating ecological concepts and biological criteria in the assessment and
           management of urban nonpoint source pollution. In: National conference on urban runoff
           management: enhancing urban water management at the local, county, and state levels. U.S.
           Environmental Protection Agency, Office of Research and Development, Center for
           Environmental Research Information.

   Young, J.A. 1994. Historical and evolutionary perspectives on grazing of Western rangelands, In:
          Ecological implications of livestock herbivory in the West. Edited by: M. Vavra, W.A. Laycock,
          and R.D. Pieper.

   Young, M.K., D. Haire, and M.A. Bozek. 1994. The effect and extent of railroad tie drives in streams of
          southeastern Wyoming. Western Journal of Applied Forestry 9(4).

   Young, J.A., D.E. Palmquist, R.R. Blank, and C.D. Clements. 1998. Perennial Pepperweed in riparian
          ecosystems. In: Rangeland management and water resources: Proceedings of the AWRA
           Specialty Conference. Edited by: D.E. Potts. American Water Resources Association. Reno, NV.

   Zabinski, C.A., T.H. DeLuca, D.N. Cole, and O.S. Moynahan. 2002. Restoration of highly impacted
          subalpine campsites in the Eagle Cap Wilderness, Oregon. Restoration Ecology 10:275-281.

   Zeigenfuss, L.C., F.J. Singer, and D. Bowden. 1999. Vegetation responses to natural regulation of elk in
          Rocky Mountain National Park. Biological Science Report USGS/BDR/BSR-1999-0003.

   Zipperer, W.C., K. Solari, and B.A. Young. 2000. Urbanization. In: Drinking water from forests and
           grasslands: A synthesis of the scientific literature. Edited by: G.E. Dissmeyer. U.S. Department of
           Agriculture. U.S. Forest Service. Ashville, NC. General Technical Report SRS-039.




                         Rio Grande National Forest - 73 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000218
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 219 of 406




             Appendix 2 to Assessments 1 and 3
          Aquatic and Semi-aquatic Ecological Drivers
                       For the Rio Grande National Forest
              Land Management Plan Revision Rocky Mountain Region




                                                       Rvsd Plan - 00000219
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 220 of 406




                                                 Authors and Data/Geographic Analysts
                                                                         David S. Winters *
                                          Regional Aquatic Ecologist and Program Manager
                                                            Senior Author and Coordinator
                                                                      Amarina Wuenschel *
                                                                                   Ecologist
                                                 Author and data analyst (Climate Change)
                                                                          Joseph Gurrieri *
                                                              National Groundwater Expert
                                                           Senior Author - Glacial Valleys
                                                                         Thomas Tenyah *
                                                                   Regional GIS Specialist
                                                            Co-Author - Glaciated Valleys
                                                           GIS Specialist and data analyst
                                                                      USDA Forest Service
                                                                            Dennis Cleary *
                                                                   Regional GIS Specialist
                                                              Geographer and GIS Analyst
                                                                          Sarah Synowiec*
                                                                    Regional Planning GIS
                                                                              GIS Specialist
                                                                           All-Points GIS **
                                                      Spatial Analysis and GIS Consulting
                                                                      Spatial Management
                                                                    GIS and Data Analysts
                                                                        Data Management
                                                                       Model Development
                                                                   *- USDA Forest Service
                                                                   Rocky Mountain Region
                                                                        740-Simms Street
                                                                  Golden, Colorado, 80403
                                                                         ** - All Points GIS
                                                                                 POB 12520
                                                                        Denver, CO 80212




                                                           Rvsd Plan - 00000220
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 221 of 406

                                                        Appendix 2 to Assessments 1 and 3:
                                                     Aquatic and Semi-aquatic Ecological Drivers



                                                                         Contents
   Purpose and Need.......................................................................................................................................... 1
   Introduction.................................................................................................................................................... 1
   Relationship to Program and Project Development...................................................................................... 2
   Brief Discussion of Geology......................................................................................................................... 2
   Methods.........................................................................................................................................................3
      Discussion of Scale................................................................................................................................... 3
      Reach/Site Scale....................................................................................................................................... 3
      Ecological Drivers.................................................................................................................................... 4
        Identification of Ecological Drivers...................................................................................................... 4
      Methods: Ecological Driver Cluster Analysis for Stream/Riparian Areas............................................. 15
        Step 1................................................................................................................................................... 15
        Step 2................................................................................................................................................... 15
        Step 3................................................................................................................................................... 15
   Results: Ecological Drivers.......................................................................................................................... 17
      Geology - Geochemistry.......................................................................................................................... 17
      Geology - Sediment Production.............................................................................................................. 19
      Hydroclimatic Regime............................................................................................................................ 22
      Stream Gradient...................................................................................................................................... 24
   Results: Aquatic and Riparian Clusters...................................................................................................... 25
      Aquatic/Riparian Cluster 1R.................................................................................................................. 27
        Conclusions for Cluster 1R................................................................................................................. 28
      Aquatic/Riparian Cluster 2R.................................................................................................................. 28
        Conclusions for Cluster 2R................................................................................................................. 29
      Aquatic and Riparian Cluster 3R............................................................................................................ 29
      Aquatic and Riparian Cluster 4R............................................................................................................ 30
      Aquatic and Riparian Cluster 5R............................................................................................................ 31
      Aquatic and Riparian Cluster R6............................................................................................................ 32
      Aquatic and Riparian Cluster R7............................................................................................................ 33
   Appendix - Ecological Drivers Not Included In The ARWA Process, But Pertinent To Assessment 3 For
   The Rio Grande National Forest Plan Revision                                                                                                                  35
   Stream Density As A Driver For Riparian And Aquatic Habitat Considerations....................................... 37
      Management Considerations.................................................................................................................. 38
   Wetlands in Glaciated Areas of the Rio Grande National Forest: Supplemental Information for Forest
   Planning                                                                                                                                                      40
      Introduction............................................................................................................................................ 40
      Geomorphology and Wetland Development.......................................................................................... 40
      Management Considerations.................................................................................................................. 44
   Projected Future Change in Mean Annual Flow for Streams within the Rio Grande National Forest and
   surrounding ecosystem: Focus on Climate Change                                                                                                                45
      Conclusions............................................................................................................................................ 49
   References Cited......................................................................................................................................... 51

                                                                    List of Tables
   Table 1. Mean percentage of riparian ecological drivers for each cluster within the White River National
       Forest. Dominant values are colored to help discern differences between clusters............................ 16




                                      Rio Grande National Forest - i - Forestwide Planning Assessment
                                                                                                                   Rvsd Plan - 00000221
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 222 of 406




   Table 2. Results of the Ecological Cluster analysis. Each of the identified clusters contain average
       percentages of the ecological drivers identified within a particular subwatershed. The dominant
        driver within each cluster is highlighted in Red, while a “non-dominate” driver exhibiting a value
       that COULD BE important for management are highlighted in blue......................................... 25

                                                                  List of Figures
   Figure 1. Trout Creek, a spring Creek derived from Calcareous Geology. Constant temperatures, elevated
        Ph and CaCO3 ions increase stream productivity................................................................................. 5
   Figure 2. The White River near Rangeley Colorado flowing through salt bearing Mancos shale. Note the
        fine sediment and lack of vegetation............................................................................................6
   Figure 3. Stream Channel filled with coarse sediment from igneous hillside............................................... 7
   Figure 4. Precipitation zones in the Rocky Mtns. Changes In the discharge patterns are correlated with
        elevation, pattern of snowmelt accumulation and melt, and rain events....................................... 8
   Figure 5. A low gradient section of the South Platte River. Note abundant sediment deposition on the
        inside meander, wildfire burned trees on the hillsides and green unburned riparian area........... 10
   Figure 6. Glaciated valley on the Rio Grande National Forest. Note the wide riparian valley with
        heterogeneous vegetation types................................................................................................... 12
   Figure 7. Glaciated landscape on the Rio Grande NF. Note the wide valley bottom, Willow community
        and intact stream channel.............................................................................................................12
   Figure 8. Theoretical relationship between resiliency of aquatic ecosystems in “natural” and “impacted”
        systems. Natural systems tend to 1. Withstand and recover more quickly, and 2. Are not impacted as
        severely by smaller stochastic or anthropogenic influences....................................................... 13
   Figure 9. Dendogram of the similarity results for 160 subwatersheds on the Big Horn National Forest,
        The red line represents the level of similarity chosen, and the numbers represent the final clusters
        identified.............................................................................................................................................. 14
   Figure 10. Results of cluster analysis for streams and riparian areas for the White River National Forest.
        There are 6 different groupings of subwatersheds with statistically similar ecological driver
        characteristics                                                                                                                                  16
   Figure 11. Geochemistry of the Rio Grande National Forest at the landscape scale. Similar to most areas
        of the Rocky Mountains, non-calcareous geology dominates this landscape. Calcareous geology is
        much less abundant than its neighboring National Forest to the north, the San Juan National Forest
        (Winters and Staley, 2005)......................................................................................................... 18
   Figure 12. Map of different size sediment produced by underlying bedrock and erosion from the Rio
        Grande study area. Sediment produced from the west side of the Sangres is mostly coarse due to the
        igneous intrusion through ancient sedimentary layers. Sediments on the west side of the San Juan
        Valley is either fine/medium size from volcanic activity or coarse from granitic bedrock........ 20
   Figure 13. Cross section of the San Luis Valley geological structure. The steep igneous “lift” on the east
        side of the diagram continues up through the Sangre De Cristo mountains, while the volcanic west
        side rises more gradually through the volcanic slope to the San Juan mountains. The igneous sub
        "Rio Grande Rift San Luis basin". Licensed under Public Domain via Wikipedia -
        https://en.wikipedia.org/wiki/File:Riogranderift_sanluisbasin.png#/media/File:Riogranderift_sanluis
        basin.png............................................................................................................................................. 21
   Figure 14. Hydroclimatic regime for the Rio Grande National Forest and surrounding landscape. Due to
        the relatively high elevation of the Forest, most this part of the landscape is in the snow driven
        hydroclimatic zone. Driven by high discharge during the summer months, channel maintenance
        discharge occurs during that time............................................................................................... 23
   Figure 15. Results of the Aquatic/Riparian Cluster showing the location of subwatersheds within each
        cluster. Cluster numbers and the number of subwatersheds are also listed...............................26




                                      Rio Grande National Forest - ii - Forestwide Planning Assessment
                                                                                                                  Rvsd Plan - 00000222
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 223 of 406

                                                  Appendix 2 to Assessments 1 and 3:
                                               Aquatic and Semi-aquatic Ecological Drivers


   Figure 16. Stream Density results (miles of permanent stream/ acre/6th level HUC) for the Rio Grande
        National Forest and surrounding landscape. Most of the highest density subwatersheds are located
        on the northern and western portion of the basin at high elevations................................................... 38
   Figure 17. Distribution of wetlands in comparison to the extent of glaciation on the Rio Grande
        landscape. A total of 50% of the current wetlands on the Rio Grande National Forest are located
        within Glaciated areas................................................................................................................. 42
   Figure 18. Percent difference in historic mean annual flows relative to flows projected for 2040 on the Rio
        Grande National Forest. The southern Sangre de Cristo mountain range and streams at the lower
        elevations are predicted to have the largest change under unregulated conditions                                                        46
   Figure 19. Percent difference in historic mean annual flows relative to flows projected for 2080 on the Rio
        Grande National Forest. Mean annual discharge will decline for all; most streams are expected to be
        reduced by more than 5% in 2080............................................................................................... 47
   Figure 20. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from west to
        east (top) across the Rio Grande National Forest. The relatively high percentage change in the east
        boundary can be explained by the influence of the Sangre de Cristo mountain range where mean
        annual flows are expected to be reduced as much as 30% in some years by 2080............................ 48
   Figure 21. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from south to
        north (bottom) across the Rio Grande National Forest. The estimated increase in mean annual flows
              in the north (bottom) can be explained by the high elevation Continental Divide..................... 48
   Figure 22. Percent difference in mean annual flows in 2040 and 2080 relative to elevation of stream reach
        midpoint                                                                                                                               49
   Figure 23. Percent difference in mean annual flows in 2040 and 2080 relative to historic flow levels on
        the Rio Grande National Forest.......................................................................................................... 49




                                  Rio Grande National Forest - iii - Forestwide Planning Assessment
                                                                                                       Rvsd Plan - 00000223
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 224 of 406




                                                       Rvsd Plan - 00000224
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 225 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers




   Purpose and Need
   The mission of the Forest Service is to sustain the health, diversity, and productivity of the Nation’s
   Forests and Grasslands to meet the needs of present and future generations (Federal Register/Vol 77, No.
   68, page 2116). Since the last revision of the Rio Grande National Forest land management plan in 1992,
   a considerable amount of knowledge has been gained through research, monitoring and management on
   numerous aspects of conducting assessments. Significant advances in modelling, genetic science, climate
   change, etc., now give us an opportunity to provide more defensible and more importantly more
   knowledge of ecosystem form and function of ecosystems and biology.
   On April 8, 2012 the U.S. Department of Agriculture submitted to the Federal Register its final adoption
   of a new National Forest System land management planning rule (Federal Register/Vol. 77, No. 68 page
   2116). The new planning rule guides the revision of land management plans, utilizing current
   information. The framework includes three phases: assessment, plan development/amendment/revision
   and monitoring.
   The ultimate purpose of this assessment is to apply ecological information now available to facilitate
   sound management direction and decisions for current and future generations. The assessment will be
   focused on understanding the factors influencing aquatic habitat and populations, quantitatively evaluate
   the abundance, and identifying rare and/or unique areas where possible that may in turn harbor rare
   species of plants and animals.


   Introduction
   Identifying major ecological settings and their influence on aquatic habitats is critical for determining the
   distribution and function of these valuable resources across the landscape. We use the term “ecological
   drivers” as the environmental factors that exert a major influence on ecosystems and ultimately on the
   fitness of habitats, individuals and species. Drivers provide the "ecological template" of an ecosystem
   (Poff and Ward 1990) and thereby its community structure and species (Poff 1997, Pyne et al. 2007).
   Ecological drivers that define aquatic ecosystems are the basis for the analysis described in this document.
   Characterizing the dominant drivers at appropriate scales across the Rio Grande National Forest and
   surrounding ecosystem provides a foundation for understanding the landscape setting, as well as
   providing information for developing management direction, ecosystem abundance and health across the
   management Unit.
   When human activities modify certain drivers, ecological communities and habitats respond. Aquatic
   productivity, populations, life-history strategies, vegetation community structure, etc. are not only
   influenced by watershed-level impacts, but also by site/reach-level components, such as specific habitats,
   temporal and spatial scales and anthropogenic activities. These influences can be inferred from
   assessments at different scales. However, it is important to note that quantifying the extent of activities
   may need further quantitative analysis at the site/reach level to fully understand the “degree” of impacts.
   In terms of Forest Plan revisions, one can think of “guidelines” as broader temporal and spatial direction
   while “standards” are very habitat specific and depend on defensible measurements and conclusions from
   monitoring and or implementation.
   Scientific literature that describes the influence of various factors on the structure and function of aquatic,
   riparian, and wetland ecosystems is extensive (Winters et al. 2003a). From this literature, a team of
   hydrologists, ecologists, biologists, and other specialists familiar with assessment processes and
   limitations have been able to identify a set of ecological drivers that describe the spatial distribution and


                           Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000225
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 226 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   function of aquatic, riparian, and wetland ecosystems in the Rocky Mountain Region landscape (Wohl, et
   al, 2012). The resulting analysis can help managers to understand the environmental sensitivity to
   management activities and the abundance or rarity of aquatic, riparian and wetland ecosystems (Cooper
   and Merritt, 2012). In addition, they are critical for developing the information necessary for this plan
   revision.


   Relationship to Program and Project Development
   The ecological driver assessment presented here may facilitate questions of past and current forest
   activities. Creation of a multi-scale approach that directly assists with prioritization of ecological land
   units including watersheds, vegetative communities, and geomorphic settings can aid in the distribution of
   future activities.
   Aquatic, riparian, and wetland assessments can:
   •   Identify the highest priority watersheds for restoration and reintroduction of native species.
   •   Identify reference watersheds and conditions to support monitoring.
   •   Characterize relative impacts to important resource values.
   •   Assist in the development of funding requirements at appropriate scales.
   •   Identify subwatersheds at risk and sensitive areas suitable for program level planning, protection and
       management. More specific management direction at a fine scale can then be developed.


   Brief Discussion of Geology
   The geology of the Rio Grande study area deserves mention as it has a major influence on the conditions
   of aquatic ecosystems today. Ancient rocks formed the geology of the Rio Grande valley and surrounding
   peaks almost 2 billion years ago. During the cretaceous period (approximately 145 to 60 million years
   ago) a shallow ocean (termed the Western Interior Seaway) dominated the Colorado landscape and
   formed thick layers of sedimentary rock, some being calcareous in nature (e.g. limestone). During the
   mid-Cenozoic period a large change happened in the San Luis valley area, resulting in what is now called
   the Rio Grande Rift. The rift was a separation and stretching of the crust in the valley, pushing the Sangre
   de Cristo Mountains upward on the east and to a lesser extent the San Juan Mountains on the west.
   Violent volcanic activity occurred as a result of the “stretching and thinning” of the earth’s crust, with
   numerous calderas and other volcanic activity having a significant influence on the San Juan Mountains.
   What remained was a landscape with considerable volcanic influence on the western side of the valley,
   and eventually the Rio Grande River and tributaries as well. On the east side of the valley, where it was
   lower in elevation, erosion from tributaries flowing down the steep Sangre de Cristo Mountains began
   filling in the rift as well as a large, residual shallow lake (Lake Alamosa) in the valley. Further glaciation
   during the Pleistocene period filled in much of the lake with gravels and sands flowing from the
   mountains to the basin bottom. According to Dethier (2001), the high plains and mountains experienced
   stream incision rates of 10-15 cm per 1000 years during the past 600,000 years. Many streams incised
   over 9 feet during this period.
   The Rio Grande valley floor is thousands of feet deep with volcanic and igneous sediment eroded over the
   eons from the surrounding area. The parent geology is so deep it is actually miles below the current
   surface elevation of the valley. The north east portion of the Rio Grande valley is termed a “closed
   basin”, as most of the streams coming off the Sangre’s sink into the alluvium at its base. Some water



                           Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000226
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 227 of 406

                                         Appendix 2 to Assessments 1 and 3:
                                      Aquatic and Semi-aquatic Ecological Drivers


   resurfaces on the valley floor in the form of marshes, other wetlands and shallow ponds. Some “sub
   surface water flow” eventually connects to the Rio Grande River on the west side of the valley.


   Methods
   Discussion of Scale
   The Rio Grande National Forest lies within the Rio Grande River basin. River basins are landscapes that
   are drained into a single large river, until it enters an ocean or other larger river (e.g. Mississippi River in
   the United States). River basin can drain hundreds and even thousands of square miles and ecologically
   have species and communities of plants and animals that have developed unique taxa and in some cases
   are ecologically unique to their boundaries (Winters et al, 2003). The Rio Grande National Forest lies
   exclusively in the Rio Grande River basin, and does indeed contain taxa of aquatic plants and animals
   (e.g. Rio Grande cutthroat trout).
   The primary scale for this assessment is based on 6th level sub-watersheds or HUCs (Maxwell et al,
   1995) that are only within the Rio Grande basin. The “management scale” area is defined by the
   collection of 6th level subwatersheds that fall entirely within, or have a portion of their area intersecting
   the National Forest boundary. This scale has been identified as large enough to incorporate species
   management at the population level, while being appropriate for management considerations of cost and
   complexity by management agencies.
   This scale constitutes the appropriate area for addressing the relationship of ecological drivers at a
   “management” size as well as quantifying the distribution of anthropogenic activities related to human
   management activities. Preliminary assessments of risk, sensitivity and abundance related to ecological
   conditions are also most appropriate at this scale. Other ecological drivers, such as historic glacial
   activity and climate change are added to measures of climate, stream gradient and geology drivers to
   extend the analysis, and additional data are integrated to better understand the following:
   •   Distribution of high-value aquatic, riparian, and wetland ecosystems such as major wetland
       complexes;
   •   Sensitivity of subwatersheds and their aquatic, riparian, and wetland ecosystems to disturbances;
   •   Extent of natural and human disturbances and their effects on aquatic, riparian, and wetland
       ecosystems;
   •   Historic and current conditions of aquatic, riparian, and wetland ecosystems; and
   •   Physical and biological restoration priorities for degraded aquatic, riparian, and wetland ecosystems;
   •   Potential influences from modelled climate change analysis;
   •   Areas warranting protection and restoration

   Reach/Site Scale
   Because of the intensive effort needed to collect and synthesize data, this assessment does not include
   analyses at the reach/site scale. However, the conditions identified at the management scale set the
   “context” for stratifying reach/site analysis. The identification of clusters of similar 6th level watersheds
   should provide the basis for stratification of inventory and monitoring programs at the reach/site level.
   The identification of the range of anthropogenic influences within a given group of ecological drivers,
   both independently and cumulatively should also help focus efforts in determining the reach/site effects



                           Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000227
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 228 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   on natural resources. This assessment provides specific questions that should be considered when
   addressing site/reach level analysis in the context of the larger scales.

   Ecological Drivers
   Identification of Ecological Drivers
   Identifying the major ecological drivers important for studying aquatic, riparian, and wetland resources
   within a geographic area forms the basis for the protocol described in this document. There is an
   extensive scientific literature that describes the influence of various factors on the structure and function
   of ecosystems. From this literature, a team of hydrologists, ecologists, and biologists familiar with the
   region identified a set of ecological drivers that determine the spatial distribution and levels of
   productivity for aquatic, riparian, and wetland ecosystems in the management area of interest.
    For this analysis, five ecological drivers were chosen to describe the setting for aquatic, riparian and
   wetland resources on the Rio Grande National Forest (Wohl et al, 1981):
   1. geochemistry (calcareous, non-calcareous, or salt bearing)
   2. sediment production based on geology (fine, moderate, or coarse)
   3. dominant hydroclimatic regime (rain and snow, or snowfall)
   4. stream gradient (high, medium, or low)
   5. glaciation (glaciated, or non-glaciated).
   In addition, “outside of” our analysis process, we have identified climate change and influence of
   glaciation as ecological drivers that will be analyzed and described in the attached Appendix.
   Below is a description of each ecological driver and its importance as a “landscape level” predictor of
   finer scale influences on physical and chemical form and function of the Rio Grande National Forests
   aquatic ecosystems

   1) Geochemistry
   The geochemistry composition of the geology within a subwatershed (6th level HUC) can significantly
   influence its aquatic, riparian, and wetland ecology. For example, bedrock influences the chemical content
   of water, which can vary from slightly acidic in areas with granite and hard metamorphic rocks, to basic
   in areas with limestone, dolomite, and marine shale. Bedrock type can also influence salt concentrations
   in ground and surface water. For the Rio Grande National Forest assessment, three different “groups”
   geologies were identified: calcareous (Ca), non-calcareous (Co), and salt-bearing (Cs) were chosen
   (Winters et al, 2003. Classification of these groups that are identified on the Rio Grande National Forest
   study area were determined from the Colorado State Geologic maps, provided by the Colorado
   Geological Society (http://coloradogeologicalsurvey.org).




                           Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000228
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 229 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 1. Trout Creek, a spring Creek derived from Calcareous Geology. Constant temperatures, elevated Ph
   and CaCO3 ions increase stream productivity.

   Calcareous geology contains calcium carbonate (CaCO3) and includes sedimentary rocks such as
   limestone, which dissolves to form ions that influence aquatic productivity. Dolomite and limestone, as
   well as some metamorphic rocks, such as marble, are derived from calcareous sedimentary rocks.
   Calcareous rocks weather by dissolution when weakly acidic precipitation is present reacting with the
   CaCO3. Due to the reactions between the CaCO3 and hydrogen ions in the water, the chemistry of the
   resulting solutes differs from that of the initial rain, snowmelt, or groundwater. Dissolved constituents
   move through surface and groundwater, are introduced into aquatic, riparian, and wetland habitats, often
   increasing production (Figure 1). By raising the pH of the ambient water and by producing carbon dioxide
   for photosynthesis and stabilizing temperatures, rare taxa and taxa outside their normal ranges are often
   present. (Hynes, 1970). These changes may dramatically affect production of plants, benthic
   macroinvertebrates and fish as well. Given the inherent solubility of calcareous bedrock, its porous nature
   is often associated with springs, creating areas of unique wetland habitats. The Rocky Mountains have a
   limited amount of calcareous geology, making its presence very important for aquatic, riparian and
   wetland ecosystems. Historic populations of native Rio Grande chub and sucker thrive in the north
   eastern portion of the Rio Grande valley. The streams they inhabit are directly influenced by groundwater
   fed streams (John Alves, Senior Fishery Biologist, Colorado Parks and Wildlife, presentation given at the
   Winter 2016 Rio Grande sucker and chub Recovery Team meeting, Taos, New Mexico).
   Non-calcareous geologies do not contain significant amounts of calcium carbonate. They include igneous
   rocks; sedimentary rocks, such as shale, sandstones, mudstones, and siltstones and metamorphic rocks
   derived from non-calcareous parent rocks, such as gneiss, schists, and quartzites. These geologies do not
   have properties that increase aquatic productivity by themselves, and are the most abundant type of
   geology in the Rocky Mountains. Through the chemical actions with other compounds, igneous geology
   can result naturally in slightly too highly acidic waters.




                          Rio Grande National Forest - 5 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000229
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 230 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 2. The White River near Rangeley Colorado flowing through salt bearing Mancos shale. Note the fine
   sediment and lack of vegetation

   Bedrock type also influences salt concentrations in ground and surface water, which can have negative
   influences on aquatic biota. Sedimentary salt-bearing rocks, such as shale’s, weather to produce
   significant amounts of compounds that may accumulate in salt flats, marshes, and wet meadows,
   consequently influencing the soil geochemistry and limiting the diversity of plant and species
   composition and community production. While there are many areas in the southwest that are influenced
   by salt-bearing geology, western Colorado has the highest abundance of this material (Figure 2).

   2) Sediment Production
   Aquatic, riparian, and wetland ecosystems have evolved with a sediment transport regime relative to the
   amount of material being produced upstream and upslope of them. Consequently, many organisms in
   these ecosystems are sensitive to increased yields of sediment. Since wetlands form in places where the
   depth of the water table creates seasonally or perennially saturated soils, whole wetlands can be
   eliminated when elevated sediment levels alter saturated conditions. Marshes typically are terminal
   basins, and sediment coming in can become long-term deposits. Salt flats and wet meadows typically
   have low sediment inputs and are either fed by ground water or very small drainage areas. Fens always
   have very low mineral sediment inputs. Peat accumulation in Rocky Mountain fens averages
   approximately 20 cm (8 inches) per thousand years, and if the rate of mineral sediment input exceeds this
   rate, the soils will be mineral, not peat. Considerable research indicates that fens and most other wetland
   types are easily impacted by changes in the natural sediment and water regime.
   Sediment can be characterized in terms of the relative abundance and grain sizes of material produced by
   bedrock weathering. For the Rio Grande National Forest assessment, the geology was subdivided into
   categories that produce predominantly silt and clay (Sf), sand and gravel (Sm), or rocks that weather to
   cobbles and boulders. The movement of different sized sediment particles is directly related to the amount
   of energy applied to it by moving water. Changes in sediment input may affect 6th level HUCs dominated
   by geology that weather to silt and clay. These fine sediments may accumulate when the transport
   capacity of a stream declines, as a result of decreases in flow or in localized areas with lower velocities,
   such as pools (Sable and Wohl 2006). Increased levels of silt and clay can also infiltrate coarser stream
   bed sediments, altering exchange between groundwater and surface water, periphyton and
   macroinvertebrate communities, and spawning habitat. Riparian plants, such as willow and alder,
   establish on bare mineral sediment, and so the deposition of fine sediments can facilitate colonization of
   these plants on flood prone areas. However, excessive small sized sediment deposition can destabilize
   riparian areas by burying plants and potentially killing more shallow-rooted herbaceous species. If the
   stream system is not “overwhelmed” by unnaturally high volumes of fine sediment, periodic flooding can
   move these particles relatively easily onto adjacent floodplains, and downstream.


                          Rio Grande National Forest - 6 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000230
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 231 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   Drainages that developed in geologies that naturally produce greater amounts of unstable sediments (such
   as most of the foothills in eastern Colorado) can be sensitive to natural disturbances such as wildfire or
   anthropogenic disturbances. Either type of disturbance is likely to produce massive loads to drainage
   networks over a period of several years following the disturbance. These unnaturally high levels of
   sediment input over decades of instability can result in shallow, wide stream channels with little aquatic
   habitat and elevated in-stream temperatures. However, systems with naturally high sediment yields, as in
   some naturally braided streams, and the species associated with them, may be more tolerant of periodic
   excessive sediment loading.




   Figure 3. Stream Channel filled with coarse sediment from igneous hillside

   An increase in large sediment can alter stream morphology and stability considerably, although these
   materials are less likely to substantially affect streams at low flows, as the stream energy is not sufficient
   to move it (Figure 3). However during rain events, snowmelt runoff or flooding soils and other physical
   particles can be delivered in large quantities to wetlands, riparian areas and streams. The alteration and
   timing of sediment can overwhelm the system’s ability to transport that material to important ecosystems.
   Typically impacts are long-term, reducing biological diversity and abundance. Flow regime is
   ecologically important because it partially controls sediment transport and channel stability, as well as
   available habitat and characteristics such as water temperature and chemistry that drive life cycles of
   aquatic and riparian organisms (Poff eta, 1997).

   3) Hydroclimatic Regime
   Local climate in large part controls the hydrologic regime of streams, riparian areas and wetlands, making
   it a major ecological driver for aquatic/semiaquatic ecosystems.
   Three moisture input patterns, snowfall (Ps) and rain and snow (Prs) and rain (R) dominate the
   precipitation zones in the Rocky Mountains in Region 2 (Wohl et al, 2007).




                           Rio Grande National Forest - 7 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000231
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 232 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 4. Precipitation zones in the Rocky Mtns. Changes In the discharge patterns are correlated with
   elevation, pattern of snowmelt accumulation and melt, and rain events.

   The higher elevation mountains and valleys of the Rio Grande National Forest receive much greater
   amounts of precipitation than lower elevation areas, and most of this precipitation is in the form of snow.
   Streams in this elevation zone are influenced by snowmelt recharge of hill slope aquifers, which provide
   groundwater to support perennial stream flow during the summer. These streams typically have less
   interannual variability in flow and experience fewer floods compared to the rain- and snowfall- dominated
   areas (Figure 4). The more predictable hydrograph associated with snowfall-dominated hydroclimatic
   regimes recharges aquifers and wetlands on a nearly annual basis. A broader portion of the annual
   hydrograph of these streams is at or above baseflow. These streams have a relatively lower peaks and a
   longer duration than rainfall-dominated streams. The greater input of water via precipitation supports an
   abundance and variance of wetland types, because large groundwater-driven wetland complexes are found
   primarily in association with snowmelt-recharged aquifers. Generally, streams in the snow-melt zone
   generally exhibit lower temperatures and reduced productivity. Aquatic organisms have evolved life­
   history strategies to avoid the harsh conditions associated with the snowmelt runoff period (Hynes 1970).
   The rain and snow climate zone is lower in elevation than the snow climate zone, and is characterized by
   a flow regime with a snowmelt peak during late spring or early summer, as well as rainfall from
   convective storms or from some dissipating tropical storms from mid-summer through the fall (Figure 1).
   These streams may have a rainfall-generated peak discharge that is greater than the snowmelt peak
   discharge at least once a decade. Based on the work of Jarrett (1990), these stream segments occur below
   7550 ft. elevation on the Rio Grande National Forest, and may constitute a relatively harsher environment
   for aquatic biota than snowmelt-dominated streams, given similar habitat conditions. Lower elevation
   watersheds dominated by rain and snow hydrologic regimes tend to be flashier, with less predictability in
   timing and magnitude of the annual peak flow, and potentially higher peak floods relative to the mean
   annual flow. Because of the high variability in stream discharge throughout the year, stream productivity
   and biota population dynamics can also be quite variable. Localized effects of sudden flow changes can
   influence populations of algae, benthic macroinvertebrates, and fish. Fish biomass and diversity may be
   considerably higher in the rain and snow driven systems as temperatures are usually higher, habitat more
   complex and abundant. Low gradient stream reaches may contain the highest biodiversity and robust
   populations if not impacted by anthropogenic sources. Some of these lower elevation streams are
   intermittent and exhibit minimal riparian vegetation because perennial groundwater during the summer is
   not available to support riparian plants. Lower elevation watersheds that are dominated by rain and snow


                          Rio Grande National Forest - 8 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000232
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 233 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   hydrologic regimes also tend to support fewer wetlands, primarily due to considerably reduced
   precipitation and groundwater input.
   Rain driven stream systems are highly variable and have numerous but inconsistent rain and subsequent
   flooding events. These events carve stream channels and flood plains in fine sediment prairie and
   grasslands streams. Fish and other biota have adapted unique abilities to survive and reproduce in these
   areas. We have found very few areas within this hydroclimatic regime associated with the Rio Grande
   National Forests and other National Forests in Region 2. However, where they are present, different
   biological communities exist than in the higher elevational areas, and may be refugia from more impacted
   areas downstream.

   4) Stream Gradient
   Stream gradient influences stream power, erosive capability, localized sediment sizes, aquatic and riparian
   productivity, water storage and floodplain characteristics. As a result, stream gradient dictates the habitat
   for specific flora and fauna. For the Rio Grande National Forest assessment, three categories of stream
   gradient were identified: high (> 4%), medium (2 - 4%), and low (<2%) (Montgomery and Buffington,
   1997). It is important to note that streams represent a continuum of processes, longitudinally from
   mountains to lower elevation plains. Leaf litter and other organic input from aquatic and terrestrial plants
   entering the system are processed moving downstream by various organisms, primarily bacteria and
   benthic macroinvertebrates. Leaf litter from riparian shrubs represents a major food source for various
   trophic levels in Rocky Mountain streams.
   Stream segments designated as high gradient are characterized by step-pool morphology and are fairly
   resistant to high flow events because of bedrock, or boulder and cobble characteristics. Floodplains are
   narrow or may be non-existent, and have coarse-textured soils that drain rapidly and are periodically
   eroded by high-energy floods or debris flows. Narrow valley bottoms promote high connectivity between
   the hill slope and valley bottom, with relatively frequent debris input and subsequent movement that
   introduce sediment, wood, and nutrients directly to the channel. Riparian areas support small communities
   of herbaceous vegetation, or woody plants that can tolerate periodic high-energy floods, as well as tree
   species, such as cottonwood and red osier dogwood, that sucker following flood disturbance. These
   channels typically have limited habitat for aquatic organisms, although the large substrate does provide
   habitat for fish and especially benthic macroinvertebrates and periphyton. Natural migration barriers for
   fish and other aquatic organisms, such as waterfalls, can limit upstream movement into upper stream
   reaches. Road crossings in these types of channels can also create barriers for animal migration and
   nutrient flow. High gradient streams have a relatively higher capacity to transport excessive sediment
   downstream to lower gradient reaches.
   Medium stream gradients often correspond to channels that are transitional between step-pool and pool­
   riffle morphology. These stream segments are intermediate between high and low gradient streams in
   terms of streambed grain size, resistance to disturbance, and valley bottom width. Compared to high
   gradient streams, medium gradient streams have wider valley bottoms, where sediment originating from
   side slopes can be stored before reaching the channel. These stream reaches are relatively abundant in
   mountain streams, and provide a “transitional” zone between the low and high gradient systems. Stream
   habitat can be abundant, but typically depends on wood recruitment and large substrate. Stream reaches
   with moderate gradients, salt-bearing geology, and lithology that weathers to silt and clay are much more
   sensitive to changes in erosion and sediment input.




                          Rio Grande National Forest - 9 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000233
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 234 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 5. A low gradient section of the South Platte River. Note abundant sediment deposition on the inside
   meander, wildfire burned trees on the hillsides and green unburned riparian area.

   Low stream gradient channels typically correspond to meandering pool-riffle morphology formed in
   relatively fine-grained sediments, with wider flood plains, supporting diverse plant and animal
   communities (Figure 5). Low gradient streams have wider valley bottoms and greater lateral mobility
   compared to stream segments in steeper, narrower valley bottoms. Lateral mobility depends on both flow
   characteristics and bank resistance; bank resistance depends on grain size, stratigraphy, and the presence
   and type of riparian vegetation. Sediment coming from adjacent hill slopes is less likely to reach low
   gradient channels directly during routine erosional processes, but it is more likely to be stored on the
   valley bottom for a period of years and then mobilized into the channel during lateral channel migration
   or flooding. These reaches can be very productive, especially in terms of fish and wildlife populations and
   woody riparian vegetation. Low gradient stream reaches with extensive shrub and tree riparian
   communities may also support beavers, ecosystem engineers that distribute water and sediment across the
   valley, increasing hydrologic and ecological complexity. Beavers contribute significantly to carbon
   storage through their construction of dams and trapping woody material moving downstream from
   upstream sources. Many species of birds, reptiles and mammals depend on the extensive wooded riparian
   areas associated with these channels. Low-gradient stream reaches are sensitive to excessive sediment
   deposition locally or upstream, channel widening, and pool filling. Pools are sensitive to sediment
   disturbance, as velocities and associated stream energy are less. As a result, low gradient streams are
   sometimes designated response reaches (Montgomery and Buffington 1997) because of their tendency to
   accumulate excess sediment preferentially in pools.
   Because sediment tends to deposit in low-gradient reaches they are often the most impacted by
   anthropogenic activities, in terms of erosion and sediment deposition. Low-gradient reaches are more
   likely to accumulate sediment from decreases in water yield or increases in sediment yield, and also could
   undergo substantial erosion with increased water yield or decreased sediment yield. Those reaches with
   extensive shrub and tree riparian communities may also support beavers, ecosystem engineers that
   distribute water and sediment across the valley, increasing hydrologic and ecological complexity. Fish in
   mountainous areas of the Forest rely on low gradient reaches for food, spawning and high quality habitat
   for all life history stages. Water temperatures are generally very cold in higher elevation streams and can
   eliminate successful aquatic organism reproduction. Low gradient reaches allow direct solar radiation to
   increase water temperatures slightly and therefor increase productivity. However, removal of riparian
   vegetation for shade and increasing stream widths and reducing depths can result in too much of an
   increase in temperature and can be harmful to aquatic biota during warmer months. The relatively small
   amount of low-gradient stream reaches in the Rocky Mountains illustrates the importance of these sources
   of organic material for streams as well as habitat for other riparian species.



                         Rio Grande National Forest - 10 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000234
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 235 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Aquatic macroinvertebrates are uniquely adapted to differences in stream gradient and substrate size.
   Those that live in steeper stream channels, with high shear stress, and larger substrate have adaptations
   that help them cling to the substrate, feed on attached algae, and are often dorso-ventrally flattened to
   reduce the effects of water currents (Hynes 1970). Other taxa take advantage of the current and build
   elaborate nets or hold appendages in the current to trap food that floats by. Benthic macroinvertebrates
   that live in lower gradient reaches with smaller substrate have adapted to these conditions by burrowing
   into the finer material and become more generalist feeders. As a result, there are typically considerable
   differences in the composition of community structure of benthic macroinvertebrates between high and
   low gradient stream channels with different substrate sizes. The high variability in responses to
   environmental change by communities and individuals of benthic macroinvertebrates often makes them
   the focus of monitoring aquatic conditions.
   Fish also exhibit population differences across differing stream gradients. In high-gradient channels, large
   substrate and roughness create suitable habitat. However, high stream velocities can reduce habitat
   suitability, especially during high flow events. Generally, trout and other fish species found in the Rocky
   Mountains exhibit lower population levels in these areas. Intact Low-gradient stream reaches typically
   exhibit much higher habitat availability and larger fish populations because of increased stream depths
   and reduced velocities. Abundant overhanging riparian vegetation can supply considerable leaf litter and
   terrestrial food in these reaches. Substrate sorting within low gradient stream reaches typically produces
   areas of high reproduction for stream salmonids, usually at the downstream “tail” of pools. The moderate
   to low gradient reaches are expected to be important areas for salmonid reproduction and rearing.

   5) Glaciation
   Glaciation is the process where large snow and ice deposits accumulate during extended periods of cold
   climates. The ice masses tend to move extremely slowly, carving wide relatively flat valleys (Figure 6
   and Figure 7). By scouring the valleys of high mountain landscapes and slowing runoff, glacial processes
   have made landscapes more suitable for wetland and riparian area development by gouging the surface
   and pushing sediment and boulders to act like dams. We conducted an analysis of the relationships
   between wetland abundance in glaciated valleys as part of this assessment later in this document.
   Wetlands and riparian areas in these areas provide important habitat for waterfowl, amphibians, aquatic
   invertebrates and many plant species. Due to their high elevation and small stream size, fish are often
   absent from these areas. Glaciers created landforms in high and middle elevation valleys that are
   conducive to the formation of wetlands on the Rio Grande National Forest. Therefore, glaciated areas and
   non-glaciated areas were considered as an ecological driver combination for this assessment. High
   elevation areas of the Rio Grande National Forest were repeatedly glaciated during the Pleistocene epoch,
   2 million to 10 thousand years ago. The latest major period, termed the Pinedale Glaciation, covered some
   areas of most mountain ranges at higher elevations. Valley glaciers flowed from these high elevation areas
   where ice accumulated, and produced deltas and other landforms in lower elevations. The Pinedale glacial
   period ended approximately 14,000 years ago. Glaciers scoured cirques and valleys as the ice flowed
   downhill and pushed debris ahead of it, forming terminal moraines, and off to the sides of valleys,
   creating lateral moraines. In addition, the glaciers plucked rock and finer sediments from bedrock along
   its path, which was incorporated into the ice. Once these glaciers stagnated, they began to melt, and debris
   within the ice was deposited, forming “dead ice deposits,” that created kettles and ground moraines.




                          Rio Grande National Forest - 11 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000235
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 236 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers




   Figure 6. Glaciated valley on the Rio Grande National Forest. Note the wide riparian valley with
   heterogeneous vegetation types.




   Figure 7. Glaciated landscape on the Rio Grande NF. Note the wide valley bottom, Willow community and
   intact stream channel.

   Terminal moraines may have blocked the drainage of entire valleys, thus forming lakes, some of which
   persist today. Sediments from the melting glaciers filled lakes. Where moraines have persisted and the
   valleys behind them have filled with sediments, large, flat valleys were created, which are conducive to
   the formation of meandering streams, broad riparian areas, and wetlands. Lateral moraines on the sides of
   valleys are composed of thick masses of unconsolidated sediments. They hold large volumes of
   snowmelt-recharged groundwater that support localized flow systems that feed wetland complexes,
   including fens, wet meadows, and marshes at their base, and that stabilize flow and temperature regimes
   of connected streams. Kettle basins in dead ice moraines are depressions supporting ponds, marshes, and
   fens. Cirques and high elevation valleys have been scoured and as a result are also relatively wide and
   flat, compared to other valley types; they typically contain abundant wetlands. Terminal and lateral
   moraines are composed of unconsolidated deposits, and are critical recharge areas that supply
   groundwater to streams and wetlands.

   Climate Change
   Aquatic systems and water dependent taxa will be significantly affected if the trend for changing temporal
   and spatial scales in air temperature and patterns of precipitation continue (Bryson et al, 2008). Potential
   effects of climate change in the southern Rocky Mountains include: 1. Reduced precipitation, 2. Reduced
   period of snowmelt runoff, 3. Attenuated periods of base flows, 4. Increased water needs by the predicted



                          Rio Grande National Forest - 12 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000236
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 237 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   increase in Colorado’s population, 5. Increased stream temperatures (Reiman and Isaak, 2010). There are
   several other indirect impacts, such as increases in non-native species (Rahel, 2010) and a reduction in
   overall adequate habitat for cold water species. Some scientists speculate that increased water
   temperatures in higher elevations will be advantageous for cold water native fish. However, instream
   habitats are more limited in the smaller streams found there, food animals such as benthic
   macroinvertebrates may not tolerate even a limited change in water temperature, and reduced
   precipitation and more sporadic precipitation events could lead to droughts.
   We used a model recently developed by the USDA Rocky Mountain Research Station
   (http://www.fs.fed.us/rm/boise/AWAE/projects/modeled_stream_flow_metrics.shtml) that incorporates
   current and projected variables to estimate changes in mean annual discharge in the Rio Grande National
   Forest for the future (See appendix 2).
   It is also the intent of this analysis to understand and potentially prepared for “short-term drought
   situations” that occur in the Southern Rocky Mountains (McKee, T. et al, 2000). While these events are
   measured in years, and followed by periods of “normal to high” discharge, the effects on aquatic
   ecosystems could mimic to a limited degree the effects of the long-term climate change in the future
   (Figure 8). The resiliency of aquatic ecosystems for the future may be to a limited degree be reflected in
   the effects of short-term drought conditions. If the components that affect the resiliency of aquatic
   ecosystems are not in place or at a much lower level of condition than would be expected, even short term
   droughts could have major impacts on aquatic systems. If we are able to increase resiliency substantially,
   the onset of climate change impacts may not be realized until later in the future, and the effects may not
   be as intense.




   Figure 8. Theoretical relationship between resiliency of aquatic ecosystems in “natural” and “impacted”
   systems. Natural systems tend to 1. Withstand and recover more quickly, and 2. Are not impacted as
   severely by smaller stochastic or anthropogenic influences




                         Rio Grande National Forest - 13 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000237
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 238 of 406

                                               Appendix 2 to Assessments 1 and 3:
                                            Aquatic and Semi-aquatic Ecological Drivers

                              Bighorn Wetlands 248 HUB
                             Distance (Objective Function)
                                         23E+00
                              Information Remaining (%)

    7:0101 --
    7:0303 —
    7d0105 ---
    rf0103 —
    M0110  —
    7:0105
    7d0204
    M0108
    M0105
    7:0305
    7:0103
    7:0203
    7d0107
    7:0201
    i:'02'02
    7:0305
    M0102
                                                             1
    7:0107
      11 0 10 9 ---
    133133
    7S0203
    7S0204
    7S0305
    7:0105
    7S0203
    7:0105
    7:0202
    7:0304
    7:0104
    7S0102
    7S0104
    7S0304
    7S0105
    7S0202
    7:0502
    7:0107
    7:0207
    7:0102
    7:0201
    7:0105
    7:010S
    7:0302
    7:0501
    7:020^
    7:0503
    7:0902
    7:0405
    7:0105
    7:010^
    7:0^03
    7:0502
    7:0504
    7:0303
    7:0305
    7:0504
    7:0801
    7:0505
    7:0105
                                                        2
    7:050^
    7:0504
    7:0505
    7:0702
    7:0904
    7:0505
    7:0302
    7:0201
    7:0104
    7:0204
    7:0103
    7:0502
    7:0503
        :0103
      I7b3l103
    rd)0
    rd)0 02
    hb0
    7:0 05
    7:0
    bi-3n
    hb0903
    7S0205
            01
            04
       cU0'02
            10
                                                       3
    7S0205
       c0301
    7003
    he0 03302
    hb0
    0-3 07  3d
    7:0
    7d0201  01
    7:0501
    7:0^02
    7:0301
    7:0502
    133-13-1
       IJ0202
    hd)0203
       g0l0l
    hg0101
    ha0102
       go 103 -J-1_
    hg0103
                                                             4
    ha0302
    77g0302
        s0503
       a'-Oji
     k--O3-
     7:0505
     7:0404
     7:0^05
     7:0301
     7:0501
     7:0102
     7:0101
     7d0104
     7d0103
     7d0109
     M0107
     M0101
     M010e
     7d0205
     7:0303
     7:0201
     7:0301
     7:0503
     7:0507
     7:020^
     7d0704
     7:0308
     7d0301
     7:0205
     7:0202
     7:0305
                                                             5
     7:0202
     7:0505
     M0202
     M0201
     7:070^
     7:0705
     7:0707
     7:0302
     7:0303
     7:0304
     7:0105
     7:0110
     7:0111
     7:030^
     7:0^0^
     7:0^05
     7:0501
     7:0502
     7:0503
     7:050^
     7:0505
     7d0305
     7d0305
     7d0402
     7d0403
     7d0404
     7d0405
     7d0405
     7d0407
     M0204
     M030)1
     M030)3
     M030)4
     M030)5
     7:0402
     7:0405
     7:0405
     7:0501
     7:0502
     7:0503
     7:0504
     7:0505
     7:0505
     7:0507
     7:o705
     7:0105
     7:0401
     7:0403
     7d010S
     7:0404
     7d0702
     7d0111
     7:0505
     7d0701
     7:0^01
     7:0^0S
     7:0701
     7:0703
     7:0205
     7d0307
     7:0303
     7d0110
     7d0205
     7d0209
     7d020S
     M0205
     M030)2
     7d0401
     M0104
     7d0705
     7:0109
     7:030^
     M0111
     7:020S
     M0203
     7:0305
     7:0501
     7:0310
     7d0304
     7:0^03
     7:0301
     7:0201
                                                             6
     7d0303
     7:0^07
     7d0302
     7:0505
     7:0^05
     7d070S
     7d0502
     7:0305
     7:0702
     7:0402
     7d0207
     7:0107
     7d0105
     7:010S
     7:0307
     7:0309
     7:0401
     7:0403
     7:0701
     7:0803
     7:0703
     7:0802
     7:0901
     7:0203
     7d0501
     7d0504
     7d0S01
                                                             7
     7:0^02
     7d0503
     7d0703
     7d0501
     7d0503
     7d0705
     7:0205
     7d0707
     7d0502
     7d0S03
     7d0S04
     7d0505
     7d0504
     7d0S02
     7d0505



   Figure 9. Dendogram of the similarity results for 160 subwatersheds on the Big Horn National Forest, The red
   line represents the level of similarity chosen, and the numbers represent the final clusters identified.




                         Rio Grande National Forest - 14 - Forestwide Plannin: Assessment
                                                                                          Rvsd Plan - 00000238
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 239 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   Methods: Ecological Driver Cluster Analysis for Stream/Riparian
   Areas
   Step 1
   After identifying the ecological drivers that will be used (as described above), the percentage of each
   ecological driver in each subwatershed are identified. For this analysis, hydroclimatology, stream gradient
   and geology (Erosional sediment size, geochemistry) were identified from Wohl et al. (2007). In addition,
   in a separate exercise the extent of historic glaciation was analyzed in relation to wetland abundance due
   to their influence, and the potential influence of climate change on stream discharge was also addressed at
   current and future estimates on mean annual discharge for each stream. It should be noted that all the
   summary information for each driver and each subwatershed will be provided for further analysis for this
   planning effort.

   Step 2
   Ward’s cluster analysis (Batagelj, V., 1988) was used to identify groups of subwatersheds that have
   similar ecological characteristics for streams and riparian systems within the Forest (Figure 9). Ecological
   clusters are identified by number and color and summarized in the following sections. Several iterations
   of this analysis were conducted to identify the most logical number of clusters to characterize. This is an
   important step so differences between clusters can be explained. For example, a very high similarity of
   clusters may result in only 2 clusters. Explanation of the differences of these 2 clusters may not be
   meaningful for planning because they cover a broad range of conditions. Identifying too many clusters
   may mean they are so similar that differences cannot be made between similar clusters. Too few clusters
   identified and there are characteristics of all the ecological drivers in each cluster and no relationships are
   observable. The ecological characterization of 6th level subwatersheds through this process should allow
   for an understanding of the relative abundance, sensitivity, productivity and other management
   considerations of different ecological conditions on the Rio Grande National Forest. Clusters that are
   unique or sensitive to management may solicit special consideration when developing land management
   and/or project plans.

   Step 3
   This step involves explaining different characteristics of the clusters to be used in the appropriate
   planning exercise. Various graphics can also be developed to explain the location of particular
   subwatersheds in each Cluster (Figure 10). This effort illustrates the important ecological considerations
   for each cluster of similarly grouped subwatersheds without the influences of anthropogenic influences.
   For instance, we know that calcareous geology typically is an indicator of springs, increased productivity,
   rare species and potentially very good areas for native fish reintroduction. Conversely, clusters that are
   dominated by geology that produces large sediment, located in the rain and snow zone, and has steep
   stream gradients (also correlates with steep topography) is very indicative of sensitive landscapes to
   erosion, and high risk for natural and management activities that would potentially move sediment into
   streams and wetlands.




                          Rio Grande National Forest - 15 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000239
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 240 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers




   Figure 10. Results of cluster analysis for streams and riparian areas for the White River National Forest.
   There are 6 different groupings of subwatersheds with statistically similar ecological driver characteristics.

   By using this process in the absence of anthropogenic factors we can deduce how streams within certain
   clusters should respond to sediment, chemical constituents, temperature and aquatic/riparian habitats and
   productivity over time.
   Presented is a table of the riparian ecological drivers for the White River National Forest (Table 1).
   Differences between values can be used to illustrate ecological conditions and management importance
   within each “cluster”. In addition, clusters with relatively low percentages of their area in the National
   Forest can be quantified. For example, 4 clusters exhibit over 80% of their area in the National Forest
   boundary. Are there species or ecosystems that we have the management ability to improve or maintain?
   Conversely, Cluster M6R comprises a much smaller percentage of the National Forest, and approximately
   21% of this cluster is in the National Forest boundary. Managers may choose to investigate this cluster
   more closely to see if our ability to influence characteristics of this cluster are justified.

   Table 1. Mean percentage of riparian ecological drivers for each cluster within the White River National
   Forest. Dominant values are colored to help discern differences between clusters
                                                                 Sediment         Hydroclimatic      Distribution
                        Stream Gradient Geochemistry
                                                                Production            Regime         of Clusters
      Management                                                                                      % in    % of
                          H      M     L     Ca    Co   Cs     Sf    Sm     Sc      Prs      Ps
      Riparian Cluster                                                                                NF      NF
      M1R (n=57)          68    13     19    13    74    13    55    18     27       6       94        82      43
      M2R (n=22)          75    12     13     7    51   42     46    24     30      47       53        15       4
      M3R (n=36)          72    12     16     6    91    3     7     11     82       1       99        95      31
      M4R (n=14)          74    11     15    76    18    6     8     57     35      16       84        83      10
      M5R (n=10)          75    11     14    81    18    1     85     8     7       4        96        91       7
      M6R (n=19)          71    13     16    62    34    4     74    18     8       54       46        21       5



                          Rio Grande National Forest - 16 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000240
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 241 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   Results: Ecological Drivers
   Geology - Geochemistry
   Implications: Calcareous geology - abundant spring development increases aquatic productivity and
   biodiversity, more consistent water temperatures at and for some distance downstream, reduces natural
   sediment by dissolving, provides refugia for rare plants and animals. Often not dependent on current
   rainfall but “old” water from precipitation that infiltrated the earth’s crust. Relatively rare in the
   Colorado Rocky Mountains. The aquatic systems associated with ground water and this geologic type
   could be considered extremely rare and important ecological types on National forest lands.
   Non-Calcareous geology - limited nutrients, lower productivity (reduced ph), highly diel and seasonal
   water temperature and discharge changes, larger grain size and increased deposition in aquatic habitats.
   Generally the most abundant geologic type in the Rocky Mountains. Productivity is influenced from
   nutrients from terrestrial sources and productivity is influenced by solar warming and habitats that are
   more abundant at lower elevations.
   Results - The results of the geochemistry driver results are presented in Figure 11. While the Rio Grande
   National Forest does not contain a significant amount of calcareous geology near the surface of the
   landscape (surficial), there are a few areas worth highlighting and considering for future analysis for rare
   taxa, springs and associated areas and streams for native trout restoration. The first area is along the
   northern and western portion of the Sangre de Cristo Mountains from approximately the Crestone Peak
   northward to the Hayden Pass area. The scale of surficial glaciation was relatively large for this exercise
   (1:500,000 Colorado State geology maps), and thus would not identify small outcrops that could be
   important for spring developments and rare taxa. Two smaller areas identified south of that area, were
   near Carbonate Mountain within the boundary of the Great Sand Dunes National Monument and
   California Peak. Again, there could be wetlands and springs in these areas fed by ground water input.
   The other area of identified calcareous geology surrounds the town of Villa Grove. It is interesting that
   the one stream on National Forest land running through this geology is called “Soda Springs Creek”, no
   doubt because of the unique characteristics of the groundwater from springs. Even on the Rio Grande
   National Forest visitor map numerous springs and hot springs are identified near this area. While spring
   areas on this side of the National Forest may have already been influenced significantly by past
   management there could be rare plants and animals still associated with them.
   The calcareous geology identified is the result of the Rio Grift Rift moving laterally, pushing the Sangre
   de Cristo Mountains up. The igneous “basement” pushed through the sedimentary layer where most of it
   was fragmented and moved by glacial activity and/or eroded away over time into the San Juan valley
   below.
   SPECIAL NOTE: While Calcareous geology is indeed a rare geologic formation in the upper Rio Grande
   valley, numerous important biodiversity and productivity possibilities exist. These remnants of
   prehistoric oceans could be important refugia for rare plants and animals as well as highly productive
   streams for rare taxa and for potentially recovering native fish, such as the Rio Grande cutthroat trout,
   chub and sucker. Other springs and habitats influenced by these relict sea bottoms could be identified in
   the Sangre De Cristo mountain range and assessed for rare taxa as well as important areas for restoration
   of native species...




                          Rio Grande National Forest - 17 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000241
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 242 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 11. Geochemistry of the Rio Grande National Forest at the landscape scale. Similar to most areas of
   the Rocky Mountains, non-calcareous geology dominates this landscape. Calcareous geology is much less
   abundant than its neighboring National Forest to the north, the San Juan National Forest (Winters and Staley,
   2005)



                          Rio Grande National Forest - 18 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000242
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 243 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Geology - Sediment Production
   Implications: Erosion and subsequent sediment movement and deposition are one of the leading
   pollutants in the world (http://www.fao.org/docrep/W2598E/w2598e05.htm). Sedimentation can directly
   influence aquatic ecosystems by filling of aquatic habitats for fish and other organisms, reducing
   reproduction success, scouring of substrate for benthic organisms and filling wetlands and riparian areas.
   Indirect influences can include highly variable water temperature by changing stream geometry, water
   chemistry, reducing oxygen in the substrate (hyporheic), and establishing areas for invasive plant
   establishment. Sediment dynamics are generally in a state of dynamic equilibrium with its environment.
   While stochastic events may result in geologically short-term elevated levels of especially igneous
   sediment production and transport, anthropogenic disturbance can result in long-term, continuous
   degradation.
   Results: The results of the sediment production analysis are presented in Figure 12. The Geology and
   related processes that have occurred on and around the Rio Grande National Forest are complicated and
   diverse, resulting in 2 distinctly different zones of sediment size (Figure 12). This distinct separation is
   due in large part to the “pulling apart” of the valley by the Rio Grande Rift, and abundant volcanic
   activity that occurred about 30 million years ago. This tremendous activity resulted in the development of
   the San Juan Mountains on the west side of the valley. The sediment produced by the volcanic activity is
   generally fine/medium in size and often turns red as the iron in the sediment is oxidized. Some volcanic
   areas can neutralize the ph of streams by forming CaCO3 when introduced to the atmosphere. Most of
   the streams in the southern Rocky Mountains are the result of igneous extrusions that can result is low ph
   water due to the chemical constituents of the bedrock. The areas on the San Juan side of the San Luis
   valley could contain water chemistry that is more conducive to aquatic productivity. However, there is a
   great deal of variability with volcanic rock, and further analysis of ph and carbonates would be an
   important step in finding streams that would be more conducive to native fish restoration or other
   activities where productivity is a an important component.
   On the east side of the Rio Grande Valley the geology producing sediment is composed predominantly
   coarse igneous bedrock (Figure 13). The Blanca Massif is comprised of Precambrian rock, while most of
   the rest of the mountains south of the Rio Grande National Forest is composed of younger Permian-
   Pennsylvanian (about 250-million-year-old) rock, a mix of sedimentary and igneous intrusions. The fact
   that our analysis reveals coarse lithology on the valley floor is a result of erosional processes from the
   steep mountains adjacent to it. The limited sedimentary geology in this area of the Sangre’s originated as
   residual sea floor limestone eroded from the Ancestral Rocky Mountains.
   The sand dunes associated with the flanks of the Sangre De Cristo started about 450,000 years ago as
   Lake Alamosa began to dry. The sediment on the bottom of the lake began to travel with the south west
   prevailing winds. However, winds from storms coming in a westerly direction over the Sangre’s made
   the prevailing winds swirl in the valley and the sand accumulated in “pockets” where they now remain.
   Due the vegetation that dominates the San Luis valley floor now, the dunes and surrounding area are not
   expected to grow significantly in at least the near future.




                         Rio Grande National Forest - 19 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000243
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 244 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers



       alip«<nts4!




   Figure 12. Map of different size sediment produced by underlying bedrock and erosion from the Rio Grande
   study area. Sediment produced from the west side of the Sangres is mostly coarse due to the igneous
   intrusion through ancient sedimentary layers. Sediments on the west side of the San Juan Valley is either
   fine/medium size from volcanic activity or coarse from granitic bedrock.



                         Rio Grande National Forest - 20 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000244
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 245 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers




   Figure 13. Cross section of the San Luis Valley geological structure. The steep igneous “lift” on the east
   side of the diagram continues up through the Sangre De Cristo mountains, while the volcanic west side rises
   more gradually through the volcanic slope to the San Juan mountains. The igneous sub "Rio Grande Rift
   San Luis basin". Licensed under Public Domain via Wikipedia -
   https://en.wikipedia.org/wiki/File:Riogranderift sanluisbasin.png#/media/File:Riogranderift sanluisbasin.png


   Special note: The granitic bedrock on the Rio Grande National Forest that produces coarse grained
   material is less likely to move with natural stream and overland water flow. However, when moved by
   anthropogenic erosional processes will settle in wetlands, pool habitats and riparian areas when energy is
   increased through flooding. Many of the potential sources of streams in aquatic ecosystems in the Rio
   Grande National Forest are probably from influences beginning in the mid 1880’s (Wohl, 2001).         Once
   excess sediment is deposited in these areas, it becomes extremely hard for energy in streams and wetlands
   to move it as it has settled into areas with lower stream power. The result is decreased aquatic habitat and
   filling in of wetlands and riparian areas. The sediment produced on the west side of the basin is
   somewhat easier to move because the average size produced is somewhat smaller. However, it still takes
   more energy to move out of low energy areas than off of hill slopes. In additions, many of the streams
   most likely do not have the wood and boulders available to sort sediment onto floodplains.
   Monitoring watershed conditions in stream and riparian ecosystems from sediment intrusion is most
   successful in low gradient reaches, as they are the first areas in stream networks that exhibit changes in
   biota, temperature and stream channel morphology when excessive sediment is present. Low gradient
   stream channels comprise a small length of overall stream length in mountainous areas of the Rocky
   Mountains, requiring less effort and cost if planned correctly.
   Wetlands are protected from impacts through the Clean Water Act, Executive Orders. As well as best
   management practices, and other national and regional policies. As such, existing laws, policies and best
   management practices should be implemented to protect individual wetlands from damage by excessive
   sediment accumulation.
   Approximately 50% of wetlands have been lost in the state of Colorado
   (http://geochange.er.usgs.gov/sw/impacts/hydrology/wetlands/ . While current protection of existing
   wetlands is extremely important, the restoration or creation of wetlands to replace historic wetlands could
   be considered and important action for the future.



                          Rio Grande National Forest - 21 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000245
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 246 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Hydroclimatic Regime
   Implications: Elevation has a major influence on aquatic ecosystems in the southern Rocky Mountains
   (Ward, 1986). Landscapes including the Rio Grande National Forest are dominated by annual snowmelt
   driven hydrographs, maintaining stream channels and greatly influencing the life-history of the organisms
   that live there (see review at (http://www.nature.com/scitable/knowledge/library/extreme-cold-hardiness-
   in-ectotherms-24286275). These plants and animals are well adapted to this environment but are not
   adapted to major changes. Plants and animals located lower in elevation are typically more resilient to
   changes in temperature and other environmental conditions because conditions are changing more often
   and to a higher degree (Hynes, 1970).
   Major changes in the shape of the annual hydrograph including extended runoff, flooding events and
   drought can have major influences on aquatic and semi-aquatic biota, Taxa that persist in a warmer, lower
   elevation streams may be more tolerant and/or adaptable to changing conditions. However, plants and
   animals in cold water systems are typically less tolerant, unless inhabiting special environments (e.g.
   Ground water systems), connected habitats for large movements and reproduction adaptions Multiple life
   stages) allow them to survive. While large scale changes in climate may influence the hydroclimatology
   on a large scale, changes from human influence is typically smaller, with cumulative impacts having
   potentially severe influences on a system at any elevation. Management activities could be conducted to
   maintain the environmental “structure”, or restoring systems that have already gone outside expected
   conditions.
   Results: Results of the Hydroclimatic regime are presented in Figure 14. Local climate controls the
   hydrologic regime of streams and wetlands, influencing ecosystems through the timing and magnitude of
   runoff and peak flows. Snowfall driven precipitation dominates the shape of the annual Rio Grande
   National Forest. (Figure 4). However, a rain and snow dominated hydrograph at the headwaters of
   subwatersheds that originate at the lowest elevations of the Forest may exist. These areas may contain
   plants and animals that are more representative of the valley floor. In addition, wetlands may also have
   different form and function if precipitation and resulting overland flow is modified. Given that the lower
   elevations of the valley receive little annual precipitation (approximately 8 inches per year), stream
   channels would be expected to be ephemeral or intermittent depending on the presence of groundwater.
   Wetlands would also be dependent on groundwater reaching the surface where rooting would allow
   wetland plants to exist. Aquatic dependent animals would most likely have to aestivate during dry
   periods or migrate to wetter areas.
   With the valley floor reaching a an elevation of approximately 8000 feet, the majority of the entire study
   area is within the “snowmelt” driven precipitation zone, while the rain and snow elevation limit is below
   the National Forest boundary. The relatively high elevation and small stream size associated with the Rio
   Grande National Forest in the mountainous area can be interpreted as a fairly “unproductive” area for fish
   and other aquatic plants and animals. Growing seasons are relatively short, due to the limited size of the
   tributary streams. While groundwater fed systems most likely maintain warmer water temperatures than
   other systems, based on the extremely limited calcareous geology and findings from other assessments,
   they are very rare. Stream segments with low stream gradient and meandering character are often
   considered heat “sinks”, and as long as there are no mitigating circumstances can help increase water
   temperature during longer periods of time. (Poole and Berman, 2000).




                         Rio Grande National Forest - 22 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000246
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 247 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers




   Figure 14. Hydroclimatic regime for the Rio Grande National Forest and surrounding landscape. Due to the
   relatively high elevation of the Forest, most this part of the landscape is in the snow driven hydroclimatic
   zone. Driven by high discharge during the summer months, channel maintenance discharge occurs during
   that time.



                          Rio Grande National Forest - 23 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000247
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 248 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   While it may seem intuitive to remove shading on low gradient reaches of streams that are generally
   considered “cold”, there are far more negative impacts from this action than positive. Erosion, loss of
   food, aquatic and semi-aquatic organisms, etc. are much more impacted than the benefit it might have to
   increase temperature. In addition, depending on the position, and condition of the stream in relationship
   to the sun, lethal limits of water temperature can occur, even at higher elevations.
   Special Note: The majority of the Rio Grande National Forest is located in the snow driven elevation
   zone. Aquatic productivity is relatively low at these high elevations, although aquatic species of plants
   can thrive if food, habitat and other limiting factors are not reduced significantly. Relatively short
   growing seasons and low temperatures related to reproduction can result in unsuccessful spawning efforts
   from fish. Connectivity, adequate water and discharge timing, habitat and temperature can be major
   limiting factors for aquatic and semi-aquatic taxa. Ensuring that important natural conditions of
   ecosystem elements maintaining the conditions for these taxa are very critical for the continued survival
   of water dependent species and ecosystem services such as angling. Areas at the lower elevational limits
   of the National Forest may be important areas for improved productivity in granitic dominated
   watersheds, due to increased water temperatures.

   Stream Gradient
   Due to the limited length of low gradient stream gradients on the Rio Grande National Forest, map scale
   was too large to graphically portray the different classifications.
   Implications: Stream gradient influences stream power, aquatic productivity, erosive capability, localized
   sediment sizes, and floodplain characteristics. As a result, stream gradient dictates the habitat for specific
   flora and fauna. Steep gradient stream reaches are often called “erosional” reaches while low gradient
   reaches are called “depositional” zones. The sediment that is produced in the erosional zones will be
   deposited in the depositional zones, which thus can be indicators of upstream erosion. Indeed, steep
   stream channels have narrow floodplains and banks that are ‘armored’ with large rocks and boulders.
   They are very resistant to change, but move sediment through tem generally and are corridors for
   migration for aquatic species.
   The medium gradient streams can be considered “transitional” reaches and have some of the
   characteristics of the steep and low gradient reaches. Low gradient reaches are very susceptible to
   upstream activities as well as local change. As a result, they are typically the reach that exhibits changes
   in channel morphology, temperature, and habitat and sediment accumulation. There banks are comprised
   of typically small alluvium from upstream and are extremely susceptible to erosion if the deep rooting
   riparian vegetation is removed or damaged. Low gradient reaches can act as “reservoirs” for storing
   water in the valley bottom, especially if beavers have colonized there. Terrestrial and aquatic animals are
   often much more abundant in low gradient valleys as habitat is diverse and abundant. Consequently,
   activities in the subwatershed where low gradient valleys reside that produce excess sediment, reduce
   woody material and change discharge dynamics can have a dramatic impact on these areas. In addition,
   local impacts that remove woody vegetation, compact riparian soils and damage stream banks can have a
   profound impact on these important areas.
   Results: Only one cluster group out of 7 was dominated by low gradient stream reaches. A total of only 8
   subwatersheds were in this cluster out of a total of 163 subwatersheds. This is not unusual for the
   southern Rocky Mountains considering the steep topography and erosional process occurring throughout
   its length. The White River National Forest to the Northwest of the Rio Grande had far fewer low
   gradient reaches and were smaller in length. None of the clusters identified in the White River
   assessment were dominated by low gradient reaches out of 435 subwatersheds. Further description of this
   driver will be explained in the Ecological Cluster results with subwatersheds and locations identified.



                          Rio Grande National Forest - 24 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000248
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 249 of 406

                                          Appendix 2 to Assessments 1 and 3:
                                       Aquatic and Semi-aquatic Ecological Drivers


   Special Note: The role of stream gradient reaches and their importance could be a valuable tool for future
   monitoring. As identified previously, low gradient reaches are sensitive to change, as are the plants and
   animals that inhabit them. By focusing monitoring on these important reaches, species and physical
   characteristics could be identified and utilized as tools for observing change. In addition, strategies to
   subsample and identify sampling ability could be developed to meet budgetary constraints as well as time
   limitations. A similar process is being conducted in the Pacfish/Infish Monitoring Plan
   (https://www.monitoringresources.org/).


   Results: Aquatic and Riparian Clusters
   There were a total of 7 statistically similar clusters identified for the Rio Grande National Forest with
   discernibly different ecological characteristics. (Table 2). Each of these clusters of subwatersheds
   revealed characteristics that can be translated in terms of aquatic productivity, sensitivity to management,
   temperature, aquatic and riparian habitat and stream discharge characteristics. The subwatersheds in each
   cluster are identified in a map of the Rio Grande National Forest and surrounding landscape to show
   geographic relationships and for identification (Figure 15).

   Table 2. Results of the Ecological Cluster analysis. Each of the identified clusters contain average
   percentages of the ecological drivers identified within a particular subwatershed. The dominant driver within
   each cluster is highlighted in Red, while a “non-dominate” driver exhibiting a value that COULD BE important
   for management are highlighted in blue.___________________________________________________________

                        Stream Gradient          Calcareous Geology               Sediment Size             Precipitation Regime


                       %         %      %                                                           %
    Cluster                                    % Non-          %        % Fine      % Med.                  % Rain &       %
              #HUCs   Low       Mod    High                                                       Coarse
      ID                                      Calcareous   Calcareous   Grained     Grained                  Snow         Snow
                                                                                                  Grained

      R1        2     9.3       18.3   72.4      37.4         62.6        0           2.7          97.3        4.1        95.9

      R2       12     8.6       7.3    84.1      100            0        88.5         1.9           9.6         0          100

      R3       52     5.3       8.8    85.9      99.3          0.6       11.2         2.2          86.5        0.2        99.8

      R4       53     14.3      10.8   74.8      99.5           0        53.3         5.3          40.9         0          100

      R5       20     29.4     23.7    46.8      95.1          3.8       12.6         2.4          83.9        1.3        98.7

      R6       14     28.1      12.2   59.7      97.8          2.1        0.9         0.1          98.8       37.6        62.4

      R7       10     79.8      6.5    13.7      99.5           0        2.2          0.5          96.8       72.1        27.9



   The cluster ID and number of subwatersheds within each cluster are in the first column. A. total of 6 of the
   7 clusters were dominated by high gradient stream channels, which are closely correlated to steep
   topography, limited floodplains, aquatic and riparian habitats and ability for water storage in valley
   bottoms. Three of the clusters however exhibited more than 20% of their length in low gradient channels,
   indicating there could be areas that are quite influential on aquatic and production throughout the streams
   and riparian areas in each of the clusters, such as instream habitat and the size of riparian communities.
   These low gradient areas if functioning properly would be areas of groundwater storage in the alluvium in
   the valley floor.




                             Rio Grande National Forest - 25 - Forestwide Planning Assessment
                                                                                      Rvsd Plan - 00000249
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 250 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 15. Results of the Aquatic/Riparian Cluster showing the location of subwatersheds within each
   cluster. Cluster numbers and the number of subwatersheds are also listed.




                         Rio Grande National Forest - 26 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000250
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 251 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Only 1 cluster (R1) was dominated by calcareous geology, and as identified previously may be extremely
   important for harboring rare plants, animals and habitats such as springs and fens. As mentioned
   previously, this geology tends to be quite soluble and allows groundwater to surface where it is present.
   Downstream habitat for native fish could be important especially as habitat conditions may be more
   conducive to these fish.
   A total of 5 of the 7 clusters were comprised of coarse grained sediment, primarily the result of the
   igneous, granitic bedrock dominating the Forest landscape. The 2 clusters dominated by fine sediment
   were primarily the result of weathering of volcanic basalts. These subwatersheds could also be quite
   productive if Calcium carbonate is released from the dissolved bedrock.
   Coarse grained geology has dominated the clusters in all of the analysis areas on National Forests to date
   (including the San Juan, GMUG, White River, Arapahoe Roosevelt, Pike and San Isabel, Medicine Bow
   Routt and Bighorn). These results can be attributed to the overwhelming amount of coarse grained
   producing bedrock in the southern Rocky Mountains.
   Because most of the National Forest is above 8000 in elevation, all of the clusters are located in the snow
   melt hydroclimatic zone. Only portions of 28 subwatersheds were associated with any rain and snow
   hydroclimatology at lower elevations. These subwatersheds however are fairly unique for the study area
   and could be important for taxa and habitats that are restricted to this precipitation regime. Wetlands
   would be expected to be of different character than colder, high elevation wetlands due to the flatter
   topography. In addition, plant and animal taxa associated with these wetlands could be quite different
   than the higher elevation wetlands.

   Aquatic/Riparian Cluster 1R
   Management Scale Aquatic and RIPARIAN Cluster 1R
   •      Stream gradient - High
   •      Geochemistry - Calcareous
   •      Sediment production - Coarse
   •      Hydroclimatic regime - Snow
   The 2 subwatersheds in the 1R cluster are at mostly high elevations along the North East side of the
   Sangre de Cristo Mountains, and comprise only 1% of the number of subwatersheds on the study area
   (Figure 15). Limestone and sandstone is relatively abundant as remnants of an ancient ocean bed. Springs
   would be expected in these subwatersheds, helping stabilize stream temperatures and increasing ph levels.
   Streams and wetlands in these HUCs could be quite productive and if instream habitat is adequate, fish
   and benthic macroinvertebrates densities and biomass could be considerably higher than surrounding
   streams. Approximately 40% of the geology is comprised of the granitic bedrock protrusion that occurred
   from the uplifting of the Rio Grande Rift. While the calcareous geology “dissolves” in water over time,
   the coarse granitic sediment would tend to stay intact on the hillsides and mixed in stream channels.
   Tall willows, river birch, and alder are expected along perennial streams, and willows would be the
   dominate vegetation along intermittent streams. The abundance of calcareous geology that could create
   opportunities for perennial springs, which would also support well developed riparian vegetation and
   provide habitats for unique species or riparian communities.
   Stream gradients are typically high, but these HUCs average about 18% or more low-gradient channels.
   If streams are large enough, native fish could thrive in this area. Given the topography, disturbance of
   coarse soils could result in aggradation in stream channels, and filling of aquatic habitat. The


                         Rio Grande National Forest - 27 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000251
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 252 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   combinations of gradient, geology, and moderate sediment producing geology would foster a relatively
   high level of aquatic and riparian productivity compared to other clusters if precipitation is adequate and
   stream size is large enough.

   Conclusions for Cluster 1R
   Although this cluster occupies a limited area of the Rio Grande National Forest, it could represent an
   extremely important area from a biodiversity standpoint. Caves and springs are known in the area and
   trout are quite abundant in the stream system on the east side of this area (personal observation), even
   though the stream gradient is high. Ground water input through springs could harbor relict plants and
   animals for thousands of years due to the consistent water quality and quantity. In addition, if stream
   conditions, including habitat are adequate, the streams within this cluster should be very productive, and
   could be a high priority for the reestablishment of native fish.

   Aquatic/Riparian Cluster 2R
   Management Scale Aquatic and RIPARIAN Cluster 2R
   •       Stream gradient - High
   •       Geochemistry - Non-Calcareous
   •       Sediment production - fine
   •       Hydroclimatic regime - Snow
   This cluster occupies 12(7%) of the 162 HUCS in the study area and is located in relatively steep
   topography and steep streams. They are all located on the west side of the Rio Grande Rift, associated
   with the San Juan Mountains. (Figure 15). The major feature separating it from the other clusters is the
   high abundance of volcanic soils. While volcanic rock can erode into different sizes and compositions,
   the basaltic base of this area produces fine sediment that also forms fine grained soils. There are also
   granitic rock found in this area, however, the volcanic rocks appear to be quite erodible. This fine
   sediment erodes easily when rain washes it from the hillsides, especially where vegetation and debris has
   been removed and ground disturbing activities have left the soils vulnerable.
   Depending on the chemical composition of the soils produced, they can be quite fertile as minerals are
   released as the volcanic sediment dissolves. Indeed, some volcanic soils are considered the most
   productive of any soil type. Wetland and riparian vegetation in these clusters should also be fast growing
   and healthy.
   Due to its “fine texture”, erosion in this cluster can be high during rainstorms and snowmelt runoff.
   Under natural conditions it would be expected that these fine grain sediments would be transported quite
   easily downstream and be deposited in only the lowest discharge areas, either on point bars, floodplains or
   the inside of meanders on low gradient reaches. However, if new sources of sediment have accumulated
   due to anthropogenic influences, they could overwhelm the energy in the system and be deposited within
   stream channels and have a major influence on low gradient reaches.
   This cluster contains a relatively little low gradient reaches (<10% of total stream length). However,
   streams in this cluster could be more productive than those with igneous geology for native fish
   restoration, if all other attributes are the same. Measurements of ph and conductivity could easily tell if
   the volcanic geology is influencing water quality properties.




                          Rio Grande National Forest - 28 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000252
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 253 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Conclusions for Cluster 2R
   Subwatersheds in this Cluster are characterized by steep stream channels and topography (<84% of
   stream length in high gradient). While some reaches exhibit lower gradient slopes, this cluster is also
   dominated by small size volcanic sediment. These sediments should produce productive riparian areas,
   and the small sediment size could dissolve and improve water chemistry and productivity. Erosion could
   be high if considerable anthropogenic activities have occurred that expose soils. These fine grained
   sediments has the potential to reduce riparian and especially stream habitat if they overwhelm the
   systems. Low gradient reaches that show significant sedimentation and stress are most likely a result of
   upstream activities. Wide, shallow and exposed low gradient stream reaches could result in poor habitat
   conditions and especially elevated stream temperatures.

   Aquatic and Riparian Cluster 3R
   •      Stream gradient - High
   •      Geochemistry - Non-calcareous
   •      Sediment production - Coarse
   •      Hydroclimatic regime - Snowfall
   There are a total of 52 (32% of the total subwatersheds) in this Cluster. This is the second most dominant
   cluster in the study area and would be expected with the overall high elevation, igneous geology
   dominating the area, and relatively steep topography. The subwatersheds are distributed throughout the
   study area, but are most pronounced in a north/south direction on the west side of the San Luis Valley
   flanks and mountains and into the high elevations to the north (Figure 15).
   The dominant ecological driver characteristics indicate most streams in this cluster are not particularly
   sensitive to changes in either water or sediment input (Table 2). Igneous, granitic bedrock dominates the
   entire San Luis valley, accept where there has been volcanic activity. Stream channels would tend to be
   fairly stable because of the coarse-grained soils and stream banks that under normal conditions would be
   fairly embedded. However, in the relatively few areas where there are low gradient stream channels with
   increased habitat, deposition could be influenced by the erosional properties upstream. If riparian
   vegetation is stabilizing stream banks in these areas should result in increased stream depths on the
   outside of menders, where velocities are highest. However, increased erosion, discharge, soil exposure
   and loss of woody riparian vegetation rooting from past and current anthropogenic activities could have
   extensive impacts on habitats in this cluster because the overall stream energy is very high. Streams that
   carry additional sediment will have a considerable amounts deposited in the stream channel, where further
   movement would be very difficult. Midstream gravel bars could form in areas of reduced velocities,
   forcing streams to move laterally into the banks, causing more erosion and increasing the width depth
   ratio of the channel. These conditions are extremely difficult for the stream energy to change, and
   physical alterations might be necessary to reverse the process.
   Groundwater input to the surface would be expected to be limited to isolated wetlands with groundwater
   characteristics (e.g. springs and fens) that are not interconnected. High elevation valleys would contain an
   abundance of wetlands due to the variable topography, high precipitation and terrain developed by glacial
   movement. Surface water driven wetlands would also be widely distributed in concave depressions and
   conducive to collecting surface runoff.
   The abundant gravel and cobble is associated with relatively stable stream channels and banks. Riparian
   vegetation would be abundant along small and larger streams, willow-dominated vegetation at higher
   elevations, and taller willows, cottonwoods, and alder at lower elevations. It would be expected that some



                          Rio Grande National Forest - 29 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000253
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 254 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   of the larger stream channels are found in this cluster, providing additional habitat for native trout and
   other fish. The potential for “high quality” recreational fishing opportunities are most likely found in this
   cluster. There should be abundant habitat in these areas due to larger channels, which would improve
   longevity and growth of sport fish. There would appear to be limited opportunity for larger tributaries to
   the Rio Grande River on most of the Rio Grande National Forest, and maximizing stream habitat
   conditions would be a major goal to keep the high quality experience.
    Instream productivity would in large part be dependent on food sources and detritus from outside the
   stream system (allochthonous), with energy in the form of sunlight and nutrients from riparian detritus
   being more important seasonally. Trout and riparian food from terrestrial invertebrates typically
   dominates food for fish especially during the snowmelt runoff period and fall. To sustain adult fish and
   riparian taxa, riparian areas would need to be healthy, with woody vegetation being abundant and at a mid
   to late seral stage for shading purposes and sources of terrestrial food and detritus. High elevation, small
   streams would especially be unproductive as ph would probably be less than neutral, temperature and
   habitat would also be limited. While native trout would no doubt be present where habitat is acceptable,
   their populations could be limited by a number of factors.
   Conclusions: In a natural state, the aquatic systems in this cluster would be expected to be quite resistant
   to sediment movement, albeit stochastic influences such as wild fire could cause short term inputs the
   steep topography. The resiliency of these areas would be quite high following natural events and recover
   quickly much quicker than impacted systems.
   However, if anthropogenic influences reduced resiliency, large amounts of coarse sediment could enter
   stream areas and wetlands, depositing in important habitats. Moving unnaturally elevated material with
   normal flow regimes would be extremely difficult, leaving wide, shallow and homogenous stream
   channels with little productivity. Smaller order stream reaches receive less sediment due to their limited
   watershed area. Larger streams that have been impacted over decades can be restored with care, to focus
   restoration efforts where impacts, risk and opportunity are greatest.
   The limited low gradient reaches would be important for monitoring subwatershed conditions, due to their
   sensitivity. Stream temperature, sediment deposition, riparian development, biota and morphology are
   variables that can be quantified in these areas.

   Aquatic and Riparian Cluster 4R
   Management Scale Aquatic and Riparian Cluster 4R
   •      Stream gradient - High
   •      Geochemistry - Non-calcareous
   •      Sediment production - Fine
   •      Hydroclimatic regime - Snow melt
   Subwatersheds in cluster 4R are primarily at high elevations, dominated by high gradient stream channels.
   There are a total of 53 subwatersheds (33% of the total) in this cluster that has the highest percentage of
   fine grained sediment producing geology of all the clusters. Fine grained sediment producing geology
   accounts for the second highest percentage with 53% (Table 2). These subwatersheds are all located in the
   western portion of the Forest, from the north to the southern boundaries (Figure 15). The high proportion
   of both coarse and fine sediment producing geology in this portion of the landscape is a direct result of
   the igneous and volcanic bedrock underlying the entire Cluster. The process that caused this geologic
   change is explained in Figure 13. The combination of these geologies can influence the aquatic systems



                          Rio Grande National Forest - 30 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000254
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 255 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   typical of that explained for Cluster r4, where coarse grain sediment dominated and Cluster r3 that was
   dominated by fine grained sediment.
   The location of each of these 2 geologies and amount exposed would predict which would have the most
   influence on aquatic and riparian systems. For instance, a subwatershed that is primarily comprised of
   igneous bedrock in all but the lowest elevation would be expected to be relatively stable with larger
   substrate and reduced erosion unless disturbed. Groundwater could be exposed through fissures and
   faults that reach the ground surface. The lower section could have significantly more unstable soils but
   more productive. Of course, combinations of the 2 would be found in many subwatersheds. Wetlands
   could be formed by the “cementing” of fine grained material to form impervious depressions on the
   landscape and runoff from the surrounding landscape. Groundwater surfacing from volcanic sediments
   could form underground water pressure moving upward through the unconsolidated fine grained
   sediment, as well as gradual solution of the basaltic geology. Riparian and wetland soils would be
   expected to be deeper and more productive in the areas with finer sediment.
   Where the fine and coarse sediment have “mixed”, natural rain events could destabilize the sediment by
   moving the fine material easily, dislodging the coarser material as well. Once the sediment has entered
   the stream channel, sorting would most likely occur, with fine grained material moving further
   downstream and the igneous sediment settling more rapidly. Again, the volcanic fine sediment could
   influence and raise ph levels slightly, accounting for higher productivity. Groundwater would be greatly
   influenced by the permeability of the combination of each of the geologic types, depending on the
   dominant geology.
   Conclusion: This large, mixed geology cluster has the most heterogeneous characteristics of any of the
   clusters. Several ecological drivers are similar to Cluster 2: 1. Both are dominated by high stream
   gradient and topography, with R4, less so, 2. Both are in high elevation, snowmelt driven systems, 3. R4
   contains significantly higher amounts of fine sized sediment that will produce more productive and deeper
   soils for riparian and wetlands. The increased amount of low gradient stream channels in R4 and
   potentially higher productivity could be a reason to address riparian condition and stream habitat in
   relationship for native and desired non-native fish and riparian vegetation management. From that
   standpoint, some subwatersheds in may have similar riparian and stream habitat potential.

   Aquatic and Riparian Cluster 5R
   Management Scale Aquatic and Riparian Cluster 5R
   •      Stream gradient - High
   •      Geochemistry - Non-calcareous
   •      Sediment production - coarse
   •      Hydroclimatic regime - snow melt
   There are 20 (12%) subwatersheds in this cluster. Most are located in the western and southern part of
   the Forest, although there are 4 located in the extreme northern portion of the Forest (Figure 15). Of
   particular importance is that a considerable portion of the streams that are in low and medium gradient
   stream channels (Table 2). This cluster exhibits the second highest percentage of medium and low
   gradient stream gradient (Cluster 7 being the highest) of any Clusters.
   Although the geology produces predominately large sediment, the terrain exhibits lower slopes than other
   clusters, resulting in reduced natural erosion, and wide riparian valleys to buffer some stream channels.
   Anthropogenic activities that reduce riparian and wetland cover and expose sediment could result in



                         Rio Grande National Forest - 31 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000255
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 256 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   considerable damage in the low gradient reaches. These habitats would be valuable for plant and animal
   diversity due to the abundance of surface and ground water and associated riparian vegetation. In
   addition, there should also be an abundance of low gradient meandering stream channels with
   considerable instream habitat (e.g. water depth) for fish, beaver and other aquatic and semi-aquatic
   species. Surface fed wetlands would also be expected to be more numerous in this Cluster.
   Groundwater storage in low gradient stream channels could also be abundant if stream channels have not
   degraded significantly, and riparian vegetation is maintaining soils. The coarse sediment that is abundant
   in this cluster maintains interstitial spaces large enough to store considerable water in the floodplains that
   could be released slowly in drought years, maintaining downstream flows. In addition, artesian springs
   and associated wetlands would be present in the wide valley bottoms if storage capacity is maintained.
   Wetlands would be quite variable in terms of characteristics due to the highly variable landscape. While
   the geology appears to be granitic, fissures could result in ground water surfacing, while lower slope
   landscapes could capture water in depressions and small catchments.
   Conclusions: This cluster has a diversity of stream gradients, valley types and topography. Instream and
   riparian habitat in particular are diverse, and have the potential for good instream and riparian habitat that
   are not abundant throughout the Forest. Riparian and stream restoration where necessary could be a
   priority for these subwatersheds. The variety of topography could result in different forms and abundance
   of wetlands. Fishery resources could also be a priority as low gradient channels are important for native
   and non-native recreational fisheries. The potential for large riparian areas would also be important for
   wildlife and riparian restricted plants

   Aquatic and Riparian Cluster R6
   Management Scale Aquatic and Riparian Cluster R6
   •       Stream gradient - High
   •       Geochemistry - Non-calcareous
   •       Sediment production - coarse
   •       Hydroclimatic regime - rain and snow (72%)/ snow (30%)
   There are 14 (8%) subwatersheds in this cluster (Table 2) that are located partially within the Sangre de
   Cristo Mountains (Figure 15) and exhibits the second highest area within the rain and snow driven
   hydroclimatology of any Cluster. These characteristics could have a major influence on flora and fauna,
   as they are mostly at lower elevations, and represent a transition between the valley floor and mountains
   (figure 9). It should be noted however that a high percentage of the Rio Grande National Forest boundary
   is in the Snow melt driven zone but have influences from both precipitation zones. A portion of this
   Cluster is also within the Great Sand Dunes National Monument. As mentioned previously, aquatic taxa
   have evolved their life history strategies to coincide with the most beneficial times of the year, especially
   considering temperature and annual hydrograph characteristics. There could be changes in taxa and
   population structures of fish, benthic macroinvertebrates and plants as a result of the warming in some
   portions of these subwatersheds if they exhibit different characteristics. One important characteristic of
   the subwatersheds in this Cluster along the Sangre de Cristo Mountains is that they enter the alluvium at
   the foot of the mountains and flow underground. Some of the water surfaces further out into the valley,
   creating wetlands and streams. These conditions, along with the influence of some limestone geology
   produce unique characteristics within their boundaries for plants and animals.




                          Rio Grande National Forest - 32 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000256
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 257 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   Subwatersheds located on the west side of the valley in these clusters are also relatively low in elevation,
   with a relatively low percentage of their area within the National Forest boundary. However, due to the
   variable conditions there they could also be investigated for unique ecosystems and/or taxa.
   The high variability in the hydroclimatology in most of this cluster is due to more rain events in the
   spring-fall as well as the snow melt influence. This variability plus influences of management could
   cause considerable erosion and sediment movement during rain events. The coarse material entering the
   stream channels and wetlands would be difficult to move onto floodplains and out of surface water driven
   wetlands. In addition, surface water dependent wetlands, such as marshes would be expected in the lower
   elevations, resulting from flatter topography and increased surface water runoff throughout most of the
   year (Wohl et al, 2007). The diversity of aquatic and semi aquatic wetland dependent animals such as
   southern leopard frogs (Rana sphenocephala) and many different species of birds would be expected in
   these habitats.
   Conclusions: This cluster has characteristics of both the higher elevation and mid-elevation
   hydroclimatology. While these boundaries represent a “shift” in ecological drivers, they are not precise.
   There still could be characteristics of both zones however, with variability in wetlands, precipitation and
   taxa of plants and animals. Due to these factors, the elevation portion of these subwatersheds in cluster
   R6 that are at lower elevations may have a much different plant, animal and aquatic habitat type than the
   upper elevations. With streams flowing subsurface for a distance once they reach the valley floor, very
   unique conditions persist in this Cluster both inside and outside the Forest boundary. Much of the valley
   floor has been managed quite intensively for agriculture and may not have the unique characteristics of
   the Forest Service. Closer examination of these areas could result in finding unique taxa and habitats, or
   the opportunity for restoration efforts. The streams upstream from the valley floor may be important for
   native trout or other taxa restoration as a “natural” barrier exists for many streams. Along with the
   National Park Service, public land is abundant and dominates several of these subwatersheds, Restoration
   of native fish could be administratively more efficient where federal land ownership occurs.

   Aquatic and Riparian Cluster R7
   Management Scale Aquatic and Riparian Cluster R7
   •      Stream gradient - Low
   •      Geochemistry - Non-calcareous
   •      Sediment production - coarse
   Hydroclimatic regime - snow (72%)/ rain and snow (28%)
   Results: There are 10 subwatersheds (13%) in this cluster (Table 2). The subwatersheds occupy a very
   small portion of the National Forest, with the majority being located on the valley floor and at the foot of
   the Sangre de Cristo Mountains, including the Great Sand Dunes National Monument (Figure 15). The
   very small portion of this cluster on the National Forest lands are located at high elevations and may be
   mostly in the alpine or sub-alpine ecosystem. This area would be expected to have high snow
   accumulation and considerable soil saturation, being conducive to wetland development. The lower
   elevation of the cluster occupies a significant portion of the National Monument, as well as some of the
   toe slope of the mountain range where erosion from glacial activity and runoff deposited coarse material.
   Stream gradient on the National Forest would be expected to be mostly steep, although some calcareous
   geology may persist with groundwater fed springs being present, similar to Cluster r6. While active
   management appears to be relatively limited (see Assessment 1), there could be rare flora and fauna in
   these high elevation, potentially spring fed systems.



                          Rio Grande National Forest - 33 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000257
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 258 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Conclusions: This cluster is predominately characteristic of the valley floor and toe of the Sangre de
   Cristo Mountains. There is little representation on the Forest of this cluster that could be considered a
   different ecosystem type than R6. The overwhelming percentage of this cluster in the valley floor
   dominates the ecological drivers in the entire cluster. As such, the portion of this cluster found on the
   National Forest is most likely similar to R6. The Sangre de Cristo Mountain range with this Cluster type
   could have rare and/or important flora and fauna that are associated with high elevation groundwater fed
   wetlands.




                         Rio Grande National Forest - 34 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000258
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 259 of 406

                                Appendix 2 to Assessments 1 and 3:
                             Aquatic and Semi-aquatic Ecological Drivers



   Appendix - Ecological Drivers Not Included In The
   ARWA Process, But Pertinent To Assessment 3 For
   The Rio Grande National Forest Plan Revision




                   Rio Grande National Forest - 35 - Forestwide Planning Assessment
                                                                           Rvsd Plan - 00000259
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 260 of 406




                                                       Rvsd Plan - 00000260
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 261 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers



   Stream Density As A Driver For Riparian And Aquatic
   Habitat Considerations
                                                                              Dave winters and Thomas Tanyae
                                                                                          USDA Forest Service
                                                                                        Rocky Mountain Region
   Numerous habitat requirements have been shown to influence salmonid and other aquatic organism’s
   success in stream environments (Bjorn and Reiser, 1991). In addition, riparian habitats require the
   ecological form and function of riverine systems and resulting floodplains for their existence. It is not the
   purpose of this document to identify stream length or density within the subwatershed scale as
   “overriding” other habitat considerations, there are numerous other environmental and anthropogenic
   factors that are important individually or cumulatively that have major influences on plant and animal
   populations. However, in the arid and semi-arid Rocky Mountains, water is an extremely valuable
   commodity for increasing human populations, and the impacts from past management activities have
   either depleted water or influenced the form and function of streams and riparian areas (Wohl, 2001). The
   density of permanent stream networks is a “tool” that we can measure remotely that may identify needs to
   evaluate these systems at a finer scale. Fine scale influences, such as human caused fragmentation,
   habitat reduction, increased fire, vegetation removal and pollutants as well as predicted influences from a
   changing climate indicate that identifying the largest “patch size” for restoration and maintenance of
   aquatic, wetland and riparian ecosystems and taxa may be a consideration for management (Isaak, et al.
   2012).
   The purpose of this analysis was to identify the densities of permanent stream channels in the study area,
   assisting managers identify priorities and develop plans for restoration and protection as well as provide
   high value recreational fishing opportunities. Abundant riparian and wetland ecosystems would also be
   expected to persist in these areas, with increased plant and animal biodiversity more abundant and
   potentially more stable.
   Results of this analysis are provided in Figure 16. There are 23 subwatersheds within the Rio Grande
   National Forest that are in the highest quantile for stream density, ranging from 0.3 to 0.2 miles of stream
   per acre for the 10 highest density subwatersheds. There appears to be a high correlation between
   elevation and these high density subwatersheds that is not surprising given that precipitation generally
   increases, and temperature decreases with elevation in the Rocky Mountains. Based on these results, the
   San Juan and Weminuche Wilderness areas may be “strongholds” for native taxa in the future. In
   addition, these subwatersheds are less “actively” managed and could continue to provide colder and less
   impacted water to lower elevations, especially if the effects of climate change will increase water
   temperatures at lower elevations. Stream size is also generally considered a good predictor of potential
   habitat and population size of aquatic species in the Rocky Mountains. There are several subwatersheds
   that exhibit relatively stream density (quantile 2-3) that would also be expected to have somewhat higher
   stream temperatures, and increased stream and riparian habitat complexity. Maximizing recreational
   fishing opportunities for non-native sport fish may be important in these areas where the public can easily
   access them, which benefits the local economy as well.




                          Rio Grande National Forest - 37 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000261
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 262 of 406

                                                  Appendix 2 to Assessments 1 and 3:
                                               Aquatic and Semi-aquatic Ecological Drivers




                                                      RHSBBHE: WURU
                               1.   W wMlifl Cwl                   &
       uoiOHiDULa     +■7 Cred-teJ htotritiln Creek
       fSOlLOJJQM?!     KtMdwAUa MrEFlO^dt            S.il7iSM74   5
       kJOToiawKa              WrfCfn*                             &
       TJcnCiiiiDcm       iXdkrf Hrvri                aiunws       &
                        HBKhtriAEn £«« CkcI.                       &
       ULiiooa]c»£           FWvOAk                   Di^ljU6a71   5
       IMILWCIUWJ             Cn«lj-(i44Ut ej«l                    5
                                                       n.iapwSi    &
                                                      D.lW»37a     &




   Figure 16. Stream Density results (miles of permanent stream/ acre/6th level HUC) for the Rio Grande
   National Forest and surrounding landscape. Most of the highest density subwatersheds are located on the
   northern and western portion of the basin at high elevations.




   Management Considerations
   Stratifying the study area by stream density presents several important management considerations and
   options. First, areas with high density and quality could be considered the highest priority for stream and


                              Rio Grande National Forest - 38 - Forestwide Planning Assessment
                                                                                             Rvsd Plan - 00000262
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 263 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   riparian related management. The relatively high number of these subwatersheds in the western portion
   of the national forest may be more productive, due to the potential for volcanic soils releasing important
   micro nutrients. However, in the Sangre de Cristo mountain range, the presence of calcareous geology
   may provide very high habitat conditions as well, given lower stream densities. Special consideration of
   subwatersheds located in the Sangre’s where stream density and productivity is high could be very
   important for restoration consideration. The highest density subwatersheds identified in Wilderness
   designated landscapes could be considered as being important “strongholds” for aquatic, riparian and
   wetland species if water temperatures and associated influences, such as modified hydrology and invasive
   species establishment occur at lower elevations. They could also be considered for the reestablishment of
   native Rio Grande cutthroat trout that may be at risk from climate change at lower elevations in the
   future.




                         Rio Grande National Forest - 39 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000263
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 264 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers



   Wetlands in Glaciated Areas of the Rio Grande
   National Forest: Supplemental Information for Forest
   Planning
                                                  Joe Gurrieri, Dave Winters, Dennis Cleary, Thomas Tenyah


   Introduction
   The Rio Grande National Forest (RGNF) contains thousands of acres of high quality wetlands and other
   groundwater dependent ecosystems that provide essential services to the Forest and lands downstream. A
   disproportionately large number of wetlands occur in the glaciated areas of the forest. Understanding of
   wetland occurrence in relation to the geomorphology of the forest can help guide forest planning and
   management decisions pertaining to aquatic ecosystem sustainability, restoration, and climate change
   resilience (FSM 2881, FSH 1909.12 - Chapters 10, 20, and 30). For detailed information on incorporating
   groundwater dependent ecosystems into forest planning see Forest Service, National Groundwater
   Program, and Working Guide: Evaluating Groundwater Resources for Forest Planning, Release 1 -
   October 20 2015.

   Geomorphology and Wetland Development
   The most significant natural force in wetland creation in the northern hemisphere has been glaciation
   (Hammer 1996) and glaciation was a major factor in creating the wide variety of wetland habitats in the
   Rocky Mountains (McKinstry et al. 2010). Mountain valleys in the Southern Rocky Mountains are
   relatively young topographical forms created by the erosional and depositional effects of streams and
   glaciers (Windell et al. 1986). Glaciation has had a large influence on landforms at high elevations
   through large-scale erosional and depositional processes and has a large influence on the presence and
   distribution of wetlands (Rocchio 2006). Glacial features such as moraines and kettle ponds often result in
   a landscape conducive for fen formation. Terminal or lateral moraines often create a confined basin where
   impounded subsurface and/or surface water allow for peat accumulation (Windell et al. 1996; Cooper
   1990; and Cooper 2005) whereas kettle ponds promote fen formation along the fringes. In addition,
   glaciation has created wide, relatively level mountain valleys where large wetland complexes tend to form
   (Rocchio 2006). Fens often form in these valleys due to the presence of permeable unconsolidated
   aquifers and springs supplied by snowmelt from adjacent hillsides (Cooper 1990).
   High mountain wetlands in glaciated areas are fundamentally different than wetlands occurring at lower
   elevations that were never glaciated (Cooper and Lee 1987). Glacial moraines deposited during the
   Pleistocene have modified surface runoff and groundwater storage, roughening the topography and
   impeding drainage. Wetlands within the zone of glaciation have cold soils, often accumulate peat, and are
   greatly influenced by snowmelt water in early summer (Cooper 1990). Wetlands often form in the
   depressions in such landscapes if the water table is close to land surface. Most of the depressions do not
   have streams entering or leaving them; therefore, streamflow generally is not a major source of water to
   the wetlands. Wetlands in these areas receive their water supply from precipitation and groundwater
   discharge.
   Many types of wetlands occur in the Rocky Mountains with palustrine emergent wetlands being an
   ecologically important type. Some palustrine emergent wetlands are classified as fens. Fens in Colorado
   belong to the Rocky Mountain Subalpine-Montane Fen Ecological System (Nature serve,
   http://explorer.natureserve.org/servlet/NatureServe?searchSystemUid=ELEMENT_GLOBAL.2.722842 ).
   Fens are confined to specific environments defined by groundwater discharge, soil chemistry, and peat



                         Rio Grande National Forest - 40 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000264
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 265 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   accumulation of at least 40 cm. Most fens in the Rocky Mountains are considered Intermediate to rich
   fens, however this system includes extreme rich and iron fens, both being quite rare (Rocchio 2006). Fens
   form at low points in the landscape or near slopes where groundwater intercepts the soil surface.
   Groundwater inflows maintain a fairly constant water level year-round, with water at or near the surface
   most of the time. Constant high water levels lead to accumulation of organic material. In addition to peat
   accumulation and perennially saturated soils, the extreme rich and iron fens have distinct soil and water
   chemistry, with high levels of one or more minerals such as calcium, magnesium, or iron (Rocchio 2006).
   Rich and extremely rich fens are found in areas underlain by limestone. Water chemistry ranges from
   neutral to alkaline and is usually distinctly calcareous. Marl deposits (precipitated calcium carbonates) are
   common in these systems. Tufa deposits or terraces can be seen in some rich fens and are composed of
   virtually pure calcium carbonate at the soil surface, formed by continuous discharge and evaporation of
   calcite saturated groundwater. Calcareous rock units on the RGNF are confined to the Sangre de Christo
   Range (Figure 13). Volcanic rocks in the western part of the forest are not typically considered calcareous
   however pH values can be alkaline. The median pH values for groundwater wells sampled by the USGS
   in Park County, Colorado were 7.6 standard units for the volcanic-rock aquifers and the predominant
   cation and anion were calcium and bicarbonate (Ortiz 2004). It may be possible for groundwater of this
   chemistry to produce rich fens and diverse spring habitats. Rich fens and other diverse springs can also
   be found on glacial sediments derived from calcareous bedrock and moved downslope.
   Digitized NWI mapping by Lemly (2012) provides an estimate of 38,174 acres of wetlands and 4,687
   acres of lakes, rivers, and streams on the RGNF. This estimate represents approximately 2% of the land
   area within the Forest, a proportion that is similar to coarse estimates calculated for the entire state of
   Colorado (Dahl 1990). An independent analysis using NWI mapping was conducted by the Region 2
   staff. Our analysis shows that 50% of palustrine wetlands within the forest boundary are in glaciated
   zones, yet glaciated zones comprise only 30% of the RGNF (Figure 17). These results show a
   disproportionate amount of wetlands in glaciated areas. These areas are extremely important for their
   biodiversity as well as functioning as natural “reservoirs”, which release water slowly to downstream
   reaches.
   Climatic variables influence hydrological processes, so any change in precipitation, evapotranspiration,
   snow accumulation and snow melt will influence recharge to groundwater systems. Future climate change
   will affect recharge rates and, in turn, groundwater levels and the amount of groundwater available to
   support springs and wetlands (Ludwig and Moench 2009). Land use changes can also alter watershed
   conditions and generate responses in biological communities and processes. Land use changes may even
   override hydrologic modifications caused by large-scale climate shifts.
   Lemly reports that 65% of all NWI mapped acres occur in the subalpine ecoregions, and another 29% of
   NWI acres occur in the alpine zone. These ecoregions also correspond to the areas that have been
   glaciated. Lower elevation zones represent very few wetland acres.




                          Rio Grande National Forest - 41 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000265
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 266 of 406

                                             Appendix 2 to Assessments 1 and 3:
                                          Aquatic and Semi-aquatic Ecological Drivers




                                 Map of Rio Grande National Forest Showing
                                  Wetland Locations Within Glaciated and
                                             Nongiaciated Areas




               Historical Glacier Areas
         I   ! Rio Grande nF Administrative Boundary




   Figure 17. Distribution of wetlands in comparison to the extent of glaciation on the Rio Grande landscape. A
   total of 50% of the current wetlands on the Rio Grande National Forest are located within Glaciated areas.




                           Rio Grande National Forest - 42 - Forestwide Planning Assessment
                                                                                        Rvsd Plan - 00000266
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 267 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   In the western United States, winter and spring air temperatures have increased (Folland et al. 2001), the
   onset of snowmelt is earlier, and the snow water equivalent of snowpack has decreased. These and other
   indicators are especially important for groundwater dependent ecosystems, and have implications for
   groundwater recharge, which maintains springs, wetlands, soil moisture, and stream baseflows. In
   mountainous terrain, snowpack is the main source of groundwater recharge (Winograd et al. 1998).
   Higher minimum temperature can reduce the longevity of the snowpack, and decrease the length of time
   aquifer recharge can occur in various lithology’s, potentially leading to faster runoff and less groundwater
   recharge. Decreased groundwater recharge can negatively affect aquatic biota and reduce wetland habitat.
   Unfortunately, the lack of comprehensive data on groundwater-surface water interactions precludes
   modeling efforts to determine current groundwater resources and predict changes due to climate (Drexler
   et al. 2013).
   The hydrogeologic setting is important to consider when assessing the climate induced changes to
   groundwater systems. Geologic units will respond differently to changes in precipitation due to their
   hydrogeologic properties (hydraulic conductivity, primary vs secondary porosity, fractures vs porous
   media, etc.). On the RGNF several different hydrogeologic settings can be delineated
   (igneous/metamorphic, volcanic aquifers, and unconsolidated glacial/alluvial aquifers).
   The properties of aquifers are essential to consider; small, shallow unconfined aquifers respond more
   rapidly to climate change, whereas larger and confined systems have a slower response. Alpine glacial
   deposits generally support small, unconfined and shallow aquifers. These are more likely to have
   renewable groundwater on shorter time scales and will be particularly sensitive to changes in climate
   (Winter 1999; Sophocleous 2002).
   The recharge characteristics of different hydrogeologic settings also influence vulnerability to climate
   change. For example, igneous and metamorphic rocks that exhibit low permeability and porosity, low
   volume groundwater discharges to groundwater dependent ecosystems, and are recharged only during
   large infrequent precipitation or snowmelt events, may be less influenced by climate change than
   unconsolidated or basalt aquifers that have high permeability and porosity, larger volume discharges to
   groundwater dependent ecosystems, and are recharged more frequently.
   The effects of climate change on groundwater dependent ecosystems will differ as a function of local
   geology and specific climatic variables. In a study that combined examination of aerial photography
   (over 50-80 years) and climate analysis, Drexler et al. (2013) showed that five fens in the Sierra Nevada
   (California) decreased 10 to 16 percent in area. This decrease in area occurred over decades with
   increased annual mean minimum air temperature and decreased snow water equivalent and snowpack
   longevity. However, two fens in the southern Cascade Range, underlain by different geology than the
   Sierra Nevada, did not change in area. The volcanic lithology’s of the Cascade sites, with high
   groundwater storage capacity, likely affected recharge of groundwater.
   Changes to groundwater levels can alter the interaction between groundwater and surface water (Hanson
   et al. 2012). Groundwater storage acts as a moderator of surface water response (Maxwell and Kollet
   2008). Climate-induced changes in groundwater/surface water interactions will directly affect stream
   baseflows and associated springs and wetlands (Earman and Dettinger 2011; Klnve et al. 2012; Candela et
   al. 2012; Tujchneider et al. 2012). Changes in groundwater can change wetland water balances, leading to
   lowered water level and reduced groundwater inflow. For terrestrial and riparian vegetation, a shift in
   location, as well as in species composition, can occur.
   A reduction in average groundwater level tends to promote soil aeration and organic matter oxidation. The
   generation and maintenance of peat soils over time depend on stable hydrological conditions, and in
   recent studies of peatlands exposed to groundwater lowering, soil cracking, peat subsidence and



                         Rio Grande National Forest - 43 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000267
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 268 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers


   secondary changes in water flow and storage patterns have been observed (Kv^rner and Snilsberg 2008,
   2011).
   Freshwater springs are dependent on a continuous discharge of groundwater and form subsurface-surface
   water and aquatic-terrestrial ecotones, which are important components of aquatic biodiversity (Ward and
   Tockner 2001). Springs and spring brooks are physically stable environments that support stable
   biological communities (Barquin and Death 2006). Biota with low dispersal abilities and long generation
   times are more common in permanently flowing springs, whereas biota with strong dispersal ability will
   be favored in non-permanent habitats (e.g. Erman and Erman, 1995; Smith and Wood, 2002). Climate
   change induced modifications of recharge may have a profound impact on spring communities. Such
   changes may be reflected in decreased summertime flows with possible drying, but also increased winter
   flow and associated flooding that can affect biological communities (Green et al. 2011).

   Management Considerations
   Management of aquatic systems begins with inventory of the types and condition of existing resources.
   The Forest Service has published several guides to inventory of aquatic systems including the
   Groundwater Dependent Ecosystem Inventory Field Guides (USDA Forest Service 2012). These field
   guides provide protocols for inventorying palustrine wetlands and springs.
   Land uses surrounding palustrine wetlands and springs can potentially alter the hydrology and nutrient
   inputs of these systems, thus changing their underlying processes. Draining, water developments, heavy
   cattle use, ORV use and irrigation practices can alter hydrology and result in the loss of species diversity.
   Increased land use within 100 meters has been found to be correlated with increased nutrient levels in
   peatlands, suggesting that setbacks should be 100 meters or more for adequate protection (Jones 2003).
   Heavy cattle use in palustrine systems can alter the hydrology by damaging soils. Soil compaction and
   pugging within the peat layer will change surface water flow. Heavy cattle use can also alter the
   successional processes within the sedge- dominated area of a fen. Cattle hoof action can lead to pugging
   and hummocking, creating microsites where shrubs can become established, changing the sedge-
   dominated meadow to Carr shrubland.




                          Rio Grande National Forest - 44 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000268
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 269 of 406

                                      Appendix 2 to Assessments 1 and 3:
                                   Aquatic and Semi-aquatic Ecological Drivers



   Projected Future Change in Mean Annual Flow for
   Streams within the Rio Grande National Forest and
   surrounding ecosystem: Focus on Climate Change
                                                                       Amarina Wuenschel and David Winters
                                                                                      USDA Forest Service
                                                                                   Rocky Mountain Region


   Current climate change efforts have predicted future changes in influence streamflow through altered
   temperatures, precipitation patterns and frequency of catastrophic weather events and this will in turn
   impact physical processes and organisms not only within these streams but throughout the ecosystems
   these streams feed (Reiman and Isaak, 2010). Fish and other aquatic organisms are likely to be most
   directly and dramatically affected by changing hydrologic flows, particularly those species adapted to
   specific flow regimes (Wenger et al. 2010). To estimate future change in flow metrics for the Rio Grande
   National Forest, we used modeled mean annual flow metric data (Wenger et al. 2010) which predict flows
   in 2040 and 2080 (Figure 18 and Figure 19). By predicting where flows will change most dramatically
   across the Rio Grande National Forest due to climate change, the Forest can identify potential areas to
   focus management efforts on.




                         Rio Grande National Forest - 45 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000269
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 270 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 18. Percent difference in historic mean annual flows relative to flows projected for 2040 on the Rio
   Grande National Forest. The southern Sangre de Cristo mountain range and streams at the lower elevations
   are predicted to have the largest change under unregulated conditions.




                          Rio Grande National Forest - 46 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000270
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 271 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers




   Figure 19. Percent difference in historic mean annual flows relative to flows projected for 2080 on the Rio
   Grande National Forest. Mean annual discharge will decline for all; most streams are expected to be reduced
   by more than 5% in 2080.

   The most dramatic reduction in projected flows is forecasted for the Sangre de Cristo Mountains (Figure
   18, Figure 19, and Figure 20) and the portions of the Forest adjacent to the San Luis Valley (Figure 18 and
   Figure 19). These patterns are consistent between the 2040 and 2080 projections with relatively greater
   decrease estimated for 2080. At the extreme of the predictions, we estimate as much as a 20% decline in
   flow levels for some streams in 2040 and as much as a 30% decrease by 2080. Conversely, increases in
   flows are forecasted for the Cochetopa Hills in 2040 and 2080 (Figure 18, Figure 19, and Figure 21) but
   with flows on some streams predicted to be declining by 2080. The central portion (moving from south to
   north) of the Rio Grande National Forest is expected to experience more variability and relative larger
   declines in mean annual flows (Figure 21). Lower elevation streams are expected to have more variability
   in discharge and larger declines in flows relative to historic levels (Figure 22), and more pronounced
   reductions and variability in flows expected in 2080 than 2040. Relative to original, historic flow levels,
   we expect larger relative declines and more variability in streams with lower overall flows (Figure 23).




                         Rio Grande National Forest - 47 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000271
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 272 of 406

                                               Appendix 2 to Assessments 1 and 3:
                                            Aquatic and Semi-aquatic Ecological Drivers




                       alXHB                      SilKMO                       .mr.n!!.!          .
                                                           LFTM   EasSng (m)

   Figure 20. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from west to east
   (top) across the Rio Grande National Forest. The relatively high percentage change in the east boundary can
   be explained by the influence of the Sangre de Cristo mountain range where mean annual flows are expected
   to be reduced as much as 30% in some years by 2080.

    u




    !*

    □


    LL

            iiuOiMll              Jlidfr;
                                                       UTM HcrtrurVj (in)


   Figure 21. Changes in predicted difference in mean annual flow (for 2040 and 2080) shown from south to
   north (bottom) across the Rio Grande National Forest. The estimated increase in mean annual flows in the
   north (bottom) can be explained by the high elevation Continental Divide.




                               Rio Grande National Forest - 48 - Forestwide Planning Assessment
                                                                                           Rvsd Plan - 00000272
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 273 of 406

                                        Appendix 2 to Assessments 1 and 3:
                                     Aquatic and Semi-aquatic Ecological Drivers




                         J&PD                    r'ML'                                          UflD
                                                         (mJ

   Figure 22. Percent difference in mean annual flows in 2040 and 2080 relative to elevation of stream reach
   midpoint.




   Figure 23. Percent difference in mean annual flows in 2040 and 2080 relative to historic flow levels on the Rio
   Grande National Forest.


   Conclusions
   The influence of long-term stream flow modification from climate change research are limited (Reiman
   and Isaak, 2010). However, available information indicates that lower elevation streams and those with
   limited base flows should be management priorities as they will most likely be influenced in the future.
   The analysis we conducted showed that discharge could be significantly reduced, variability could be
   much higher, and declines in fish and other aquatic biota on the Rio Grande National Forest would be
   expected if these conditions occurred (Wenger, et al., 2011). To mitigate the impacts of projected
   reductions in flows, management could focus on maintaining stream structure and surrounding vegetation
   within their perceived natural range of variation particularly at streams, wetlands and riparian areas
   thought to be more vulnerable to climate change (Dawson, 2011). Keystone species such as beaver that


                          Rio Grande National Forest - 49 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000273
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 274 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   act to restore streams to more natural flow rates and water table levels could be managed to maintain
   stream function and store water naturally on the landscape. Activities that have/are influencing the natural
   hydrology, physico/chemical parameters and habitat of these water dependent ecosystems (see in large
   part Meehan, 1991) could be a focus of discussion when project NEPA is being conducted. While it is
   important to understand that there is variability in this modelling effort, monitoring data on stream flow
   rates and temperatures should be collected and reviewed periodically where on the Rio Grande National
   Forest streams and their associated ecosystems are threatened by climate change.




                          Rio Grande National Forest - 50 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000274
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 275 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers



   References Cited
   Barquin, J., Death, R.G., 2006. Spatial patterns of diversity in New Zealand springs and rhithral streams.
          J. North Am. Benthol. Soc. 25, 768-786.
   Batagelj, V., 1988. Generalized Ward and related clustering problems,
   In. H.H. Bock, ed., Classification and Related Methods of Data Analysis,
   North-Holland, pp. 67-74
   Bjorn, T.C. and D.W. Reiser. 1991. Habitat requirements of salmonids in streams.
   IN. Meehan, W. Ed. Influences of Forest and Rangeland Management on salmonid fishes and stream
          habitat. Amer. Fish. Soc. Special Publication 19:83-138
   Candela, L., von Igel, W., Elorza, F.J., Jimenez-Martinez, J., 2012. Impact assessment of combined
          climate and management scenarios on groundwater resources, pp. 191-204. In: Treidel, H.,
          Martin-Bordes, J.J., Gurdak, J.J. (Eds.), Climate Change Effects on Groundwater Resources: A
          Global Synthesis of Findings and Recommendations. International Association of
          Hydrogeologists (IAH) - International Contributions to Hydrogeology, Taylor & Francis
          Publishing, 414p.
   Chadde, S.W., J.S. Shelly, R.J. Bursick, R.K. Moseley, A.G. Evenden, M. Mantas, F. Rabe, B. Heidel.
          1998. Peatlands on National Forests of the Northern Rocky Mountains: Ecology and
          Conservation. Gen. Tech. Rep. RMRS-GTR-11. Ogden, UT: U.S. Department of Agriculture,
          Forest Service, Rocky Mountain Research Station. 75 p.
   Cooper, D.J. 1986. Community structure and classification of Rocky Mountain wetland ecosystems. In:
          An ecological characterization of Rocky Mountain montane and subalpine wetlands. Edited by:
           J.T. Windell et al. U.S.D.I. Fish and Wildlife Service, Biological Report 86(11). Washington, DC.
   Cooper, D. J., and L. C. Lee. 1987. Rocky Mountain wetlands: ecosystems in transition. National
           Wetlands Newsletter 9(3): 2-6.
   Cooper, D.J. 1990. Ecology of Wetlands in Big Meadows, Rocky Mountain National Park, Colorado. U.S.
          Fish and Wildlife Service, Biological Report 90(15).
   Cooper, D.J. and R. Andrus. 1995. Peatlands of the west-central Wind River Range, Wyoming:
          Vegetation, flora and water chemistry. Canadian Journal of Botany 72:1586-1597.
   Cooper, D.J. 2005. Analysis of the Strawberry Lake fen complex, Arapaho National Forest, Colorado.
          Unpublished Report prepared for the U.S. Forest Service, Fort Collins, CO. Dept. of Forest,
           Rangeland, and Watershed Stewardship, Colorado State University, Fort Collins, CO.
   Cooper, D.J and.D. M. Merritt. 2012. Assessing the Water Needs of Riparian and Wetland Vegetation in
          the Western United States. General Technical Report. RMRS_GTR_282. Fort Collins, Colorado
           125 p.
   Dahl, T. E., 1990. Wetlands losses in the United States 1780s to 1980s. U.S. Fish and Wildlife Service,
           Washington DC.
   Dethier, D.P. 2001. Pleistocene incision rates in the western United States calibrated using Lava Creek B
           tephra. Geology 29, p. 783-786.



                         Rio Grande National Forest - 51 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000275
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 276 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Drexler, J.A., Knifong, D.; Tuil, J. [et al.]. 2013. Fens as whole-ecosystem gauges of groundwater
           recharge under climate change. Journal of Hydrology. 481: 22-34.
   Earman, S., Dettinger, M., 2011. Potential impacts of climate change on groundwater resources - a global
          review. J. Water Clim. Change 2 (4), 213-229.
   Erman, N.A., Erman, D.C., 1995. Spring permanence, Trichoptera species richness, and the role of
          drought. J. Kansas Entomol. Soc. 68 (2), 50-64.
   Folland, C.K., Rayner, N.A.; Brown, S.J. [et al.]. 2001. Global temperature change and its uncertainties
           since 1861. Geophysical Research Letters. 28: 2621-2624.
   Green, T.R., Taniguchi, M., Kooi, H., Gurdak, J.J., Allen, D.M., Hiscock, K.M., Treidel, H., Aureli, A.,
           2011. Beneath the surface: impacts of climate change on groundwater. J. Hydrol. 405, 532-560.
   Hammer D. A., 1996, Creating Freshwater Wetlands, Second Edition, CRC Press, Technology &
        Engineering, 448 pp.
   Hanson, R.T., Flint, L.E., Flint, A.L., Dettinger, M.D., Faunt, C.C., Cayan, D., Schmid, W., 2012. A
          method for physically based model analysis of conjunctive use in response to potential climate
          changes. Water Resour. Res. 48, W00L08.
   Hynes, H.B.N. 1970. The Ecology of Running Waters. University of Toronto Press, Toronto, ON.
   Isaak, D.J., C.C. Muhlfield, A.S. Todd, R. Al-Chohachy, J.J. Roberts, J.L. Kerschner, K.D. Fausch, S.W.
           Hostetler. 2012. The past as a prelude to the future for understanding 21st century climate effects
           on Rocky Mountain Trout. Fisheries 37:542-556.
   Jones, W.M. 2003. Kootenai National Forest Peatlands: Description and Effects of Forest Management.
           Unpublished report prepared for the Kootenai National Forest. Montana Natural Heritage
           Program, Natural Resources Information System, Montana State Library, Helena, MT.
   Kl0ve, B., Ala-aho, P., Okkonen, J., Rossi, P. 2012. Possible Effects of Climate Change on
          Hydrogeological Systems: Results From Research on Esker Aquifers in Northern Finland, pp.
           305-322. In: Treidel, H., Martin-Bordes, J.J., Gurdak, J.J., (Eds.), Climate Change Effects on
           Groundwater Resources: A Global Synthesis of Findings and Recommendations. International
          Association of Hydrogeologists (IAH) - International Contributions to Hydrogeology. Taylor &
          Francis Publishing, 414pp.
   Kv^rner, J., Snilsberg, P., 2008. Romeriksporten railway tunnel—drainage effects on peatlands in the
          Lake Northern Puttjern area. Eng. Geol. 101, 75-88.
   Kv^rner, J., Snilsberg, P., 2011. Groundwater hydrology of boreal peatlands above a bedrock tunnel -
          drainage impacts and surface water groundwater interactions. J. Hydrol. 403, 278-291.
   Lemly, Joanna, 2012, Assessment of Wetland Condition on the Rio Grande National Forest Colorado
           Natural Heritage Program, Warner College of Natural Resources, Colorado State University.
   Ludwig, F., Moench, M., 2009. The impacts of climate change on water. In: Ludwig, F., Kabat, P., Schaik,
          H.V., van der Valk, M. (Eds.), Climate Change Adaptation in the Water Sector. Earthscan
          Publishing, London, pp. 35-50.
   Maxwell, J.R., C.J. Edwards, M.E. Jensen, S.J. Paustian, H. Parrot, and D. M. Hill. 1995. A hierarchical
         framework of aquatic ecological units in North America (nearctic zone). Gen. Tech. Rep. NC-
          176. St. Paul, MN, USDA, Forest Service, North Central Forest Experiment Station.



                         Rio Grande National Forest - 52 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000276
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 277 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   Maxwell, R.M., Kollet, S.J., 2008. Interdependence of groundwater dynamics and land-energy feedbacks
         under climate change. Nature Geoscience 1, 665-669.
   Meehan, W. 1991. Influences of Forest and Rangeland Management on Salmonid Fishes and their
         Habitats. American Fisheries Society. Publication 19. Evans City, Pennsylvania.
   Montgomery, D.R. and J.M. Buffington. 1997. Channel reach morphology in mountain drainage basins.
         Geology Society of America Bulletin 109:596-611.
   McKinstry, M.C., Hubert, W. A., Anderson, S.H., 2010, Wetland and Riparian Areas of the Intermountain
         West: Ecology and Management, University of Texas Press.
   Montgomery, D.R. and J.M. Buffington. 1997. Channel reach morphology in mountain drainage basins.
         Geology Society of America Bulletin 109:596-611.
   Ortiz, R.F., 2004, Ground-Water Quality of Granitic- and Volcanic-Rock Aquifers in Southeastern Park
           County, Colorado, July-August 2003. U.S. Geological Survey, Fact Sheet 2004-3066.
   Poff, N.L. 1997. Landscape filters and species traits: Towards mechanistic understanding and prediction
           in stream ecology. Journal North American Benthological Society 16:391-408.
   Poff, N.L. and J.V. Ward. 1990. Physical habitat template of lotic systems: Recovery in the context of
           historical pattern of spatiotemporal heterogeneity. Environmental Management 14:629-645.
   Pyne, M.I., R.B. Rader, and W.F. Christensen. 2007. Predicting local biological characteristics in streams:
          a comparison of landscape classifications. Freshwater Biology 52(7):1302-1321.
   Rahel, F.J., 2010. Homogenization, Differentiation, and the Widespread
   Alteration of Fish Faunas. American Fisheries Society Symposium 73:311-326, 2010
   Reiman, Bruce E.; Isaak, Daniel J. 2010. Climate change, aquatic ecosystems, and fishes in the Rocky
          Mountain West: implications and alternatives for management. Gen. Tech. Rep. RMRS-GTR-
          250. Fort Collins, CO: U.S. Department of Agriculture, Forest Service, Rocky Mountain Research
          Station. 46 p.
   Rocchio, J., 2006, Rocky Mountain Subalpine-Montane Fen Ecological System, Ecological Integrity
          Assessment, Colorado Natural Heritage Program.
   Sable, K.A. and E.E. Wohl. 2006. The Relationship of lithology and watershed characteristics to fine
           sediment deposition in streams of the Oregon Coast Range. Environmental Management
           37(5):659-670.
   Sjors, H. 1950. Regional studies on North Swedish mire vegetation. Bot. Not. Hafte 2:173-222.
   Smith, H., Wood, P.J., 2002. Flow permanence and macroinvertebrate community variability in limestone
           spring systems. Hydrobiologia 487, 45-58.
   Sophocleous, M., 2002. Interaction between groundwater and surface water: the state of the science.
          Hydrogeol. J. 10, 52-67.
   Tujchneider, O., Paris, M., Perez, M., D’Elia, M., 2012. Possible Effects of Climate Change on
          Groundwater Resources in the Central Region of Santa Fe Province, Argentina, pp. 265-280. In:
          Treidel, H., Martin-Bordes, J.J., Gurdak, J.J. (Eds.),




                         Rio Grande National Forest - 53 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000277
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 278 of 406

                                       Appendix 2 to Assessments 1 and 3:
                                    Aquatic and Semi-aquatic Ecological Drivers


   USDA Forest Service. 2012. Groundwater-dependent ecosystems: level I and II inventory field guides.
         Gen. Tech. Rep. WO-86a and b. Washington, DC: U.S. Department of Agriculture, Forest
         Service. http://www.fs.fed.us/geology/groundwater.html. (15 September 2014).
   Ward, J.V., Tockner, K., 2001. Biodiversity: towards a unifying theme for river ecology. Freshw. Biol. 46,
           807-819.
   Ward, J.H. 1963. Hierarchical grouping to optimize an objective function. Journal of the American
           Statistical Association 58:236-244.
   Windell, J.T., B.E. Willard, and S.Q. Foster. 1986. Introduction to Rocky Mountain wetlands. Pages 1-41
           in J.T. Windell, B.E. Willard, D.J. Cooper, S.Q. Foster, C.F. Knud-Hansen, L.P. Rink, and G.N.
           Kiladis, editors. An ecological characterization of Rocky Mountain montane and subalpine
          wetlands. U.S. Fish and Wildlife Service, Biological Report 86.
   Winter, T.C., 1999. Relation of streams, lakes, and wetlands to groundwater flow systems. Hydrogeol. J.
           7, 28-45.
   Winters, D.S., M. Welker, B.A. Bohn, D. Cooper, J. Hamerlinck, N. Lee, J. Maxwell, D. Peterson, D.
           Plume, N.L. Poff, C. Quimby, F.J. Rahel, D.M. Staley, and E.E. Wohl. 2003. Aquatic, Riparian
           and Wetland Ecosystem Assessment, Bighorn National Forest, Wyoming. Report for the Rocky
           Mountain Region of the USDA Forest Service.
   Winograd, I.J; Riggs, A.C.; Coplen, T.B. 1998. The relative contributions of summer and cool-season
          precipitation to groundwater recharge, Spring Mountains, Nevada. Hydrogeology Journal. 6: 77­
          93.
   Wohl, E. 2000. Mountain Rivers. American Geophysical Union Press, Washington, DC.
   Wohl, E. 2001. Virtual rivers: Lessons from the mountain rivers of the Colorado Front Range. Yale
          University, New Haven, CT.
   Wohl, E., D. Cooper, L. Poff, F. Rahel, D. Staley, and D. Winters. 2007. Assessment of stream ecosystem
          function and sensitivity in the Bighorn National Forest, Wyoming. Environmental Management
          40:284-302.




                         Rio Grande National Forest - 54 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000278
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 279 of 406


                                                                                                10/15/2015


                                           - - PROJECT SUMMERY -­

   Project Title: RIO GRANDE NATIONAL FOREST RIPARIAN INVENTORY

   Submitted by:
   Sinan Abood, ORISE Research Fellow
   Washington Office - WFWARP
   sinanayadabood@fs.fed.us
   202-205-0804

   Project Contributors:
   Vaughn Thacker, Forest Soil Scientist
   Rio Grande National Forest
   vjthacker@fs.fed.us
   719-852-6258

   Abstract:
            Riparian areas are dynamic, transitional ecotones between aquatic and terrestrial ecosystems
   with well-defined vegetation and soil characteristics. Riparian areas offer wildlife habitat, stream water
   quality, bank stability and protection against erosions. Riparian areas provide aesthetics and
   recreational value, and other numerous valuable ecosystem functions. Quantifying and delineating
   riparian areas is an essential step in riparian monitoring, riparian management/planning and policy
   decisions, and in preserving its valuable ecological functions. Previous approaches to riparian areas
   mapping have primarily utilized fixed width buffers. However, these methodologies only take the
   watercourse into consideration and ignore critical geomorphology, associated vegetation and soil
   characteristics. Other approaches utilize remote sensing technologies such as aerial photos
   interpretation or satellite imagery riparian vegetation classification. Such techniques requires expert
   knowledge, high spatial resolution data, and expensive when mapping riparian areas on a landscape
   scale. The goal of this study is to map the geographic extent and composition of riparian areas within
   the Rio Grande National Forest boundary utilizing the Riparian Buffer Delineation Model (RBDM) v3.0
   and open source geospatial data. This approach recognizes the dynamic and transitional natures of
   riparian areas by accounting for hydrologic, geomorphic and vegetation data as inputs into the
   delineation process and the results would suggests incorporating functional variable width riparian
   mapping within watershed management planning to improve protection and restoration of valuable
   riparian functionality and biodiversity.




        USDA Forest Service - WFWARP
                                                                                                         1
                                                                            Rvsd Plan - 00000279
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 280 of 406


                                                                                                10/15/2015


   Potential Objectives:
       -    Delineate variable width riparian areas extent and composition. Riparian composition would be
            according to the National Land Cover Database (www.mrlc.gov) land cover classification 2001,
            2006, and 2011 (see RBDM Defined Query).
       -    Delineate variable width riparian areas utilizing optional input data such as National Wetlands
            Inventory (NWI) and SSURGO database
       -    Prepare a detailed riparian inventory and maps, area in Hectares, number and type of wetlands,
            type of riparian soil, and riparian land cover for the years 2001, 2006, and 2011 (source: NLCD)
            and for the years 2010, 2011, 2012, 2013, 2014 (source: CDL).
       -    Perform riparian from to change index analysis between 2001 to 2011 & 2006-2011 and
            highlight the change in riparian composition classes within the delineated variable width
            riparian boundaries.



   Study Area:
         The Rio Grande National Forest total area is 783798.3ha figures 1. The study area overlaps with
   221 HUC-12 watersheds and 59 HUC-10 watersheds.




   Figure 1. Western Rio Grande National Forest administrative boundary (red).




           USDA Forest Service - WFWARP
                                                                                                        2
                                                                                 Rvsd Plan - 00000280
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 281 of 406


                                                                                              10/15/2015


   Methodology:
           The Riparian Buffer Delineation Model (RBDM) v3.0 will be used to delineate variable width
   riparian areas. RBDM is an ArcGIS toolbox developed by Abood et al. (2011) to map variable width
   riparian ecotones utilizing the 50 year-flood height value and open source available geospatial data.
   Table 1 illustrates the type and sources of the RBDM inputs.

   Table 1. RBDM inputs.
              Input Data                                        Sources

             Streams, Lakes, and    USGS National Hydrology Dataset (NHD)
             Watersheds             http://nhd.usgs.gov/

             50 year Flood Height   Calculated utilizing Masson (2007)

             Wetlands               National Wetlands Inventory (NWI)
                                    http://www.fws.gov/wetlands/Data/Data-Download.html
             Soil                   Natural Resources Conservation Service (NRCS)
                                    http://soildatamart.nrcs.usda.gov/
                                    or http://websoilsurvey.nrcs.usda.gov/app/HomePage.htm


              Elevation             National elevation Dataset http://ned.usgs.gov/
                                    GIS Data Depot http://data.geocomm.com/

              Land Cover            National Land Cover Database
                                    http://www.mrlc.gov/
                                    Corp land Data
                                    Layer http://www.nass.usda.gov/research/Cropland/SARS1a.htm




             *Also most of the data mentioned above can be downloaded
             at http://datagateway.nrcs.usda.gov/




        USDA Forest Service - WFWARP
                                                                                                    3
                                                                             Rvsd Plan - 00000281
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 282 of 406


                                                                                                  10/15/2015


   50-year flood height:
           The 50-year flood height is the optimal hydrological descriptor of riparian ecotones a long
   moving water courses as determined by Ilhardt et al. (2000). There are 10 operational gauges within the
   Rio Grande National Forest (Table 1 and Figure 2) Also 5 USGS gauges around the Rio Grande National
   Forest table 2.

   Table 1. Within Rio Grande National Forest.
   Gage                  50-year flood height, ft         50-year flood height, m   Status
   ALATERCO              1.36                             0.41
   CARLAGCO              0.63                             0.19
   CHECRECO              0.5                              0.15                                1
   COCRESCO              0.62                             0.19
   CONMOGCO              1.87                             0.57                      Maximum
   GARVILCO              0.47                             0.14
   GOOWAGCO              0.95                             0.29                                1
   KERVILCO              0.6                              0.18
   LAGLAGCO              0.8                              0.24                                1
   MAJVILCO              0.36                             0.10                      Minimum




   Figure 2. Gauges locations within the Rio Grande National Forest.




         USDA Forest Service - WFWARP
                                                                                                        4
                                                                                    Rvsd Plan - 00000282
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 283 of 406


                                                                                       10/15/2015

   Table 2. From USGS gauging stations.
   Gage         50-year flood height, ft   50-year flood height, m   Status
   09118450     1.65                       0.50                      Maximum
   09358000     1.46                       0.44
   09358550     0.78                       0.24                      Minimum   |
   09359010     1.21                       0.37
   09359020     1.35                       0.41


           50 year floodplain values in Table 1 were utilized as an input to the RBDM Modelv3.0 to
   delineate variable width riparian areas at two different extents minimum and maximum.




          USDA Forest Service - WFWARP
                                                                                              5
                                                                        Rvsd Plan - 00000283
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 284 of 406


                                                                                                  10/15/2015


   Project Flowchart:



    Downloading data ():
    doanloading data from www.datagateway.nrcs.usda.gov
    Status: Ready




            Data preparation ():
            -Calculating the 50-year flood height according to Mason 2007,
            Status: ready.
            - manually correcting streams in positional inacuracies within the
            project study area, Status: in process.
            - preparing file geodatabase for each watershed.




                    Z


                        Variable width riparian delineation ():
                    - Run the RBDM tool according to a defined query. see the next
                    section.




                              Riparian inventory ():
                              - prepare variable width riparian inventory and maps.
                              - field data collection for riparian area.
                              - riparian map accuracy if field data available.
                              - 2001 to 2011 & 2006 to 2011 land cover from to change index.
                              - road density within riparian areas.
                              - DEM spatial resolution assessment and its impact on riparian
                              delineation.




        USDA Forest Service - WFWARP
                                                                                                        6
                                                                                      Rvsd Plan - 00000284
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 285 of 406


                                                                                                10/15/2015


   RBDM Defined Query:
   This criterion will be applied for all watersheds on the Rio Grande National Forest.
       • Streams: the model will run on all streams FTypes within the project study area. FCode 33400,
            3360, 42000, 42003, 42800, 42807, 46000, and 46007 (highlighted in grey, total mileage
            4401.19) were removed from the streams network.
   FType          Description                            FCode        Type                       Miles
   334         Connector: a known but specific            33400   Feature type only no attributes       1.68
               invisible connection between two
               nonadjacent network segments
   336         CanalDitch:    an   artificial open        33600   Feature type only no attributes       29.82
               waterway constructed to transport
               water, to irrigate or drain land, to
               connect two or more bodies of water
               or to serve as a waterway for
               watercraft
                                                          33601   Canal ditch type-aqueduct             1.18
   420         A set of naturally occurring subsurface    42000   Feature type only no attributes       0.95
               drainage channels formed from the
               dissolution of soluble rocks in Karst
               terrain or in terrain similar to karst
               but formed in nonsoluble rocks, as by
               melting of permafrost or ground ice,
               collapse after mining, and by outflow
               of liquid lava from beneath its
               solidified crust. Not a named feature.
                                                          42003   Positional accuracy | approximate     0.02
   428         A close conduit, with pumps, valves        42800   Feature type only no attributes       0.01
               and control devices, for conveying
               fluids, gases, or fluids divided solids.
                                                          42807   Product-water; pipeline type­         1.7
                                                                  general case; relationship to
                                                                  surface-underwater
   460         A body of flowing water: intermittent,     46000   Feature type only no attributes       0.16
               perennial, and ephemeral
                                                          46003   Hydrographic       category       -   4841.35
                                                                  intermittent
                                                          46006   Hydrographic       category       -   1819.46
                                                                  perennial
                                                          46007   Hydrographic       category       -   4365.83
                                                                  ephemeral
   558         Artificial Path: a surrogate for general   55800   Feature type no attributes            248.97
               flow direction in NHDWaterbodies
               and NHDAreas




         USDA Forest Service - WFWARP
                                                                                                          7
                                                                          Rvsd Plan - 00000285
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 286 of 406


                                                                                                    10/15/2015


        •    Lake Buffer: this parameter will be set to 30 meter according to Ilhardt et al. 2000
             recommendations.
        •    Length of Transects Vector: this parameter will be set to 250 or 500 meter.
        •    DEM Dataset: this parameter will be set to 10 meter spatial resolution DEM.
        •    50-Year Flood Height: the model will run for the minimum and maximum 50 year flood heights
             in the western part. The model will run for the minimum and maximum respectively 50 year
             flood heights in the eastern part
        •    NWI Criteria: this parameter will be set to Freshwater Emergent wetland, Freshwater
             Forested/Shrub wetland, or Riverine.
        •    Digital Soil Criteria: this will be as follows;
   Soil Layer                                   Criteria
    Hydric Soil Rating Selection Criteria       More or equal to 80% Hydric
    Drainage Class Selection Criteria           Poorly drained, Somewhat poorly drained, or very poorly drained
  \ Hydrologic Soil Group Selection Criteria    Groups C, D, A/D, B/D, or C/D                                     |
   Flood Frequency                              Frequent or occasional
   The soil mapping unit (polygon) will be highlighted as a riparian soil when the four criteria above are
   fulfilled.
        •    Classified Raster Layer 1: NLCD land cover classes can be used to present riparian land cover at
             2001, 2006, and 2011 utilizing NLCD land cover attributes.
        •    Classified Raster Layer 2: CDL data can be used to present riparian land cover at 2010, 2011,
             2012, 2013, and 2014 utilizing CDL attributes aggregated in six new land cover classes;
                 1.   Crops
                 2.   Developed and Roads
                 3.   Barren Land
                 4.   Grass/Pasture
                 5.   Forests
                 6.   Shrubland
                 7.   Wetlands
                 8.   Open Water




            USDA Forest Service - WFWARP
                                                                                                             8
                                                                               Rvsd Plan - 00000286
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 287 of 406


                                                                                                            10/15/2015


                                                               Results

   Riparian Area:
           The results are categorized in two different criteria. Riparian_Minimum represents delineated
   variable width riparian areas utilizing national wetlands inventory, digital soil data (SSURGO), and
   minimum 50 year floodplain values (10 & 20cm). Riparian_Maximum represents delineated variable
   width riparian areas utilizing national wetlands inventory, digital soil data (SSURGO), and maximum 50
   year floodplain values (40 & 60cm).

   Riparian Areas                              Acres            % riparian areas Of Rio Grande NF
   Riparian_Minimum                            113,194.01       5.85
   Riparian_Maximum                            127,853.95       6.60


   Wetlands:
           According to the U.S. Fish and Wild Life Services National Wetlands Inventory (NWI) databse
   there are 48,450.0 acres of wetlands within the administrative boundary of the Rio Grande National
   Forest. 81-81.5% of existing wetlands are associated with delineated riparian areas. 30-34.85% of
   delineated riparian areas are wetlands. The major wetlands system within delineated riparian area is
   “Fresh Water Emergent Wetlands” at a 61% (Figure 3).

   Riparian Areas                              Acres of Wetlands            % of delineated riparian areas are wetlands
   Riparian_Minimum                            39,351.85                    30.85
   Riparian_Maximum                            39,446.77                    34.85




                                                       Wetlands

   Figure 3. wetlands type distribution within delineated riparian areas.


          Figure 4. Shows wetlands attribute distribution within delineated riparian areas according to
   Cowardin et al., 1979 classification. The dominant wetlands attributes are (PEMB, PSSB, and PEMC) at
   45.32%, 20.47%, and 12.05% respectively. 4.52% represents wetlands with less than 1% of the total
   wetlands attributes.




         USDA Forest Service - WFWARP
                                                                                                                   9
                                                                                        Rvsd Plan - 00000287
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 288 of 406


                                                                                                                                             10/15/2015


             50
                            45.32
             /I R   .


             /in    -


             ^R
             35     -


             ^n
             30     -


       OS    25
                                         20.47
             9n     -


             115
               R    -                                      12.05


             in


               5


               n
                    -




                    -
                                                     zt
                                                     zt
                                                                       ---- 7,64-----


                                                                                             ■
                                                                                             3.09             2 83        2 41
                                                                                                                                      -----1767-----
                                                                                                                                                        4.52


                            z             z            <z                                                 <Z                              a'^               o\o
                                                                                                                         0°^
                         z                                                                                                            Z"
                                    z
                                     z                 z               z                z                .z                                            vZ
            Z'                                                                     o'                             <»             c#
                                                 z                 z              z                              /
                                z                                                               Z                               z             ’Z’
                                                              z               z                                 z              Z            z*
                             z                                               z
                            z        z                  z                               z                  z
        z                                                                                                                 cF
                         z                             z                  z                               z              z
      z
                        z                                              Z'"                               z           .                z
                    o'              ■p           c                                      Z'           c
                                                   ’           «?                z
                                z              z"             Z"                                    z
                                                                                z
                                                             z                                 z
                                           Z                z                                 3^
                                                       z                                                  z
                                                                                                         3^




                                         •Z"

                                    z



   Figure 4. wetlands attributions distribution within delineated riparian areas.




            USDA Forest Service - WFWARP
                                                                                                                                                       10
                                                                                                                 Rvsd Plan - 00000288
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 289 of 406


                                                                                                 10/15/2015

   Soils:
          Riparian soil properties distribution according to the predefined soil criteria Hydric Rating,
   Drainage Class, hydrological Soil groups, and Flood Frequency within delineated riparian areas (Figure 5).




                                                                                            ■ Hydric Rating




                                               % Hydric




                                                                                           ■ Drainage Class




                                         Drainage Class type




        USDA Forest Service - WFWARP
                                                                                                      11
                                                                            Rvsd Plan - 00000289
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 290 of 406


                                                                                         10/15/2015




                                                                           ■ Hydrological Soil Group




                                          Hydrologic Soil Group type




                                                                                 ■ Flood Frequency




   Figure 5. Soils properties within delineated riparian areas.




          USDA Forest Service - WFWARP
                                                                                               12
                                                                       Rvsd Plan - 00000290
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 291 of 406


                                                                                                  10/15/2015

            The RBDM v3.0 identifies riparian soils according to Palik et al., 2004. Each map unit in the
   digital soil data (SSURGO) database will be considered riparian soils if it has a hydric, drainage class,
   hydrological soil group, and flood frequency property according to the defined soil criteria. There are
   23959.75 Acres of riparian soils which represents 18-21% of delineated riparian areas. 60% of the
   identified riparian soils belong to wetlands within delineated riparian areas the remaining 40% belongs
   to with riparian corridors.

   Land Cover:
             Due to the small difference 1% between the delineated riparian areas utilizing minimum and
   maximum 50 year floodplain values all the following calculations are based on delineated riparian areas
   utilizing minimum 50 year floodplain (Riparian_Minimum) as the base layer.
             Cropland Data Layer (CDL, http://www.nass.usda.gov/) was used to produce classified riparian
   land cover layers. This land cover database was developed to provide acreage estimates of major
   commodities throughout the United States and to produce digital crop specific, categorized and geo
   referenced annual land cover products. The CDL land cover classes were reclassified to (Crops (1),
   Developed (2), Barren Land (3), Grass/Pasture (4), Forest (5), Shrublands (6), Wetlands (7), and Open
   Water (8)) to produce a meaningful riparian areas land cover classification for the period between 2010­
   2014 (Figure 6).




   Figure 6. Delineated riparian areas land cover histogram distribution 2010-2014.




         USDA Forest Service - WFWARP
                                                                                                      13
                                                                                      Rvsd Plan - 00000291
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 292 of 406


                                                                                                          10/15/2015



   Change Analysis (application):
   Change analysis was performed on delineated riparian areas between 2010 (from) - 2011 (to). The
   change matrix has 8 classes and explains the interactions among riparian land cover classes from 2010
   to 2014.The matrix diagonal axis represents the unchanged acres/% for all 8 land cover classes from
   2010 to 2014. The (yellow) column represents the change in acres/% from 2010 different land cover
   classes to forests in 2014. For example 5,314 Acers (10.12%) of wetlands in 2010 changed to forests in
   2014 while 2,841 Acers (32.9) of forests changed to wetlands within the same period of time. The green
   highlighted box inside the forest column represents acers (or 84.99%) forests remained unchanged from
   2010 to2014. the highest unchanged riparian land cover classes found from 2010 to 2014 are
   "Grass/Pasture" and "Forests" 92% and 84.99% respectively. Figure 7 shows the change matrix spatial
   distribution within delineated riparian areas.


                                                                            TO 2014
                                         Developed &
                      Acres      Crops                 Barren Land   Grass/Pasture     Forests    Shrubland    Wetlands   open Water
                                            Roads

            Crops                98.52      1.56          0.00           76.28          26.69      152.56       24.02        0.00


            Developed & Roads    0.22      220.62         0.22          213.28          56.49       78.06       17.12        0.00


            Barren Land          0.00       0.22         422.33         132.77         127.88        1.11       71.17        2.22


    From    Grass/Pasture        12.90     131.21        195.93        42,367.39      1,146.00     1,218.28    1,226.95      3.56

    2010
            Forests              2.89       86.73         71.17        1,061.49       44,634.08    308.68      2,841.09      6.67


            Shrubland            5.78       67.16         5.12          905.37        1,180.69     2,646.27     563.10       8.23


            Wetlands             9.34       14.23         10.90        1,212.72       5,314.12     332.03      3,872.33      4.67


            Open Water           0.22       0.00          3.56           4.89           29.80        5.56       16.01        9.34




   Same above change matrix but with % representation instead of acres
                                                                            To 2014

                                         Developed &
                        %        Crops                 Barren Land   Grass/Pasture     Forests    Shrubland    Wetlands   open Water
                                            Roads

                      Crops      75.86       0.3           0             0.17           0.05        3.22         0.28         0


             Developed & Roads   0.17       42.28         0.03           0.46           0.11        1.65         0.2          0


                Barren Land        0        0.04          59.55          0.29           0.24        0.02         0.82        6.41


    From       Grass/Pasture     9.93       25.15         27.63          92.15          2.18        25.69       14.21       10.26

    2010
                      Forests    2.23       16.62         10.03          2.31           84.99       6.51        32.91       19.23


                    Shrubland    4.45       12.87         0.72           1.97           2.25        55.8         6.52       23.72


                    Wetlands     7.19       2.73          1.54           2.64           10.12         7         44.86       13.46


                Open Water       0.17         0            0.5           0.01           0.06        0.12         0.19       26.92




           USDA Forest Service - WFWARP
                                                                                                              14
                                                                                   Rvsd Plan - 00000292
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 293 of 406


                                                                     10/15/2015




   Figure 7. change map within riparian areas.




        USDA Forest Service - WFWARP
                                                                         15
                                                       Rvsd Plan - 00000293
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 294 of 406




   Rio Grande National Forest - Assessment 2
   Air Quality, Soils and Geology, and Watersheds and
   Water Resources - Executive Summary




   Introduction
   This document is a brief summary of the first step in the forest planning process; our assessment, and
   public input we solicited; for air quality, soils and geology.

   It is important that we protect air quality, soil, and water resources on the forest. The public values the
   clean air and sweeping vistas that national forests provide. Poor air quality affects forest resources such as
   forest health, visibility, water quality, aquatic organisms, or heritage resources.

   Soil is the foundation of ecosystem function. It acts as a growth medium and provides nutrients for
   vegetation, stores and filters water, cleans air, contains habitat for billions of organisms, and is a long­
   term carbon storage reservoir. Soils can lose much of their function when altered through management
   actions as well as natural events.

   Watersheds and water resources are the most important assets managed by the Rio Grande National
   Forest. Protecting water quantity, quality, and timing of flows; and the watersheds from which water
   resources are derived, is critical to sustaining ecosystem functions of the forest, and the socio-economics
   of the San Luis Valley and areas further downstream.



                           Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000294
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 295 of 406

                                       Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources -
                                                   Executive Summary

   What We Asked
   We held three public meetings to collect input specific to water and soil issues. Peak Facilitation and the
   National Forest Foundation facilitated the meetings, which were held on March 16, 2015 in Creede, CO;
   on April 7, 2015 in Alamosa, CO; and on April 28, 2015 in Saguache, CO. Approximately 65 people
   attended these meetings. In addition, the National Forest Foundation provided a web-based tool that
   allowed us to ask the same set of questions to those who could not be at the meetings.

   We also participated in meetings held by members of the water community from March through July,
   2015; including the Rio Grande Roundtable, Rio Grande Water Users, Rio Grande Water Conservation
   District, Conejos Water Conservation District, Rio Grande Senior Water Users, San Luis Valley
   Ecosystem Council, Trout Unlimited, San Luis Valley Cattleman’s Association and Conejos County Clean
   Water.

   We asked the same questions at meetings and on-line to give us consistent input for the assessment
   process, covering topics such as water and soil quality, watershed health, water supply, and ecosystem
   services.

       •   Is high water quality and soil productivity being maintained on the Rio Grande National Forest?
       •   What management activities on or off the forest threaten or impair water quality (surface and
           groundwater) or soil productivity?
       •   What uses on and off the forest are dependent on clean water and productive soils?
       •   Are there places on the forest where water quality or soil quality/productivity are at risk or are not
           adequately protected? Where are they?
       •   What factors are impacting water quality and soil productivity?
       •   Are watersheds and riparian ecosystems on the Rio Grande National Forest and surrounding areas
           healthy and properly functioning?
       •   What management activities and infrastructure impact watershed health, water quality, and/or
           aquatic species?
       •   What historical land use patterns shaped the existing ecological condition for water resources and
           riparian areas?
       •   Are there places on the forest where watersheds or riparian ecosystems are functioning at risk or
           being degraded? If so, where are they?
       •   What natural processes are affecting watersheds, riparian areas or aquatic species?
       •   What factors are impacting watershed or riparian health?
       •   How do water and soil resources on the Rio Grande National Forest contribute to social, cultural,
           and economic sustainability?
       •   What land use activities compete with each other for water resources, including non-consumptive
           and consumptive uses?
       •   Is there an adequate supply of surface and groundwater to meet current and future demands?
       •   How do existing and forecasted land use patterns and activities affect availability, quality, or
           quantity, timing or distribution of water resources?




                          Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000295
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 296 of 406

                                       Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources -
                                                   Executive Summary

   What We Heard
   We heard several issues consistently.

   Tree Mortality and Sedimentation
   The forest needs to address spruce beetle mortality; which affects many things including but not limited to
   water quality and watershed health, safety issues related to tree fall, and economic sustainability. These
   dead trees can cause accelerated runoff and sedimentation and degraded reservoirs and other water
   sources. If there is a fire, it can be followed by erosion and flooding.

   Other Sediment Sources
   The forest should identify and manage other sources of sediment such as ATV trails, and should increase
   water monitoring.

   Infrastructure Maintenance
   The forest needs better access and ability to maintain irrigation structures, such as dams and diversions, in
   wilderness. Lack of maintenance may lead to erosion issues, but under the current regulations, this
   maintenance work takes too long and is too intensive. There could be a waiver tool for maintaining these
   structures in wilderness.

   Management Intensity
   The forest should increase management intensity; in terms of the amount of timber harvested, amount of
   planting, and amount of prescribed fire and controlled burns.

   Where We’re Headed
   Based on information in our assessment and what we heard from the public regarding air quality, soils and
   geology, and watersheds and water resources; there is little to no need for us to change the existing Forest
   Plan. We are in compliance with the Clean Air Act and Colorado Air Quality Control Act and are also
   meeting the Forestwide objective of protecting the environment from air pollution. Our monitoring
   indicates we are meeting existing direction when best management practices are properly implemented at
   the project level. There are occasions when we identify concerns during project reviews but these
   concerns are not Forest Plan standard-related; rather they are related to improperly implementing one or
   more watershed conservation practices.

   However, it is critical we remain diligent in providing the desired condition for air, soil and water
   resources. To that end we should continue developing, adjusting, and implementing the air resources, soil
   resources, and watershed and water resources programs. This includes updating the existing Forestwide
   air monitoring plan and possibly preparing Forestwide soil resource and water resource monitoring plans.
   We should consider adaptive strategies designed to protect and preserve the watersheds and air, soil, and
   water resources from existing off-Forest sources of pollution and the potential effects of climate change.

   Changes Needed Due to Law, Regulation or Policy
   We need to update the standards and guides section of the existing plan to incorporate the Watershed
   Conservation Practices Handbook, the National Best Management Practices program, and the Watershed
   Condition Framework, key parts of the 2012 Planning Rule.

   We need to update the water uses and rights information in the existing Forest plan to incorporate the
   Water Division 3 Decree. The current administration of federal reserved water rights to the forest



                          Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000296
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 297 of 406

                                     Rio Grande National Forest Assessment 2 -
                          Air Quality, Soils, Geology, Watersheds and Water Resources -
                                                 Executive Summary
   boundary through a decree with the State of Colorado’s Division of Water Resources is working and
   meets the needs of the forest and the public.




                         Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000297
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 298 of 406




              Rio Grande National Forest - Assessment 2
                Air Quality, Soils, and Water Resources

            Greg Bevenger, PH, WyoHydro Professional Hydrology Services LLC
   This document provides a rapid assessment of air, soil, geologic, and water resources that may be useful
   in developing plan components and other plan content. This assessment is in three sections: Air Quality,
   Soils, and Watersheds and Water Resources.1 There is a minor amount of repetition between sections in
   the event they are used as stand-alone documents.




   1 This document contains non-italicized excerpts, in-full or paraphrased, from in-house Forest Service sources such

   as working documents, planning documents, NEPA documents, resource-area specific reports, manuals, handbooks,
   etc. This information may or may not be cited directly in the text but the source is listed in the information sources
   sections of the assessment. Information from published literature, such as scientific papers and investigations, is
   referenced directly in the text, with formal citation in the information sources sections of the assessment.




                                                                                     Rvsd Plan - 00000298
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 299 of 406




                                                      Rvsd Plan - 00000299
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 300 of 406

                                                   Rio Grande National Forest Assessment 2 -
                                          Air Quality, Soils, Geology, Watersheds and Water Resources



                                                               Table of Contents
   Air Quality.................................................................................................................................................... 6
     Introduction.............................................................................................................................................. 6
        Concepts in Air Quality Management.................................................................................................. 6
       Legal Framework and Forest Service Policy........................................................................................ 8
     Information Sources and Data Gaps........................................................................................................11
        Information Sources............................................................................................................................. 11
        Data Gaps............................................................................................................................................. 13
     Existing Forest Plan Direction for Air Quality........................................................................................13
        Desired Conditions............................................................................................................................... 13
        Objective.............................................................................................................................................. 13
        Standards and Guidelines.....................................................................................................................13
     Scale of Analysis..................................................................................................................................... 13
     Airsheds................................................................................................................................................... 13
     Air Quality............................................................................................................................................... 15
        Existing and Potential Sources and Inventories.................................................................................. 15
       Air Resource Monitoring.................................................................................................................... 24
     Natural Hazards...................................................................................................................................... 47
     Multiple Uses / Ecosystem Services....................................................................................................... 47
     Conditions and Trends............................................................................................................................ 47
     Need for Change..................................................................................................................................... 49
   Soils............................................................................................................................................................ 50
     Introduction............................................................................................................................................ 50
        Concepts in Soils Management........................................................................................................... 50
        Legal Framework and Forest Service Policy...................................................................................... 52
     Information Sources and Gaps................................................................................................................ 53
        Information Sources............................................................................................................................ 53
        Data Gaps............................................................................................................................................ 54
     Existing Forest Plan Direction for Soils................................................................................................. 54
        Desired Conditions.............................................................................................................................. 54
        Objective............................................................................................................................................. 54
        Standards and Guidelines.................................................................................................................... 55
     Scale of Analysis.................................................................................................................................... 55
     Existing Condition and Trend of Soils................................................................................................... 55
        Inventories........................................................................................................................................... 55
        Important Attributes, Characteristics, and Processes.......................................................................... 55
        Conditions........................................................................................................................................... 58
        Trends................................................................................................................................................. 59
     Multiple Uses / Ecosystem Services....................................................................................................... 60
     Local Soil Resource Concerns................................................................................................................ 60
     Need for Change..................................................................................................................................... 61
   Watersheds and Water Resources............................................................................................................... 62
     Introduction............................................................................................................................................ 62
        Concepts in Watershed and Water Resources Management............................................................... 63
        Legal Framework and Forest Service Policy...................................................................................... 64
     Information Sources and Gaps................................................................................................................ 65
        Information Sources............................................................................................................................ 65
        Data Gaps............................................................................................................................................ 67



                                      Rio Grande National Forest - 1 - Forestwide Planning Assessment
                                                                                                                     Rvsd Plan - 00000300
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 301 of 406

                                                  Rio Grande National Forest Assessment 2 -
                                         Air Quality, Soils, Geology, Watersheds and Water Resources


     Existing Forest Plan Direction for Watersheds and Water Resources.................................................... 67
       Desired Conditions.............................................................................................................................. 67
       Objectives........................................................................................................................................... 67
       Standards and Guidelines.................................................................................................................... 68
     Scale of Analysis.................................................................................................................................... 68
     Existing Condition and Trend of Watersheds and Water Resources...................................................... 68
       Inventories........................................................................................................................................... 68
       Important Attributes, Characteristics, and Processes.......................................................................... 69
       Conditions........................................................................................................................................... 79
       Historical Context............................................................................................................................... 89
     Consumptive and Non-Consumptive Water Uses.................................................................................. 90
     Water Rights........................................................................................................................................... 91
     Disturbances........................................................................................................................................... 92
       Bark Beetles........................................................................................................................................ 92
       Wildfire............................................................................................................................................... 92
       Dust..................................................................................................................................................... 93
       Climate Change................................................................................................................................... 93
     Municipal watersheds, sole source aquifers, and source water protection areas.................................... 93
     Effects from Land Use............................................................................................................................ 94
     Ecological, Social and Economic Sustainability.................................................................................... 94
     Places at Risk.......................................................................................................................................... 96
     Need for Change..................................................................................................................................... 96
   Appendix..................................................................................................................................................... 98
     Maps....................................................................................................................................................... 98

                                                                   List of Tables
   Table 1. Area and mobile sources of pollutants near the Rio Grande National Forest. All values are in
       tons/year (T/Y)............................................................................................................................ 24
   Table 2. Apparent (visual) trend of nitrate, sulfate, ammonium, and mercury at eight locations in and
        around the Rio Grande National Forest....................................................................................... 34
   Table 3. Apparent (visual) concentration trend at NADP sites near the Rio Grande National Forest........ 43
   Table 4. Apparent (visual) deposition trend at NADP sites near the Rio Grande National Forest............. 44
   Table 5. Implementation Plans.................................................................................................................... 46
   Table 7. Landtype associations on the Rio Grande National Forest and important attributes of each........ 56
   Table 8. Landtype associations on the Rio Grande National Forest and important attributes of each (cont.).
         ................................................................................................................................................... 57
   Table 9. Landtype associations on the Rio Grande National Forest and important attributes of each (cont.).
         ................................................................................................................................................... 57
   Table 10. Landtype associations on the Rio Grande National Forest and important attributes of each
        (cont.).......................................................................................................................................... 58
   Table 11. Watershed Condition Framework ratings by Indicator and Attributes. The first number
       represents the number of watersheds rated as such; the second number represents the percent of all
       watersheds on the Forest rated as such........................................................................................ 58
   Table 12. Historic climate observations and projected climate for the State of Colorado.......................... 60
   Table 13. Key ecosystem sector vulnerabilities for the State of Colorado.................................................. 61
   Table 14. Miles of stream by type and Ranger District............................................................................... 71
   Table 15. Acres of waterbodies by type and Ranger District...................................................................... 72
   Table 16. Potential extent of Groundwater Dependent Ecosystems (GDEs).............................................. 75
   Table 17. TMDLs in the Rio Grande Basin................................................................................................. 79



                                     Rio Grande National Forest - 2 - Forestwide Planning Assessment
                                                                                                                  Rvsd Plan - 00000301
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 302 of 406

                                                   Rio Grande National Forest Assessment 2 -
                                          Air Quality, Soils, Geology, Watersheds and Water Resources


   Table 18. WCF overall watershed condition and process category summary............................................. 80
   Table 19. Watersheds with Impaired Aquatic Physical Function and Impaired Aquatic Biological
       Function .............................................................................................................................................. 80
   Table 20. WCF Aquatic Physical Indicator Class....................................................................................... 85
   Table 21. WCF Aquatic Biological Indicator Class.................................................................................... 85
   Table 22. WCF Terrestrial Physical Indicator Class.................................................................................. 85
   Table 23. Terrestrial Biological Indicator Class......................................................................................... 86
   Table 24. WCF Water Quality Condition Attributes Class......................................................................... 86
   Table 25. WCF Water Quantity Attribute Class.......................................................................................... 86
   Table 26. WCF Aquatic Habitat Attributes Class........................................................................................86
   Table 27. WCF Aquatic Biota Attributes Class........................................................................................... 87
   Table 28. WCF Riparian/Wetland Vegetation Attribute Class....................................................................87
   Table 29. WCF Roads and Trails Attributes Class...................................................................................... 87
   Table 30. WCF Soils Condition Attributes Class........................................................................................ 87
   Table 31. WCF Fire Regime or Wildfire Attribute Class............................................................................ 87
   Table 32. WCF Forest Cover Attribute Class.............................................................................................. 87
   Table 33. WCF Rangeland Vegetation Attribute Class............................................................................... 88
   Table 34. WCF Terrestrial Invasive Species Attribute Class...................................................................... 88
   Table 35. WCF Forest Health Attribute Class............................................................................................. 88
   Table 36. Water uses on the Rio Grande National Forest........................................................................... 91
   Table 37. Historic climate observations and projected climate for the State of Colorado.......................... 94
   Table 38. Key ecosystem and water sector vulnerabilities for the State of Colorado................................ 95

                                                                    List of Figures
   Figure 1. Sources of carbon monoxide (CO) within 100 kilometers (62 miles) of Monte Vista, Colorado.
         ............................................................................................................................................................. 17
   Figure 2. Sources of nitrous oxides (NOx) within 100 kilometers (62 miles) of Monte Vista, Colorado... 18
   Figure 3. Sources of sulfur dioxide (SO2) within 100 kilometers (62 miles) of Monte Vista, Colorado.... 19
   Figure 4. Sources of course particulate matter (PM10) within 100 kilometers (62 miles) of Monte Vista,
        Colorado..................................................................................................................................... 20
   Figure 5. Sources of fine particulate matter (PM2.5) within 100 kilometers (62 miles) of Monte Vista,
        Colorado                                                                                                                                              21
   Figure 6. Sources of volatile organic compounds (VOC) within 100 kilometers (62 miles) of Monte Vista,
        Colorado...................................................................................................................................... 22
   Figure 7. Visibility (deciviews) at Shamrock Mine (SHM1), Great Sand Dunes National Park (GRSA1),
        and Weminuche (WEMI1). Data is available through 2013 but a glitch in the website plot function
        prevents display of these data...................................................................................................... 25
   Figure 8. Haze index (deciviews) at Shamrock Mine (SHM1)................................................................... 25
   Figure 9. Haze index (deciviews) at Great Sand Dunes National Park (GRSA1)...................................... 26
   Figure 10. Haze index (deciviews) at Weminuche (WEMI1)..................................................................... 26
   Figure 11. Extinction trends on the best visibility days at Shamrock Mine (SHMN1)............................... 27
   Figure 12. Extinction trends on the best visibility days at Great Sand Dunes National Park (GRSA1)..... 28
   Figure 13. Extinction trends on the best visibility days at Weminuche (WEMI1)......................................28
   Figure 14. Extinction trends on the worst visibility days at Shamrock Mine (SHMN1)............................ 29
   Figure 15. Extinction trends on the worst visibility days at Great Sand Dunes National Park (GRSA1). . 29
   Figure 16. Extinction trends on the worst visibility days at Weminuche (WEMI1)                                                                                     30
   Figure 17. Annual snowpack nitrate concentration at eight locations in and around the Rio Grande
        National Forest............................................................................................................................ 32




                                       Rio Grande National Forest - 3 - Forestwide Planning Assessment
                                                                                                                      Rvsd Plan - 00000302
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 303 of 406

                                                 Rio Grande National Forest Assessment 2 -
                                        Air Quality, Soils, Geology, Watersheds and Water Resources


   Figure 18. Annual snowpack sulfate concentration at eight locations in and around the Rio Grande
        National Forest.............................................................................................................................32
   Figure 19. Annual snowpack ammonium concentration at eight locations in and around the Rio Grande
        National Forest............................................................................................................................ 33
   Figure 20. Annual snowpack mercury concentration at eight locations in and around the Rio Grande
        National Forest............................................................................................................................ 33
   Figure 21. Nitrate concentration trend at Alamosa NADP site................................................................... 35
   Figure 22. Sulfate concentration trend at Alamosa NADP site................................................................... 35
   Figure 23. Ammonium concentration trend at Alamosa NADP site........................................................... 36
   Figure 24. Nitrate concentration trend at Wolf Creek Pass NADP site.................................................... 36
   Figure 25. Sulfate concentration trend at Wolf Creek Pass NADP site.................................................... 37
   Figure 26. Ammonium concentration trend at Wolf Creek Pass NADP site.............................................. 37
   Figure 27. Nitrate concentration trend at Molas Pass NADP site............................................................... 38
   Figure 28. Sulfate concentration trend at Molas Pass NADP site............................................................... 38
   Figure 29. Ammonium concentration trend at Molas Pass NADP site....................................................... 39
   Figure 30. Nitrate deposition trend at Alamosa NADP site....................................................................... 39
   Figure 31. Sulfate deposition trend at Alamosa NADP site....................................................................... 40
   Figure 32. Ammonium deposition trend at Alamosa NADP site................................................................ 40
   Figure 33. Nitrate deposition trend at Wolf Creek Pass NADP site............................................................ 41
   Figure 34. Sulfate deposition trend at Wolf Creek Pass NADP site........................................................... 41
   Figure 35. Ammonium deposition trend at Wolf Creek Pass NADP site................................................... 42
   Figure 36. Nitrate deposition trend at Molas Pass NADP site.................................................................... 42
   Figure 37. Sulfate deposition trend at Molas Pass NADP site.................................................................... 43
   Figure 38. Ammonium deposition trend at Molas Pass NADP site............................................................ 43
   Figure 39. Ozone at Shamrock Mine monitor............................................................................................. 45
   Figure 40. Monthly precipitation at Lily Pond SNOTEL site for the period 1981-2010............................ 70
   Figure 41. Cumulative annual precipitation at Lily Pond SNOTEL site for the period 1981-2010............ 71
   Figure 42. Cumulative annual snow water equivalent at Lily Pond SNOTEL site for the period 1981­
        2010............................................................................................................................................. 72
   Figure 43. Average annual hydrograph for the Alamosa River above Terrace Reservoir for the period of
        record 1935-1982......................................................................................................................... 73
   Figure 44. Annual hydrographs for the Alamosa River above Terrace Reservoir for the period of record
        1995-1982............................................................................................................................................ 73
   Figure 45. Annual peak flows for the Alamosa River above Terrace Reservoir for the period of record
        1935-1982............................................................................................................................................ 74
   Figure 46. Flow duration curve for the Alamosa River above Terrace Reservoir for the period of record
        1935-1982............................................................................................................................................ 74
   Figure 47. San Luis Valley generalized geologic cross-section................................................................. 76
   Figure 48. Water table elevations of the San Luis Valley unconfined aquifer late 1996-early 1997........ 77
   Figure 49. San Luis Valley location and extent of Quaternaryalluvium and permitted water wells.........78
   Figure 50. WCF overall watershed condition class .................................................................................. 81
   Figure 51. WCF overall watershed condition scores................................................................................. 82
   Figure 52. WCF process category class..................................................................................................... 82
   Figure 53. WCF Aquatic Physical Process Category Scores..................................................................... 83
   Figure 54. WCF Aquatic Biological Category Scores............................................................................... 83
   Figure 55. Terrestrial Physical Process Category Scores........................................................................... 84
   Figure 56. Terrestrial Biological Process Category Scores........................................................................ 84




                                     Rio Grande National Forest - 4 - Forestwide Planning Assessment
                                                                                                                Rvsd Plan - 00000303
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 304 of 406

                                               Rio Grande National Forest Assessment 2 -
                                      Air Quality, Soils, Geology, Watersheds and Water Resources


                                                               List of Maps
   Map 1. Critical load exceedance for surface water acidity........................................................................ 98
   Map 2. Critical load exceedance for terrestrial acidity...............................................................................98
   Map 3. Critical load exceedance for mycorrhizal fungi............................................................................. 98
   Map 4. Critical load exceedance for herbaceous plants and shrubs........................................................... 98
   Map 5. Critical load exceedance for nitrate leaching................................................................................. 98
   Map 6. Critical load exceedance for lichens.............................................................................................. 98
   Map 7. Critical load minimum exceedance for lichens.............................................................................. 98
   Map 8. Critical load maximum exceedance for lichens.............................................................................. 98
   Map 9. Land type associations.....................................................................................................................98
   Map 10. Watersheds at the HUC5 and HUC6 level.................................................................................... 98
   Map 11. Perennial and intermittent streams and water bodies................................................................... 98
   Map 12. NHD springs and seeps Potential Groundwater Dependent Ecosystems (GDEs)........................ 98
   Map 13. NWI PEMB wetlands Potential Groundwater Dependent Ecosystems (GDEs)........................... 98
   Map 14. Watershed Condition Framework Overall Class.......................................................................... 98
   Map 15. Watershed Condition Framework Overall Scores........................................................................ 98
   Map 16. Watershed Condition Framework Aquatic Physical Class...........................................................98
   Map 17. Watershed Condition Framework Aquatic Physical Scores.........................................................98
   Map 18. Watershed Condition Framework Aquatic Biological Class....................................................... 98
   Map 19. Watershed Condition Framework Aquatic Biological Scores..................................................... 98
   Map 20. Watershed Condition Framework Terrestrial Physical Class........................................................98
   Map 21. Watershed Condition Framework Terrestrial Physical Scores......................................................98
   Map 22. Watershed Condition Framework Terrestrial Biological Class.....................................................98
   Map 23. Watershed Condition Framework Terrestrial Biological Scores...................................................98




                                   Rio Grande National Forest - 5 - Forestwide Planning Assessment
                                                                                                          Rvsd Plan - 00000304
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 305 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources



   Air Quality
   Introduction
   Air quality is recognized as an important resource to protect on national forests. The public values the
   clean air and sweeping vistas that national forests provide. Managers become concerned when poor air
   quality is or may affect forest resources such as forest health, visibility, water quality, aquatic organisms,
   or heritage resources.

   The 2012 Planning Rule requires National Forests and Grasslands to consider air resources when
   developing plan components. The purpose of this assessment is to evaluate available information about
   air resources within the Rio Grande National Forest. This assessment describes current conditions and
   trends regarding these resources. This information is used to anticipate future conditions, and to determine
   if trends pose risks to system integrity at the forest level. Additionally, this assessment identifies
   information gaps and any uncertainty with the data. The information contained in this assessment will be
   used to inform agency officials whether current direction needs adjustment to protect air resources and the
   systems that rely on them.

   The following items are addressed in this assessment, as specified by Forest Service Handbook, Chapter
   10 Section 12.21.

       •   Airsheds relevant to the plan area
       •   Location and extent of known sensitive air quality areas, such as Class I areas, non-attainment
           areas, and air quality maintenance areas
       •   Emission inventories, conditions, and trends relevant to the plan area
       •   Critical load exceedances, including extent and severity
       •   Federal, State, and Tribal governmental agency implementation plans for regional haze, non­
           attainment, or maintenance areas (including assessing whether Forest Service emission estimates
           have been included in the appropriate agency implementation plans)
       •   Known large, broad-scale, and major geologic hazards that may affect air quality
       •   Air quality considerations important to consider in providing multiple uses and ecosystem
           services
       •   Conditions and trends assuming existing plan direction remains in place

   Concepts in Air Quality Management
   By identifying national forest components that are impacted by air pollution, and by measuring the effect
   of air pollution on these sensitive elements, the degree to which air pollution is affecting the forest can be
   measured. This information can be, and has been, used by air regulators, land managers and concerned
   citizens to promote improvements in air quality that will benefit national forest areas and the people who
   visit them. Several important concepts in air quality management are described below.

   Impacts of Air Pollution
   Air pollution affects the natural quality of National Forest lands, particularly wilderness areas, and is one
   reason that it is a concern to managers. High ozone concentrations can injure sensitive vegetation.
   Atmospheric deposition can cause lake body acidification, eutrophication, and hypoxia, soil nutrient



                           Rio Grande National Forest - 6 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000305
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 306 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   changes, and vegetation impacts. Deposition of toxic metals such as mercury and lead can be harmful to
   both aquatic and terrestrial ecosystems. Visibility in most national forests is obscured some portion of the
   year by a haze of fine pollutant particles. Air pollution affecting national forests comes from a myriad of
   sources, large and small, located nearby and far away. It includes emissions from industry, including
   power plants, as well as cars and trucks, wood burning stoves and fireplaces, and ground disturbing
   activities such as mining and road construction. The pollution typically originates outside of national
   forest boundaries, but is transported through the atmosphere and deposited inside national forest
   boundaries.

   The impact on the ecosystem is related to the amount of pollution emitted, the distance from the
   ecosystem of concern, and meteorology affecting the transport and dispersion of pollutants. The
   ecological effects of air pollution may also vary by location, time, and sensitivity of individual species. As
   such, certain species that are known to be sensitive to air pollution can be monitored as an indicator of
   adverse effects on the ecosystem. For example, changes in lichen communities may be the first signs of
   adverse impacts on vegetation. If changes are not observed in indicator species, it is unlikely that adverse
   impacts will be realized in less sensitive species. However, if changes in sensitive species are observed,
   then additional signs of adverse impact are often investigated.

   The response of an ecosystem to air pollution is not only dependent upon the amount of contaminants to
   which it is exposed, but also dependent upon the ability of the ecosystem to buffer itself against the
   effects of air pollution. For example, the geo-chemistry of high alpine lakes determines the lake’s ability
   to neutralize acidic precipitation. Land form, predominate wind direction, and aspect also play significant
   roles in particulate deposition and accumulation. Additionally, some pollutants accumulate in the food
   chain in which the effects are only evident in certain species. Hence, understanding and monitoring for air
   quality values in a national forest requires a comprehensive view, combined with local knowledge.

   Wilderness Air Quality Values
   Wilderness air quality values are the general categories of features or properties of wilderness that are
   affected in some way by air pollution. Identified values are: visibility, odor, flora, fauna, soil, water,
   geologic features and cultural resources. This includes Air Quality Related Values (AQRVs) in Class I
   areas, as well as similar features and properties in Class II areas, titled Wilderness Air Quality Values
   (WAQVs). All wilderness areas 5,000 acres or greater in size in existence in 1977 are considered Class I
   areas. All areas designated after 1977 are Class II areas. The difference between the two is that Class I
   areas are protected through the Clean Air Act and air quality related values (AQRVs) that have been
   established for each region. The Forest Service is responsible to protect air quality values in wilderness
   the same regardless of whether they are Class I or Class II areas; it is the agency’s ability to affect change,
   and the process that is used in Class I areas, that is different. For both Class I and II areas, Forests report
   the results of air quality monitoring and the effects from sources outside wilderness to the state regulatory
   agency. For Class I areas the Forest Service, working with State regulators, can also model the potential
   effects of new pollution sources on Class I areas and provide comment to the planning and permitting
   processes.

   Similar properties that reflect air quality impacts are atmospheric deposition, snow pack chemistry, and
   meteorology. Air chemistry and atmospheric deposition monitoring are necessary to establish the linkages
   between air pollution and any changes to the physical, chemical, or biological condition of the sensitive
   receptors.

   Sensitive Receptors and Indicators
   Sensitive receptors are specific types of features or properties within a wilderness that can be negatively
   impacted by air pollutants, e.g., high-altitude lakes, lichens, scenic vistas. In other words, sensitive


                           Rio Grande National Forest - 7 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000306
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 307 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   receptors are the specific components of an ecosystem through which change in an AQRV or WAQV is
   quantified. Sensitive receptors are selected for 1) known or suspected sensitivity to pollutants, 2)
   availability for manageable, cost-effective monitoring, sampling, and analysis methods, and 3) relevance
   for modeling capabilities. Examples of indicators for sensitive receptors might be a population survey for
   a particular amphibian, a plankton count and water quality analysis in a sensitive lake, or an assessment of
   the vista from a particular viewpoint.

   The relationship between air pollution and effects on individual components of the wilderness is
   influenced by a component’s ability to resist displacement from its natural condition, ability to recover
   from an individual human-caused event, and the number of times the wilderness component can return
   back to the natural condition after repeated human-caused change incidents.

   Critical and Target Loads
   Fossil fuel burning emits sulfur dioxide (SO2) and nitrogen oxides (NOx) into the atmosphere. Certain
   types of agricultural activities emit ammonia (NH3) to the atmosphere. Such emissions can lead to
   atmospheric deposition of sulfuric acids, nitric acids, and ammonium to national forest ecosystems. In
   sensitive ecosystems, acid compounds can acidify soil and surface waters, affecting nutrient cycling and
   ecosystem services. In more resilient ecosystems nitrogen deposition can lead to chemical and biological
   changes through nitrogen saturation, which can then affect ecosystem services. To address whether
   atmospheric deposition is having negative effects critical loads are calculated. If monitoring and modeling
   indicate critical loads are being exceeded then target loads are established.

   Critical loads are quantitative estimates of exposure to one or more pollutants below which significant
   harmful effects on specified sensitive elements of the environment are not expected to occur according to
   present knowledge. Values are scientifically determined based on expected ecosystem response to a given
   deposition level. When values are exceeded the environmental effects can extend over great distances.
   Target loads are acceptable pollution loads or levels agreed upon by policy makers and land managers.
   Acceptable target loads are based on economic costs of emissions reductions, timeframes, and other
   matters.

   Legal Framework and Forest Service Policy
   The Forest Service has a role in implementing air quality programs. This role is identified in and a result
   of numerous legislative acts, regulations, and standards.

   National Forest Management Act
   The National Forest Management Act directed each national forest to prepare a land and resource
   management plan. The Act recognizes national forests are ecosystems and their management requires an
   awareness and consideration of the interrelationships among plants, animals, soil, water, air, and other
   environmental factors within such ecosystems.

   Rio Grande National Forest Land and Resource Management Plan
   The air resource is a recognized component of the Rio Grande National Forest Land and Resource
   Management Plan (Forest Service 1996). The Final Environmental Impact Statement (FEIS) for the
   Forest Plan recognized, at that time, air quality across the Forest rates among the best in the country and
   the air pollution that does exist on the Forest comes mostly from unpaved roads and smoke from
   prescribed and wildfires.

   Desired conditions, objectives, and standards and guidelines in the Forest Plan are described in a
   subsequent section of this assessment. Annual Forest Plan monitoring reports provide annual summaries



                          Rio Grande National Forest - 8 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000307
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 308 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   of air quality on the Forest and indicate air quality is being adequately protected and no changes in the
   Forest Plan are needed.

   Wilderness Act
   The Wilderness Act of 1964 contains language directing the management of wilderness to secure for the
   American people, and future generations, the benefits of an enduring resource of wilderness unimpaired
   for future use and enjoyment. The Act further states that Congress intended to manage these wilderness
   areas so that the earth and its community of life are untrammeled by man. A wilderness must retain its
   primeval character and influence and be affected primarily by the forces of nature, with the imprint of
   man’s work substantially unnoticeable. The direction provided in this Act makes it clear that Congress
   intended that the natural conditions in wilderness be preserved and that it be influenced primarily by the
   forces of nature rather than by human activity.

   There are four wilderness areas on the Rio Grande National Forest. The Weminuche and La Garita are
   Class I wilderness. The South San Juan and Sangre de Cristo are Class II.

   Clean Air Act
   The regulation of air pollution sources has clearly been delegated by the Clean Air Act (CAA) to the
   Environmental Protection Agency (EPA), and as applicable, the States. In Colorado, air pollution is
   regulated by the Air Pollution Control Division (APCD) of the Department of Public Health and
   Environment (CDPHE). Specific air quality and pollution regulatory information for APCD is located at
   http://www.colorado.gov/cs/Satellite/CDPHE-AP/CBON/1251582562056 . Even though regulatory
   oversight of the CAA. resides with EPA and the State of Colorado, the Forest Service has the
   responsibility under the CAA to protect particular values of national forest lands from the adverse impacts
   of activities inside and outside the forest boundary.

   The Clean Air Act, as amended, significantly broadened the authority and responsibility of the Forest
   Service. Originally passed in 1963, major amendments followed in 1967, 1970, 1977, and 1990. The
   purpose of the CAA. is to protect and enhance the quality of the Nation’s air resources so as to promote
   public health and welfare. The CAA requires cooperation among all Federal departments and agencies
   having functions relating to the prevention and control of air pollution.

   Though the CAA provides the legal and regulatory framework for protecting National Forest lands, it is
   the responsibility of federal land managers to determine exactly how the lands are to be managed. The act
   requires that the Forest Service comply with all applicable Federal, State, or local air control rules,
   regulations, and directives, and requires compliance with applicable substantive and procedural
   requirements imposed by a Federal, State, interstate, or local administrative authority or court.
   Furthermore, the Forest Service must consult with each State having delegated authority on all matters
   concerning the prevention of significant deterioration of air quality, visibility, air quality maintenance
   plan requirements, and nonattainment requirements.

   The Clean Air Act declared as one of its purposes to preserve, protect, and enhance the air quality in
   national parks, national wilderness areas, national monuments, national seashores, and other areas of
   special national or regional natural, recreational, or historic value. The CAA gives direction to federal
   land managers and federal officials charged with direct responsibility for management of such lands the
   affirmative responsibility to protect the air quality related values, including visibility, of any such lands
   within a Class I area, and the responsibility to consult with EPA in the statutory process required for the
   approval of a Prevention of Significant Deterioration (PSD) permit application for a major source.




                           Rio Grande National Forest - 9 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000308
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 309 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   National Ambient Air Quality Standards (NAAQS)
   In 1971, under the authority of Section 109 of the Clean Air Act, the EPA adopted health-based standards
   that limit the concentration of certain air pollutants, known as criteria pollutants, throughout all locations
   across the United States. The criteria pollutants are carbon monoxide, lead, nitrogen dioxide, ozone,
   particle pollution, and sulfur dioxide. The limits (http://www.epa.gov/air/criteria.html ) are known as the
   National Ambient Air Quality Standards (NAAQS). The primary standards are designed to protect public
   health, including sensitive populations such as the elderly, children, or people with asthma. Secondary
   standards are designed to mitigate harmful effects to animals, vegetation, and buildings, and limit
   decreases in visibility. Individual States have the responsibility for air quality management and for
   meeting air quality standards.

           Forest Service Conformity with National Ambient Air Quality Standards
   Under the Clean Air Act, an area that violates NAAQS for any of the six criteria pollutants listed above is
   designated as a non-attainment area. Maintenance areas are any non-attainment area that has been re­
   designated to attainment status and may be more sensitive to maintaining the designation. If a State has a
   non-attainment area, it must develop a State Implementation Plan (SIP) which describes how the State
   will achieve and maintain Federal and State standards. The conformity rule of the CAA. states no
   department, agency, or instrumentality of the Federal Government shall engage in, support in any way or
   provide financial assistance for, license or permit, or approve any activity which does not conform to an
   implementation plan.

   This rule ensures that federally funded or supported actions taken by Federal agencies and departments,
   including the Forest Service, meet national standards for air quality in Federal non-attainment and
   maintenance areas, and requires the Forest Service to demonstrate that its actions, or actions of those who
   occupy and use National Forest lands under Forest Service authorization, will not impede the State
   Implementation Plans to attain or maintain the ambient air quality standard. A few examples of activities
   on National Forests and Grasslands that may require a review for conformity include fuel treatments,
   including prescribed fire and harvest activities, road, trail, or building construction, and land use and
   special use permit decisions such as ski or winter sports area, mining, oil and gas development and
   landfills.

   Prevention of Significant Deterioration Program
   The Prevention of Significant Deterioration (PSD) sections of the Clean Air Act include a permit program
   for certain new sources of air pollution. The purpose of the PSD process includes the protection and
   enhancement of air quality in national wilderness areas and other locations of scenic, recreational,
   historic, or natural value. Before the construction of certain new air pollution sources is approved, the
   applicants must receive a PSD permit from the appropriate air regulatory agency. The Forest Service
   manager, during the permitting process, must make three decisions:

       1. What are the sensitive air pollution receptors within the wilderness that need protection?
       2. What are the Limits of Acceptable Change (LAC’s) for these receptors?
       3. Will the proposed facility cause or contribute to pollutant concentrations or atmospheric
          deposition within the wilderness that will cause the LAC’s to be exceeded?
   The first two decisions are land management issues based upon the management goals for the wilderness
   in question. The third is a technical question analyzed by models combining proposed emissions,
   background levels of pollutants, and the sensitivity of visibility and forest resources to the pollutants.




                          Rio Grande National Forest - 10 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000309
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 310 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Close coordination between the Forest Service and the appropriate air regulatory agency is essential in the
   PSD process. The Forest Service makes a determination of whether a proposed project will adversely
   impact Forest lands. The air regulatory agency then makes a decision to grant or deny the permit.

           Best Available Control Technology Review for New or Modified Pollutant Sources
   The Forest Service reviews air permit applications for new and modified industrial facilities to ensure that
   air emissions do not adversely impact the air quality related values, such as visibility, of federally-
   protected wilderness areas. The agency provides these comments to the permitting authority, typically the
   state.

   One key part of the air permit application, required by various regulations, is a review of the air pollution
   control technology proposed on each of the new or modified emission units at the facility. The air quality
   regulations envision that it would be most cost effective to require pollution control upgrades at the time
   new sources are built or modified, thereby allowing plant owners to plan for these costs as part of the
   construction of a new plant or an overall plant upgrade.

   In general, the review of air pollution control technology involves an application of engineering to
   analyze what types of control technologies are possible for each regulated pollutant from each emission
   unit at the facility. Then, the best performing option is selected unless it is deemed to be too expensive or
   causes other adverse environmental impacts. This process of ensuring that the best available control
   technology is applied to industrial sources reduces air emissions to the lowest possible amount and
   minimizes air pollution impacts to the National Forests.

   Regional Haze Program
   The Regional Haze Rule of 1999 requires states and interested tribes to address sources of pollution
   contributing to regional haze in the 156 mandatory Class I areas across the country. To do this, states have
   or are in the process of developing State Implementation Plans (SIPs) to demonstrate to the public, the
   federal land managers and EPA how they plan to address regional haze to reach the goal of natural
   background conditions by the year 2064. The Forest Service, as the federal land manager of 88 mandatory
   Class I areas, has been working closely with the states, interested tribes, EPA, and the Regional Planning
   Organizations in the development of the technical products and policy documents that are being used by
   each state as they develop their plans.

   Agency Policy
   Forest Service Manual 2580 - Air Resource Management contains agency direction for managing air
   resources. Objectives are to protect air quality related values within Class I areas, control and minimize
   air pollutant impact from land management activities, and cooperate with air regulatory authorities to
   prevent significant adverse effects of air pollutants and atmospheric deposition on forest and rangeland
   resources. Agency policy calls for integrating air resource management into all resource planning and
   management activities and using cost effective methods of achieving resource management objectives.

   Information Sources and Data Gaps
   Information Sources
   Binkley, Dan, Christian Giardina, Ingrid Dockersmith, Dee Morse, Mark Scruggs, and Kathy Tonnessen.
           Unknown Date. Status ofAir Quality and Related Values in Class I National Parks and
           Monuments of the Colorado Plateau. Chapters 1 and 10. 32 and 16 pp, respectively.

   Center for Snow and Avalanche Studies, Colorado Dust-on-Snow Program. http://www.codos.org/#codos



                          Rio Grande National Forest - 11 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000310
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 311 of 406

                                    Rio Grande National Forest Assessment 2 -
                           Air Quality, Soils, Geology, Watersheds and Water Resources


   Colorado Department of Public Health & Environment, Air Pollution Control Division. 2014a. Colorado
          2013 Air Quality Data Report. 108 pp.

   Colorado Department of Public Health & Environment, Air Pollution Control Division. 2014b. Colorado
          Annual Monitoring Network Plan. 120 pp.

   Eilers, J.M., P. Kanciruk, R.A. McCord, W.S. Overton, L. Hook, D.J. Blick, D.F. Brakke, P.E. Kellar,
            M.S. DeHaan, M.E. Silverstein, and D.H. Landers. 1987. Characteristics ofLakes in the Western
             United States. Volume II. Data Compendium for Selected Physical and Chemical Variables.
            EPA/600/3-86/054b, U.S. Environmental Protection Agency, Washington, DC. 425 pp.

   Forest Service. 1991. Weminuche Wilderness Monitoring Plan for Air Quality Related Values. 62 pp.

   Forest Service. 1994. Rio Grande National Forest, USDA Air Resources Monitoring Plan. 24 pp.

   Forest Service. 1996a. Rio Grande National Forest Land and Resource Management Plan, FEIS, ROD,
           and Annual Monitoring Reports.

   Forest Service. 1996b. Air-Quality-Related Values Inventory and Monitoring Program on the Pike and
           San Isabel National Forests, Comanche and Cimarron National Grasslands and Bureau of Land
           Management Canon City District. 56 pp.

   Forest Service. 2004. Ten Year Challenge Guidebook. Unpublished. 35 pp.

   Forest Service. 2011a. Watershed Condition Framework. http://www.fs.fed.us/publications/watershed/ .

   Forest Service. 2014. Wilderness Air Quality Values Plan, Mount Massive and Buffalo Peaks Class 2
           Wilderness Areas, Pike and San Isabel National Forest. 50pp.

   Forest Service. Air Quality Portal for Land Management Planning.
           http://www.srs.fs.usda.gov/airqualityportal/index.php .

   Landers, D.H., J.M. Eilers, D.F. Braake, W.S. Overton, P.E. Kellar, M.E. Silverstein, R.D. Schonbrod,
          R.E. Crowe, R.A. Linthurst, J.M. Omernik, S.A. Teague, and E.P. Meier. 1987. Characteristics of
          Lakes in the Western United States. Volume I. Population Descriptions and Physico-Chemical
          Relationships. EPA/600/3-86/054a, U.S. Environmental Protection Agency, Washington, DC. 176
          pp.

   Mast, M.A., D.H. Campbell, and G.P. Ingersoll. 2005. Effects of emission reductions at the Hayden
          powerplant on precipitation, snowpack, and surrface-water chemistry in the Mount Zirkel
          Wilderness Area, Colorado, 1995-2003. U.S. Geological Survey Scientific Investigations Report
          2005-5167. 32 pp.

   Musselman, Robert C. and John L. Korfmacher. 2014. Ozone in remote areas oof the Southern Rocky
         Mountains. Atmospheric Environment 82 (2014) 383-390.

   Pardo, L.H., M.J> Robin-Abbot, and C.T. Driscoll. 2011. Assessment ofNitrogen Deposition Effects and
           Empirical Critical Loads ofNitrogen for Ecoregions of the United States. USDA Forest Service
           Northern Research Station. General Technical Report NRS-80. 301 pages.

   Numerous websites as shown throughout the document; links to each site are contained in the narrative.
   Some of the figures are downloaded from these sites.



                         Rio Grande National Forest - 12 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000311
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 312 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Data Gaps
   While not necessarily needed for Forest Plan revision, the 1994 Air Resources Monitoring Plan for the
   Rio Grande National Forest is outdated and should be revised. The revision should be conducted in
   conjunction with surrounding national forests since the four wilderness areas on the Rio Grande National
   Forest cross boundaries with the San Juan, GMUG, and Pike/San Isabel National Forests. The monitoring
   plan revision should include a review and appropriate updating of air quality related values, statistical
   analysis of visibility and deposition trend, consideration of refined critical loads, target loads, and
   adjustments to the existing air program accordingly.

   Existing Forest Plan Direction for Air Quality
   The Rio Grande National Forest Plan contains desired conditions, objectives, and standards and
   guidelines. For air resources they are:

   Desired Conditions
   Air quality remains excellent. It is better than state and federal standards. Visibility distances are among
   the best in the country. Forest activities do not affect long-term changes or contribute to off-Forest
   problems.

   Objective
   Protect the environment from air pollution, at least to the degree required by law.

   Standards and Guidelines

   Standard
   Conduct all land management activities in such a manner as to comply with all applicable federal, state,
   and local air quality standards and regulations, including:

       •   Federal: The Clean Air Act, as amended, 1991, (P.L. 95-95)
       •   State of Colorado: The Colorado Air Quality Control Act, Colorado Statutes 25-7-101 through
           25-7-505

   Guideline
   None

   Scale of Analysis
   The characterization of air resources in this assessment is generally oriented towards air mass conditions
   above the Rio Grande National Forest but those conditions are affected by activities within the geographic
   region (airshed) and beyond (regional and global). In other words, air and various air-borne emissions are
   not constrained by surface area boundaries.

   Airsheds
   An airshed is a geographical area where local topography and meteorology limit the dispersion of
   pollutants away from the area. They are typically identified as a geographic boundary for air quality
   assessments. Airsheds can be affected by air pollution emission sources, which are categorized as
   stationary (point) and area/mobile. Stationary emissions are sources authorized by permit and emit
   pollution through an identifiable stack. Area/mobile sources are emissions from a number of locations too



                          Rio Grande National Forest - 13 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000312
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 313 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   small, numerous, or difficult to be inventoried individually. They generally extend over a large area and
   can include vehicle emissions, natural gas wells, and certain commercial operations such as dry cleaners.
   Fire and windblown dust are often considered area sources as well.

   The Rio Grande National Forest is in the Canon City airshed (Forest Service 1993), a large geographical
   area in south-central Colorado. The Continental Divide runs along the western side of this airshed. The
   two highest peaks in the lower 48 states, Mount Elbert at 14,433 feet and Mount Massive at 14,421 feet,
   are located in this airshed. These two peaks are directly north of the Rio Grande National Forest.

   The Continental Divide exhibits considerable control over air currents and circulation in the Canon City
   airshed. From a macro-scale airflow perspective, the prevailing upper-level winds are from the southwest
   and west (Mast et al 2005). Following the passage of cold fronts, gradient winds shift to a northwest to
   northerly direction. This condition normally persists for a few days and then changes back to a more
   southwesterly and westerly flow. Occasionally, gradient wind direction shifts to a more southerly flow.
   This is particularly common during July and August when summer "monsoon" conditions become
   established. Most of the precipitation during the summer months is the result of the southerly flow of sub­
   tropical moisture.

   From a more micro-scale airflow perspective there is one sub-airshed within the Canon City macro-scale
   airshed of importance to the Rio Grande National Forest. Hereafter, this sub-airshed is described as the
   San Luis Valley sub-airshed. This sub-airshed is bounded by the Continental Divide within the San Juan
   Mountains to the west, Poncha Pass to the north, the Sangre de Cristo Mountains to the east, and,
   generally speaking, the San Luis Hills and Taos Plateau to the south. The highest peak along the
   Continental Divide is Rio Grande Pyramid at 13,821 feet. The highest peak in the Sangre de Cristo
   Mountains is Blanco Peak at 14,345 feet. Poncha Pass is at 9,010 feet. This sub-airshed is approximately
   100 miles long and 60 miles wide. This sub-airshed is approximately equal to Colorado’s San Luis Valley
   Monitoring Area, a multi-county area delineated by the Air Pollution Control Division based on
   topography and similar airshed characteristics (Colorado 2014a). However, the western portion of the
   Forest is in the Central Mountains Region Monitoring Area.

   From a micro-scale airflow perspective, winds vary seasonally (Binkley et al date unknown). Winter and
   spring winds are primarily from the southwest. Summer winds are primarily from the southwest and east.
   Fall winds are from all directions except north.

   There are two Class I areas on the Forest within this sub-airshed: the Weminuche and La Garita
   Wilderness Areas. There are two Class II wilderness areas within this sub-airshed: South San Juan and
   Sangre de Cristo Wilderness Areas. All non-wilderness areas with the Rio Grande National Forest are also
   considered Class II areas. Additionally, Great Sand Dunes National Park, a Class I area directly adjacent
   to the Rio Grande National Forest at the southern end of the Sangre de Cristo Mountains, is within this
   sub-airshed.

   All Colorado communities are currently in attainment of all National Ambient Air Quality Standards
   (NAAQS), with the exception of the Front Range ozone control area, i.e., Denver-Boulder-Greeley-Ft.
   Collins-Loveland, which is in non-attainment for the 8-hour ozone standard. In the past there were several
   communities across the State in non-attainment for violation of one or more of the federal clean air
   standards (CDPHE 2014a and 2014b). Implementation plans have since been developed for these
   communities. These plans show how these communities have attained and will maintain compliance with
   the standards. The closest downwind community to the Rio Grande National Forest under one of the
   maintenance plans is Pagosa Springs for particulate matter (PMi0). Details can be found at
   https://www.colorado.gov/pacific/cdphe/state-implementation-plans-sips . The Forest Service works
   closely with the State of Colorado to ensure compliance with NAAQS.


                         Rio Grande National Forest - 14 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000313
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 314 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Air Quality
   There is an abundance of current and historical data related to air quality in or near the Rio Grande
   National Forest. Knowledge of the data and any relevant trends provides an understanding of the air
   quality parameters that influence air quality on the forest that could affect resources impacted by air
   pollution. Included are general descriptions of baseline emissions inventories, ambient air quality
   measurements, visibility, and deposition measurements that define current air quality conditions of the
   plan area.

   Existing and Potential Sources and Inventories
   Air quality effects on national forests are generally traceable back to the original source of emissions.
   Therefore, air emission information provides an overview of the magnitude of air pollution and is
   important in understanding air quality on the forest. Also, trends in precursor emissions would be
   expected to track with trends on the forest, e.g., visibility, acid deposition. For example, improving
   visibility conditions in Class I areas would generally be associated with corresponding decreases in
   emissions for visibility precursor pollutants.

   Emissions information is generally tracked for pollutants that have health-based air quality standards such
   as carbon monoxide (CO), nitrogen oxides (NOx), sulfur dioxide (SO2), volatile organic compounds
   (VOCs), and particulate matter (PM). VOC emissions do not have a health-based standard, but are
   involved in the atmospheric chemical reactions that lead to ozone (O3), which does. Ozone pollution is of
   added concern because it can stress sensitive ecological systems. PM emissions are generally broken into
   two categories based on the size of the emissions. Fine PM represents the particulate matter sized at or
   below 2.5 microns in diameter. Course PM represents the particulate matter sized at or below 10 microns
   but above 2.5 microns, in diameter. Smaller sized particles have greater health-related impacts because
   the smaller particles are more easily inhaled into the lungs.

   Stationary Sources
   Stationary sources of pollution include facilities such as those used for energy production, mining and
   milling operations, gravel and cement plants, and ski areas. Areas directly affected by these facilities are
   typically confined to a radius of tens of kilometers downwind of the facility. The dimensions of the
   downwind zones of influence are variable, and are primarily controlled by the strength of the effluent at
   its source, local meteorology, and regional topography. Large stationary sources, typically facilities that
   produce more than 100 tons/year, can impact national forest areas in excess of 300 km downwind by
   contributing to pollutant haze layers.

   The Colorado Department of Public Health and Environment, Air Pollution Control Division website at
   http: //www.colorado.gov/airquality/ss map wm.aspx was queried for stationary sources of air pollution
   within a 100 kilometer (62 mile) radius (the upper distance limit of the query) of Monte Vista, Colorado,
   which serves as a good centroid for the Rio Grande National Forest and its associated sub-airshed.
   Priority pollutants carbon monoxide (CO), nitrogen oxides (NOx), sulfur dioxide (SO2), particulate matter
   < 10 microns (PMi0) and particular matter < 2.5 microns (PM2.5), as well as non-priority pollutant volatile
   organic compounds (VOC), were queried (Figure 1 through Figure 6).

   The major stationary sources of CO, NOx, and SO2 are in the central part of the San Luis Valley. The
   major stationary sources of PM10, PM2.5, and VOC are in the central, north-central, south-central, and
   south-eastern parts of the Valley. Facility names and emission quantities are available at the CDPHE
   website.




                          Rio Grande National Forest - 15 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000314
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 315 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   In addition to the State of Colorado inventory, the Environmental Protection Agency 2011 National
   Emissions Inventory at http://www.epa.gov/ttn/chief/net/2011 inventory.html was queried for emissions in
   the dominant upwind directions pertinent to the Rio Grande National Forest. This query allowed for
   assessment of stationary source emissions that extend beyond the 62 mile limit of the State of Colorado
   query. Upwind areas that contain facilities that could potentially affect air quality in the Forest include a
   large area south of Durango, Colorado and east of Farmington, New Mexico, and a concentrated area
   around Spanish Peaks west of Trinidad, Colorado. Facilities in these areas are associated primarily with
   energy use and development. Other potential sources include areas around and south/southeast of
   Phoenix, Arizona and the Los Angeles metropolitan area in California.




                          Rio Grande National Forest - 16 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000315
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 316 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




        16 sources of CO (Ota 74.20 tpy wAii 100 km. of 37.58052 N, ICK. 14353 W (Gew)rapti< WGS 1904)




                                                                                             C;iP)j^aS!4£lr!

   Figure 1. Sources of carbon monoxide (CO) within 100 kilometers (62 miles) of Monte Vista, Colorado.




                          Rio Grande National Forest - 17 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000316
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 317 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 2. Sources of nitrous oxides (NOx) within 100 kilometers (62 miles) of Monte Vista, Colorado.




                          Rio Grande National Forest - 18 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000317
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 318 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




       15 scrtjrees oT SO2 lota! 3437 W w^n IDO km. of 37.58052 N, 1D6.14953 W (Geographic, WGS 1904)




                                                                                             C;iP)li^AS!4££r!


   Figure 3. Sources of sulfur dioxide (SO2) within 100 kilometers (62 miles) of Monte Vista, Colorado.




                          Rio Grande National Forest - 19 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000318
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 319 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




      49 sources of PM 10 (otai 295.34 Ipy wAn 100 km. of 37.50052 N, 105 14953 W iGeogi^rtc, W3S 1904)




   Figure 4. Sources of course particulate matter (PM10) within 100 kilometers (62 miles) of Monte Vista,
   Colorado.




                          Rio Grande National Forest - 20 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000319
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 320 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 5. Sources of fine particulate matter (PM2.5) within 100 kilometers (62 miles) of Monte Vista, Colorado.




                          Rio Grande National Forest - 21 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000320
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 321 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 6. Sources of volatile organic compounds (VOC) within 100 kilometers (62 miles) of Monte Vista,
   Colorado.




                         Rio Grande National Forest - 22 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000321
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 322 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Area and Mobile Sources
   Area and mobile sources of pollution include, among other things, automobiles, agricultural activities,
   planes, trains, residential wood burning, lawn mowers, and barbeques. Smoke from wild and prescribed
   fires, as well as wind-blown dust, are also considered area sources. While stationary sources were the
   initial focus of the Clean Air Act, pollutants from regional-scale area sources are more likely to affect
   national forest areas. Global emissions of carbon dioxide and other greenhouse gases are increasing in
   concentration, and very likely causing dramatic changes in climate. The effects from a changing climate
   may result in the greatest anthropogenic changes to national forest areas.

   The Colorado Department of Public Health and Environment, Air Pollution Control Division website at
   http: //www.colorado.gov/airquality/inv maps.aspx was queried for area/mobile sources of pollution in the
   vicinity of the two wilderness areas (Table 1). The queries are done by county. The Rio Grande National
   Forest lies within ten Colorado counties: Alamosa, Conejos, Costilla, Mineral, Rio Grande, Saguache,
   Hinsdale, Custer, San Juan, and Archuleta.

   Primary sources for CO include wood burning, vehicles and non-road engines; for NOx vehicles, non­
   road engines, oil/gas, and railroads; for SO2 wood burning, combustion, vehicles, oil/gas, and non-road
   engines; for PM wood burning, road dust, agriculture tilling, and construction; and for VOC pesticides,
   wood burning, non-road engines, and vehicles.

   Wildfire and Prescribed-fire Smoke, and Dust
   Wildfire smoke, particularly from large fires, is a vivid air quality impact to the Forest on a seasonal
   basis. Prescribed fire is the predominant emission-producing management activity practiced by the Forest
   Service. Emissions from fire (wildland and prescribed) are an important episodic contributor to visibility­
   impairing aerosols, including organic carbon, elemental carbon, and particulate matter. Wildfire impacts
   are increasingly difficult to manage due to excessive fuel loads, history of fire exclusion, increased urban
   interface, and climate change (drought and increasing temperatures). Prescribed fire and fuel treatment
   projects include mastication, thinning, broadcast burns (area burns designed to reduce fuels in a
   contiguous area over a landscape) and pile burns (discrete piles of slash from timber harvest and/or
   thinning from fuel treatment projects). These treatment techniques are designed to reduce the size,
   frequency, and intensity of wildland fires and improve fire control, increase predictability of fire effects,
   and allow for smoke emissions management.

   Dust generated by winds blowing across the San Luis Valley is also an apparent air quality impact to the
   Forest, particularly the part of the Forest in the Sangre de Cristo Mountains. Dust generated in the
   southwestern U.S. and at a global scale also impacts the Forest, most apparent as a dark covering of the
   snowpack as it melts in the spring.

   Potential Future Sources
   A potential future source of emissions that could impact the Forest is energy development in southwest
   Colorado and northwest New Mexico. The adjacent San Juan National Forest tracks this potential source
   for possible effects on the Weminuche Wilderness Area. This tracking will be useful to the Rio Grande
   National Forest in the future.




                          Rio Grande National Forest - 23 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000322
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 323 of 406

                                       Rio Grande National Forest Assessment 2 -
                              Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 1. Area and mobile sources of pollutants near the Rio Grande National Forest. All values are in
                                             tons/year (T/Y).___________________________________________________________
             County                 CO               NOx            SOx            PM10                VOC
    Saguache                         2646              339              4              1879            3125
    Mineral                          2615              222              1              201              975
    Conejos                          2917              354              5              975              734
    Rio Grande                       4721              539              6              1175            4305
    Hinsdale                         2325               67              2              640              944
    San Juan                         2580               76              4              169              1103
    Alamosa                          3832              555             36              1218            3047
    Archuleta                        4661              459              5              1130             830
    Custer                           2120              145              2              718              460
    Costilla                         2016              237              3              1606             845
    Total                            30433             2993            68             9711             16368


   Air Resource Monitoring

   Visibility

   IMPROVE
   The Interagency Monitoring of Protected Visual Environments (IMPROVE) program was established in
   1985 to assist in the management of visibility in Class I areas. Four objectives were identified:

       •     Establish current visibility and aerosol conditions in mandatory Class I areas
       •     Identify chemical species and emission sources responsible for existing man-made visibility
             impairment
       •     Document long-term trends for assessing progress towards the national visibility goal
       •     Provide regional haze monitoring as part of the enactment of the Regional Haze Rule
   There are three IMPROVE monitors representative of the Rio Grande National Forest: Site GRSA1
   located in Great Sand Dunes National Park and sites WEMI1 and SHMI1 located on the San Juan
   National Forest. GRSA1 and WEMI1 were installed in 1988. SHMN1 was installed in 2004. Increased
   levels of aerosols are common and likely related to wind driven dust events and wildfire smoke (Figure
   7). These spikes affect visibility, particularly at Great Sand Dunes National Park. The visibility effects at
   the Park are likely being observed in portions of the Sangre de Cristo Wilderness as well.

   Haze index data indicate visibility on the clearest days is on an upward trend, i.e., visibility improvement,
   at both Great Sands Dunes and Weminuche, with no apparent trend on the haziest days (Figure 8 through
   Figure 10). The period of record at Shamrock is too short to assess trend.

   Extinction trends on the best visibility days at Great Sand Dunes and Weminuche indicate apparent
   upward, i.e., visibility improvement, trend with organic mass, course mass, and ammonium sulfate
   (Figure 11 through Figure 13). Elemental carbon is on an apparent upward trend on the best visibility
   days at Weminuche, while there is no apparent trend on the best visibility days with elemental carbon at
   Great Sand Dunes. There is no apparent trend on the best visibility days with ammonium nitrate, soil, or
   sea salt at either of these two locations. The period of record at Shamrock is too short to assess trend.



                           Rio Grande National Forest - 24 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000323
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 324 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 7. Visibility (deciviews) at Shamrock Mine (SHM1), Great Sand Dunes National Park (GRSA1), and
   Weminuche (WEMI1). Data is available through 2013 but a glitch in the website plot function prevents display
   of these data.




                          Rio Grande National Forest - 25 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000324
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 325 of 406

                                    Rio Grande National Forest Assessment 2 -
                           Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 9. Haze index (deciviews) at Great Sand Dunes National Park (GRSA1)




   Figure 10. Haze index (deciviews) at Weminuche (WEMI1)

   Extinction trends on the worst visibility days at Great Sand Dunes and Weminuche indicate apparent
   upward, i.e., visibility improvement, trend with ammonium sulfate, but downward, i.e., visibility


                         Rio Grande National Forest - 26 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000325
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 326 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   reduction, trend with organic mass (Figure 14through Figure 16). There is no apparent trend on the worst
   visibility days with the other aerosol constituents at either of these two locations. The period of record at
   Shamrock is too short to assess trend.

   Colorado Scenic and Important Views
   The Colorado Air Pollution Control Division (CAPCD) maintains a database of “scenic and important
   views” in Class II areas. This database is used by the Division to determine if there are any sensitive Class
   II views that might trigger their visibility “additional impact analysis” requirements under the PSD rules.
   Knowledge of these sites is not necessarily useful to Forest Plan Revision, but knowing they exist is
   important to Forest Plan implementation as the Forest works with the State on PSD permits. At that time,
   CAPCD can be contacted for the most current list of sites in their database.




   Figure 11. Extinction trends on the best visibility days at Shamrock Mine (SHMN1).

   Wilderness Lake Monitoring
   Lake sampling in or around the Rio Grande National Forest has been conducted by various entities over
   the last three decades, i.e., since the mid-1980s. This sampling was and still is designed to characterize
   wilderness lake chemistry and sensitivity to acidic deposition. Some of these data is synoptic while some
   identify current conditions and trends of acid deposition in wilderness lakes. Data may be reported as acid
   neutralizing capacity (ANC) or alkalinity. Lakes are generally considered sensitive to atmospheric induced
   acid deposition change if ANC is less than 50 ^eq/L and highly sensitive if ANC is less than 25 ^eq/L. Lakes
   are considered highly sensitive if alkalinity is less than 10 mg/l, moderately sensitive if alkalinity is between
   10 and 20 mg/l, and non-sensitive if alkalinity is over 20 mg/l.




                           Rio Grande National Forest - 27 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000326
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 327 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


                   Extinction Trends on the Best Visibility Days
                                      Great Sand Dunes NM




                                                                                    — Amm&niumNitrsieBciiActisn
                                                                                    — Ammonium SvifaieExiifiction

                                                                                    —■ Cai bon, Eiememai Exiin ciion

                                                                                     — Coarse Wass Extinction

                                                                                          Organic Wass Extinction

                                                                                          Sea Salt Extinction

                                                                                    — Soil Extinction




          0       —■                                                    ■




   Figure 12. Extinction trends on the best visibility days at Great Sand Dunes National Park (GRSA1).




   Figure 13. Extinction trends on the best visibility days at Weminuche (WEMI1).




                          Rio Grande National Forest - 28 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000327
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 328 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 14. Extinction trends on the worst visibility days at Shamrock Mine (SHMN1).




   Figure 15. Extinction trends on the worst visibility days at Great Sand Dunes National Park (GRSA1).




                          Rio Grande National Forest - 29 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000328
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 329 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 16. Extinction trends on the worst visibility days at Weminuche (WEMI1).

   EPA Western Lakes Survey
   In 1985, the Environmental Protection Agency (EPA) conducted a nationwide study of acid deposition.
   The Western Lakes Survey (WLS) was a one-time stratified sampling effort designed to provide large
   scale regional information about lake chemistry throughout the United States (Eilers et al 1987 and
   Landers et al 1987). Three lakes on the Rio Grande National Forest were sampled: Pioneer Lake, Willow
   Crk Lks (SE), and Lost Lakes (North). The first two lakes are in the Sangre de Cristo Mountains. The
   third lake is in the San Juan Mountains. These historical data did not give detailed information about the
   processes occurring over time in any one lake but did provide some indication of the buffering abilities of
   the sampled lakes. Acid neutralizing capacity (ANC in ueq/l) for the three lakes was 441, 422, and 556,
   respectively, suggesting considerable buffering capacity.

   Rio Grande National Forest Lake Monitoring
   Selected wilderness high lake monitoring has occurred on the Rio Grande National Forest since 1992.
   Synoptic surveys of 32 lakes in the Weminuche, 16 lakes in the South San Juan, and 6 lakes in the La
   Garita wilderness areas were conducted in 1992. In 1993, annual monitoring began on 8 lakes in the
   Weminuche, 2 lakes in the South San Juan, and 2 lakes in the La Garita. In 1994, three of the Weminuche
   lakes were dropped from the monitoring effort.

   In 1995 synoptic surveys were conducted on numerous lakes in the Sangre de Cristo wilderness. Crater
   Lake and Upper Little Sand Creek Lake were then selected for long-term monitoring, which began in
   1996. Upper Little Sand Creek Lake is now part of Great Sand Dunes National Park.

   ANCs for the above mentioned lakes indicate waterbodies in the Weminuche and South San Juan
   wilderness areas are sensitive to atmospheric deposition, while waterbodies in the La Garita and Sangre
   de Cristo wilderness areas are not.




                         Rio Grande National Forest - 30 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000329
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 330 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   San Juan, GMUG, and PSI Lake Monitoring
   The surrounding San Juan, GMUG, and Pike/San Isabel National Forests also monitor high elevation
   lakes in the Weminuche, South San Juan, La Garita, and Sangre de Cristo wilderness areas. The Rocky
   Mountain Regional Office, in cooperation with these Forests and the Rio Grande National Forest, is in the
   process of analyzing the entire high elevation lakes water chemistry dataset for trend. This analysis may
   or may not be available for the Plan revision effort. If it becomes available the Forest should utilize it as
   part of the plan revision effort, as well as for general air program management.

   Snowpack Chemistry Monitoring
   The U. S. Geological Survey (USGS) conducts annual snow chemistry surveys along the Rocky
   Mountain range from New Mexico through Montana. Annual snow packs accumulate atmospheric
   deposition such as nitrates and sulfates throughout the winter and offer opportunity to collect composite
   samples of the majority of annual precipitation. The survey network was initiated to determine annual
   concentrations and deposition of selected nutrients and other constituents collected in snowpack samples,
   assess trends, and support investigations of the effects of atmospheric deposition at local and regional
   levels. Detailed information about this monitoring program can be found at
   http://co.water.usgs.gov/projects/RM snowpack/.

   There are eight monitoring sites in close proximity to the Rio Grande National Forest potentially useful
   for atmospheric deposition monitoring: Hopewell, Molas Lake, Monarch Pass, Music Pass, Red Mountain
   Pass, Slumguillion Pass, Taos Ski Valley, and Wolf Creek Pass. A map showing the locations of these sites
   is available at the above mentioned website.

   Site Data and Comparisons
   Data are collected for seventeen metrics at each of these three sites. Each site is sampled once per year in
   late March to early April, which corresponds to the time when annual snow packs are near their maxima.
   For this assessment, ammonium (NH4), nitrate (NO3), sulfate (SO4) and mercury (Hg) concentrations
   were visually evaluated for trend. The period of record varies by site and constituent. Deposition data for
   these four constituents were not evaluated as a part of this assessment due to concerns with snow water
   equivalent data (some data are measured while some are estimated) needed to convert concentrations to
   deposition.

   Apparent concentration trend varies by site and metric (Figure 17 to Figure 20and Table 2). Generally
   speaking, there is no apparent trend with NO3. SO4 is on an apparent downward trend. NH4 and Hg
   apparent trend varies from none to upward depending upon the site. The Forest should conduct statistical
   analysis on these data similar to the analysis done for the Mount Massive and Buffalo Peaks Wilderness
   Areas on the Pike and San Isabel National Forest (Forest Service 2014).




                          Rio Grande National Forest - 31 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000330
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 331 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 17. Annual snowpack nitrate concentration at eight locations in and around the Rio Grande National
   Forest.




   Figure 18. Annual snowpack sulfate concentration at eight locations in and around the Rio Grande National
   Forest.




                         Rio Grande National Forest - 32 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000331
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 332 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 19. Annual snowpack ammonium concentration at eight locations in and around the Rio Grande
   National Forest.




   Figure 20. Annual snowpack mercury concentration at eight locations in and around the Rio Grande National
   Forest.




                         Rio Grande National Forest - 33 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000332
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 333 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 2. Apparent (visual) trend of nitrate, sulfate, ammonium, and mercury at eight locations in and around
   the Rio Grande National Forest.
                                           Apparent Concentration Trend
                                                                                                  Taos     Wolf
                                   Molas       Monarch      Music       Red        Slumguillion
    Site             Hopewell                                                                      Ski     Creek
                                   Lake         Pass        Pass      Mountain        Pass
                                                                                                  Valley   Pass
    NO3 (ueq/l)       None          None         None       None       None           None        None     None
    SO4 (ueq/l)       Down          Down        Down        None       Down           Down        Down     Down
    NH4 (ueq/l)         Up           Up          None        Up        None           None        Down      Up
    Hg (ng/l)           Up          None         None       None         Up            Up          Up       Up

   Atmospheric Deposition Monitoring

   National Atmospheric Deposition Program
   The National Atmospheric Deposition Program (NADP) is a cooperative monitoring effort between many
   different groups and agencies. NADP began as a precipitation chemistry network to provide data on the
   amounts, trends, and geographic distributions of acids, nutrients, and base cations in precipitation.
   Overtime, the program expanded and now has five components: NADP National Trends Network (NTN),
   Atmospheric Integrated Research Monitoring Network (AIRMoN), Mercury Deposition Network (MDN),
   Atmospheric Mercury Network (AMNet), and Ammonia Monitoring Network (AMoN). Data for the
   NADP program are available at http://nadp.sws .uiuc. edu/.

   NTN is the original NADP program. The nearest NTN sites are Alamosa (CO00) established in 1980,
   Wolf Creek Pass (CO91) established in 1992, and Molas Pass (CO96) established in 1986. AIRMoN is
   similar to NTN in that the same chemicals are measured but sampling is daily rather than weekly.
   Currently all AIRMoN sites are in the eastern United States. MDN assesses total mercury and at certain
   sites methyl mercury. The nearest MDN site is Molas Pass (CO96), established in 2009. AMNet measures
   atmospheric mercury fractions which contribute to dry and total mercury deposition. The nearest AMNet
   site is Salt Lake City, UT. AMoN provides a long-term record of ammonia gas concentrations. The nearest
   AMoN sites are Gothic (CO10) near Crested Butte, Colorado and Navajo Lake (NM98) in north-central
   New Mexico. Gothic was established in 2012. Navajo was established in 2008. The MDN and AMoN
   data sets are insufficient for trend analysis as a part of this assessment. Data from these sites may prove
   useful to managers on the Forest at some point in the future.

   NTN concentration and deposition data for NO3, SO4, and NH4 are useful for apparent (visual) trend
   analysis (Figure 21 through Figure 38 and Table 3 and Table 4). Sulfate concentration and deposition are
   on an apparent downward trend at all sites. Nitrate concentration and deposition apparent trend varies
   from downward to none to upward depending upon the site. Ammonia is on an apparent upward trend at
   all sites. These apparent trends are consistent with trends occurring throughout the western United States.
   The Forest should conduct statistical analysis on these data similar to the analysis done for the Mount
   Massive and Buffalo Peaks Wilderness Areas on the Pike and San Isabel National Forest (Forest Service
   2014).

   Clean Air Status and Trend Network
   The Clean Air Status and Trend Network (CASTNet) is a national air quality monitoring network
   designed to provide data for assessing trends in air quality, atmospheric deposition, and ecological effects
   due to changes in air pollutant emissions. The program provides long-term monitoring of air quality in
   rural areas to determine trends in regional atmospheric nitrogen, sulfur, and ozone concentrations and
   deposition fluxes of sulfur and nitrogen pollutants in order to evaluate the effectiveness of national and



                          Rio Grande National Forest - 34 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000333
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 334 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   regional air pollution control programs. Detailed information on the program can be found at
   http://epa.gov/castnet/javaweb/index.html.




                         Rio Grande National Forest - 35 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000334
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 335 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 23. Ammonium concentration trend at Alamosa NADP site.




   Figure 24. Nitrate concentration trend at Wolf Creek Pass NADP site.




                          Rio Grande National Forest - 36 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000335
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 336 of 406

                               Rio Grande National Forest Assessment 2 -
                     Air Quality, Soils, Geology, Watersheds and Water Resources




                   Rio Grande National Forest - 37 - Forestwide Planning Assessment
                                                                        Rvsd Plan - 00000336
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 337 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 28. Sulfate concentration trend at Molas Pass NADP site.




                         Rio Grande National Forest - 38 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000337
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 338 of 406

                               Rio Grande National Forest Assessment 2 -
                     Air Quality, Soils, Geology, Watersheds and Water Resources




                   Rio Grande National Forest - 39 - Forestwide Planning Assessment
                                                                        Rvsd Plan - 00000338
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 339 of 406

                              Rio Grande National Forest Assessment 2 -
                     Air Quality, Soils, Geology, Watersheds and Water Resources




                   Rio Grande National Forest - 40 - Forestwide Planning Assessment
                                                                        Rvsd Plan - 00000339
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 340 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 33. Nitrate deposition trend at Wolf Creek Pass NADP site.




   Figure 34. Sulfate deposition trend at Wolf Creek Pass NADP site.




                          Rio Grande National Forest - 41 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000340
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 341 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 36. Nitrate deposition trend at Molas Pass NADP site.




                          Rio Grande National Forest - 42 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000341
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 342 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Table 3. Apparent (visual) concentration trend at NADP sites near the Rio Grande National Forest.
                                           Apparent Concentration Trend
    Site                               Alamosa                  Wolf Creek Pass               Molas Pass
    NO3                                   Up                         None                       None
    SO4                                  Down                        Down                       Down
    NH4                                   Up                           Up                         Up




                          Rio Grande National Forest - 43 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000342
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 343 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 4. Apparent (visual) deposition trend at NADP sites near the Rio Grande National Forest.
                                             Apparent Deposition Trend
    Site                                Alamosa                  Wolf Creek Pass               Molas Pass
    NO3                                  None                         Down                          None
    SO4                                  Down                         Down                          Down
    NH4                                  None                          Up                            Up



   Unfortunately, there are no CASTNet monitoring sites within close proximity to the Rio Grande National
   Forest. However, the Gothic (GTH161) site near Crested Butte and Mesa Verde (MEV405) site west of
   Durango are worth noting. Changes in atmospheric deposition at these sites may prove useful to managers
   on the Forest at some point in the future.

   Ozone Monitoring
   The nearest active ozone monitoring site to the Rio Grande National Forest is Shamrock Mine (08-067­
   1004) at Wolf Creek Pass, established in 2004. There is an inactive site at Great Sand Dunes National
   Monument with data available for 1990 and 1991. Ozone concentrations at Shamrock are within
   standards, and appear to be cyclical on a 5-year basis, with no apparent trend (Figure 39).

   The Forest Service and State of Colorado monitor ozone at multiple rural sites across the southern Rocky
   Mountains. Musselman and Korfmacher (2014) recently summarized these data. The authors noted many
   of these locations have, on occasion, O3 concentrations that exceed the current NAAQS standard but there
   are significant year-to-year differences, concentration levels are primarily in the mid-concentration range
   (rarely exceed 100 ppb or drop below 30 ppb), and the small daily fluctuations indicate overall stable
   concentrations. They also noted stratospheric intrusion may be a contributing factor in that the highest
   nighttime concentrations occur at the highest elevations. Daytime concentrations apparently are not
   correlated with elevation. While none of the sites assessed in the study are in or near the Rio Grande
   National Forest, the results are worth noting from a general monitoring perspective. The Forest should
   maintain communication with and support the Rocky Mountain Station and State of Colorado as
   additional rural ozone data are collected, analyzed, and reported.

   Watershed Condition Framework
   The Watershed Condition Framework characterizes the health and condition of National Forest System
   lands. The characterization is a reconnaissance-level approach using a comprehensive set of twelve
   indicators and twenty-four attributes that are surrogate variables representing ecological, hydrological,
   and geomorphic functions and processes that affect watershed condition. The primary emphasis of the
   classification is on aquatic and terrestrial processes and conditions that Forest Service management
   activities can influence. The initial or baseline characterization for the Rio Grande National Forest was
   completed in 2010.

   One attribute within the Forest Health indicator is Ozone. This attribute is rated to address forest mortality
   impacts to hydrologic and soil function due to air pollution. All watersheds on the Forest were rated
   “functioning properly” relative to Ozone.

   There are two other attributes, i.e., water quality problems and soil contamination, rated in part using data
   related to air quality. A more current assessment is provided below in the critical loads discussion and
   should be used when the Forest updates the Watershed Condition Framework.




                          Rio Grande National Forest - 44 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000343
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 344 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




   Critical Loads
   The Air Quality Portal for Land Management Planning provides guidance on assessing critical loads
   (CLs) of air pollution http://www.srs.fs.usda.gov/airqualityportal/index.php to determine if concerns exist
   with acidification, i.e., acid rain, and nutrient loading, e.g., nitrogen saturation, of several ecosystems
   components. The seven step critical load implementation strategy outlined in the guidance was followed
   as part of this assessment. Step 1 or the initial screening showed the potential for critical load exceedance
   on the Rio Grande National Forest. Step 2 indicated ecosystem sensitivity to atmospheric deposition due
   to potentially elevated deposition of nitrogen at two NADP sites in the vicinity of the Forest (Table 4),
   and low buffering capacity of high elevation lakes in the Class I Weminuche Wilderness and the Class II
   South San Juan Wilderness (see narrative under Rio Grande National Forest Lake Monitoring heading
   above). Step 3 established there are no published regional or local critical load estimates so national
   estimates should be used, allowing Steps 4 and 5 to be skipped. Steps 6 and 7 involved examination and
   interpretation of atmospheric pollution impacts on various ecosystem components. Step 6 was a detailed
   GIS analysis, resulting in numeric output and maps of exceedance information (Table 5 and Maps 1
   through 8).

   The analysis indicates exceedance of critical loads at certain lakes but buffering by geology and soils
   should, generally, mitigate any concerns. However, there are small lakes in the Weminuche and South San
   Juan Wilderness Areas with low acid neutralizing capacity (ANC) where localized geologic and soil
   material, e.g., excessive exposed bedrock with no soil mantle, may not provide adequate buffering. Thus,
   current lake monitoring efforts should continue and the Forest should critically review the trend analysis
   being conducted by the Region (see narrative under San Juan, GMUG, and PSI Lake Monitoring heading
   above) to determine if current lake monitoring efforts needs to be revised.

   The analysis indicates the extent and severity of exceedance for mycorrhizal fungi is low and thus not a
   concern. Exceedances of the lichen CLs falls within the realm of uncertainty so lichen monitoring in the
   Class I Weminuche and La Garita Wilderness Areas may be beneficial to measure the extent to which


                          Rio Grande National Forest - 45 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000344
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 345 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   potential effects have occurred. Exceedances of the minimum CL for herbaceous plants/shrubs and forests
   occur across twenty-nine percent of the Forest; and for nitrate leaching across forty-one percent of the
   Forest. While 1.66 kg/ha/yr deposition is not particularly high, it is within the range of CL concerns so
   the exceedance could be leading toward issues with lower organic soil horizon C:N ratios, higher N
   mineralization rates, higher potential net nitrification rates and foliar N concentration, and higher N:P,
   N:Ca, and N:Mg ratios in forested areas, and changes in plant species composition in alpine ecosystems
   enhancing rates of nitrogen cycling, which could lead to nonlinear increases in nitrate leaching and soil
   acidification (Pardo et al 2011). Because ammonium (NH4) deposition at two NADP sites in the vicinity
   of the Forest visually appears to be on an upward trend (Figure 35 and Figure 38) soil and vegetation
   monitoring in the Class I Weminuche and La Garita Wilderness Areas may be desirable to measure the
   extent to which potential effects have occurred. Until additional information becomes available that
   disputes or supports the results of this critical load assessment, the Forest does not need to establish
   refined critical loads and target loads at this time; rather, the Forest should continue with development,
   adjustment, and implementation of its existing air resources program.

   Table 5. Implementation Plans
                                                              Critical Loads
                                                                                                  Nutrient N:
       Exceedance                                                                              Mycorrhizal fungi,
         Metrics           Acidity: Surface      Acidity: Forested
                                                                       Nutrient N: Lichens        Herbaceous
                               Waters              Ecosystems
                                                                                                plants/shrubs,
                                                                                               Forests, Leaching
                                                                                                   5% of Forest
                                                                                               exceeds mycorrhizal
                                                                                                     fungi CL
                                                                          1% of Forest
                                                                       exceeds maximum            29% of Forest
                                                                              CL                  exceeds both
                          5 of 26 lakes (19%)
    Extent                                        0% exceedance                                    herbaceous
                               exceed CL                                 65% of Forest          plants/shrubs and
                                                                       exceeds minimum              forests CL
                                                                              CL
                                                                                                  41% of Forest
                                                                                                 exceeds nitrate
                                                                                                   leaching CL
                                                                                               0 to 0.66 kg/ha/yr for
    Severity (amount of                                                0 kg/ha/yr for lichen     mycorrhizal fungi
    deposition being       Minimum value = 0
                                                                           maximum CL          0.02 to 1.66 kg/ha/yr
    received above the         meq/m2/yr
                                                        N/A            0.01 to 2.73 kg/ha/yr      for herbaceous
    CL) - range of        Maximum value = 19
    exceedance                 meq/m2/yr                                for lichen minimum         plants/shrubs,
    amount                                                                       CL             forests, and nitrate
                                                                                                      leaching
                                                                                               0.04 for mycorrhizal
                                                                           0 for lichen                fungi
    Severity - 95%         N/A due to small                               maximum CL           1.04 for herbaceous
                                                        N/A
    exceedance value         sample size                                  1.52 for lichen         plants/shrubs,
                                                                           minimum CL          forests, and nitrate
                                                                                                     leaching
    Reliability                    High                 Low                    High                  Variable



   Colorado’s regional haze State Implementation Plan (SIP) was approved by the Air Quality Control
   Commission in January 2011 and by EPA in January 2013. Details can be found at
   http://www.colorado.gov/cs/Satellite?c=Page&childpagename=CDPHE-



                          Rio Grande National Forest - 46 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000345
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 346 of 406

                                       Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   AP%2FCBONLayout&cid=1251594862597&pagename=CBONWrapper . The Forest Service worked
   closely with the State of Colorado during the development of the SIP.

   The State of Colorado has developed a natural events action plan for responding to wildfire smoke and
   focuses only on wildfires that require suppression action. Action plan details can be found at
   http://www.colorado.gov/cs/Satellite?c=Page&childpagename=CDPHE-
   AP%2FCBONLayout&cid=1251595265392&pagename=CBONWrapper . The Rio Grande National
   Forest staff works closely with the State of Colorado to conform to this plan.

   Natural Hazards
   There are no known large, broad-scale, major geologic hazards within the Rio Grande National Forest
   that may affect air quality.

   Multiple Uses / Ecosystem Services
   The air resource on the Rio Grande National Forest, in conjunction with soil, water and watershed
   resources, is part of the foundation for providing for the full suite of multiple uses available from national
   forests. Good to excellent air quality is a prerequisite to many National Forest uses, products, and
   services. For example, people recreate on the Forest to enjoy clean air and view expansive vistas; water
   unpolluted by atmospheric deposition provides on- and off-Forest uses such as habitat for aquatic
   organisms, and drinking, industrial, and agricultural supply; and clean air assists in climate regulation,
   particularly relative to greenhouse gases.

   Conditions and Trends
   Overall, air quality within and near the Rio Grande National Forest is good to excellent as the area is
   minimally developed, has limited local emissions sources, and predominantly very robust air dispersion.
   Wildfire emissions, depending upon the year, can be the most significant source of pollution within and
   around the Forest, but are not controllable by management except indirectly, through fire suppression.
   Prescribed-fire emissions in the area do occur during the spring and late fall. The amount of activity is
   expected to hold constant, with a few to several hundred acres per year being treated. Smoke management
   is regulated by permit from the State of Colorado. Overall smoke emissions (wildfire and prescribed) are
   expected to remain about the same, with the major variable being weather conditions.

   Dust generated by winds blowing across the San Luis Valley is also an apparent air quality impact to the
   Forest, particularly the part of the Forest in the Sangre de Cristo Mountains. Dust generated in the
   southwestern U.S. and at a global scale also impacts the Forest, most apparent as a dark covering of the
   snowpack as it melts in the spring.

   The greatest threat to air quality within the Forest is from upwind anthropogenic sources. Upwind urban
   and particularly industrial air pollution, although low to moderate compared with much of the U.S., has a
   potentially persistent impact, because many of these emissions occur year-round. These sources are
   managed by the air quality regulatory agencies in Colorado and upwind states, with collaboration from
   the Forest Service for major sources permitting through the PSD process. Currently, as previously
   discussed, all Colorado communities are in attainment of all National Ambient Air Quality Standards,
   with the exception of the Front Range ozone control area, which is in non-attainment for the 8-hour ozone
   standard. In the past there were several communities across the State in non-attainment for violation of
   one or more of the federal clean air standards. Implementation plans have since been developed for these
   communities. These plans show how these communities have attained and will maintain compliance with




                          Rio Grande National Forest - 47 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000346
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 347 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   the standards. The closest community to the Forest under one of the maintenance plans is Pagosa Springs
   for particulate matter (PM10).

   The largest air quality concern on the Rio Grande National Forest arises from energy development in
   southwest Colorado and northwest New Mexico, and perhaps the Spanish Peaks area west of Trinidad,
   Colorado. Continued compliance with NAAQS and protection of Class I and II areas on the Rio Grande
   National Forest requires continued close coordination between the Forest Service and air quality
   regulatory agencies in Colorado and upwind states.

   There is a considerable amount of historic and current air quality monitoring data available to the Forest
   for tracking air quality conditions and impacts on air quality values. Some of this information is more
   valuable than others as previously discussed. IMPROVE sites for the Weminuche Wilderness and Great
   Sand Dunes National Park are useful for visibility monitoring. The Colorado “scenic and important
   views” database is useful for PSD permitting efforts the Forest may become engaged with in the future.
   Historic and on-going lake water chemistry data is useful for tracking atmospheric deposition in terms of
   acid rain and nutrient loading. Surrounding USGS snowpack chemistry data and NADP deposition data
   are very useful for atmospheric deposition monitoring.

   Haze indices indicate visibility on the clearest days is improving over time but there is no apparent trend
   in the index on the haziest days. Episodic wind events and associated dust appear to be affecting visibility
   on the Forest, particularly in the Sangre de Cristo Mountains. Regional and global wind driven dust also
   appear to be affecting visibility. High elevation lake monitoring indicates there are lakes sensitive to
   atmospheric deposition in the Weminuche and South San Juan Wilderness Areas but not in the La Garita
   and Sangre de Cristo Wilderness Areas. These data sets are presently being analyzed for trend, but the
   results may or may not be available for the current revision effort. Snowpack chemistry monitoring
   indicates no apparent trend with nitrate concentrations, an apparent downward trend with sulfate
   concentrations, and no apparent to an apparent upward trend with ammonium and mercury
   concentrations. NADP site data indicates an apparent downward trend in sulfate concentration and
   deposition, apparent downward to no trend to upward trend in nitrate concentration and deposition
   depending upon location, and apparent upward trend in ammonium concentration and deposition. Both
   the snowpack and NADP datasets should be statistically analyzed to validate whether the apparent trends
   are real.

   Critical load (CL) assessment indicates exceedance of critical loads at certain lakes but buffering by
   geology and soils should, generally, mitigate any concerns. However, there are small lakes in the
   Weminuche and South San Juan Wilderness Areas with low acid neutralizing capacity (ANC) where
   localized geologic and soil material, e.g., excessive exposed bedrock with no soil mantle, may not provide
   adequate buffering. Thus, current lake monitoring efforts should continue and the Forest should critically
   review the trend analysis being conducted by the Region (see narrative under San Juan, GMUG, and PSI
   Lake Monitoring heading above) to determine if current lake monitoring efforts needs to be revised.

   The critical load assessment indicates potential concern with nitrogen deposition on lichens, soil quality
   and vegetation, particularly in the alpine. Monitoring in the Class I Weminuche and La Garita Wilderness
   Areas may be beneficial to measure the extent to which potential effects have occurred. Until additional
   information becomes available that disputes or supports the results of the critical load assessment, the
   Forest does not need to establish refined critical loads and target loads at this time; rather, the Forest
   should continue with development, adjustment, and implementation of its existing air resources program.




                          Rio Grande National Forest - 48 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000347
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 348 of 406

                                      Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   Need for Change
   Based on information in this section of the assessment, there is no need for absolute change in the existing
   Plan because existing direction is being met. Forest managers are in compliance with the Clean Air Act
   and Colorado Air Quality Control Act, so the existing standard is appropriate. By default, managers are
   also meeting the Forest-wide objective of protecting the environment from air pollution, at least to the
   degree required by law. However, the assessment indicates there are off-Forest sources of pollution that
   may have potential negative effects on air quality and air quality related values across the Forest in the
   future. The assessment also suggests climate change could have negative effects on air quality. Thus, it is
   critical the Forest remains diligent in providing the desired condition for air resources. To that end the
   Forest should continue development, adjustment, and implementation of the air resources program,
   including updating the existing Forest-wide air monitoring plan. This update could coincide with Forest
   Plan revision or be conducted separately. In either or both documents the Forest should consider adaptive
   strategies that address current off-Forest sources of pollution and the potential effects of climate change
   that are designed to protect and preserve the air resource.




                         Rio Grande National Forest - 49 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000348
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 349 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources



   Soils
   Introduction
   Soil is the foundation of ecosystem function. It acts as a growth medium and provides nutrients for
   vegetation, stores and filters water, cleans air, contains habitat for billions of organisms, and is a long­
   term carbon storage reservoir.

   Soils can lose much of their function when altered. Alteration can occur through management actions as
   well as natural events. The greatest threat to soil productivity is soil erosion, because soil is lost from a
   site and cannot be replaced during human timespans. Erosion removes topsoil, which contains most of the
   soil’s nutrients. Soil can also be compacted, which reduces the soil’s porosity and air and water holding
   capacity. Soils can lose nutrients due to vegetation or litter cover removal, rendering it less capable of
   supporting some types of vegetation. Further, soil hydrologic function can be affected, through any of the
   above processes or when a water source is altered, such as when upstream diversions or stream incision in
   meadows actually reduce the amount of water entering the soil.

   The 2012 Planning Rule requires National Forests and Grasslands to consider soil resources when
   developing plan components. The purpose of this assessment is to evaluate available information about
   soil resources within the Rio Grande National Forest. This assessment describes current conditions and
   trends regarding these resources. This information is used to anticipate future conditions, and to determine
   if trends pose risks to system integrity at the forest level. Additionally, this assessment identifies
   information gaps and any uncertainty with the data. The information contained in this assessment will be
   used to inform agency officials whether current direction needs adjustment to protect soil resources and
   the systems that rely on them.

   The following items are addressed in this assessment, as specified by Forest Service Handbook, Chapter
   10 Section 12.22.

       •   Existing inventories of soil conditions and improvement needs
       •   Important attributes, characteristics, or processes of soils that make them susceptible to loss of
           integrity resulting from specific uses, disturbances, or environmental change
       •   Existing conditions and trends of soil resources and soil quality assuming existing plan direction
           remains in place
       •   Soil quality/productivity considerations important to consider in providing multiple uses and
           ecosystem services
       •   Places on the Forest where soil quality/productivity is at risk, or not adequately protected, and
           management concerns or ecosystem stressors that limit or reduce soil function

   Concepts in Soils Management

   Watershed Processes
   Watersheds are drained by a stream network of perennial streams that flow year-round, intermittent
   streams that flow seasonally, and ephemeral streams (including swales) that flow only during runoff
   events. The stream network expands during runoff events. Most material that enters any part of the
   network will eventually reach an aquatic ecosystem.




                          Rio Grande National Forest - 50 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000349
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 350 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Most material that enters streams comes from an adjacent source zone whose width depends on land
   form, stability, and ground cover. Sediment is natural, but roads and other disturbed sites can act as
   channels that multiply sediment loads to the stream network during runoff events. Such "connected
   disturbed areas" can be a major source of damage to aquatic ecosystems.

   If organic ground cover in a watershed is reduced enough to markedly increase the magnitude or duration
   of high flows, stream channels may erode their banks to damage their stability and aquatic habitat. Direct
   bank damage may add large amounts of sediment directly into streams. Soil quality depends on soil
   structure, organic matter, nutrient pools, and biotic processes. Soil quality is impaired when these qualities
   are markedly degraded for a period of years. Severe disturbances can impair soil quality by heating,
   displacing, compacting, or eroding the soil.

   Historic ranges of native aquatic biota were determined by physiographic and hydrologic boundaries and
   biotic behavior. These patterns have been changed by fishing pressures, introduction of exotics, and
   migration barriers such as dams and diversions, as well as by habitat impacts. Biotic strategies that
   address these relationships are needed as well as watershed conservation practices in order to sustain
   vigorous populations of desired aquatic communities.

   Dynamic Equilibrium
   A healthy watershed operates in dynamic equilibrium. Soil and water quality, flow regimes, and aquatic
   and riparian habitats vary within a certain range of conditions. Large natural disturbance events shift a
   watershed out of equilibrium. Recovery then begins. Poor land management practices can shift a
   watershed out of equilibrium.

   Laws and common sense direct us to maintain equilibrium conditions between large natural disturbance
   events, avoid actions that may shift a watershed out of equilibrium or worsen major events, and assist
   watershed recovery. The natural resilience of the system must be conserved in order to sustain ecosystem
   health.

   Some disturbance can occur and still sustain watershed health. If runoff and sediment regimes, soil and
   channel conditions, water quality, and aquatic and riparian habitats are maintained between large natural
   disturbance events, watershed health is conserved.

   The concept of dynamic equilibrium can be applied to biological processes as well as physical landform
   processes. Natural processes are not static or absolutely stable, but there is a tendency for the form to
   maintain relatively stable characteristics. Natural perturbations influence these natural processes, which
   then begin the process of moving toward pre-event characteristics. Dynamic equilibrium can be both
   ‘short-term’ such as life-history changes of fish associated with the annual hydrograph or ‘long-term’ such
   as the stream channel adjustments following natural fire events.

   Land and Stream Types
   The goal of watershed conservation is to sustain and restore watershed health in each watershed. Land
   and water conditions must be kept within the dynamic equilibrium ranges for the local landscape. Land
   and stream types, and their dynamic equilibrium ranges, vary within and among landscapes due to
   variations in climate and geology. This variation must be taken into account. In each landscape, dynamic
   equilibrium conditions vary by land types and stream types. These ranges can be defined by sampling
   reference land and stream types in that landscape. The efficacy of watershed conservation practices is
   assessed by comparing each land type and stream type with its own capability.




                          Rio Grande National Forest - 51 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000350
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 351 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Land factors reflecting soil and stream health include ground cover, soil bulk density, connected disturbed
   areas, and slope stability. Water factors include channel widths-depths, large woody debris, substrate,
   bank stability, flow regime, and water chemistry. Other factors may also be locally important.

   Design and Risk
   Watersheds experience periodic disturbance events that vary in their size, duration, and frequency. The
   randomness of such events implies some level of risk with any design. This risk is a product of the
   probability of an event occurring and its consequences. Watershed conservation practices are designed to
   control runoff damage from at least a 10-year storm of any duration.

   Legal Framework and Forest Service Policy
   The Forest Service has a role in implementing soil management programs. This role is identified in and a
   result of numerous legislative acts, regulations, and standards.

   Organic Act
   The Organic Act defines original National Forest purposes to improve and protect the forest, secure
   favorable conditions of water flows, and furnish a continuous supply of timber. Years of concern about
   watershed damage led to creation of the National Forest System. Watersheds must be cared for to sustain
   their hydrologic function as "sponge-and-filter" systems that absorb and store water and naturally regulate
   runoff. The goals are good vegetation and ground cover, streams in dynamic equilibrium with their
   channels and flood plains, and natural conveyance of water and sediment.

   Multiple-Use Sustained Yield Act
   The Multiple-Use Sustained Yield Act established that the sustained yield of goods and services from
   National Forests must be conducted without permanent impairment of the productivity of the land.

   National Forest Management Act
   The National Forest Management Act directed each national forest to prepare a land and resource
   management plan. The Act recognizes national forests are ecosystems and their management requires an
   awareness and consideration of the interrelationships among plants, animals, soil, water, air, and other
   environmental factors within such ecosystems. The Act requires Forests to ensure management will not
   produce substantial and permanent impairment of the productivity of the land.

   Rio Grande National Forest Land and Resource Management Plan
   The soil resource is a recognized component of the Rio Grande National Forest Land and Resource
   Management Plan (Forest Service 1996). The Final Environmental Impact Statement (FEIS) for the
   Forest Plan recognized soils are the foundation of ecosystems, non-renewable by even the most modern
   technologies, and that soil management on the Forest is to maintain soil productivity and soil health so
   that ecosystems can be sustained for the many benefits they provide.

   Desired conditions, objectives, and standards and guidelines in the Plan are described in a subsequent
   section of this assessment. Annual Forest Plan monitoring reports provide annual summaries of soil
   resources on the Forest and indicate soil resources are being adequately protected and no changes in the
   Forest Plan are needed.

   Agency Policy
   Forest Service Manual 2550 - Soil Management contains agency direction for managing soil resources.
   Six soil functions are defined: soil biology, soil hydrology, nutrient cycling, carbon storage, soil stability



                          Rio Grande National Forest - 52 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000351
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 352 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   and support, and filtering and buffering. The objective of soil management is to maintain or restore soil
   quality, and manage resource uses and soil resources to sustain ecological processes and function so that
   desired ecosystem services are provided in perpetuity. Agency policy calls for responsible soil
   stewardship that promotes biological and hydrologic function.

   The Rocky Mountain Region, which includes the Rio Grande National Forest, utilizes Forest Service
   Handbook 2509.18 - Soil Management Handbook. This handbook established regional soil quality
   monitoring standards. The policy is to manage activities to not exceed standards in order to protect the
   soil resource before excessive damage occurs, and where excessive soil impacts already exist from prior
   activity prevent any additional detrimental impact and reclaim where feasible.

   The Rocky Mountain Region also utilizes Forest Service Handbook 2509.25 - Watershed Conservation
   Practices Handbook. This handbook established regional watershed conservation practices to protect soil,
   aquatic, and riparian systems. The practices cover five areas: hydrologic function, riparian areas and
   wetlands, sediment control, soil quality, and water purity. Each practice consists of a management
   measure, a set of design criteria used to achieve the specific management measure, and guidance for
   monitoring and restoration. The policy is to apply the practices to sustain healthy soil, riparian, and
   aquatic systems by adopting a stewardship ethic that treats land and resources as public assets for long­
   term benefits.

   The Forest Service utilizes the National Core Best Management Practices Program as over-arching
   direction on the importance of prescribing, implementing, and monitoring proven soil and water
   protection measures at the project-scale on National Forest lands. Agency policy requires the use of Best
   Management Practices to control nonpoint source pollution to meet applicable water quality standards and
   other Clean Water Act requirements.

   Information Sources and Gaps
   Information Sources
   Colorado Geological Survey. 1999. United States Forest Service Hazard Abandoned Mine Land Inventory
          Proj ect. http://coloradogeologicalsurvey.org/water/abandoned-mine-land/united-states-forest-
          hazard-abandoned-mine-land-inventory-project/ .

   Colorado Department of Public Health and Environment, Hazardous Materials and Waste Management
          Division. 2013. Preliminary Close-Out Report, Summitville Mine Superfund Site. 20 pages.

   Forest Service. Date unknown. Sangre de Cristo Soil Survey. Unpublished.

   Forest Service. 1996a. Rio Grande National Forest Land and Resource Management Plan, FEIS, ROD,
           and Annual Monitoring Reports.

   Forest Service. 1998. Watershed Improvement Needs Inventory and Tracking Spreadsheet. Unpublished.

   Forest Service. 2011a. Watershed Condition Framework. http://www.fs.fed.us/publications/watershed/ .

   Forest Service. 2011b. Archuleta/Chama and Middle Fork Carnero Watershed Restoration Action Plans.

   Forest Service. 2012. National Best Management Practices Program.
           http://www.fs.fed.us/biology/watershed/BMP.html

   Forest Service. Soil Management and Watershed Conservation Practices Handbooks.



                         Rio Grande National Forest - 53 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000352
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 353 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Forest Service GIS Library

   Gordon, Eric and Dennis Ojima. 2015. Colorado Climate Change Vulnerability Study. University of
          Colorado Boulder and Colorado State University. 190 pages.

   Lukas, Jeff, Joseph Barsugli, Nolan Doesken, Imtiaz Rangwala, and Klaus Wolter. 2014. Climate Change
           in Colorado: A Synthesis to Support Water Resources Management and Adaptation. University of
           Colorado Boulder. 114 pages.

   NRCS. Rio Grande NF Area, West Part, Soil Survey.
         http://www.nrcs.usda.gov/wps/portal/nrcs/surveylist/soils/survey/state/?stateId=CO

   Numerous websites as shown throughout the document; links to each site are contained in the narrative.
   Some of the figures are downloaded from these sites.

   Data Gaps
   There is a lack of quantitative base and trend data on soil productivity in alpine areas, forested areas and
   rangeland upland areas, on soil compaction in rangeland bottoms such as riparian areas and swales, and
   on rates of erosion on system and unauthorized roads and trails.

   Existing Forest Plan Direction for Soils
   The Rio Grande National Forest Plan contains desired conditions, objectives, and standards and
   guidelines. For soil resources they are:

   Desired Conditions
   Soils are maintained, or improved to healthy conditions, so that the ecosystems they support can flourish.
   Healthy soils and ecosystem sustainability will be assured if soil damages, such as erosion, displacement,
   compaction, scorching, and nutrient drains, are kept within allowable limits.

   Ecosystem management activities are harmonious with soil capabilities, potentials, and limitations.

   Soils may be periodically disturbed by management activities, but are restored and reclaimed to original
   potentials after activities have been completed.

   Where fire is used to perpetuate an ecosystem, it is done in a way that accomplishes resource objectives
   without unnecessarily risking or jeopardizing the site’s ability to sustain ecosystems.

   Healthy soils provide certain products such as wood, forage for livestock and wildlife, water, recreation,
   minerals, and aesthetic benefits. These benefits can be continued for the long term, provided soil health
   remains within acceptable limits.

   Objective
   Maintain or improve long-term soil productivity, and protect against significant or permanent impairment
   of the land.

       •   Keep soil losses within tolerance limits, and maintain acceptable amounts of ground cover.
       •   Re-vegetate disturbed areas.
       •   Meet the requirements for minimizing soil displacement and compaction.




                          Rio Grande National Forest - 54 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000353
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 354 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


       •   Where excessive soil impacts exist from prior activities, emphasize preventing any additional
           detrimental impacts, and reclamation where feasible.

   Standards and Guidelines
   There are eight (8) pages of standards and guidelines that cover soil, water, and aquatic resources,
   including fish, riparian areas and wetlands. These standards and guidelines center around five (5) core
   areas: hydrologic function, riparian areas, sediment control, soil productivity, and water purity. These core
   areas, standards, and guidelines were derived from a draft of the original Region 2 Watershed
   Conservation Practices Handbook. Rather than reiterate eight pages of document the reader should refer
   to pages III-4 through III-11 of the current Forest Plan.

   Scale of Analysis
   The characterization of soil resources in this assessment is the area defined by the Rio Grande National
   Forest boundary. This is because management activities rarely affect soil condition on adjacent land. In
   those few cases where soil condition can affect adjacent land effects to those lands is discussed.

   Existing Condition and Trend of Soils
   Inventories
   There is a published soil survey for the west part of the Forest. This survey is available at
   http://www.nrcs.usda.gov/wps/portal/nrcs/surveylist/soils/survey/state/?stateId=CO .

   There is an unpublished soil survey for the east part of the Forest. Information is available at the
   Supervisor’s Office.

   There is a watershed improvement needs inventory in hard copy at the Supervisor’s Office.
   Accompanying this inventory is a spreadsheet being used to track project implementation.

   There is the Watershed Condition Framework which characterizes the health and condition of National
   Forest System lands.

   There is an Abandoned Mine Land (AML) inventory.

   Important Attributes, Characteristics, and Processes
   The Rio Grande National Forest has a wide diversity of soil types, from minimally-developed, nutrient
   poor soil to deep, fertile soil. Cool temperatures, a short growing season, and relatively steep topography
   affect soil development at high elevations. Warmer temperatures, a longer growing season, and flatter
   topography allow for better soil development at mid- to low elevations.

   The Forest is in the headwaters of the Rio Grande River in an area known as the San Luis Valley. The
   valley itself is long, wide, and flat with small amounts of national forest land on the margins. The western
   and northern part of the Forest is in the San Juan Mountain range bounded by the Continental Divide and
   Poncha Pass. The eastern part of the Forest is in the Sangre de Cristo Mountain range.

   The expansive flat part of the San Luis Valley, which contains little to no National Forest lands, is
   composed of unconsolidated sediments laid down in the late Tertiary period. The San Juan and Sangre de
   Cristo mountain ranges provided these materials but the ranges are of very different origin and geologic
   age. The majority of the San Juan Mountains are volcanic rocks and related shallow intrusive rocks of the
   mid- to late Tertiary period. These rocks formed as a result of multiple outpourings of lava and ash from a



                          Rio Grande National Forest - 55 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000354
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 355 of 406

                                         Rio Grande National Forest Assessment 2 -
                                Air Quality, Soils, Geology, Watersheds and Water Resources


   cluster of volcanos. Recognized as the San Juan Volcanic Field, it is the largest erosional remnant of a
   continuous volcanic field that once extended over much of the southern Rocky Mountains in Oligocene
   times. The volcanic sequence involved initial intermediate lavas and breccias followed by more silicic ash
   flow tuffs, ending with a combination of basalts and rhyolites. This part of the San Juan range consists of
   rolling foothills in the east to steep alpine slopes along the Continental Divide.

   The Sangre de Cristo Mountain range is of more recent origin than the San Juan Mountains but the rocks
   themselves are appreciably older. These mountains consist of a very steep, narrow ridge formed as a result
   of faulting and thrusting along the Rio Grande rift. The mountains are composed of sedimentary rocks of
   the Pennsylvanian period along with Pre-Cambrian granites, gneisses, and schists. Landforms vary from
   steep alpine glacial cirques to very broad alluvial fans at the mouth of drainages.

   Soils in the San Juan Range are typical of those derived from volcanic material. They are generally
   shallow to moderately deep, medium textured, and low to moderate in nutrient content. Organic matter
   and nitrogen levels tend to be low because of low rates of decomposition and nitrogen fixation. Shallow,
   course textured, rocky soils are found on ridgetops and adjacent steep slopes. The southern part of the San
   Juan Range near the New Mexico border has volcanic material laid over shale so mass movements are
   common. There are soils in the Alamosa canyon area that are inherently highly erosive. Also in this area
   are soils where natural rock acidity results in naturally high levels of leaching of heavy metals.

   Soils in the Sangre de Cristo Range tend to be moderately shallow and are course textured. Due to limited
   moisture, steepness, and course texture these soils are moderately erodible and infertile.

   As with many soils, surface disturbing activities such as timber harvest, grazing, recreation developments,
   road construction, and off-road motorized use, are the greatest threat to loss of soil integrity, primarily due
   to erosion and soil compaction.

   Table 6. Landtype associations on the Rio Grande National Forest and important attributes of each.
                                                                                                 3 - White Fir and
                                   1 - Engelmann Spruce         2 - Aspen on Mountain
     Land Type Association                                                                    Douglas-fir on Mountain
                                     on Mountain Slopes                 Slopes
                                                                                                      Slopes
    Extent (Acres and % of
                                       893,000 and 49                39,121 and 2                   93,000 and 5
    Forest)
    Elevation Range (feet)               8,600-12,000                9,000-11,000                   8,000-11,000
    Precipitation Range
                                            16-40                        18-30                          12-30
    (inches)
                                                                 Shallow to moderately         Moderately deep to very
    Soil Depth                       Shallow to very deep                                              deep
                                                                         deep
    Slope (%)                                0-60                        15-60                           2-80
    Erosion Hazard                     Moderate to High            Moderate to High                Moderate to High
    Mass Movement
                                        Very low to low                   Low                      Very low to low
    Potential
                                    35-85 for Engelmann
    Timber Productivity (site                                  30-40 for aspen (base age      40-60 for Douglas-fir (base
                                    spruce (base age 100
    index)                                                             80 years)                   age 100 years)
                                           years)
    Range Productivity
                                                                100-800, 200-1500, 400­
    (dry/average/wet years          25-100, 50-150, 75-250                                     20-100, 30-150, 50-200
                                                                         2000
    lbs/acre)
    Nutrient Cycling Rates             Slow to Moderate                Moderate                   Slow to Moderate




                             Rio Grande National Forest - 56 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000355
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 356 of 406

                                         Rio Grande National Forest Assessment 2 -
                                Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 7. Landtype associations on the Rio Grande National Forest and important attributes of each (cont.).
                                   4 - Alpine Sedges and       5 - Ponderosa Pine and
                                                                                              6 - Pinyon on Mountain
     Land Type Association             Forbs on Alpine         Douglas-Fir on Mountain
                                                                                                      Slopes
                                          Summits                      Slopes
    Extent (Acres and % of
                                       250,000 and 14                101,010 and 6                 85,000 and 5
    Forest)
    Elevation Range (feet)              11,000-14,000                7,600-10,500                   7,600-9,500
    Precipitation Range
                                            30-50                        12-25                         12-20
    (inches)
    Soil Depth                       Shallow to very deep         Shallow to very deep          Shallow to very deep
    Slope (%)                                5-90                         5-90                         10-80
    Erosion Hazard                     Moderate to High                   High                    Moderate to High
    Mass Movement
                                         Low to High             Very low to moderate             Very low to low
    Potential
    Timber Productivity (site                                  25-35 for Douglas-fir (base
                                             N/A                                                        N/A
    index)                                                          age 100 years)
    Range Productivity
                                     500-1200, 800-1500,        500-600, 700-1000, 900­       400-500, 600-800, 800,
    (dry/average/wet years
                                          1000-2000                      1200                          1100
    lbs/acre)
    Nutrient Cycling Rates                 Moderate                Slow to Moderate              Slow to Moderate


   Table 8. Landtype associations on the Rio Grande National Forest and important attributes of each (cont.).
     Land Type Association
                                8 - Arizona Fescue on      9 - Thurber Fescue on       10 - Willow and Sedges
    (LTA 7 not included due
                                   Mountain Slopes            Mountain Slopes              on Floodplains
      to small areal extent)
    Extent (Acres and % of
                                         95,000 and 5                102,000 and 6                 54,000 and 3
    Forest)
    Elevation Range (feet)              8,400 to 10,800             8,400 to 10,800               8,600 to 11,600
    Precipitation Range
                                            14-25                        18-45                         17-35
    (inches)
    Soil Depth                       Shallow to very deep           Shallow to deep                  Very deep
    Slope (%)                                5-70                         2-70                          0-30
                                                               Moderate (High in Chama
    Erosion Hazard                        Moderate                                                Low to Moderate
                                                                        Basin)
    Mass Movement                                               Very low to low (High in
                                        Very low to low                                         Very low to moderate
    Potential                                                       Chama Basin)
    Timber Productivity (site
                                             N/A                          N/A                           N/A
    index)
    Range Productivity
                                    700-1200, 1400-1500,         1200-2000, 1500-2500,        1200-2000, 1800-3000,
    (dry/average/wet years
                                           1800                        1800-3000                    2500-4000
    lbs/acre)
    Nutrient Cycling Rates                  Rapid                        Rapid                         Rapid




                             Rio Grande National Forest - 57 - Forestwide Planning Assessment
                                                                                      Rvsd Plan - 00000356
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 357 of 406

                                         Rio Grande National Forest Assessment 2 -
                                Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 9. Landtype associations on the Rio Grande National Forest and important attributes of each (cont.).
                                                                           12 - Western
     Land Type Association           11 - Non-vegetated               Wheatgrass and other
                                                                                                13 - Engelmann Spruce
    (LTA 7 not included due          Areas on Mountain                    Low-Elevation
                                                                                                     on Landslides
      to small areal extent)               Slopes                     Grasslands on Alluvial
                                                                               Fans
    Extent (Acres and % of
                                           46,000 and 3                    25,000 and 1              37,000 and 2
    Forest)
    Elevation Range (feet)                8,400 to 14,000                 8,800 to 9,300            8,800 to 11,800
    Precipitation Range
                                               12-30                          12-18                     20-45
    (inches)
    Soil Depth                                 N/A                          Very deep                 Very deep
    Slope (%)                                  2-200                           0-40                      2-60
    Erosion Hazard                             N/A                       Low to Moderate               Moderate
    Mass Movement
                                               N/A                           Very low              Moderate to high
    Potential
                                                                                                 55-95 for Engelmann
    Timber Productivity (site
                                               N/A                             N/A               spruce (base age 100
    index)
                                                                                                        years)
    Range Productivity
                                                                     350-1000, 600-1500, 800­
    (dry/average/wet years                     N/A                                              50-100, 75-150, 100-200
                                                                               1800
    lbs/acre)
    Nutrient Cycling Rates                      N/A                           Rapid                Slow to moderate



   As previously mentioned soil surveys exist for the Forest. These surveys delineate the Forest into map
   units. Each map unit has detailed information about the soils within the unit, as well as management
   interpretations. Summarizing this voluminous amount of information into this assessment would be
   unwieldy. In lieu of that, land type associations (LTAs) and key elements of them, are presented to paint a
   generalized picture of soils across the Forest (Table 6 through Table 9 and Map 9). There are thirteen land
   type associations. The tables include twelve of the thirteen. LTA 7, Gambel Oak on Mountain Slopes, is
   not presented because it comprises well less than one percent of the Forest.

   Table 10. Watershed Condition Framework ratings by Indicator and Attributes. The first number represents
   the number of watersheds rated as such; the second number represents the percent of all watersheds on the
   Forest rated as such.
                                Indicator                                         Attributes
                                                                                                       Chemical
                             Soils Condition           Productivity                   Erosion
                                                                                                     Contamination
    Good                        34 (22%)                  38 (25%)                   28 (18%)           52 (34%)
    Fair                        117 (77%)                 113 (74%)               123 (81%)             100 (56%)
    Poor                         1 (1%)                     1 (1%)                    1 (1%)              0 (0%)


   Conditions

   Watershed Condition Framework
   The Watershed Condition Framework characterizes the health and condition of National Forest System
   lands. The characterization is a reconnaissance-level approach using a comprehensive set of twelve
   indicators and twenty-four attributes that are surrogate variables representing ecological, hydrological,



                             Rio Grande National Forest - 58 - Forestwide Planning Assessment
                                                                                           Rvsd Plan - 00000357
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 358 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   and geomorphic functions and processes that affect watershed condition. The primary emphasis of the
   classification is on aquatic and terrestrial processes and conditions that Forest Service management
   activities can influence. The initial or baseline characterization for the Rio Grande National Forest was
   completed in 2011.

   One of the twelve indicators is Soils Condition. This indicator addresses alteration to natural soil
   condition, including productivity, erosion, and chemical contamination. Each of the 152 sub-watersheds
   on the Forest is assigned a rating of Good (Functioning Properly), Fair (Functioning at Risk), or Poor
   (Impaired Function). Roughly one-third of the watersheds on the Forest are functioning properly relative
   to overall soils condition (Table 10). Roughly two-thirds of the watersheds are functioning at risk due to
   productivity, erosion, and/or chemical contamination concerns. Productivity concerns are related to soil
   nutrient and hydrologic cycling processes due to past and present management activities such as livestock
   grazing, timber harvest, and wildfire. Erosion concerns relate to areas where there is evidence of
   accelerated surface erosion, or rills and gullies are present but are generally small, disconnected, poorly
   defined, and not connected into any pattern. Soil contamination concerns relate primarily to areas where
   atmospheric deposition may be a source of contamination but at this point is not having a substantial
   effect on overall soil quality. The one watershed that is rated impaired function is Cottonwood
   Creek/Kirby Creek where there are concerns with historical mining.

   There are other indicators and attributes within the Watershed Condition Framework indirectly related to
   soils. Summary information for these indicators and attributes is in the Air and Watersheds and Water
   Resources section of this assessment.

   Other
   The Forest conducts soil health assessments on timber sales, commercial livestock grazing allotments,
   burn areas, mining areas and recreation areas. For the most part these assessments indicate impacts to soil
   integrity are prevented. Some project assessments have resulted in identification of concerns, at which
   time mitigation is applied to correct deficiencies and protect soil health.

   Trends
   Livestock grazing, timber harvest, mining, and wildfires were the dominant activities on the Rio Grande
   National Forest historically. These activities resulted in considerable amounts of bare soil resulting from
   destruction of soil protective layers such as leaf litter and vegetation. Significant erosion resulted and soil
   productivity was likely affected. Ocular monitoring and professional judgement by soil scientists in more
   recent times indicate vegetative recovery has stabilized soils across the Forest to the extent expected and
   soil processes have returned but productivity may never completely return to pre-disturbance levels.
   Appendix A in the current Forest Plan provides a good history and summary of these historical impacts.

   Little to no information exists on current trends in soil condition other than conditions now are generally
   better than they were in the past. While current activities can result in soil compaction, erosion, and loss
   of organic matter, such effects are generally more localized than they were historically and current
   technology and restoration techniques provide better opportunity to mitigate the effects.

   The potential effects of a changing climate on soil conditions across the Forest are not well known and at
   this point are more hypothetical than not. Colorado’s climate has warmed in recent decades, and climate
   models unanimously project this warming trend will continue into the future (Lukas et al 2014)). Climate
   change has and will continue to impact resources in the State, likely including soil condition on the Rio
   Grande National Forest. Gordon and Ojima (2015) synthesized observed climate and projected future
   climate for the State of Colorado (Table 11).The projected changes in climate and associated hydrology
   serve as a good proxy to potential direct, indirect, and cumulative effects on soil conditions. Gordon and


                          Rio Grande National Forest - 59 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000358
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 359 of 406

                                        Rio Grande National Forest Assessment 2 -
                               Air Quality, Soils, Geology, Watersheds and Water Resources


   Ojima’s report also discusses key ecosystem vulnerabilities, which relate to potential future soil
   conditions (Table 12).

   Multiple Uses / Ecosystem Services
   The soil resource on the Rio Grande National Forest, in conjunction with air, water and watershed
   resources, is part of the foundation for providing for the full suite of multiple uses available from national
   forests. Productive and stable soils are the building blocks for most all uses, products, and services the
   Forest provides. For example, soils provide the growth medium for vegetation found on timber and
   rangelands; soils are important in nutrient cycling and providing carbon sinks, which helps with climate
   regulation; and soils filter, purify and store water for on-Forest and downstream uses.

   Local Soil Resource Concerns
   As a general rule soil quality and productivity concerns exist with existing system roads and trails,
   uncontrolled motorized use on unauthorized roads and trails, and livestock grazing in riparian areas. The
   first two concerns relate to accelerated soil erosion and effects on soil productivity. The third concern
   relates to soil compaction and effects on soil productivity and infiltration of water. Adequate protection of
   soil quality and productivity exists in the form of Best Management Practices, which are proven measures
   that protect the soil resource if properly implemented and monitored. The concern is that formal and
   informal monitoring indicates the practices are not always being fully and properly implemented at the
   project level.

   Table 11. Historic climate observations and projected climate for the State of Colorado.
                Historic Climate Observations                                     Projected Climate
                                                              An increase in statewide average annual temperatures of
    An increase in statewide annual average temperatures
                                                              2.5F to 5.5F relative to a 1971-2000 baseline. Summers
    of 2 degrees F over the past 30 years and 2.5 degrees
                                                              are projected to warm slightly more than winters. Typical
    F over the past 50 years, with minimum temperatures           summer temperatures in 2050 are projected to be
    increasing more than daily maximum temperatures over
                                                               warmer than in all but the very hottest summers in the
    the past 30 years
                                                                                   observed record.
                                                                Climate projections do not agree on whether average
    An increase in temperatures in all seasons, with the
                                                              annual precipitation will increase or decrease statewide,
    largest trend in summer, followed by fall, spring, and
                                                               though winter precipitation is likely to increase by mid­
    winter.
                                                                                        century.
    No long-term trends in average annual precipitation       Most projections show that April 1 snowpack will decline
    statewide.                                                  by mid-century due to the large projected warming.
    Below-average snowpack since 2000 in all eight major      Spring runoff is projected to shift 1-3 weeks earlier due to
    river basins in Colorado, although there are not trends    warming, with late summer flows likely to decrease as
    over the past 30 or 50 years.                                                the peak shifts earlier.
    Snowmelt and peak runoff have shifted 1-4 weeks            Most projections of future hydrology show decreases in
    earlier across Colorado’s river basins over the past 30    annual streamflow by 2050 for Colorado’s major rivers.
    years due to the combination of lower snow-water          In some projections, however, the projected increases in
    equivalent (SWE) since 2000, warming spring                precipitation are large enough to overcome the effect of
    temperatures, and enhanced solar absorption from             warming, and so these projections show increased
    dust-on-snow.                                                                     streamflow.
                                                                 Heat waves, droughts and wildfires are projected to
    A trend toward more frequent soil moisture drought
                                                               increase in frequency and severity due to the projected
    conditions in Colorado over the past 30 years.
                                                                                  overall warming.
                                                                Winter precipitation events are projected to increase in
    No evidence of increasing trends in heavy precipitation   frequency and magnitude, but projections currently show
    events or flooding statewide.                               no changes in summertime convective storms by mid­
                                                                                        century.



                           Rio Grande National Forest - 60 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000359
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 360 of 406

                                       Rio Grande National Forest Assessment 2 -
                              Air Quality, Soils, Geology, Watersheds and Water Resources


                 Historic Climate Observations                                     Projected Climate
    Multiple droughts prior to 1900 that were more severe
    and sustained than any in the observed record, as seen
    in tree-ring records.



   There may be a developing concern with atmospheric deposition of nitrogen and its effects on soil
   chemistry and productivity as discussed in the air section of this assessment. Monitoring is needed to
   confirm or dispute this potential concern.

   Table 12. Key ecosystem sector vulnerabilities for the State of Colorado.
      Landscape                                                  Vulnerability
                        Due to longer and more severe droughts, more frequent and severe fires, and conditions more
                       suitable to insect outbreaks and spread of no-native plant species, individual trees and forested
                                landscapes will likely become more vulnerable to insect and pathogen invasions.
    Forests
                          If wildfires become more frequent and severe, landscapes will be vulnerable to changes in
                       connectivity, shifts from carbon sinks to carbon sources, and shifts in vegetation distribution and
                                                                      type.
                       Alpine plants are vulnerable to phenology shifts caused by rising spring temperatures and earlier
    Alpine
                                         snowmelt onset, potentially leading to mid-summer declines.
                          Grass types that fare better in drought conditions are likely to become more dominant; less
    Grasslands
                       drought-tolerant species are therefore vulnerable to increased frequency and severity of drought.


   Need for Change
   Based on information in this section of the assessment, there is little to no need for change in the existing
   Plan. As a general rule monitoring indicates existing direction is being met when best management
   practices at the project level are properly implemented. There are occasions when soil resources concerns
   are identified during project reviews but these concerns are not Forest Plan standard related; rather they
   are related to lack of proper implementation of one or more watershed conservation practices, i.e., Best
   Management Practices, which is a contract or permit administration issue, e.g., compliance with term
   grazing permit conditions, or a specific program area issue, e.g., road and trail maintenance.

   The standards and guides section of the existing plan does need to be updated to incorporate the
   Watershed Conservation Practices Handbook, the National Best Management Practices program, and the
   Watershed Condition Framework. At the time the current plan was written the WCP handbook was in
   draft form and neither the national BMP program nor the Watershed Condition Framework existed. All
   three of these items are key parts of the 2012 Planning Rule.

   As mentioned previously in both this soils section and in the air quality section of this assessment there
   may be a developing concern with atmospheric deposition of nitrogen and its effects on soil chemistry
   and productivity. Monitoring is needed to confirm or dispute this potential concern. This assessment also
   suggests climate change could have negative effects on soil resources. Thus, it is critical the Forest
   remains diligent in providing the desired condition for soil resources. To that end the Forest should
   continue development, adjustment, and implementation of the soil resources program, and consider
   preparing a Forest-wide soil resource monitoring plan. The preparation of this resource specific
   monitoring plan could coincide with Forest Plan revision or be conducted separately. This plan should
   consider adaptive strategies that address current off-Forest sources of nitrate pollution and the potential
   effects of climate change that are designed to protect and preserve the soil resource.




                           Rio Grande National Forest - 61 - Forestwide Planning Assessment
                                                                                     Rvsd Plan - 00000360
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 361 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources



   Watersheds and Water Resources
   Introduction
   Watersheds and water resources are credibly the most important resources of and provided by the Rio
   Grande National Forest. Protection of water quantity, quality, and timing of flows, and the watersheds
   from which water resources are derived, remains critical to sustaining ecosystem function of the Forest
   itself and the socio-economics of the San Luis Valley and areas further downstream. Because of this,
   watersheds and water resources have been and will continue to be a significant part of the history of the
   Rio Grande National Forest.

   The 2012 Planning Rule requires National Forests and Grasslands to consider watersheds and water
   resources when developing plan components. The purpose of this assessment is to evaluate available
   information about watersheds and water resources within the Rio Grande National Forest. This
   assessment describes current conditions and trends regarding these resources. This information is used to
   anticipate future conditions, and to determine if trends pose risks to system integrity at the forest level.
   Additionally, this assessment identifies information gaps and any uncertainty with the data. The
   information contained in this assessment will be used to inform agency officials whether current direction
   needs adjustment to protect watersheds and water resources and the systems that rely on them.

   The following items are addressed in this assessment, as specified by Forest Service Handbook, Chapter
   10 Section 12.23.

       •   Condition and trend of watersheds, water quality, and quantity in the plan area as well as those
           that extend outside the plan area that influence the plan area or vice versa, assuming existing plan
           direction remains in place
       •   Surface and groundwater resources, including identification of impaired and/or contaminated
           surface and groundwater, and sources of impairment.
       •   Quantity, quality, timing, and distribution of water across the plan area and the area of analysis,
           including groundwater resources and groundwater-dependent ecosystems
       •   Flow regimes needed to sustain ecosystems
       •   Historical context for ecological conditions under which the hydrologic systems developed
       •   The nature, extent, and role of existing and reasonably foreseeable future consumptive uses and
           non-consumptive uses
       •   The nature and distribution of Federal and non-Federal water rights across the plan area
       •   The reasonably anticipated future patterns of perturbation (such as altered precipitation, changing
           climate, drought, evapotranspiration patterns, flood, and temperature changes), and how these
           disturbances may affect watersheds, water quality and/or quantity
       •   The municipal watersheds, sole source aquifers, and source water protection areas within the plan
           area and area of analysis, and any management concerns related to these resources
       •   The effects of land use, projects, and activities, and reasonably foreseeable future water
           withdrawals and diversions, and water storage facilities (surface and subsurface) on hydrologic
           and geomorphic processes and water resources
       •   Ecological, social, and economic roles that water resources play in the context of the broader
           landscape


                          Rio Grande National Forest - 62 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000361
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 362 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


       •   Places on the Forest where water resources are at risk or not adequately protected, and associated
           management concerns or ecosystem stressors/threats

   Concepts in Watershed and Water Resources Management

   Watershed Processes
   Watersheds are drained by a stream network of perennial streams that flow year-round, intermittent
   streams that flow seasonally, and ephemeral streams (including swales) that flow only during runoff
   events. The stream network expands during runoff events. Most material that enters any part of the
   network will eventually reach an aquatic ecosystem.

   Most material that enters streams comes from an adjacent source zone whose width depends on land
   form, stability, and ground cover. Sediment is natural, but roads and other disturbed sites can act as
   channels that multiply sediment loads to the stream network during runoff events. Such "connected
   disturbed areas" can be a major source of damage to aquatic ecosystems.

   If organic ground cover in a watershed is reduced enough to markedly increase the magnitude or duration
   of high flows, stream channels may erode their banks to damage their stability and aquatic habitat. Direct
   bank damage may add large amounts of sediment directly into streams. Soil quality depends on soil
   structure, organic matter, nutrient pools, and biotic processes. Soil quality is impaired when these qualities
   are markedly degraded for a period of years. Severe disturbances can impair soil quality by heating,
   displacing, compacting, or eroding the soil.

   Historic ranges of native aquatic biota were determined by physiographic and hydrologic boundaries and
   biotic behavior. These patterns have been changed by fishing pressures, introduction of exotics, and
   migration barriers such as dams and diversions, as well as by habitat impacts. Biotic strategies that
   address these relationships are needed as well as watershed conservation practices in order to sustain
   vigorous populations of desired aquatic communities.

   Dynamic Equilibrium
   A healthy watershed operates in dynamic equilibrium. Soil and water quality, flow regimes, and aquatic
   and riparian habitats vary within a certain range of conditions. Large natural disturbance events shift a
   watershed out of equilibrium. Recovery then begins. Poor land management practices can shift a
   watershed out of equilibrium.

   Laws and common sense direct us to maintain equilibrium conditions between large natural disturbance
   events, avoid actions that may shift a watershed out of equilibrium or worsen major events, and assist
   watershed recovery. The natural resilience of the system must be conserved in order to sustain ecosystem
   health.

   Some disturbance can occur and still sustain watershed health. If runoff and sediment regimes, soil and
   channel conditions, water quality, and aquatic and riparian habitats are maintained between large natural
   disturbance events, watershed health is conserved.

   The concept of dynamic equilibrium can be applied to biological processes as well as physical landform
   processes. Natural processes are not static or absolutely stable, but there is a tendency for the form to
   maintain relatively stable characteristics. Natural perturbations influence these natural processes, which
   then begin the process of moving toward pre-event characteristics. Dynamic equilibrium can be both
   ‘short-term’ such as life-history changes of fish associated with the annual hydrograph or ‘long-term’ such
   as the stream channel adjustments following natural fire events.



                          Rio Grande National Forest - 63 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000362
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 363 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   Land and Stream Types
   The goal of watershed conservation is to sustain and restore watershed health in each watershed. Land
   and water conditions must be kept within the dynamic equilibrium ranges for the local landscape. Land
   and stream types, and their dynamic equilibrium ranges, vary within and among landscapes due to
   variations in climate and geology. This variation must be taken into account. In each landscape, dynamic
   equilibrium conditions vary by land types and stream types. These ranges can be defined by sampling
   reference land and stream types in that landscape. The efficacy of watershed conservation practices is
   assessed by comparing each land type and stream type with its own capability.

   Land factors reflecting soil and stream health include ground cover, soil bulk density, connected disturbed
   areas, and slope stability. Water factors include channel widths-depths, large woody debris, substrate,
   bank stability, flow regime, and water chemistry. Other factors may also be locally important.

   Design and Risk
   Watersheds experience periodic disturbance events that vary in their size, duration, and frequency. The
   randomness of such events implies some level of risk with any design. This risk is a product of the
   probability of an event occurring and its consequences. Watershed conservation practices are designed to
   control runoff damage from at least a 10-year storm of any duration.

   Legal Framework and Forest Service Policy
   The Forest Service has a role in implementing watershed and water resources management programs.
   This role is identified in and a result of numerous legislative acts, regulations, and standards.

   Organic Act
   The Organic Act defines original National Forest purposes to improve and protect the forest, secure
   favorable conditions of water flows, and furnish a continuous supply of timber. Years of concern about
   watershed damage led to creation of the National Forest System. Watersheds must be cared for to sustain
   their hydrologic function as "sponge-and-filter" systems that absorb and store water and naturally regulate
   runoff. The goals are good vegetation and ground cover, streams in dynamic equilibrium with their
   channels and flood plains, and natural conveyance of water and sediment.

   Multiple-Use Sustained Yield Act
   The Multiple-Use Sustained Yield Act established that the sustained yield of goods and services from
   National Forests must be conducted without permanent impairment of the productivity of the land.

   National Forest Management Act
   The National Forest Management Act directed each national forest to prepare a land and resource
   management plan. The Act recognizes national forests are ecosystems and their management requires an
   awareness and consideration of the interrelationships among plants, animals, soil, water, air, and other
   environmental factors within such ecosystems. The Act requires Forests to ensure management will not
   produce substantial and permanent impairment of the productivity of the land.

   Rio Grande National Forest Land and Resource Management Plan
   The water resource is a recognized component of the Rio Grande National Forest Land and Resource
   Management Plan (Forest Service 1996). The Final Environmental Impact Statement (FEIS) for the
   Forest Plan recognized watersheds and streams can retain a healthy balance provided resource use and
   disturbance is properly managed and with this watersheds will be protected in four important ways:




                         Rio Grande National Forest - 64 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000363
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 364 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


       •   Assessing risk resulting from past, present, and foreseeable future impacts and the presence of
           sensitive areas
       •   Using watershed conservation practices (Best Management Practices) to minimize the impacts of
           disturbances
       •   Disconnecting disturbances from streams, wetlands, and riparian areas
       •   Using reference streams as benchmarks to ensure all streams are adequately protected
   Desired conditions, objectives, and standards and guidelines in the Plan are described in a subsequent
   section of this assessment. Annual Forest Plan monitoring reports provide annual summaries of water
   resources on the Forest and indicate water resources are being adequately protected and no changes in the
   Forest Plan are needed.

   Agency Policy
   The Rocky Mountain Region utilizes Forest Service Handbook 2509.25 - Watershed Conservation
   Practices Handbook. This handbook established regional watershed conservation practices to protect soil,
   aquatic, and riparian systems. The practices cover five areas: hydrologic function, riparian areas and
   wetlands, sediment control, soil quality, and water purity. Each practice consists of a management
   measure, a set of design criteria used to achieve the specific management measure, and guidance for
   monitoring and restoration. The policy is to apply the practices to sustain healthy soil, riparian, and
   aquatic systems by adopting a stewardship ethic that treats land and resources as public assets for long­
   term benefits.

   The Forest Service utilizes the National Core Best Management Practices Program as over-arching
   direction on the importance of prescribing, implementing, and monitoring proven soil and water
   protection measures at the project-scale on National Forest lands. Agency policy requires the use of Best
   Management Practices to control nonpoint source pollution to meet applicable water quality standards and
   other Clean Water Act requirements.

   Information Sources and Gaps
   Information Sources
   Carlson, Joan. 2008. White Paper - Potential Risks and Impacts to Soil and Water Resources from
           Mountain Pine Beetle Mortality, Treatments and Wildfire in Colorado and Wyoming National
           Forests. USDA Forest Service, Rocky Mountain Region. 40 pages.

   Carlson, Joan. 2010. White Paper - Livestock Grazing and Bacterial Water Quality: Supporting
           documentation for the Rocky Mountain Region Bacteria Analysis Strategy for Rangeland
           Management Projects. USDA. Forest Service, Rocky Mountain Region. 64 pages.

   Center for Snow and Avalanche Studies, Colorado Dust-on-Snow Program. http://www.codos.org/#codos .

   Colorado Department of Public Health and Environment and Forest Service. 2014. Memorandum of
          Understanding for Source Water Protection Areas. 11 pages.

   Colorado Department of Public Health and Environment, Hazardous Materials and Waste Management
          Division. 2013. Preliminary Close-Out Report, Summitville Mine Superfund Site. 20 pages.

   Colorado Department of Public Health and Environment, Water Quality Control Commission. 2012a.
          Integrated Water Quality Monitoring and Assessment Report. 137 pages.


                         Rio Grande National Forest - 65 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000364
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 365 of 406

                                    Rio Grande National Forest Assessment 2 -
                           Air Quality, Soils, Geology, Watersheds and Water Resources


   Colorado Department of Public Health and Environment, Water Quality Control Commission. 2012b.
          Colorado S Section 303(a) List ofImpaired Waters and Monitoring and Evaluation List. 97 pages.

   Colorado Geological Survey. 1999. United States Forest Service Hazard Abandoned Mine Land Inventory
          Project. http://coloradogeologicalsurvey.org/water/abandoned-mine-land/united-states-forest-
          hazard-abandoned-mine-land-inventory-project/ .

   Colorado Geological Survey. 2003. Ground Water Atlas of Colorado. Special Publication 53.
          http://coloradogeologicalsurvey.org/water/groundwater-atlas/ .

   District Court, Water Division No. 3, State of Colorado. 2000. Findings of Fact, Conclusions of Law, and
            Judgment and Decree Concerning the Application for Water Rights of the United States of
            America, Case No. 81-CW-183 (Consolidated). 192 pages.

   Forest Service. 1996. Rio Grande National Forest Land and Resource Management Plan, FEIS, ROD, and
           Annual Monitoring Reports.

   Forest Service. 1998. Watershed Improvement Needs Inventory and Tracking Spreadsheet. Unpublished.

   Forest Service. 2002. Water Yield Enhancement Letter from Regional Forester to Forest Supervisors.

   Forest Service. 2011. Watershed Condition Framework. http://www.fs.fed.us/publications/watershed/ .

   Forest Service. 2011. Archuleta/Chama and Middle Fork Carnero Watershed Restoration Action Plans.

   Forest Service. 2012. National Best Management Practices Program.
           http://www.fs.fed.us/biology/watershed/BMP.html

   Forest Service. Watershed Conservation Practices Handbook.

   Forest Service GIS Library

   Furniss, Michael J., Ken B. Roby, Dan Cenderelli, John Chatel, Caty F, Clifton, Alan Clingenpeel, Polly
           E. Hays, Dale Higgins, Ken Hodges, Carol Howe, Laura Jungst, Joan Louie, Christine Mai, Ralph
           Martinez, Kerry Overton, Brian Staab, Rory Steinke, and Mark Weinhold. 2013. Assessing the
            Vulnerability of Watersheds to Climate Change: Results ofNational Forest Watershed
            Vulnerability Pilot Assessments. Gen. Tech. Rep. PNW-GTR-884. Portland, OR: U.S. Department
           of Agriculture, Forest Service, Pacific Northwest Research Station. 32 pages plus appendix.

   Gordon, Eric and Dennis Ojima. 2015. Colorado Climate Change Vulnerability Study. University of
          Colorado Boulder and Colorado State University. 190 pages.

   Lukas, Jeff, Joseph Barsugli, Nolan Doesken, Imtiaz Rangwala, and Klaus Wolter. 2014. Climate Change
           in Colorado: A Synthesis to Support Water Resources Management and Adaptation. University of
           Colorado Boulder. 114 pages.

   MacDonald, Lee H. and John D. Stednick. 2003. Forests and Water: A State-of-the-Art Review for
         Colorado. Colorado State University. 65 pages.

   Troendle, C.A. and G.S. Bevenger. 1996. Effect oofFire on Stream^flow and Sediment Transport in the
          Shoshone National Forest. The Ecological Implications of Fire in Greater Yellowstone. Second
          Biennial Conference on the Greater Yellowstone Ecosystem. Yellowstone National Park,
          Wyoming.


                         Rio Grande National Forest - 66 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000365
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 366 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   USGS and NRCS. 2013. Federal Standards and Procedures for the National Watershed Boundary
         Dataset (WBD) (4 ed.): U.S. Geological Survey Techniques and Methods 11-A3. 63 pages.

   Numerous websites as shown throughout the document; links to each site are contained in the narrative.
   Some of the figures are downloaded from these sites.

   Data Gaps
   There is a lack of quantitative base and trend data on stream health, particularly physical function, i.e.,
   stream pattern, profile, and dimension.

   There is a lack of quantitative information on groundwater resources, particularly groundwater dependent
   ecosystems (GDEs).

   Existing Forest Plan Direction for Watersheds and Water
   Resources
   Desired Conditions
   Healthy watersheds operate in a dynamic equilibrium between extreme natural events. Surface-disturbing
   activities are managed so that floods, droughts, sediment loads, bank erosion, rills, gullies, and landslides
   are not markedly increased.

   Water quality is maintained or improved, with all stream segments having a near-reference stream
   appearance. Water is suitable for municipal water supplies after normal treatment, including those using
   shallow alluvial aquifers. Chemical, physical, and biological attributes are improved and maintained in a
   healthy condition, ensuring future use.

   Stream health is maintained through natural processes without artificial controls. Streams have the
   expected range of habitat features, (for example, healthy riparian vegetation, stable banks, overwintering
   pools and healthy aquatic organisms).

   Riparian areas and floodplains are healthy, fully functioning ecosystems. Vegetation is diverse and is
   generally in a later-seral condition, to provide site stability.

   Fish thrive in Forest lakes and streams due to adequate habitat and water quality. Natural fish habitat is
   preferred and promoted over human-made habitat.

   Objectives
   Maintain or improve the integrity of aquatic ecosystems to provide for good water quality, stream-channel
   stability, water yield, and aquatic resources.

       •   Manage for sustained water flows according to negotiated agreements with water users.
       •   Improve watershed conditions to restore favorable soil relationships with water quality.
       •   Mitigate impacts from ground-disturbing activities before closing out project activities.
       •   Maintain chemical, physical, and biological stream attributes in a healthy condition. If necessary,
           improve them.
   Maintain sport-fishing opportunities by providing quality fishery habitat. Support the maintenance of
   native fish species by protecting existing suitable habitats for both natural and reintroduced populations.



                          Rio Grande National Forest - 67 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000366
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 367 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   Cooperate with other federal and state agencies to control and clean up hazardous mining waste and mine
   drainage.

   Protect the integrity of the soil and water resources by discouraging motorized-vehicle use in wetlands,
   wet meadows, and riparian areas.

   Standards and Guidelines
   There are eight (8) pages of standards and guidelines that cover soil, water, and aquatic resources,
   including fish, riparian areas and wetlands. These standards and guidelines center around five (5) core
   areas: hydrologic function, riparian areas, sediment control, soil productivity, and water purity. These core
   areas, standards, and guidelines were derived from a draft of the original Region 2 Watershed
   Conservation Practices Handbook. Rather than reiterate eight pages of document the reader should refer
   to pages III-4 through III-11 of the current Forest Plan.

   Scale of Analysis
   The Rio Grande National Forest lies at the headwaters of the Rio Grande River. The Rio Grande River
   drainage begins at the Continental Divide along the west edge of the Forest and flows to the Gulf of
   Mexico. River basins or watersheds are delineated into a nested hierarchy represented by Hydrologic Unit
   Codes (HUCs) numbered with 2 to 12 digits, which are then categorized with names into regions, sub­
   regions, basins, sub-basins, watersheds and sub-watersheds (USGS et al 2013). The Rio Grande National
   Forest lies within six sub-basins (4th-level or 8-digit):

           •   Rio Grande Headwaters, HUC 13010001
           •   Alamosa-Trinchera, HUC 13010002
           •   San Luis, HUC 13010003
           •   Saquache, HUC 13010004
           •   Conejos, HUC 13010005
           •   Rio Chama, HUC 13020102
   Relative to the Forest, these sub-basins are further divided into 38 watersheds (generally 40,000 to
   250,000 acres) and 166 sub-watersheds (10,000 to 40,000 acres) (Map 10).

   The characterization of watersheds and water resources in this assessment is bound by the six sub-basins
   listed above, but focuses on conditions and trends within the Rio Grande National Forest at the sub­
   watershed scale.

   Existing Condition and Trend of Watersheds and Water
   Resources
   Inventories
   There is a watershed improvement needs inventory in hard copy at the Supervisor’s Office.
   Accompanying this inventory is a spreadsheet being used to track project implementation.

   There is the Watershed Condition Framework which characterizes the health and condition of National
   Forest System lands.

   There is a water rights inventory which contains information on Forest Service water uses and rights.


                          Rio Grande National Forest - 68 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000367
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 368 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   There are stream health surveys for a limited number of stream segments across the Forest. Some of these
   locations are considered reference reaches (see Forest Plan Appendix J).

   There are Proper Functioning Condition (PFC) assessments and Multiple Indicator Monitoring (MIM)
   sites for a limited number of riparian areas across the Forest.

   There is an Abandoned Mine Land (AML) inventory.

   Important Attributes, Characteristics, and Processes
   The Forest is in the headwaters of the Rio Grande River in an area known as the San Luis Valley. The
   valley itself is long, wide, and flat with small amounts of national forest land on the margins. The western
   and northern part of the Forest is in the San Juan Mountain range bounded by the Continental Divide and
   Poncha Pass. The eastern part of the Forest is in the Sangre de Cristo Mountain range.

   The expansive flat part of the San Luis Valley, which contains little to no National Forest lands, is
   composed of unconsolidated sediments laid down in the late Tertiary period. The San Juan and Sangre de
   Cristo mountain ranges provided these materials but the ranges are of very different origin and geologic
   age. The majority of the San Juan Mountains are volcanic rocks and related shallow intrusive rocks of the
   mid- to late Tertiary period. These rocks formed as a result of multiple outpourings of lava and ash from a
   cluster of volcanos. Recognized as the San Juan Volcanic Field, it is the largest erosional remnant of a
   continuous volcanic field that once extended over much of the southern Rocky Mountains in Oligocene
   times. The volcanic sequence involved initial intermediate lavas and breccias followed by more silicic ash
   flow tuffs, ending with a combination of basalts and rhyolites. This part of the San Juan range consists of
   rolling foothills in the east to steep alpine slopes along the Continental Divide.

   The Sangre de Cristo Mountain range is of more recent origin than the San Juan Mountains but the rocks
   themselves are appreciably older. These mountains consist of a very steep, narrow ridge formed as a result
   of faulting and thrusting along the Rio Grande rift. The mountains are composed of sedimentary rocks of
   the Pennsylvanian period along with Pre-Cambrian granites, gneisses, and schists. Landforms vary from
   steep alpine glacial cirques to very broad alluvial fans at the mouth of drainages.

   Soils in the San Juan Range are typical of those derived from volcanic material. They are generally
   shallow to moderately deep, medium textured, and low to moderate in nutrient content. Organic matter
   and nitrogen levels tend to be low because of low rates of decomposition and nitrogen fixation. Shallow,
   course textured, rocky soils are found on ridgetops and adjacent steep slopes. The southern part of the San
   Juan Range near the New Mexico border has volcanic material laid over shale so mass movements are
   common. There are soils in the Alamosa area that are inherently highly erosive. Also in this area are soils
   where natural rock acidity results in naturally high levels of leaching of heavy metals.

   Soils in the Sangre de Cristo Range tend to be moderately shallow and are course textured. Due to limited
   moisture, steepness, and course texture these soils are moderately erodible and infertile.

   Annual precipitation across the Forest varies from 12 inches at lower elevations to over 50 inches at
   higher elevations; generally, precipitation increases 4 to 6 inches for each 1000-foot gain in elevation. In
   the 12 to 18 inch zone (roughly 8,000 to 9,000 feet), most, if not all, the precipitation goes to satisfying
   evapotranspiration demands so little to no runoff is generated; an exception can be when summer
   thunderstorm rainfall intensity exceeds the soil infiltration rate, resulting in overland flow potentially
   reaching stream channels). Above 9,000 feet the Forest is considered a snow-dominated system in that the
   majority of the annual precipitation falls in the form of snow, while the remainder is from late spring to
   early fall rains. Summer thunderstorms can produce short-duration, high-intensity precipitation.



                          Rio Grande National Forest - 69 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000368
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 369 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   Using an existing NRCS SNOTEL site at Lily Pond as typical representation for precipitation on the Rio
   Grande National Forest, monthly totals are variable, with early and late winter being the wet months and
   late spring to early summer being the dry months (Figure 40 and Figure 41). Rains in July and August are
   considered monsoonal events typical of the southwestern United States.

   Snowfall typically begins in October and extends through May. The snowpack builds through this time
   period, acting as a water storage reservoir that begins to melt in April, causing streams across the Forest to
   rise accordingly. By late May the majority of the snowpack has melted out, but elevated streamflow
   continues into August (Figure 42).

   The Forest lies within all or part of 166 6th-level size watersheds or hydrologic units (Map 10). These
   watersheds on average generate 1.5 million acre-feet of water per year. Roughly 1.3 million acre-feet
   flows from the San Juan Range while the remaining 200,000 acre-feet flows from the Sangre de Cristo
   Range. There are 11,027 miles of stream channel across the Forest; 1,820 miles are perennial flow (Table
   13 and Map 11). There are hundreds of waterbodies that total 3,160 acres; 2,893 acres are perennial
   (Table 14 and Map 11).




   Figure 40. Monthly precipitation at Lily Pond SNOTEL site for the period 1981-2010.



   Using a historical USGS gage on the Alamosa River above Terrace Reservoir (USGS gage 08236000) as
   typical representation for water quantity and timing of flows, i.e., flow regime, on the Rio Grande
   National Forest, streamflow is predominately from annual snowmelt runoff, but there can be small
   increases in flow for short periods of time due to summer thunderstorm activity (Figure 43). The volume
   of water contained within these spikes typically represent only a small percentage of the thunderstorm
   precipitation total, roughly equivalent to the watershed area occupied by stream channels (Troendle and
   Bevenger 1996). Annual snowmelt flows typically start to increase in late March to early April, peak in
   late May to early June, and return to baseflow levels in late August to early September. There is
   considerable year to year variability in the shape of the annual hydrograph and the number of peak flows



                          Rio Grande National Forest - 70 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000369
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 370 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   during the snowmelt period (Figure 44). The magnitude of annual peaks also exhibits considerable
   variability (Figure 45). Flow duration for perennial streams on the Forest is typical of snowmelt
   dominated areas where the high flow period is relatively short and gradual release of groundwater
   maintains a baseflow for the remainder of the water year (Figure 46). The flow regime described here is
   critical for sustaining current ecosystems across the Forest. Conversely, the current ecosystems also result
   in and sustain the current flow regimes across the Forest. In other words, a change in one results in a
   corresponding change to the other.

   The San Luis Valley is a nationally recognized groundwater resource important to agriculture and local
   communities (CGS 2003). Basin-fill deposits approach 30,000 feet in depth and support two major
   hydrogeologic units; an upper unconfined aquifer and a lower confined aquifer (Figure 47). A series of
   clay layers in the upper part of the confined aquifer defines the confining layer between the upper and
   lower aquifers. The depth to the confining layers varies from about 100 feet in the northern part of the
   valley to about 40 feet in the southern part. The northern one-half of the valley has no natural surface or
   shallow groundwater outlet and is thus a closed basin (Figure 48). This closed basin is a unique geological
   structure that is hydrologically disconnected from the Rio Grande River. Water from the closed basin is
   pumped into the Rio Grande River to help meet the needs of the Rio Grande Compact.




   Figure 41. Cumulative annual precipitation at Lily Pond SNOTEL site for the period 1981-2010.


   Table 13. Miles of stream by type and Ranger District.
             District          Ephemeral              Intermittent             Perennial            Total
    Conejos Peak                  1095                      1094                  348               2537
    Divide                        2423                      2554                  1006               5983
    Saguache                       848                      1193                  465               2506
    Total                         4366                      4841                  1819              11026




                          Rio Grande National Forest - 71 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000370
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 371 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 14. Acres of waterbodies by type and Ranger District.
             District                 Intermittent                 Perennial                   Total
    Conejos Peak                          182                         956                      1138
    Divide                                60                          1701                     1761
    Saguache                              25                          236                      261
    Total                                 267                        2893                      3161



   In addition to the two aquifers in the valley proper, there are shallow alluvial deposits along major
   streams and rivers in the Rio Grande basin, e.g., upper Saguache Creek, upper Rio Grande River, and
   upper Conejos Creek, which are hydraulically connected with the basin-fill deposits (Figure 49). In the
   mountainous areas, i.e., the Rio Grande National Forest, the alluvium is separate from underlying
   crystalline-rock aquifers.




   Figure 42. Cumulative annual snow water equivalent at Lily Pond SNOTEL site for the period 1981-2010.




                          Rio Grande National Forest - 72 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000371
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 372 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 43. Average annual hydrograph for the Alamosa River above Terrace Reservoir for the period of
   record 1935-1982.




   Figure 44. Annual hydrographs for the Alamosa River above Terrace Reservoir for the period of record 1995­
   1982.




                         Rio Grande National Forest - 73 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000372
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 373 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




                        Alamosa River above Terrace
                        Reservoir - Annual Peak Flow


        lA




        s?

        n
        £
        u
        lA




   Figure 45. Annual peak flows for the Alamosa River above Terrace Reservoir for the period of record 1935­
   1982.




                        Alamosa River above Terrace
                          Reservoir - Flow Duration




                                                    Percent of Time

   Figure 46. Flow duration curve for the Alamosa River above Terrace Reservoir for the period of record 1935­
   1982.




                         Rio Grande National Forest - 74 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000373
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 374 of 406

                                       Rio Grande National Forest Assessment 2 -
                              Air Quality, Soils, Geology, Watersheds and Water Resources


   Groundwater recharge to the aquifers is a combination of mountain-front recharge, annual precipitation,
   irrigation return flow, streambed infiltration, and down valley groundwater flow. Thus watersheds across
   the Rio Grande National Forest are major sources of water to the aquifers.

   Groundwater supports many wetlands, springs, and seeps across the Forest. A portion of these are
   groundwater dependent ecosystems (GDEs), which are communities of plants, animals, and other
   organisms whose existence and distribution depends on access to or discharge of groundwater. There is no
   inventory of GDEs on the Forest but the National Hydrography Dataset (NHD) and the National Wetlands
   Inventory (NWI) provide information about their potential extent (Maps 12 and 13 and Table 15). More
   specifically, springs/seeps in the NHD and PEMB wetland types in the NWI serve as representations for
   GDEs. Springs/seeps are classified as points where water issues from the ground naturally. PEMB
   wetlands are saturated non-tidal areas characterized by erect, rooted, herbaceous hydrophytes where the
   substrate is saturated to the surface for extended periods during the growing season but no surface water
   is typically present. A query of the NHD indicates there are 125 springs/seeps across the Forest. A query
   of the NWI indicates there are 23,479 acres of palustrine emergent (PEMB) wetlands across the Forest;
   this equates to 1.2 percent of the Forest acreage.

   Table 15. Potential extent of Groundwater Dependent Ecosystems (GDEs)
                 District                            PEMB (acres)                           Springs/seeps
    Conejos                                              7,785                                   15
    Divide                                               13,030                                  66
    Saguache                                             2,664                                   44
    Total                                               23,479                                   125




                            Rio Grande National Forest - 75 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000374
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 375 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources




   Streams across the Forest have a low-flow channel, a high-flow or bankfull channel, and a floodplain to
   handle above bankfull flows. Flooding is a natural part of the hydrologic cycle and access to the
   floodplain is critical. The width of the flood prone area varies by stream and valley type and can be
   relatively narrow, i.e., tens of feet, to very wide, i.e., hundreds of feet. Maps that show the 100-year
   floodplain are available at local county planning and zoning offices.

   Floodplains and their associated riparian areas are very important in regulating water quality and how
   water is distributed over time. Healthy stream and riparian systems dissipate flood energy and recharge
   alluvial aquifers. Water is then slowly released from the aquifers back to the channel during drier periods
   of the year (Figure 46).

   The streams across the Forest transport the water and sediment delivered to them from the watershed,
   meaning they are self-formed and self-maintained. Increases or decreases in either the amount of water or
   sediment can result in stream channel aggradation or degradation, resulting in stream widening or down­
   cutting, leading to a whole host of negative effects on stream and riparian area health. Human occupancy
   and use along the channel or in the floodplain can upset water and sediment transport, also resulting in
   stream widening or down-cutting, leading to a whole host of negative effects on stream and riparian area
   health.

   The State of Colorado Integrated Water Quality Monitoring and Assessment Report (CDPHE 2012a),
   commonly called the 303(d)/305(b) report, indicates 74% of the stream miles in the Rio Grande Basin
   either fully support all classified uses of water (54 of the 74%) or support at least one classified use (20 of
   the 74%). Because most of the stream miles in the basin are on the Rio Grande National Forest, these
   percentages likely represent stream water quality across the Forest, at least in terms of chemical and


                          Rio Grande National Forest - 76 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000375
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 376 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   biological quality. Physical quality, i.e., stream pattern, profile, and dimension, may be under-represented
   in the State report as monitoring across the Forest by Forest Service staff suggests historical grazing, and
   in some allotments, current ungulate grazing is negatively affecting stream physical function.




   Figure 48. Water table elevations of the San Luis Valley unconfined aquifer late 1996-early 1997.




                          Rio Grande National Forest - 77 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000376
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 377 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 49. San Luis Valley location and extent of Quaternary alluvium and permitted water wells.



   There are impaired waterbodies (303(d) listed) within the Rio Grande River Basin, some of which are
   within the Rio Grande National Forest (CDPHE 2012b). These listed waterbodies are mostly associated
   with historical mining and are in the Alamosa, Willow, and Kerber Creek watersheds. Total Maximum
   Daily Loads (TMDLs) exist for some of these listed waterbodies (Table 16) and are available at
   https://www.colorado.gov/pacific/cdphe/tmdl-rio-grande-river-basin . Heavy metals and pH are the
   primary water quality concerns. There are also multiple stream segments across the Forest on the
   monitoring and evaluation list maintained by the State of Colorado. The Alamosa River area around
   Summitville is an EPA Superfund site and considerable restoration work has taken place to improve water
   quality in the river and its tributaries http://www2.epa.gov/region8/summitville-mine. Restoration work
   has also taken place on Willow Creek near Creede http://www.willowcreede.org/ (CDPHE 2013).

   For lake acreage, the 303(d)/305(b) report indicates only 9% of the lakes in the Rio Grande Basin fully
   support all classified uses, while an additional 21% support at least one classified use. Most lake acreage
   however in the basin is either off-Forest or within private in-holdings within the Forest and thus are not
   representative of lake water quality within the Forest. Water quality monitoring conducted as part of the
   Forest air program (see air section) indicates lake water chemistry is good to excellent.




                          Rio Grande National Forest - 78 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000377
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 378 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 16. TMDLs in the Rio Grande Basin.
              TMDL                                                    Location
    CORGAL03a                                      Alamosa River, Alum Creek to Wightman Form
    CORGAL03b                                       Alamosa River, Wightman Fork to Fern Creek
    CORGAL03c                                       Alamosa River, Fern Creek to Ranger Creek
    CORGAL03d                                 Alamosa River, Ranger Creek to inlet of Terrace Reservoir
    CORGAL05                                             Wightman Fork above Summitville
    CORGAL08(1)                                                  Terrace Reservoir
    CORGAL08(2)                                                  Terrace Reservoir
    CORGAL09                                  Alamosa River, outlet of Terrace Reservoir to Highway 15
    CORGRG04                                   Rio Grande River, Willow Creek to Alamosa County line
    CORGRG30                                                     Sanchez Reservoir
    CORGCB09a                                          Kerber Creek, source to Brewery Creek
    CORGCB09b                                      Kerber Creek, Brewery Creek to San Luis Creek


   Conditions

   Watershed Disturbance Analysis
   In the current Forest Plan, watershed condition was assessed by analysis area, i.e., planning watersheds
   and not hydrologic areas, using an equivalent disturbed area approach. The outcome was identification of
   watersheds of concern, which are described in Appendix J. When projects are proposed in these
   watersheds, the fact they are of concern is factored into project design. There may be utility in plan
   revision to revisit this analysis and determine if it should be updated and carried forward into the revised
   plan.

   Watershed Condition Framework
   The Watershed Condition Framework (WCF) is a comprehensive six-step approach for proactively
   implementing integrated restoration on priority watersheds on national forests and grasslands. The first
   step of the framework characterizes the health and condition of watersheds at the 6th-level HUC scale. The
   classification uses a comprehensive set of four process categories, twelve indicators and twenty-four
   attributes that are surrogate variables representing ecological, hydrological, and geomorphic functions and
   processes that affect watershed condition. The primary emphasis of the classification is on aquatic and
   terrestrial processes and conditions that Forest Service management activities can influence. The
   classification provides a consistent way to evaluate watershed condition at the forest level, making it
   especially useful for forest planning. The initial or baseline characterization for the Rio Grande National
   Forest was completed in 2011. Only watersheds that have five percent or more national forest lands were
   rated; for the Rio Grande National Forest 152 of the 166 6th-level HUCs was characterized.

   The Forest Service uses three classes to describe watershed condition. Class 1 or Good condition
   watersheds are functioning properly because they exhibit high geomorphic, hydrologic, and biotic
   integrity relative to their natural potential condition. Class 2 or Fair condition watersheds are functioning
   at-risk because they exhibit moderate geomorphic, hydrologic, and biotic integrity relative to their natural
   potential condition. Class 3 or Poor condition watersheds are at impaired function because they exhibit
   low geomorphic, hydrologic, and biotic integrity relative to their natural potential condition.

   Each of the 24 attributes for each of the 152 watersheds were assigned a score of 1 (good), 2 (fair), or 3
   (poor) by a Forest interdisciplinary team. Scores were then aggregated by watershed into indicator scores,



                          Rio Grande National Forest - 79 - Forestwide Planning Assessment
                                                                                 Rvsd Plan - 00000378
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 379 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   process category scores, and an overall condition score. Indicator and process category scores, as well as
   the overall score, were then assigned condition ratings. Scores between 1.0 and 1.6 are properly
   functioning watersheds, scores between 1.7 and 2.2 are functioning at-risk watersheds, and scores
   between 2.3 and 3.0 are impaired function watersheds.

   Overall Watershed Condition and Process Category Summary
   Overall, seventy-seven (50%) of the 152 watersheds are functioning properly, another 74 (49%) are
   functioning at risk, and only one watershed has impaired function (Table 17, Figure 50 and Figure 51, and
   Maps 14 and 15). The watershed with impaired function is Cottonwood Creek-Kerber Creek (HUC
   130100030102). Concerns with water quality, aquatic habitat, aquatic biota, riparian and wetland
   vegetation, soils, and rangeland vegetation condition are the driving indicators in this watershed.

   Interestingly, the distribution of overall scores follows a bell-shaped curve with 85 (56%) of the 152
   watersheds straddling the break, i.e., ±0.2 units or 1.5 through 1.8, between properly functioning and
   functioning at-risk watershed condition (Figure 51). What this implies is that changes in one or more
   attributes through either improved land management or through mismanagement could cause a
   functioning at-risk watershed to be re-classified to properly functioning or a properly functioning
   watershed to be re-classified to functioning at-risk. The Forest may want to pursue this as priority
   watersheds are selected in the plan revision process.

   From a process category standpoint, a majority of the 152 watersheds are functioning properly relative to
   aquatic physical and terrestrial biological indicators (Table 17, Figure 52, Figure 53 and Figure 56, and
   Maps 16, 17, 22 and 23). Relative to aquatic biological and terrestrial physical processes a majority of the
   watersheds are functioning at risk (Table 17, Figure 52, Figure 54 and Figure 55, and Maps 18, 19, 20 and
   21). There are no watersheds with impaired terrestrial physical and biological function (Table 17). There
   are two watersheds with impaired aquatic physical function (Table 17 and Table 18). The concern in both
   of these watersheds is with water quality problems, flow characteristics, habitat fragmentation, and
   channel shape and function. There are eighteen watersheds with impaired aquatic biological function
   (Table 17 and Table 18). The concern in these watersheds is predominately with exotic and/or aquatic
   invasive species and riparian/wetland vegetation condition. In some of the watersheds there is also a
   concern with life form presence.

   Table 17. WCF overall watershed condition and process category summary.
      Watershed Condition Class                           Watershed Condition Process Categories
                                                                 Aquatic            Terrestrial       Terrestrial
                       Forestwide      Aquatic Physical
                                                                Biological           Physical         Biological
    Good                77 (50%)              135 (89%)          35 (23%)            35 (23%)             148 (97%)
    Fair                74 (49%)              15 (10%)           99 (65%)            117 (77%)             4 (3%)
    Poor                  1 (1%)               2 (1%)            18 (12%)             0 (0%)               0 (0%)


      Table 18. Watersheds with Impaired Aquatic Physical Function and Impaired Aquatic Biological Function_____
                           Watershed Designation                    Watershed Designation
                                         Impaired Aquatic Physical Function
    Continental Reservoir-North Clear Creek
                                                                            Spring Creek (130100010303)
    (130100010201)
                                        Impaired Aquatic Biological Function
    North Clear Creek (HUC 130100010202)                               Poso Creek (HUC 130100020405)
    Middle Creek (HUC 130100010502)                                 Little Kerber Creek (HUC 130100030101)



                          Rio Grande National Forest - 80 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000379
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 380 of 406

                                    Rio Grande National Forest Assessment 2 -
                           Air Quality, Soils, Geology, Watersheds and Water Resources


                 Watershed Designation                                   Watershed Designation
    West Willow Creek-Willow Creek (HUC 130100010702)      Cottonwood Creek-Kerber Creek (HUC 130100030102)
    Park Creek (HUC 130100011103)                                   Horse Canyon (HUC 130100040102)
    Headwaters Embargo Creek (HUC 130100011202)                       Mill Creek (HUC 130100040304)
                                                                Little La Garita Creek-La Garita Creek (HUC
    Wrightman Fork (HUC 130100020301)
                                                                                130100040502)
    Jasper Creek-Alamosa River (HUC 130100020303)           Castor Creek-La Garita Creek (HUC 130100040503)
                                                                 Cottonwood Creek-San Juan Creek (HUC
    French Creek-Alamosa River (HUC 130100020304)
                                                                            130100040603)
    Headwaters La Jara Creek (HUC 130100020402)                     Findley Gulch (HUC 130100040703)




                        Rio Grande National Forest - 81 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000380
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 381 of 406

                              Rio Grande National Forest Assessment 2 -
                     Air Quality, Soils, Geology, Watersheds and Water Resources




                   Rio Grande National Forest - 82 - Forestwide Planning Assessment
                                                                        Rvsd Plan - 00000381
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 382 of 406

                                    Rio Grande National Forest Assessment 2 -
                           Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 53. WCF Aquatic Physical Process Category Scores.




   Figure 54. WCF Aquatic Biological Category Scores.




                         Rio Grande National Forest - 83 - Forestwide Planning Assessment
                                                                              Rvsd Plan - 00000382
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 383 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources




   Figure 56. Terrestrial Biological Process Category Scores.

   Process Categories, Indicators, and Attributes Summary
   The majority of watersheds are functioning properly relative to the water quality, water quantity, and
   aquatic habitat indicators (Table 19). Roughly one-fourth of the watersheds are functioning at-risk relative



                          Rio Grande National Forest - 84 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000383
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 384 of 406

                                        Rio Grande National Forest Assessment 2 -
                               Air Quality, Soils, Geology, Watersheds and Water Resources


   to the aquatic habitat indicator, with the concerns primarily centered on channel shape and function (Table
   23 through Table 25). A small percentage of watersheds are functioning at-risk relative to the water
   quality and water quantity indicators due to listed and un-listed water quality segments and flow
   characteristics. A small percentage of watersheds show impaired function relative to all three aquatic
   physical indicators with channel shape and function being the primary driver and some concern with
   habitat fragmentation.

   Table 19. WCF Aquatic Physical Indicator Class.
        Aquatic Physical
                                                                        Aquatic Physical Indicators
        Process Category
                              Forestwide               Water Quality          Water Quantity            Aquatic Habitat
    Good                       135 (89%)                 139 (92%)                 136 (89%)               101 (66%)
    Fair                        15 (10%)                  5 (3%)                     9 (6%)                42 (28%)
    Poor                         2 (1%)                   8 (5%)                     7 (5%)                 9 (6%)



   Most watersheds across the Forest are functioning at-risk or at impaired function relative to the aquatic
   biota and riparian/wetland vegetation indicators (Table 20, Table 26 and Table 27). Lack of native aquatic
   species, presence of exotic and/or aquatic invasive species, and vegetation condition in riparian/wetland
   areas are the driving concerns.

   Table 20. WCF Aquatic Biological Indicator Class.
       Aquatic Biological
                                                                             Aquatic Biological Indicators
       Process Category
                                          Forestwide                 Aquatic Biota             Riparian/Wetland Vegetation
    Good                                   35 (23%)                    20 (13%)                         60 (39%)
    Fair                                   99 (65%)                    36 (24%)                         76 (50%)
    Poor                                   18 (12%)                    96 (63%)                         16 (11%)



   The majority of the watersheds are functioning at-risk relative to the road and trails and soils indicators
   (Table 21, Table 28 and Table 29). Lack of road and trail maintenance and soil productivity, erosion, and
   contamination are the primary drivers. The soils concerns are discussed in detail in the air and soils
   section of this assessment. A small percentage of watersheds are at impaired function relative to the road
   and trails indicators primarily due to proximity to water, but also due to lack of maintenance.

   Table 21. WCF Terrestrial Physical Indicator Class
      Terrestrial Physical
                                                                            Terrestrial Physical Indicators
       Process Category
                                          Forestwide                 Roads and Trails                      Soils
    Good                                   35 (23%)                     29 (19%)                         34 (22%)
    Fair                                  117 (77%)                     113 (74%)                        117 (77%)
    Poor                                    0 (0%)                       10 (7%)                          1 (1%)



   The majority of watersheds are functioning properly relative to all five terrestrial biological indicators
   (Table 22 and Table 30through Table 34). There are fire regime condition class concerns in thirty-three


                             Rio Grande National Forest - 85 - Forestwide Planning Assessment
                                                                                         Rvsd Plan - 00000384
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 385 of 406

                                         Rio Grande National Forest Assessment 2 -
                                Air Quality, Soils, Geology, Watersheds and Water Resources


   watersheds. Almost one-half of the watersheds are functioning at-risk due to rangeland vegetation
   condition concerns. Four watersheds are at impaired function due to rangeland vegetation condition
   concerns. There are forty-three watersheds functioning at-risk due to concerns with the extent and spread
   of terrestrial invasive species. There are two watersheds at impaired function due to concerns with the
   extent and spread of terrestrial invasive species. There are twenty-eight watersheds functioning at-risk due
   to concerns with insects and disease effects on forest health.

   Table 22. Terrestrial Biological Indicator Class.
       Terrestrial Biological
                                                              Terrestrial Biological Indicators
        Process Category
                                                                                                 Terrestrial
                                     Fire Regime                           Rangeland
                   Forestwide                           Forest Cover                              Invasive         Forest Health
                                      or Wildfire                          Vegetation
                                                                                                  Species
    Good            148 (97%)          119 (78%)          151 (99%)         77 (50%)             107 (69%)           124 (82%)
    Fair              4 (3%)              33 (22%)         1 (1%)           71 (47%)             43 (28%)            28 (18%)
    Poor              0 (0%)               0 (0%)          0 (0%)            4 (3%)                2 (1%)                0 (0%)


   Table 23. WCF Water Quality Condition Attributes Class.
                                   Indicator                                            Attributes
                                      Water Quality                  Impaired Waters                Water Quality Problems
                                       Condition                      (303(d) listed)                     (not listed)
    Good                                  139 (92%)                     139 (92%)                              73 (48%)
    Fair                                    5 (3%)                       5 (3%)                                71 (47%)
    Poor                                    8 (5%)                        8 (5%)                                8 (5%)


   Table 24. WCF Water Quantity Attribute Class.
                                                         Indicator                                   Attributes
                                                      Water Quantity                            Flow Characteristics
    Good                                                 136 (89%)                                   136 (89%)
    Fair                                                  9 (6%)                                       9 (6%)
    Poor                                                  7 (5%)                                       7 (5%)


   Table 25. WCF Aquatic Habitat Attributes Class.
                           Indicator                                               Attributes
                                                         Habitat               Large Woody              Channel Shape and
                          Aquatic Habitat
                                                      Fragmentation               Debris                    Function
    Good                        101 (66%)               118 (78%)                  127 (84%)                    49 (32%)
    Fair                        42 (28%)                23 (15%)                    3 (2%)                      73 (48%)
    Poor                         9 (6%)                  11 (7%)                    2 (1%)                      30 (20%)




                           Rio Grande National Forest - 86 - Forestwide Planning Assessment
                                                                                        Rvsd Plan - 00000385
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 386 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 26. WCF Aquatic Biota Attributes Class.
                             Indicator                                             Attributes
                                                                                                          Exotic and/or Aquatic
                          Aquatic Biota         Life Form Presence              Native Species
                                                                                                            Invasive Species
    Good                     20 (13%)                   144 (95%)                  20 (13%)                        20 (13%)
    Fair                     36 (24%)                    5 (3%)                    39 (26%)                         14 (9%)
    Poor                     96 (63%)                    3 (2%)                    93 (61%)                        118 (78%)


   Table 27. WCF Riparian/Wetland Veg etation Attribute Class.
                                                   Indicator                                         Attributes
                                           Riparian/Wetland Vegetation                         Vegetation Condition
    Good                                                 60 (39%)                                        60 (39%)
    Fair                                                 76 (50%)                                        76 (50%)
    Poor                                                 16 (11%)                                        16 (11%)


   Table 28. WCF Roads and Trails Attributes Class.
                      Indicator                                                 Attributes
                      Roads and           Open Road                Road and Trail            Proximity to
                                                                                                                    Mass Wasting
                        Trails             Density                  Maintenance                 Water
    Good                29 (19%)           121 (80%)                  10 (7%)                 23 (15%)                144 (94%)
    Fair               113 (74%)            31 (20%)                 125 (82%)                  1 (1%)                  7 (5%)
    Poor                10 (7%)                0 (0%)                 17 (11%)                128 (84%)                 1 (1%)


   Table 29. WCF Soils Condition Attributes Class.
                     Indicator                                                  Attributes
                  Soils Condition         Productivity                 Erosion                  Chemical Contamination
    Good              34 (22%)             38 (25%)                   28 (18%)                             52 (34%)
    Fair             117 (77%)             113 (74%)                  123 (81%)                            100 (56%)
    Poor               1 (1%)                1 (1%)                     1 (1%)                              0 (0%)


   Table 30. WCF Fire Regime or Wildfire Attribute Class.
                           Indicator                                                  Attributes
                     Fire Regime or Wildfire              Fire Regime Condition Class                      Wildfire Effects
    Good                   119 (78%)                                 119 (78%)                                 0 (0%)
    Fair                    33 (22%)                                  33 (22%)                                 0 (0%)
    Poor                     0 (0%)                                    0 (0%)                                  0 (0%)


   Table 31. WCF Forest Cover Attribute Class.
                                                         Indicator                                   Attributes
                                                      Forest Cover                             Loss of Forest Cover
    Good                                                 151 (99%)                                   151 (99%)
    Fair                                                  1 (1%)                                          1 (1%)
    Poor                                                  0 (0%)                                          0 (0%)




                          Rio Grande National Forest - 87 - Forestwide Planning Assessment
                                                                                         Rvsd Plan - 00000386
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 387 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources

   Table 32. WCF Rangeland Vegetation Attribute Class.
                                                      Indicator                              Attributes
                                                Rangeland Vegetation             Rangeland Vegetation Condition
    Good                                              77 (50%)                                 77 (50%)
    Fair                                              71 (47%)                                 71 (47%)
    Poor                                               4 (3%)                                   4 (3%)


   Table 33. WCF Terrestrial Invasive S pecies Attribute Class.
                                                     Indicator                               Attributes
                                           Terrestrial Invasive Species               Extent and Ratio of Spread
    Good                                             107 (69%)                                107 (69%)
    Fair                                              43 (28%)                                 43 (28%)
    Poor                                               2 (1%)                                   2 (1%)


   Table 34. WCF Forest Health Attribute Class.
                                      Indicator                                   Attributes
                                   Forest Health                Insects and Disease                  Ozone
    Good                             124 (82%)                       96 (64%)                       152 (0%)
    Fair                              28 (18%)                       28 (18%)                        0 (0%)
    Poor                               0 (0%)                        28 (18%)                        0 (0%)


   WCF Summary
   When looking at overall watershed condition across the Rio Grande Forest one-half of the 152 watersheds
   rated in 2011 are functioning properly, 49% are functioning at-risk, and only one watershed has impaired
   function. Attribute and indicator ratings for three of the four process categories - Aquatic Physical, and in
   particular, Aquatic Biological and Terrestrial Physical - are the driving influences behind the overall
   condition scores.

   Further dissection of the classification shows summed and averaged attribute ratings for seven of the
   twelve indicators are influencing watershed condition across the Forest most significantly. These
   indicators are Water Quality, Aquatic Habitat, Aquatic Biota, Riparian/Wetland Vegetation, Roads and
   Trails, Soils, and Rangeland Vegetation.

   Sixteen of the twenty-four attributes are the major influences on overall watershed condition. These are
   Water quality problems (not listed), Channel shape and function, Native species, Exotic and/or aquatic
   invasive species, Vegetation condition, Open road density, Road and trail maintenance, Proximity to
   water, Soil productivity, Soil erosion, Soil contamination, Fire Regime Condition Class, Rangeland
   vegetation condition, Extent and ratio of spread, and Insects and disease. Land use and activities that are
   influencing these attributes the most are uncontrolled motorized recreation, historical and current
   livestock grazing in both uplands and riparian areas/wetlands, lack of road and trail maintenance,
   introduction of exotic and invasive aquatic and terrestrial species, atmospheric deposition of nitrates, and
   natural range of variability issues relative to fire regimes and insect and disease activity.

   As a critical part of the WCF, i.e., step 3 of 6, two Watershed Restoration Action Plans (WRAPs) have
   been prepared by the Forest to address watershed condition. One WRAP is for watersheds 130201020201
   (Headwaters of Rio Chama) and 130201020202 (Archeluta Creek). Nine essential projects are in various



                          Rio Grande National Forest - 88 - Forestwide Planning Assessment
                                                                                  Rvsd Plan - 00000387
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 388 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   stages of implementation to address stream bank stability, riparian vegetation extent/vigor, fine sediment
   from roads and trails, and soil erosion/compaction concerns.

   The other WRAP is for watershed 130100040401 (Middle Fork Carnero). Nine essential projects are in
   various stages of implementation to address excessive width/depth ratio, fine sediment, and riparian
   vegetation extent/vigor concerns.

   Historical Context
   An assessment of the natural range of variability (NRV) of the Rio Grande National Forest was written
   for the current Forest Plan and published in Appendix A of that plan. The assessment provides inferences
   about how the ecosystem and associated hydrology developed and functioned since the beginning of the
   Holocene, with particular emphasis on the period from 1600 to the early 1870s, just before modern
   settlement of the area. This roughly three century period was believed to best describe baseline ecological
   conditions for use in that planning effort. The assessment also describes activities and conditions from the
   1870s through the mid-1990s, making comparisons to the baseline period, to describe how the ecosystem
   had changed under the influence of modern settlement.

   The assessment summarized climate, fire history, forested and non-forested communities, wildlife, and
   insects and disease, leading to a list of conclusions with synthesis and implications. The assessment
   provides good context for how pre-settlement hydrologic systems across the Forest developed and then
   changed post-settlement. This assessment is still very useful to the current revision effort. Some notable
   conclusions from the assessment related to watersheds and water resources include:

       •   The influx of humans and apparent increase in fires between 1875 and 1908 indicates a disruption
           of the fire cycle. Following this period was decades of purposeful fire suppression. During these
           two time periods there was also considerable logging activity across the Forest; for fuelwood
           during initial settlement, for railroad ties during the railroad construction era, and for a full range
           of forest products well into the 1990s. Intuitively, the associated changes to the vegetative
           community caused by these activities affected the hydrologic cycle, most notably relative to snow
           redistribution, soil infiltration rates, evapotranspiration and streamflow. Additionally, because
           these activities needed roads, there were likely additional effects on the water cycle and
           watershed health from accelerated erosion and runoff.
       •   Large numbers of sheep and cattle grazed on the Forest, particularly between 1875 and 1960.
           Notable changes in upland rangeland vegetation and bottomland riparian area vegetation were
           noted throughout this time period. The excessive grazing in the uplands resulted in considerable
           soil erosion and the amount of sediment delivered to streams, which affected soil productivity,
           and water quality. There were also changes in soil infiltration rates which led to increased
           flooding and associated changes to stream channel stability. The excessive grazing in
           bottomlands also led to changes in soil infiltration and stream channel stability, resulting in
           stream channel aggradation and degradation. In essence, most every component of the water
           cycle was affected by this overgrazing and the effects are still seen in certain areas of the Forest.
       •   Early mining had devastating effects on water quality, primarily from heavy metals. Mine
           drainage and erosion of tailings continued well after this early mining activity ended and the
           effects are still seen in certain areas of the Forest.
   Much work is presently taking place across the western United States on the effects and implications of a
   changing climate. In order to put the effects and implications in context this work typically makes
   comparisons to historical climate, which provides useful information in describing the historical context
   for ecological conditions under which the hydrologic systems across the Rio Grande National Forest



                          Rio Grande National Forest - 89 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000388
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 389 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   developed. Furthermore, this work helps fill the gap in time between the current Forest plan NRV
   assessment discussed above and the present day, i.e., 1995 to 2015.

   Lukas et al (2014) synthesized much of the current climate change literature to support climate change
   water resources management and adaptation particular to the State of Colorado. Gordon and Ojima (2015)
   expanded on this work to produce a Colorado specific climate change vulnerability report. Notable
   conclusions of the historical record used in these documents relative to the natural range of variability
   across the Rio Grande National Forest and associated implications on the water cycle are summarized in
   the climate change disturbance part of this assessment (Table 36).

   Consumptive and Non-Consumptive Water Uses
   The Rio Grande National Forest, being at the headwaters of the Rio Grande River, generates
   approximately 1.5 million acre-feet of water per year. A portion of this water is used by wildlife,
   livestock, the recreating public and administrative uses across the Forest, but the majority of the water
   flows downstream and off-Forest and is used in the San Luis Valley and other downstream locations along
   the length of the Rio Grande River. A small portion of the water is used on private lands, i.e., in-holdings,
   interior to the Forest administrative boundary.

   Use of water, both on and off the Forest, is governed by treaty, compact, and decree. A 1906 treaty with
   Mexico established an allocation of 60,000 acre-feet of water each year for Mexico. The 1938 Rio Grande
   Compact allocates water among users in Colorado, New Mexico, and Texas on a sliding scale of
   allocations depending on how much water is flowing in the Rio Grande River. The Compact seeks to
   maintain historic consumptive use. The terms of the Compact are flexible to allow for annual variations of
   water supply. A Colorado Water Division 3 decree governs Rio Grande National Forest water uses and
   rights and is discussed in more detail in a subsequent section of this assessment.

   Rights to water in the two rivers are held by individuals, ditch companies, and reservoir management
   companies. Roughly one-third of the most senior water right holders in the San Luis Valley are almost
   always assured their rights after Colorado’s obligation to New Mexico is fulfilled. The most junior water
   right holders almost never receive any water. The middle-third holders of water rights receive water only
   when there is more than normal flow in the two rivers.

   As the amount of water in the rivers increase, the amount of water which must be delivered to New
   Mexico also increases, but the increased obligation is not proportional to the increased amount of
   available water. Approximately thirty percent of the increase is delivered to New Mexico with the
   remainder, or seventy percent, available for use in the San Luis Valley. This use is allocated by the
   Colorado State Engineer according to priority.

   Some of the more junior users are reservoirs on the Forest. Many of these users store water in the spring
   and release it downstream in the summer and fall. Because of their junior status there must be a large
   volume of water in the streams for them to receive an allocation. These reservoirs were designed and
   constructed to hold far more water than is normally available so it is unlikely capacity would ever be
   reached. In addition to the on-Forest reservoirs there are numerous small water collection and distribution
   systems across the Forest. These uses are under special use permits administered by the Forest Service.
   The water rights themselves are administered by the Colorado State Engineer.

   The Rio Grande National Forest has 735 water developments, used in a variety of settings, such as special
   use sites, camp and picnic grounds, rangeland stock water, and administrative sites (Table 35). These uses
   are governed by the above mentioned Water Division 3 decree or State of Colorado water law.




                          Rio Grande National Forest - 90 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000389
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 390 of 406

                                         Rio Grande National Forest Assessment 2 -
                                Air Quality, Soils, Geology, Watersheds and Water Resources


   There are twenty-one major reservoirs and nine trans-basin diversions across the Forest (see appendix J in
   the Forest Plan). Seven of the nine diversions add water to Forest streams. The other two divert water
   from Forest streams. About thirty other ditches and pipelines divert water from Forest streams for
   irrigation, recreation, and domestic purposes. These uses are not considered major.

   Table 35. Water uses on the Rio Grande National Forest.
                        Water Use Type                                            Number of Uses
     Domestic                                                                           105
     Recreation                                                                          11
    Stockwater                                                                          594
     Unclassified and Other                                                              25


   Water Rights
   The Rio Grande National Forest was decreed water rights by the District Court, Water Division No. 3,
    State of Colorado on March 30, 2000 as outlined in the Findings of Fact, Conclusions of Law, and
   Judgment and Decree for Case No. 81-CW-183 (Consolidated) (DC 2000). This decree is the final
   judgment concerning United States’ claims for appropriated water rights, federal reserved water rights and
   instream flow rights for the Rio Grande National Forest. The quantities of water decreed are fully
   sufficient to fulfill any and all federal reserved instream flow water rights and all appropriative instream
   flow water rights. The decree however does not preclude the United States from acquiring water or water
   rights by means other than appropriation.

   The decreed rights allow for improving and protecting the forests within the administrative boundary,
   securing favorable conditions of water flows, and furnishing a continuous supply of timber for the use and
   necessities of the citizens of the United States. The rights also allow for

       •   maintaining, improving, protecting, and minimizing damage to:
                  o   riparian ecosystems, including stream dependent wetlands
                  o   the natural physical function of stream channels
                  o   viable and diverse populations of fish and wildlife, including all habitat necessary for
                      such populations
                  o   scenic and aesthetic conditions and values
                  o   public opportunities for outdoor recreation
                  o   soil conservation and preservation of the quality of soil resources
       •   range uses
       •   prevention and control of forest fires
   There are options for re-opening the Decree but those options are limited and discussed in detail in the
   Decree. There is also a limit on future federal reserved consumptive uses by the United States, for which
   quantities are discussed in detail in the Decree.

   The Decree notes the principal water use in the Water Division is irrigation in the San Luis Valley and
   because of the physiographic setting most existing diversions are on the flat valley floor and not the
   Forest. The Decree further notes there are only four large reservoirs and 181 other existing water rights
   located on or upstream of the Forest and most of these rights predate the reservation of the Forest,



                              Rio Grande National Forest - 91 - Forestwide Planning Assessment
                                                                                   Rvsd Plan - 00000390
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 391 of 406

                                       Rio Grande National Forest Assessment 2 -
                              Air Quality, Soils, Geology, Watersheds and Water Resources


   meaning they are more senior in priority. Additionally, to meet the demands of fully-appropriated
   downstream senior water rights and requirements in the 1938 Rio Grande Compact, the Decree notes
   water must be delivered through the Forest. These three noted items means there is limited potential for
   new water development, such as reservoirs and diversions, within the Forest, reducing the potential for
   future conflicts.

   The Decree provides the Forest 252 reserved instream flow water rights. These rights are quantified in
   terms of their location and amount of flow that must be satisfied at and upstream of the location, i.e.,
   quantification point. During the period of annual snowmelt runoff the Forest has the right to all flow up to
   and including the flow equal to two times bankfull flow, i.e., Q1.5 until such time the natural flow
   decreases to 60 percent of bankfull flow, i.e., Q1.5. For times outside annual snowmelt runoff the Forest
   has the right to base flows. For the months of January, February, March, and December it is flow available
   in priority up to a flow equal to the median monthly discharge rate for that month. For April through
   November it is flow available in priority up to a flow equal to 80 percent of the mean monthly discharge
   rate for that month. The median monthly discharge is defined as the 50 percent exceedance value of all
   mean daily flows for the entire period of record for a particular month. Mean daily flow is defined as the
   average discharge in cubic feet per second for the time period from midnight to midnight.

   Disturbances
   Bark Beetles
   Bark beetle activity on the Forest has been at epidemic levels during the recent past, particularly in
   Englemann spruce stands. Because spruce stands grow in areas of the Forest with the greatest
   precipitation and because evapotranspiration (ET) rates are greater in spruce than other conifer types,
   there is potential for increased stream flow from this bark beetle activity. Historical watershed studies
   have shown that manipulation of conifer vegetation, e.g., timber harvest, can lead to measurable, i.e.,
   detectable, increases in streamflow at the sub-watershed scale (MacDonald and Stednick 2003)2.
   However, timber harvest results in the removal of biomass so comparing beetle kill to timber harvest is
   not entirely appropriate. In other words, both types of disturbance change the ET component of the water
   cycle but interception and evaporation processes change less under beetle kill.

   More recent watershed studies, conducted after the start of the current beetle infestations, have failed to
   detect consistent changes in streamflow (Gordon and Ojima 2015). However, much of this work has been
   in lodgepole pine stands, which grow in areas of lower precipitation; additionally evapotranspiration
   demands of this forest type are less. Modeling efforts of bark beetle infestation indicate there may be a 5­
   10% increase in runoff. Such a small change may be real but watershed studies have clearly shown that an
   increase of at least 15% is necessary to be able to detect the change at the sub-watershed scale
   (MacDonald and Stednick 2003). All said, without specific studies on the Forest, it is unknown if recent
   insect activity has changed ET and thus streamflow or not.

   Wildfire
   Watershed studies and post-fire monitoring in snow-dominated hydrologic systems indicate wildfire can
   result in increases in annual water yield proportional to that seen from timber harvest (Troendle and
   Bevenger 1996). Wildfire can also change, sometimes significantly, the response to short-duration, high-
   intensity summer thunderstorms, resulting in considerable soil erosion, sediment delivery, flash floods,


   2Even though timber harvest can increase streamflow the Rocky Mountain Region has determined purposefully
   doing so is not a management emphasis; rather, any water yield increase that results from timber harvest is a by­
   product of the harvest. See Regional Forester letter dated 2002.


                           Rio Grande National Forest - 92 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000391
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 392 of 406

                                     Rio Grande National Forest Assessment 2 -
                            Air Quality, Soils, Geology, Watersheds and Water Resources


   higher peak flows, and down cutting of stream channels (Carlson 2008). High severity fire consumes
   ground cover and alters the soil surface creating water repellency. The water repellency reduces
   infiltration rates, resulting in erosion and overland flow to channels. The increased delivery of sediment
   and streamflow produces debris flows and floods that down cut channels and produce floods. These
   responses are typically a part of the ecosystem but can result in issues and concerns in the wildland-urban
   interface. Such responses and associated effects however are usually only seen for the first three to five
   years after a significant high-severity fire due to vegetative recovery and its ability to assimilate
   thunderstorm intensity, duration, and volume.

   Dust
   In recent years, late-spring snowpack across the Forest has had a brownish color due to heavy deposition
   of desert dust. This dust has been shown in field studies to alter the energy balance, resulting in enhanced
   snowmelt rates and earlier melt of the snowpack (Gordon and Ojima 2015). Modeling indicates that in
   moderately dusty year’s snowmelt and the peak occur about three weeks earlier and extreme dust loading
   can add another three weeks, or a total of six weeks of earlier melt and peak. Modeling also indicates that
   due to changes in evapotranspiration overall runoff can be reduced by roughly 5%. Extreme dust can
   increase evapotranspiration 6%; even though the amount of dust is substantial evapotranspiration change
   is minor because the energy of the sun in early spring is not sufficient to drive additional ET. Gordon and
   Ojima suggest the spatial and year-to-year variability in dust loading, and resulting impacts on the water
   cycle, complicate watershed management. Complicating the dust issue is the interaction of climate change
   effects on the water cycle.

   Climate Change
   The effects of a changing climate on watersheds and water resources across the Forest are not well known
   but global climate change modeling and down-scaling efforts provide insight into potential effects.
   Colorado’s climate has warmed in recent decades, and climate models unanimously project this warming
   trend will continue into the future (Lukas et al 2014)). Climate change has and will continue to impact
   resources in the State, likely including watersheds and water resources on the Rio Grande National Forest.
   Gordon and Ojima (2015) synthesized observed climate and projected future climate for the State of
   Colorado (Table 36).The projected changes in climate and associated hydrology serve as a good proxy of
   potential direct, indirect, and cumulative effects on watersheds and water resources. Gordon and Ojima’s
   report also discusses key ecosystem vulnerabilities, which relate to potential future conditions with
   watersheds and water resources (Table 37).

   Municipal watersheds, sole source aquifers, and source water
   protection areas
   There is a 2014 Memorandum of Understanding between the Rocky Mountain Region of the Forest
   Service and the Colorado Department of Public Health and Environment that addresses management and
   protection of source water areas on National Forest System lands in Colorado (CDPHE 2014). CDPHE
   has delineated source water areas across the State. These delineations are considered confidential but are
   available to the Forest for internal use. There are source water assessments for these areas, copies of
   which are available on the CDPHE website.

   Per the MOU these areas are recognized as Municipal Supply Watershed per the definition in Forest
   Service Manual 2542. In the MOU the Forest Service agrees, among other things, to provide direction and
   desired conditions for municipal supply watersheds/source water areas in revised Forest Plans to protect
   water quality while allowing for multiple use outputs. The primary concerns related to source water
   protection areas within or directly downstream of the Rio Grande National Forest is two-fold: the effect of



                         Rio Grande National Forest - 93 - Forestwide Planning Assessment
                                                                               Rvsd Plan - 00000392
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 393 of 406

                                        Rio Grande National Forest Assessment 2 -
                               Air Quality, Soils, Geology, Watersheds and Water Resources


   large-scale wildfire on water quality and hazardous material spills. Information is available at
   https://www.colorado.gov/pacific/cdphe/source-water-assessment-and-protection-swap .

   Effects from Land Use
   In short, surface disturbing activities such as timber harvest, grazing, mining, recreation developments,
   road construction, and off-road motorized use, are the greatest current and potential threats to loss of
   watershed and water resources integrity across the Forest. The effects, many of which have been
   described throughout this assessment, can be direct, indirect, or cumulative. The scientific literature that
   supports this is voluminous but can be summarized by stating the effects are due primarily to soil erosion
   and compaction in uplands and riparian areas, changes in the amount of water and sediment delivery to
   streams and wetlands and associated adjustments then made by the stream systems. The literature also
   clearly shows that application of watershed conservation practices (WCPs), also known as best
   management practices (BMPs), mitigate the effects of land use, allowing for watershed protection.

   As stated earlier, the use of water, both on and off the Forest, is governed by treaty, compact, and decree.
   Because of this future water withdrawal and diversion opportunities, as well as water storage
   opportunities, within the Rio Grande National Forest are very unlikely.

   Ecological, Social and Economic Sustainability
   As has been noted throughout this assessment, watersheds and water resources on the Rio Grande
   National Forest, in conjunction with air and soil resources, are part of the foundation for providing for the
   full suite of multiple uses available from national forests. Healthy watersheds across the Forest, and the
   associated properly functioning hydrologic cycle, provide ecological sustainability, which in turn provides
   the socio-economic setting of the Plan area and areas downstream. Watersheds within the Forest are the
   headwaters of the Rio Grande River basin and the quantity and quality of water, as well as the timing of
   stream flows, from these watersheds drives human activity not only in the agriculturally important San
   Luis Valley, but in many areas further downstream. For example, people recreate on the Forest to enjoy
   clean water, flowing streams, and high elevation scenic lakes; annual snowmelt and unpolluted water
   provides on- and off-Forest uses such as habitat for aquatic organisms, and drinking, industrial, and
   agricultural supply; and healthy watersheds assist in climate regulation, serving as a sponge and filter
   system.

   Table 36. Historic climate observations and projected climate for the State of Colorado.
                Historic Climate Observations                                     Projected Climate
                                                              An increase in statewide average annual temperatures of
    An increase in statewide annual average temperatures
                                                              2.5F to 5.5F relative to a 1971-2000 baseline. Summers
    of 2 degrees F over the past 30 years and 2.5 degrees
                                                              are projected to warm slightly more than winters. Typical
    F over the past 50 years, with minimum temperatures           summer temperatures in 2050 are projected to be
    increasing more than daily maximum temperatures over
                                                               warmer than in all but the very hottest summers in the
    the past 30 years
                                                                                   observed record.
                                                                Climate projections do not agree on whether average
    An increase in temperatures in all seasons, with the
                                                              annual precipitation will increase or decrease statewide,
    largest trend in summer, followed by fall, spring, and
                                                               though winter precipitation is likely to increase by mid­
    winter.
                                                                                        century.
    No long-term trends in average annual precipitation       Most projections show that April 1 snowpack will decline
    statewide.                                                  by mid-century due to the large projected warming.
    Below-average snowpack since 2000 in all eight major      Spring runoff is projected to shift 1-3 weeks earlier due to
    river basins in Colorado, although there are not trends    warming, with late summer flows likely to decrease as
    over the past 30 or 50 years.                                                the peak shifts earlier.




                           Rio Grande National Forest - 94 - Forestwide Planning Assessment
                                                                                    Rvsd Plan - 00000393
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 394 of 406

                                       Rio Grande National Forest Assessment 2 -
                              Air Quality, Soils, Geology, Watersheds and Water Resources


                 Historic Climate Observations                                      Projected Climate
    Snowmelt and peak runoff have shifted 1-4 weeks              Most projections of future hydrology show decreases in
    earlier across Colorado’s river basins over the past 30      annual streamflow by 2050 for Colorado’s major rivers.
    years due to the combination of lower snow-water            In some projections, however, the projected increases in
    equivalent (SWE) since 2000, warming spring                  precipitation are large enough to overcome the effect of
    temperatures, and enhanced solar absorption from               warming, and so these projections show increased
    dust-on-snow.                                                                       streamflow.
                                                                   Heat waves, droughts and wildfires are projected to
    A trend toward more frequent soil moisture drought
                                                                 increase in frequency and severity due to the projected
    conditions in Colorado over the past 30 years.
                                                                                    overall warming.
                                                                  Winter precipitation events are projected to increase in
    No evidence of increasing trends in heavy precipitation     frequency and magnitude, but projections currently show
    events or flooding statewide.                                 no changes in summertime convective storms by mid­
                                                                                          century.
    Multiple droughts prior to 1900 that were more severe
    and sustained than any in the observed record, as seen
    in tree-ring records.


   Table 37. Key ecosystem and water sector vulnerabilities for the State of Colorado.
             Landscape                                                 Vulnerability
                                Due to longer and more severe droughts, more frequent and severe fires, and
                                conditions more suitable to insect outbreaks and spread of no-native plant species,
                                individual trees and forested landscapes will likely become more vulnerable to insect
    Forests                     and pathogen invasions.
                                If wildfires become more frequent and severe, landscapes will be vulnerable to
                                changes in connectivity, shifts from carbon sinks to carbon sources, and shifts in
                                vegetation distribution and type.
                                Alpine plants are vulnerable to phenology shifts caused by rising spring temperatures
    Alpine
                                and earlier snowmelt onset, potentially leading to mid-summer declines.
                                Grass types that fare better in drought conditions are likely to become more dominant;
    Grasslands                  less drought-tolerant species are therefore vulnerable to increased frequency and
                                severity of drought.
                                Aquatic species are vulnerable to decline due to reductions in habitat suitability,
    Wildlife                    especially connected to rising water temperatures as well as more frequent and sever
                                fires, forest fragmentation and other changes in habitats.
                                Water supply entities with inadequate storage, especially agriculture water supplies and
                                small Municipal and Industrial (M&I) utilities, are vulnerable to earlier snowmelt timing
                                and runoff.
                                Entities with junior rights or little storage are potentially vulnerable to future low flows.
                                Virtually all water supply entities and their customers are vulnerable to longer and more
                                intense droughts, especially mega-droughts.
    Water Supply                Water supply entities in areas like the San Luis Valley or South Metro that rely heavily
                                on groundwater to supplement surface water supplies, as well as private homes and
                                small community water supplies that rely on groundwater, are vulnerable to potential
                                reductions in groundwater recharge.
                                Elements of water supply infrastructure such as older dams, ditches, and canals, as
                                well as reservoirs in areas with high potential for wildfire, are vulnerable to extreme
                                events and increased wildfire risk.
                                Agriculture producers needing late summer irrigation and some M&I utilities with junior
                                rights are vulnerable to earlier snowmelt timing and lower late summer flows.
    Water Demand
                                Those with junior rights facing greater competition among multiple sectors are
                                vulnerable to interaction of heat and lower flows with existing demand trends.




                           Rio Grande National Forest - 95 - Forestwide Planning Assessment
                                                                                       Rvsd Plan - 00000394
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 395 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


           Landscape                                                 Vulnerability
                               M&I utilities with older treatment technology or lower treatment capacity, as well as
                               aquatic organisms and ecosystems, are vulnerable to lower flows and higher water
    Water Quality              temperatures resulting in greater concentrations of pollutants.
                               Water treatment facilities in fire-prone areas are vulnerable to greater likelihood of
                               wildfire leading to higher chances of erosion.
                               Large portions of the state that exist in areas of high flood risk and have engaged in
    Flood Mitigation
                               little mitigation are vulnerable to continued high risk of extreme precipitation events.
                               Earlier and faster runoff may create vulnerabilities for rafting, fishing, and other
                               recreation activities by reducing appropriate flows.
    Nonconsumptive Uses
                               Endangered fish recover programs are vulnerable to potentially reduced average
                               streamflow.


   Places at Risk
   As a general rule watershed and stream health concerns currently exist with existing system roads and
   trails, uncontrolled motorized use on unauthorized roads and trails, and livestock grazing in riparian areas.
   These concerns relate to accelerated soil erosion and compaction, sediment delivered to streams and
   wetlands, stream channel aggradation and degradation, and the direct, indirect, and cumulative effects on
   the water cycle and water quality.

   Need for Change
   Based on information in this section of the assessment, there is little to no need for change in the existing
   Plan. As a general rule monitoring indicates existing direction is being met when best management
   practices at the project level are properly implemented. There are occasions when watershed and water
   resources concerns are identified during project reviews but these concerns are not Forest Plan standard
   related; rather they are related to lack of proper implementation of one or more watershed conservation
   practices, i.e., best management practices, which is a contract or permit administration issue, e.g.,
   compliance with term grazing permit conditions, or a specific program area issue, e.g., road and trail
   maintenance.

   The standards and guides section of the existing plan does need to be updated to incorporate the
   Watershed Conservation Practices Handbook, the National Best Management Practices program, and the
   Watershed Condition Framework. At the time the current plan was written the WCP handbook was in
   draft form and neither the national BMP program nor the Watershed Condition Framework existed. All
   three of these items are key parts of the 2012 Planning Rule.

   There is also a need to update the water uses and rights information in the existing Forest plan to
   incorporate the Water Division 3 Decree. At the time the current plan was written the adjudication of
   water rights was still in the water court.

   As the revised plan is being prepared the Forest should consider adaptive strategies for climate change
   that are designed to protect and preserve watersheds and water resources.

   As mentioned previously in the soil and air quality sections of this assessment there may be a developing
   concern with atmospheric deposition of nitrogen and its effects on water chemistry. Continued monitoring
   is needed to confirm or dispute this potential concern. This assessment also suggests climate change could
   have negative effects on watersheds and water resources. Thus, it is critical the Forest remains diligent in
   providing the desired condition for these resources. To that end the Forest should continue development,
   adjustment, and implementation of the watershed and water resources program, and consider preparing a
   Forest-wide water resources monitoring plan. The preparation of this resource specific monitoring plan


                          Rio Grande National Forest - 96 - Forestwide Planning Assessment
                                                                                     Rvsd Plan - 00000395
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 396 of 406

                                      Rio Grande National Forest Assessment 2 -
                             Air Quality, Soils, Geology, Watersheds and Water Resources


   could coincide with Forest Plan revision or be conducted separately. This plan should consider adaptive
   strategies that address current off-Forest sources of nitrate pollution and the potential effects of climate
   change that are designed to protect and preserve watersheds and the water resource.




                          Rio Grande National Forest - 97 - Forestwide Planning Assessment
                                                                                Rvsd Plan - 00000396
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 397 of 406

                                    Rio Grande National Forest Assessment 2 -
                           Air Quality, Soils, Geology, Watersheds and Water Resources



   Appendix
   Maps
   Map 1. Critical load exceedance for surface water acidity.

   Map 2. Critical load exceedance for terrestrial acidity.

   Map 3. Critical load exceedance for mycorrhizal fungi.

   Map 4. Critical load exceedance for herbaceous plants and shrubs.

   Map 5. Critical load exceedance for nitrate leaching.

   Map 6. Critical load exceedance for lichens.

   Map 7. Critical load minimum exceedance for lichens.

   Map 8. Critical load maximum exceedance for lichens.

   Map 9. Land type associations.

   Map 10. Watersheds at the HUC5 and HUC6 level.

   Map 11. Perennial and intermittent streams and water bodies.

   Map 12. NHD springs and seeps Potential Groundwater Dependent Ecosystems (GDEs).

   Map 13. NWI PEMB wetlands Potential Groundwater Dependent Ecosystems (GDEs).

   Map 14. Watershed Condition Framework Overall Class.

   Map 15. Watershed Condition Framework Overall Scores.

   Map 16. Watershed Condition Framework Aquatic Physical Class.

   Map 17. Watershed Condition Framework Aquatic Physical Scores.

   Map 18. Watershed Condition Framework Aquatic Biological Class.

   Map 19. Watershed Condition Framework Aquatic Biological Scores.

   Map 20. Watershed Condition Framework Terrestrial Physical Class.

   Map 21. Watershed Condition Framework Terrestrial Physical Scores.

   Map 22. Watershed Condition Framework Terrestrial Biological Class.

   Map 23. Watershed Condition Framework Terrestrial Biological Scores.




                                                                              ResSmjeP lan - 00000397
                        Rio Grande National Forest - 98 - Forestwide Planning A
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 398 of 406
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 399 of 406
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 400 of 406
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 401 of 406
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 402 of 406
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 403 of 406
            Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 404 of 406

Minimum Exceedance of Critical Loads for Lichen
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 405 of 406
Case 1:21-cv-02994-REB Document 24-3 Filed 06/21/22 USDC Colorado Page 406 of 406
